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      FLORIDA SOUTHERN COLLEGE



     ACADEMIC
     CATALOG                                  2019/
                                              2020
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     THE ACADEMIC CALENDAR 2019-2020
     FALL SEMESTER
     August 17-19		                  Orientation and Registration: New and Transfer Students
     August 20		                                                   Classes Begin at 8:00 a.m.
     August 26		                               Last Day to Register and Adjust Class Schedule
     October 11		                                    Mid-Term Grade Due in Registrar’s Office
     October 14-18		                                               Fall Break for Day Program
     November 1		           Final Day to Withdraw from Courses Without an Academic Penalty
     November 27-29		                                                      Thanksgiving Break
     December 6		                                                                  Classes End
     December 9-11		                                                               Final Exams
     December 14		                                                   Mid-Year Commencement
     December 14		                                                   Christmas Holidays Begin


     SPRING SEMESTER
     January 6		                     Orientation and Registration: New and Transfer Students
     January 7		                                                   Classes Begin at 8:00 a.m.
     January 13		                              Last Day to Register and Adjust Class Schedule
     January 20		                                          Martin Luther King Day; No Classes
     February 28		                                   Mid-Term Grade Due in Registrar’s Office
     March 2-6		                                                Spring Break for Day Program
     March 20		             Final Day to Withdraw from Courses Without an Academic Penalty
     April 10		                                                           Good Friday Holiday
     April 24		                                                                   Classes End
     April 27-29		                                                                Final Exams
     May 2		                                                                 Commencement



     MAY OPTION
     May 3–31          Dates may differ depending on the particular study abroad option


     SUMMER SESSIONS
     May 6-June 9      Summer A
     June 10-July 14   Summer B
     May 6-July 14     Summer C
     May 6-June 22     Summer D
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          Florida Southern College
                     A C A D E M I C

                     CATALOG
                             2019–2020
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                                         Message from the Provost




    For over 130 years, Florida Southern has been preparing students to succeed as leaders in a wide
    range of fields: business, government, education, healthcare, science and technology, the arts, and
    the church. Indeed, it has thrived as the oldest private college in Florida because of its capacity to
    respond to the needs of students and the communities where they will serve.

    Florida Southern has always seen a holistic educational experience as the best way to meet these
    needs, and its commitment to fostering students’ intellectual, moral, and spiritual growth contin-
    ues in this new global century. At the heart of the educational experience is Florida Southern’s
    distinctive synthesis of liberal and professional learning, which is delivered through an engaged
    learning model that is widely recognized as one of the best in the country. The core academic
    experience is complemented by an extensive study abroad program, by exceptional co-curricular
    and service opportunities, and by vibrant religious life and artistic offerings—all of which are
    designed to help you connect what you are learning in the classroom with the world outside of it.

    The mission of Florida Southern is to empower students to make a positive and consequential
    impact on the world, and we know that the holistic, integrated experience that we provide can
    prepare you to do just that. The outstanding achievements of our alumni offer living proof.

    Florida Southern’s faculty and other educators on campus will be expert guides on your educa-
    tional journey, but ultimately, it will be up to you to make the most of your time here. This cat-
    alog will help you get started and serve as a “field manual” throughout your journey, so whether
    you are a first-year undergraduate or a student in one of our graduate programs, I encourage you
    to use this catalog to help chart your unique path to success.

    I wish you all the best in your studies.

    Brad Hollingshead, Ph.D.
    Provost
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                               GENERAL INFORMATION

    College Mission
        The mission of Florida Southern College is to prepare students through dynamic engaged
    learning to make a positive and consequential impact on society. The mission also includes pre-
    serving the world-renowned Frank Lloyd Wright campus and visitor program.

    College Vision
        Florida Southern College will achieve national recognition for providing a transformational
    education for students through its distinctive synthesis of liberal arts and professional programs
    and focus on student development through co-curricular and service learning programs. It will
    become a national model for engaged learning in order to achieve the learning outcomes stu-
    dents need to thrive in a global society. As a result of its pragmatic approach to liberal learning,
    the global perspective of its academic programs, effective engaged learning pedagogy, and dis-
    tinctive learning outcomes in all disciplines, Florida Southern will ascend to the top 25 colleges/
    universities in its Carnegie classification. Maintaining its affiliation with the United Methodist
    Church, Florida Southern will serve as the preeminent mid-sized institution within the denom-
    ination, always striving to foster students’ spiritual growth. Also, preserving the campus’ iconic
    and significant historical Frank Lloyd Wright structures that serve as a “living museum” to accom-
    modate the living-learning programs of the College, and promotion of education programs to
    perpetuate the legacy of America’s greatest architect, is included in the vision.

    Florida Southern History at a Glance
        Florida Southern College—the oldest private college in the state—traces its Florida roots to
    1852, when the Methodist Conference founded Florida Seminary in Micanopy. The Conference
    established South Florida Seminary in Orlando in 1883. In 1885, the school moved to Leesburg,
    the college degree was awarded, and Florida Conference College was officially chartered and
    opened to both male and female students.
        In 1901, the growing college moved to Sutherland (now Palm Harbor) on the Gulf Coast
    and in 1906 was renamed Southern College. The College remained at Sutherland until fires in
    the early 1920s forced the school temporarily to move to Clearwater Beach. In 1922, the College
    moved to the shores of Lake Hollingsworth in Lakeland. In 1935, the trustees adopted Florida
    Southern College as the corporate title.

    Florida Southern College Today
         The campus comprises some 70+ buildings on 120 acres of land. Thirteen of the College’s
    structures were designed by master architect Frank Lloyd Wright in the 1940s and 1950s. Mr.
    Wright said his design was to have all the buildings “flow from the ground in harmony with the
    natural landscape.”
         In that functional, yet exquisite environment, they exhibit the traits that Mr. Wright intended:
    organic union among the earth, sunlight, and local flora. The Wright buildings include the Annie
    Pfeiffer Chapel, which has become an iconic symbol of the College; the Thad Buckner Adminis-
    tration Building; the Emile Watson Administration Building; the Benjamin Fine Administration
    Building; the Seminar Building (which in its original construction comprised three separate
    buildings known as the Carter, Walbridge, and Hawkins Seminar Rooms); the Lucius Pond Ord-
    way Building; the Danforth Chapel; and the Polk County Science Building, which is capped by a
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       white-domed planetarium. The 10 Wright buildings are complemented by three other significant
       Wright-designed structures: the Water Dome in front of the Roux Library; the Esplanades, 1.5
       miles of covered walkways that connect most of the Wright buildings; and the newest addition
       to the collection, the Usonian House. Completed in 2013, the Usonian House is the first Frank
       Lloyd Wright-designed structure to be built for the original owners using the original plans on
       the intended site in over 50 years. The Usonian House is part of the newly constructed Sharp
       Family Tourism and Education Center. The 13 structures make up the largest single-site collec-
       tion of Frank Lloyd Wright architecture in the world. The “Child of the Sun” Wright campus is
       listed as a National Historic Landmark.
            The more traditional buildings on campus include the Allan Spivey and Joseph-Reynolds
       residence halls for first-year students and Edge Memorial Hall, which houses classrooms and
       faculty offices. These date to the 1920s and are built in a conventional, brick collegiate style. Oth-
       er prominent buildings on campus include the John Branscomb Memorial Auditorium, which
       seats more than 2,000; the Ludd M. Spivey Humanities and Fine Arts Center, which comprises
       the thrust-stage Buckner Theatre, music and art studios, and the Melvin Art Gallery; the Robert
       A. Davis Performing Arts Center; the William F. Chatlos Communication Building, which is
       equipped with broadcasting facilities; and the Jack M. Berry Science Building.
            Completed in 1968, the Roux Library was designed by Nils Schweizer to replace Frank Lloyd
       Wright’s E.T. Roux Library (now the Thad Buckner Administration Building) with a larger li-
       brary facility. Mr. Schweizer, Mr. Wright’s on-site supervisor for several Florida Southern College
       buildings and a student of Mr. Wright’s, integrated many Frank Lloyd Wright themes with his
       own unique style. The adjacent Sarah D. and L. Kirk McKay, Jr., Archives Center, opened in
       2009, houses records from the Florida Conference of the United Methodist Church; Frank Lloyd
       Wright drawings and documents; the Lawton M. Chiles Center for Florida History; and the Flor-
       ida Citrus Archives. Tûtû’s Cyber Café in the Roux Library opened in 2007, underwent a major
       expansion in 2012 and contributes to the educational and social fabric of the campus.
            During the 2009–2010 academic year, the College opened the new Marshall and Vera Lea
       Rinker Technology Center and the state-of-the-art Joe K. and Alberta Blanton Nursing Building,
       home to the College’s growing School of Nursing. In 2010, the College opened the Dr. Marcene
       H. and Robert E. Christoverson Humanities Building, which features contemporary classrooms,
       a modern language lab, film studies center, and art gallery. In 2014, the College opened the Wyn-
       ee Warden Dance Studio, a freestanding 4,700-square-foot facility built specifically for the dance
       program. In August 2015, the College introduced the Becker Business Building, a three-story,
       40,000-square-foot, state-of-the-art business education facility. In 2018, the college opened the
       France Admissions Center and in 2019, the Jean and Sal Campisi, Sr. Academic Center for Phys-
       ical Therapy.
             Student housing facilities include the architecturally revolutionary Wesley Hall and Nich-
       olas Hall, designed by Robert A.M. Stern, a world-renowned Frank Lloyd Wright scholar and
       dean of the Yale School of Architecture. Other contemporary residence halls include Miller Hall,
       Hollis Hall, Charles Jenkins Residence Hall, Dell Residence Hall, and the Publix Charities Com-
       mons. Housing options include single, double, and suite-style occupancy either on campus or in
       one of several college-owned apartment complexes in close proximity to campus, including the
       Lake Hollingsworth Apartments overlooking Lake Hollingsworth, and the recently constructed
       Garden Apartments.
            In addition, students enjoy the recently renovated dining hall—Wynee’s Bistro; The Buck
       Stop outdoor dining venue; the Charles T. Thrift Alumni Center; the Nina B. Hollis Well-
       ness Center; the expanded Bishop Robert E. and Faye Fannin Campus Ministries Center; and
       the George Jenkins Field House. Athletic fields, intramural fields, and orange trees span the
       campus, as do numerous outdoor gathering spaces, including the new the Barnett Athletic
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    Complex; Mr. George’s Green, the Badcock Garden, an outdoor “living room;” the more for-
    mal Glover Garden; Lynn’s Garden, an environmentally sustainable garden overlooking Lake
    Hollingsworth; the Willis Garden of Meditation; and the Rodda Family Plaza for outdoor
    classes.

    Accreditation
        Florida Southern College is accredited by the Southern Association of Colleges and Schools
    Commission on Colleges to award bachelors, masters, and doctoral degrees. Contact the Com-
    mission on Colleges at 1866 Southern Lane, Decatur, Georgia 30033-4097, or call 404.679.4500
    for questions about the accreditation of Florida Southern College.
        FSC also is accredited by the General Board of Higher Education and Ministry of the Unit-
    ed Methodist Church and has a State of Florida-approved program at the undergraduate level
    for the certification of teachers. The baccalaureate and masters in nursing at Florida Southern
    College are accredited by the Commission on Collegiate Nursing Education (www.aacn.nche).
    Florida Southern College Chemistry Program is accredited by the American Chemical Society
    (ACS). Florida Southern College is an accredited institutional member of the National Associa-
    tion of Schools of Music (NASM). The Barney Barnett School of Business and Free Enterprise is
    accredited by the Association to Advance Collegiate Schools of Business (www.aacsb.edu).
    The School of Physical Therapy is a Candidate for Accreditation by the Commission of
    Accreditation for Physical Therapy Education (CAPTE).

    The 2019–2020 Catalog
        In regard to academic information, this edition of the Florida Southern College Academic Cat-
    alog supersedes all others. The faculty and trustees of Florida Southern College reserve the right
    to change, modify, revoke, or add to the College’s academic, financial, or student requirements
    or regulations at any time and without prior notice. All such changes are effective at such times
    as the proper authorities determine and may apply not only to prospective students but also to
    those who already are enrolled in the College. Provisions of this catalog do not constitute an
    irrevocable contract between any student and the College.

    Student Disability Services
        Florida Southern College welcomes all students seeking to further their education. Accord-
    ingly, the college adheres to Section 504 of the Rehabilitation Act of 1973 and the Americans with
    Disabilities Act of 1990 (ADA) as amended by the ADA Amendments Act of 2008 (ADAAA) in
    prohibiting discrimination against any otherwise qualified student with a disability. Additionally,
    under appropriate circumstances for residential students, Florida Southern College complies with
    the Fair Housing Amendments Act of 1988. The college engages in an interactive process with
    students and appropriate case-by-case accommodations, such as extended time for tests, may be
    provided for students with documentation of a protected disability.
        The college engages in an interactive process with students and appropriate case-by-case ac-
    commodations, academic adjustments, or auxiliary aids may be provided for qualified students
    with documentation of a protected disability. A student with a disability is defined as a person
    with a “physical or mental impairment that substantially limits one or more major life activities”.
    To request accommodations for a disability, the student must make his or her condition known to
    the college and provide appropriate documentation from a qualified professional supporting the
    need for accommodations. The student is only required to disclose the disability if the student is
    requesting accommodations.
        Disability documentation must be relevant—that is it should reflect the student’s current di-
    agnosis, list the requested accommodations, and describe the functional impacts of the disability
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       and how the accommodations will address the effects of the disability on major life activities in
       the college setting. Requests for disability accommodations must be made each semester. Accom-
       modations cannot be made retroactively. Students with documented disabilities are encouraged
       to utilize academic resources generally available to all FSC students, including peer tutoring, The
       Writing Center, study skills resources, and support assistance from their faculty advisor, instruc-
       tors, and members of the Student Solutions Center. The coordinator of student disability services
       is available to guide students to needed resources.
            Class attendance, participation in engaged learning activities, and timely completion of
       course assignments are essential college requirements and are not waived to accommodate dis-
       abilities. Failure to meet essential requirements of a course or degree program could result in a
       lowered course grade. Since each course and class experience is unique, students must meet col-
       laboratively with their instructors to determine how reasonable accommodations can be imple-
       mented in each class. Students with disabilities requesting accommodations should contact Co-
       ordinator of Student Disability Services Dr. Marcie Pospichal, Florida Southern College, Carlisle
       Rogers Bldg., Room 120, 111 Lake Hollingsworth Drive, Lakeland, FL 33801-5698; 863.680.4197;
       mpospichal@flsouthern.edu). Florida Southern College has an internal grievance procedure for
       prompt and equitable resolution of challenges to the accommodations provided. All concerns
       should be sent in writing to Dr. Marcie Pospichal, associate vice president for Student Support,
       Florida Southern College, Carlisle Rogers Bldg., Room 120, 111 Lake Hollingsworth Drive, Lake-
       land, FL 33801-5698; 863.680.4197; mpospichal@flsouthern.edu).
            Non-Retaliation Provision: Florida Southern College will not retaliate against any student
       because that individual has requested or received disability accommodations in the college class-
       room, college programs or activities, or college housing.

       Notice of Non-Discrimination
       Preamble
            We at the College share a common belief that every individual should be able to work and
       study in an environment free from discrimination, harassment or intimidation based on race,
       color, religion, gender, gender identity, age, national origin, mental or physical disability, marital
       status, medical condition, veteran status, sexual orientation, citizenship, or any other characteris-
       tic protected under federal or state law or local ordinance.
            Discrimination and harassment are in direct conflict with the mission of the College. It ex-
       poses the College and the individuals involved to liability under the law. Accordingly, the College
       prohibits any physical, written, or spoken conduct that violates the prohibitions on harassment
       set forth in the policy.

       Statement of Policy
           It is the policy of the College that that no member of the College community shall be sub-
       jected to any form of discrimination, including sexual discrimination (sexual harassment, sexual
       misconduct, retaliation, domestic violence, dating violence, sexual assault, and stalking), by any
       other member of this institution. It is the policy of the College to provide fair, equitable, reliable,
       and compassionate responses to reports of any type of discrimination or violence. Examples of
       harassment are provided in the next section. Discrimination, including harassment, is prohibited
       and subject to disciplinary action up to and including termination of employment or expulsion.
       All forms of discrimination involve unwelcome and/or nonconsensual actions.
           The College’s Commitment to Non-Discrimination can be found in the Academic Cata-
       logue, the Student Handbook, and on the College’s website http://www.flsouthern.edu/policies/
       notice-of-non-discrimination.aspx . In the interest of protecting the college community, the Col-
       lege has developed procedures to investigate and resolve such reports.
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    Statement of Sexual Discrimination and Harassment
        It is the policy of the College that no member of the College community shall be subjected
    to any form of unlawful discrimination, including sexual discrimination (sexual harassment, sex-
    ual misconduct, or sexual violence). Sexual violence is when someone is forced to take part in a
    sex act when this person has not provided consent, including when the person is unable to refuse
    to participate, or despite a person’s refusal to participate in the activity.
        The College prohibits any conduct that violates this policy.

    Florida Southern College’s Anti-Sexual Discrimination Title IX
    Procedural Overview and Contacts for Reporting Sexual
    Discrimination
    Procedures
         The College conducts prompt and equitable investigations in response to claims of all forms
    of harassment and discrimination. Persons who have engaged in acts of discrimination, based on a
    “preponderance of the evidence” standard (i.e., it is more likely than not that discrimination or ha-
    rassment occurred), may receive institution-imposed sanctions. Additionally, anyone who retaliates
    against an individual who has made a report or against an individual about whom a report has been
    filed will be subject to appropriate disciplinary actions. Finally, anyone who has knowingly made
    false accusations related to discrimination will also be subject to disciplinary actions.
         The College provides members of the academic community prompt, equitable, and reliable
    mechanisms for reporting incidents of discrimination, including sexual harassment, sexual mis-
    conduct, sexual violence, harassment based on a protected category, retaliation, dating violence,
    domestic violence, stalking, and false accusations. A discrimination or harassment report does not
    have to result in filing charges. However, a report must be investigated. A person can report an
    initial complaint/grievance about discrimination to any Florida Southern employee she/he feels
    comfortable speaking to. The information will then be shared with the appropriate Officer and
    the report will be addressed. Additionally, if you are concerned you will be named or identified as
    the responding party in a discrimination report, you are also encouraged to contact the Officer of
    Title IX Compliance or the Student Support Title IX Intake Team. We promptly, equitably, and
    reliably support the rights of all College community members- reporting parties, responding
    parties, and witnesses.
         This process involves an immediate initial investigation to determine if there is reasonable
    cause to believe the Non-Discrimination and Anti-Harassment policy has been violated. If it is
    determined that there is reasonable cause to believe the Policy has been violated, the College will
    initiate a prompt, thorough and impartial investigation. This investigation is designed to provide
    a fair and reliable determination about whether the College Non-Discrimination and Anti-Harass-
    ment policy has been violated. If so, the College will implement a prompt and effective remedy
    designed to end the discrimination, prevent its recurrence and address its effects.
         Depending on the facts and circumstances known to it, the College, in its discretion and judg-
    ment, may determine that the allegations of discrimination (including sexual harassment or mis-
    conduct) or retaliation will be investigated and resolved outside of the procedures described here
    and in related websites and written policies, and may take interim action as it deems appropriate to
    address the safety and protection of the College.
         Report, investigation, and appeal procedures, as well as complaint forms, can be found in
    the Student Handbook and online at http://www.flsouthern.edu/policies/just-ask.aspx . A report
    should be filed using the college’s Discrimination Complaint Form. A person may also anony-
    mously report an incident using the online Anonymous Incident Report form.
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       Contacts for Reporting
           When discrimination, including sexual discrimination, reports are brought against a stu-
       dent, a visitor of a student, or a third party acting against a student, this report will typically
       be investigated by the Student Development and Title IX Intake Team. Students who have
       experienced discrimination, misconduct or violence, or know of such a student, can report
       this and /or file a report (also known as a grievance) call, email, or come to see the Student
       Development and Title IX Intake Team. The team will assist in discrimination investigations
       involving students, working with students on “next steps” and being sure the people necessary
       for moving forward receive proper communication.

       A. Reporting A Student

       Student Development and Title IX Intake Team
       Student Development Offices, Rogers Building
       111 Lake Hollingsworth Drive, Lakeland, FL 33801
       FSCJustAsk@flsouthern.edu

       Amanda Blount
       Assistant Dean of Student Development for Accountability, Education and Compliance
       Telephone: (863)680-6221; ablount@flsouthern.edu

       Margaret Merryday
       Assistant Director of Accountability, Education, and Compliance
       Telephone: (863)680-6216; mmerryday@flsouthern.edu

       Discrimination in Athletics – Reports regarding gender inequities in sports programs are
       investigated by Jill Stephens Associate Athletic Director/Senior Woman Administrator.

       Jill Stephens
       Associate Athletic Director/Senior Woman Administrator
       Jenkins Field House
       111 Lake Hollingsworth Drive, Lakeland, FL 33801
       Telephone: (863) 680-4474; jstephens@flsouthern.edu

       B. Reporting an Employee or Other Individual

       An employee, or other individual, should bring reports of harassment or discrimination against
       any other individual(s) to:

       Katherine Pawlak
       Director of Human Resources and Title IX Officer
       Raulerson Building
       111 Lake Hollingsworth Drive, Lakeland, FL 33801
       Telephone: (863) 680-3964; E-mail: kpawlak@flsouthern.edu
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        In compliance with federal, state, and local requirements and college policy, certain crimes
    shall be reported to the Director of Campus Safety and Security for Clery reporting and other
    tracking purposes and, when permissible, such reports may not include the reporting party’s
    name unless authorization is granted by the offended party. When required, reporting will
    be made to other organizations such as the Florida Department for Children and Families at
    http://reportabuse.dcf.state.fl.us or 1-800-96-ABUSE.
        The privacy of reports will be strictly kept when possible, or tightly maintained among
    persons who have a need to know to keep the complainant and the community safe when strict
    privacy is not possible.

    Family Educational Rights and Privacy Act (FERPA)
         The Family Educational Rights and Privacy Act of 1974 as amended (PL 93-0280), better
    known as “FERPA”, directs how student education records are maintained. When a student enters
    college, the following four rights transfer from parents or legal guardians to the student, regard-
    less of the student’s age. At Florida Southern College, access to education records rights transfers
    from parent/guardian to student on the day of matriculation into the college.

          1. FERPA provides opportunities for students to inspect and review their education records
             within 45 days of a written “request for access” identifying the records of interest to FSC’s
             FERPA compliance officer (please see below).
          2. FERPA provides paths for students to seek amendment to education records they believe
             to be inaccurate or misleading. A written request should be made to FSC’s FERPA com-
             pliance officer (please see below). If the college declines to amend the records as request-
             ed, the college will advise the students of the steps to appeal that decision.
          3. FERPA gives students the right to file a complaint with the college compliance officer or
             with the Department of Education (please see below).
          4. FERPA allows students the right to provide written consent before the college discloses
             Personally Identifiable Information (PII) from the student’s education records, except to
             the extent that FERPA authorizes disclosure without consent, including:

         • Florida Southern College officials, including but not limited to administrators, supervi-
           sors, staff (including law enforcement units and health center officials), teachers, board of
           trustees members, contractors, consultants, volunteers, or students working in an official
           capacity for the college, with “legitimate educational interests”, who require information for
           the proper performance of their professional responsibilities
         • Officials at an institution at which a student seeks to enroll
         • Organizations conducting studies for educational and governmental agencies
         • Accrediting agencies
         • Appropriate persons in case of health or safety emergencies
         • Agencies or offices in connection with the student’s application for or receipt of financial
           aid or in connection with other financial aid records as directed by FERPA
         • Governmental officials, as identified in Public Laws 93.31 & 99.35
         • Parents of students who are defined as dependents in the Internal Revenue Code of 1986
         • Parents of students (1) younger than 21 years of age or (2) who are dependents for tax pur-
           poses regardless of student age for violations of campus alcohol and drug policies
         • An appropriate official in response to a court order
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          • An alleged victim of a crime of violence or a non-forcible sex offense concerning the final
            results of an investigation
          • The general public, if the school determines a student is an alleged perpetrator of a crime
            of violence or non-forcible sex offense and the student has committed a violation of the
            school’s rules or policies with respect to the allegation made against her/him
          • Information the college designates as Directory Information

       FERPA and Florida Southern College Public Notice of Directory Information
            Florida Southern College hereby designates the following student information as public or
       “directory information.” This information may be disclosed by the college without the student’s
       prior consent under the provisions set forth in FERPA. Examples include:
            Academic information: Name, enrolled hours, enrollment status, total hours, college ma-
       jor, dates of attendance, degrees and awards received (including Dean’s List but excluding GPA),
       most recent previous school attended, participation in officially recognized activities and sports,
       height and weight of athletes, other similar information. Student ID number, user ID, or other
       unique personal identifier on a student ID card or used to communicate in electronic systems is
       considered directory information, but only if the identifier can only be used in conjunction with
       at least one factor that authenticates the user’s identity, such as PIN, password, or other factor
       known or possessed only by the authorized user.
            Publication in future student directories: Name, local and home address, email address.
            Demographic information: Date and place of birth and publication information, such as
       photographs, videos, and other images of the student to (including, but not limited to) college
       academic, marketing, and news publications and web sites.
            Directory information cannot include the following, which can only be released if
       a student waives her/his right to privacy:
          • Social Security or other Student Identification numbers
          • Grades or Grade Point Average (GPA)
          • Ethnicity, race, nationality, gender or religion
           Currently enrolled students may withhold disclosure of directory information under FERPA.
       To withhold disclosure of this information, students must present themselves with photo ID to
       the Student Solutions Center on the first floor of the Carlisle Rogers Building, and complete
       the Request to Withhold Disclosure of Directory Information form. Students may complete this
       form at any time and it will take effect immediately. However, the withholding of directory infor-
       mation disclosure will only be effective prospectively: It cannot be applied to actions the college
       took prior to the withholding of disclosure request.
           Withholding disclosure of directory information will prevent Florida Southern College from
       providing student directory information, including confirming attendance and degrees earned,
       to prospective employers and internship sponsors, insurance agencies, and others with whom
       you may wish to share such notification, so we encourage students to make this decision carefully.
           Florida Southern College assumes that a student who fails to specifically request withholding
       of directory information indicates approval for disclosure.
           Former students may not place a new request to withhold disclosure of directory informa-
       tion on their education records. However, the student may request the removal of such a hold.

       FERPA and Florida Southern College Education Records Release Authorization
          In compliance with the Federal Family Education Rights and Privacy Act of 1974 as amended
       (FERPA), the college restricts select third parties from having access to a student’s personally
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    identifiable information (PII) and education record. PII includes, but is not limited to, social
    security and other identifying numbers. Student education record includes, but is not limited to,
    grade and attendance reports, billing records, and other official correspondence and information.
    The restriction of sharing this information applies to, but is not limited to, the student’s parents,
    guardian, or spouse. This limitation of disclosure does not include directory information.
        If a student wishes to grant a third party, such as a parent, access PII or education records, the
    student must complete and sign an authorization waiver. This waiver will remain in effect unless
    the student revokes it in writing. Students may change their FERPA waiver at any time by complet-
    ing the appropriate form at the Student Solutions Center. The college assumes no liability for hon-
    oring student instructions about to whom he/she will waive, and will not waive, rights to privacy.
        Note: Notices of alcohol and drug offense, disaffiliation, suspension, housing probation, or
    expulsion, as well as if a student withdraws from college, may be forwarded to parent or legal
    guardian independent of FERPA waiver status. Spouses have no rights to this or other education
    record information without the written consent of the student.

    FERPA and Deceased Students
    The right to privacy of education records that eligible students or alumni possess under FERPA
    expires upon the death of the individual. When an individual dies, privacy of education records
    maintained by Florida Southern College is no longer regulated under FERPA but is dictated by
    college policy. The college is not required to release education records of deceased individuals
    and will determine the release of education records on a case-by-case basis. Examples of requests
    that could result in the release of education records of deceased individuals include:
       • Direct relatives of the deceased, in the presence of reasonable proof of identity and
          relationship
         • Release to others authorized by the deceased’s executor or next of kin, in the presence of
           reasonable proof of that authorization
         • Researchers conducting demonstrably scholarly investigations*
    *In deference to grieving survivors of deceased students or alumni, records will not be released to anyone
    except direct relatives and estate executors within the first year of death. Additionally, the college will
    assume that, in the absence of information to the contrary, individuals are deceased as of the 80th anni-
    versary of their matriculation.
        Requests for access to education records of deceased individuals should be submitted to the
    registrar at registrar@flsouthern.edu

    FERPA and Florida Southern College Public Relations Information Release
        Information considered directory information may be released routinely to certain inquirers
    and the news media unless the student requests that this information be withheld by completing
    the Request to Withhold Disclosure of Directory Information form at the Student Solutions
    Center. Florida Southern does not release anything more than directory information, which is
    considered public information as described in the Florida Southern College FERPA Policies
    (above), without seeking a student’s written permission.
        Florida Southern College students are frequently featured in news releases, photographs, au-
    diotapes, and videotapes that may be distributed to the media or used in Florida Southern pub-
    lications, including websites. Students may be photographed, videotaped, or their images may in
    other ways be captured on campus or at college-related functions. These images and representa-
    tions, as well as the accomplishments of students, may also be used to promote Florida Southern
    College. The College has exclusive rights to these images.
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                                         GENERAL INFORMATION                                        13



       FERPA Compliance Inquiries and Grievances
           For a complete list of FERPA disclosure exceptions, for further questions, to request to in-
       spect, review, or amend records, to file a FERPA grievance, or for other inquiries about Florida
       Southern College’s FERPA compliance, please contact the college’s FERPA compliance officer
       Dr. Marcie Pospichal, Carlisle Rogers Bldg., Room 120, 111 Lake Hollingsworth Dr., Lakeland,
       FL 33801; mpospichal@flsouthern.edu; 863.680.4197. Students also have the right to file a com-
       plaint with the U.S. Department of Education concerning alleged failures by Florida Southern
       College to comply with the requirements of FERPA. The name and address of the office that
       administers FERPA is Family Policy Compliance Office, U.S. Department of Education 400 Mary-
       land Avenue, SW, Washington, DC, 20202.
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                                          ADMISSIONS
               TRADITIONAL UNDERGRADUATE ADMISSIONS
    General Information
        Florida Southern College attracts students who demonstrate the academic ability and strong
    motivation to succeed in challenging liberal arts disciplines as well as pre-professional and pro-
    fessional programs. Admission decisions are based on academic achievement, aptitude, personal
    character, and performance in general citizenship or leadership activities within the school and
    community. The College welcomes applications from students who manifest evidence of strong
    values, the desire and willingness to study, and the proper academic preparation to complete
    successfully the rigorous educational programs offered at Florida Southern.
        In considering applications, the Office of Traditional Undergraduate Admissions and the
    Admissions Committee give careful consideration to all credentials required and submitted. No
    single criterion determines acceptance or denial, but each is evaluated in relation to the appli-
    cant’s complete admission profile. Admissions decisions are made without regard to race, creed,
    color, gender, marital status, religion, age, disability, sexual orientation, and national origin.
        Applicants are considered for admission for the fall and spring semesters. Applicants to the
    Undergraduate Adult Program are considered for admission for any of the six adult terms (see the
    section on Adult Undergraduate Programs, page 83, for admissions procedures). Summer session
    enrollment for transient or continuing students requires approval but not formal admission.
        All domestic freshman applicants to Florida Southern College’s full-time degree programs
    must submit the following information:
         • A completed application form
         • An official high school transcript (or GED test score)
         • Either SAT or ACT test results
         • A personal statement, and
         • One letter of recommendation from an appropriate academic professional.
         Applicants considering the Adult Undergraduate Program please refer to the Adult Under-
           graduate admission policies and procedures.

    Freshman Admission—U.S. Students
    The Office of Traditional Undergraduate Admissions evaluates freshman applicants on the fol-
    lowing criteria:
          (1) Graduation from a regionally accredited high school. Although the Office of Tra-
            ditional Undergraduate Admissions is flexible in terms of particular course requirements
            for admission, applicants are expected to have earned credit in at least 18 units of college
            preparatory courses—typically including four units of English, three units of mathemat-
            ics (two years of algebra and one year of geometry), two units of laboratory science (one
            from the natural sciences and one from the physical sciences), and the remaining units
            balanced among the social sciences, foreign languages, and additional work in the scienc-
            es, mathematics or literature. Candidates are encouraged to complete additional units
            beyond the core academic curriculum, including work in the fine arts and other electives.
            Trends in performance are considered as part of the evaluation process.
          		 Students earning the high school equivalency diploma (GED) may apply for freshman
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             admission. All high school transcripts must still be submitted, along with a statement
             indicating the reasons for seeking the alternative diploma.
           (2) Scores on either the SAT or ACT. Results of standardized examinations, along with
             an applicant’s academic record, help provide a reasonable prediction of a candidate’s abil-
             ity to perform successfully in a Florida Southern classroom. The College expresses no
             preference for one examination over the other and encourages students to take both.
           (3) Letter of recommendation. Each candidate for freshman admission is required to
             submit one academic letter of recommendation. This recommendation should be from
             an appropriate academic professional—teacher or guidance counselor. Recommendation
             forms are available from the admissions office and can also be downloaded from the
             College website at www.flsouthern.edu/admissions. You may also submit a letter of rec-
             ommendation instead of the form.
           (4) Personal Statement or essay. Students are asked to write a personal statement of
             at least 250 words in length on one of three topic questions. Students submitting their
             application via the Common Application may submit the essay portion of the Common
             Application in place of the personal statement.
           (5) Extracurricular Activities/Service/Honors. Students are asked to briefly describe
             extracurricular activities, leadership involvement (including any work experience), and
             service during high school. Special honors or awards received for academics or activities
             and organizations should also be included.

       Application Priority Dates and Deadlines
       Freshman Admission Priority Date—March 1
           Applications received before March 1 will be handled on a rolling admission basis. Because
       the number of spaces available in the entering class is necessarily limited, rolling admission con-
       tinually narrows the opportunities for admission as the cycle progresses and admitted students
       commit to enroll for the desired semester by submitting the required deposit. (See Application
       Fee and Deposits.)
           Students are advised to submit applications as early as possible to assure optimal admission
       and financial aid consideration.
           Students requesting admission for the spring semester should start application procedures as
       soon after September 15 as possible.
           Approval for summer study is limited to space available in the individual class requested.
       Applicants are encouraged to file the required forms as soon as they become available prior to
       the summer term.

       Early Decision Admission Deadline—November 1
           The Early Decision Option is available to academically talented students with strong high
       school records, including grade point average, SAT or ACT scores, and who select Florida South-
       ern College as their first choice for college study.
           Applicants for Early Decision are required to sign an agreement indicating their willingness
       to participate in the Early Decision process along with their confirmation that Florida Southern
       College is their first choice institution. This agreement also confirms that they will, upon accep-
       tance, be prepared to pay the enrollment deposit and enroll at Florida Southern College. This
       agreement is binding between the applicant and Florida Southern College, certifying that upon
       acceptance to Florida Southern College, applications to other colleges and universities will be
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    withdrawn and the applicant will enroll as a student at Florida Southern College. High school
    guidance counselors and parents also sign the agreement form.
        The deadline for applying for Early Decision is November 1. Early Decision candidates will
    be notified of admission status by December 1. Students who are offered Early Decision ad-
    mission are expected to commit to Florida Southern no later than January 15 by payment of a
    non-refundable deposit. Students who apply for Early Decision and receive a letter of deferment
    will be reevaluated with other applicants for regular admission to the College.
        For additional information on Early Decision, please contact the Office of Traditional Under-
    graduate Admissions.

    Traditional Undergraduate Transfer Admission Priority Dates Fall—June 1;
    Spring—December 1
         Students who have successfully completed work at a regionally accredited college or university
    may apply for admission to Florida Southern College. Applicants should submit a personal state-
    ment indicating the reason for the transfer. Official transcripts are required from each post-second-
    ary institution attended. When available, students should also submit SAT or ACT scores.
         Applicants are evaluated primarily on the strength of their academic achievement at the
    post-secondary level, with emphasis placed on subject areas paralleling Florida Southern Col-
    lege’s general education curriculum requirements. Particularly critical are courses in English and
    mathematics. Total credits attempted, credits earned, and grades posted serve as the basis for
    admission. (Students who wish to transfer before accumulating 25 semester hours of transferable
    credit must also submit high school transcripts and SAT or ACT scores.) A Report of Social
    Standing form, available online, is required to complete a transfer application.
         To be considered for transfer admission, a student must be eligible academically and socially
    to return to the last college or university attended. A student on academic or social dismissal
    from any institution is not eligible to enroll at Florida Southern College until reinstatement in
    good standing at the previous institution has been authorized.
         Students transferring without an A.A. degree at the time of matriculation are required to com-
    plete all general education courses not previously taken. Evaluation of transfer credit is on a course-
    by-course basis. Please see page 63 for the General Education requirement.
         Students who have earned an A.A. degree from a regionally accredited community college
    within the state of Florida will have met all of Florida Southern’s general education require-
    ments, if the degree was awarded after December 1994. Under agreements with the state’s com-
    munity colleges, A.A. degree graduates who earned their degrees in 1995 or subsequent years
    enter Florida Southern College as juniors with a maximum of 62 transferable credits.
         Once admitted to FSC, official evaluations are completed by the registrar’s office. Only courses
    in which a student earned a grade of C or higher are considered for transfer credit. The maximum
    number of credit hours transferable from a two-year college is 62, while a student transferring
    from a four-year institution may enter Florida Southern with as many as 93 hours. If a student
    has attended more than one college or university, each transcript is evaluated independently. Re-
    gardless of the amount of applicable transfer credit, students must complete at least 50 percent of
    their major and minor (if a minor is elected) in Florida Southern College coursework. Transient
    coursework, CLEP and other examination credits, and study abroad credits earned through an af-
    filiation agreement with another institution are not considered FSC credit. In the case of students
    entering teacher education, no more than eight semester hours of coursework may be accepted
    in the professional education sequence at Florida Southern College.
         Students who have attended institutions which are considered in-candidacy-for-accredita-
    tion, or students who have college credits more than ten years old may have their credits accepted
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       provisionally and validated by completing at least 24 semester hours of Florida Southern College
       work while maintaining at least a 2.0 grade point average.
           Transfer credit hours for specialist education programs in military service schools may be
       awarded to a maximum of 18 hours. Semester-hours credit is determined by standards of the
       American Council on Education guide to the evaluation of experiences in the Armed Services.
           Non-degree-seeking applicants who have already earned a bachelor’s degree are required to
       submit only a college transcript from the degree-issuing institution.
           Transfer students requesting admission to 3000-level coursework in the teacher preparation
       program of the School of Education must meet a minimum grade point average of 2.5 on a 4.0 scale
       for all courses taken in the liberal arts general education courses and a passing score on all subtests
       of the General Knowledge Test. Florida resident students should complete this requirement before
       applying for admission to the teacher preparation program at Florida Southern College. Students
       transferring to Florida Southern College from colleges or universities outside the state of Florida
       should make arrangements to complete the General Knowledge Test in the first semester of their
       enrollment in the teacher preparation program at Florida Southern College. For additional infor-
       mation, see Teacher Education section in this catalog.

       International Student Admission Priority Dates Fall—March 1;
       Spring—December 1
           Florida Southern College welcomes international students who wish to study in the United
       States. International students applying for admission to Florida Southern College degree pro-
       grams are required to submit all documents required for either freshman or transfer admission,
       as well as a Financial Disclosure form (available online or from the admissions office). Inter-
       national students may be eligible for merit or talent-based scholarships and are encouraged to
       contact the Office of Traditional Undergraduate Admissions for appropriate information.
           If the student is from a nation where English is not the standard for daily communication,
       scores on the Test of English as a Foreign Language (TOEFL), IELTS or Doulingo may be substitut-
       ed for SAT and/or ACT test results. The TOEFL requirement may be waived for students who have
       completed at least one year of formal academic study at an institution where English is the lan-
       guage of instruction. All transcripts from secondary and post-secondary institutions abroad must
       be translated into English. Students seeking credit for secondary exams (e.g. GCSE) or post-second-
       ary coursework should have all transcripts from colleges or universities outside the United States
       evaluated by World Education Service, Josef Silny and Associates, Academic Evaluation Services,
       Inc. or another similar approved transcript evaluation agency prior to submission to Florida South-
       ern.

       Readmission of Former Traditional Undergraduate Students
           Any student who wishes to return to Florida Southern College following withdrawal or sus-
       pension must submit a Re-admitting Student Application form to the admissions office. The
       application includes a complete statement explaining the reasons for leaving and specifies the
       semester of intended re-enrollment. The application statement should also include a full ex-
       planation of activities (work, travel, academic work) which have occurred since leaving Flori-
       da Southern. If the student has undertaken any academic work at another institution, official
       transcripts and a Report of Social Standing form must be submitted prior to any decision by
       the Admissions Committee. To be eligible for readmission, students must have demonstrated a
       successful and positive adjustment to the campus community while at the College and must not
       have any outstanding accounts payable in the business office or any unresolved judicial matters.
           The degree requirements listed in the catalog in effect when readmission is approved shall be
       applicable to those readmitted that semester. Re-admitted students should consult the catalog for
       changes in requirements.
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        College work completed more than ten years prior to the date of readmission must be vali-
    dated by the attainment of a 2.0 grade point average during the first 24 semester hours attempted
    after readmission.

    Deferred Admission
         Students may defer their admission forward one full academic year from the original term
    for which they have been admitted. Students wishing to defer their admission should indicate
    their intent to do so in writing to the Director of Admissions. This correspondence should in-
    clude the reason for requesting the deferral as well as the student’s plans during the period prior
    to their anticipated enrollment term. If the student has not yet submitted an enrollment deposit,
    it should be submitted within 30 days of notification of the intent to defer. Deferrals will not be
    processed without the receipt of the enrollment deposit. Deferrals requested but not followed by
    the receipt of an enrollment deposit will result in the cancellation of the student’s application.
         Students who have already submitted their enrollment deposits may defer forward to the
    next academic term with no additional enrollment deposit. Students wishing to defer forward a
    full academic year from the original term of admission will need to submit a $100 deferral depos-
    it. The deadline for receipt of the deferral deposit will be September 15 for students deferring to
    the Spring term and January 15 for students deferring to the Fall term. Deferral deposit deadlines
    may be extended with permission from the Director of Admissions.
         Deferred admission is not granted to students who wish to enroll in another institution prior
    to attending Florida Southern College. (See Reactivation of Applications.) Financial aid cannot
    be automatically deferred. Students should contact the financial aid office to ensure that full
    consideration for financial aid is given for the designated semester of enrollment.

    Reactivation of Applications
        All applications to Florida Southern College remain on file for a period of one year. Students
    who do not enroll in the semester requested on the original application may reactivate an appli-
    cation for consideration for a subsequent semester within that period.
        If the applicant has undertaken additional formal study in the intervening period, official
    transcripts must be submitted showing all work completed or in progress. Candidates who have
    attended a post-secondary institution in the intervening period should file the appropriate Re-
    port of Social Standing form, available from the Office of Traditional Undergraduate Admissions.
        If already on file, the following items do not need to be submitted when an application is
    reactivated: final official transcripts of all work completed at the secondary or college level and
    official results from standardized testing.
        Admission decisions are made according to the requirements and expectations pertaining
    to the class entering in the semester requested. Any decision rendered earlier by the Office of
    Admissions and the Admissions Committee is subject to review and modification.

    Early Admission
        Florida Southern College considers applications from high school juniors who have demon-
    strated outstanding ability and achievement and wish to begin their college careers before earn-
    ing the high school diploma. In such cases, a student must submit a letter from the high school
    principal or school head granting Florida Southern College permission to enroll the applicant
    as a full-time student in lieu of attending high school during the senior year. In addition, the
    student must meet with a member of the Admissions staff for a personal interview to discuss the
    appropriate course of action.
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       Conditional Admission
           Florida Southern College may consider applicants for conditional admission as part of the
       Gateway to Success program. The Gateway to Success program is designed to provide students
       with a gradual transition to college by reducing the number of credit hours in the first term to
       a maximum of 10 hours. Additionally, as part of the 10 credit hours, students may be asked to
       adhere to a prescribed course plan while enrolled in the program. Students who earn at least
       a 3.0 GPA in their first term in the program will be considered for traditional, full-time status.
       Students who fail to earn a 3.0 may be considered for traditional, full-time admission with ap-
       proval from the Dean of Student Success. Students enrolled in the program are not eligible for
       institutional aid, and will be billed at the standard tuition rate for full time students. To be con-
       sidered, students must have graduated from a regionally accredited high school; submit scores
       on either the SAT or ACT; and submit one academic letter of recommendation, along with the
       signed Gateway to Success Agreement form. A personal interview may be required as part of the
       admission process, and enrollment deposits are nonrefundable.

       Summer Session
           Non-Florida Southern students who wish to attend Florida Southern College for a summer
       session only are required to submit a Summer Sessions Application and appropriate documenta-
       tion of academic eligibility. Enrollment is limited to the specific coursework requested on a space
       available basis. Students enrolled for only the summer session may not continue their studies in
       the fall semester unless an application for admission has been approved for fall semester. (See
       Special Admission.)

       Admission Decisions, Procedures, and Deposits
           Applications will be reviewed and admission decisions will be rendered as soon as all re-
       quired credentials have been received. Written or verbal notification of admissions decisions may
       generally be expected within two to four weeks.
           The admissions office reserves the right to hold an application until further information is
       available, such as end of semester grades or additional test results, before making a decision about
       an application for admission.
           If accepted, applicants need to submit a deposit of $500 ($300 for commuters) to reserve
       both a place in the entering class and in on-campus housing. One hundred dollars of the initial
       deposit will serve as a continuing deposit as long as the student remains enrolled in the College.
       The remaining amount will be applied to tuition for commuters or will be equally distributed as
       a tuition and residence hall fee.
           The College recognizes the date approved by the National Association of College Admission
       Counseling as the standard Candidate’s Reply Date. For fall semester enrollment, the reply date
       is May 1. Applicants who have submitted deposits for enrollment may receive refunds if they
       decide not to attend the College and file written requests for refunds on or before May 1 (unless
       a student was admitted under the early decision option).
           Prior to enrollment, a student must have completed and filed the following health forms: a
       medical form itemizing immunizations; a meningitis and hepatitis form; and a medical history
       form. These forms are available online.
           The College reserves the right to withdraw any offer of admission, even after accepted by an
       applicant indicated by submission of the enrollment deposit, if the College learns of information
       regarding the applicant’s academic achievement, aptitude, personal character, or performance in
       general citizenship, which would adversely reflect upon the applicant’s ability to comply with the
       high expectations of the College.
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    Special Admission
        A student who wishes to enroll for specific coursework is eligible to register as a non-de-
    gree-seeking student through the registrar’s office.
        Students holding non-degree status may not enroll full-time and may accumulate no more
    than 40 total hours of coursework at Florida Southern. Upon completion of 15 semester hours,
    non-degree students may seek degree status through the Office of Traditional Undergraduate Ad-
    missions. Students enrolled in a non-degree seeking status are not eligible for financial assistance.
        A student who is a degree candidate at another institution and wishes to take courses for
    transfer credit should arrange with that college’s office of admissions to submit a letter indicating
    good academic and social standing and granting permission to take specific courses at Florida
    Southern College. This transient permission serves as a substitute for the transcript required from
    other students.

    Part-time Student Status
        Students are considered part-time if they enroll in less than 12 credit hours per semester. Part-
    time students may lose eligibility for some or all financial aid sources and may not participate in
    intercollegiate athletics or other College-sponsored activities. Students in the day program will
    also be charged per-credit hour fees if they elect to attend the College on a part-time basis.

    Requirements for Nontraditional Undergraduate Students
         • Submit a completed application.
         • Provide official transcripts of all academic work taken previously at other colleges, universi-
           ties or professional schools (e.g. nursing).
         • Provide official transcript of high school record (or GED test score) if fewer than 60 credit
           hours have been earned from a regionally accredited college or university. The high school
           record should include applicant’s SAT or ACT scores.
         • Nursing applicants must be registered nurses currently licensed to practice in Florida and
           are required to complete the program within seven years of admission.
         • Education applicants must meet additional requirements specified in the Education section
           of this catalog.
         • Students may be admitted provisionally or conditionally as specified below.


    Credit for Military Service and Military Service Schools
         The College may award seven semester hours of military service credit after one year of active
    duty, if the credit is not duplicated by other earned credit in military science.
         Credit for satisfactory completion of certain specialist education programs in military service
    schools may be awarded. Semester-hour credit is determined by standards of the American Coun-
    cil on Education guide to the evaluation of experiences in the armed services up to a maximum
    of 18 hours. Any such credit must correlate reasonably with curricula of liberal arts programs
    generally, and not more than six hours will be awarded for any combination of technical electives
    such as radio, radar, navigation, and meteorology.

    Credit for Correspondence and Extension Courses
       Credit for up to six semester hours may be awarded for approved courses taken by correspon-
    dence from a regionally accredited university. Florida Southern students wishing to take such
    courses must receive approval to do so in advance.
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       Credit by Examination, Including AICE, AP, CLEP, and IB
           AICE Cambridge Advanced International Certificate of Education credit is awarded on the
       basis of level and grade earned. For further information about AICE credit, contact the admis-
       sions or registrar’s office.
           Credit is awarded on the basis of satisfactory scores for Advanced Placement (AP) courses.
       Credit is awarded on the basis of Advanced Placement Examination scores of three, four, or five.
       For further information about AP credit, contact the admissions or registrar’s office.
           CLEP credit is credit by examination. Ordinarily, credit by examination is not awarded in
       any area in which comparable college coursework or more advanced work is being attempted or
       already has been attempted. Students who wish to attempt CLEP credit may not remain in the
       comparable course after the one-week schedule adjustment period is over; otherwise the CLEP
       credit will be invalid. Exact requirements and scores for FSC credit are published annually in the
       college’s brochure on CLEP credit. Please consult the annual brochure which is available in the
       registrar’s office or the FSC Testing Center in Ordway Building for specific information.
           Florida Southern College will grant up to thirty (30) hours of college credit and sophomore
       standing to students earning the International Baccalaureate Diploma who have earned grades of
       four or better in their three higher level subject examinations. IB students who have not earned
       the full diploma may be awarded credit for certain higher level examinations upon which a stu-
       dent has earned a score of four or better.
           Credit by examination is recorded as transfer credit at Florida Southern College. Equivalents
       are available on the FSC website.

       Dual Enrollment
           The College grants permission to eligible high school sophomores, juniors and seniors to
       dual enroll at Florida Southern in the fall and spring terms. In order to be considered for ad-
       mission, students must have at least a 3.5 GPA and submit a dual enrollment application, and
       receive signed permission from a parent, high school counselor, and principal; candidates may be
       asked to submit an official high school transcript and letter of recommendation. Students may be
       eligible to take one course at no charge; additional courses will be billed at the standard rate for
       part-time tuition. Students will be responsible for providing transportation to and from campus,
       acquiring all textbooks and materials needed for courses, and working with the registrar’s office
       in order to register for courses.

       Veterans
           All baccalaureate degree programs currently offered at Florida Southern College are approved
       for veteran training by the State Approving Agency. Veterans are required to maintain standards
       of satisfactory progress and attendance. These include, but are not limited to, placing students on
       Academic Probation when their overall grade point average is less than 2.0, the average required to
       receive a degree, and suspension if they fail to meet the College’s academic standards. Regular class
       attendance is required. In addition, the College continually monitors the progress of veterans to
       assure that they are taking courses needed for their degrees. This is a requirement for receiving VA
       benefits. Satisfactory progress means that students receiving VA benefits must take courses at a rate
       that permits graduation within 124 semester hours unless there are extenuating circumstances.
           When the above standards of progress are not met by a veteran, the Veterans Administration
       is notified that the student is not making satisfactory progress toward the degree. Notices of
       Changes in Enrollment Status are sent to the Veterans Administration when the student with-
       draws during the semester or changes status from full-time to part-time.
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                               FINANCIAL INFORMATION

    The Undergraduate Day Program
    Tuition and Fees
         Students pay only a part of their costs—operating and instructional—at Florida Southern
    College. The remainder comes from endowment income; from alumni and friends; from grants
    from foundations, businesses, and the government; and from the Florida Conference of the Unit-
    ed Methodist Church.
         Florida Southern is committed to a residential learning community environment. As such,
    all students who live more than 30 miles from the campus are required to be a residential student.
    Requests for commuter status should be submitted to the Office of Student Development.
         Below are the costs per semester for students for the 2019–2020 academic year.
         Boarding Students        Semester           Commuting Students          Semester
         Tuition 		               $18,430		          Tuition 		                  $18,430
         Room and Board           $5,930*		          Activities Fee 		           $75
         Activities Fee           $75		              Technology Fee 		           $315
         Technology Fee           $315		             Total: 			                  $18,820
         Total:			                $24,750
    							                                          Food Service (Total)
    							$2,355		20 meals a week**
    							$1,865		15 meals a week
    							                                          $1,510 		          10 meals a week
    							$720		5 meals a week***

    *Based on average cost of double occupancy room (rates vary per building) and 20-meal plan.
    **20-meal plan required for all first-year residential students
    ***Commuter students or residential students with full kitchen access only
    Tuition rates are for full-time loads of 12–18 credit hours. Additional charges are applicable above 18 hours.
    Note: The college reserves the right to change fees due to economic conditions.

    Meal Plans
        Participation in a meal plan is required for all residential students.
        All residential students (defined as any student living in a College-owned facility) must
    participate in the campus meal program. All first-year residential students are required to have
    the 20-meal plan. Students living in apartments with a full kitchen may select any available
    meal plan, including the 5-meal plan (option not available to other residential students).
        The College does not provide special diets and no refunds are made because of meals missed
    due to dietary restrictions or religious beliefs.
        Full-time residential and commuter day students may use their residence hall room and/
    or meal service through the last final examination, except for holidays when residence halls
    are closed.
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       Insurance
           Full-time residential and day students are covered by accident insurance (up to $2500 each
       with 50 deductible), and may receive some on-campus health services. Serious illness requiring
       hospitalization is not included in the accident insurance, but such coverage is automatically
       included on a separate student waiver basis. Full-time students will be automatically provid-
       ed with and charged for health insurance unless they complete a waiver/cancellation
       form available through a link on the Florida Southern College website. Students will
       be required to provide proof of alternate insurance during the cancellation process.
       Information about United Health Care health insurance coverage is accessible online
       at www.uhcsr.com. For students beginning their enrollment in January, a pro-rated
       amount for health insurance coverage will be charged along with spring tuition and
       fees unless the coverage is waived.

       Additional Costs
          Books and supplies, approximately, per semester................................................................$700
          Credit hours (below 12 and above 18)................................................................ $998 per hour
          Graduation Fee........................................................................................................................$60
          Illness insurance premium................................................................................. $1,610 annually
          International Student Insurance....................................................................... $1,610 annually
          Scuba lab fee............................................................................................................................$50
          Security escort fee....................................................................................................................$50
          Late registration fee...............................................................................................................$100
          Late payment fee...................................................................................................................$100
          Audit fee (per course by permission)...................................................................................$130
          Orientation fee (new student only)......................................................................................$100
          Technology fee (part-time students)
              Up to 4 credit hours...........................................................................................................$30
              5–8 credit hours .................................................................................................................$60
              9–11 credit hours .............................................................................................................$120

           Additional fees will be assessed for students in the four-year BSN program (see page 160).
       Fees may also be assessed in courses where supplies must be purchased or where musical accom-
       paniment is required. Additional fees may be required to verify identification while completing
       academic assignments (i.e., online exams or quizzes).
           The fees for private music applied lessons are $250 per semester for a weekly half-hour lesson.
       For full-time students majoring in music, the fee is $400 for up to six credit hours per semester.
       The fee is $100 for each credit hour of lessons over six credit hours. Students who withdraw from
       music applied lessons do not receive a refund of the tuition and fees unless the withdrawal is
       completed before the end of the first full week of classes. Please see the Music section of under-
       graduate course descriptions for accompaniment fees.

       Methods of Payment
          All financial obligations are due before the beginning of the semester or term. Stu-
       dents may not attend classes until their financial affairs have been satisfactorily arranged. These

         Florida Southern College is not responsible for loss or damage to personal items (including vehicles).
         It is recommended that students maintain appropriate vehicle insurance. Residential students are
         encouraged to maintain applicable renter's coverage for personal belongings.
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    include loans, grants, and/or scholarships. All current charges must be paid prior to student
    authorization to register for a future term. Checks for payment of student accounts should
    be made payable to Florida Southern College for the exact amount due. The College also accepts
    MasterCard, VISA, Discover, and American Express. Payments may be made in person, mailed to
    the business office, or made over the web at www.flsouthern.edu through CashNet.
        Also available for financing college expenses on monthly installments are programs offered
    by Florida Southern College through Nelnet Campus Commerce (Formerly Tuition Manage-
    ment Services or TMS) Please visit their website at www.afford.com/options or telephone Nelnet
    at 1.800.722.4867.
        If a student account is delinquent and it becomes necessary to submit the account to a collec-
    tion agency, any collection fees, up to 40 percent of the assigned debt and/attorney fees incurred
    in the collection process will be added to the outstanding balance. Students with unpaid student
    accounts and/or past due student loan balances are not eligible to receive transcripts or diplomas.

    Application Fee and Deposits
        A nonrefundable application fee of $30 is due with every student’s application for admission.
        Upon acceptance for admission, each student must send $500 ($300 for commuters) to FSC
    to reserve a place in the class and for on-campus housing. Of this $500, $200 is applied to the
    student’s first semester tuition, $200 holds a place in on-campus housing, and $100 is applied to
    the student’s account upon graduation. Any residual credit remaining will be refunded to the
    student. This payment is forfeited if the student withdraws from the College during the semester.
    The payments for the fall semester are refundable until May 1 prior to the fall semester, but are not
    refundable after that date. The payments for spring semester are refundable until December 1.

    Transcript Requests
         Students may request transcripts by visiting www.flsouthern.edu and typing “transcripts” in
    the search box. Click on the link to Order Transcripts Online. A credit card and an email account
    will be required to order online. Students may also send a request to the registrar’s office with a fee
    of $7.50 for each transcript. Requests must be signed as federal law requires legal signature. Identi-
    fying information in the request such as name (and any previous names), social security number,
    birth date, and dates of attendance or graduation is also required. Transcripts cannot be issued if a
    file is incomplete or if all financial obligations have not been settled in the student accounts office.
    Defaulted student loans to include defaulted FSC loans prohibit the release of transcripts.

    General Information
        Each student, by completing preregistration, becomes responsible for payment of all charges
    for the semester. A student who submits a written request to the registrar’s office within three
    working days of the first day of class may cancel that registration and receive a full refund of
    tuition and fees paid. A parent or other sponsor accepts these terms and regulations as final and
    binding. All accounts must be paid in full before transcripts are released.

    Refund Policy
         In cases involving suspension, dismissal or expulsion, no financial refunds will be made by
    the College. In cases of voluntary withdrawal from Florida Southern College, the student may be
    eligible for a partial refund of tuition, room, board and fees.
         All withdrawals from Florida Southern College should begin in the Student Solutions Cen-
    ter. Necessary forms will be provided there to initiate the withdrawal process.
         If the student withdraws or is withdrawn during the first three calendar days of a regular
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       semester, the student will receive a 100 percent refund of tuition, room, board and fees. Begin-
       ning with the 4th calendar day of class through the 10th calendar day, there is a 90 percent refund.
       During the 11th through the 25th calendar day, a 50 percent refund is granted. Between the 26th
       day through the 50th calendar day, a 25 percent refund is made.
           There will be no further refund allowances made past the 50th calendar day unless the stu-
       dent is advised by medical professionals to withdraw from the college. Documentation from the
       medical professional overseeing the student’s case is required to qualify for a medical withdrawal
       refund and must be submitted with 3 business days of the withdrawal. If a student withdraws
       under medically required conditions, a refund is calculated based on 75 percent of the unused
       portion of tuition, room, board, and most fees.
           For Summer terms, if a student withdraws during the first three calendar days of a summer
       class, the student will receive a 100 percent refund of tuition. Beginning with the 4th calendar
       day of classes through the 7th calendar day, there is a 50 percent refund of tuition. During the 8th
       through 13th calendar days, a 25 percentage refund is made. After the 13th calendar day, refunds
       are made only after the student is permitted withdrawal due to medical reasons. The student
       must provide documentation within 3 business days of the withdrawal from a medical profes-
       sional to substantiate the need for withdrawal.
           The refund policies for adult and graduate programs are covered elsewhere in this catalog
       and in the respective program guides.
           No adjustment or refund is considered until a student files formal notice of with-
       drawal and is officially withdrawn. Formal withdrawal is the responsibility of the student.
       Students withdrawing to avoid the discipline process, or those who are suspended from the Col-
       lege, expelled from the College, or removed from campus housing, are not eligible for any refund.
           The following conditions apply when a student withdraws from the College and has received
       financial aid for the term of withdrawal:
           1. Financial aid funded by Florida Southern College is refunded (returned to source) on
              the same basis as the student charges are refunded. For example, a student receiving a 75
              percent refund of charges will receive a credit of 25 percent of the financial aid awarded
              and 75 percent is withdrawn from his account and returned to the appropriate funding
              source. This policy does not include money a student earns under the Faculty Assistants
              Program (FAP) or the College work-study program.
           2. A separate Return to Title IV formula applies to the federal loan and grant programs,
              including Pell Grant, SEOG, Perkins Loan, Stafford Loan, and Parent Loan Programs.
              Based upon the percentage of class days remaining in a given term/semester, this same
              percentage of the total federal funds must be refunded, firstly to loan programs.
           3. Financial aid received by the student from private sources is refunded in accordance with
              the policy of the organization providing the funds. Lacking guidance from said organiza-
              tions, funds are handled in the same manner as FSC funds.
          A student who is administratively withdrawn from the College waives any rights to refunds
       under the college policy regardless of when the withdrawal occurs.

       Financial Aid
           Florida Southern College is the largest source of financial aid for its students. Ninety-eight
       percent of FSC’s students receive some form of grant or scholarship aid from the College. In
       addition to grants based upon financial need, leadership and community service, and church-re-
       lated awards, Florida Southern provides academic scholarships to freshmen and transfer students.
       Students must live in College-owned housing in order to be eligible for the Scholars Residency
       Grant, unless the college grants a waiver.
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    State of Florida Programs
        Florida Southern College students from Florida may receive aid from several state-funded
    programs, including the Effective Access to Student Education (formerly FRAG), Bright Futures
    Scholarships, and benefits under the Florida Prepaid Tuition Program. Bright Futures payments
    are contingent upon the number of hours in which a student is enrolled. Bright Futures pay-
    ments are reduced if a student withdraws from one or more classes.

    Federal Programs
       Florida Southern College students may receive aid from all of the major federal grant, loan
    and work programs based on financial need.

    Important Dates and Conditions
         • In order to maximize financial aid opportunities, students should complete the FAFSA and
           the FSC Financial Aid Application by April 1. Incoming students should complete the ad-
           missions application process by Nov. 1. While completing these steps will ensure consider-
           ation for all federal, state, and college aid programs, students are also encouraged to pursue
           scholarships through organizations in their home community.
         • Financial aid award notifications will reflect the student’s eligibility for federal, state, and
           institutional aid.
         • Most awards are intended to be renewed annually until graduation. Typically, however,
           there are special renewal requirements, detailed in the Terms and Conditions Form found
           in the Financial Aid section of the College website at www.flsouthern.edu/icsap.
         • Florida Southern College scholarships and grants require full-time enrollment at FSC.
           Whenever possible during the academic year, FSC grants will be replaced with named
           scholarships as funding becomes available.
         • Scholarship recipients are required to comply with all terms and conditions of their schol-
           arship. If a student fails to meet scholarship terms or conditions, he or she will be subject to
           loss of the scholarship. In such cases, repayment of the scholarship may be required at the
           discretion of the donor. Students receiving scholarships must also adhere to the principles
           of the FSC Cornerstone to retain eligibility.
         • Financial aid awards are predicated on full-time enrollment, which is 12 credit hours at FSC
           each semester. Only FSC-registered and billed hours can be counted for the determination
           of aid eligibility. Annual awards cannot be compressed into one semester. Students should
           consult the financial aid office before withdrawing from classes. FSC does not participate in
           Consortium Agreements with any other college, university or school.
         • Students obtaining student loans must complete a master promissory note and must com-
           plete loan counseling prior to their first loan disbursement at FSC. Information on these
           processes are available on our website.
         • Students are responsible for reading and understanding the Terms and Conditions form
           posted on the website.
    Please call 863.680.4140 for additional information or visit the financial aid office.
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                                 STUDENT DEVELOPMENT
           Florida Southern seeks to create a community of scholars who hold one another accountable
       to the high ideals, vision, and mission of the College. Choosing to join the community obligates
       each member to a code of behavior that reflects the highest personal and communal values to
       which the college is committed. This code of behavior is called “The Cornerstone.”
           Inspired by the Judeo-Christian principles on which the college was founded, a Florida
       Southern Scholar…
          • will practice personal and academic integrity and excellence of character and expect the
             same from others.
          • will respect the dignity, value, and worth of all persons while learning from the differences
            in people, ideas, and opinions.
          • will respect the rights and property of others.
          • will demonstrate concern for others, their feelings, and our collegiate need for conditions
            that promote personal growth and academic success.
          • will contribute to the rich heritage left by those who have preceded us and work to leave the
            college a better place for those who follow.
           These expectations help create an environment that supports Florida Southern’s living and
       learning both inside and outside the classroom. The Student Handbook, found online at www.
       flsouthern.edu/FSC/media/student-life/handbooks/FSC-Student-Handbook.pdf, provides more
       descriptions of these tenets and details student life policies and expectations which contribute to
       a campus environment that is conducive to growth and learning.
           Florida Southern strongly believes in its four-year residency requirement for students. Our
       dynamic residential program allows our students to interact with a broad range of people. These
       interactions help to shape them as individuals. As such, we know the events, programs, and ser-
       vices we offer augment and supplement the more formal College curriculum. The programs
       offered in the residence halls are designed for the residents of that particular building or commu-
       nity. The programs we offer are ever evolving to meet student needs at each stage of the student’s
       educational journey.
           With more than 100 campus clubs and organizations, there are many ways for a student to
       become involved and connected. The College hosts honor societies, social Greek organizations,
       interest clubs, professional and pre-professional organizations, religious groups, service clubs,
       intramural programs, and an active Student Government Association. Student Government and
       the Association for Campus Entertainment are opportunities for service-minded leaders. The
       college newspaper and the yearbook are open to everyone, as are many music organizations—the
       orchestra, the chorale, the symphony band, and the jazz band (audition required). The Vagabonds
       theatre troupe is an active student drama group.
           For the safety of Florida Southern students, there is 24-hour campus security. Other student
       services include the Student Health Center, the Counseling Center, and the Evett L. Simmons ’79
       Center for Multicultural Appreciation.

       Athletics
           Florida Southern’s athletics department offers 20 NCAA Division II intercollegiate sports.
       FSC is a member of the eleven-school Sunshine State Conference. Men’s sports offered at FSC
       are baseball, basketball, cross country, golf, lacrosse, soccer, swimming, tennis, and outdoor track.
       Women’s sports offered are basketball, cross country, golf, lacrosse, soccer, softball, swimming,
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    tennis, outdoor track, volleyball, and beach volleyball. Members of the SSC are Barry (Miami
    Shores), Eckerd (St. Petersburg), Embry-Riddle (Daytona Beach), Florida Tech (Melbourne), Lynn
    (Boca Raton), Nova Southeastern (Ft. Lauderdale), Palm Beach Atlantic (West Palm Beach), Rol-
    lins (Winter Park, Saint Leo, and Tampa).
         Moccasin teams have won 30 NCAA Championships (13 in men’s golf, 9 in baseball, 4 in
    women’s golf, 2 in men’s basketball, 1 in softball, and 1 in women’s lacrosse), making the athletics
    program one of the most successful in the country in Division II. In addition, FSC teams have
    captured 22 NCAA runner-up finishes, won 201 Sunshine State Conference regular season and
    post-season championships, with over 1,000 All-Americans, including over 300 student-athletes
    who have been named to the Academic All-America or various All-American Scholar-Athlete
    teams.
         Florida Southern also offers several club sports including men and women’s water skiing,
    eSports (League of Legends, Overwatch, Hearthstone, and Rocket League), equestrian, and cheer-
    leading. Florida Southern also recently announced the addition of men’s ice hockey to its club
    offerings to begin in 2019.
         Most FSC student-athletes are recruited and receive some type of financial aid. However,
    walk-ons are welcome to try out for any sport. FSC students are entitled to attend all home regu-
    lar season athletic events free of charge with proper ID.

    Career Center
        The Career Center is dedicated to promoting the professional development of all Florida
    Southern students and alumni. Career counselors are available to support, guide, and mentor
    students throughout the career development process. The Four-Year Career Action Plan provides
    a comprehensive framework to guide students in approaching their academic experience in a
    strategic, intentional, and goal-directed manner. The Career Center offers a variety of resources,
    events, and programs aimed at helping students develop essential professional skills including
    resume writing, interviewing, networking, and creating a portfolio/LinkedIn profile to aid in the
    job/internship search and graduate school application process.

    Fraternities and Sororities
         There are seven national fraternities and seven national sororities at Florida Southern Col-
    lege. Both fraternities and sororities recruit and initiate first-year, transfer, and returning students
    during the fall semester. The national fraternities are Alpha Gamma Rho, Lambda Chi Alpha, Pi
    Kappa Alpha, Pi Kappa Phi, Sigma Alpha Epsilon, Sigma Chi, and Theta Chi. The national soror-
    ities are Alpha Chi Omega, Alpha Delta Pi, Alpha Omicron Pi, Gamma Phi Beta, Kappa Delta,
    Zeta Tau Alpha, and Delta Delta Delta.
         Each national fraternity is represented in the Interfraternity Council. Each national sorority
    is represented in the Panhellenic Council. To be eligible for any aspect of Greek life, from re-
    cruitment to initiation, the College requires students to earn a cumulative grade point average
    of at least a 2.5, to be currently carrying at least 12 hours, and to be free from academic or social
    probation. Carry-overs (non-initiates) are limited to one semester. Eligibility must be certified by
    the registrar and approved by the Center for Student Involvement or designee.

    Good Social Standing
        A student is considered to be in good social standing at Florida Southern College unless one
    or more of the following conditions exists:
       • The student has existing accountability sanctions or probations.
         • The student presents a significant risk to self, others, or campus property.
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         • The student has lost leadership roles by failing to attain good academic, social, or profes-
           sional standing in the previous or current semesters.
         • The student would not be welcome to remain at or return to FSC without restrictions.
          In some cases, institutional, local, state, or national agents or agencies may have the right to
            modify these requirements.

       Honorary Societies, Professional Organizations, and Clubs
           There are many local and national honorary organizations established to recognize outstand-
       ing students for leadership, service, and academic achievements. Each organization maintains
       scholastic standards.

       Intramurals
       Entertainment                                     Lambda Pi Eta – Communication
       Association of Campus Entertainment (ACE)         Omicron Delta Kappa – Leadership
                                                         Order of Omega – Fraternity and Sorority
       Greek Organizations                               Phi Alpha Delta – Pre-Law
       Fraternities                                      Phi Alpha Theta – History
       Interfraternity Council                           Phi Epsilon Kappa – Physical Education
       Alpha Gamma Rho                                       & Exercise Science
       Lambda Chi Alpha
                                                         Phi Eta Sigma – First-Year
       Pi Kappa Alpha
       Pi Kappa Phi                                      Phi Kappa Phi – Academic
       Sigma Alpha Epsilon                               Phi Sigma Tau – Philosophy
       Sigma Chi                                         Pi Kappa Delta – Forensics
       Theta Chi                                         Pi Kappa Lambda – Music
       Sororities                                        Pi Sigma Alpha – Political Science
       Panhellenic Council                               Psi Chi – Psychology
       Alpha Chi Omega                                   Sigma Beta Delta – Business
       Alpha Delta Pi                                    Sigma Delta Pi – Spanish
       Alpha Omicron Pi                                  Sigma Tau Delta – English
       Delta Delta Delta                                 Sigma Theta Tau – Nursing
       Gamma Phi Beta                                    Theta Alpha Kappa – Religion
       Kappa Delta
       Zeta Tau Alpha                                    Interest
                                                         Adam Smith Club
       Honoraries                                        Allies
       Alpha Epsilon Delta – Pre-Med
                                                         American Chemical Society
       Alpha Phi Sigma – Criminology                     Association of Campus Entertainment
       Association of Honor Students                     Cantilevers
       Beta Beta Beta – Biological Sciences              College Democrats
       Beta Gamma Sigma – Business                       College Republicans
       Delta Sigma Pi – Business                         Criminology Club
       Gamma Sigma Epsilon – Chemistry                   ENACTUS
       Iota Tau Alpha – Athletic Training                History Club
       Kappa Delta Pi – Education                        Math Club
       Kappa Mu Epsilon – Mathematics                    The Mocappellas
       Kappa Pi – Art                                    Mocettes Dance Team
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    Modern Languages Club                                Religious
    Multicultural Student Council                        At the Cross
    Studio Box-Improv                                    Beyond Campus Ministries
    Southern Association of Commuter Students            Catholic Campus Ministries
    Phi Mu Alpha                                         Fellowship of Christian Athletes
    Psychology Club                                      FSC Hillel
    Roux Reads Book Club                                 Sandwich Ministries
    Toastmasters International                           TZeDeK
    Vagabonds                                            Upper Room Ministries
    Women’s Advocacy Club                                Wesley Fellowship

    Professional                                         Service
    Advertising Federation                               Best Buddies
    Delta Omicron International Music Fraternity         Flo So Co
    Florida Nursing Student Association                  Habitat for Humanity
    Florida Public Relations Association                 Rotaract
    National Association for Music Education
        Collegiate                                       Sports
    Music Entertainment Industry Student                 Sports Management Club
        Association                                      Sports Medicine Society
    National Broadcast Society                           Student Athletic Advisory Committee
    Pre-Professional Society
    Sigma Alpha Club                                     Student Government
                                                         Student Government Association
    Intramurals
        The intramural sports program offers structured team and individual activities including flag
    football, basketball, softball, ultimate Frisbee, volleyball, soccer, bowling, dodgeball, and golf. The
    intramural program also plans special events and offers and attempts to place students who are
    not able to form a team.

    Performing Arts
        There are many opportunities for qualified students to participate in the Concert Choir, the
    Symphony Band, the Symphony Orchestra, and the Jazz Ensemble, as well as a number of cham-
    ber ensembles.
        The dramatic production group of the College, the Vagabonds, is open to all students with
    potential ability in acting and writing. The group presents plays from the professional theatre
    repertoire and experimental plays directed and produced by the members.

    Religious Life
        Florida Southern College is a United Methodist-affiliated college. It encourages students,
    faculty and staff to enrich their lives by the regular practice of worship and by participating
    actively in religious affairs.
        The College has a chaplain who serves as the coordinator of religious activities. These
    include a protestant worship service held in the Frank Lloyd Wright-designed Annie Pfeiffer
    Chapel each Sunday at 11:00 a.m., a Roman Catholic mass celebrated each Sunday afternoon,
    and many denominational and non-denominational worship services, Bible studies, and fel-
    lowship groups throughout the week.
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           The Chaplain visits the student health center and hospital when there is need and is available
       to all students for spiritual counseling. Information about local churches is available through the
       Office of the Chaplain.

       Service and Civic Organizations
           There are several student organizations designed to give their members an opportunity to
       serve the community and become better-informed citizens. These include Best Buddies, Habitat
       for Humanity, Rotaract, Up ’Til Dawn, and TZeDeK, among others. The Volunteer Programs
       Office (located in the Center for Student Involvement) is available to help students find other
       avenues of service.

       Special Recognitions and Awards
           Each academic year a senior is selected as the Honor Walk Student on the basis of the stu-
       dent’s academic record, campus leadership, and contribution to the college community. Addi-
       tionally, an outstanding senior woman receives the Agnes Johnson Rowe Award, and an out-
       standing senior man receives the James C. Rogers Award.
           Other campus-wide awards include the Alumni Association Award to an outstanding senior
       and the President’s Medal, conferred at commencement for excellence in scholarship and cam-
       pus involvement. Many departments also confer academic and service recognitions.

       Wellness and Recreation
           The Nina B. Hollis Wellness Center is home to wellness and recreation activities at Florida
       Southern College. The comprehensive program includes group exercise, aquatics, fitness, intra-
       mural sports and outdoor recreation programming. The Wellness Center features a 2200-square-
       foot fitness facility with a complete line of equipment, free weights and cardiovascular machines,
       as well as a 2000-square-foot group studio for fitness classes and other instructional programs.
       The eight-lane pool, full court gymnasium, and open lobby area provide the FSC community
       with several recreational options to pursue a holistic lifestyle. In addition to the Wellness Center,
       other recreation pursuits can be experienced in the Snake Pit in the Carlisle Rogers Building, on
       the Sand Volleyball Courts, on the Intramural Sports Field, and on Lake.
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                                          ACADEMICS
        The academic experience at Florida Southern College places students at the center of their
    education by providing them the resources necessary to achieve success in college and in life after
    college. Florida Southern’s student-centered approach involves a commitment to engaged learn-
    ing in the classroom and to a strong advising program that pairs students with faculty mentors.

    Engaged Learning
        Engaged learning is an approach to teaching and learning in which students are responsible
    for developing the skills, attitudes, and knowledge necessary for success in life. The role of the
    professor is to empower students to achieve these outcomes. The engaged learning method of
    teaching encourages learners to conduct meaningful inquiry, reflect, think critically, and develop
    learning strategies for dealing with real-world challenges. Engaged learning may take place in a
    variety of settings using approaches varying in complexity and tailored to diverse student learn-
    ing styles.

    Academic Advising
         Academic advising is an integral part of academic life at FSC. Upon arriving at FSC, each new
    student is assigned to an academic advisor who serves as a mentor to help the student develop
    a plan for college studies and for success in life beyond college. The academic advising process
    emphasizes the collaborative role of the student and the academic advisor and plays a vital role
    in empowering students to become responsible for their own education. Because the partnership
    of student and academic advisor requires close cooperation, all FSC students are required to meet
    with their academic advisors at designated times during the academic year. Throughout the stu-
    dent’s career, the student and the academic advisor work together to establish personal, educational,
    and professional goals for the student.

    Student Solutions Center
        The Student Solutions Center (SSC) is a comprehensive academic resource center with staff
    who will help you explore your aspirations and establish a foundation for academic achievement.
    The SSC offers support for out-of-class learning through their “Academic Fuel” initiatives, and
    provides students with peer tutoring opportunities. Peer Assisted Study Sessions (PASS), Scholars
    Strengthening Scholars (S3), and the FSC Writing Center are the primary “Academic Fuel” initia-
    tives offered for the duration of each semester. For more information, contact the Student Solutions
    Center at 863.680.4900.
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                                      ACADEMIC POLICIES

       First Day Attendance Policy
            Students at Florida Southern College are required to attend, regardless of delivery method,
       the first scheduled class meeting of the semester in each course in which they are enrolled or they
       are subject to removal from the course. Students who will not be in attendance at the first class
       meeting must notify their academic dean to be approved for late arrival. A student’s major field
       of study determines the dean he or she should notify. All majors fall into one of four schools, each
       of which is administered by an academic dean:
            School of Arts and Sciences: Dr. Sara Fletcher Harding (sharding@flsouthern.edu)
            Barney Barnett School of Business and Free Enterprise: Dr. James W. Fenton
            (jfenton@flsouthern.edu)
            School of Education: Dr. Tracey D. Tedder (ttedder@flsouthern.edu)
            School of Nursing and Health Sciences: Dr. Linda S. Comer (lcomer@flsouthern.edu)
            School of Physical Therapy: Dr. Nancy Nuzzo (nnuzzo@flsouthern.edu)

       General Policies on Attendance
            Students are expected to attend all class and laboratory sessions on time and should
       be absent only for unavoidable documented reasons. Individual programs and professors
       will establish course attendance policies and publish them in the syllabus.
            When absences are due to participation in authorized college activities, the directors of the
       various college activities will send advance notice to all faculty members whose students are
       involved. Although opportunity to make up the work ordinarily is extended at the discretion of
       the professor, students absent for one of the above mentioned legitimate reasons should be al-
       lowed, when practical, to complete makeup work. If, in the judgment of the professor, even those
       absences incurred by reason of college activities are placing satisfactory academic performance
       in jeopardy, the professor should notify the director, coach, or instructor of the activity. It is the
       student’s responsibility to inform the faculty member a minimum of one week in advance of any
       college-sponsored events that may result in absence from class or labs. In general, all missed class
       activities will be made up at the discretion of the professor in accordance with the policies in the
       course syllabus.
            As a matter of information to a faculty member, a student may report an absence to the Stu-
       dent Solutions Center when it is due to a documented, unavoidable serious personal emergency.
       The Student Health Center will issue to a student an official explanation of absence when an
       absence is due to an illness treated by the Student Health Center. This information does not nec-
       essarily excuse the absence; it only provides information to the faculty member. Students should
       be aware of the class attendance policy, listed in each syllabus.
            Students having a prolonged period of absence for any reason must obtain written permis-
       sion from their academic dean, in consultation with the professor, to return for the remainder of
       the current semester. A student may be withdrawn from a class at the discretion of the professor.
       Reasons for withdrawal may include, but are not limited to, lack of attendance or inappropriate
       classroom behavior.
            If a serious personal emergency has occurred which required medical or psychological hospital-
       ization, the College may or may not choose to invoke a medical interim suspension. If the College
       does not choose to invoke such a suspension, it can however still require a student who wishes to
       return to class and campus life participation to provide documentation from an outside mental
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    health or medical professional. Please see Clearance Procedures under Medical and Mental Health
    Withdrawals for specifics. In the case of an interim suspension, the student is not allowed to stay in
    College housing and the College will not provide alternative housing for the student.

    Convocation & Passport Program
        The Faith and Life Convocation Series brings the college community together on a regular
    basis for outstanding presentations and programs. Attendance is required for all traditional under-
    graduate students (with the exception of those students involved in the Passport program) because
    Florida Southern College believes that an educational institution based on the liberal arts should
    expose students to a broad range of issues—religious, aesthetic, moral, as well as intellectual. It is
    one of the many ways in which the College is committed to providing educational excellence.
        It is the responsibility of the student to be aware of all convocation dates, which are publi-
    cized through a variety of means. The College recognizes that on occasion, unforeseen circum-
    stances require that a student miss attending a Convocation program. In order to make up the
    Convocation requirement, a recorded version of the event will be available for students to view at
    a designated time and location the week following Convocation. It is the student’s responsibility
    to obtain this information from the Office of Student Development. If a student does not review
    the recorded Convocation during one of the make-up sessions, a $100 fine will be placed on his/
    her student account. Seniors are permitted non-attendance during their final semester.
        The Passport Program is an involvement curriculum that is required of all full-time, un-
    der-graduate, day students entering Florida Southern College in fall 2016 or after, and student
    participation is compulsory for graduation. Students are required to attend a minimum of one
    event in every academic year, in each of the five Passport categories: School Pride, Learning Be-
    yond the Classroom, Fine Arts, Diversity and Service, and Health and Wellness, for a total of five
    events per year and in addition to attending one convocation. A complete calendar of events is
    maintained in Engage; students are required to note their participation to ensure that they stay
    on track with attending the required number of events. No more than one event can be counted
    in any one category in an academic year. Students that fail to attain the minimum number of
    events required in each category will have a $25 fine for each minimum event total not reached
    per category added to their student account. No students entering the college after the fall 2016
    semester are exempt from participation in Passport unless a true hardship can be demonstrated
    in consultation with the Dean of Student Development or designee.
    The College Schedule
         The undergraduate day programs of the college function on the semester system with two
    fifteen-week semesters, a four-week May Option term for study abroad opportunities, two five-
    week summer sessions, and one ten-week summer session. The academic calendar is published
    annually and may be found at the beginning of this volume.
         An instructional week begins on Monday morning and continues through Friday afternoon.
    During final examinations, in the adult programs, and for purposes of administering standardized
    examinations, the instructional hours may be extended through Saturday evening of any given
    week. The College reserves the right to assign classes or laboratory hours throughout the week.

    Emergency Class Cancellation Policy
        The College’s class cancellation policy is guided by our overriding concern for the safety of
    students. To ensure a clear line of authority, the president has authorized the provost to make
    decisions about class cancellations in the event of weather or other emergencies. If class cancella-
    tion is deemed necessary, the provost will inform the president and the vice president of finance
    and administration. The vice president of finance and administration will in turn launch the Col-
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       lege’s communication program, alert campus safety, and post information about cancellations
       on the College website. If the provost is not available, the associate provost or another designee
       shall make the decision whether to cancel classes. In the event that classes are not canceled but
       weather conditions pose a safety concern for students traveling to campus, this fact will be taken
       into consideration in assessing their attendance records.

       Commencement and Academic Traditions
           Academic achievement of collegiate degrees is recognized by the awarding of the degree
       during formal commencement ceremonies. Each candidate’s diploma is bound in a red vellum
       folder and signed by college officials. The official seal of the college is affixed. Students who
       have completed all degree requirements are expected to attend their commencement ceremony.
       Formal ceremonies are held in December and April/May. Students may also officially graduate
       in August and are invited to participate in the December ceremony. Students who have not com-
       pleted all degree requirements are not eligible to participate in commencement.
           Honorary degrees may be given by the college from time to time accompanied by the presen-
       tation of diplomas and of academic hoods bearing chevrons of red and white, the college colors.
       Each year since 1934, the College has selected an outstanding person as honorary chancellor as
       part of its annual Founders Week program. The College’s honorary chancellors are listed toward
       the end of this catalog.

       College Academic Honors
            Degree candidates with final cumulative grade point averages of 3.50–3.69 are graduated cum
       laude; 3.70–3.84 magna cum laude; and 3.85–4.00 summa cum laude. To be eligible for these honors
       within the graduating class, students must have earned 62 or more hours at FSC. AICE, AP, CLEP,
       IB, transfer, transient, and other non-Florida Southern credit does not meet this requirement.
            In the day or adult undergraduate program, academic recognition is also provided by naming
       students as president’s scholars. They are students who achieve a grade point average of 4.0 on a
       minimum of 15 graded semester hours in any one semester or a career grade point average of 4.0
       with an average of 15 graded semester hours per semester across their career at Florida Southern.
            Students in the day or adult programs may be named to the Dean’s List when they have
       achieved grade point averages of 3.7 or better on a minimum of twelve graded semester hours in
       any one semester. Courses taken pass/fail or audit do not count in the calculation.
            Students may be honored for academic and leadership achievement with election to one or
       more of the college’s honor societies, listed in the Student Life section.

       Roux Library
           The Roux Library is an integral part of the intellectual life of the College and seeks to educate
       students in developing lifelong, critical information-seeking skills through its staff, collections,
       and services. Librarians provide group and individual instruction in using library resources. Stu-
       dents have access to over 175,000 volumes, more than 7,000 full-text electronic journals in over
       100 electronic databases, access to 29,000 electronic books, a 15,000 item media collection that
       includes videocassettes, CDs, DVDs, and CD-ROMS, as well as a substantial microform collection
       of over 458,000 items. Students may request items from nearly 54,000 libraries in 96 countries
       and territories in over 400 languages through the international online network of the Online
       Computer Library Center (OCLC).
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    Unit of Academic Credit
        Florida Southern College utilizes the semester hour as the basic unit of academic credit. The
    semester hour represents the equivalent of 14 clock hours of classroom instruction. Two to three
    clock hours of laboratory or studio instruction are generally understood to be equivalent to one
    clock hour of classroom instruction. Most of the College’s baccalaureate degree requirements
    specify 124 semester hours for graduation. In some cases, degree programs may require more
    than 124 semester hours, as noted in those degree program listings. In the course lists and descrip-
    tions in this catalog, the use of the word “hour” means semester hour unless otherwise noted.
        For each credit hour, students are expected to invest a minimum of two hours of work outside
    the classroom each week. For other academic activities, labs, internships, practica, studio work,
    online and other academic work leading to the awarding of credit, an equivalent amount of work
    as required for a face-to-face course is expected. For each type of course or academic activity, Flor-
    ida Southern has established guidelines that are available through the provost’s office.

    Classification of Students
    The number of semester hours earned determines student classification.
        Freshman 0–29              Junior 60–92
        Sophomore 30–59            Senior 93 or more
    Students are also classified as
       • Degree-seeking full-time when taking 12 hours or more in any one semester and making
         systematic progress toward the degree;
         • Degree-seeking part-time when taking less than 12 hours in any semester and making
           systematic progress toward the degree;
         • Special when taking less than 12 hours in any semester and not being admitted to degree
           status;
         • Transient when a student from another college or university is admitted to FSC upon pre-
           sentation of an official statement attesting to good academic standing.

    Course Load
        Full-time degree-seeking students in the traditional undergraduate day program normally
    take 12–18 semester-hour course loads, although a 16-semester-hour load is considered typical.
    Only with written approval of the student’s academic dean (or designee) and the advisor may a
    student register for more than 18 hours. Course overloads are considered between 19–21 credit
    hours. A student may not exceed 21 credit hours in a semester. The student should have a 3.0 GPA
    and circumstances that warrant such an arrangement. Residential students may not register for
    fewer than 12 hours and may generally not reduce the load below 12 hours during any semester.
    However, a student may be residential in his or her final semester while taking a course load less
    than 12 credit hours. Adult program students may not take more than 8 hours in any one term.
        Students may enroll in certain traditional undergraduate courses as auditors. Full partici-
    pation in class work is not expected and no credit is given. Courses taken as audit may not be
    established later for credit.
        Traditional undergraduate students ordinarily do not include adult undergraduate program
    courses in their schedules of classes. However, students regularly registered in the traditional
    undergraduate program of the college are permitted to register in an adult undergraduate pro-
    gram course if the student’s total credit-hour load is not excessive and if the student’s grade point
    average is at least 2.5. When students are permitted to take courses in the adult undergraduate
    program additional tuition is assessed at the prevailing rate. Forms for “cross-over” into the adult
    undergraduate program for fall or spring may be obtained in the registrar’s office.
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       Online Coursework/Distance Education
            Florida Southern College offers a limited number of undergraduate courses using online
       delivery. Grading policies, academic integrity expectations, payment procedures, and general ac-
       ademic policies apply equally to both online and face-to-face courses, unless explicitly noted
       otherwise in the course syllabus. Note: Full-time students in the traditional undergraduate program
       are limited to a total of six online courses at Florida Southern.

       Pass/Fail/A Option
           Students, other than first-year students, may take one elective course per semester on a Pass/
       Fail/A basis. Students who earn an A in the course will have that grade recorded on their tran-
       script and counted toward cumulative and term GPA. Students who receive the equivalent of a
       B or C in the course will have a Pass recorded on the transcript. Grades of Pass are not calculated
       into GPA. Students earning the equivalent of D or F will have a Fail recorded in the transcript. A
       grade of Fail is calculated into term and cumulative GPA.
           Elective courses are defined as courses that do not satisfy general education requirements,
       major or minor requirements, or degree requirements. Pass/Fail/A grading requires full partici-
       pation of the student in all aspects of the class. Consent of the faculty member who is teaching
       the course is required and the signed consent form must be filed with the registrar’s office by the
       deadline for adding a course. Once such an election has been made, it may not be reversed.
           A student who elects to take a course or courses under the Pass/Fail/A option and who then
       transfers to a major or minor for which that course or courses are required may petition the ap-
       propriate dean to allow a transfer of Pass/Fail/A courses for credit within the major. Such transfer
       will be at the discretion of the dean of the school into which the student is transferring and after
       consultation with the appropriate department chairperson.
           In keeping with the liberal arts tradition, students are encouraged to use this option to ex-
       plore areas outside requirements within a student’s major or minor. Pass/Fail/A consent forms are
       available in the registrar’s office.

       Cross-listed Courses
           From time to time, students may wish to explore topics that are cross-listed (courses that
       are multi-disciplinary or that are accepted by multiple disciplines at Florida Southern College).
       Students may designate cross-listed courses on their transcripts by choosing the prefix for any
       cross-listed courses. To indicate which prefix will be recorded, the student registers for the course
       via the preferred prefix.

       Grades and Quality Points
           The following scale of letter grades is used by the undergraduate program at Florida South-
       ern College: A, Excellent; B, Good; C, Satisfactory; D, Deficient; and F, Failing. The letter “I” is
       used to indicate incomplete; and the letter “G” is used to indicate that a grade has been deferred
       because the course is part of a sequence that has not yet been completed, e.g. HON 4955 and
       HON 4956. A grade of “W” is given in a course from which the student withdraws by the calendar
       date specified in each semester; courses dropped after this date will carry a grade of F. An AU indi-
       cates audit. Certain courses may be elected on a “P”(pass) and “F” (fail) basis. Grades of “P” do not
       affect the grade point average. Transfer course grades, AICE credit, AP credit, IB credit, and credit
       for CLEP examinations do not affect the grade point average. Grade point values are assigned to
       the letter grades for each semester hour of instruction: A, 4; B, 3; C, 2; D, 1; F, 0. In determining
       grade point averages, the total number of quality points earned is divided by the total number of
       semester hours attempted for which quality point values are assigned. At mid-semester, students
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    are informed of academic progress by mid-term grade reports. At the close of the semester, final
    grades are reported to students and become a part of the permanent academic record. Students
    who wish to determine their academic standing at any time other than when final grades are
    posted may consult an academic calculator program (to figure grade point averages) on the Col-
    lege website through the Student Solutions Center.

    Incompletes
        At the end of the semester with most of the coursework complete, if a student is unable to
    complete coursework in one or more courses for non-academic reasons, the academic dean(s) to
    whom the course instructor(s) report will be notified. The appropriate academic dean then con-
    fers with the faculty member(s) under whom the student has been studying. Faculty members
    may then initiate procedures to establish an incomplete (grade of “I”). A form requesting permis-
    sion to award the grade of “I” is filed with the faculty member(s)’ academic dean for approval and
    transmission to the Registrar. The incomplete course must be finished before the end of the next
    succeeding semester or term or within a briefer time frame established by the course instructor.
    For such courses not completed within the allowable time limit, the “I” grade will become an “F.”

    Drop/Add Procedures
        First semester students making changes in registration (drop, add, or both) must complete
    the change with a standard office form bearing course numbers and all required signatures. All
    other students may make changes to their schedule via the portal until the close of registration.
        After the first week of class, the student must obtain signatures from both the course faculty
    member and the student’s advisor on a Course Withdrawal Form in order to withdraw from a
    course. The student is responsible for submitting the Course Withdrawal form to the registrar’s
    office. Verbal notification to the faculty member or failure to attend class does not constitute a
    withdrawal. Students who abandon a course without filing a Course Withdrawal Form automati-
    cally receive a failing grade (F). Students are reminded that shortly after mid-term grade distribu-
    tion a date is designated as the final date for withdrawing from courses without penalty.
        Grades of “W” are recorded for all individual semester courses withdrawn from after the first
    week of classes and before the mid-term date. Full tuition is not refunded after registration. Res-
    idential students may generally not reduce their total course load below 12 semester hours.
        During summer school sessions, students must cancel their registrations prior to the first
    class meeting. If they do not do so, a “W” will be recorded for the course and certain published
    refund policies apply. See the college website for specific information.
        Students may be withdrawn from online class for non-participation without notice.

    Involuntary Withdrawal from the College: Overview
        Florida Southern College expects and encourages students to behave in ways that promote
    their academic and personal success and that of others. The College also seeks to safeguard the
    health and well-being of individuals and the greater community. In rare cases, a student’s behavior
    becomes incompatible with these goals, rising to the level of a direct threat to others or being
    otherwise inconsistent with the student being qualified to remain successfully enrolled at FSC for
    classroom, residential, or other college experiences. In other situations, a student may be conflicted
    or uncertain about the eminent need to take a leave from the rigors of college life. Under these
    circumstances, on an individualized and case-by-case basis that takes into account both mitigating
    and aggravating circumstances, Florida Southern College reserves the right to require at any time
    the withdrawal of a student whose conduct, academic standing, health, or general influence Flor-
    ida Southern College considers incompatible with student success. This includes behaviors that
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       disrupt the College or interfere with FSC’s educational mission, for which disciplinary action up
       to and including suspension or expulsion may occur. Any separation between the student and the
       College will take place only after the college’s careful consideration of information pertinent to the
       matter at hand, including caring and interactive communication with the student, and will be in
       accordance with the college’s policies and procedures.

       Interim, Voluntary, and Involuntary Withdrawals
       Introduction
            Florida Southern College cares deeply about the health and safety of its students. Therefore,
       Student Health Center, Counseling Center, and Safety and Security Office services are available
       on campus. Students are encouraged to demonstrate behaviors that promote health and safety
       and, when necessary, to take concerted steps toward these goals, even if academic progress must be
       delayed. The College will support student-initiated behavioral and self-care plans and/or initiate
       actions that consider the welfare of the individual student as it relates to his or her impact on the
       College community. At times, students may exhibit such extreme behavioral conduct that they
       pose a direct threat to members of the College community, or that their challenge in functioning
       successfully and safely in the role of a student significantly hinders the academic or non-academic
       pursuits of others. In such extreme cases, for an unknown period of time, a student might not be
       qualified to carry out the essential requirements and activities of college coursework or residency.
       In order to address these issues, the College has in place a Student Health Committee (SHC). The
       SHC may include the Dean of Student Development, the Associate Vice President for Student
       Support, an Assistant Dean of Student Development, the Dean of Student Success, and/or the
       Director of the Counseling Center. Select members of the SHC may work with a student or the
       full committee may play a role, and the SHC may also request participation of other faculty or
       staff members who possess specific knowledge or expertise related to a student’s circumstances.
       Timing of the decision to withdraw, either by the student or by the College, may impact Federal
       student loan debt and reimbursement. Withdrawals cannot be issued retroactively. The status of
       “Withdrawal” (“W”) can only be granted for a current semester and not for semesters completed
       prior to the actual withdrawal. All withdrawals follow the tuition and fee reimbursement policy
       outlined elsewhere in the catalog.

       Emergency Interim Suspension
           The SHC, or individual members of the SHC, may recommend that the Dean of Student
       Development implement an emergency interim suspension for up to one week upon a student’s
       behavior rising to the level of significant community disruption, if a mandatory assessment is
       pending, or if the student has failed to comply with other clearance procedures within the al-
       lotted period. The College may extend the emergency interim suspension to allow a student to
       complete clearance procedures. Students under emergency interim suspension for any reason are
       temporarily not allowed to participate in any college activities, attend classes, reside in or visit
       campus residential facilities, and may not be on campus except to attend meetings or hearings
       related to his/her situation. This interim period allows time for a student to obtain needed re-
       sources or interventions, and for all parties to consider an evaluation of readiness to return to the
       college. The student must complete the appropriate clearance procedure, as directed by the SHC
       or other College official, before returning. Failure to do so may result in the SHC recommending
       that a student withdraw (voluntarily or involuntarily).
           Students will be notified verbally or in writing if they are to be placed under emergency
       interim suspension and will have the opportunity to address the basis for the decision by con-
       tacting the Dean of Student Development or designee. Faculty will be notified of student absence
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    from class (but not the cause of absence) with the intention that the student will be able to con-
    tinue to make appropriate and adequate academic progress.

    Voluntary Withdrawal
        Students may seek a voluntary withdrawal when their behavioral, physical, or mental health
    situations interfere with optimal college performance including successful engagement in, or
    completion of, academic course work; when the safety of the community is in question; or when
    the demands of college life are interfering with the ability to recover from or adjust to a sig-
    nificant challenge. Students interested in pursuing a voluntary withdrawal may seek support
    from others (e.g., the Counseling Center or Student Health Center) or independently initiate
    the process through the Student Solutions Center (863.680.4900). Upon deciding to voluntarily
    withdraw, students will initiate the necessary paper work at the Student Solutions Center and,
    with the assistance of the Student Solutions Center, they can obtain signatures from appropriate
    offices. Residential students will be required to move out of their room within 24 hours of with-
    drawing unless an extension is granted by the Dean of Student Development or designee. Those
    who voluntarily withdraw for any reason are not allowed to participate in any college activities,
    attend classes, reside in or visit campus residential facilities, and may not be on campus except to
    attend meetings or hearings related to his/her situation unless permission is granted in advance
    by the Dean of Student Development or designee. Students who opt for a voluntary withdrawal
    will undergo the appropriate clearance procedures in order to be reinstated as a student of the
    college. Students may be requested to provide, with the student’s written permission, current
    documentation from an appropriate outside consultant. Examples of such “consultants” include
    physicians, mental health providers, and non-relatives who, because of their professional cre-
    dentials and knowledge of the student, can provide recommendations about student readiness
    to return to college. This will provide the assurance the student is fully prepared to successfully
    resume all college activities and for the college to provide reasonable accommodations to foster
    student return. There is a form the college may require to be completed by the student’s con-
    sulting information provider with the student signing a waiver for release of that information to
    appropriate college officials. An outside evaluator’s recommendation is not a binding one for the
    college. If the withdrawal is for medical reasons, documentation must be received by the Dean
    of Student Development or designee within five business days of the initial request, or it will be
    classified as a non-medical withdrawal. Students who voluntarily withdraw and cannot return in
    time to regain academic standing in that semester will receive “W”s on their transcripts.

    Involuntary Withdrawal
        In rare circumstances the SHC, or individual members of the SHC, may recommend that a
    student be involuntarily withdrawn. Students who are involuntarily withdrawn for any reason
    are not allowed to participate in any college activities, attend classes, reside in or visit campus res-
    idential facilities, and may not be on campus except to attend meetings or hearings related to his/
    her situation. Examples of situations that might result in an involuntary withdrawal include, but
    are not limited to: a student poses a “direct threat” risk to the health or safety of others; a student
    has an uncontrolled contagious disease or infection; a student fails to complete the required steps
    during an emergency interim suspension, or appropriate clearance procedures; a student engages
    in behaviors that disrupt the college or interfere with FSC’s educational mission; or a student is
    not “otherwise qualified” to continue as a student at FSC. In many cases, these situations can be
    handled by identifying and implementing reasonable accommodations that reduce or eliminate
    threat, up to and including voluntary withdrawals; however, if the college and student are unable
    to identify actions that will address risk, or if the student is unwilling to adopt reasonable accom-
    modations, the SHC or its designee(s) may recommend to the Dean of Student Development to
    involuntarily withdraw a student. The SHC, or its designee(s), will recommend appropriate con-
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                                             ACADEMIC POLICIES                                             41



       ditions needed to return to Florida Southern College. Like students who voluntarily withdraw
       from FSC, Involuntary Withdrawal students will undergo the appropriate clearance procedures
       in order to be reinstated. Students who are involuntarily withdrawn and cannot return in time to
       regain academic standing in that semester will receive W’s on their transcripts.

       Clearance Procedures: Overview
           Clearance procedures are designed to promote interactive, compassionate, and effective con-
       versations between each student and a member or members of the college community. They have
       been designed to provide objective, specific feedback about behaviors and circumstances and
       balance a student’s well-being and success with the welfare of the greater community. Clearance
       procedures are the same for students who experience Emergency Interim Suspensions, involun-
       tary withdrawals, and voluntary medical withdrawals.

       Clearance Procedures: Preliminary Review
           Except for cases of a public health emergency, a member of the SHC, the Dean of Student
       Development, or other college official, may conduct a preliminary review. The official and the
       student will discuss the student’s situation and challenges, examine the College’s concerns, and
       make an initial determination about the student’s readiness to continue college activities and
       identify support mechanisms, resources, and conditions that may support this outcome. Ideally,
       a preliminary review adequately supports a positive final outcome. Sometimes as part of the pre-
       liminary review, or if concerns about a student’s readiness to resume college life persist after the
       preliminary review additional, appropriate clearance procedures may be utilized.

       Clearance Procedures: Determining if there is a “Direct Threat”
           A “direct threat” exists when a student’s conduct “poses a significant risk to the health or safe-
       ty of others (with a) high probability of substantial harm”. A direct threat results in behaviors or
       situations that violate the Cornerstone Values and Student Code of Conduct of the College that
       cannot be acceptably reduced or eliminated by providing reasonable accommodations, auxiliary
       aids, or services. Students who, through conversations and observations of specific behaviors, are
       identified as posing a direct threat may be supported in taking a voluntary withdrawal or may
       undergo interim emergency suspension, involuntary withdrawal, or another form of separation
       from the college. To determine if a student poses a direct threat to others, the following criteria
       established by the Office of Civil Rights are used:
          • Using individualized and objective assessment based on reasonable professional judgment
             and relying on the most current information (this underlies “mandatory assessment”, below)
          • Evaluating the nature, duration, and severity of the risk
          • Evaluating the probability that a potentially threatening injury to others will occur
          • Determining whether reasonable accommodations will sufficiently reduce the risk
            At Florida Southern College, these criteria are applied on a case-by-case basis within the context
       of an individual student’s circumstances, considering both mitigating and aggravating circumstanc-
       es. Separation of the relationship between the student and the College will only be recommended
       in the absence of other opportunities to accommodate or resolve a situation. If the College is con-
       cerned that the student poses a direct threat to others, a mandatory assessment may be required.
       Thus, the student may be obliged to seek proper evaluation from a licensed provider. A student
       may decline to undertake a mandatory Assessment but, because this is an issue of a potential direct
       threat, doing so may result in the College imposing an emergency interim suspension, involuntary
       medical withdrawal, or other action deemed prudent and appropriate by the College until such a
       determination can be made. Pending clearance, a student may not be allowed to participate in any
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    college activities, attend classes, reside in or visit campus residential facilities, and may not be on
    campus except to attend meetings or hearings related to his/her situation.

    Clearance Procedures: Determining if a Student is Currently “Otherwise
    Qualified” to Continue
         The inability to meet the essential requirements of a student in good academic, residential, or
    social standing can render a student, for an unforeseen period of time, as not currently qualified
    to remain a student at Florida Southern College. Such essential requirements include the capac-
    ity and willingness to participate in engaged learning in and outside the classroom, maintaining
    adequate academic grades and progress, the ability and readiness to abide by the College’s pol-
    icies outlined in The Student Handbook, and the presence of behaviors that permit unhindered
    community safety. Based on conversations with the student, the SHC or other College official(s)
    will strive to determine a student’s qualifications to continue as an active community member.
    The consequence of this determination may result in: directing students to appropriate support
    resources; identifying other reasonable and effective accommodations to enhance a student’s
    ability to be “qualified”; emergency interim suspension; helping the student move forward on an
    voluntarily withdrawal; or involuntary withdrawal

    Mandatory Assessment
         A student may need to complete a mandatory assessment if the student has been placed
    on emergency interim suspension; the student has voluntarily medically withdrawn from the
    College and wishes to be reinstated; the student has undergone an involuntary withdrawal and
    wishes to be reinstated; if after a preliminary review the College is concerned the student may
    pose a direct threat to others and needs professional judgment or additional information to assist
    in this determination; if after a preliminary review the College deems the student not “otherwise
    qualified” to continue as a student; under other conditions as determined by the college. These
    mandatory assessment steps are designed to ensure the student’s optimal performance in the
    college community, including that the student is not a direct threat to others, that a health emer-
    gency no longer exists, that effective accommodations and a plan for success is in place, and/or
    that the student is otherwise qualified to resume studies and community living.
         Note: Depending on the situation, students may complete these procedures on different timelines.
    Some students may complete these steps within days of the preliminary review, emergency interim sus-
    pension, or withdrawal while others may wait several months before pursuing a return to the College.
    The student must be assessed by an appropriate outside individual, whose opinions will be ad-
    visory to the College. The professional consultant, who is selected by the student, or the college,
    must be a licensed provider that could reasonably be seen as having adequate knowledge, author-
    ity, and training to make such an evaluation under other conditions. The College reserves the
    right to evaluate the appropriateness of the consultant. Further, all providers must be unrelated
    to the student and must have specialty/credentials appropriate for the condition of concern (e.g.,
    a specialist in eating disorders, substance abuse, etc.). To make an accurate evaluation, the outside
    consultant may require access to information held by the College related to the events that led
    to the leave. This typically would involve the student signing a release allowing the College (e.g.,
    the Office of Student Success, Student Health Center, Counseling Center, or Office of Student
    Development) to share information regarding relevant incidents or concerns and, if applicable,
    recent healthcare records. The student will be responsible for any cost incurred by the evaluation
    unless otherwise specified. The outside professional, with the student’s written permission, must
    provide directly to the college an assessment of current functioning of the student and provide
    written recommendations regarding: a) Given the precipitating events, the student’s readiness to
    return to the academic and co-curricular demands of college life; b) The student’s readiness to
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       live in the on-campus residential community; c) Ongoing service, resource, testing, or treatment
       needs; d) Any conditions or restrictions that the college should impose; and e) The student’s
       readiness to return to competitive sports, if the student is a collegiate athlete. The college may
       require a form to be completed by the student’s professional consultant. An outside evaluator’s
       recommendation is not a binding one for the College.
            Note: The college athletic team physician, in consultation with the Florida Southern College director
       of the Counseling Center, may ultimately make the decision regarding athletic involvement and may
       consider associated outside evaluations in making such a determination.
            Note: Documentation of the mandatory assessment and any associated follow-up plan at the college
       must be provided to the Student Solutions Center no later than December 1 for the spring semester and
       July 1 for the fall semester. Those planning to return to a summer session must provide documentation no
       later than 30 days before the summer session begins.
            After the mandatory assessment results and documentation have been provided to the col-
       lege, the student shall meet with the Dean of Student Development or other approved College
       official(s). Together, they will review assessment results, associated documentation, and the stu-
       dent’s own perception regarding readiness to return, and needs and plans for support or treat-
       ment will be discussed. Additionally, the College representative(s) will consider how the outside
       evaluator’s recommendations fit with the realities of student life at Florida Southern College and
       services that are available on campus or in the community.
            The Dean of Student Development or other College official(s) will thus consider a number
       of factors about the student’s ability to return to Florida Southern College, including the outside
       evaluator’s recommendation and the results of the student’s meeting with the dean. The Dean
       of Student Development will make recommendations, and the students will receive verbal or
       written notification of the decision about clearance to return to the College.
            Note: Neither an interim emergency, voluntary medical, nor involuntary withdrawal are considered
       punitive actions. However, any withdrawal becomes a part of a student’s institutional record.

       Readmission:
           Students seeking readmission for involuntary withdrawals follow the same procedures as
       students seeking readmission for voluntary medical withdrawals.

       Appeal
           Students seeking readmission for involuntary withdrawals follow the same procedures as
       students seeking readmission for voluntary medical withdrawals.

       Final Examinations
           The final examination schedule is published at the beginning of each semester. College pol-
       icy requires faculty members to give final examinations in all courses and to adhere to the pub-
       lished schedule. Any deviations from this regulation—canceling a final examination, changing
       the time or place of a scheduled final examination for the class, or adjusting the prescribed
       two-hour time limit on final examinations, or any other alteration—must become the subject of
       written memoranda between the faculty member and the faculty member’s academic dean.

       Academic Standing
       Good Academic Standing
           A student not on academic probation or academic suspension is considered to be in good
       academic standing. Academic standing is monitored at the end of each term, and students whose
       performance is unsatisfactory or at risk of becoming unsatisfactory are notified of their status as
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    well as the implications of loss of good academic standing for continued progress to the degree.
    Students are also advised of any steps they can or should take to improve their performance.
        Students receiving financial aid need also to be aware of the satisfactory progress require-
    ments for continued eligibility for financial aid.

    Standards of Academic Progress
         Degree-seeking students at Florida Southern College are required to comply with the Col-
    lege’s standards of academic progress in order to remain in good academic standing. A student’s
    compliance with the College’s standards of academic progress depends on both qualitative and
    quantitative measures. Students who are not in compliance with the College’s academic stan-
    dards, according to either qualitative or quantitative measures, are subject to loss of good academ-
    ic standing, suspension, or even expulsion from the College.

    Qualitative Measures of Academic Progress
         Qualitative measures of academic progress are based on a student’s grade point average. Stu-
    dents are expected to maintain minimum grade point averages of 2.0 (C) or better, both cumu-
    latively and during each term. When semester, term, and/or the cumulative grade point averages
    drop below 2.0, students are at risk of not achieving academic success and are subject to provi-
    sions and sanctions ranging from academic alert to expulsion.
         All periods of a student’s enrollment at FSC are utilized in determining the cumulative grade
    point average. However, any grades earned in transfer courses do not enter into the grade point
    average calculation.

    Quantitative Measures of Academic Progress
        Once a student has earned 25 or more hours or has attended more than two regular se-
    mesters, a quantitative measure is used to review the academic progress of each student toward
    graduation. The quantitative measure of academic progress is based on a student’s annual rate of
    course completion.
        A course is said to be completed when a student receives a grade of A, B, C, D, or P for the
    course; hence, students do not complete a course for which they receive a grade of F, G, I, or W.
    (Audited courses for which a student receives a grade of AU are not included in the calculation.)
        The completion rate is calculated in terms of credit hours: the rate of course completion
    equals the number of hours completed divided by the number of hours attempted. Students are
    expected to successfully complete at least 67 percent of all credit hours attempted in the
    academic year.
        A student’s rate of course completion is determined each year after the end of the spring
    semester. All periods of the student’s enrollment are counted in determining the total number of
    credits earned and attempted, including credit hours transferred from other institutions.

    Unsatisfactory Academic Progress
        When term, semester, and/or cumulative grade point averages drop below 2.0, students are
    academically deficient and subject to the following provisions and interventions:

    Academic Alert
        An academic alert indicates a failure to maintain Florida Southern’s academic progress
    requirements during a semester or term. Although academically deficient for the semester or
    term, students on academic alert remain in good academic standing. The status of academic alert
    applies to students under the following conditions:
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           Students at the end of the first semester of enrollment at FSC:
       		 The student’s cumulative grade point average is below 2.0 but at least 1.7.
           Students with total earned hours up to and including 24 semester hours of credit:
       		 The student’s cumulative grade point average is at least 2.0 but term grade point average
       		 is below 1.7.
           Students with total earned hours of 25–47 semester hours of credit:
       		 The student’s cumulative grade point average is at least 2.0 but term grade point average
       		 is below 1.8.
           Students with total earned hours of 48–62 semester hours of credit:
       		 The student’s cumulative grade point average is at least 2.0 but term grade point average
       		 is below 1.9.
           Students informed that they are on academic alert should meet with their advisor during
       the first two weeks of the next succeeding semester and devise a plan for improvement with the
       advisor. Students on academic alert should also meet with their advisor one week after mid-term
       grades are posted that semester.

       Academic Warning
           An academic warning indicates a more serious failure to maintain Florida Southern’s ac-
       ademic progress requirements than an academic alert and reflects deficiencies in cumulative
       performance and/or performance during a term or semester. The status of academic warning
       indicates that a student is at risk of not attaining success at FSC. However, although academically
       deficient, students on academic warning remain in good academic standing at the College. The
       status of academic warning applies to students under the following conditions:
           Students at the end of the first semester of enrollment at FSC:
       		 The student’s cumulative grade point average is below 1.7 but above 0.0
           Students with total earned hours up to and including 24 semester hours of credit:
       		 The student’s cumulative grade point average is below 2.0 but at least 1.7.
           Students with total earned hours of 25–47 semester hours of credit:
       		 The student’s cumulative grade point average is below 2.0 but at least 1.8.
           Students with total earned hours of 48–62 semester hours of credit:
       		 The student’s cumulative grade point average is below 2.0 but at least 1.9.
           Students with total earned hours of 63 or more semester hours of credit:
       		 The student’s cumulative grade point average is at least 2.0, and the student’s term grade
       		 point average is below 1.7.
           Students informed that they are on academic warning should meet with their advisor during
       the first two weeks of the next succeeding semester and devise a plan for improvement with the
       advisor. Students on academic warning should also meet with their advisor one week after mid-
       term grades are posted that semester. A hold will be placed on registration for the following se-
       mester’s classes until the student on academic warning has satisfied these advising requirements.
       Failure to satisfy the terms of the academic improvement plan developed with the advisor may
       result in either academic probation or suspension during the subsequent semester.
           The status of academic warning means that students may not rush a sorority or fraternity
       nor may they hold positions of leadership in student organizations including, but not limited to,
       student publications, sororities, fraternities, ensembles, and other societies. An office held by a
       student placed on academic warning shall be declared vacant immediately.
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    Academic Probation (Loss of Good Academic Standing)
         The status of academic probation signifies loss of good academic standing at FSC and is the
    most serious indication prior to suspension that a student’s academic progress is in jeopardy.
         Students are not subject to academic probation at the end of their first semester of enroll-
    ment at FSC. However, at the end of two or more semesters, the status of academic probation ap-
    plies to any student who fails to complete 67 percent of credit hours attempted over the previous
    academic year (for students who fail to complete any credit hours attempted, see Suspension).
         Additionally, at the end of two or more semesters of enrollment, the status of academic pro-
    bation initially applies to students under the following conditions:
         Students with total earned hours up to and including 24 semester hours of credit:
    		 The student’s cumulative grade point average is below 1.7.
         Students with total earned hours of 25–47 semester hours of credit:
    		 The student’s cumulative grade point average is below 1.8.
         Students with total earned hours of 48–62 semester hours of credit:
    		 The student’s cumulative grade point average is below 1.9.
         Students with total earned hours of 63 or more semester hours of credit:
    		 The student’s cumulative grade point average is below 2.0.
         Students whose term or semester grade point average falls below 1.0 are further subject to
    suspension (see Suspension).
         Students informed that they are on academic probation should meet with the Dean of Stu¬-
    dent Development during the first two weeks of the next succeeding semester to devise a plan for
    improvement. Additionally, students should meet with their academic advisor monthly during
    the semester. Students who remain on academic probation for two consecutive semesters may
    face academic suspension.
         The status of academic probation means that students may not rush a sorority or fraternity
    nor may they hold positions of leadership in student organizations including, but not limited
    to, student publications, sororities, fraternities, ensembles, and other societies. An office held by
    a student placed on academic probation shall be declared vacant immediately. Additionally, the
    status of academic probation means that a student may not participate in internships.
         Students on academic probation are usually not eligible to participate in intercollegiate ath-
    letics. Questions about intercollegiate athletic eligibility should be directed to the Department
    of Athletics.

    Academic Suspension
        The status of academic suspension is the most serious academic sanction prior to expulsion.
    A student placed on academic suspension is no longer in good academic standing at Florida
    Southern and is not permitted to register for courses or to participate in any college-related op-
    portunities until after the next regular semester (fall or spring).
        Students may be placed on academic suspension for three reasons: (a) deterioration of grade
    point average below the level of academic probation (applicable only to students past the first
    semester of enrollment), (b) lack of clear progress toward completion of degree requirements,
    and (c) academic failure for the semester. These reasons are detailed below:
    a. Grade point average below the level of academic probation
        Following the first semester of enrollment at FSC, a student is subject to suspension at the
    end of a term under the following conditions:
       Students with total earned hours up to and including 24 semester hours of credit:
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         		 • The student’s cumulative grade point average is below 1.7.
         		 • The student’s term grade point average is below 1.0.
          Students with total earned hours of 25–47 semester hours of credit:
         		 • The student’s cumulative grade point average is below 1.8.
         		 • The student’s term grade point average is below 1.0.
          Students with total earned hours of 48–62 semester hours of credit:
         		 • The student’s cumulative grade point average is below 1.9.
         		 • The student’s term grade point average is below 1.0.
          Students with total earned hours of 63 or more semester hours of credit:
         		 • The student’s cumulative grade point average is below 2.0.
         		 • The student’s term grade point average is below 1.0.
       b. Lack of clear progress toward completion of degree requirements
           Based on the 67 percent course completion standard of academic progress (see Quantitative
       Measures of Academic Progress), students are expected to undertake a course of study, including
       general education, major, and degree requirements, that will eventuate in a bachelor’s degree by
       the end of at most twelve semesters of full-time enrollment. Failure to make clear progress toward
       completion of degree requirements may lead to a student’s suspension.
       c. Academic failure for the semester
           Academic failure for the semester, as opposed to academic failure of a single course, occurs
       when a student receives all F grades in all academic courses in a given semester. The result is a
       term grade point average of 0.0. A student whose performance results in academic failure for the
       semester is placed on academic suspension for the following semester.
           The first time students qualify for suspension, they may be allowed to appeal that suspension
       to their academic dean. It should be noted that approval of such an appeal is, however, in no way
       automatic and is subject to the discretion of the dean. A student whose appeal is successful may
       return to the College under the guidelines of academic probation (see above).
           A student readmitted after academic suspension is automatically placed on academic proba-
       tion for the readmission semester (fall or spring).
       d. Multiple semesters of probation
           After two consecutive semesters of academic probation, a student is subject to suspension.

       Academic Expulsion
           A student who has qualified for academic suspension a second time will not be eligible for
       future enrollment at FSC. A second suspension is permanent and is, in fact, academic expulsion.

       Retaking Courses and the College “Forgiveness Policy”
           Students may be assisted in the improvement of cumulative grade point averages by the priv-
       ilege of retaking courses at Florida Southern in which grades were earned at Florida Southern.
       This privilege does NOT apply to courses in which a grade of A was earned. Upon completion of
       these courses, the original grades will no longer be counted in the determination of cumulative
       grade point averages although they will remain on the permanent academic record. It should be
       noted that even though any such course may be repeated as many times as necessary, it is only
       once that the original grade may be forgiven. In situations where the courses in question are not
       available or no longer offered, appropriate “like courses” may be substituted with the recommen-
       dation of the academic program coordinator or department chair and approval of the appropri-
       ate academic dean.
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    Academic Progress Chart
       The chart below summarizes the categories and criteria of unsatisfactory academic progress.
    The chart includes the following abbreviations:
       CmlGPA = Student’s cumulative grade point average
       TermGPA = Student’s term grade point average
       CompRate = Student’s annual course completion rate
        LAP = Lack of academic progress (less than 67 percent course completion rate)


         Term/Credit                     Academic Progress Classification
           Hour of
         Enrollment         Academic Alert    Academic Warning    Academic Probation         Suspension
          At the end
          of the first    CmlGPA below 2.0    CmlGPA below 1.7
                                                                   Not Applicable         TermGPA = 0.0
         semester at       but at least 1.7    but above 0.0
              FSC
          0–24 hours                                                                      TermGPA = 0.0
         (at the end of    CmlGPA at least                        CompRate below
                                              CmlGPA below 2.0                          [CmlGPA below 1.7
          second and          2.0 and                              67% or CmlGPA
                                               but at least 1.7                               and
          subsequent      TermGPA below 1.7                          below 1.7
          semesters)                                                                   TermGPA below 1.0]

                                                                                          TermGPA = 0.0 or
                           CmlGPA at least                                                Two consecutive
                                                                                       regular (fall + spring)
                               2.0 and                            CompRate below
                                              CmlGPA below 2.0                              semesters on
         25–47 hours       TermGPA below                           67% or CmlGPA             probation or
                                               but at least 1.8
                                 1.8                                 below 1.8
                                                                                         [CmlGPA below 1.8
                                                                                                 and
                                                                                        TermGPA below 1.0]
                                                                                          TermGPA = 0.0 or
                                                                                          Two consecutive
                           CmlGPA at least                                             regular (fall + spring)
                               2.0 and                            CompRate below            semesters on
                                              CmlGPA below 2.0
         48–62 hours                                               67% or CmlGPA             probation or
                           TermGPA below       but at least 1.9
                                                                     below 1.9
                                 1.9                                                     [CmlGPA below 1.9
                                                                                                 and
                                                                                        TermGPA below 1.0]
                                                                                         TermGPA = 0.0 or
                                               CmlGPA at least                           Two consecutive
                                                   2.0 and        CompRate below       regular (fall + spring)
          63+ hours                            TermGPA below       67% or CmlGPA           semesters on
                                                      1.7            below 2.0         probation or [CmlGPA
                                                                                           below 2.0 and
                                                                                        TermGPA below 1.0]
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       Permissions and Eligibility
       Transient Student Permission
           Students planning to take courses as transient students at other institutions (e.g., in summer
       sessions) should note that (1) they must have a minimum 2.0 grade point average at Florida South-
       ern; (2) they must have advance approval to attend another institution from the Florida Southern
       College registrar; (3) courses passed at the C level (but not at the C- level) or above at another
       regionally accredited institution may be transferred to Florida Southern College for credit of hours
       toward graduation but will not alter the student’s Florida Southern grade point average; (4) the
       maximum number of hours which can be transferred from a community or junior college is 62; (5)
       students who have or will have earned 75 semester hours credit are generally ineligible to attend a
       community or junior college. ; (6) after completing 93 hours, a student must finish the remaining
       credits at FSC; (7) students will be required to submit a Transient Enrollment Verification form.
       Questions concerning this policy should be referred to the registrar’s office.

       Academic Progress Requirements for Veterans
           Students who are supported financially by the Veterans Administration, Department of Vet-
       erans Benefits, are subject to all academic performance requirements stated above for all students.
       However, the veteran who is on academic probation for more than two consecutive semesters or
       four adult program terms will no longer receive V.A. benefits.

       Grade Grievance Procedures and Appeals
            Florida Southern College has established a procedure for the resolution of grievances arising
       from disputes over grades. Cases in which resolution has not been achieved by informal or for-
       mal negotiations among the students, faculty members, department chairs, division chairs, or the
       appropriate academic dean may be remanded by the provost’s office to the Religious Life and
       Student Life Committee for review.
            Cases involving a disputed infraction of the FSC Honor Code will be remanded to the Hon-
       or Code Infraction Review Board prior to consideration by the Religious Life and Student Life
       Committee. (For information about the Honor Code Infraction Review Board, see page 55).
            The Religious Life and Student Life Committee will consider each case, has the authority to
       make final recommendations, and will make every effort to preserve both the substance and the
       appearance of impartiality and fairness. In the event that a member of the committee is directly
       involved in the case, that member will not participate. If that member is the chair of the commit-
       tee, the committee will elect a chair, pro tem.
            The committee may make a determination without a hearing. In the event of a hearing by the
       committee, a vote will be taken by secret ballot. In either case the results will be communicated
       in writing by the chair to the provost. The Associate Provost will communicate the final decision
       to the student, the appropriate dean, the registrar, and the faculty member.
            Any student considering a grade appeal should understand that each faculty member has the
       academic freedom and responsibility to determine and assign grades according to any profession-
       ally acceptable method chosen by the faculty member, communicated to everyone in the class,
       and applied to all students equally.
            An appeal must be made in writing to the faculty member who taught the course (copies to
       the appropriate academic dean and/or department chair, and associate provost) no later than the
       fifteenth calendar day of the next succeeding regular semester. A detailed grade appeals proce-
       dure is available in the Office of the Provost.
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    Academic Integrity
        On joining the Florida Southern academic community, students are expected to embrace the
    tenets of liberal learning—critical thinking, intellectual exploration, and academic honesty.
        Academic dishonesty, cheating, plagiarism, and other violations of academic integrity are
    causes for suspension or expulsion from the college. Responsibility for dealing with violations
    initially lies with the faculty member. Where further action is needed, cases fall under the juris-
    diction of the Honor Code. Each case of academic dishonesty, however handled, is reported to
    the Office of the Provost as a matter of record.

    The Florida Southern College Honor Code
       I will practice academic and personal integrity and excellence of character and expect the
    same from others.

    I. Introduction
    I.A. Policy
         As an academic community, Florida Southern College is firmly committed to honor and integ-
    rity in the pursuit of knowledge. Therefore, as members of this academic community, all students
    acknowledge responsibility for their actions and commit themselves to the highest standards of
    integrity, thereby making a covenant with the College and all members of the academic commu-
    nity not to engage in any form of academic dishonesty as defined immediately below. This cove-
    nant—FSC’s Honor Code—lies at the heart of learning, inquiry, and the critical exploration and
    dissemination of ideas. Through it, students affirm the authorship of their own work, and when
    work is not their own, appropriately attribute ideas, concepts, data, words, and artistic and creative
    expressions. Formal subscription to the Honor Code by all students assures the academic commu-
    nity that breaches of academic integrity will not be tolerated and fosters learning at its best.

    I.B. Definition of Academic Dishonesty
         Academic dishonesty is any act of cheating, assistance in cheating, plagiarism, academic theft,
    falsification, or misrepresentation. The following definitions, adapted from the University of
    Pennsylvania’s Code of Academic Integrity (available online at www.vpul.upenn.edu/osl/acadint.
    html), shed further light on the full meaning of academic dishonesty. Academic dishonesty in-
    cludes but is not necessarily limited to:
         Cheating: using or attempting to use unauthorized assistance, material, or study aids in ex-
    aminations or other academic work or preventing, or attempting to prevent, another from using
    authorized assistance, material, or study aids. Examples: using a cheat sheet in a quiz or exam,
    altering a graded exam and resubmitting it for a better grade.
         Plagiarism: using the ideas, data, or language of another without specific or proper acknowl-
    edgment in oral, written or electronic media/formats. Examples: copying another person’s paper,
    article, or computer work and submitting it for an assignment, cloning someone else’s ideas
    without attribution, failing to use quotation marks where appropriate.
         Fabrication: submitting contrived or altered information in any academic exercise. Examples:
    making up data for an experiment, fudging data, citing nonexistent articles, contriving sources.
         Multiple submission: submitting, without prior permission, any work submitted to fulfill
    another academic requirement.
         Misrepresentation of academic records: misrepresenting or tampering with or attempt-
    ing to tamper with any portion of a student’s transcripts or academic record, either before or
    after coming to Florida Southern College. Examples: forging a change of grade slip, forging a
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       signature, tampering with computer records, falsifying academic information on one’s résumé.
            Facilitating academic dishonesty: knowingly helping or attempting to help another vio-
       late any provision of the Code. Example: working together on a take-home exam.
            Failure to report academic dishonesty: not reporting an observed violation. Example:
       failing to report witnessing cheating on an exam.
            Unfair advantage: attempting to gain unauthorized advantage over fellow students in an
       academic exercise. Examples: gaining or providing unauthorized access to examination materials,
       obstructing or interfering with another student’s efforts in an academic exercise, lying about a
       need for an extension for an exam or paper, continuing to write even when time is up during an
       exam, destroying or keeping library materials for one’s own use.

       I.C. Notification
            FSC’s new student orientation includes a written explanation of FSC’s academic policies,
       in particular, a complete explanation of the Honor Code. Upon enrollment, all new students,
       including Adult Program and graduate students, are to adhere to the Honor Code and its impli-
       cations to academic honesty.
            The Honor Code is published in the Academic Catalog and posted at the FSC website and
       throughout various locations on campus. Faculty members should remind students about the Hon-
       or Code at the beginning of each academic term or semester and place the Honor Code in course
       syllabi, including any information specific to the faculty member’s use of the Honor Code.
            A student’s failure to be aware of the Honor Code or to understand its provisions does not
       excuse the student from the jurisdiction, process, or penalties of the Honor Code. Furthermore, if
       a student is unclear about whether his or her actions might be an infraction of the Honor Code,
       the student is responsible for contacting the faculty member for clarification.

       I.D. Jurisdiction
           The Honor Code specifically applies to all academic transactions at FSC—those that are
       academically related, as well as those in which students represent the College or themselves as
       students of the College (e.g., competitions, internships, field experiences, practica, research proj-
       ects, poster displays, and the like), even when classes are not in session. However, the Honor Code
       does not supersede or, in any manner, impinge upon the jurisdiction, procedures, and penalties
       enforced under applicable state and federal laws.

       II. Roles, Responsibilities, and Reporting Procedures
       II.A. Roles and Responsibilities
           Adherence to the Honor Code is assured by the participation and action of all students,
       faculty members, staff members, and members of FSC’s senior administration, in their roles as
       outlined in Sections II and III.

       II.A.1. Students
           As members of the FSC academic community, students should never tolerate any form of
       academic dishonesty, whether committed by themselves or by others. Therefore, a student who
       observes an act of academic dishonesty is responsible for reporting that possible offense either
       to the faculty member who is teaching the course in which it occurred or a dean. If a student’s
       report is made directly to a dean, the dean will notify the faculty member involved and forward
       a copy of the report to that faculty member. The report should be made immediately and should
       follow the procedure outlined in Section II.B.
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    II.A.2. Faculty, Staff, and Administrators
        Faculty and staff members or administrators discovering a possible offense against the Honor
    Code, either through investigation, through normal operations, or by report from a student,
    should report the possible offense to a dean immediately. Reporting should follow the procedure
    outlined in Section II.B.

    II.B. Reporting Procedures
         The student, faculty member, or other person reporting the possible offense should do so in
    writing using the Honor Code report form available on FSC’s portal (under faculty governance,
    forms). If a faculty member is reporting a case of possible plagiarism, the faculty member should
    also include the original assignment (or photocopy), marking plagiarized passages and citing the
    original source(s). The report must be signed. Faculty members who have received a report of
    academic dishonesty are required to take action immediately. The Faculty member receiving an
    Honor Code infraction report should report the matter to their dean immediately, and within
    five days of receipt, the faculty member must inform the accused of the content of the allegation.
    Full confidentiality is maintained during these steps; however, if the accused student decides to
    appeal a course-related penalty, the student(s) or other person(s) reporting the incident may be
    required to be present at the hearing. The faculty member may choose one of two options and
    should report his or her choice of option to their dean:

         1) a specific course-related penalty
         2) forwarding for hearing by the Honor Code Infraction Review Board, in a timely manner
            but no later than the end of the semester in which the event took place.

    II.C. Appeal Faculty Decision
        Should the faculty member choose not to forward the case to the appropriate dean for a hear-
    ing and decide to impose a course-related penalty, the accused student retains the right to appeal
    the faculty member’s penalty. See Section III.B. Types of Cases.

    III. Hearing Procedures and Outcomes
    III.A. Hearing Body: The Honor Code Infraction Review Board (HCIRB)
        The HCIRB is composed of eight faculty members and two students, all serving with the
    right to vote. Any HCIRB member who has an involvement with a particular case or whose par-
    ticipation would result in a conflict of interest may not hear that case.

    III.A.1. Student Members
         The two student representatives are elected by vote of the faculty members within four weeks
    of the start of the academic year. Faculty may nominate students and provide nominees’ majors,
    GPAs, and any additional pertinent information. Before being nominated, students must agree to
    serve, if elected, and must be available to serve through the summer break following the academ-
    ic year, if necessary. Student terms are for one year; however, a student member may be elected
    for additional one-year terms so long as that student remains a degree-seeking student in good
    academic and disciplinary standing at the College. A student who has been sanctioned for an
    Honor Code violation cannot serve on the HCIRB. In the event that a student HCIRB member
    is sanctioned during the year, the faculty members from his or her unit will elect a replacement.

    III.A.2. Faculty Members
        The HCIRB will have eight faculty representatives: one from each division of the School of
    Arts and Sciences and one from each of the other schools.
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       A. School of Arts and Sciences
          		   i.		   Social Sciences (Criminology, History, Political Science, Sociology)
          		   ii.    Communication
          		   iii.   Humanities (English, Modern Languages, Religion and Philosophy)
          		   iv.    Fine Arts (Art, Music, Theatre)
          		   v.		   Natural Sciences (Biology, Chemistry and Physics, Mathematics and Computer Science)
       B. School of Business
       C. School of Education
       D. School of Nursing and Health Sciences

       III.B. Types of Cases
           The HCIRB serves as the hearing board in the following types of cases:
          • Cases referred by faculty members to the appropriate dean, instead of a course-related penalty
          • Cases referred to the appropriate dean by other members of the academic community (e.g.,
            deans, division chairs, registrar, library director, admissions director, or internship supervisor).
          • The HCIRB serves as an appeals board when the faculty member has sanctioned the stu-
            dent by means of a course-related penalty, but the student wishes to appeal the decision on
            grounds of challenging the evidence or capriciousness on the part of the faculty member.

       III.C. Hearing Process
           The hearing process begins when a dean refers a case and provides pertinent information
       representing both sides to the HCIRB.

       III.C.1. Appellant Hearing Process
           When the HCIRB serves as an appeals board, it will meet in a pre-hearing to determine if
       there is sufficient reason to warrant review of the faculty member’s decision. Sufficient reason
       would include evidence of capriciousness on the part of the faculty member, questions of fact, or
       new evidence since the faculty member invoked the penalty. The HCIRB chair or members of the
       HCIRB at the chair’s direction will investigate the case, collect all pertinent materials, and notify
       the parties involved in the case at least 72 hours in advance of the scheduled hearing. Every effort
       should be made to investigate the allegations and to collect all pertinent materials in a reasonably
       expeditious manner. If the HCIRB determines not to hold a full hearing, the faculty member’s
       decision stands. Should the HCIRB hear the case on appeal, the hearing procedures outlined
       below are followed.

       III.C.2. Process for Hearing
           HCIRB hearings proceed in the following manner:
           A quorum is 6 (at least 2 faculty members and 2 students). If the case involves a graduate
       student, the quorum must include the graduate student representative unless the representative
       has an interest in the case.
           Proceedings are recorded by an audio recording device.
           The meetings are closed. Parents or guardians are not allowed to be present. No attorney may
       be present. The student may have an advisor selected from among the faculty members of the
       ASAI. Such an advisor may not speak for the student, but may offer counsel and explanation to
       the student. Rules of law and evidence do not apply to FSC hearings.
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         The two parties are permitted to bring no more than two witnesses to the hearing. Both sides
    may provide additional written testimony relevant to the case. The accused student may question
    witnesses who speak at the meeting and may challenge any written witness statements presented
    at the meeting. Witnesses must have personal involvement with, have personally observed, or
    have otherwise relevant knowledge of, the incident in question. The HCIRB reserves the right to
    call additional witnesses.
         Faculty members and/or accused students are responsible for providing the time and loca-
    tion of the hearing to their witnesses and ascertaining if the witnesses will be present. The hear-
    ing process will be scheduled when both parties are available, and both parties must be available
    within 14 days of the HCIRB’s announced decision to hold a hearing. If either party fails to
    appear, the hearing process will proceed.

    III.C.3. Honor Code Infraction Review Board Meeting Procedures

    Outline of HCIRB Meeting:
         1. The chair will call the meeting to order and outline the purpose of the HCIRB. The chair
            will ask all persons present to identify themselves and state the reason for their presence.
         2. The chair will read the charge(s) and ask the student to give a statement of “Responsible”
            or “Not Responsible” to each charge. If the student enters a plea of “Not Responsible”
            for any or all charges, the meeting will continue to the Determination of Responsibility
            phase of the meeting. If the student enters “Responsible” for all the charges, the meeting
            will continue to the Sanctioning phase of the meeting.

    Determination of Responsibility Phase:
         1. The College’s case may be presented by witnesses or by written documents or reports.
         2. The charged student will then state his or her case.
         3. The HCIRB may ask questions of either the person presenting the charge(s) or the stu-
            dent being charged.
         4. Witnesses for the person presenting the charge(s) will be called in one at a time. Each
            witness will be asked to present information relevant to the case. Each witness may be
            questioned by the HCIRB, the person presenting the charges, or the charged student.
         5. The same process will be followed for the charged student.
         6. After all witnesses have been heard, the HCIRB may ask for additional information.
         7. The person presenting charge(s) will give a closing statement.
         8. The charged student will give a closing statement.
         9. All persons, except the HCIRB, will be excused from the room.
         10. The HCIRB will determine accountability of “Responsible” of “Not Responsible” for
            each charge presented. The College and the accused student will then be brought back
            into the room. The HCIRB will read the findings.
         11. If found not responsible for all charges, the proceedings are closed and everyone is
            dismissed.
         12. If found responsible, the proceedings continue with the sanctioning phase.

    Sanctioning Phase:
        The Sanctioning Phase of the HCIRB will take place at the hearing if the student has stated
    or been found responsible for any of the charges.
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           1. The HCIRB chair will present information related to the prior accountability record of
              the charged student and present recommended sanctions.
           2. The charged student may then make a statement on his or her behalf
           3. The HCIRB may ask questions of either the person presenting the charge(s) or the
              charged student.
           4. After all witnesses have been heard, the HCIRB may ask for additional information.
           5. The person presenting the charge(s) will give a closing statement.
           6. The charged student will give a closing statement.
           7. All persons, except HCIRB, will be excused from the room.
           8. Then the HCIRB will open discussion of sanction(s).
           9. A determination as to the appropriate sanction(s) will be made. All sanctions except sus-
              pension and expulsion may be passed by a simple majority of the HCIRB voting members
              present. Suspension and expulsion decisions must be passed with a supermajority vote of
              75 percent of the voting members present.
           10. The person presenting charge(s), charged student, and advisor will be asked to return
              to the room. The HCIRB chair will read the findings.
           11. After the sanction is read, the information in the catalog detailing the appeal process is
              noted (if appropriate). Sanctions go into effect immediately.
           12. Everyone is dismissed.

       Student Appeal from an HCIRB Decision
           An appeal is defined as a request for review of the original case determination by the HCIRB.
       A student is entitled to appeal a decision rendered by the HCIRB in cases where the HCIRB
       is not the appellate body. In cases where HCIRB is acting as an appellate body (i.e., when the
       HCIRB is acting as appellate body after a faculty member has sanctioned a student by means of
       a course-related penalty) there is no further appeal from the HCIRB decision. During the appeal
       process, sanctions are in effect until such time as they might be reversed, modified, or upheld.
           Appeals must be clearly and concisely written and must state clearly what the student is ap-
       pealing and why.

           1. A decision must be appealed by the student within three business days of the meeting.
              Failure to pick up mail will not be grounds for an extension of the deadline for appeal.
              Such appeals shall be in writing.
           2. Appeal letters should be written to the provost.
           3. Except as required to explain the basis of new evidence, an appeal shall be limited to
              review of the record of the initial meeting and for either of the following purposes:
           		 a. The student provides evidence that was not available at the original meeting
           		 and can defend why said evidence was not made available in a timely manner.
           		 b. There were procedural irregularities in the original meeting.
           4. A disagreement with the sanction issued is not, in itself, sufficient reason for appeal.
           5. The provost may undertake a review of the HCIRB’s decision or may appoint a commit-
              tee to review the case and make a recommendation, following which the provost may
              modify, uphold, or reverse the decision. There is no further avenue of appeal.

       Exception: The provost may require a student whose case is under appeal, or pending meeting,
       to leave the campus in the interim should the student’s presence on campus create a situation
       which, in the opinion of the appropriate dean, could be detrimental to the student involved or
       to the College community.
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    III.D. Sanctions
        Depending upon the severity of the offense, the strength of the evidence, the ability of the
    offender to continue working within the Honor Code, prior violations of the Honor Code by the
    offender, and/or any extenuating circumstances, the HCIRB may recommend a course-related
    sanction (grade reduction, failure), on-campus probation and/or required counseling, suspension
    with the possibility but not the guarantee of readmission, or expulsion. Expulsion is the perma-
    nent removal of the student from FSC. Other sanctions may be considered and imposed as well.

    III.E. Appeal
       In cases where the HCIRB serves as an appellate board, its findings and decisions are binding
    and no further appeal is possible.

    III.F. Records
       All records of the HCIRB will be maintained in the Office of the Registrar, including the
    audio recording of the hearing.
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                                   PROGRAMS OF STUDY

       Majors in the Liberal Arts, Sciences, and Professional
       Degree Programs
           Consistent with Florida Southern’s essential mission as a comprehensive college and its com-
       mitment to a liberal education, its academic program is designed to provide opportunities for
       students to major in the liberal arts and sciences as well as in professional academic programs.
           Regardless of major, a Florida Southern education is grounded in a general education cur-
       riculum that helps students acquire the knowledge, skills, and confidence necessary for success.
       The goals of liberal learning are also integrated into coursework across the curriculum. One
       advantage of this is to facilitate changes in vocation, which often occur after graduation or even
       after a number of years in a profession. In many of the professional programs, field experience is
       an integral part. Coursework is also designed to enable students to proceed directly to graduate
       work upon completion of the bachelor’s degree.
           Majors vary in the number of semester hours required; however, at least fifty percent of the
       major requirements must have been completed at Florida Southern College.

       Self-Designed Major
           To serve the expectations and needs of academically qualified students, Florida Southern Col-
       lege has implemented Venture into the Adventure—a major designed by the student to meet his
       or her particular needs. This major is for academically qualified students; therefore, the student
       must hold sophomore standing, have taken some courses in the areas of interest, and have main-
       tained a minimum cumulative GPA of at least 3.0. Students who have accumulated more than 72
       credit hours are not eligible for the self-designed major. Additional policies are included in the
       “Self-Design Major Checklist” available from the interdisciplinary programs coordinator.
           Students interested in the self-designed major should contact Dr. Ronald Pepino, interdisci-
       plinary programs coordinator. The student will generate the idea for the major after discussion
       with the interdisciplinary programs coordinator and faculty members in the relevant areas of
       interest. The student will invite faculty members to serve as an advisory committee to assist in
       framing the degree proposal and advising the student toward degree completion.
           The proposed self-designed major will build upon the existing strengths of the Florida South-
       ern College faculty and programs. Each self-designed major must be built upon the requisite
       number of lower- and upper-division courses.
       A successful proposal will contain the following items:
          • Goals for the degree
         • Required course list to meet the General Education requirements
         • Required courses for the major (30 semester hours minimum)
         • Student learning outcomes and assessments
         • A significant focus on interdisciplinary inquiry and critical thinking
         • A senior research (or comparable creative) component to serve as a capstone experience
       For more information about the Self-Designed Major, see 175.
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    Interdisciplinary Degree Programs
        Florida Southern College offers several interdisciplinary degree programs. They include
    Biochemistry and Molecular Biology, Environmental Studies, Humanities, Music Management,
    Political Communication, Political Economy, Social Sciences, and Sports Communication and
    Marketing. See Undergraduate Program Requirements on pages 88 and following for full de-
    scriptions of these programs.

    Minors
        Minors are offered in a variety of disciplines in which majors are offered as well as in ad-
    vertising design, integrated marketing, Latin American studies, military science and leadership,
    physics, pre-law, and women’s studies.
        Students are required to complete 50 percent of the minor requirements at FSC. Please be
    reminded that AICE, AP, CLEP and IB credits are recorded as transfer credits.
        Students at Florida Southern College may elect a minor as specified in this catalog.
        Minors typically require at least 18 semester hours (and no more than 24) of coursework that
    count toward the major, successfully completed with a 2.0 grade point average. Specific informa-
    tion about particular minors is included in the introductory section of each discipline found in
    this catalog. In many cases, the particular courses for a minor are specified by the program.

    Interdisciplinary Minors
         In addition to interdisciplinary majors, interdisciplinary academic programs are available that
    take the form of minors, concentrations within majors, and career paths in the major that may be
    planned with a student’s faculty advisor. These interdisciplinary programs draw on faculty across
    academic disciplines, integrating diverse perspectives to broaden the scope for studying critical
    issues in a rapidly changing world. The interdisciplinary approach emphasizes independent and
    critical thinking, which enriches the liberal arts experience and provides excellent preparation
    for graduate education in a number of fields. The programs complement most academic majors
    and provide the opportunity to expand and enhance career opportunities.
         Advertising Design: The Minor in Advertising Design provides students with design prac-
    tices and creative strategies needed to excel within the field of advertising design. Hands-on
    coursework presents students with challenges faced in the industry and the skills and knowledge
    necessary to face those challenges.
         Integrated Marketing Communication: The Minor in Integrated Marketing Communi-
    cation blends coursework in marketing, advertising and public relations to better prepare stu-
    dents for careers in the professional communication industry. Students gain hands-on experience
    in gathering and applying research to strategically coordinate messages and establish relation-
    ships with target audiences.
         Latin American Studies: The U.S. finds itself increasingly involved in Latin American cul-
    ture, as a trading partner with nineteen Spanish speaking countries in the world and in recogni-
    tion that the largest minority population in this nation is Hispanic. The Minor in Latin Amer-
    ican Studies offers a student the opportunity to blend language studies with studies in culture,
    film, and history along with multi-disciplinary courses in Latin American studies. Contact Dr.
    José Garcia for further information.
         Pre-Law: The pre-law minor covers the basic foundation courses relevant to problem solving
    and analysis generally associated with the legal profession. Students on a trajectory for graduate
    study in law, legal issues, public administration, and management will find this a useful minor.
    It is inclusive of courses that prepare the student for LSAT testing (logic; accounting) as well as
    socialization to the profession itself.
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            Women and Gender Studies – The women and gender studies minor provides an interdis-
       ciplinary framework for exploring the role of women throughout history and the ways in which
       gender influences cultural, social, political, and economic relations. Students gain skills in analyt-
       ical and critical thinking through the study of gender from diverse academic perspectives, such as
       literature, religion, economics, communication, sociology, psychology, and criminology. Faculty
       members from a number of academic departments support and teach in the women and gender
       studies program. The Minor in Women and Gender Studies complements almost any major
       field of study. Students who complete the minor enhance their problem-solving, leadership, and
       communication skills.

       Pre-Professional Programs
           The Pre-Professional Program (P3) is a rigorous, competitive program for students pursuing
       admission to health professions schools after obtaining their undergraduate degrees. P3 assists
       students with academic and career goals to prepare them to be qualified candidates for these
       professional programs. In this respect, “pre-professional” refers to most medically related fields,
       including medical, dental, veterinary, physician assistant, optometry, podiatry, and physical ther-
       apy, but does not apply to nursing or to pre-law studies and other paths that lie outside of the
       natural sciences and health professions.
           In this program, students will participate in specific activities that encourage ongoing ex-
       ploration of the health care field and prepare them for success in this highly competitive arena.
       Activities include workshops, classes, one-on-one advising, and professional observation and vol-
       unteer experiences. Students completing the program are well prepared to submit a holistically
       competitive application to outstanding professional programs.
           Students interested in P3 should declare their intent to their academic advisor and partici-
       pate in workshops and activities facilitated by the science and pre-health career and internship
       coordinator in their first semester at Florida Southern College. Full participation in P3 includes
       a 2-part application process:
          • Part 1: Acceptance into P3 requires completion of specific coursework, a competitive GPA,
            a personal statement, and completion of an application by January 15 of the second year.
          • Part 2: Completion of P3 requires submission of an extensive application by March 15 of
            the third year and culminates in a formal Committee Interview and Letter of Evaluation.
       For full program details, including eligibility and requirements, contact Dr. Nancy Morvillo,
       chair of the Department of Biology, or Ms. Lauren Albaum, the science and pre-health career and
       internship coordinator.

       The Florida Southern College–Lake Erie College of Osteopathic Medicine
       (LECOM) Early Acceptance Programs
           Qualified students may take part in one of three FSC–LECOM Early Acceptance Programs.
       If program requirements are met, students are virtually guaranteed acceptance into one of
       LECOM’s professional programs: the LECOM College of Medicine (leading to the Doctor of
       Osteopathic Medicine degree), the LECOM School of Dental Medicine, or the LECOM School
       of Pharmacy. Students interested in these programs should contact Dr. Nancy Morvillo, Chair
       of the Department of Biology.

       Pre-Law and Legal Studies
           The pre-law program is a three-part preparatory program aimed for student success in legal
       studies. The three main components are 1) a formal pre-law minor, which includes study of the
       US judicial system, accounting, logic, the written word, and oral presentation; 2) an internship
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    program, where students intern with local law firms, the public defender’s office; the state’s at-
    torney’s (prosecutor’s) office, initially for a single credit hour, and as your particular interest
    becomes more focused, through a guided 4-hour summer internship; 3) LSAT preparation, in-
    cluding practice tests from first year onward, and a formal LSAT exam preparation course during
    junior or senior year. Mentorship by local practitioners has become an integral part of the pro-
    gram, as well as a first year based on legal studies and political science. All majors are welcome in
    the pre-law program.

    Pre-Theological Studies
        A minister needs a broad liberal arts and sciences education. While there is no specific pro-
    gram for pre-theological study, the Association of Theological Schools recommends courses in
    the following subjects be included: English literature, European history, political science, eco-
    nomics, psychology, religion, and the history of philosophy. Members of the religion faculty can
    provide additional information about graduate study in theology.

    Pre-Engineering Studies
        The pre-engineering curriculum is less flexible than other pre-professional areas of study and
    requires courses in mathematics, chemistry, and physics. Students planning to pursue pre-engi-
    neering should consult their engineering school of choice for specific prerequisites and require-
    ments for entry. Students interested in pre-engineering should consult Dr. Jason Montgomery,
    pre-engineering coordinator.

    Junior Journey
         All day program first-time, full-time undergraduate students who entered Florida Southern
    in fall 2010 or later are guaranteed a travel experience after the completion of their fourth full
    semester at Florida Southern. Transfer students may be eligible to travel during their fourth full
    semester at FSC. Students must travel before they graduate. Students must be in good academic,
    business, and social standing both at the time of application and departure. Trips will be offered
    during May Term, Summer Term, and/or other periods such as fall, spring, and winter break.
    Each Junior Journey destination has course-related requirements to satisfy one-credit hour, pass/
    fail course. For more details on trips and eligibility contact the Office of Student Travel.

    May Term
         May Term is an opportunity to take an innovative, engaging, and exciting course immediately
    after the spring semester ends. This format allows for creative exploration of course material that
    is not always possible during the traditional semester. Some May Term courses are approved to
    satisfy General Education requirements.

    Guaranteed Internship Experience
        Florida Southern guarantees an internship experience to all day program students in good
    academic, business, and social standing who enroll at Florida Southern starting in fall 2010. Stu-
    dents should consult with their faculty advisor and are encouraged to visit the Career Center to
    plan their internship experience prior to graduation.

    Washington Semester
        Florida Southern College participates in the Washington Semester of the American University
    in Washington, D.C. Junior students, selected on the basis of character and high academic achieve-
    ment, may spend a semester in Washington studying government and international relations.
        Approximately 15 hours of credit may be earned toward a Florida Southern College degree.
    Students interested in applying for the Washington Seminar should contact Dr. R. Bruce Anderson.
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                                            PROGRAMS OF STUDY                                             61




       Study Abroad
           Florida Southern has a long-standing relationship with Harlaxton College and Regent’s Col-
       lege in England and Proyecto Espanol in Spain. Because the College is committed to transform-
       ing lives through global education, we offer study abroad travel opportunities during fall, spring,
       and summer terms. FSC students can also take advantage of study abroad programs taken directly
       through universities in Europe, Asia, Australia, South America,and Central America. Some cur-
       ricula abroad require fluency in the language of the host country. Other programs offer inten-
       sive intermediate or advanced study in the language as the initial phase of the program. Florida
       Southern students have studied French in Nice and Angers, Spanish in Spain, Mexico, and Costa
       Rica, a host of subjects in England, marine biology in the Bahamas and Belize, and art, business,
       and literature throughout Europe and the Far East. Contact the Student Travel Office for further
       information. In all cases, students must be in good academic and social standing in order to par-
       ticipate in Study Abroad programs. At both the time of application and departure, the student
       must have a 2.0 GPA. Course equivalencies must have been approved in advance to assure the
       appropriate transfer credit.

       Honors Program
           The mission of the Florida Southern College Honors Program is to offer talented and moti-
       vated students the training and support they need to undertake an ambitious self-directed project
       during their senior year. During the first two years of the program, students take dedicated cours-
       es and seminars that push them to think critically about the pressing issues of our day. During
       the second two years, in close collaboration with a faculty mentor, students develop a proposal
       for their senior project, see that project through, and present the final product to their professors
       and peers. To support their work, students in the Honors Program are afforded a number of
       special privileges, including dedicated first-year housing, priority course registration, access to a
       private student lounge, and a regular schedule of workshops and special events. Honors students
       must maintain at least a 3.5 GPA to remain in the program, and maintain the highest standards
       of academic integrity and quality.

       Army Reserve Officers Training Corps (ROTC)
           The objective of the Army ROTC is to produce officers possessing leadership qualities and
       attributes essential to their progressive development in the active Army, Army Reserve, or Army
       National Guard. It provides instruction in basic officer competencies; teaches basic life skills
       pertaining to fitness and interpersonal communication; introduces Army values and expected
       ethical behavior; presents the unique duties and responsibilities of officers and the expectation
       of selfless service; and teaches the basic soldier skills required for squad level tactical operation.
       The ROTC curriculum is separated into two phases: the Basic Course and the Advanced Course.
       The Basic Course encompasses the freshman and sophomore years and incurs no service obliga-
       tion unless on ROTC scholarship. Upon completion of the Basic Course the ROTC student who
       elects, and is selected, enters the Advanced Course, which comprises the junior and senior years.
       During these two years cadets continue to develop the leadership knowledge and skills required
       to be a commissioned officer. All classes are supplemented by a two-hour Leadership Lab each
       week, during fall and spring semesters.
           The ROTC department at Florida Southern College offers great opportunities for adventure.
       In addition to indoor rock climbing, paint ball, and firing an M-4 rifle, cadets may find them-
       selves jumping out of airplanes, rappelling out of helicopters, or even training with cadets from
       the United Kingdom. Each year cadets are sent to Airborne School, Air Assault School, the Cadet
       Summer Training Basic Camp (BC), the Cadet Summer Training Advanced Camp (AC), and
       Cadet Troop Leadership Training (CTLT).
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        Entrance into the Advanced Course is not open to all students completing the Basic Course,
    but only to those whose ROTC and academic records are such to warrant the belief that they will
    become commissioned officers in the U.S. Army. Students with prior military service and with at
    least 60 semester hours may enroll in the Advanced Course if physically and academically quali-
    fied.
        Advanced Course students are required to sign a contract with the U.S. government whereby
    the student agrees, in return for subsistence payment, to complete the entire Advanced Course and
    to accept a commission as an officer in the U.S. Army, Army National Guard, or Army Reserve.
        Florida Southern College awards a military science minor for completion of all ROTC classes.
        Financial aid is available through the ROTC department. Qualified students may receive a
    monthly financial stipend ranging from $300 to $500 a month. Interested individuals may also
    apply for ROTC scholarships. These scholarships provide the financial assistance above, as well
    as full tuition and full room and board. Students attending the Cadet Summer Training Basic
    Camp (BC) and Cadet Summer Training Advanced Camp (AC) also receive payment for their
    attendance.
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                                Undergraduate Degree Requirements                                           63




               UNDERGRADUATE DEGREE REQUIREMENTS

       Undergraduate Degree Requirements
           Florida Southern College offers courses in the day program leading to the Bachelor of Arts,
       Bachelor of Fine Arts, Bachelor of Music, Bachelor of Music Education, Bachelor of Science, and
       Bachelor of Science in Nursing degrees. The specific nature of the academic major program pur-
       sued by the student determines which degree is to be awarded. However, candidates for each of
       these degrees fulfill the following academic requirements and standards:

            A. A minimum of one hundred twenty-four (124) semester credit hours from Florida South-
               ern College and other regionally accredited colleges or universities. A maximum of one-
               half the required semester credit hours (62) may have been earned at a junior/community
               college. After completing 93 hours, a student must finish the remaining credits at Florida
               Southern College. Some degree programs require more than 124 semester hours. For de-
               tails see requirements listed under specific majors.
            B. Completion of Florida Southern College’s General Education Curriculum.
            C. Grade point average of 2.0 (“C”) in all academic work attempted at FSC.
            D. Grade point average of 2.0 in all coursework in the major and minor department. Some
               majors require a higher GPA than 2.0 in the major. Please consult the appropriate major
               to determine applicability of this requirement.
            E. An academic major in a program, division, or school of the College.
            F. Fifty percent of the designated major or minor requirements (if the student has chosen a
               minor) must be completed in Florida Southern College courses.
            G.Successful completion of the Passport program.

       The General Education Curriculum
           Florida Southern College’s General Education Curriculum is designed to help students master
       and integrate the critical knowledge areas, skills, attitudes, and habits of mind that are necessary for
       success in life. As such, the General Education Curriculum forms the core of the College’s entire
       transformational approach to education, which is grounded in the philosophy of engaged learning.
           Courses in each category of the General Education Curriculum provide students the oppor-
       tunity for meaningful achievement of key learning outcomes in three broad areas: (i) knowledge
       of the cultural and natural world, (ii) intellectual and practical skills, and (iii) personal and social
       responsibility. Each broad learning outcome category includes one or more specialized sub-areas.
       Students may choose from a variety of courses to achieve the outcomes in each area.
           Every student at Florida Southern College is expected to complete the General Education Cur-
       riculum requirements below, totaling 46 semester hours of academic credit, with passing grades. Up
       to 12 of the 46 hours of General Education courses may be completed in the student’s own major.
       Students pursuing more than one major may count up to 16 hours from their majors toward Gen-
       eral Education requirements with no more than 12 hours coming from either major.
           Note on using a course to satisfy multiple requirements (also known as “double-dip-
       ping”): The General Education Curriculum allows students to satisfy more than one curricular
       requirement with a single course if that course has been approved to satisfy the requirements.
       Such “double-dipping” or “triple-dipping” is permissible unless there are regulations preventing it
       in the specific case. Thus, a course may count toward the satisfaction of a both General Education
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    and major (or minor) requirements. A course may also count toward the satisfaction of two or
    more General Education student learning outcomes (SLOs). A student must earn a minimum of 40
    hours in the general education curriculum. However, there are limits to this practice: a given course
    may never be used to satisfy both General Education requirements and specific requirements pertaining to
    the bachelor’s degrees granted by FSC: Bachelor of Arts, Bachelor of Fine Arts, Bachelor of Music, Bachelor
    of Music Education, Bachelor of Science, or Bachelor of Science in Nursing.
        Note on the application of three credit-hour courses to General Education require-
    ments: Three-credit-hour courses deemed equivalent to four-hour General Education courses may
    be approved for transfer from other institutions. Day students enrolled at Florida Southern may
    also use three-hour courses equivalent to current four-hour General Education courses, if taken
    prior to 2010–11, to satisfy the relevant four-hour General Education SLO. Adult program students
    enrolled at Florida Southern may likewise use three-hour courses equivalent to current four-hour
    General Education courses, if taken prior to 2011–12, to satisfy the relevant four-hour General Ed-
    ucation SLO. In such cases, for every three-hour course applied toward a General Education SLO,
    one hour of the requirement is reduced.
        The following pages list and define the SLO categories comprising the General Education Cur-
    riculum. The explanation of the SLO categories is followed by the list of courses that may be taken
    to fulfill the categories. Individual courses that may be used to satisfy General Education SLO cate-
    gories are also identified in the catalog’s section containing undergraduate course descriptions.
    General Education Curriculum ............................................................................. 46 hours

    I. Knowledge of Human Cultures and the Physical/Natural World
    A. Meaning and Value ............................................................................................. 8 hours
        Distribution: Only four (4) hours may be in the student’s own major. Students are
    encouraged to fulfill the Meaning and Value category through coursework in different
    disciplines when appropriate.
        Student Learning Outcomes: To empower students to develop an understanding of aca-
    demically significant historical and contemporary systems of thought and value and to promote
    students’ own academically informed responses to these systems.
        To fulfill the Meaning and Value requirement, students will need to explore and grapple
    intellectually with fundamental and enduring questions of human concern. Courses enabling
    students to satisfy the Meaning and Value outcome will develop student competencies in the
    following areas:

          1. Ultimate questions: Students will demonstrate understanding of and ability to articulate
             questions about ultimate purposes in human life, that is, purposes that are not themselves
             taken to be merely instrumental.
          2. Levels of inquiry: Students will demonstrate understanding of and ability to articulate
             explorations of ultimate questions on three levels: the universal, the communal, and the
             personal.
          3. System diversity: Students will demonstrate appreciation and understanding of diverse
             systems of thought and/or value (e.g., religious, philosophical, ethical, political, aesthetic,
             literary), as well as the ability to articulate and interpret those systems. Such systems may
             be historical or contemporary.
          4. Analysis and evaluation: Students will critically analyze, evaluate, and formulate aca-
             demically informed responses to systems of thought and/or value.
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       B. The Social World .................................................................................................. 8 hours
            Student Learning Outcomes: To have students develop an appreciation for and ability to
       articulate and interpret diverse, changing systems of human activity.
           To fulfill the Social World requirement, students will need to demonstrate the following
       competencies:

             1. Students shall be able to demonstrate knowledge of the social, political, economic, per-
                sonal, or cultural systems or historical development of their world.
             2. Students shall be able to demonstrate the ability to use discipline-specific empirical
                methodologies, quantitative or qualitative, or both, to interpret information an articulate
                knowledge about the social, political, economic, personal, or cultural systems or historical
                development of their world.
             3. Students shall be able to demonstrate mastery of discipline-specific, empirical method-
                ologies, quantitative or qualitative, or both, to investigate specific issues about the social,
                political, economic, personal, or cultural systems or historical development of their world.
       C. The Natural World................................................................................................ 4 hours
           Laboratory requirement: Any course satisfying the Natural World requirement must in-
       clude a laboratory component.
           Distribution: Students are encouraged to fulfill the Natural World requirement through
       interdisciplinary coursework when appropriate.
           Student Learning Outcomes: To empower students to develop an understanding of the
       scientific investigation of the natural world.
           For students whose major does not require a strong natural science component (see below),
       the course must emphasize the following:

             1. Philosophical understanding: To fulfill this outcome, students will demonstrate knowl-
                edge of the natural world by investigating how scientific inquiry is different from other
                types of investigation, focusing on the philosophy of science and notions of skepticism.
             2. Scientific methodology: To fulfill this outcome, students will demonstrate knowledge of
                the natural world by utilizing scientific methodology, including experimental design and
                data interpretation and analysis (including quantitative components).
             3. Investigation: To fulfill this outcome, students will demonstrate knowledge of the natural
                world by demonstrating proficiency in the basic skills necessary for lab or field work and
                using the tools of scientific inquiry to investigate real world problems.
             4. Evolving systems: To fulfill this outcome, students will demonstrate knowledge of the
                natural world by applying the tenets of evolution as they pertain to the scientific disci-
                pline being studied (e.g., cosmological or biological evolution, evolutionary psychol-
                ogy, etc.).
             5. Evaluation: To fulfill this outcome, students will demonstrate knowledge of the natural
                world by critically evaluating evidence pertaining to current scientific findings.
             6. Practical relevance: To fulfill this outcome, students will demonstrate knowledge of the
                natural world by articulating how scientific discoveries and processes enhance everyday life.
           It is expected that students whose majors require a significant number (16 or more) hours in
       the natural sciences will fulfill all these learning outcomes through their requirements. There-
       fore, no one course will need to fulfill all the above learning outcomes.
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    D. Fine Arts Appreciation ........................................................................................ 4 hours
        Student Learning Outcomes: To empower students to develop appreciation for and ability
    to communicate about and interpret diverse expressions of artistic creativity.
        To fulfill the Fine Arts Appreciation requirement, students must meet at least one of the two
    outcomes below:

          1. Students will demonstrate through writing or verbal discussion their understanding of
             creative works of art, literature, theatre, and/or music.
          2. Students will demonstrate through the completion of a sequence of their own creative
             productions and through the discussion of these productions their understanding of cre-
             ative works of art, literature, theatre, and/or music.

    II. Intellectual and Practical Skills
    A. Systematic and Creative Thinking...................................................................... 8 hours
         Student Learning Outcomes: To empower students to develop and refine their abilities to
    reason systematically and creatively.
         To fulfill the Systematic and Creative Thinking component of Florida Southern College’s
    general education requirement, students must take at least two courses, one course with a qual-
    itative emphasis and one course with a quantitative emphasis, that promote competencies in
    the areas of critical and creative thinking. These courses will enable the student to recognize the
    distinction between qualitative and quantitative methods, understand their strengths and limita-
    tions, and apply each method in the appropriate context.
    Qualitative Course.................................................................................................... 4 hours
         A qualitative course in Systematic and Creative Thinking requires students to develop key
    critical and creative thinking skills by teaching basic awareness and application of these skills.
    The course also empowers students to develop their own creative projects. The course promotes
    competencies in these two areas:

          1. Critical thinking: To fulfill this outcome, students will demonstrate the capacity to rea-
             son logically (e.g., deductively, inductively, analogically, and abductively) about qualita-
             tive data, using appropriate qualitative methods, and to apply reasoning to solve concrete
             problems.
          2. Creative thinking: To fulfill this outcome, students will demonstrate the capacity to devel-
             op original creative projects related to their application of critical reasoning.
    Quantitative Course ................................................................................................ 4 hours
        A quantitative course in Systematic and Creative Thinking requires students to refine the de-
    velopment of key critical, quantitative, and creative thinking skills. Quantitative reasoning should
    include the use of quantitative modeling, calculation, and data analysis to solve applied problems
    in a variety of disciplines. The quantitative course must address competencies in the areas below:

          1. Students will be able to interpret quantitative information presented in formulas, graphs,
             tables, and schematics, and draw inferences from them.
          2. Students will be able to express quantitative information symbolically, visually, numerical-
             ly, and verbally.
          3. Students will be able to use quantitative tools to solve problems, estimate solutions, and
             check answers for reasonableness.
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            4. Students will be able to recognize and describe limitations of quantitative methods.
       B. Effective Communication ................................................................................. 12 hours
           Distribution: At least one course from each category (A, B, C), no more than two courses
       within the major. One course is to be taken within the first year of a student’s FSC career.
           Student Learning Outcomes: To empower students to communicate effectively in English
       in both oral and written form.
           Placement: Before fulfilling Effective Communication requirements, students must suc-
       cessfully complete a college-recognized placement process or complete an introductory English
       course (Introduction to College English (ENG 1000)).
       Category A: Effective Written Communication Skills Development ................... 4 hours
          A course fulfilling Category A will require a minimum of 3,000 written words in assignments
       with specific feedback. The course will provide students the opportunity to achieve the following
       competencies:
            1. Students will identify and apply multiple approaches to the study of language, usage,
               grammar, diction, and style of standard written English.
            2. Students will demonstrate knowledge of grammar and punctuation including: pronoun
               case and pronoun antecedent; verbs (forms, tenses, moods, voice, subject-verb agreement);
               adjectives and adverbs; avoiding common sentence flaws (sentence fragments, comma
               splices, fused sentences, shifts and dangling modifiers); diction and word choice.
            3. Students will demonstrate mastery of elements of good writing, including paragraphing,
               composing essays, pre-writing, outlining, drafting, revising, editing and proofreading, and the
               ability to organize ideas around a thesis or focal point using current relevant technologies.
       Category B: Effective Oral Communication Skills Development ......................... 4 hours
           A course fulfilling Category B will require a minimum of two presentations, for a combined
       total of no less than 15 minutes. The course will provide students the opportunity to achieve the
       following competencies:

            1. Students will demonstrate the ability to organize ideas around a thesis statement through
               a prepared speech.
            2. Students will be able to identify a minimum of three types of organizational patterns
               for speeches, and properly utilize one (for example: chronological/historical; sequential;
               problem, cause, solution).
            3. Students will demonstrate the ability to develop a polished speech presentation through
               the process of research, outlining, revision, and delivery, using relevant presentation tech-
               nologies.
            4. Students will be able to define the difference between informative and persuasive speak-
               ing and demonstrate the ability to construct a persuasive message with an audience-cen-
               tered call to action.
       Category C: Effective Written and Oral Communication Skills Application........ 4 hours
           Prerequisite: Students must complete courses to meet the requirements for Category A and
       Category B before taking a course in Category C.
           A course fulfilling Category C will require a minimum of 3,000 written words in assignments
       with specific feedback and at least one presentation totaling no less than 7 minutes. The course
       will provide students the opportunity to achieve the following competencies:
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          1. Students will demonstrate the ability to organize ideas around a thesis or focal point and
             incorporate relevant content and evidence in written work and/or oral presentations us-
             ing current relevant technologies.
          2. Students will demonstrate mastery of elements of good writing, knowledge of field-spe-
             cific vocabulary, and the ability to use major specific documentation in text (MLA, APA,
             Chicago, etc.) and/or properly cite materials in oral presentations.
          3. Students will evaluate successful field-specific works (for example, peer reviewed academ-
             ic journal articles) or successful field-specific oral presentations (for example, conference
             presentations, testimony, speeches, and sermons).
          4. Students will demonstrate the ability to construct an informative presentation or per-
             suasive argument (oral or written) based on real quantitative and/or qualitative data, and
             create and receive peer evaluation of oral presentations.

    III. Personal Wellness
    Personal Wellness .................................................................................................... 2 hours
      Student Learning Outcomes: Courses satisfying the Personal Wellness category will
    empower students to meet at least three of the four outcomes below:

          1. Lifestyle programs: To fulfill this outcome, students will participate in healthy lifestyle
             programs that incorporate mind, body, or spirit in order to enhance quality of life.
          2. Risk factor control: To fulfill this outcome, students will demonstrate how to control var-
             ious risk factors, thereby showing an understanding of how to promote healthy lifestyle
             behaviors.
          3. Nutrition: To fulfill this outcome, students will demonstrate knowledge and practice of
             proper nutritional habits.
          4. Reflection: To fulfill this outcome, students will demonstrate ability to reflect on how
             physical, psychological, social and/or spiritual well-being contributes to overall health.

    General Education Courses
       The courses in the table below have been approved to count toward completion of General
    Education Student Learning Outcome (SLO) categories. SLO categories are abbreviated as follows:
      FA = Fine Arts
         SW = Social World
         MV = Meaning and Value
         NW = Natural World
         SystTh = Systematic and Creative Thinking
           Ql = Qualitative course
           Qn = Quantitative course
         Eff. Comm. = Effective Communication
           A = Effective Written Communication course
           B = Effective Oral Communication course
           C = Effective Written and Oral Communication course
         Well = Personal Wellness
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          Courses are listed by prefix, four-digit course number, and number of semester credit hours,
       with a check indicating each SLO category for which they have been approved. A course appearing
       under more than one category may be used to satisfy each SLO category under which it appears.

       Additional Degree Requirements: B.A. and B.S. Degrees
             Candidates for the Bachelor of Arts and Bachelor of Science degrees must fulfill additional
       degree requirements listed below.
             A note on using a course to satisfy multiple requirements (also known as “double-dip-
       ping”): If a course required for a student’s major (or minor) field of study also satisfies Bachelor of
       Arts (B.A.) or Bachelor of Science (B.S.) degree requirements, the student may use the course to ful-
       fill both sets of requirements. Such “double-dipping” is permissible unless there are regulations pre-
       venting it in the specific case. However, double-dipping is not permitted between bachelor’s
       degree requirements and General Education requirements: A given course may never be
       used to satisfy both General Education and Bachelor of Arts degree requirements. Like-
       wise, a given course may never be used to satisfy both General Education and Bachelor of
       Science degree requirements.
       Bachelor of Arts Degree Requirements................................................................ 20 hours

           1. Foreign Language (12 hours of a single language, or competency through 2203 in a mod-
              ern or classical language*)
           2. Additional hours in two different disciplines in the humanities, fine arts, performing arts,
              or other courses approved in the humanities by the Curriculum Committee (8 hours)
       *Competency in the language requirement for the Bachelor of Arts degree is understood to be
       equivalent to successful completion of the second year of a foreign language accepted by Florida
       Southern College (proficiency at the 2203 level). For further information about meeting the
       requirement, contact the dean of the School of Arts and Sciences.
       Bachelor of Science Degree Requirements...........................................................12 hours

            1. Computer Science, Mathematics, or other course approved as quantitative by the General
               Education or Curriculum Committee (4 hours)
            2. Natural Science (4 hours)
            3. Social Science: One course selected from CRM, ECO, GEO, HIS, POS, PSY, or SOC or
               other course approved as social science by the Curriculum Committee (4 hours)

       Major Requirements
           An academic major is an integral part of the degree program. While declaration of a major is
       essential in the first year of some programs (athletic training, biology (pre-med), chemistry, edu-
       cation, music, and theatre, for example), for other major programs, declaration may be deferred
       until the end of the sophomore year.
           Course requirements for each academic major are found in the undergraduate program re-
       quirements section of this catalog. Majors very in the number of semester hours required; how-
       ever, fifty percent of the major courses must have been completed at Florida Southern College.
           In order to complete the 124 semester hours required for graduation, students must complete
       all major requirements, all General Education requirements, any applicable bachelor’s degree re-
       quirements, and possibly electives. Additionally, they may pursue coursework leading to a second
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                                                                                            Per/
                                          Knowledge                 Intellectual            Soc


                     SEM Hours
                                 MV                       Syst Th            Eff Comm




                                                                                            WELL
                                      SW     NW   FA
                                                          Ql   Qn        A      B       C
     Hours Needed                8    8       4       4   4     4        4         4    4    2
     ACC 2111          4                                       √
     ARH 1100          4              √               √
     ARH 3700          4              √               √
     ARH 3780          4                              √
     ARH 4999          4                                  √                             √
     ART 1120          4                              √
     ART 1140          4                              √
     ART 2240          4              √
     ART 4900/4901     2                                                                √
     ART 4499          4                                  √                             √
     ART 4999          4                                  √                             √
     AST 1010          4                     √
     BIO 1000          4                     √
     BIO 1500          4                     √
     BIO 1900          4                     √
     BIO 2215          4                     √
     BIO/REL 3378      4         √    √
     BIO 4461/4462     4                                                                √
     BIO 4561/4562     4                                                                √
     BIO 4661/4662     6                                                                √
     BUS 3125          2              √
     BUS 3160          4                                  √
     BUS 3311          4                                  √
     BUS/ECO 3320      4                                       √
     BUS 4430          4         √
     BUS 4999          4                                                                √
     CHE 1005          4                     √
     CHE 1011          4                     √
     CHE 1111          4                     √
     CHE 4410          2                                                                √
     CHE 4960          2                                                                √
     CHE 4999          2                                                                √
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                                                                                               Per/
                                             Knowledge                 Intellectual            Soc




                       SEM Hours
                                   MV                        Syst Th            Eff Comm




                                                                                               WELL
                                        SW      NW   FA
                                                             Ql   Qn        A      B       C
        CIT 4999         4                                                                 √
        COM 1500         4                                                         √
        COM 1600         2                                                         √
        COM 1601         2                                                         √
        COM 2100         4               √
        COM 2250         4               √                                         √
        COM 2260         4               √
        COM/SOC 2270     4         √     √
        COM 3200         4               √                                         √
        COM 3210         4               √
        COM/POS 3905     4               √                   √
        COM 4500         4                                                                 √
        COM 4999         4                                                                 √
        CRM 2280         4               √
        CRM/SOC 3303     4               √                   √
        CRM/SOC 3305                     √                   √
        CRM 3340         4               √
        CRM/SOC 4420     4               √                        √
        CRM 4999         4                                                                 √
        CSC/MAT 2100     4                                        √
        CSC 3350         4                                                         √
        CSC 4400         4                                                                 √
        CSC 4899         4                                                                 √
        DAN 1600         4                               √
        DAN 1643         3                                                                     √
        DAN 3672         3                                                                 √
        ECO/BUS 3320     4                                        √
        ECO 4550         4                                                                 √
        EDU 4990         4                                                                 √
        ENG 1005         4                                                  √
        ENG 1130         4                                                  √
        ENG 2004         4                               √   √                     √
        ENG 2023         4                               √
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                                                                                           Per/
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                    SEM Hours
                                MV                       Syst Th            Eff Comm




                                                                                           WELL
                                     SW     NW   FA
                                                         Ql   Qn        A      B       C
     ENG 2305         4              √               √
     ENG 2309         4              √               √
     ENG 2310         4                              √
     ENG 2313         4              √               √
     ENG 2314         4              √               √
     ENG 3100         4                                  √
     ENG 3200         4                                                        √
     ENG 3217         4                              √                                 √
     ENG 3219         4                                  √                             √
     ENG 3235         4                              √   √
     ENG 3236         4                              √   √
     ENG 3263         4                                  √                             √
     ENG 3304         4                              √
     ENG 3320         4                              √                                 √
     ENG/WST 3370     4                              √
     ENG 4209         4                                                                √
     ENG 4303         4                              √
     ENG 4305         4                              √
     ENG 4999         4                                                                √
     EXS 2760         2                                                                    √
     EXS 4725         4                                                                √
     FRE 1101         4              √                   √
     HCA 4999         4                                                                √
     HIS 1100         4              √                                         √
     HIS 1200         4              √                                         √
     HIS 1300         4              √                                         √
     HIS 2215         4              √                                         √
     HIS 2225         4              √                                         √
     HIS 3115         4              √                   √                             √
     HIS 3165         4              √                   √                             √
     HIS/POS 3175     4              √
     HIS 3215         4              √                   √                             √
     HIS 3225         4              √                   √                             √
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                                                                                            Per/
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                       SEM Hours
                                   MV                     Syst Th            Eff Comm




                                                                                            WELL
                                        SW      NW   FA
                                                          Ql   Qn        A      B       C
        HIS 3231         4               √                √                             √
        HIS 3232         4               √                √                             √
        HIS 3240         4               √                √                             √
        HIS 3275         4               √                √                             √
        HIS/LAS 3355     4               √                √                             √
        HIS/LAS 3365     4               √                √                             √
        HIS 3415         4               √                √                             √
        HIS 3445         4               √                √                             √
        HIS 3455         4               √                √                             √
        HIS 3550         4               √                √                             √
        HIS 3705         4               √                √                             √
        HIS 3755         4               √                √                             √
        HIS 4455         4               √                √                             √
        HIS 4550         4               √                √                             √
        HIS 4555         4               √                √                             √
        HIS 4999         4               √                √                             √
        HON 1700         4                                √              √
        HON 1701         4               √                                      √
        HON 4955         4                                                              √
        HON 4956         4                                                              √
        HRT 1000         4               √      √
        HRT 2100         4                      √
        LAS/SPA 3308     4               √
        LAS/HIS 3355     4               √                √                             √
        LAS/HIS 3365     4               √                √                             √
        MAT 1007         4                                     √
        MAT 1047         4                                     √
        MAT 2022         4                                     √
        MAT 2032         4                                     √
        MAT 2050         4                                     √
        MAT/CSC 2100     4                                     √
        MAT 2311         4                                     √
        MAT 2312         4                                     √
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                                                                                         Per/
                                       Knowledge                 Intellectual            Soc


                     SEM Hours
                                 MV                    Syst Th            Eff Comm




                                                                                         WELL
                                      SW   NW   FA
                                                       Ql   Qn        A      B       C
     MAT 3313          4                                    √
     MAT 4960/4961     4                                                             √
     MAT 4999          4                                                             √
     MLS 4900          4                                                             √
     MUS 1101,2        1                           √
     MUS 1103,4        1                           √
     MUS 1105,6        1                           √
     MUS 1107,8        1                           √
     MUS 1109,10       1                           √
     MUS 1111,12       1                           √
     MUS 1113,14       1                           √
     MUS 1117,18       1                           √
     MUS 1121,22       1                           √
     MUS 1123,24       1                           √
     MUS 1162          2                                                                 √
     MUS 1163          4                           √
     MUS 1164          4                           √
     MUS 1165          4                           √
     MUS 1166          4                           √
     MUS 2201,2        1                           √
     MUS 2203,4        1                           √
     MUS 2205,6        1                           √
     MUS 2207,8        1                           √
     MUS 2209,10       1                           √
     MUS 2211,12       1                           √
     MUS 2213,14       1                           √
     MUS 2217,18       1                           √
     MUS 2221,22       1                           √
     MUS 2223,24       1                           √
     MUS 3301,2        1                           √
     MUS 3303,4        1                           √
     MUS 3305,6        1                           √
     MUS 3307,8        1                           √
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                      SEM Hours
                                  MV                        Syst Th            Eff Comm




                                                                                              WELL
                                       SW      NW   FA
                                                            Ql   Qn        A      B       C
        MUS 3309,10     1                               √
        MUS 3311,12     1                               √
        MUS 3313,14     1                               √
        MUS 3317,18     1                               √
        MUS 3321,22     1                               √
        MUS 3323,24     1                               √
        MUS 3381        4               √                                                 √
        MUS 3382        4               √
        MUS 4401,2      1                               √
        MUS 4403,4      1                               √
        MUS 4405,6      1                               √
        MUS 4407,8      1                               √
        MUS 4409,10     1                               √
        MUS 4411,12     1                               √
        MUS 4413,14     1                               √
        MUS 4417,18     1                               √
        MUS 4421,22     1                               √
        MUS 4423,24     1                               √
        NUR 1103        2                                                                     √
        NUR 4110        4                                                                 √
        PED 1005        2                                                                     √
        PED 2003        1                                                                     √
        PED 2005        1                                                                     √
        PED 2010        1                                                                     √
        PED 2013        1                                                                     √
        PED 2014        1                                                                     √
        PED 2015        1                                                                     √
        PED 2018        1                                                                     √
        PED 2019        1                                                                     √
        PED 2020        1                                                                     √
        PED 2026        1                                                                     √
        PHI 1109        4         √                         √
        PHI 2204        4         √                         √
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                                                                                           Per/
                                         Knowledge                 Intellectual            Soc


                    SEM Hours
                                MV                       Syst Th            Eff Comm




                                                                                           WELL
                                     SW     NW   FA
                                                         Ql   Qn        A      B       C
     PHI 2208         4                                       √
     PHI/REL 2219     4         √    √                   √
     PHI 2224         4         √                        √
     PHI 3109         4         √                        √
     PHI 3309         4         √                        √
     PHI 3359         4         √    √               √   √
     PHI/REL 3365     4         √                                                      √
     PHI/REL 3388     4         √                        √                             √
     PHI 4459         4         √                        √
     PHI 4479         4         √                        √                             √
     PHY 2010         4                     √
     PHY 2110         4                     √
     POR 1101         4              √                   √
     POS 1115         4              √
     POS 2100         4              √                   √
     POS 2290         4              √                   √
     POS 2295         4                                       √
     POS 2900         4              √
     POS 3100         4              √
     POS/HIS 3175     4              √
     POS 3315         4              √
     POS 3320         4              √                   √
     POS 3323         4              √
     POS 3325         4              √
     POS 3327         4              √
     POS 3330         4              √
     POS 3339         4              √                   √
     POS 3345         4              √
     POS 3380         4              √                   √
     POS 3400         4              √
     POS 3500         4                                                                √
     POS 3550         4              √                   √
     POS 3600         4              √
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                                        Undergraduate Degree Requirements                          77




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                       SEM Hours
                                   MV                     Syst Th            Eff Comm




                                                                                            WELL
                                        SW      NW   FA
                                                          Ql   Qn        A      B       C
        POS/COM 3905     4               √                √
        POS 4429         4         √
        POS 4999         4               √                     √                        √
        PSY 1106         4               √
        PSY 1110         4                      √
        PSY 3310         4                                     √
        PSY 3321         2         √
        PSY 3322         2         √
        PSY 4999         4                                                              √
        REL 1108         4         √                      √
        REL 2214         4         √                      √
        REL 2215         4         √     √                √
        REL 2216         4         √                      √
        REL 2218         4         √                      √
        REL/PHI 2219     4         √     √                √
        REL 2225         4         √     √
        REL 2228         4         √                      √
        REL/WST 2256     4         √
        REL 3328         4         √                      √
        REL 3358         4         √                      √
        REL/PHI 3365     4         √                                                    √
        REL/BIO 3378     4         √     √
        REL/PHI 3388     4         √                      √                             √
        REL 4428         4                                                              √
        REL 4448         4                                                              √
        SOC 1100         4         √     √
        SOC 2216         4               √
        SOC/WST 2220     4               √                √
        SOC 2240         4               √
        SOC/COM 2270     4         √     √
        SOC 3300         4               √
        SOC/CRM 3303     4               √                √
        SOC/CRM 3305     4               √                √
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                                                                                           Per/
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                    SEM Hours
                                MV                       Syst Th            Eff Comm




                                                                                           WELL
                                     SW     NW   FA
                                                         Ql   Qn        A      B       C
     SOC/SPM 3307     4              √
     SOC 3309         4              √
     SOC 3315         4              √
     SOC 3336         4              √
     SOC 3337         4              √                   √
     SOC 4400         4              √                   √    √
     SOC 4406         4         √    √                                                 √
     SOC/CRM 4420     4              √                        √
     SPA 1101         4              √                   √
     SPA 2205         4              √                   √
     SPA 2207         4              √                   √
     SPA/LAS 3308     4              √
     SPA 3320         4                              √   √
     SPA 3323         4                              √
     SPA 3334         4                              √
     SPM/SOC 3307     4              √
     SPM 4999         4                                                                √
     THE 1050         4                              √   √
     THE 1213         4                              √   √
     THE 1214         4                              √   √
     THE 2153         1                              √
     THE 2610         1                                                                    √
     THE 2611         1                                                                    √
     THE 2620         1                                                                    √
     THE 2621         1                                                                    √
     THE 2630         1                                                                    √
     THE 2631         1                                                                    √
     THE 2640         1                                                                    √
     THE 2641         1                                                                    √
     THE 3153         2                              √
     THE 3610         1                                                                    √
     THE 3611         1                                                                    √
     THE 3620         1                                                                    √
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                       SEM Hours
                                   MV                        Syst Th            Eff Comm




                                                                                               WELL
                                        SW      NW   FA
                                                             Ql   Qn        A      B       C
        THE 3621         1                                                                     √
        THE 3630         1                                                                     √
        THE 3631         1                                                                     √
        THE 3640         1                                                                     √
        THE 3641         1                                                                     √
        THE 4513         4               √                                                 √
        THE 4523         4               √                                                 √
        WST 2200         4               √                   √
        WST/SOC 2220     4               √                   √
        WST/REL 2256     4         √
        WST/ENG 3370     4                               √
        WST 4400         4               √                   √                     √


       major, a second concentration, and minors.

       Programs Requiring more than 124 Semester Hours
           Some programs of study require more than 124 semester hours for completion. Students in
       these programs may be obligated to spend additional semesters or summer sessions in residence
       in order to complete program requirements. Additionally, students who elect to pursue addi-
       tional majors or minors will in many cases have committed to earning above 124 hours and,
       therefore, may also be obligated to spend additional semesters or summer sessions in residence.
           The College may not be able to make available the opportunity for any student to take course
       work in all desired options within the student’s eight semesters of college work. It will, however,
       make accommodations enabling students to achieve a reasonable range of educational objectives
       within eight semesters.

       Minors
           Minors are offered in a variety of disciplines in which majors are offered, as well as some in
       which no major is currently available. The availability of minors and requirements for complet-
       ing them are found in the introductory paragraphs of each of the department-division course
       offerings in this catalog.
           Unless otherwise noted, a minor is fulfilled by passing eighteen hours applicable to the major
       (selected in consultation with the program coordinator) in a single subject area. Some minors
       require twenty hours. As with the major, some programs may specify the courses required for a
       minor. For minors without a corresponding major, the minor will typically require eighteen to
       twenty hours of courses in one or more specified disciplines.
           Students are required to complete at least fifty percent of the minor course requirements at
       Florida Southern College and to maintain a grade point average in the minor of 2.0.

       Prerequisites and Co-requisites
          Prerequisites and co-requisites are indicated immediately before the description of the course
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    in the course listing at the back of this catalog. The hours printed after each course title are semes-
    ter credit hours. Prerequisites and co-requisites are binding.

    Course Numbers
        Courses in the Florida Southern College’s curriculum are identified by program prefix and
    four-digit number. The following guidelines apply across the curriculum:
       • First digit: The first digit of the course number designates the course level. Digits 1-4 may
         be used (as in the current FSC course numbering system): 1 = first-year level; 2 = sophomore
         level; 3 = junior level; 4 = senior level. (Digits “5” and “6” are reserved for Masters-level cours-
         es and “7” is reserved for doctoral-level courses.)
         • Second digit: The second digit of the course number designates the subdiscipline as well
           as whether the course is intended for student majors or non-majors: 0 = Course for non-ma-
           jors; digits 1–8 may be used for subdisciplines. (Digit “9” is reserved for special courses
           described below.)
         • Third and fourth digits: The third and fourth digits are to be used to designate course
           sequences. Prerequisites: Sequences in which one course is a prerequisite for the next course
           typically end in “1” and “2”. (Exceptions to this policy occur in the case of some special
           courses described below.)

    Special Courses
       In addition to the range of courses in each of the program offerings, teaching and learning
    opportunities may be arranged as follows:

    Experimental/Special Topics Courses
    1997–1998, 2997–2998, 3997–3998, 4997–4998
        From time to time programs may establish experimental, trial courses to meet the needs of
    certain groups of students, to test educational hypotheses about course offerings, or to create new
    course offerings in response to faculty interests within a creative curriculum. Establishment of
    these courses is contingent upon approval by the respective academic dean, and such courses may
    be offered a maximum of three times.

    Departmental Research and Thesis (other than required for Honors)
    1951–1952, 2951–2952, 3951–3952, 4951–4952 See specific program course listings.

    Honors-in-the-Major Research and Thesis
    3953–3954, 4953–4954 See specific program listings.
    Honors Program research and thesis: 3955–3956, 4955–4956 See Honors Program listings.

    Directed Study
    1991–1992, 2991–2992, 3991–3992, 4991–4992, or current course number
        Students with excellent grade point averages may, with the approval of the instructor and the
    appropriate dean, register for advanced topics not listed among the current courses of instruc-
    tion, or with extenuating circumstances, courses available in this catalog. Weekly conferences
    with the faculty director of the project, oral or written examinations, and a paper of some sub-
    stantial length are among the normal requirements for directed study courses.

    Independent Study (other than research or thesis work)
    1993–1994, 2993–2994, 3993–3994, 4993–4994
       Students with junior or senior standing and superior grade point averages may, with the
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       approval of a faculty member, the department chair and/or dean, register for independent study.
       Such study normally consists of research usually culminating in the presentation of a substantial
       paper representing independent scholarly effort. Written examinations may be specified.

       Internships
       4960–4961; 4990
           The College may schedule courses that are defined as internships or student teaching as
       in Education. All internships, except in education, involve a “learning contract” which must be
       completed by the student, faculty sponsor, and participating agency supervisor prior to the be-
       ginning of the internship; one hour of credit will be awarded for every forty hours of internship
       experience. Specific requirements may apply to the location of the internship.
       Senior Seminars/Capstone Courses: 4889, 4999 See specific program course listings.

       Course Cancellation
          The College reserves the right to withdraw a course from its semester schedule when enroll-
       ment is fewer than eight students. The College also reserves the right to change, add, or remove
       courses from its list without notice.

       Effective Date of Requirements
           Degree requirements are based upon the catalog in effect at the time the student enrolls for
       a degree or is given degree status. With continuous enrollment, any student may elect, however,
       to be graduated under all the degree requirements of a later catalog. One may not be graduated
       under the academic provisions of a catalog more than seven years old. The degree requirements
       of the current catalog shall apply to all students who are readmitted to degree status.

       Completion of Graduation Requirements
           While the College makes every attempt to assist the student in the completion of graduation
       requirements through academic advising, graduation checks by the registrar’s office, etc., it is
       ultimately the student’s responsibility to ensure that all graduation requirements are met.

       Application for Graduation
           Degree candidates must complete formal written application for a degree. Applications from
       candidates anticipating graduation in the spring semester are due in the Office of the Registrar on
       or before December 15. Applications from candidates anticipating graduation in the fall semester
       are due on or before May 1. An interview with a representative of the registrar’s office is required in
       the semester immediately preceding that in which graduation is claimed in order to assure that all
       degree requirements are met. This is known as degree clearance and is required for graduation. All
       candidates for degrees are requested to attend the appropriate commencement exercise.
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                         UNDERGRADUATE MAJORS
    Accounting                                    Philosophy
    Applied Mathematics and Statistics            Political Communication
    Art Education                                 Political Science
    Art: Graphic Design                           Psychology
    Art History                                   Religion
    Art: Studio Art                               Self-Designed Major:
    Biochemistry and Molecular Biology                Venture into the Adventure
    Biology                                       Social Sciences
    Biotechnology                                 Spanish
    Business Administration                       Sport Business Management
    Business and Free Enterprise                  Sports Communication and Marketing
    Chemistry                                     Theatre Arts
    Citrus and Horticultural Science              Theatre Arts: Musical Theatre
    Communication                                 Theatre Arts: Technical Theatre/Design
    Computer Science                              Theatre Arts: Theatre Performance
    Criminology                                   Youth Ministry
    Dance
    Economics and Finance
    Education: Secondary Biology
    Education: Secondary English
    Education: Secondary Mathematics
    Education: Secondary Social Science/History
    Elementary Education
    English
    Environmental Studies
    Exercise Science
    Film
    Healthcare Administration
    History
    Humanities
    Interactive and Game Design
    Marine Biology
    Mathematics
    Medical Laboratory Sciences
    Music
    Music: Music Education
    Music: Music Management
    Music: Performance
    Nursing
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                                   ADULT UNDERGRADUATE PROGRAMS                                           83




                     ADULT UNDERGRADUATE PROGRAMS
           Florida Southern College provides opportunities for adult students to earn a bachelor’s de-
       gree in the evening, online, or in a hybrid format. FSC also offers online workshop courses for
       individuals who need certification, recertification, or endorsement through our Teacher Work-
       shop program. The Office of Adult and Graduate Admission supports and facilitates the progress
       of adult students in the completion of their degree requirements.
           Most Florida Southern College academic policies, including those concerning academic
       progress and standing, apply equally to all Florida Southern programs (please consult the Aca-
       demic Policies section in this catalog for additional information).
           Classes are offered in many different delivery methods: fully online, face-to-face on-campus,
       at GEICO’s Lakeland office, and in a hybrid format (a combination of on-campus or at GEICO
       and online).
           Admission to the following bachelor’s degree programs is offered through the Office of
       Adult and Graduate Admission:
           Bachelor of Science in Accounting
           Bachelor of Science in Business Administration
           Bachelor of Science in Elementary Education K-6
           Bachelor of Science in Nursing (RN-to-BSN)
           Bachelor of Science in Communication with a Concentration in Interpersonal and
       		        Organizational Communication

       Admission
           Admission to adult undergraduate degree programs is generally limited to students who
       are employed full-time or are at least twenty-five years of age or older. In considering applica-
       tions, the admissions office gives careful consideration to each individual applicant, without
       regard to race, creed, color, gender, marital status, religion, age, disability, sexual orientation,
       or nationality. Applicants are considered for admission in any of the yearly terms. Students are
       advised to submit applications as early as possible to assure optimal admission and financial
       aid considerations. Any applications received the week of the start of classes will be considered
       on a space-available basis.
           No student who is a first time in college student may be enrolled on a full-time status (12 credit
       hours over two terms) for the first two terms for which the student is enrolled.

       Adult Undergraduate Part-time Student Status
          Adult undergraduate students are considered part time if they enroll in fewer than six credit
       hours per term. Part-time students may have reduced eligibility for some or all financial aid.

       Admission Requirements
          • Submit a completed application.
          • Provide official transcripts of all academic work taken previously at other colleges, universi-
            ties, or professional schools.
          • Provide official transcript of high school record (or GED test score) if fewer than 25 credit
            hours have been earned from a regionally accredited college or university.
          • Provide ACT or SAT exam scores if fewer than 25 credit hours have been earned from a
            regionally accredited college or university.
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         • Military service-connected, educational experiences may award transfer credits. Requests
           should be accompanied by documents describing the educational experience. (Seven se-
           mester hours of credit may be awarded.)
       Please refer to the program-specific requirements for additional admission policies and
    procedures. Students may be admitted provisionally or conditionally as specified.

    Non-Degree Admission
        Adult students who wish to enroll for specific coursework are eligible to apply as a non-de-
    gree seeking student through the Office of Adult and Graduate Admission. An online applica-
    tion is required.
        Students holding non-degree status may not enroll full-time and may accumulate no more
    than 40 total hours of coursework at Florida Southern. Upon completion of 25 semester hours,
    non-degree students may seek degree status through the Office of Adult and Graduate Admis-
    sion. Students enrolled in a non-degree seeking status are not eligible for financial assistance.
        A student who is a degree candidate at another institution and wishes to take courses for
    transfer credit should arrange with that college’s Office of Admission to submit a letter indi-
    cating good academic and social standing and granting permission to take specific courses at
    Florida Southern College. This transient permission serves as a substitute for the transcript
    required from other students.

    Adult and Graduate Transfer Admission Policies
         Students who have successfully completed work at a regionally accredited college or uni-
    versity may apply for admission to adult undergraduate programs at Florida Southern College.
    Official transcripts are required from each post-secondary institution attended.
         Applicants are evaluated primarily on the strength of their academic achievement at the
    post-secondary level, with emphasis placed on subject areas paralleling Florida Southern Col-
    lege’s general education curriculum requirements. Particularly critical are courses in English and
    mathematics. Total credits attempted, credits earned, and grades posted serve as the basis for
    admission. Students who wish to transfer before accumulating 25 semester hours of transferable
    credit must also submit high school transcripts and ACT or SAT scores.
         To be considered for transfer admission into an adult undergraduate degree program, a stu-
    dent must be eligible, academically and socially, to return to the last college or university attend-
    ed. A student on academic or social dismissal from any institution is not eligible to enroll at
    FSC, unless approved by the provost. Students transferring without an A.A. degree at the time of
    matriculation are required to complete all general education courses not previously successfully
    completed. Evaluation of transfer credit is on a course-by-course basis. Please refer to additional
    information in the General Education Curriculum section of this catalog.
         Students who have earned an A.A. degree from a regionally accredited institution in the
    state of Florida will have met all of Florida Southern College’s general education requirements,
    if the degree was awarded after December 1994. Under agreements with the state’s community
    colleges, A.A. degree graduates who earn their degrees in 1995 or subsequent years may enter
    Florida Southern College as juniors with a maximum of 62 transferable credits.
         Should the Admissions Committee deem a student admissible, the student’s file is then sent
    to the registrar’s office to have an official credit evaluation completed. Once the official evalua-
    tion is complete, the student will be sent an admission update. Only courses in which a student
    earned a grade of “C” or higher are considered for transfer credit. The maximum number of cred-
    it hours transferable from a 2-year institution is 62, while a student transferring from a 4-year in-
    stitution may enter Florida Southern College with as many as 93 hours. If a student has attended
    more than one college or university, each transcript is evaluated independently. Regardless of the
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       amount of applicable transfer credit, students must complete at least 50 percent of their major
       and minor (if minor is elected) in Florida Southern College coursework. Transient coursework,
       CLEP and other examination credit, and study abroad credits earned through an affiliation agree-
       ment with another institution are not considered FSC credit. In the case of students entering
       teacher education, no more than eight semester hours of coursework may be accepted.
           Students who have attended institutions which are considered in-candidacy-for-accredita-
       tion, or students who have college credits more than ten years old may have their credits accepted
       provisionally and validated by completing at least 24 semester hours of Florida Southern College
       work while maintaining at least a 2.0 grade point average.
           Transfer credit hours for specialist education programs in military service schools may be
       awarded to a maximum of 18 hours. Semester-hours credit is determined by standards of the
       American Council on Education guide to the evaluation of experiences in the armed services.

       Re-Admission of Former Adult and Graduate, & Doctorate Students
       Any adult or graduate student who wishes to return to Florida Southern following withdrawal
       or suspension must re-apply through the Office of Adult and Graduate Admission. To complete
       the application, the student must include the following:
       • Statement explaining reasons for leaving
       • Specification of the term of intended re-enrollment
       • Statement of activities (work, travel, academic work) which have occurred since leaving Flor-
            ida Southern College
       		 If the student has undertaken any academic work at another institution since last 		
       		 enrolled at Florida Southern, official transcripts and a Report of Social Standing form 		
       		 must be submitted upon re-applying
           Additionally, to be eligible for re-admission, students must have demonstrated a successful
       and positive adjustment to the campus community while at the College and must not have any
       outstanding accounts payable in the business office or any unresolved judicial matters. Students
       seeking to re-enter the program after an absence of one full year or more are subject to the cata-
       log under which they re-enter. Re-admission applicants who have been absent for more than five
       years will be required to resubmit all transcripts and supporting documentation.
           Overall, it is up to the discretion of the Director of Adult and Graduate Admission for re-ad-
       mitting a student. Additionally, the dean of the school in which the student is applying to may
       have influence on a student’s re-admittance decision.
       Defer
            Students who have been admitted to Florida Southern College for adult or graduate pro-
       grams may defer admission for up to one year, provided the request for a deferred date of en-
       rollment is made in writing prior to the start of the semester for which admission was granted.
       Candidates may request deferred admission to pursue non-academic goals, such a work and trav-
       el, only. Deferred admission is not granted to students who wish to enroll in another institution
       prior to attending FSC. (See Reactivation of Applications). Deferment in all graduate programs
       is limited and you must seek the Director of Adult and Graduate Admission’s approval. Financial
       aid cannot be automatically deferred. Students should contact the Financial Aid Office to ensure
       that full consideration for financial aid is given for the designated semester of enrollment.
       Reactivation of Application
           All applications to Florida Southern College adult and graduate programs remain on file
       for a period of one year. Students who do not enroll in the semester requested on the original
       application may reactivate an application for consideration for a subsequent semester within that
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    period. Students should submit a new Application for Admission within the 12-month period
    to reactivate the application. If the applicant has undertaken additional formal study in the inter-
    vening period, official transcripts must be submitted showing all work completed or in progress.

    Provisional Admission
        Adult undergraduate students may be admitted provisionally while awaiting the accumu-
    lation of required supporting documents. Documents must be provided by the end of the first
    term following the acceptance of the initial application. Evaluation of transfer credits or military
    experience cannot be completed until the required documents are received by the Office of Adult
    and Graduate Admission. Students admitted on provisional admissions status are not eligible to
    receive state and federal financial aid during this period of provision admission.

    Conditional Admission
        Florida Southern College recognizes that adult undergraduate applicants may have been in
    the workforce for some time and are unable to provide sufficient academic records on which to
    base a decision for acceptance into a degree program. In such cases, in response to a student’s
    application, FSC may admit the student on a conditional basis.
        If an applicant cannot provide SAT or ACT documentation for admission to Florida South-
    ern, the following conditions will apply:
       • You must enroll and successfully complete 12 credit hours of coursework before you will
          be formally accepted. You must maintain at least a 2.0 GPA in order to demonstrate you
          can meet the academic requirements of the college. During this time period you will not be
          eligible to receive state or federal financial aid.
         OR
         • Students who cannot provide SAT/ACT documentation and who desire full admission sta-
           tus may obtain full admission by taking the ACT residual examination or its equivalent.

    Adult Undergraduate Education Majors
         Although students are permitted to enter during any of the nine terms throughout the year,
    it is recommended that students begin their adult undergraduate degree program during term
    1A in the fall to ensure continuous enrollment leading to their internships. Students intern
    during term 1C or 2C (16 weeks), after ALL undergraduate coursework is completed with a grade
    of “C” or better, a 2.5 cumulative GPA, passing scores on all parts of the Florida Teaching Certifi-
    cation Exam (FTCE), and permission of the Dean of the School of Education.
         Certified teachers and post-degree teacher certification candidates are welcome to take pro-
    fessional education coursework through Florida Southern College for initial certification, renew-
    al, or add-on certification.
         However, neither Florida Southern College nor the School of Education accepts responsibility
    for advising post-baccalaureate degree students in course selection for teacher certification. It is the
    responsibility of the student to follow all certification requirements via the Florida Department of
    Education in order to meet the requirements to teach in locations outside the state of Florida.

    Drop/Add Procedures
        The last day to add or drop a Monday/Wednesday/Online course is Wednesday of the first
    week of classes, and the last day to add or drop a Tuesday/Thursday course is Thursday of the first
    week of classes. A student wishing to drop a course must notify the registrar’s office in writing or
    by email by the appropriate date. A student may not drop a course through an instructor or by
    simply not attending class.
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                                             ADULT UNDERGRADUATE PROGRAMS                                                                       87




       Financial Information
           Students pay only a part of their costs—operating and instructional—at Florida Southern
       College. The remainder comes from endowment income and from alumni and friends, as well as
       from grants from foundations, businesses and the government, and from the Florida Conference
       of the United Methodist Church.

       Tuition, Fees, and Other Costs
       Basic costs of adult undergraduate degree programs include:
          • Tuition
          		 B.S. in Accounting.............................................................................. $326.00 per credit hour
          		 B.S. in Business Administration......................................................... $326.00 per credit hour
          		 B.S. in Communication...................................................................... $326.00 per credit hour
          		 B.S. in Elementary Education............................................................. $326.00 per credit hour
          		 RN-to-BSN.......................................................................................... $390.00 per credit hour
          		 Adult Undergradute Non-Degree...................................................... $326.00 per credit hour
           • Technology fee
          		 Up to 4 credit hours......................................................................................... $25.00 per term
          		 5–8 credit hours............................................................................................... $50.00 per term
          		 9–12 credit hours........................................................................................... $100.00 per term
          • Parking fee........................................................................................................ $40.00 per year
          • Graduation fee................................................................................................................. $60.00
          • Lab fees for some courses.............................................................................................. variable
           Note: The college reserves the right to change fees due to the economic conditions

       “Refund Policy” on page 24
       A student who withdraws from college during an adult term will be granted a refund as follows:
          • Withdraw from college during the first three calendar days.............................. 100% refund
          • Withdraw from college during the 4th to the 5th calendar days ........................... 90% refund
          • Withdraw from college during the 6th to the 13th calendar days ......................... 50% refund
          • Withdraw from college during the 14th to the 25th calendar days ....................... 25% refund
          • Withdraw from college after the 25th calendar day.......................................... no refund due


       Registration
       Registration may be accomplished by
         • Registering online via Florida Southern College Portal. Online registration is a fast, conve-
            nient method of registration available to all accepted adult students. Students registering
            for the first time will receive written instructions on how to complete registration. Payment
            must be made online or in person to the business office prior to the first class session.
          • Registering in person. The Office of the Registrar is located on the second floor of the Buck-
            ner Building, off Johnson Avenue. Office hours are Monday–Friday, 8:00 a.m.–5:00 p.m. The
            phone number is 863.680.4127.
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         • If a student is not currently enrolled, but has been enrolled within the year, he or she may
           register via the portal or by calling the registrar’s office, 863.680.4127. Payment must be
           made to the Office of Student Accounts prior to the first class session.


    Orientation
        New adult undergraduate students are expected to complete orientation online prior to the
    start of their first term. The orientation provides an overview of support services and resources
    available. In addition, the student will receive an overview of campus and staff information by
    department.

    Financial Aid
        Florida Southern College participates in federal and state financial aid programs. Informa-
    tion and forms may be obtained from the FSC website or from the Financial Aid Office. The
    phone number is 863.680.3963. Adult undergraduate degree students must enroll in at least
    twelve hours per semester (terms A, B and C) to be awarded a Effective Access to Student Educa-
    tion(EASE) -formerly FRAG.

    Course Enrollment
        Adult undergraduate degree programs are arranged so that a student may take one or two
    courses in any term. The program offers three semesters per year—fall (Semester 1), spring, (Se-
    mester 2) and summer (Semester 3)—with three terms per semester: Terms A, B, and C.
        A student who attends twelve (12) hours in any one semester (1 (Fall), 2 (Spring), 3 (Sum-
    mer)) is considered full time. A full-time student may accumulate up to 48 semester hours of
    coursework in a single calendar year and may qualify for state and federal financial assistance.
        Office of Adult and Graduate Admission students may not enroll in more than 18 hours
    combined in Terms A, B, and C, without prior approval from their academic dean.
        Academic policies including standards of academic progress, academic probation, academic
    suspension, and retaking course information, can be found earlier in the catalog.

    Additional Program Information
        Information on transient credits, graduation, and academic honors is located elsewhere in
    this catalog. Further information concerning admission, evaluation of credits, registration, and
    other details may be obtained from:
        Office of Adult and Graduate Admission 		            863.680.4205
        111 Lake Hollingsworth Drive			                      Fax: 863.680.3872
        Lakeland, FL 33810-5698 			                          Email: evening@flsouthern.edu

    Adult Undergraduate Programs of Study
    General Education Curriculum.................................................................................see page 63
    Accounting.....................................................................................................................see page 90
    Business Administration...........................................................................................see page 105
    Note: Adult undergraduate students earn a Bachelor of Science in Business Administration. Be-
    cause of the nature of the program for returning, working adults, BUS 1115 is waived as a degree
    requirement for adult undergraduate students. The advising process will determine if BUS 3960
    and an internship are required for an adult student. If not required, other business electives will
    substitute for those credit hours.
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       Management Certificate............................................................................................see page 106
       Note: The Management Certificate is awarded at the adult undergraduate level. The certificate
       requires completion of nine core business management courses consisting of 36 credit hours of
       instruction. Students must submit an adult undergraduate non-degree application to be con-
       sidered to pursue Florida Southern College’s Management Certificate. Upon completion of all
       courses students desiring the certificate must submit a Certificate in Management Completion
       form as well as the $25 processing fee to the Office of Adult and Graduate Admission.
       Communication..........................................................................................................see page 114
       Note: Adult undergraduate students earn a Bachelor of Science degree in Communication with
       a concentration in Interpersonal and Organizational Communication. Because of the nature of
       the program, COM 1100 will be waived as a degree requirement for adult undergraduate stu-
       dents. Additionally, COM 3955 and COM 4960/4961 are not offered in the adult undergraduate
       degree program. Students must take COM 4900 to complete the degree requirements.
       Elementary Education (K–6)....................................................................................see page 122
       Note: Students must meet the same criteria for admission to the adult undergraduate education
       degree program as the traditional undergraduate program.
       1. Submit a School of Education Application for Admission.
       2. Provide a recent and professional photo.
       3. Pass all four sections of the General Knowledge Test (GKT).
       4. Earn an overall cumulative grade point average of at least 2.5 on a 4.0 scale for all
          undergraduate studies.
       5. Earn a grade of C or better in all Education courses.
       6. Obtain fingerprint/background clearance check from the Polk County School Board.
       7. Complete the Academic Interest Inventory at FSC.
       8. Successfully complete EDU 1107 Foundations of Education I and EDU 2200 Field Study I.


       Nursing.........................................................................................................................see page 160
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            UNDERGRADUATE PROGRAM REQUIREMENTS

    ACCOUNTING
        The accounting program provides relevant undergraduate and graduate education in account-
    ing. With an emphasis on ethics, current accounting topics, engaged learning, and real-world
    applications, the program prepares students for professional certification, lifelong professional
    development, financial success, and leadership roles in a dynamic environment.

    Honors in the Major
        Students in accounting may wish to pursue honors in the major. Please see the section under
    Honors earlier in this catalog for information about qualifying for honors in the major. Addi-
    tionally students must successfully complete ACC 4953: Departmental Honors in Accounting I
    and ACC 4954: Departmental Honors in Accounting II.

    Professional Licensure
        A student may take the Certified Public Accountant (CPA) exam upon completion of 120
    hours that includes certain courses. The B.S. degree satisfies those courses. CPA licensure requires
    150 hours of academic credit including 36 hours of upper-level accounting and 39 hours of
    general business core courses. The Master of Accountancy (MAcc) degree satisfies those courses.
    To become licensed also requires passing the Uniform CPA Exam and one year of experience
    supervised by a CPA. The Certified Managerial Accounting Examination (CMA) may be taken
    by a student after the junior year of the B.S. degree.

    Accounting Minor Requirements
        18 hours, including ACC 2111, 2112, 3111, 3211 and any other accounting course(s) to com-
    plete the required number of hours

    Accounting Major Requirements
    A. General Education Requirements..........................................................................40 hours
    B. Major Requirements..................................................................................................66 hours
      ACC 2111            Foundations of Financial Accounting				
      ACC 2112            Foundations of Managerial Accounting			
      ACC 3111            Financial Accounting I				
      ACC 3112            Financial Accounting II
      ACC 3211            Cost Accounting						
      ACC 3705            Accounting Information Systems
      ACC 4411            Federal Taxation						
      ACC 4511            Auditing							
      ACC 4960/4961       Accounting Internship
      BUS 1115            The Dynamics of Business and Free Enterprise
      BUS 2217            Principles of Management				
      BUS 2220            Microsoft Excel for Business
      BUS 3160            Marketing Principles
      BUS 3311            Legal Environment of Business					
      BUS 3453            Managerial Finance 					
      BUS 3960            Professional Development
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                                        UNDERGRADUATE PROGRAM REQUIREMENTS                                                                         91



          BUS 4999                          Seminar in Strategic Management of the Business Enterprise
          ECO 2010                          Essentials of Economics
       C. Bachelor of Science Degree Requirements...........................................................12 hours
       D. Electives.......................................................................................................................... 6 hours
       E. Total.............................................................................................................................124 hours

       ART AND ART HISTORY
           The Department of Art and Art History offers the B.A. and B.F.A. degrees in graphic design
       and studio art; the B.A. and B.S. degrees in art education; and the B.A. degree in art history and in
       interactive and game design. The department has excellent facilities, an outstanding faculty, and
       a talented and active student body. The Melvin Art Gallery has exhibitions of Florida Southern
       students and of many leading professionals. The department also sponsors educational and social
       events on campus, field trips in the area, and study abroad programs.

       Admissions Requirements
           Upon application to and acceptance by the Office of Traditional Undergraduate Admissions,
       a student may be accepted into a major program in studio art, graphic design, or art history only
       through review of his or her portfolio of art and/or writings, as appropriate. Interviews and port-
       folio reviews are offered throughout the school year by appointment. Applicants should contact
       the department for information about the procedures that apply to them.

       Progress Requirements.
           All majors in the Department of Art and Art History must have a C or better in all major
       courses. Prior to four semesters before a student’s scheduled graduation, the department will re-
       quire a control examination, jury, or other procedure to determine the advisability of continuing
       a major in the Department of Art and Art History. Although it may be required at any time, such
       examination or procedure will typically be instituted near the end of the freshman year or the
       beginning of the sophomore year.

       Art Programs: Graphic Design and Studio Art
           The graphic design and studio art programs provide challenging, professional-level under-
       graduate course work for talented, motivated young artists. Students develop their skills and con-
       cepts, and in conjunction with the college curriculum, are further prepared to demonstrate the
       vital relationships between art and culture, art and emotion, and art and history. These programs
       provide appropriate preparation for graduate school and for entry into the job market.
           Small classes are taught by top professionals and students enjoy working relationships with
       their professors in a nurturing environment. Art classes are held in eight fully equipped stu-
       dio classrooms—each dedicated to a specific discipline: painting, figure drawing, printmaking,
       graphic design, photography, sculpture, ceramics, and design.

       Additional Degree Requirements
            Presentation of a senior exhibition is required for all degrees in graphic design and studio art.

       FILM (B.F.A.)
          The Bachelor of Fine Arts (BFA) in film focuses on the integration of theoretical, historical,
       and cultural application of film alongside the hands-on production of documentary, narrative,
       and experimental films using industry standard motion picture equipment and techniques. The
       rigorous curriculum includes comprehensive production courses, in addition to cinema studies,
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     art, screenwriting, and more. This program is designed to prepare students for the professional
     industry in a variety of professional video and filmic roles as socially and politically informed
     thinkers, artists, and professionals.

     Film Minor Requirements
          Twenty hours including ART 1110, 2115, 2215, 2240, and 3365 or 3367

     Film Major Requirements
     A. General Education Requirements...........................................................................40 hours
     B. Major Core Requirements.........................................................................................68 hours
           ART 1110		 Introduction to Film
           ART 1120		 Design Fundamentals
           ART 1131		 Drawing I
           ART 1140 		 Introduction to Digital Photography
           ART 2115		 Introduction to Digital Filmmaking
           ART 2215		 Storytelling for the Screen
           ART 2240 		 Film History
           ART 2570		 Video Art
           ART 3365		 Documentary Filmmaking
           ART 3367		 Motion Picture Productions
           ART 3999 		 Topics in Film Theory
           ART 4100		 Film Aesthetics
        		 ART 4900/4901 		 Senior Media Project
           ART 4960/4961		 Art Internship
           THE 1214		 Acting for the Non-Actor
           Choose eight hours at 1000-3000 level from course in ARH, ART, COM, ENG, HIS, MUS,
           PHI, THE (not ENG 1005)
     C. Electives.......................................................................................................................16 hours
     D. Total............................................................................................................................124 hours

     Graphic Design
     Graphic Design Minor Requirements–Print Emphasis
           20 hours, including ART 1120, 1131, 1140, 2410, and 3410.
     Graphic Design Minor Requirements–Web Emphasis
           20 hours, including ART 1120, 1131, 1140, 2410, and 3510.

     Graphic Design (B.A.) Major Requirements
         The Bachelor of Arts (B.A.) in Graphic Design certifies the completion of major study in the
     visual arts, which has been undertaken as an integral part of a general liberal arts degree program.
     Graphic design is the art of providing meaningful form to information. Combining intensive stu-
     dio work with the traditional liberal arts, the graphic design program follows two tracks—one in
     print design and the other in web design. All students take both tracks. This degree represents study,
     in some depth, a number of graphic design, studio art, and art historical disciplines. Such study may
     or may not prepare students for careers as art professionals. Career preparation is not a primary
     objective in programs leading to the B.A., with over 50 percent of a student’s education in areas
     outside art, with substantial coverage in the humanities, social sciences, and physical sciences.
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                                         UNDERGRADUATE PROGRAM REQUIREMENTS                                                                        93



        A. General Education Requirements.........................................................................40 hours
        B. Major Requirements.................................................................................................56 hours
          ART 1120                          Design Fundamentals
          ART 1131                          Drawing I
          ART 1132                          Drawing II OR
          ART 2170                          Figure Drawing I
          ART 1140                          Intro to Digital Photography
          ART 2100                          Painting I
          ART 2210                          Sculpture I
          ART 2410                          Typography and Layout
          ART 3410                          Advanced Print Design
          ART 3510                          Web Design
          ART 4499                          Senior Design Studio
          Two ART electives
          ARH 1100                          Survey of Western Art and Architecture
          One ARH elective
        C. Bachelor of Arts Degree Requirements................................................................20 hours
        D. Electives......................................................................................................................... 8 hours
        E. Total............................................................................................................................124 hours

        Graphic Design (B.F.A.) Major Requirements
            The Bachelor of Fine Arts (B.F.A.) in Graphic Design offers comprehensive training in art and
        design, focusing on the balance of theory and practice and culminating with the completion of
        a senior thesis exhibition and critique. Print and web design are the two design tracks followed
        by students in the program. These are supported by a broad education in art history and contem-
        porary art in addition to a liberal arts foundation. Throughout required courses, students will
        demonstrate critical thinking, technical abilities, and communication skills, as well as be able
        to collaborate effectively with their peers and professors. Graduates will be prepared to submit
        a complete portfolio and enter competitive graduate programs in art and design. Graduates also
        will be prepared to enter the professional fields of commercial design and advertising. B.F.A.
        graduates will have developed technical competence, aesthetic judgment, and a strong commit-
        ment to artistic quality.
        A. General Education Requirements..........................................................................40 hours
        B. Major Requirements..................................................................................................72 hours
          ART 1120            Design Fundamentals
          ART 1131            Drawing I
          ART 1132            Drawing II OR
          ART 2170            Figure Drawing I
          ART 1140            Intro to Digital Photography
          ART 2100            Painting I
          ART 2210            Sculpture I
          ART 2410            Typography and Layout
          ART 2570            Video Art
          ART 3410            Advanced Print Design
          ART 3510            Web Design
          ART 4499            Senior Design Studio
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       Four four-hour ART electives
        ARH 1100                          Survey of Western Art and Architecture
        Eight additional hours of ARH courses at the 3000- and/or 4000-level
     C. Electives........................................................................................................................12 hours
     D. Total.............................................................................................................................124 hours

     INTERACTIVE AND GAME DESIGN (B.A.)
        The Bachelor of Arts (B.A.) in Interactive and Game Design offers artistic application of
     interactive and game design principles within a variety of academic and professional contexts.
     Interdisciplinary concentrations in programming or art and cinema encourage experiential
     learning opportunities that will enrich study in the core of the major. Students utilize diverse
     intersections of skills combining artistic practice and expression blended with new media tech-
     nology. This technology targets interactive environments such as web, mobile, and gaming. The
     program emphasizes interactive technologies, allowing new media artists to create user-cen-
     tered experiential art. Through design-based problem solving and development of interactive
     spaces and simulation, students conceptualize, prototype, and create concepts that shape user
     experiences providing students with creative and technological skills that are in high demand
     in today’s rapidly evolving visual communication environment.

     Interactive and Game Design Minor Requirements
           Twenty hours including ART 1120, 1160, 2215, 2225, 2230 and 3510 or 4100

     Interactive and Game Design Major Requirements
     A. General Education Requirements...........................................................................40 hours
     B. Major Core Requirements.........................................................................................48 hours
          ART 1120		 Design Fundamentals
          ART 1131		 Drawing I
          ART 1160 		 New Media
          ART 2215		 Storytelling for the Screen
          ART 2225 		 Usability
          ART 2230		 Media Analytics
          ART 3510		 Web Design
          ART 4320		 Simulation/Cinematic VR
          ART 4900/4901 		 Senior Media Project
          CSC 2280		 Introduction to Computer Science
          Select at least one of the following concentrations:
            Art and Cinema
              Twelve additional hours in ART/ARH at progressively higher levels
            OR
            Programming
              Twelve additional hours in CSC at the 2000-level and above
     C. Bachelor of Arts Degree Requirements................................................................12 hours
     D. Electives.......................................................................................................................24 hours
     E. Total............................................................................................................................124 hours
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                                         UNDERGRADUATE PROGRAM REQUIREMENTS                                                                         95




        Studio Art
        Studio Art Minor Requirements
           Twenty hours, including ART 1120, 1131, ARH 1100, plus two additional ART courses at
        progressively higher levels in a related area.

        Studio Art (B.A.) Major Requirements
            The B.A. in Studio Art certifies the completion of major study in the visual arts, which has
        been undertaken as an integral part of a general liberal arts degree program. The degree rep-
        resents study in some depth in a number of studio and art historical disciplines. Such study may
        or may not prepare students for careers as art professionals. Career preparation is not a primary
        objective in programs leading to the B.A., with over 50 percent of a student’s education in areas
        outside art, with substantial coverage in the humanities, social sciences, and physical sciences.
        A. General Education Requirements..........................................................................40 hours
        B. Major Requirements.................................................................................................60 hours
           ART 1120                          Design Fundamentals
           ART 1131                          Drawing I
           ART 1132                          Drawing II OR
           ART 2170                          Figure Drawing I
           ART 1140                          Intro to Digital Photography
           ART 2100                          Painting I
           ART 2110                          Painting II
           ART 2210                          Sculpture I
           ART 2220                          Ceramics I
           ART 2310                          Printmaking I
           ART 4999                          Senior Seminar
           Two 3000- and/or 4000-level ART courses in one of the following areas: drawing, painting,
             printmaking, photography, ceramics, sculpture, digital media, or an appropriate combina-
             tion of these areas chosen in consultation with the advisor
           ARH 1100                          Survey of Western Art and Architecture
           ARH 2700                          Art Theory and Practice
           Four additional hours of ARH courses at the 3000- and/or 4000-level
        C. Bachelor of Arts Degree Requirements.................................................................20 hours
        D. Electives.......................................................................................................................... 4 hours
        E. Total.............................................................................................................................124 hours

        Studio Art (B.F.A.) Major Requirements
            The B.F.A. in Studio Art provides professional education in art and design at the undergraduate
        level, to enable graduates to enter professional careers in such fields as design, painting, and sculp-
        ture after the award of the degree. Additionally, this program is designed to give students optimal
        preparation for admission to M.F.A. programs in art. Students concentrate in relevant technical and
        aesthetic studies, which are a major portion of the program. B.F.A. graduates will have developed
        technical competence, aesthetic judgment, and a strong commitment to artistic quality.
        A. General Education Requirements.........................................................................40 hours
        B. Major Requirements.................................................................................................76 hours
          ART 1120           Design Fundamentals
          ART 1131           Drawing I
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       ART 1132                           Drawing II
       ART 1140                           Intro to Digital Photography
       ART 2100                           Painting I
       ART 2110                           Painting II
       ART 2170                           Figure Drawing I
       ART 2210                           Sculpture I
       ART 2220                           Ceramics I
       ART 2310                           Printmaking I
       ART 4999                           Senior Seminar
       Three 3000- and/or 4000-level ART courses in one of the following areas: drawing, painting,
          printmaking, photography, ceramics, sculpture, digital media, or an appropriate combina-
          tion of these areas
       One four-hour ART elective
        ARH 1100                          Survey of Western Art and Architecture
        ARH 2700                          Art Theory and Practice
        Eight additional hours of ARH courses at the 3000- and/or 4000-level
     C. Electives.......................................................................................................................... 8 hours
     D. Total.............................................................................................................................124 hours

     Art Education (B.A. or B.S.)
         The Department of Art and Art History in conjunction with the School of Education offers
     the B.A. or B.S. degree in art education. The program provides challenging, professional-level
     undergraduate course work for talented, motivated young artists. Students develop their skills
     and concepts, and are prepared to teach art.
         Small classes are taught by top professionals, and students enjoy working relationships with
     their professors in a nurturing environment. Art classes are held in eight fully equipped stu-
     dio classrooms—each dedicated to a specific discipline: painting, figure drawing, printmaking,
     graphic design, photography, sculpture, ceramics, and design.

     Art Education Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements............................................................................................82–83 hours
       ARH 1100            Survey of Western Art and Architecture
       ART 1120            Design Fundamentals
       ART 1131            Drawing I
       ART 1132            Drawing II OR
       ART 2170            Figure Drawing I
       ART 1140            Intro to Digital Photography
       ART 1160            New Media OR
       ART 2570            Video Art
       ART 2100            Painting I
       ART 2110            Painting II
       ART 2210            Sculpture I
       ART 2220            Ceramics I
       ART 2310            Printmaking I
       ART 2410            Typography and Layout
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                                         UNDERGRADUATE PROGRAM REQUIREMENTS                                                                         97



           EDU 1107                          Foundations of Education I
           EDU 2200                          Field Study Level I
           EDU 2203                          Foundations of Education II
           EDU 2210                          Foundations in Special Education
           EDU 2235                          Methods of Assessment
           EDU 3279                          Foundations of ESOL I
           EDU 3323                          Field Study Level II
           EDU 3333                          Foundations of Education III
           EDU 4400                          Field Study Level III (Elementary Education Art students only)
           EDU 4454                          Special Methods in Education
           EDU 4457                          Reading and Writing in the Content Areas in the Secondary School
           EDU 4889                          Student Teacher Intern Seminar
           EDU 4990                          Senior Internship
        C. Bachelor of Arts Degree Requirements.................................................................20 hours
           OR
        D. Bachelor of Science Degree Requirements...........................................................12 hours
        E. Electives.......................................................................................................................... 0 hours
        F. Total......................................................................................................................134-143 hours

        Art History (B.A.)
            The B.A. in Art History prepares students in the historical interpretation and critical analysis
        of the visual arts and artistic culture. Through intensive study of the art, artifacts, and architec-
        ture produced over the course of human history, students who have earned a B.A. in Art History
        will gain broad knowledge of the intellectual, cultural, social, and political histories of the world.
        Examining not simply the history of art but rather history through art, Art History majors de-
        velop a strong mastery of major works of art, artists, and art movements and gain the essential
        understanding of how art is inextricable from the time in which it was made. In coursework,
        majors in the department will hone the skills of visual discernment, writing proficiency, and
        verbal expression fundamental to art historical analysis.
        By preparing students to think critically and conceptually about the connections between the
        way works of art are made and why they were made that way by their artists, the Art History
        Program gives students the academic and technical expertise required for looking at, handling,
        speaking, and writing about art and its vital role in human culture. Along with opportunities to
        work with art firsthand in the context of the Polk Museum of Art at Florida Southern College,
        the Art History Program provides appropriate preparation for graduate school and for entry into
        the job market along many possible career tracks, from museums, galleries, and art administra-
        tion to business, art law, education, journalism, and beyond.
        Progress Requirements
            Beginning with the sophomore year, students majoring in Art History must maintain a 2.4
        average overall. Students must earn a C or better on all course work in the major that is to count
        towards the degree.

        Art History Minor Requirements
           Twenty hours, including ARH 1100, and four additional ARH courses at the 3000-level or
        above.
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     Art History Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements..................................................................................................48 hours
        ARH 1100                          Survey of Western Art and Architecture
        ARH 3790                          Contemporary Art and Architecture
        ARH 4999                          Art History Senior Thesis
        ART 1120                          Design Fundamentals (may be taken pass/fail)
        ART 1131                          Drawing I (may be taken pass/fail)
        COM 1500                          Fundamentals of Speech
        HIS 1200                          The Making of the Modern World OR
        HIS 1300                          The Modern World
        Five additional ARH courses chosen from ARH 3700, 3710, 3720, 3740, 3750, 3770, 3780, or
          4960–61
     C. Bachelor of Arts Degree Requirements.................................................................20 hours
     D. Electives........................................................................................................................16 hours
     E. Total.............................................................................................................................124 hours

     ART EDUCATION
          See Art and Art History

     BIOCHEMISTRY AND MOLECULAR BIOLOGY
          The biochemistry and molecular biology (BMB) program is interdisciplinary, reflecting the
     complex modern study of life at the cellular level. Drawing on chemistry, biology and mathe-
     matics, the program allows students to use the resources and perspectives of multiple disciplines,
     reflecting the collaborative nature of current scientific research. The BMB program follows the
     guidelines specified by the American Society for Biochemistry and Molecular Biology (ASBMB).
     Graduates of this program are well prepared to enter professional schools, such as medical, dental
     and veterinary schools, as well as graduate programs in biochemistry, molecular biology and oth-
     er related disciplines, and to enter careers in the pharmaceutical and biotechnology industries.

     Admission Requirements
         Students applying for the program must have an SAT score of 1100 or ACT score of 24 to
     enter as freshmen, or a GPA of 3.0 in basic biology and chemistry courses by the end of their
     freshman year.

     Program Requirements
        All biochemistry and molecular biology majors must earn a grade of C or better in all BIO
     courses and courses cross-listed with BIO.

     Special Requirements
         Due to the interdisciplinary nature of this program, students majoring in biochemistry and
     molecular biology are not allowed to double major in biology or chemistry, and are not allowed
     to receive minors in biology or chemistry.

     Biochemistry and Molecular Biology Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements............................................................................................72–74 hours
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                           UNDERGRADUATE PROGRAM REQUIREMENTS                                  99



         BIO 1500                 Biology I: Biological Essentials
         CHE 1110                 Chemistry, Biochemistry and Society (FTIC only)
         CHE 1111                 Principles of Chemistry I
         CHE 1112                 Principles of Chemistry II
         CHE 2231                 Organic Chemistry I
         CHE 2251                 Organic Chemistry I Laboratory
         CHE 2232                 Organic Chemistry II
         CHE 2252                 Organic Chemistry II Laboratory OR
         CHE 2254                 Organic Chemistry II Laboratory for Majors
         CHE 3340                 Physical Chemistry for the Biological Sciences
         BIO/CHE 3362             Biochemistry: Molecular Biology
         BIO/CHE 3371             Biochemistry: Structure and Function
         BIO/CHE 3372             Biochemistry: Metabolism
         BIO/CHE 3373             Biochemistry: Structure and Function Laboratory
         BIO 3700                 Genetics
         BIO 3800                 Cell Biology
         MAT 2311                 Calculus I with Plane Analytic Geometry
         PHY 2110                 General Physics I (Calculus Based)
         PHY 2120                 General Physics II (Calculus Based)
         Four to six hours selected from the following:
         BIO 4560                 Introduction to Molecular Biology Research AND
         BIO 4561/4562            Research: Molecular Biology
            OR
         CHE 4410                 Introduction to Research Methods AND
         CHE 4999                 Senior Research in Chemistry
         		 OR
          HON 4955                Honors Senior Thesis AND
          HON 4956                Honors Senior Thesis
         Eleven hours selected from the courses below (with no more than eight hours coming from
         the same prefix, e.g. BIO or CHE):
          BIO 1600                Biology II: Biological Diversity
         BIO 2215                 Human Anatomy and Physiology I
         BIO 2216                 Human Anatomy and Physiology II
         BIO 3710                 Microbiology
         BIO 3727                 Techniques in Nucleic Acid and Cloning Research
         BIO 3770                 Bioinformatics
         BIO 4150                 Plant Anatomy and Physiology
         BIO 4160                 Developmental Biology
         BIO 4300                 Immunology
         BIO 4330                 Techniques in Protein Purification
         BIO 4360                 Techniques in Tissue Culture and Cell Signaling
         BIO 4960                 Biology Internship OR
         BIO 4961                 Biology Internship
         CHE 2335                 Analytical Chemistry
         CHE 2355                 Descriptive Inorganic Chemistry
         CHE 3320                 Applied Synthesis and Characterization
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        CHE 3335                          Instrumental Analysis
        CHE 3341                          Physical Chemistry I
        CHE 3342                          Physical Chemistry II
        CHE 4425                          Special Topics in Chemistry
        CHE 4455                          Advanced Inorganic Chemistry
        CHE 4960                          Internship in Chemistry
     C. Bachelor of Science Degree Requirements...........................................................12 hours
     D. Electives.......................................................................................................................... 0 hours
     E. Total......................................................................................................................124-126 hours

     BIOLOGY
         The Department of Biology offers a B.S. in Biology applicable to a variety of career and
     post-graduate educational opportunities. Students not only learn about biology; they experi-
     ence it. Through engaged learning in the classroom, laboratory experiments with state-of-the-art
     equipment, field trips to local venues of interest, internships at local and national companies,
     and original research on the FSC campus and beyond, biology students are provided with ample
     opportunities to practice what they learn, and learn what they practice.
         Faculty work one-on-one with students, in areas of academics, research, advising, and plan-
     ning for the future, to ensure students have the tools necessary to succeed. Many biology gradu-
     ates go on to professional or graduate school, and most are very successful in the pursuit of their
     advanced degree.

     Statement on Engaged Learning
         The Department of Biology includes many types of engaged learning activities in its courses.
     All 1000- and 2000-level courses, as well as some 3000-level courses, have laboratory components,
     where students work in pairs or in groups to engage in various aspects of the scientific process
     such as problem solving, experimental design, manipulation of variables, and data interpretation.
     Field trips, mini labs, small and large group discussions, presentations, case studies, and use of
     specific scientific computer programs are other methods commonly employed in the classroom
     to engage students. All students majoring in biology are required to design and implement their
     own original research project.

     Special Programs: The Pre-Professional Program (P3) for Pre-Medical, Pre-
     Dental, Pre-Veterinary, Pre-Pharmacy, and Pre-Physical Therapy Studies
          Although pre-professional students may major in any program, the number of courses in
     the natural sciences required to prepare students for this path means most students major in the
     natural sciences, usually including biology, chemistry, and biochemistry and molecular biology.
     However, professional schools do recognize and encourage breadth in education, and the liberal
     arts emphasis at FSC, along with the strong natural sciences curriculum, provides an excellent back-
     ground. All pre-professional students are strongly encouraged to work closely with their advisors to
     ensure that the curricular, co-curricular and extracurricular aspects of their education will provide
     the best opportunities for admission into a professional school. (See “Pre-Professional Programs” on
     page 58 for more information.)
          FSC–Lake Erie College of Osteopathic Medicine (LECOM) Early Acceptance Pro-
     grams. Qualified students may take part in one of three FSC–LECOM Early Acceptance Pro-
     grams. If program requirements are met, students are virtually guaranteed acceptance into one
     of LECOM’s professional programs: the LECOM College of Medicine (leading to the Doctor of
     Osteopathic Medicine degree), the LECOM School of Dental Medicine, or the LECOM School
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                                     UNDERGRADUATE PROGRAM REQUIREMENTS                                                           101



        of Pharmacy. Students interested in these programs should contact Dr. Nancy Morvillo, chair of
        the Department of Biology.
            Biology major with secondary education. Students meeting the department’s require-
        ments for a major in biology as well as the required professional courses, education courses,
        and other degree requirements specified by the School of Education will meet the certification
        requirements for teaching biology in the state of Florida. Students seeking state certification
        should meet with an advisor in the School of Education as soon as possible. Education: Second-
        ary Biology majors see page 126.

        Program Requirements
            All biology majors and minors must earn a grade of C or better in all BIO courses and courses
        cross-listed with BIO.

        Special Requirements
            Due to similarities in the programs, students majoring in biology are not allowed to double
        major in biochemistry/molecular biology, biotechnology, environmental studies, or marine biol-
        ogy, nor are they allowed to minor in environmental studies.

        Biology Minor Requirements
           20 hours selected from biology courses that count toward the major (all BIO courses except
        BIO 1000 and BIO 2280).

        Biology Major Requirements
        A. General Education Requirements..........................................................................40 hours
        B. Major Requirements.............................................................................................74-77 hours
          BIO 1500               Biology I: Biological Essentials
          BIO 1501               Current Perspectives in Biology (FTIC only)
          BIO 1600               Biology II: Biological Diversity
          BIO 2500               Biology III: Ecology and Evolution
          BIO 3700               Genetics OR
          BIO 3710               Microbiology
          CHE 1111               Principles of Chemistry I
          CHE 1112               Principles of Chemistry II
          CHE 2231               Organic Chemistry I
          CHE 2251               Organic Chemistry I Laboratory
          CHE 2232               Organic Chemistry II
          CHE 2252               Organic Chemistry II Laboratory
          MAT 2032               Biostatistics
          OR
          MAT 2022               Elementary Statistics AND
          MAT 2027               Transition to Biostatistics
          One other 2000-level course in Mathematics
          PHY 2010               General Physics I (Algebra Based) AND
          PHY 2020               General Physics II (Algebra Based)
          OR
          PHY 2110               General Physics I (Calculus Based) AND
          PHY 2120               General Physics II (Calculus Based)
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       Twenty semester hours chosen from the following:
       		 BIO 1520           Introduction to Marine Biology
       		 BIO 1820           Oceanography
       		 BIO 1900           Human Genetics
       		 BIO 2120           Biology and Conservation of Marine Mammals
       		 BIO 2200           Environmental Issues
       		 BIO 2214           Disasters, Civilizations and the Environment
       		 BIO 2215           Human Anatomy and Physiology I
       		 BIO 2216           Human Anatomy and Physiology II
       		 BIO 2220           Biology of the Fishes
       		 BIO 2320           Marine Microbiology
       		 BIO 2520           Biological Geography and GIS
       		 BIO 2600           Introduction to Neuroscience
       		 BIO/EXS 2770       Exercise Physiology
       		 BIO 2900           Conservation Biology
       		 BIO 3100           Plant Taxonomy
       		 BIO 3120           Biology of Amphibians and Reptiles
       		 BIO 3301           Field Ecology
       		 BIO/HRT 3302       Plant Nutrition
       		 BIO 3316           Tropical Ecology
       		 BIO 3360           Medical Botany
       		 BIO/CHE 3362       Biochemistry: Molecular Biology
       		 BIO/CHE 3371       Biochemistry: Structure and Function
       		 BIO/CHE 3372       Biochemistry: Metabolism
       		 BIO/CHE 3373       Biochemistry: Structure and Function Lab
       		 BIO/REL 3378       Dialogues in Science and Religion
       		 BIO 3500           Marine Ecosystems Ecology
       		 BIO 3600           Special Topics in Biology
       		 BIO 3700           Genetics
       		 BIO 3710           Microbiology
       		 BIO 3727           Techniques in Nucleic Acid and Cloning Research
       		 BIO 3770           Bioinformatics
       		 BIO 3800           Cell Biology
       		 BIO 3850           Parasitology
       		 BIO 3900           Animal Behavior
       		 BIO 3920           Marine Invertebrate Zoology
       		 BIO 3988/3989      Professional Shadowing
       		 BIO 4150           Plant Anatomy and Physiology
       		 BIO 4160           Developmental Biology
       		 BIO 4200           Histology
       		 BIO 4240           Seminar in Biotechnology
       		 BIO 4300           Immunology
       		 BIO 4330           Techniques in Protein Purification
       		 BIO 4360           Techniques in Tissue Culture and Cell Signaling
       		 BIO 4461/4462      Research: Ecology
       		 BIO 4561/4562      Research: Molecular Biology
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                                         UNDERGRADUATE PROGRAM REQUIREMENTS                                                                       103



           		 BIO 4661/4662                  Site-Specific Research in Biology
           		 BIO 4960/4961                  Internship
           Six hours selected from the following:
           		 BIO 4460                       Introduction to Ecology Research AND
           		 BIO 4461/4462                  Research: Ecology
           		 OR
           		 BIO 4560                       Introduction to Molecular Biology Research AND
           		 BIO 4561/4562                  Research: Molecular Biology
           		 OR
           		 BIO 4661/4662                  Site-Specific Research in Biology
           		 OR
           		 HON 4955                       Honors Senior Thesis (with departmental approval) AND
           		 HON 4956                       Honors Senior Thesis (with departmental approval)
        C. Bachelor of Science Degree Requirements...........................................................12 hours
        D. Electives.......................................................................................................................... 0 hours
        E. Total....................................................................................................................126 - 129 hours

        BIOTECHNOLOGY
            Biotechnology is a rapidly growing industry that offers many exciting possibilities for stu-
        dents. From fields as diverse as medicine and agriculture, to products as different as biofuels and
        pharmaceuticals, biotechnology plays a key role in improving the health and wellbeing of the
        global population, and is shaping the future of humanity. The biotechnology major at Florida
        Southern Colleges encourages students to explore the profession and provides the background
        and skills necessary for students to succeed in this highly diversified field. The expanding central
        Florida biotech industry provides a rich educational environment for our students, with the pos-
        sibility of internships, research, and employment opportunities. Graduates are well qualified for
        employment in the global market and make outstanding candidates for graduate programs.

        Special Requirements
           Due to similarities in the programs, students majoring in biotechnology are not allowed to
        double major or minor in biology.

        Program Requirements
            All biotechnology majors must earn a grade of C or better in all BIO courses and courses
        cross-listed with BIO.

        Biotechnology Major Requirements
        A. General Education Requirements..........................................................................40 hours
        B. Major Requirements...........................................................................................57 - 59 hours
          BIO 1500            Biology I: Biological Essentials
          BIO 1501            Current Perspectives in Biology (FTIC only)
          BIO 3700            Genetics
          BIO 3710            Microbiology
          BIO 3727            Techniques in Nucleic Acid and Cloning Research		
          BIO 3770            Bioinformatics
          BIO 4240            Seminar in Biotechnology
          BIO 4330            Techniques in Protein Purification OR
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        BIO 4360                          Techniques in Tissue Culture and Cell Signaling
        MAT 2032                          Biostatistics
        OR
         MAT 2022                         Elementary Statistics AND
         MAT 2027                         Transition to Biostatistics
        Choose 12 hours from the following:
        		 BIO 1520                       Introduction to Marine Biology
        		 BIO 1600                       Biology II: Biological Diversity
        		 BIO 2600                       Introduction to Neuroscience
        		 BIO 3360                       Medical Botany
           BIO/CHE 3362                   Biochemistry: Molecular Biology
        		 BIO/CHE 3371                   Biochemistry: Structure and Function
        		 BIO 3600                       Special Topics in Biology (with permission)
        		 BIO 3850                       Parasitology
        		 BIO 4330                       Techniques in Protein Purification (if not chosen above)
        		 BIO 4360                       Techniques in Tissue Culture and Cell Signaling (if not chosen above)
        		 BUS 2217                       Principles of Management OR
        		 HCA 2125                       Healthcare Organization and Management
        		 CHE 2231                       Organic Chemistry I AND
        		 CHE 2251                       Organic Chemistry I Laboratory
        		 CHE 2232                       Organic Chemistry II AND
        		 CHE 2252                       Organic Chemistry II Laboratory
        		 HRT 2100                       Introduction to Horticultural Science
        Choose one of the following research options:
        		 BIO 4560                       Introduction to Molecular Biology Research AND
        		 BIO 4561/4562                  Research: Molecular Biology
        		 OR
        		 BIO 4560                       Introduction to Molecular Biology Research AND
        		 BIO 4960/4961                  Biology Internship (with departmental approval)
        		 OR
        		 BIO 4661/4662                  Site-Specific Research in Biology
        		 OR
        		 HON 4955                       Honors Senior Thesis (with departmental approval) AND
        		 HON 4956                       Honors Senior Thesis (with departmental approval)
        Choose one of the following Chemistry Sequences:
        		 CHE 1011                       Chemical Foundations for the Biological Sciences AND
        		 CHE 1013                       Environmental Chemistry Fundamentals
        		 OR
           CHE 1111                       Principles of Chemistry I AND
           CHE 1112                       Principles of Chemistry II
     C. Bachelor of Science Degree Requirements...........................................................12 hours
     D. Electives.......................................................................................................................... 0 hours
     E. Total......................................................................................................................126-129 hours

     BUSINESS ADMINISTRATION
         Florida Southern College’s Barney Barnett School of Business and Free Enterprise provides
     relevant interdisciplinary undergraduate education through a number of career paths allowing
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                                       UNDERGRADUATE PROGRAM REQUIREMENTS                                                                  105



        students to specialize in finance, international business, marketing, management, and sport man-
        agement. The school prepares students for lifelong professional development, financial success,
        and leadership roles in a dynamic global environment. The school includes an accomplished
        faculty committed to teaching and professional excellence, emphasizing practical applications,
        instructional development, and opportunities for student-faculty collaborative research.
            Students are involved in relevant interdisciplinary education, given opportunities for stu¬-
        dent-faculty collaborative research, and are encouraged to be committed to civic and social re-
        sponsi¬bility. Graduates will be prepared for career advancement, graduate candidacy, effec¬tive
        communication, practical applications of current technology, and leadership roles in the profes-
        sion and the greater community.

        Special Requirements
        Due to similarities in the programs, students majoring in business administration are not al-
        lowed to double major in sport business management.

        Business Administration Minor Requirements
            The Minor in Business Administration is designed to provide students with an overview of
        the fundamentals of business including accounting, economics, finance or legal environment,
        management, and marketing. Knowledge of these areas is essential to students irrespective of
        major or career aspirations or profession.
          ACC 2111             Foundations of Financial Accounting
          BUS 2217             Principles of Management
          BUS 3160             Marketing Principles
          BUS 3311             Legal Environment of Business OR
          BUS 3453             Managerial Finance
          ECO 2010             Essentials of Economics OR
          ECO 2205             Principles of Microeconomics OR
          ECO 2207             Principles of Macroeconomics
        Total hours in the minor.............................................................................................................20

        Business Administration Major Requirements
            The B.S. in Business Administration major provides students with a broad-based education
        in business. The major is designed to provide students a wide range of required business related
        courses including accounting, economics, management, marketing, finance, and law. In addition
        to the required courses listed below, student will select their elective courses within the Business
        Administration major, or Career Path courses, based upon their post-graduate/career goals and in
        consultation with their advisor.
        A. General Education Requirements..........................................................................40 hours
        B. Major Requirements...........................................................................................66 - 68 hours
          ACC 2111            Foundations of Financial Accounting
          ACC 2112            Foundations of Managerial Accounting
          BUS 1115            The Dynamics of Business and Free Enterprise
          BUS 2217            Principles of Management
          BUS 2220            Microsoft Excel for Business
          BUS 3160            Marketing Principles
          BUS 3311            Legal Environment of Business
          BUS/ECO 3320        Applied Statistics of Business and Economics
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        BUS 3453                          Managerial Finance
        BUS 3705                          Business Information Systems
        BUS 3960                          Professional Development
        BUS 4420                          Business Analytics
        BUS 4960/4961                     Business Administration Internship
        BUS 4999                          Seminar in Strategic Management of the Business Enterprise
        ECO 2010                          Essentials of Economics
        12 hours in selected career paths
     C. Bachelor of Science Degree Requirements...........................................................12 hours
     D. Electives.....................................................................................................................4 - 6 hours
     E. Total.............................................................................................................................124 hours

     BUSINESS AND FREE ENTERPRISE
         The B.S. in Business and Free Enterprise is a unique, holistic interdisciplinary business degree
     program cultivating future business leaders who are competent in business but also understand
     the role politics, law, and economics play in supporting our business system. This program is
     different from a standard business degree program by focusing on the inherently social nature
     of business in our society. Students will take basic business courses, a strong core of economics
     courses and political science courses to reinforce a more liberal arts approach to understanding
     business. The well-rounded nature of the core courses will also allow a graduate to pursue any
     vocation and opportunity open to a traditional business degree. The students will be able to
     focus their degree through their electives, whether on taking more business courses to pursue
     a graduate degree in business to taking more economics courses to pursue a graduate degree in
     economics or public policy.

     Business and Free Enterprise Minor Requirements
         The Minor in Business and Free Enterprise is a unique, holistic interdisciplinary business
     education degree program cultivating future business leaders who are competent in business
     but also understand the role politics, law, and economics play in supporting our business system.
     This program is different from a standard business degree program by focusing on the inherently
     social nature of business in our society. Students will take basic business courses, a strong core
     of economics courses and political science courses to reinforce a more liberal arts approach to
     understanding business. The well-rounded nature of the core courses will also allow a graduate
     to pursue any vocation and opportunity open to a traditional business degree. The students will
     be able to focus their degree through their electives, whether taking more business courses
     to pursue a graduate degree in business or taking more economics courses to pursue a graduate
     degree in economics or public policy.
       BUS 2100             Introduction to Business and Philosophy
       BUS 3100             Business, Social Order, and Market-Based Management
       ECO 2205             Principles of Microeconomics
       POS 2295             Methods of Political Science II
       POS 3550             National and International Public Economy
     Total hours in the minor.............................................................................................................20

     Management Certificate
          The adult B.S. in Business Administration program offers students who complete a common
     set of core business courses a Management Certificate. The certificate requires a completion of nine
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                                         UNDERGRADUATE PROGRAM REQUIREMENTS                                                                       107



        core business management courses consisting of 36 credit hours of instruction. No more than two
        courses may be accepted as transient course credit for the certificate. The courses required are:
            ACC 2111                           Foundations of Financial Accounting
            ACC 2112                           Foundations of Managerial Accounting
            BUS 2217                           Principles of Management
            BUS 3160                           Marketing Principles
            BUS 3311                           Legal Environment of Business
            BUS/ECO 3320                       Applied Statistics of Business and Economics
            BUS 3453                           Managerial Finance
            BUS 3705                           Business Information Systems
            ECO 2010                           Essentials of Economics

            Students must submit an adult undergraduate non-degree application to be considered to
        pursue Florida Southern College’s Management Certificate. Upon completion of all courses stu-
        dents desiring the certificate must submit a Certificate in Management Completion form as well
        as the $25 processing fee to the Office of Adult and Graduate Admission.

        Business and Free Enterprise Major Requirements
        A. General Education Requirements..........................................................................40 hours
        B. Major Requirements..................................................................................................62 hours
           ACC 2111                          Foundations of Financial Accounting
           BUS 1115                          The Dynamics of Business and Free Enterprise
           BUS 2100                          Introduction to the Philosophy of Business
           BUS 2217                          Principles of Management
           BUS 2220                          Microsoft Excel for Business
           BUS 3100                          Business, Social Order, and Market-Based Management
           BUS 3311                          Legal Environment of Business
           BUS 3960                          Professional Development
           BUS 4960/4961                     Business Administration Internship
           ECO 2205                          Principles of Microeconomics
           ECO 2207                          Principles of Macroeconomics
           BUS/ECO 3320                      Applied Statistics of Business and Economics
           ECO 4100                          Law and Economics OR
           ECO 4200                          Humanomics OR
           ECO 4406                          Public Economics
           ECO 4550                          Comparative Economic Institutions
           POS 2295                          Methods for Political Science II
           POS 3550                          National and International Political Economy
           POS 4429                          Political Theory
        C. Bachelor of Science Degree Requirements...........................................................12 hours
        D. Electives........................................................................................................................10 hours
        E. Total.............................................................................................................................124 hours

        CHEMISTRY
            The fields of chemistry and physics are integrated into our daily lives in many ways. Behind
        the medicines we take, the plastics we use, the cars we drive, and the foods we eat stands a team
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     of scientists responsible for designing, manufacturing, and safeguarding these products. Further-
     more, the fields of chemistry and physics have experienced dynamic change and growth in the
     last century and have generated many of the most exciting and profound discoveries of modern
     times. The study of matter – and how it is created, changed and manipulated – makes chemistry
     one of the most fascinating and fast-paced majors at Florida Southern College. Our programs
     provide students with a broad-based understanding of the fundamental principles of chemistry
     and physics. The overriding objective is to provide students with the knowledge and skills needed
     for success as professional scientists. Many FSC chemistry majors have continued their education
     in medical, dentistry, pharmacy, and graduate schools, at institutions such as Duke University, the
     University of Notre Dame, the University of Florida, and the University of Washington.

     Chemistry Concentrations:
         Students majoring in chemistry may choose one of the following concentrations:
     Environmental Chemistry provides students with a strong foundation in analytical chemistry,
     instrumental analysis, and method development with specific application to the transport and
     fate of chemicals in the environment, and potential effects on human health. This concentration
     will prepare students to pursue an environmental engineering degree, or work in many different
     areas, such as analytical testing, regulatory compliance, or environmental consulting.
     Forensic Chemistry provides students with a strong background in analytical and instrumental
     analysis, applications of chemistry to criminalistics, and strong written communication skills.
     This concentration will prepare students well for careers in crime labs, the FBI, and the medical
     examiner’s office.

     Students may pursue a major in chemistry with either a B.A. or B.S. degree. A minor is also avail-
     able in physics. For information about the minor in physics, see “PHYSICS” on page 168.

     Statement on Engaged Learning
          In both the classroom and in the laboratory, students will participate in engaged learning ac-
     tivities that may include, but are not limited to, guided inquiry experiments, active learning exer-
     cises, computational exercises, collaborative learning and problem solving, team-based laboratory
     projects, experimental design, literature searches using library resources, web-based content, and
     discipline specific databases (such as SciFinder), and individual/small group peer teaching. All
     students majoring in chemistry are also required to conduct research, which is often presented at
     local, regional, or national chemistry conferences.

     Honors in the Major
         Chemistry also offers an option for Honors in the Major. The purpose of the program is to
     provide an opportunity for high achieving students who are motivated and talented to do an
     in-depth investigation of an area of interest in consultation with a professor having expertise in
     that area. During senior year, students will register for CHE 4953 and CHE 4954. Please see the
     department chair during the first semester of the junior year for further information.

     Pre-Medical, Pre-Dental, and Pre-Pharmacy Studies
         Students majoring in chemistry are well prepared to pursue a career in the medical field—in-
     cluding an MD/Ph.D. degree. The rigorous training in the sciences and mathematics combined
     with the broad liberal arts curriculum emphasized at FSC provides an excellent background for
     professional schools. All pre-professional students are encouraged to work closely with their ac-
     ademic advisor and the science and pre-health career and internship coordinator to ensure they
     meet the requirements for application to a professional school. (See “Pre-Professional Programs”
     on page 59.)
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                                     UNDERGRADUATE PROGRAM REQUIREMENTS                                                           109



        Program Requirements
            A student must obtain a grade of C or better in all 1000- and 2000-level courses that are re-
        quired for the major for the B.A. and B.S. degrees.

        Special Requirements
           Due to the similarities in the programs, students majoring in chemistry are not allowed to
        double major in biochemistry and molecular biology.

        Chemistry Minor Requirements
            22 hours including CHE 1111, CHE 1112, and 14 hours of chemistry courses at the 2000 level
        or above.

        Chemistry (B.A.) Major Requirements
        A. General Education Requirements..........................................................................40 hours
        B. Major Requirements.............................................................................................56-70 hours
          CHE 1110                Chemistry, Biochemistry and Society (FTIC only)
          CHE 1111                Principles of Chemistry I
          CHE 1112                Principles of Chemistry II
          CHE 2231                Organic Chemistry I
          CHE 2251                Organic Chemistry I Laboratory
          CHE 2232                Organic Chemistry II
          CHE 2254                Organic Chemistry II Laboratory for Majors
          CHE 2355                Descriptive Inorganic Chemistry
          CHE 3340                Physical Chemistry for Biological Sciences OR
          CHE 3341                Physical Chemistry I
          CHE 4410                Introduction to Research Methods AND
          CHE 4999                Senior Research
          OR
          HON 4955                Honors Senior Thesis (with departmental approval) AND
          HON 4956                Honors Senior Thesis (with departmental approval)
           Cognate Courses
             MAT 2311             Calculus I with Plane Analytic Geometry
             MAT 2312             Calculus II with Plane Analytic Geometry
             PHY 2110             General Physics I (Calculus Based)
             PHY 2120             General Physics II (Calculus Based)
          and one of following groups:
          General BA (10-12 hours)
          		 CHE 2105             Environmental Chemistry OR
          		 CHE 2335             Analytical Chemistry
          Choose at least 6 credit hours of electives from:
          		 CHE 2105             Environmental Chemistry (if not taken above)		
          		 CHE 2275             Forensic Chemistry		
          		 CHE 3320             Applied Synthesis and Characterization
          		 CHE 3330             Medicinal Chemistry
          		 CHE 3335             Instrumental Analysis
          		 CHE 3341             Physical Chemistry I (if not taken above)
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        		 CHE 3342                       Physical Chemistry II
        		 CHE/BIO 3371                   Biochemistry: Structure and Function
        		 CHE/BIO 3372                   Biochemistry: Metabolism
        		 CHE 4405                       Human Health Risk Assessment
        		 CHE 4425                       Special Topics in Chemistry
        		 CHE 4450                       Bioinorganic Chemistry
        		 CHE 4455                       Advanced Inorganic Chemistry
        		 CHE 4960                       Internship in Chemistry
     Environmental Concentration (18 hours)
        CHE 2105                          Environmental Chemistry
        CHE 2335                          Analytical Chemistry
        CHE 3335                          Instrumental Analysis
        CHE 4405                          Human Health Risk Assessment
        Choose one of the following:
           BIO 2200                       Environmental Issues
           ENG 3219                       Persuasive Writing
           HRT 3301                       Soil Science
     Forensic Chemistry Concentration (22 hours)
        CHE 2275                          Forensic Chemistry
        CHE 2335                          Analytical Chemistry
        CHE 3335                          Instrumental Analysis
        CHE/BIO 3371                      Biochemistry: Structure and Function
        CHE 4475                          Advanced Forensic Chemistry
        Choose one of the following:
           CRM 3310                       Crime Scene Investigation
           ENG 3219                       Persuasive Writing
     C. Bachelor of Arts Degree Requirements.................................................................20 hours
     D. Electives.......................................................................................................................0-8 hours
     E. Total......................................................................................................................124-130 hours

     Chemistry (B.S.) Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements.............................................................................................65-74 hours
       CHE 1110            Chemistry, Biochemistry and Society (FTIC only)
       CHE 1111            Principles of Chemistry I
       CHE 1112            Principles of Chemistry II
       CHE 2231            Organic Chemistry I
       CHE 2251            Organic Chemistry I Laboratory
       CHE 2232            Organic Chemistry II
       CHE 2254            Organic Chemistry II Laboratory for Majors
       CHE 2355            Descriptive Inorganic Chemistry
       CHE 3320            Applied Synthesis and Characterization
       CHE 3340            Physical Chemistry for Biological Sciences OR
       CHE 3341            Physical Chemistry I
       CHE/BIO 3371        Biochemistry: Structure and Function
       CHE/BIO 3373        Biochemistry: Structure and Function Laboratory
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                            UNDERGRADUATE PROGRAM REQUIREMENTS                            111



          CHE 4410                Introduction to Research Methods AND
          CHE 4999                Senior Research
          OR
          HON 4955                Honors Senior Thesis (with departmental approval) AND
          HON 4956                Honors Senior Thesis (with departmental approval)
          Cognate Courses
             MAT 2311             Calculus I with Plane Analytic Geometry
             MAT 2312             Calculus II with Plane Analytic Geometry
             PHY 2110             General Physics I (Calculus Based)
             PHY 2120             General Physics II (Calculus Based)
          and one of following groups:
          General BS (12-14 hours)		
          		 CHE 2105             Environmental Chemistry OR
          		 CHE 2335             Analytical Chemistry
          		 Choose two of ‘in-depth’ courses:
          		   CHE 3330           Medicinal Chemistry
          		   CHE 3335           Instrumental Analysis
               CHE 3342           Physical Chemistry II
          		   CHE/BIO 3372 Biochemistry: Metabolism
          		   CHE 4405           Human Health Risk Assessment
          		   CHE 4425           Special Topics in Chemistry
          		   CHE 4450           Bioinorganic Chemistry
          		   CHE 4455           Advanced Inorganic Chemistry
          		 Choose one elective from:
          		   CHE 2105           Environmental Chemistry (if not taken above)
          		   CHE 2275           Forensic Chemistry
          		   CHE 4425           Special Topics in Chemistry (if not taken above)
          		   CHE 4960           Internship in Chemistry
          		   3rd ‘in-depth’ courses from list above
        Environmental Concentration (18 hours)
          CHE 2105                Environmental Chemistry
          CHE 2335                Analytical Chemistry
          CHE 3335                Instrumental Analysis
          CHE 4405                Human Health Risk Assessment
          Choose one of the following:
             BIO 2200             Environmental Issues
             ENG 3219             Persuasive Writing
             HRT 3301             Soil Science
        Forensic Chemistry Concentration (22 hours)
          CHE 2275                Forensic Chemistry
          CHE 2335                Analytical Chemistry
          CHE 3335                Instrumental Analysis
          CHE 4475                Advanced Forensic Chemistry
          Choose one of the following:
             CRM 3310             Crime Scene Investigation
             ENG 3219             Persuasive Writing
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     C. Bachelor of Science Degree Requirements...........................................................12 hours
     D. Electives.......................................................................................................................0-7 hours
     E. Total......................................................................................................................124-126 hours

     CITRUS AND HORTICULTURAL SCIENCE
         The Citrus and Horticultural Science major leads to a Bachelor of Science degree. The ma-
     jor provides a strong science-based curriculum with opportunities to specialize in four separate
     concentrations. Students satisfy core requirements and fulfill the coursework required for one or
     more areas of concentration: Citrus, Pre-Graduate Studies, Biotechnology, or Business. Professional
     internships, research opportunities, and other forms of experiential learning prepare students for
     exciting, challenging careers or for continuing their education through graduate studies. A minor
     in horticultural science is also available.

     Horticultural Science Minor Requirements
        20 hours: HRT 2100 (Introduction to Horticultural Science) and 16 additional hours selected
     from CIT and HRT. HRT 1000 may not be used for the minor.

     Citrus and Horticultural Science
     Citrus and Horticultural Science Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements............................................................................................60–65 hours
       BIO 1500                 Biology I: Biological Essentials
       BIO 1501                 Current Perspectives in Biology (FTIC only)
       BIO 1600                 Biology II: Biological Diversity
       BIO 4150                 Plant Anatomy and Physiology
       CHE 1011                 Chemical Foundations for the Biological Sciences OR
       CHE 1111                 Principles of Chemistry I
       CIT 4303                 Citrus Pest and Disease Management
       HRT 2100                 Introduction to Horticultural Science
       HRT 3301                 Soil Science
       HRT/BIO 3302             Plant Nutrition
       One of the following courses not included in the concentration:
       		 BIO 3700              Genetics
       		 CIT 3302              Citrus Grove Management
       		 HRT 3326              Tropical and Temperate Fruits
       		 HRT 4320              Special Topics in Horticulture
       Four-six hours from the following courses:
       		 CIT 4999              Citrus Production and Business Practices
       		 OR
       		 BIO 4460              Intro to Ecology Research AND
       		 BIO 4461/4462         Research: Ecology
       		 OR
       		 BIO 4560              Intro to Molecular Biology Research AND
       		 BIO 4561/4562         Research: Molecular Biology
       Select at least one of the following concentrations:
       Biotechnology (20 hours)
       		 BIO 2280              Applied Microbiology
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                                         UNDERGRADUATE PROGRAM REQUIREMENTS                                                                       113



           		 BIO 3700                       Genetics
           		 BIO 3720                       Techniques in Nucleic Acid Research
           		 BIO 3725                       Techniques in Cloning
           		 MAT 2032                       Biostatistics
           		 OR
           		 MAT 2022                       Elementary Statistics AND
           		 MAT 2027                       Transition to Biostatistics
           		 Four semester hours chosen from:
           		   BIO 3750                     Techniques in Tissue Culture
           		   BIO 3770                     Bioinformatics
           		   BIO 4240                     Seminar in Biotechnology
           		   HRT 4320                     Special Topics in Horticulture (with departmental approval)
           Business (20 hours; earns a minor in business administration)
           		 ACC 2111                       Foundations of Financial Accounting
           		 BUS 2217                       Principles of Management
           		 BUS 3160                       Marketing Principles
           		 BUS 3311                       Legal Environment of Business
           		 ECO 2205                       Principles of Microeconomics
           Citrus (22 hours)
           		 BUS 3160                       Marketing Principles
           		 CIT 3301                       Introduction to Citrus
           		 CIT 3302                       Citrus Grove Management
           		 CIT 3313                       Citrus Post-harvest Practices
           		 ECO 2205                       Principles of Microeconomics
           		 HRT 4960                       Internship
           Pre-Graduate Studies (20 hours)
           		 CHE 1112                       Principles of Chemistry II
           		 CHE 2231                       Organic Chemistry I
           		 CHE 2251                       Organic Chemistry I Laboratory
           		 MAT 2032                       Biostatistics
           		 OR
           		 MAT 2022                       Elementary Statistics AND
           		 MAT 2027                       Transition to Biostatistics
           		 Eight hours chosen from:
           		   BIO 3362                     Biochemistry: Molecular Biology
           		   BIO 3700                     Genetics
           		   CHE 2232                     Organic Chemistry II AND
           		 CHE 2252                       Organic Chemistry II Laboratory
           		 MAT 2050                       Applied Calculus
           		 PHY 2010                       General Physics I (Algebra Based)
        C. Bachelor of Science Degree Requirements...........................................................12 hours
        D. Electives....................................................................................................................7–12 hours
        E. Total.............................................................................................................................124 hours
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     COMMUNICATION
         A degree in communication prepares students for the dynamic and changing field of commu-
     nication by offering a challenging academic program that prepares students for the professional
     world or graduate school. The program gives students the opportunity for hands-on experience
     while they explore and apply the theoretical underpinnings of the discipline. Graduates of the
     communication program are conscientious and critical consumers and producers of mediated
     and professional communication. Communication majors graduate prepared with the skills and
     knowledge to excel across a broad spectrum of careers, including advertising, public relations,
     print and broadcast journalism, law, education, and business. Students are also prepared to con-
     tinue their education in graduate programs across a range of disciplines.

     Communication Concentrations
         Students majoring in communication may choose from one or more of the following con-
     centrations:
        • Advertising and Public Relations focuses on the development, creation, and placement
          of messages and how consumers process messages, as well as on the professional develop-
          ment of relationships with internal and external target audiences, crisis management, brand
          management, and promotion.
        • Multimedia Journalism focuses on writing, reporting, and producing stories in a variety
          of forms and through various media, as well as on the professional and ethical decisions
          journalists face during the storytelling process.
        • Interpersonal and Organizational Communication focuses on the interpersonal and
          behavioral elements of communication in a variety of settings and prepares students to
          communicate effectively across diverse populations and develop the knowledge and skills
          necessary to be a competent leader.
        • Digital Media focuses on creative problem solving through media design and technology
          targeting interactive environments, with emphasis on constructing a media theory base
          with the intent to conceptualize, prototype, develop, and measure the impact of interactive
          media content.

     Progress Requirements
     Communication majors are required to complete either a senior project or a three-hour intern-
     ship. Internships are typically completed during the senior year. Requirements of the internship
     include completion of all 3000-level concentration courses, a 2.0 cumulative grade point average,
     application, and permission of the internship coordinator. Interns must have their own trans-
     portation.
     Only courses in which grades of C or higher are earned may count toward the major or minor
     in the degree programs.

     Communication Minor Requirements
           Twenty hours of COM courses, including COM 1500.

     Communication Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements............................................................................................42–46 hours
     Twenty-two hours in the core Communications major.
        COM 1100                       Introduction to Communication
        COM 1500                       Fundamentals of Speech
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                           UNDERGRADUATE PROGRAM REQUIREMENTS                              115



         COM 2100                 Mass Media and Society
         COM 4550                 Communication Research
         COM 4500                 Communication Law and Ethics OR
         COM 4999                 Speech and Mass Communication Theory
         COM 3955                 Professional Development for Communication Careers AND
         COM 4960/4961            Communication Internship
         OR
         COM 4900                 Senior Project
         Select at least one of the following concentrations:
         Advertising and Public Relations
         		 COM 1101              Media Foundations
         		 COM 2400              Principles of Advertising and Public Relations
         		 COM 2500              Visual Communication
         		 COM 3410              Advertising Creative OR
         		 COM 4350              Public Relations Strategies
         		 COM 3420              Advertising Writing OR
         		 COM 3450              Public Relations Writing
         		 COM 4400              Advertising and Public Relations Campaigns
         Digital Media
         		 ART 2115              Storytelling for the Screen
         		 ART 2225              Usability
         		 ART 2230              Media Analytics
         		 ART 3365              Documentary Filmmaking
         		 COM 1101              Media Foundations
         		 COM 3360              Online Media
         		 Choose one of the following:
         		   COM 3370            Photojournalism
         		   COM 3410            Advertising Creative
         		   CSC 3350            Computer Game Design
          Interpersonal and Organizational Communication
         		 COM 2250              Interpersonal Communication
         		 COM 2270              Intercultural Communication
         		 COM 3210              Organizational Communication
         		 COM 3900              Special Topics in Communication
         		 COM 2260              Small Group Communication OR
         		 COM 3200              Persuasion
         Multimedia Journalism
         		 COM 2101              News Media Practicum I
         		 COM 2102              News Media Practicum II
         		 COM 2110              Media Writing
         		 COM 3300              News and Feature Writing
         		 COM 3320              Introduction to Broadcast Journalism
         		 COM 3360              Online Media
         		 COM 4300              News Media Projects
         		 Choose four hours from the following:
         		   ART 3365            Documentary Filmmaking		
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        		 COM 2500                       Visual Communication
        		 COM 3340                       Advanced Video Production
        		 COM 3353                       Editing for Media
        		 COM 3355                       Publication Design and Production
        		 COM 3370                       Photojournalism
     C. Bachelor of Arts Degree Requirements.................................................................20 hours
        OR
     D. Bachelor of Science Degree Requirements...........................................................12 hours
     E. Electives..................................................................................................................18–30 hours
     F. Total.............................................................................................................................124 hours

     COMPUTER SCIENCE
          Perhaps no field in human history has experienced the rapid growth and change that are the
     hallmarks of computer science. Computers have achieved ubiquity in little more than a gener-
     ation, and that trend shows no signs of abating. Technologies such as robotics and 3D printing,
     while already exciting, are still in their infancies and will continue to evolve and astound. The
     future holds development of yet unimagined devices and algorithms that will transform lives.
          The Florida Southern College Computer Science major provides both breadth and depth in
     computer science fundamentals and practical applications in a curriculum that is based on the
     latest guidelines from the ACM and IEEE, the preeminent professional societies in computing.
     Our students master recurring themes and general principles of the field, preparing them for
     lifelong learning, essential in a constantly changing discipline. Recent graduates have joined
     outstanding companies such as Lockheed Martin, FedEx, and Publix Super Markets Inc.
          Students enjoy small classes, highly qualified faculty who are committed to teaching and
     undergraduate research, and modern computing laboratories. In addition to providing a sound
     theoretical base, the coursework emphasizes important skills such as collaborative problem solv-
     ing and effective communication through projects in areas such as cybersecurity, computer game
     design, artificial intelligence, and software engineering. Internships may provide additional re-
     al-world experience.
          The computer science program offers both B.S. and B.A. degrees with a major in computer
     science. A minor in computer science is also available.

     Computer Science Minor Requirements
       Eight hours in core computer science courses:
       		 CSC 2280            Introduction to Computer Science
       		 CSC 2290            Object-Oriented Programming AND
       Twelve hours of 3000-level or higher CSC courses
     Total Hours in the Minor ...........................................................................................................20

     Computer Science Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements..................................................................................................66 hours
       Thirty four hours in core computer science courses:
       		 CSC 1980            Exploring Computer Science
       		 CSC 2280            Introduction to Computer Science
       		 CSC 2290            Object-Oriented Programming
       		 CSC 3280            Data Structures
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                                  UNDERGRADUATE PROGRAM REQUIREMENTS                                                 117



          		 CSC 3310             Computer Organization and Architecture
          		 CSC 3380             Analysis of Algorithms
          		 CSC 3400             Software Engineering
          		 CSC 4410             Operating Systems & Concurrency
          		 CSC 4899             Senior Project
          Twelve-hours of computer science concentration selected from the following sequences:
          		 Artificial Intelligence and Machine Learning
          		   CSC 3510           Introduction to Artificial Intelligence
          		   CSC 3520           Machine Learning
          		   CSC 4510           Advanced Topics in Artificial Intelligence
          		 Web and Cloud Computing
          		   CSC 3610           Introduction to Web Development
          		   CSC 3620           Web Application Architectures
          		   CSC 4610           Advanced Topics in Web Development
          		 Cybersecurity
               CSC 3810           Principles of Computer Networking
               CSC 3820           Penetration Testing
               CSC 4810           Threat Detection Engineering AND
             Eight hours of computer science electives selected from list below (if not counted above)
          		 OR
          		 Twenty hours of computer science electives (no concentration) selected from the following:
          		   CSC 3340           Database Management Systems
          		   CSC 3350           Computer Game Design
          		   CSC 3510           Introduction to Artificial Intelligence
          		   CSC 3520           Machine Learning
          		   CSC 3610           Introduction to Web Development
          		   CSC 3620           Web Application Architectures
          		   CSC 3810           Principles of Computer Networking
          		   CSC 3820           Penetration Testing
          		   CSC 3951           Computer Science Research I
          		   CSC 4510           Advanced Topics in Artificial Intelligence
          		   CSC 4610           Advanced Topics in Web Development
          		   CSC 4640           Selected Topics in Computer Science
          		   CSC/MAT 4645 Selected Topics in Computer Science and Mathematics
          		   CSC 4810           Threat Detection Engineering
          		   CSC 4952           Computer Science Research II
          		   CSC 4960           Internship in Computer Science
          		   MAT 2312           Calculus II with Plane Analytic Geometry
          Twelve hours of mathematics:
          		   MAT 2022           Elementary Statistics OR
          		   MAT 2032           Biostatistics
          		   CSC/MAT 2100 Discrete Structures
          		   MAT 2311           Calculus I with Plane Analytic Geometry
        C. Bachelor of Arts Degree Requirements.................................................................20 hours
          OR
        D. Bachelor of Science Degree Requirements...........................................................12 hours
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     E. Electives......................................................................................................................0–6 hours
     F. Total.....................................................................................................................124–126 hours

     CRIMINOLOGY
          Criminology offers two degrees: the Bachelor of Science in Criminology and the Bachelor of
     Arts in Criminology; a minor requires 20 hours in criminology.
          Students will gain the ability to understand social policy, to critically assess proposed programs,
     and to recognize the complexity of crime-related issues, creating solutions, rather than relying on
     failed programs of the past. Criminology majors explore theoretical causes of crime, as well as prac-
     tically apply concepts learned to real world situations in advanced courses. Students analyze situa-
     tions, evaluate their causes, and recommend solutions. Criminology majors gain skills in analytical
     and critical thinking in understanding human behavior at the individual, group, and societal levels,
     as well as competency in addressing cultural and social issues and solving crime problems. The
     criminology experience focuses on engaged, active, and service learning in diverse applications both
     in and out of the classroom, offering students opportunities to become involved in community
     and campus projects and programs; research projects; the use of instructional technology including
     data management and data analysis; group projects, discussions and presentations; and internships.
     Talented instructors from the community, who currently are or have been employed in a variety of
     criminology-related careers, support academic faculty members. Because the criminology program
     is based in the broad, liberal arts tradition, students have a wide variety of career choices and gain
     academic preparation for a number of advanced degrees. Advising is designed to reflect student in-
     terests and individual career paths. A diversity of internships is available in both the public and pri-
     vate sectors, including administration/management, education, social work/counseling, non-profit
     agencies, and criminal justice. Most criminology graduates go to local, state, or federal agencies,
     while some continue their schooling at criminal justice agencies, law schools, or graduate schools.

     Criminology Minor Requirements
         The Minor in criminology requires 20 hours of CRM courses.

     Criminology Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements..................................................................................................52 hours
       CRM 2280            Introduction to Criminal Justice
       CRM 3340            Criminology
       CRM 3350            Policing in American Society
       CRM/SOC 4420        Methods of Social Research
       CRM/PSY 4430        Criminalization of Mental Illness
       CRM 4440            Judicial Processes
       CRM 4450            Corrections and Rehabilitation
       CRM 4960            Criminology Practicum
       CRM 4999            Seminar in Criminology
       MAT 2022            Elementary Statistics
       PHI 2204            Ethics
       Choose 8 hours among the following courses:
       		 COM/SOC 2270     Intercultural Communication
       		 CRM/SOC 3303     Sociology of Deviant Behavior
       		 CRM/SOC 3305     Race, Culture, and Human Relations
       		 CRM 3310         Crime Scene Investigation
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           		 CRM 3360                       Juvenile Delinquency
           		 CRM/SOC 3855                   Selected Topics in Criminology/Sociology
           		 SOC/WST 2220                   Marriage and Family
        C. Bachelor of Arts Degree Requirements.................................................................20 hours
           OR
        D. Bachelor of Science Degree Requirements...........................................................12 hours
        E. Electives..................................................................................................................12–20 hours
        F. Total.............................................................................................................................124 hours

        DANCE
            The dance program at Florida Southern College provides students with a 21st-century dance
        education that emphasizes technical training, creative exploration and expression, compositional
        skills, and performance while providing professional preparation for a variety of careers in dance
        as artists, educators, and scholars. Grounded in FSC’s commitment to engaged learning, impor-
        tance is placed on an individual’s interaction with the world as a whole person, not just as an
        artist. Throughout the program, students also are provided with the tools and knowledge to take
        care of their personal well-being through anatomical and somatic study, encouraging long and
        healthy careers in the field of dance.
            The B.F.A. in Dance Performance and Choreography provides intensive study in technique,
        as well as composition and theory. It is intended for the student who wishes to pursue a profes-
        sional performance or creative career in dance. The degree also prepares the student to pursue an
        M.F.A., the terminal creative degree.
            The B.A. in Dance Studies program provides students with a solid study in technique, com-
        position, and theory while allowing flexibility for the student who intends to investigate and
        connect another area of interest with dance, and for students wishing to pursue dance outside
        the realms of performance and choreography, such as movement/dance therapy, education, arts
        administration, and sports medicine.
            The Minor in Dance is a comprehensive 21-hour program designed for students who wish to
        stay involved in the art of dance, yet wish to pursue a degree program in another field.
            Students must audition and be accepted into the B.F.A, or B.A programs. Auditions are also
        required for the Minor in Dance.

        Dance Minor Requirements
            DAN 1613–4613           Ballet Technique I, II, III, IV*
            DAN 1643–4643           Modern Dance Technique I, II, III, IV*
            DAN 1651                Dance Improvisation
            DAN 2661                Choreography I
            *Must take a minimum of six credit hours in each technique.
            Additional three credit hours from the following:
            		 DAN 2613-4613        Ballet Technique II, III, IV
            		 DAN 2643-4643        Modern Dance Technique II, III, IV
            Dance Electives: Three credit hours from the following:
            		 DAN 1600             Dance Appreciation
            		 DAN 2623             Jazz Dance I
            		 DAN 2651             World Dance
            		 DAN 2662             Choreography II
            		 DAN 2681             Teaching Studio Dance
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         		   DAN 3615                      Ballet Variations
         		   DAN 3623                      Jazz II
         		   DAN 3671                      Dance History I
         		   DAN 3672                      Dance History II
         		   DAN 3691                      Dance Ensemble
         		   THE 2630                      Beginning Tap I
         		   THE 2631                      Beginning Tap II
         		   THE 3630                      Intermediate Tap
     Total Hours in the Minor............................................................................................................21

     B.A. in Dance Studies Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements..................................................................................................52 hours
        DAN 1613–4613                     Ballet Technique I, II, III, IV*
        DAN 1643–4643                     Modern Dance Technique I, II, III, IV*
        DAN 1651                          Dance Improvisation
        DAN 2623                          Jazz Dance I
        DAN 3623                          Jazz Dance II
        DAN 2661                          Choreography I
        DAN 2662                          Choreography II
        DAN 3671                          Dance History I
        DAN 3672                          Dance History II
        DAN 3653                          Dance Practicum**
        DAN 4990                          Senior Seminar
        DAN 4999                          Senior Project
        *Must take a minimum of three credit hours at level III
        **Must take a minimum of one credit hour (two semesters)
        Additional requirements:
        		 EXS 2775                       Kinesiology
        Additional three credit hours from:
        		 DAN 2613–4613                  Ballet Technique II, III, IV
        		 DAN 2643–4643                  Modern Dance Technique II, III, IV
     C. Bachelor of Arts Degree Requirements.................................................................20 hours
     D. Electives........................................................................................................................12 hours
     E. Total.............................................................................................................................124 hours

     B.F.A. in Dance Performance and Choreography Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements..................................................................................................77 hours
       DAN 1613–4613       Ballet Technique I, II, III, IV*
       DAN 1643–4643       Modern Dance Technique I, II, III, IV*
       DAN 1651            Dance Improvisation
       DAN 2623            Jazz Dance I
       DAN 3623            Jazz Dance II
       DAN 2661            Choreography I
       DAN 2662            Choreography II
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           DAN 3663                          Choreography III
           DAN 3671                          Dance History I
           DAN 3672                          Dance History II
           DAN 3653                          Dance Practicum**
           DAN 4990                          Senior Seminar
           DAN 4999                          Senior Project
           *Must take a minimum of three credit hours at level IV
           **Must take a minimum of two credit hours (four semesters)
           Additional requirements:
           		 EXS 2775                       Kinesiology
           		 MUS 1163                       Explorations in Music and Dance OR
           		 MUS 1165                       Great Works of Music
           		 THE 1214                       Acting for the Non-Actor
           Dance Electives: Choose four credit hours from:
           		 DAN 2651                       World Dance
           		 DAN 2681                       Teaching Studio Dance
           		 DAN 3615                       Ballet Variations
           		 DAN 3691                       Dance Ensemble
           		 THE 2630                       Beginning Tap I
           		 THE 2631                       Beginning Tap II
           		 THE 3630                       Intermediate Tap
        D. Electives.......................................................................................................................... 7 hours
        E. Total.............................................................................................................................124 hours

        ECONOMICS AND FINANCE
            The economics and finance major is designed to provide an interdisciplinary education with
        the purpose of addressing the theoretical underpinnings of economic decisions as well as the
        practical applications to finance. This program will help students develop both quantitative and
        qualitative reasoning skills while helping them learn how to apply those to the field of finance.
            The program will help prepare students to compete in the job market along a variety of
        career paths, from financial services and analysis to government service, as well as graduate pro-
        grams in economics, finance, and business.

        Progress Requirements
           Students anticipating graduate study are advised to enroll in additional quantitative courses
        and other appropriate electives.

        Economics Minor Requirements
             The Minor in economics requires 20 hours of economics coursework.

        Economics and Finance Major Requirements
        A. General Education Requirements..........................................................................40 hours
        B. Major Requirements..................................................................................................62 hours
          ACC 2111            Foundations of Financial Accounting
          ACC 2112            Foundations of Managerial Accounting
          BUS 1115            The Dynamics of Business and Free Enterprise
          BUS 2220            Microsoft Excel for Business
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        BUS 3453                          Managerial Finance
        BUS 3960                          Professional Development
        BUS 4188                          Investments
        BUS 4960/4961                     Business Administration Internship
        ECO 2205                          Principles of Microeconomics
        ECO 2207                          Principles of Macroeconomics
        ECO 3305                          Microeconomic Theory
        ECO 3307                          Macroeconomic Theory
        ECO/BUS 3320                      Applied Statistics of Business and Economics
        MAT 2050                          Applied Calculus OR
        MAT 2311                          Calculus I with Plane Analytic Geometry
        Twelve hours in electives selected from the following, at least four coming from each category:
        		 Finance Electives
        		   BUS 3670                     Financial Risk Management
        		   BUS 3888                     Principles of Real Estate Analysis and Valuation
        		   BUS 4205                     Spreadsheet Modeling and Quantitative Business Decisions
        		   BUS 4255                     International Financial Management
        		   BUS 4425                     CFA Level 1 Prep
        		   BUS 4430                     Business Ethics, Communication, and Risk Management
        		   BUS 4960/4961 Business Administration Internship
        		 Economics Electives
        		   ECO 3308                     Monetary Economics
        		   ECO 3319                     Labor Economics
        		   ECO 3345                     Economics and the Environment
        		   ECO 4100                     Law and Economics
        		   ECO 4200                     Humanomics		
        		   ECO 4406                     Public Economics
        		   ECO 4407                     International Trade and Finance
        		   ECO 4415                     Industrial Organization
        		   ECO 4550                     Comparative Economics Institutions
        		   ECO 4999                     Contemporary Issues in Economics
     C. Bachelor of Science Degree Requirements...........................................................12 hours
     D. Electives........................................................................................................................10 hours
     E. Total.............................................................................................................................124 hours

     EDUCATION
         Florida Southern College offers teacher education programs in Elementary Education K–6,
     Art Education K–12, Music Education K–12, Secondary Biology 6–12, Secondary English 6–12,
     Secondary Mathematics 6–12, and Social Sciences 6–12. These programs are approved by the
     Florida Department of Education to satisfy the educational requirements for the baccalaureate
     degree and initial professional teacher certification in Florida. State-mandated approved program
     changes are usually modest; however, prospective education students may expect changes to pro-
     gram requirements during their academic careers. Every effort will be made to assist students in
     completing program requirements within the normal four-year baccalaureate period. Florida
     Southern College offers state approved teacher education programs and is accountable to the
     Florida Department of Education for meeting all mandated general education, professional edu-
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        cation, and specialization requirements. The School of Education not only offers certificate-seek-
        ing programs for state of Florida certification, it is also home to the Roberts Academy and Rob-
        erts Center for Learning and Literacy, and FSC Early Learning Preschool Lab. Students in School
        of Education will be engaged in a variety of field study experiences on and off campus including
        the schools in the Polk County Public Schools and the FSC lab schools.

        School of Education Admission Requirements
            Students who intend to study in any of the teacher education programs at Florida
        Southern must apply for admission to the program after completion of all program admission
        requirements. All students must pass the General Knowledge Test prior to enrolling in EDU
        3323. Transfer students must apply for and be admitted to the teacher education program
        before enrolling in upper division classes. Application forms are available in the School of
        Education. The application deadline for each fall semester is March 15. The spring deadline is
        October 15.

        Students who meet the following criteria are eligible for admission to teacher candidacy:

            1. Submit a School of Education Application for Admission.
            2. Provide a recent and professional photo.
            3. Pass all four sections of the General Knowledge Test (GKT).
            4. Earn an overall cumulative grade point average of at least 2.5 on a 4.0 scale for all under-
               graduate studies.
            5. Earn a grade of C or better in all Education courses.
            6. Obtain fingerprint/background clearance check from the Polk County School Board.
            7. Complete the Academic Interest Inventory at FSC.
            8. Successfully complete EDU 1107 Foundations of Education I and EDU 2200 Field Study I.

        Transfer Students
            Transfer students beyond the sophomore year must meet all teacher education admission re-
        quirements before enrollment in professional education classes. Failure to pass all four sections of
        General Knowledge Test in that semester will prevent the student from enrolling in professional
        education courses until the General Knowledge Test requirement is met.

        Special Requirements
           Education majors must attend a minimum of one lecture per semester of the Distinguished
        Lecture Series hosted by The Roberts Center for Learning and Literacy.

        Student Profiles
           Students must maintain an electronic portfolio using the required software per the FSC
        School of Education.

        Field Studies Courses (refer to the specific program descriptions below)
             Requirements: Weekly attendance and approved fingerprints/background clearance check
        by the Polk County School District. Must pass GKT prior to enrolling in EDU 3323.
             Elementary: All elementary education majors will take EDU 2200, EDU 3323, and EDU
        4400 following the appropriate four-year degree schedule or transfer schedule. The director of
        field studies will assign education majors to one of the Polk County Public Schools. Field-study
        students will report to the assigned school for the full-day on Tuesday of each week. Field-study
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     students are responsible for providing their own transportation. A grade of C or better must
     be obtained in all three field study courses for a teacher education candidate to be accepted for
     senior internship.
         Secondary: All secondary education majors are required to take EDU 2200 and EDU 3323.
     The director of field studies will assign secondary education majors to the Polk County Public
     Schools. Secondary education students will be assigned a placement in their major field of study
     (English, mathematics, etc.). Field-study students are responsible for providing their own trans-
     portation. A grade of C or better is required to take the next level of field studies experiences. A
     grade of W or F will result in the course being repeated until a grade of C or better is obtained.
     A passing grade must be obtained in both sections of field experiences for a teacher education
     candidate to be accepted for the senior internship

     Senior Internship
           Prerequisites for the 12-credit senior internship semester are

          1. Submit School of Education Internship Application by September 15 for spring intern-
             ships and February 15 for all fall internships.
          2. Submit official score reports with passing scores on all parts of the FTCE.
          3. Complete all required courses for the Education major.
          4. Earn a grade of C or better in all professional education courses.
          5. Earn a minimum grade point average of 2.5 on a 4.0 scale.
          6. Submit approved fingerprint/background check conducted by the Polk County School
             District.
         All approved senior interns will enroll in a senior internship course in the Polk County
     School District. The senior intern is responsible for providing transportation to the assigned
     school. The assignment will represent the major certification area of the candidate. The student
     will be under the direction of a Florida certified teacher who has received clinical supervision
     training and the recommendation of the school principal as a highly qualified teacher. A grade
     of C or better is required to pass the Senior Internship and meet state of Florida certification re-
     quirements. Education majors are required to pass all three Florida Teacher Certification Exams
     prior to the Senior Internship deadline dates for each semester (GKT: no later than the end of
     sophomore year; SAE and PED: no later than the end of junior year).

     Elementary Education Major Requirements
     A. General Education Requirements .........................................................................40 hours
     B. Major Requirements.................................................................................................67 hours
        EDU 1107           Foundations of Education I
        EDU 2200           Field Study Level I
        EDU 2203           Foundations of Education II
        EDU 2210           Foundations in Special Education
        EDU 2235           Methods of Assessment
        EDU 2240           Teaching Language Arts Level I
        EDU 2241           Clinical Experience in Literacy Instruction
        EDU 3279           Foundations of ESOL I
        EDU 3323           Field Study Level II
        EDU 3333           Foundations of Education III
        EDU 3339           Instructional Methods I: Mathematics in the Elementary School
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            EDU 3343                           Children’s Literature
            EDU 3347                           Teaching Language Arts II
            EDU 3370                           Differentiated Instruction of Reading for Elementary Students
            EDU 4400                           Field Study Level III
            EDU 4407                           Instructional Methods II: Social Studies in the Elementary School
            EDU 4409                           Instructional Methods III: Science in the Elementary School
            EDU 4478                           Applied Linguistics–ESOL II
            EDU 4889                           Student Teacher Intern Seminar
            EDU 4990                           Senior Internship
        C. Bachelor of Arts Degree Requirements ................................................................20 hours
             OR
        D. Bachelor of Science Degree Requirements ..........................................................12 hours
        E. Electives .....................................................................................................................0–5 hours
        F. Total....................................................................................................................124–127 hours

        Art Education (B.A. or B.S.)
            The Department of Art and Art History in conjunction with the School of Education offers
        the B.A. or B.S. degree in art education. The program provides challenging, professional-level
        undergraduate course work for talented, motivated young artists. Students develop skills, explore
        concepts, and are prepared to teach art.
            Small classes are taught by top professionals, and students enjoy working relationships with
        professors in a nurturing environment. Art classes are held in eight fully equipped studio class-
        rooms—each dedicated to a specific discipline: painting, figure drawing, printmaking, graphic
        design, photography, sculpture, ceramics, and design.

        Art Education Major Requirements
        A. General Education Requirements............................................................................40 hours
        B. Major Requirements
            Art Requirements...................................................................................................see page 96
            Education Requirements..........................................................................................34 hours
           EDU 1107              Foundations of Education I
           EDU 2200              Field Study Level I
           EDU 2203              Foundations of Education II
           EDU 2210              Foundations in Special Education
           EDU 2235              Methods of Assessment
           EDU 3279              Foundations of ESOL I
           EDU 3323              Field Study Level II
           EDU 3333              Foundations of Education III
           EDU 4400              Field Study Level III Elementary Education Art students only
           EDU 4454              Special Methods in Education
           EDU 4457              Reading and Writing in the Content Areas in the Secondary School
           EDU 4889              Student Teacher Intern Seminar
           EDU 4990              Senior Internship
        C. Bachelor of Arts Degree Requirements...................................................................20 hours
           OR
        D. Bachelor of Science Degree Requirements.............................................................12 hours
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     Music Education (B.A. or B.S.)
         Approved by the Florida Department of Education to satisfy the educational requirements
     for the baccalaureate degree and initial teacher certification in Florida, the Bachelor of Music
     Education degree prepares a student to enter a professional teaching career in the K–12 setting,
     vocal and instrumental. Through a rigorous and comprehensive music education curriculum
     that includes courses in conducting, pedagogy, and technology, extensive field studies as well as
     professional education courses, students learn to structure and apply music for meaningful and
     effective class and ensemble instruction. Students must earn a grade of C or better in all music
     education, professional education, and conducting courses.

     Bachelor of Music Education Major Requirements
     A. General Education Requirements............................................................................40 hours
     B. Major Requirements
         Music Requirements............................................................................................see page 156
         Education Requirements..........................................................................................34 hours
        EDU 1107             Foundations of Education I
        EDU 2200             Field Study Level I
        EDU 2203             Foundations of Education II
        EDU 2210             Foundations in Special Education
        EDU 2235             Methods of Assessments
        EDU 3279             Foundations of ESOL I
        EDU 3323             Field Study Level II
        EDU 3333             Foundations of Education III
        EDU 4454             Special Methods in Education
        EDU 4457             Reading and Writing in the Content Areas in the Secondary School
        EDU 4889             Student Teacher Intern Seminar
        EDU 4990             Senior Internship
     C. Bachelor of Arts Degree Requirements...................................................................20 hours
        OR
     D. Bachelor of Science Degree Requirements.............................................................12 hours

     Secondary Biology Education
          Approved by the Florida Department of Education to satisfy the educational requirements
     for the baccalaureate degree and initial teacher certification in Florida, the Bachelor of Secondary
     Biology Education degree prepares a student to enter a professional teaching career in the 6–12
     school setting. This is accomplished through a rigorous and comprehensive Biology and educa-
     tion curriculum that includes courses for the Biology major, teaching methods, technology, and
     clinical studies.
     A. General Education Requirements............................................................................40 hours
     B. Major Requirements
         Biology Requirements.........................................................................................see page 101
         Education Requirements..........................................................................................34 hours
        EDU 1107           Foundations of Education I
        EDU 2200           Field Study Level I
        EDU 2203           Foundations of Education II
        EDU 2210           Foundations in Special Education
        EDU 2235           Methods of Assessment
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           EDU 3279             Foundations of ESOL I
           EDU 3323             Field Study Level II
           EDU 3333             Foundations of Education III
           EDU 4454             Special Methods in Education
           EDU 4457             Reading and Writing in the Content Areas in the Secondary School
           EDU 4889             Student Teacher Intern Seminar
           EDU 4990             Senior Internship
        C. Bachelor of Science Degree Requirements.............................................................12 hours

        Secondary English Education
        Approved by the Florida Department of Education to satisfy the educational requirements for
        the baccalaureate degree and initial teacher certification in Florida, the Bachelor of Secondary
        English Education degree prepares a student to enter a professional teaching career in the 6–12
        school setting. This is accomplished through a rigorous and comprehensive English and educa-
        tion curriculum that includes courses for the English major, teaching methods, technology, and
        clinical studies
        A. General Education Requirements............................................................................40 hours
        B. Major Requirements
            English Requirements.........................................................................................see page 129
            Education Requirements....................................................................................34–44 hours
           EDU 1107            Foundations of Education I
           EDU 2200            Field Study Level I
           EDU 2203            Foundations of Education II
           EDU 2210            Foundations in Special Education
           EDU 2235            Methods of Assessment
           EDU 3279            Foundations of ESOL I
           EDU 3323            Field Study Level II
           EDU 3333            Foundations of Education III
           EDU 4454            Special Methods in Education
           EDU 4457            Reading and Writing in the Content Areas in the Secondary School
           EDU 4889            Student Teacher Intern Seminar
           EDU 4990            Senior Internship
        C. Bachelor of Arts Degree Requirements...................................................................20 hours

        Special Programs Teacher Certification
           Students who meet both the requirements for an English major and the professional courses
        and other degree requirements specified by the School of Education will meet the certification
        requirements for teaching English in the state of Florida. Students may pursue the state of Florida
        ESOL endorsement by completing the courses listed below, earning a C or better.
           EDU 4478                       Applied Linguistics–ESOL II
           EDU 4483                       ESOL Curriculum and Materials
           EDU 4484                       Cross Cultural Communication and Understanding
           EDU 4486                       Testing and Evaluation in ESOL

        Secondary Mathematics Education
             Approved by the Florida Department of Education to satisfy the educational requirements
        for the baccalaureate degree and initial teacher certification in Florida, the Bachelor of Secondary
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     Mathematics Education degree prepares a student to enter a professional teaching career in the
     6–12 school setting. This is accomplished through a rigorous and comprehensive mathematics
     and education curriculum that includes courses for the Mathematics major, teaching methods,
     technology, and clinical studies.
     A. General Education Requirements............................................................................40 hours
     B. Major Requirements
         Mathematics Requirements...............................................................................see page 147
         Education Requirements..........................................................................................34 hours
        EDU 1107             Foundations of Education I
        EDU 2200             Field Study Level I
        EDU 2203             Foundations of Education II
        EDU 2210             Foundations in Special Education
        EDU 2235             Methods of Assessment
        EDU 3279             Foundations of ESOL I
        EDU 3323             Field Study Level II
        EDU 3333             Foundations of Education III
        EDU 4454             Special Methods in Education
        EDU 4457             Reading and Writing in the Content Areas in the Secondary School
        EDU 4889             Student Teacher Intern Seminar
        EDU 4990             Senior Internship
     C. Bachelor of Arts Degree Requirements...................................................................20 hours
        OR
     D. Bachelor of Science Degree Requirements.............................................................12 hours

     Secondary Social Science Education
          Approved by the Florida Department of Education to satisfy the educational requirements
     for the baccalaureate degree and initial teacher certification in Florida, the Bachelor of Secondary
     Social Science Education degree prepares a student to enter a professional teaching career in the
     6–12 school setting. This is accomplished through a rigorous and comprehensive social science/
     history and education curriculum that includes courses for the Social Science major, teaching
     methods, technology, and clinical studies.
     A. General Education Requirements............................................................................40 hours
     B. Major Requirements
         Social Science Requirements.............................................................................see page 176
         Education Requirements..........................................................................................34 hours
        EDU 1107             Foundations of Education I
        EDU 2200             Field Study Level I
        EDU 2203             Foundations of Education II
        EDU 2210             Foundations in Special Education
        EDU 2235             Methods of Assessment
        EDU 3279             Foundations of ESOL I
        EDU 3323             Field Study Level II
        EDU 3333             Foundations of Education III
        EDU 4454             Special Methods in Education
        EDU 4457             Reading and Writing in the Content Areas in the Secondary School
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           EDU 4889             Student Teacher Intern Seminar
           EDU 4990             Senior Internship
        C. Bachelor of Arts Degree Requirements...................................................................20 hours
           OR
        D. Bachelor of Science Degree Requirements.............................................................12 hours

        ENGLISH
             An English major typically seeks intellectual growth; prefers independent work and study;
        is creative; is disciplined; values integrity; has a strong imagination; enjoys reading, thinking,
        and writing. English majors sharpen their reading skills—their observational and analytical
        acuity. They improve their writing skills—the ability to shape words to communicate more
        effectively with others. And they enhance their thinking skills—the ability to recognize prob-
        lems and solve them creatively.
             Our goals are to help majors develop the resources and methods needed to pursue inde-
        pendent inquiries and enjoy a lifelong appreciation for the value of the written word; and to
        sharpen their critical skills in written and oral expression as they read, analyze, and evaluate
        representative works of American, English, and other world literature in their cultural and
        historical perspectives.
             We offer a range of special topics and interdisciplinary courses in addition to an already
        impressive range of courses. The program sponsors a number of public readings from profes-
        sional poets and writers; we also offer events such as World Poetry Day that allow students to
        share their own work. The program annually presents the Ryals Award for outstanding poetry
        and short fiction by a student. Students can become involved in numerous organizations, such
        as Cantilevers (the FSC literary magazine) or Sigma Tau Delta (the international English honor
        society). In addition, the FSC Writing Center offers opportunities to those students who want
        to acquire practical experience as tutors on all levels. We also have intern programs in the pub-
        lic schools for English majors in secondary education. Moreover, some students, in consulta-
        tion with their advisors, create internships in the business community to meet their individual
        career goals.
             Our graduates enter the work force with a full range of marketable skills: listening and
        reading acuity; clear, critical thinking; inventive expression; accurate writing; and persuasive
        speaking. Career opportunities for the English major abound in advertising, business writing
        and consulting, editing (for books and other media), fund raising and grant writing, journal-
        ism, teaching, and technical writing. English is also a natural pre-professional major for those
        who are planning to study business administration, law, or theology.

        English: Teacher Certification
             Students who meet both the requirements for an English major and the professional courses
        and other degree requirements specified by the School of Education will meet the certification
        requirements for teaching English in the state of Florida. For Florida Professional Teacher Certi-
        fication, English majors may complete an additional 10 semester hours in ESOL.

        Honors in the Major
             The English program also offers an Honors in the Major option. The purpose of the program
        is to provide an opportunity for highly achieving students who are motivated and talented to do
        an in-depth investigation of an area of interest in consultation with a professor having expertise
        in that area. Please see the department chair during the first semester of your junior year for fur-
        ther information.
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     Area Concentration Achievement Test (ACAT)
          In the first or second semester of their senior year, all English majors will take the ACAT
     in Literature, which is a standardized exam covering various periods of English and American
     literature. Test scores will be distributed to the faculty, and students’ performance on this test
     will be considered by all professors who write recommendations for job, graduate school, and
     professional school applications.

     English Minor Requirements
          20 hours in English above the 1000-level, including at least one course at the 3000-level and
     at least one course at the 4000-level. CLEP credits may not be applied to the minor.

     English Major Requirements
         The English program offers concentrations in literature and writing. Core requirements for
     both concentrations are the same. Each student who declares English as a major either should
     have a full-time member of the English faculty as an academic advisor or, if a student has a dou-
     ble major and an official advisor from that other major, he/she should also meet with a full-time
     member of the English department before registering for the next semester’s classes.

     English Major Requirements: Literature Concentration
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements..................................................................................................48 hours
         Core requirements for the English major:
       		 ENG 1130              Introduction to English Studies
       		 ENG 2305              Masterpieces of World Literature
       		 ENG 2309              American Literature I: Pre-1600 to 1865
       		 ENG 2310              American Literature II: 1865-Present
       		 ENG 2313              British Literature from the Medieval to the Neo-Classical
       		 ENG 2314              British Literature from the Romantic Era to the Post Modern
       		 ENG 4999              English Senior Seminar
       Four literature courses:
       		 ENG 3100              Studies in Literary Theory
       		 ENG 3304              Major Authors
       		 ENG 4303              Studies in Literary Periods
       		 ENG 4305              Special Topics in Literature
       One 3000- or 4000-level English course chosen from:
       		 ENG 3100              Studies in Literary Theory
       		 ENG 3200              Writing for Business
       		 ENG 3217              Creative Nonfiction Writing
       		 ENG 3219              Persuasive Writing
       		 ENG 3235              Creative Writing: Poetry
       		 ENG 3236              Creative Writing: Fiction
       		 ENG 3263              Rhetoric and Writing
       		 ENG 3320              Special Topics in Drama and Film
       		 ENG 3370              Literature by Women
       		 ENG 4209              Special Topics in Nonfiction 		
       		 ENG 4303              Studies in Literary Periods
       		 ENG 4305              Special Topics in Literature
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        C. Bachelor of Arts Degree Requirements.................................................................20 hours
        D. Electives........................................................................................................................16 hours
        E. Total.............................................................................................................................124 hours

        English Major Requirements: Writing Concentration
        A. General Education Requirements..........................................................................40 hours
        B. Major Requirements..................................................................................................48 hours
          Core requirements for the English major:
          		 ENG 1130            Introduction to English Studies
          		 ENG 2305            Masterpieces of World Literature
          		 ENG 2309            American Literature I: Pre-1600 to 1865
          		 ENG 2310            American Literature II: 1865-Present
          		 ENG 2313            British Literature from the Medieval to the Neo-Classical
          		 ENG 2314            British Literature from the Romantic Era to the Post Modern
          		 ENG 4999            English Senior Seminar
          		 Writing concentration requirements (5 courses total):
          		   ENG 3263          Rhetoric and Writing
          		   ENG 4209          Special Topics in Nonfiction
          		   One of the following creative writing courses:
          		     ENG 3217        Creative Nonfiction Writing
          		     ENG 3235        Creative Writing: Poetry
          		     ENG 3236        Creative Writing: Fiction
          		   One of the following multi-genre writing courses:
          		     ENG 3200        Writing for Business
          		     ENG 3219        Persuasive Writing
          		 One additional 3000- or 4000-level ENG course, excluding internship
        C. Bachelor of Arts Degree Requirements.................................................................20 hours
        D. Electives........................................................................................................................16 hours
        E. Total.............................................................................................................................124 hours

        ENVIRONMENTAL STUDIES
            Our use of natural resources impacts the environment on a local, regional, and global scale.
        The management of these resources, and the solutions needed to overcome complicated chal-
        lenges, requires broad knowledge of multiple disciplines. With the environmental studies major,
        students study important issues directly related to the consequences of human action on the
        natural landscape, and gain insight and understanding of governmental and economic policies
        and historical precedents that led us to this point. Students gain experience in methods of com-
        munication necessary for bridging the gap between disparate fields, such as research science and
        governmental agencies. The interdisciplinary nature of this major will equip students with an ex-
        tensive and broad background to enter into a career with governmental agencies, local ecological
        organizations, the forestry service, or other environmental groups.
            Students may also enroll in the FSC–Duke University Cooperative 3+2 program. Students
        successfully complete their first three years at FSC and are accepted into either the Master of
        Environmental Management or the Master of Forestry program. The student will be awarded the
        appropriate bachelor’s degree upon satisfactory completion of one year of study at Duke. Contact
        Dr. Eric Kjellmark for more information.
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     Program Requirements
        All environmental studies majors must earn a grade of C or better in all BIO courses and
     courses cross-listed with BIO.

     Special Requirements
        Due to similarities in the programs, students majoring in environmental studies are not al-
     lowed to double major or minor in biology.

     Environmental Studies Minor Requirements
        The Minor in Environmental Studies is designed to provide students with a fundamental back-
     ground in scientific aspects of studying the environment. This minor can complement a number of
     majors where students would like to be knowledgeable of and active in environmental issues.
       BIO 1500               Biology I: Biological Essentials
       BIO 1600               Biology II: Biological Diversity
       BIO 2200               Environmental Issues
       BIO 2500               Biology III: Ecology and Evolution
       Choose one of the following
       		 BIO 2900            Conservation Biology
       		 BIO 3301            Field Ecology
     Total Hours in the Minor............................................................................................................20

     Environmental Studies Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements...........................................................................................68 - 69 hours
       BIO 1500                  Biology I: Biological Essentials
       BIO 1501                  Current Perspectives in Biology (FTIC only)
       BIO 1600                  Biology II: Biological Diversity
       BIO 2200                  Environmental Issues
       BIO 2320                  Marine Microbiology OR
       BIO 3710                  Microbiology
       BIO 2500                  Biology III: Ecology and Evolution
       BIO 2900                  Conservation Biology
       BIO 3301                  Field Ecology
       CHE 1011                  Chemical Foundations for the Biological Sciences AND
       CHE 1013                  Environmental Chemistry Fundamentals
       OR
       CHE 1111                  Principles of Chemistry I AND
       CHE 1112                  Principles of Chemistry II
       MAT 2022                  Elementary Statistics OR
       MAT 2032                  Biostatistics
       28 hours selected from the following (at least 16 hours must be outside of the natural
          scienes; at least 12 hours must be at the 3000- or 4000-level) or other courses approved by
          the faculty and advisor:
       Natural Science
       		 BIO 1520               Introduction to Marine Biology
       		 BIO 1820               Oceanography
       		 BIO 2520               Biological Geography and GIS
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                           UNDERGRADUATE PROGRAM REQUIREMENTS                                 133



         		 BIO 3100         Plant Taxonomy
         		 BIO 3120         Biology of Amphibians and Reptiles
         		 BIO 3316         Tropical Ecology
         		 BIO 3700         Genetics
         		 BIO 4460         Introduction to Ecology Research AND
         		 BIO 4461/4462    Research: Ecology
         		 OR
         		 BIO 4560         Introduction to Molecular Biology Research AND
         		 BIO 4561/4562    Research: Molecular Biology
         		 OR
         		 BIO 4661/4662    Site Specific Research in Biology (with departmental approval)
         		 BIO 4960/4961    Biology Internship
         		 CHE 2231         Organic Chemistry I AND
         		 CHE 2251         Organic Chemistry I Laboratory
         		 CHE 2232         Organic Chemistry II AND
         		 CHE 2252         Organic Chemistry II Laboratory
         		 CHE 2335         Analytical Chemistry
         		 HRT 2100         Introduction to Horticultural Science
         		 HRT 3301         Soil Science
         		 PHY 2010         General Physics I (Algebra Based)
         		 OR
         		 PHY 2110         General Physics I (Calculus Based)
         		 PHY 2020         General Physics II (Algebra Based)
         		 OR
         		 PHY 2120         General Physics II (Calculus Based)
         Outside Natural Science
         		 BIO 2214         Disasters, Civilizations, and the Environment
         		 BIO/REL 3378     Dialogues in Science and Religion
         		 BUS 2217         Principles of Management
         		 BUS 3311         Legal Environment of Business
         		 COM 2100         Mass Media and Society		
         		 COM 2400         Principles of Advertising and Public Relations
         		 COM/SOC 2270     Intercultural Communication
         		 COM 3200         Persuasion
         		 COM 3450         Public Relations Writing
         		 COM 4350         Public Relations Strategies
         		 ECO 2205         Principles of Microeconomics
         		 ENG 3200         Writing for Business
         		 ENG 3217         Creative Nonfiction Writing
         		 ENG 3219         Persuasive Writing
         		 ENG 3263         Rhetoric and Writing
         		 ENG 4209         Special Topics in Nonfiction (with advisor approval)
         		 HIS 1300         The Modern World
         		 PHI 2204         Ethics
         		 PHI/REL 2219     World Religion and Philosophies
         		 POS 1115         Methods for Political Science I
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        		 POS 2290                       Current Issues in American Politics
        		 POS 2295                       Methods for Political Science II
        		 POS 3323                       International Organizations
        		 POS 3400                       Political Parties and Interest Groups
        		 POS 3500                       International Relations of the Developing World 		
        		 SPA 1101                       First Semester Spanish
     C. Bachelor of Arts Degree Requirements.................................................................20 hours
          OR
     D. Bachelor of Science Degree Requirements...........................................................12 hours
     E. Electives......................................................................................................................0–4 hours
     F. Total.....................................................................................................................124–129 hours

     EXERCISE SCIENCE
          Exercise science is the study of the body’s response to exercise and requires an understanding
     of anatomy, kinesiology, health and fitness, biomechanics and exercise physiology. The exercise
     science major will prepare students to pursue direct entry jobs in cardiac rehabilitation, strength
     and conditioning, personal training, fitness center management, and health promotion. The ma-
     jor will also prepare students for graduate programs in physical therapy, occupational therapy,
     cardiac rehabilitation, kinesiology, physician assistant, orthotics, prosthetics, public health, and
     other allied health professions. Exercise science majors will be prepared to take national certi-
     fication exams from the National Strength and Conditioning Association (NSCA) or from the
     American College of Sports Medicine (ACSM) during their senior year if they choose. Persons
     with an exercise science degree establish exercise, fitness, and rehabilitative prescriptions within
     hospitals, fitness facilities, universities, clinical rehabilitation facilities, and multi-aged athletic
     programs. Example careers include:
         •   Exercise specialists in cardiopulmonary rehabilitation programs
         •   Strength coaches for college, university and professional sports programs
         •   Researchers within in sports medicine laboratories
         •   Exercise technologists in cardiology clinics
         •   Managers and exercise leaders in corporate wellness programs
         •   Supervisors of specialized health, fitness, wellness, or lifestyle programs
         •   Personal trainers and fitness instructors in health and fitness centers and YMCAs
         •   Exercise and health entrepreneurs
         •   Fitness and wellness consultants

     Special Requirements
          Students must be able to obtain transportation to clinical and applied experience sites. In some
     clinical situations, students may have to complete additional requirements such as, but not limited
     to: background check, fingerprinting, drug screening, proof of vaccinations, and HIPAA training.

     Progress Requirements
         Majors must complete 50 hours from the EXS core requirements and an additional 16 hours
     of elective courses from the EXS elective option list for 66 total EXS major hours. Exercise Science
     majors must earn a grade of C or better in the major subject areas (EXS) marked with an (*). EXS
     4960/4961 courses require approval from program faculty one semester in advance of participa-
     tion.
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                                     UNDERGRADUATE PROGRAM REQUIREMENTS                                                             135



        Exercise Science Minor Requirements
           The minor in Exercise Science is designed to provide students with an overview of the funda-
        mentals of Exercise Science including anatomy, kinesiology, exercise physiology, and exercise
        programming concepts for multiple populations. Exercise Science minors must earn a grade of
        C or better in the subject areas marked with an (*).
          BIO 2215                Anatomy and Physiology 1
          BIO 2216                Anatomy and Physiology 2
          EXS 2770                Exercise Physiology*
          EXS 2775                Kinesiology*
          Students then select either:
          		 One 4-credit hour EXS course OR
          		 Two 2-credit hour EXS courses for the remaining 4 hours required to complete the minor.
        Total Hours in the Minor................................................................................................20 hours

        Exercise Science Major Requirements
        A. General Education Requirements............................................................................40 hours
        B. Major Core Requirements..........................................................................................50 hours
           BIO 2215            Anatomy and Physiology I
           BIO 2216            Anatomy and Physiology II
           EXS 1105            Introduction to Exercise Science and Health Promotion*
           EXS 2205            First Aid and Safety*
           EXS 2760            Sports Nutrition and Supplementation*
           EXS/BIO 2770        Exercise Physiology*
           EXS 2775            Kinesiology*
           EXS 3735            Exercise and Sports Psychology*
           EXS 3740            Exercise Testing and Prescription*
           EXS 3745            Exercise Management of Chronic Disease*
           EXS 3750            Essentials of Strength and Conditioning*
           EXS 4720            Administration of Exercise and Health Promotion Programs*
           EXS 4725            Research Methods in Exercise and Human Performance*
           EXS 4960/4961       Applied Experiences in Exercise Science*
        C. Major Elective Course Options.................................................................................16 hours
           BUS 2217            Principles of Management
           BUS 3311            Legal Environment of Business
           BUS 3575            New Venture Creation
           CHE 1111            Principles of Chemistry I
           CHE 1112            Principles of Chemistry II
           EXS 1101            Exercise Science Seminar* (FTIC only)
           EXS 1234            Medical Terminology
           EXS 2115            Emergency Medical Responder
           EXS 2585            Care and Prevention of Injuries*
           EXS 3333            Concepts of Nutrition and Pharmacology
           EXS 3500            Motor Behavior*
           EXS 4500            Advanced Exercise Training and Testing Techniques*
           EXS 4600            Certification Seminar*
           PHY 2010            Physics I (Algebra Based)
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         PHY 2020                           Physics II (Algebra Based)
         PSY 2209                           Developmental Psychology
         PSY 2214                           Abnormal Psychology
     D. Bachelor of Science Degree Requirements.............................................................12 hours
     E. Electives............................................................................................................................ 6 hours
     F. Total...............................................................................................................................124 hours

     FILM
           See Art

     GRAPHIC DESIGN
           See Art

     HEALTHCARE ADMINISTRATION
         The healthcare administration program at Florida Southern College provides students with
     an interdisciplinary education that combines business foundation courses with healthcare man-
     agement courses to prepare students for future leadership roles within a variety of healthcare
     organizations. Students will learn about evolving trends in the healthcare industry and how these
     trends impact organizational planning and business strategy. Students will also be exposed to
     core values that emphasize the importance of building sustainable healthcare organizations and
     will develop innovative problem-solving skills through engaged learning activities to successfully
     address challenges unique to the health care industry.

     Healthcare Administration Minor Requirements
         ACC 2111              Foundations of Financial Accounting
          HCA 2125             Healthcare Organization and Management
          HCA 3325             Healthcare Finance
         Twelve hours from the following:
         		 HCA 3125 		 Community Health
         		 HCA 3225 		 Healthcare Law and Ethics
         		 HCA 4125 		 Healthcare Policy and Planning
         		 HCA 4225 		 Healthcare Information Systems
         		 HCA 4325 		 Healthcare Quality and Quality Improvement
         		 HCA 4960/4961 		 Healthcare Administration Internship
     F. Total Hours in the Minor............................................................................................24 hours

     Healthcare Administration Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements...........................................................................................66 - 68 hours
       ACC 2111            Foundations of Financial Accounting
       ACC 2112            Foundations of Managerial Accounting
       BUS 1115            The Dynamics of Business and Free Enterprise
       BUS 2217            Principles of Management
       BUS 2220            Microsoft Excel for Business
       BUS 3160            Marketing Principles
       BUS/ECO 3320        Applied Statistics of Business and Economics
       BUS 3960            Professional Development
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                                         UNDERGRADUATE PROGRAM REQUIREMENTS                                                                       137



           ECO 2010                          Essentials of Economics
           HCA 2125                          Healthcare Organization and Management
           HCA 3125                          Community Health
           HCA 3225                          Healthcare Law and Ethics
           HCA 3325                          Healthcare Finance
           HCA 4125                          Healthcare Policy and Planning
           HCA 4225                          Healthcare Information Systems
           HCA 4325                          Healthcare Quality and Quality Improvement
           HCA 4960/4961                     Healthcare Administration Internship
           HCA 4999                          Seminar in Strategic Management of the Healthcare Enterprise
        C. Bachelor of Science Degree Requirements...........................................................12 hours
        D. Electives.....................................................................................................................4 - 6 hours
        E. Total.............................................................................................................................124 hours

        HISTORY
            The history program at Florida Southern College is designed to assist those students who
        are working toward a B. A. degree in developing the ability to think, speak and write in a clear,
        logical and critical manner as they search for answers to questions about the past. This search
        takes place in a variety of contexts. Each major works in close consultation with an advisor to
        select thirty-six hours (nine courses) of history, distributed across lower and upper level offerings
        and covering a variety of topics. Classroom activities include group projects, class discussions,
        presentations, and lectures, often enhanced by the use of appropriate technologies. Outside the
        classroom, faculty offices, the departmental lounge, or a favorite campus dining spot provide
        the opportunity for the exchange of ideas between students and faculty in a less formal setting.
        In addition, the History Club sponsors an annual field trip, picnic, and at least one movie night
        each semester; it also assists in hosting the Florida Lecture Series. Faculty members work closely
        with students in directing research projects, some of them undertaken jointly, including the
        senior capstone or honors thesis. Internships are also available at several on-campus sites, such as
        the Lawton Chiles Center of Florida History, the Florida Citrus Hall of Fame, and the Archives
        of the Florida Conference of the United Methodist Church. Students often accompany mem-
        bers of the faculty to a professional conference, where they often present papers, or share the
        results of research projects. At graduation, history majors should be prepared for a wide variety
        of occupations requiring the ability to think logically and critically; they should also be able to
        perform successfully in graduate and professional school.

        Honors in the Major
             The history program also offers an Honors in the Major option. The purpose of the program
        is to provide an opportunity for highly achieving students who are motivated and talented to do
        an in-depth investigation of an area of interest in consultation with a professor having expertise in
        that area. Please see the department chair during the first semester of your junior year for further
        information. During the senior year, students should register for HIS 4953 and HIS 4954.

        Teacher Certification
            Students wishing to teach history in the state of Florida should contact the chair of the De-
        partment of History and Political Science.

        History Minor Requirements
             To minor in history, a student must complete twenty hours within the discipline. No more than
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     eight of these hours should be selected from lower-level course offerings (1000–2000), and no less
     than twelve should be selected from upper-level (3000–4000). There is no capstone requirement.

     History Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements..................................................................................................36 hours
         HIS 4999                         Philosophy and Methodology of History
        Two courses selected from the following:
        		 HIS 1100                       The Ancient World
        		 HIS 1200                       The Making of the World
        		 HIS 1300                       The Modern World
        		 HIS 2215                       The American Experience through the Civil War
        		 HIS 2225                       The American Experience since the Civil War
        One course selected from the following:
        		 HIS 3225                       Modern America: 1945-Present
        		 HIS 3231                       History of the Old South
        		 HIS 3232                       History of the New South
        		 HIS 3240                       Introduction to Public History
        		 HIS/LAS 3355                   History of Florida
        		 HIS 3550                       Selected Topics in United States or Latin American History
        One course selected from the following:
        		 HIS 3115                       History of Early Modern Europe
        		 HIS 3165                       History of Modern Europe
        		 HIS 3215                       History of Russia and the Soviet Union
        		 HIS 3455                       Selected Topics in History of the Western World
        One course selected from the following:
        		 HIS 3275                       History of East Asia
        		 HIS/LAS 3365                   History of Modern Latin America
        		 HIS 3415                       History of the Middle East
        		 HIS 3445                       History of Modern Africa
        		 HIS 3555                       Selected Topics in World or Thematic History
        One course selected from the following:
        		 HIS 4455                       Seminar on Selected Topics in the History of the Western World
        		 HIS 4550                       Seminar on Selected Topics in U.S. or Latin American History
        		 HIS 4555                       Seminar on Selected Topics in World or Thematic History
        One course selected from any 3000-level HIS offering
        One HIS course (non-designated)
     C. Bachelor of Arts Degree Requirements.................................................................20 hours
          OR
     D. Bachelor of Science Degree Requirements...........................................................12 hours
     E. Electives..................................................................................................................28–36 hours
     F. Total.............................................................................................................................124 hours

     HONORS PROGRAM
           The Honors Program gives students the tools and opportunities to think bigger—beyond the
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                                    UNDERGRADUATE PROGRAM REQUIREMENTS                                                        139



        bounds of their regular assignments, beyond the bounds of their home discipline, even beyond
        the bounds of what passes as common sense. Whatever their path, they are prepared to think
        critically and creatively about the world we live in.
             The keystone of the Honors Program is the senior project. During their final year at Florida
        Southern College, all honors students will undertake an ambitious project of their own design
        and present the results to their peers. Working in close collaboration with a faculty mentor, stu-
        dents might research the evolutionary history of the human eye, produce a chapbook of their
        own poetry, compose and perform an original concerto, start their own sustainable business,
        or make a contribution to the philosophy of happiness. Everything in the Honors Program is
        designed to prepare students for this final project.
             The Honors Program curriculum requires 23–26 hours of coursework, just slightly more
        than a typical minor. During the first two years, honors students take a sequence of courses de-
        signed to push them to think critically about pressing contemporary questions. Those courses in-
        clude one writing-intensive and one speaking-intensive course, one upper-level liberal arts course
        outside the student’s home discipline, and two seminars. During the second two years, students
        turn their focus towards their own final project. They first develop a project proposal, which is
        presented to their peers and to an interdisciplinary faculty committee for approval. Once their
        proposal is approved, they begin work on the project itself. The honors project culminates with a
        presentation of the work in a public venue, either at Fiat Lux (Florida Southern’s own celebration
        of student scholarship) or at a professional meeting within their own discipline.

        Honors Program Requirements
           HON 1700             Writing on Contemporary Social Issues
           HON 1701             Speaking on Contemporary Social Issues
           HON 1990             Honors First Year Seminar
           HON 2990             Honors Second Year Research Seminar
           One sophomore or junior honors course
           HON 3955/56          Directed Study: Honors Proposal Development
           HON 4955/56          Directed Study: Honors Project Development
        Total hours in the Honors Program ................................................................................. 23–26

        QUALIFICATIONS FOR MEMBERSHIP
             To qualify for admission to the Honors Program, incoming students must earn at least a 1330
        on the SAT or at least a 29 on the ACT, and must have an unweighted high school GPA of at least
        3.5. In exceptional cases, other factors like extracurricular activities and National Merit status may
        be considered.
             Students already enrolled at Florida Southern who wish to apply to the Honors Program must
        do so by the end of their first semester. In order to be considered, students must have a minimum
        3.5 GPA and a letter of recommendation from a faculty member. Please contact the director of the
        Honors Program for more information.
             Students in the Honors Program must maintain a minimum of a 3.5 cumulative GPA, and
        must earn a C or better in all Honors Program courses. Any act of academic dishonesty will result
        in automatic expulsion from the program. Students must also participate in at least two events
        sponsored by the Honors Program each semester.

        OTHER HONORS OPTIONS
             Certain departments offer the possibility of earning ‘Honors in the Major.’ Honors in the Major
        is separate from the Honors Program. See departmental listings for more specific information.
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     HUMANITIES
          The B.A. in Humanities degree offers students the opportunity to attain two goals: a broad
     immersion in the humanities—art, communication, English, foreign languages, music, philosophy,
     religion, and theatre—and a deeper study in two of these disciplines. Humanities graduates pursue
     careers in law, education, ministry, the arts, journalism, and business. Most important, students
     emerge as well-rounded, insightful human beings with the ability to think clearly and critically.
     Students interested in this major should contact the Department of Religion and Philosophy.

     Humanities Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements..................................................................................................52 hours
       ARH 1100                Survey of Western Art and Architecture
       ENG 2305                Masterpieces of World Literature
       HUM 4999                Humanities Senior Capstone
       MUS 1165                Great Works of Music
       Any PHI course, except PHI 2208
       THE 1050                Introduction to Theatre
       One of the following religion courses:
       		 REL 2215             Old Testament: The Literature, The History, The Religious Ideas
       		 REL 2216             New Testament: Its History, Literature, and Theology
       		 REL 2218             Basic Christian Beliefs
       		 REL/PHI 2219         World Religions and Philosophies
       Two emphases selected from the list below:
       Art Emphasis
       		 Three courses, including at least two selected from:
       		   ARH 3710           Ancient Art and Architecture
       		   ARH 3720           Medieval Art and Architecture
       		   ARH 3770           Eighteen and Nineteenth Century Art and Architecture
       		   ARH 3780           Twentieth Century Art and Architecture
       English Emphasis
       		 Three courses, two of which must be at the 3000- or 4000-level
       		 (No 1000-level English courses may count toward this emphasis)
       Modern Languages Emphasis
       		 Three courses beyond the third-semester language course
       Music Emphasis
       		 MUS 1151             Aural Skills I
       		 MUS 1173             Theory: Introductory Harmony
       		 MUS 3381             History of Music I
       		 MUS 3382             History of Music II
       Philosophy Emphasis
       		 Three courses, one of which must be at the 3000- or 4000-level
       Religion Emphasis
       		 Three courses, one of which must be at the 3000- or 4000-level
       Theatre Emphasis
       		 Three courses including:
       		   THE 4513           Theatre History and Literature I
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                                         UNDERGRADUATE PROGRAM REQUIREMENTS                                                                       141



           		 THE 4523                       Theatre History and Literature II
        C. Bachelor of Arts Degree Requirements.................................................................20 hours
        D. Electives........................................................................................................................12 hours
        E. Total.............................................................................................................................124 hours

        INTERACTIVE AND GAME DESIGN
             See Art

        INTERDISCIPLINARY MINORS
            Florida Southern College offers interdisciplinary minors in advertising design, integrated
        marketing communication, Latin American studies, and women’s studies. Please see the appro-
        priate program director for more information.

        Advertising Design
            The Minor in Advertising Design provides students with design practices and creative strat-
        egies needed to excel within the field of advertising design. Hands-on coursework will present
        students with challenges faced in the industry and the skills and knowledge necessary to face
        those challenges.

        Advertising Design Minor Requirements
          ART 1120               Design Fundamentals
          ART 2410               Typography and Layout
          COM 2500               Visual Communication
          COM 3410               Advertising Creative
          COM 4400               Advertising and Public Relations Campaigns
          One of the following courses:
          		 ART 3410            Advanced Print Design
          		 ART 3510            Web Design
        Total hours in the minor ........................................................................................................... 24

        Integrated Marketing Communication Minor
            The Minor in Integrated Marketing Communication blends coursework in marketing, ad-
        vertising and public relations to better prepare students for careers in the professional commu-
        nication industry. Students will gain hands-on experience in gathering and applying research to
        strategically coordinate messages and establish relationships with target audiences.

        Integrated Marketing Communication Minor Requirements
            BUS 3160               Marketing Principles
            BUS 4466               Marketing Research
            BUS 4488               Marketing Management
            COM 2400               Principles of Advertising and Public Relations
            COM 4400               Advertising and Public Relations Campaigns
            One of the following courses:
            		 COM 2500            Visual Communication
            		 COM 3410            Advertising Creative
            		 COM 3420            Copy Writing
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       		 COM 3450          Public Relations Writing
       		 COM 4350          Public Relations Strategies
     Total hours in the minor ........................................................................................................... 24

     Latin American Studies Minor
         The Minor in Latin American Studies provides a comprehensive view of Latin America from
     the perspectives of political science, Spanish and Portuguese literatures, history, sociology, and
     other fields. Students are required to take 20 hours, which include 12 hours in Spanish or Por-
     tuguese or a combination of the two areas. In addition, students are required to take eight hours
     selected from other LAS offerings. Latin American studies minors are strongly encouraged to
     study abroad in Latin America as any courses taken during a study abroad experience can also be
     counted for the minor.

     Latin American Studies Minor Requirements
     12 hours in Spanish or Portuguese or a combination of the two areas
     Eight hours chosen from the following courses or a study abroad option in Latin America:
       LAS 2005             Latin American Culture
       LAS 2006             Latin America on Film I
       LAS 2007             Latin America on Film II
       LAS/SPA 3308         Topics in Hispanic Culture and Civilization
       LAS/SPA 3335         Latin American Film and Fiction
       LAS/HIS 3355         History of Florida
       LAS/HIS 3365         History of Modern Latin America
     Total hours in the minor ........................................................................................................... 20

     Neuroscience Minor
     Neuroscience Minor Requirements
         BIO 1500                         Biology I: Biological Essentials
         BIO 2600                         Introduction to Neuroscience
         PSY 1110                         Psychology and the Natural World
         PSY 3309                         Behavioral Neuroscience
         BIO 3900                         Animal Behavior OR
         BIO 3600                         Special Topics in Biology (approved)
         PSY 3305                         Learning and Behavioral Psychology OR
         PSY 3315                         Cognitive Psychology OR
         PSY 3301                         Special Topics in Psychology (approved)
     Total hours in the minor ........................................................................................................... 24

     Pre-Law Minor
         The pre-law minor covers the basic foundation courses relevant to problem solving and anal-
     ysis generally associated with the legal profession. Students on a trajectory for graduate study
     in law, legal issues, public administration and management will find this a useful minor. It is
     inclusive of courses that prepare the student for LSAT testing (Logic; Accounting) as well as
     socialization to the profession itself.
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                                       UNDERGRADUATE PROGRAM REQUIREMENTS                                                                  143



        Pre-Law Minor Requirements
          ACC 2111                Foundations of Financial Accounting
          COM 1500                Fundamentals of Speech
          PHI 2208                Logic
          POS 2500                Law and the Courts
          One approved writing course outside of the student’s major field of study that satisfies the
          Effective Communication C General Education SLO
          At least one hour of internship credit with a law firm approved by the pre-law advisor
        Total hours in the minor ........................................................................................................... 21

        Women and Gender Studies Minor
             The Minor in Women and Gender Studies minor is 20 credit hours and provides an interdis-
        ciplinary framework for exploring the role of women throughout history and the ways in which
        gender influences cultural, social, political, and economic relations. Students will gain skills in an-
        alytical and critical thinking through the study of gender from diverse academic perspectives, such
        as literature, religion, economics, communication, sociology, psychology, and criminology. Faculty
        members from a number of academic departments support and teach in the women and gender
        studies program. A minor in women and gender studies will complement almost any major field
        of study. Students who complete the minor will enhance their problem-solving, leadership, and
        communication skills.

        Women and Gender Studies Minor Requirements
          WST 2200                Introduction to Women’s and Gender Studies
          WST 3550                Special Topics in Gender Studies
          WST 4400                Women and Gender in Contemporary Culture
          Eight hours selected from the following courses, or any other course cross-listed with WST:
          		 WST/SOC 2220         Marriage and Family
          		 WST/REL 2256         Gender, Interpretation and the Biblical Tradition
          		 WST/ENG 3370         Literature by Women
          		 WST 3550             Special Topics in Gender Studies (under a different topic than above)
        Total hours in the minor ........................................................................................................... 20

        MARINE BIOLOGY
             Marine biology is the study of the organisms that reside in the world’s ocean environments.
        Marine ecosystems cover more than seventy percent of the Earth’s surface, and the diversity of
        life that exists in these environments is astounding. The marine biology major allows students
        to explore the variety of life in the world’s oceans, estuaries, and coral reefs. Graduates of this
        program are well prepared to enter marine biology graduate programs or gain employment as
        marine scientists with county, state, and federal agencies, aquaria/museums, universities, and pri-
        vate marine organizations or consulting firms.

        Statement on Engaged Learning
            The Department of Biology includes many types of engaged learning activities in its courses.
        Most courses required in the major have laboratory or field components, where students work in
        pairs or in groups to engage in various aspects of the scientific process such as problem solving,
        experimental design, manipulation of variables, and data interpretation. Field trips, mini labs,
        small and large group discussions, presentations, case studies, and use of specific scientific com-
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     puter programs are other methods commonly employed in the classroom to engage students. All
     students majoring in marine biology are required to design and implement their own original
     research project.

     Program Requirements
         All marine biology majors must earn a grade of C or better in all BIO courses and courses
     cross-listed with BIO.

     Special Requirements
         Due to the similarities in the programs, students majoring in marine biology are not allowed
     to double major or minor in biology.

     Marine Biology Major Requirements
     A. General Education Requirements.........................................................................40 hours
     B. Major Requirements...........................................................................................72–76 hours
       BIO 1500               Biology I: Biological Essentials
       BIO 1501               Current Perspectives in Biology (FTIC only)
       BIO 1520               Introduction to Marine Biology
       BIO 1600               Biology II: Biological Diversity
       BIO 1820               Oceanography
       BIO 2320               Marine Microbiology
       BIO 2500               Biology III: Ecology and Evolution
       BIO 3700               Genetics
       MAT 2032               Biostatistics
       OR
       MAT 2022               Elementary Statistics AND
       MAT 2027               Transition to Biostatistics
       Choose three (3) of the following (14-15 Hours):
       		 BIO 2120            Biology and Conservation of Marine Mammals
       		 BIO 2220            Biology of the Fishes
       		 BIO 3120            Biology of Amphibians and Reptiles
       		 BIO 3727            Techniques in Nucleic Acid and Cloning Research
       		 BIO 3920            Marine Invertebrate Zoology
       Six hours selected from the following:
       		 BIO 4460            Introduction to Ecology Research AND
       		 BIO 4461/4462       Research: Ecology
       		 OR
       		 BIO 4560            Introduction to Molecular Biology Research AND
       		 BIO 4561/4562       Research: Molecular Biology
       		 OR
       		 BIO 4661/4662       Site Specific Research in Biology (with departmental approval)
       		 OR
       		 HON 4955            Honors Senior Thesis (with departmental approval) AND
       		 HON 4956            Honors Senior Thesis (with departmental approval)
       		 BIO 4960 or 4961 may substitute for one of the above courses, with approval of the Biolo-
          gy faculty
       Choose one of the following chemistry sequences (8 hours):
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                                         UNDERGRADUATE PROGRAM REQUIREMENTS                                                                      145



            		 CHE 1011            Chemical Foundations for the Biological Sciences AND
            		 CHE 1013            Environmental Chemistry Fundamentals
            		 OR
            		 CHE 1111            Principles of Chemistry I AND
            		 CHE 1112            Principles of Chemistry II
            Twelve hours chosen from the following:
            		 BIO 2200            Environmental Issues
            		 BIO 2520            Biological Geography and GIS
            		 BIO 2900            Conservation Biology
            		 BIO 3301            Field Ecology
            		 BIO 3316            Tropical Ecology
            		 BIO/CHE 3362        Biochemistry: Molecular Biology
            		 BIO 3500            Marine Ecosystems Ecology
            		 BIO 3600            Special Topics in Biology (with departmental approval)
            		 BIO 3850            Parasitology
            		 BIO 3900            Animal Behavior
            		 BIO 4150            Plant Anatomy and Physiology
            		 BIO 4461 or 4462 or 4561 or 4562 Research (1 semester)
            		 BIO 4960/4961       Internship

        C. Bachelor of Science Degree Requirements..........................................................12 hours
        D. Electives......................................................................................................................... 0 hours
        E. Total .....................................................................................................................124 - 128 hours

        MATHEMATICS
             The program in mathematics offers the B.A. and B.S. degrees with a major in mathematics
        and the B.S. in Secondary Mathematics Education, 6–12 for students seeking to earn a degree
        teaching mathematics in secondary school. (To teach in secondary school, additional coursework
        leading to teacher certification is required in the School of Education.) A minor in mathematics
        is available for students majoring in other disciplines.
             The mission of the program is to promote the full potential of each student through the ex-
        ploration of the world of mathematics and the mastery of the mathematics discipline necessary
        to be a contributing citizen in this highly technical society.
             To accomplish this mission, the program’s objective is to provide mathematical expertise
        for the Florida Southern community by offering diverse engaging programs that allow students
        the opportunity to explore these fields. Student-faculty collaborative research and internships
        are available for mathematics majors. The program provides up-to-date computer laboratories
        that enable students to learn and practice skills required for the pursuit of a modern liberal arts
        education within our technologically oriented society.

        Education: Secondary Mathematics see page 126
        Progress Requirements
           Only courses in which grades of C or higher are earned may count toward the major or mi-
        nor in mathematics.

        Mathematics Minor Requirements
             Twenty (20) hours selected from MAT courses applicable to the major (may include one 2000-lev-
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     el or higher CSC course). At least one four-hour MAT course must be at the 3000- or 4000-level.

     Applied Mathematics and Statistics Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements............................................................................................52–58 hours
        MAT 2022                          Elementary Statistics OR
        MAT 2032                          Biostatistics
        MAT/CSC 2100                      Discrete Structures
        MAT 2311                          Calculus I with Plane Analytic Geometry
        MAT 2312                          Calculus II with Plane Analytic Geometry
        MAT 3132                          Advanced Statistical Topics
        MAT 4442                          Probability and Statistics
        MAT 4960/4961                     Mathematics Senior Internship
        OR
        MAT 4999                          Mathematics Senior Seminar
        OR
        HON 4955                          Honors Senior Thesis AND
        HON 4956                          Honors Senior Thesis
        12 hours from the following, if not taken above:
        		 One 2000-level CSC course
        		 MAT 2505                       Linear Algebra
        		 MAT 3350                       Differential Equations
        		 MAT 3355                       Coding Theory
        		 MAT 3960                       Field Experience in Mathematics
        		 MAT 4630                       Selected Topics in Mathematics
        		 MAT 4960/4961                  Mathematics Senior Internship
        		 MAT 4999                       Mathematics Senior Seminar
        Choose 12-16 hours from either Group A, B or C
        		 Group A - Actuarial Foundations
        		   ACC 2111                     Foundations of Financial Accounting
        		 ACC 2112                       Foundations of Managerial Accounting
        		 ECO 2010                       Essentials of Economics
        		 MAT 4452                       Preparation for Actuarial Exam P
        Group B – Business and Finance
        		 Choose 12 hours from courses in ACC, BUS, ECO, at least 4 hours of which is 3000-level
           or above
        Group C – Science and Engineering
        		 Choose 12 hours from courses in BIO, CSC, HRT, PHY, at least 4 hours of which is
           3000-level or above
        		 OR
        		 Choose 16 hours from courses in CHE, at least 4 hours of which is 3000-level or above
     C. Bachelor of Arts Degree Requirements.................................................................20 hours
         OR
     D. Bachelor of Science Degree Requirements...........................................................12 hours
     E. Electives....................................................................................................................6–20 hours
     F. Total.............................................................................................................................124 hours
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                                         UNDERGRADUATE PROGRAM REQUIREMENTS                                                                       147



        Mathematics Major Requirements
        A. General Education Requirements..........................................................................40 hours
        B. Major Requirements............................................................................................52–54 hours
           MAT 2022                          Elementary Statistics OR
           MAT 2032                          Biostatistics
           MAT/CSC 2100                      Discrete Structures
           MAT 2311                          Calculus I with Plane Analytic Geometry
           MAT 2312                          Calculus II with Plane Analytic Geometry
           MAT 2505                          Linear Algebra
           MAT 3205                          Proof Techniques
           MAT 3313                          Calculus III with Solid Analytic Geometry
           MAT 4999                          Mathematics Senior Seminar
           OR
           HON 4955                          Honors Senior Thesis AND
           HON 4956                          Honors Senior Thesis
           20 hours from the following, if not taken above:
           		 MAT 3132                       Advanced Statistical Topics
           		 MAT 3305                       Abstract Algebra
           		 MAT 3330                       History of Mathematics
           		 MAT 3350                       Differential Equations
           		 MAT 3355                       Coding Theory
           		 MAT 3960                       Field Experience in Mathematics
           		 MAT 4205                       Algebraic Structures
           		 MAT 4315                       Elementary Analysis
           		 MAT 4442                       Probability and Statistics
           		 MAT 4630                       Selected Topics in Mathematics
           		 MAT 4999                       Mathematics Senior Seminar
        C. Bachelor of Arts Degree Requirements.................................................................20 hours
            OR
        D. Bachelor of Science Degree Requirements...........................................................12 hours
        E. Electives..................................................................................................................10–20 hours
        F. Total.............................................................................................................................124 hours

        MEDICAL LABORATORY SCIENCES
             Florida Southern College’s medical laboratory sciences (MLS) major provides students with
        a Bachelor of Science degree and extensive training for a career as a medical laboratory scientist
        in a four-year program. Medical laboratory scientists play a vital role in the health care system,
        and are involved in medical diagnosis and treatment. They operate and manage clinical labs,
        perform research, and are involved in education and training of lab staff. Students in the MLS
        major gain experience with state of the art automated laboratory equipment, computers and
        microscopes, and learn the proper procedures for clinical tests involving analysis of patient sam-
        ples. MLS majors have extensive backgrounds in basic and advanced sciences, including anatomy
        and physiology, immunology, microbiology, and chemistry. Students must possess the abilities to
        critically analyze results and troubleshoot problems.
             FSC has partnered with Lakeland Regional Health (LRH), the major health care provider
        in the community, to create a unique program where students spend their first three years on
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     the campus of FSC, and their fourth year at LRH clinical labs in the nearby hospital and testing
     facilities. The curriculum follows the strict guidelines set by the National Accrediting Agency for
     Clinical Laboratory Sciences (NAACLS). By the end of the program, students are well prepared
     to take the national certification exam for the Medical Laboratory Scientist administered by the
     American Society for Clinical Pathology Board of Certification.

     Admissions Requirements
        Enrollment in the MLS major is restricted to six students per year. There are three entry path-
     ways into the MLS pre-certification program:

     Direct Entry Applicants
         High school students may apply to the MLS program and begin their education in the first
     year to be completed over a four year time period. To apply for direct entry a student must first
     be admitted to the College and, at minimum, must have an SAT score of 1180 or ACT score of
     24. Enrollment is limited to six students per year. Admission to the program is competitive, and
     a comprehensive review of application materials will determine admittance.
         Students should maintain an overall Florida Southern GPA of 3.0, and have a final grade of C
     or better in all major and prerequisite courses. Students who are unable to maintain the required
     academic standards may be unenrolled from the MLS program.

     Internal Transfer Applicants
         Students currently enrolled at Florida Southern in different majors may apply for a change of
     major into the MLS program. Students must meet all requirements for direct entry, have met or
     will meet all prerequisite course requirements, and have an overall GPA of 3.0 with a C or better
     in all major and prerequisite courses. The dean of the School of Arts and Sciences and the MLS
     director will review all internal applicants and make a final decision for a change in major based
     on merit and available space in the program. There is no guarantee for transfer into the MLS
     major from other majors even if the student meets academic eligibility.
     Note: A student requesting an internal transfer to the MLS major is required to make an appointment
     with the MLS director prior to the conclusion of fall semester. This would be for consideration of the
     transfer request to the MLS major being approved for the following academic year.

     External Transfer Applicants
        To apply for admission to the MLS program, a transfer student must first be admitted to the
     College and, at minimum, should meet the following academic criteria:
        • Overall college GPA of 3.0 for completed courses received as transfer credits.
        • Completion of at least three prerequisite courses including BIO 1500, CHE 1111, and CHE
          1112 all with a grade of C or higher.
         Application deadline for the MLS program is March 1 for the following fall semester. If
     admitted to the MLS program, students should maintain an overall Florida Southern GPA of
     3.0 and a final grade of C or better in all MLS major and prerequisite courses. Students who are
     unable to maintain the required GPA and these eligibility standards may be unenrolled from the
     MLS program.

     Special Requirements
        • All pre-certified MLS students are required to participate in clinical laboratory experiences
          at off-site locations. Each student is responsible for obtaining reliable transportation to the
          clinical laboratory sites. Students may be assigned laboratory rotations on weekends.
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                               UNDERGRADUATE PROGRAM REQUIREMENTS                                          149



           • Each pre-certified MLS student is required to complete a criminal background screening,
             including fingerprinting, prior to starting the first clinical laboratory course. Note: Any
             student with a prior arrest or conviction history may be denied entry into the MLS program
             due to our agency contract agreements. Students who apply to the MLS program with a
             prior criminal background check must be further screened by the program director and
             approved by the dean of the School of Arts and Sciences and the MLS Program Direc-
             tor prior to acceptance into the MLS pre-certification program. Failure to disclose prior
             criminal history on application or report any subsequent criminal arrest after enrollment
             at Florida Southern College to the dean of the School of Arts and Sciences and the MLS
             Program Director may disqualify the student from the MLS program.
           •Each MLS student is required to complete a ten-panel drug screen prior to starting the first
             clinical laboratory experience. Any student may be requested to repeat the urine drug
             screen as required by any clinical site or as part of a drug testing program. The cost of the
             background check and drug screenings is the responsibility of the student. Note: Students
             who have a positive drug test may be denied acceptance into the MLS program or be unenrolled
             from the MLS program.
           • A blanket student liability insurance policy will cover all MLS students for the time he or
             she is working in a clinical site as part of a supervised laboratory experience. The student
             will be billed the annual fee (estimate $20).
           • Each MLS student is required to apply for and obtain a trainee license with the state prior
             to beginning the first clinical rotation.
           • Each MLS student is required to provide proof of immunization prior to entering any
             clinical laboratory. The following are required

             a) Mantoux tuberculin test (2-step method if more than one year has passed since the last
             Mantoux tuberculin test)
             b) Measles/Mumps/Rubella (MMR) titers
             c) Hepatitis B titer
             d) Hepatitis C titer
             e) Varicella titer
             f) Pertussis (Tdap booster within past 10 years) vaccination record
             g) Tetanus booster every 10 years
             h) Annual flu vaccine
             i) Health statement of physical fitness from health care provider stating student may partic-
                ipate in clinical experience assignments
           • The student is responsible for all related costs for immunization. No student will
              be allowed to begin clinical laboratory experiences until all immunizations or proof of
              immunity (titers) has been submitted to the MLS director.
           • Students who have positive antibodies for Hepatitis C or HIV or other chronic infective dis-
              eases that may compromise patient safety, must be further screened and counseled. Because
              students will have direct contact with patients during the course of their clinical assign-
              ments in hospitals and other care settings, specific safeguards or other restrictions to practice
              may be imposed on the student to protect patients and themselves. The clinical agencies will
              have final say whether infected students can practice or attend clinical assignments.

        Progress Requirements
            All MLS majors must earn a grade of C or better in all required coursework for the major and
        maintain a minimum GPA of 3.0 each semester. Failure to meet these criteria may result in students
        being unenrolled from the MLS program. Because MLS students will participate in direct patient
        contact in hospitals and other health care settings, there is an expectation of a high standard of con-
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     duct and professional behavior for all students. Students who do not maintain the expected level of
     academic and professional performance may be unenrolled from the MLS program.

     Medical Laboratory Science Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements.............................................................................................82-85 hours
        BIO 1500                            Biology I: Biological Essentials
        BIO 1501                            Current Perspectives in Biology (FTIC only)
        BIO 2215                            Human Anatomy and Physiology I
        BIO 2216                            Human Anatomy and Physiology II
        BIO/CHE 3362                        Biochemistry: Molecular Biology
        BIO 3710                            Microbiology
        BIO 3850                            Parasitology
        BIO 4300                            Immunology
        CHE 1111                            Principles of Chemistry I
        CHE 1112                            Principles of Chemistry II
        CHE 2231                            Organic Chemistry I
        CHE 2251                            Organic Chemistry I Laboratory
        CHE 2232                            Organic Chemistry II
        CHE 2252                            Organic Chemistry II Laboratory
        MAT 2032                            Biostatistics
        OR
        MAT 2022                            Elementary Statistics AND
        MAT 2027                            Transition to Biostatistics
        MLS 3100                            Introduction to Clinical Laboratory Sciences
        MLS 3200                            Clinical Chemistry and Immunology
        MLS 3300                            Phlebotomy
        MLS 4100                            Clinical Hematology
        MLS 4200                            Clinical Immunohematology
        MLS 4300                            Clinical Hemostasis, Urinalysis and Body Fluids
        MLS 4400                            Clinical Microbiology
        MLS 4500                            Molecular Pathology Methods
        MLS 4800                            Medical Laboratory Science Practicum
        MLS 4900                            Medical Laboratory Science Capstone
     C. Bachelor of Science Degree Requirements ........................................................... 12 hours
     D. Electives........................................................................................................................... 0 hours
     E. Total........................................................................................................................134-137 hours

     MILITARY SCIENCE
          The Department of Military Science offers leadership courses with two-, three-, and four-
     year programs of instruction leading to a commission as an officer in the United States Army.
     The MSL 1000- and 2000-level courses offer introductory leadership instruction to all students
     without incurring any military or service obligation. These courses are an excellent introduction
     to leadership techniques that are applicable for business, academia, and the military. The military
     science and leadership curriculum is designed to be sequential, with one semester building upon
     the lessons and information learned in the previous semester.
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             Qualified students who wish to pursue a program of study leading to a commission may be
        eligible to receive a monthly stipend. A limited number of military scholarships are available each
        year which provide financial assistance, full tuition, as well as financial assistance for book fees and
        full room and board. Upon successful completion of the required program of study, students are
        commissioned as Second Lieutenants in the Army, Army Reserve, or Army National Guard.

        Minor in Military Science and Leadership
            The minor helps students acquire leadership and management skills that prepare them to
        excel in any environment, civilian or military. Emphasis is placed on strengthening values and
        ethical leadership. The minor provides the student a fundamental understanding of human
        behavior and the process of leading, motivating, and inspiring people to accomplish common
        goals. Students develop their mental, physical, and emotional capabilities. They also develop
        their conceptual and interpersonal skills. Also, they learn how to communicate effectively;
        make good decisions; motivate others; plan, execute, and assess operations; develop and build
        teams; and improve themselves and the organizations they lead. The student learns basic fac-
        tors, principles, ethics, styles, and competencies of leadership that affect what he/she must be,
        know, and do to be an effective leader. It is the most comprehensive leadership development
        program in the nation.

        Military Science and Leadership Minor Requirements
          MSL 1001             Introduction to the Army and Critical Thinking
          MSL 1002             Introduction to the Profession Arms
          MSL 2001             Leadership and Decision Making
          MSL 2002             Army Doctrine and Team Development
          MSL 2006             American Military History
          MSL 3001             Training Management and the Warfighting Functions
          MSL 3002             Applied Leadership in Small Unit Operations
          MSL 4001             The Army Officer
          MSL 4002             Company Grade Leadership
        Total hours in the minor ........................................................................................................... 28

        MODERN LANGUAGES
             The Department of Modern Languages offers a major and minor in Spanish and provides
        courses in French for students interested in it as a second language. The program equips students
        with the necessary foreign language skills, cultural understanding, and sensitivity to prepare
        them for graduate studies, employment, and to function in our increasingly global and diverse
        society. The program provides high quality instruction from elementary through advanced lev-
        els and offers a wide variety of courses in language, literature, film, and culture, as well as study
        abroad experiences to accommodate students’ needs. The program strives to ensure that FSC
        students gain a working knowledge of a second language, which is a vital and practical skill for
        many careers in business, education, social services, health care, and the government.
             The modern languages department also offers a Critical Languages Program via the NASILP
        (National Association of Self-Instructional Language Programs) format for languages that are
        not offered in the regular classroom setting. Courses in Arabic, Chinese (Mandarin), German,
        and Portuguese are currently being offered. Major emphasis is on the development of oral and
        aural skills with class time spent in oral drills and conversation practice with a native speaker.
        Class is conducted almost entirely in the target foreign language. Tests are given by a qualified
        external examiner.
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         Students participating in the Critical Languages Program must have a cumulative GPA of at
     least 2.5 or approval from the program director. Prior to the first class, students will be required
     to attend a class orientation with the program director and sign a course agreement emphasizing
     their responsibility for and commitment to self-instruction. For more information about the
     Critical Languages Program, contact the modern languages department.

     Spanish Minor Requirements
           A minor in Spanish requires at least 20 hours of courses counting toward the major.

     Spanish Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements..................................................................................................38 hours
        SPA 1101                          First Semester Spanish
        SPA 1102                          Second Semester Spanish
        SPA 2203                          Second Year Spanish
        SPA 4999                          Senior Capstone Project
        At least one Composition and Conversation course:
        		 SPA 2205                       Composition and Conversation I
        		 SPA 2207                       Composition and Conversation II
        One Culture and Civilization course:
        		 SPA/LAS 3308                   Topics in Hispanic Culture and Civilization
        One Literature course:
        		 SPA 3320                       Introduction to Literature in Spanish
        		 SPA 3323                       Survey of Spanish Literature
        		 SPA 3334                       Survey of Spanish-American Literature
        		 SPA/LAS 3335                   Latin American Film and Fiction
        		 SPA 4408                       Special Topics in Hispanic Literature
        12 additional hours of Spanish electives from any SPA course not taken already.
     C. Bachelor of Arts Degree Requirements.................................................................20 hours
     D. Electives........................................................................................................................26 hours
     E. Total.............................................................................................................................124 hours

     MUSIC
         The Department of Music offers courses of instruction leading to the Bachelor of Music de-
     gree, Bachelor of Music Education degree, and Bachelor of Arts degree. A program in music with
     a concentration in music management, which the department offers in conjunction with the
     Barney Barnett School of Business and Free Enterprise, leads to the Bachelor of Science degree.
     Florida Southern College is an accredited institutional member of the National Association of
     Schools of Music.

     Admission Requirements
          Upon application to and acceptance by the Florida Southern College Office of Admissions,
     a student may be accepted into the music major program only through an audition in his or
     her applied music area. Auditions are offered throughout the school year on an appointment
     basis. Applicants should contact the department office for procedures which apply to them. All
     programs of study in music are structured in four-year formats; therefore, students intending to
     major in any music area should consult the department concerning appropriate courses for the
     first college semester.
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        Progress Requirements
            All music majors with scholarships must be enrolled in a major ensemble in their major ap-
        plied area throughout their program of study (music education majors and music management
        majors until the internship semester). Music majors are subject to supplementary departmental
        policies printed in the Department of Music Student Policies Guide, available on the FSC website and
        from the department office. Prior to four semesters before a student’s scheduled graduation, the de-
        partment will require a control examination, jury, or other procedure to determine the advisability
        of continuing the major in music. Although it may be required at any time, such examination or
        procedure will typically be instituted near the end of the freshman or sophomore year.

        Minor in Music
            The Minor in Music provides students majoring in other disciplines with the opportunity to
        learn the fundamental principles of music. Courses are selected from music theory, music history,
        ensembles, and applied lessons.

        Music Minor Requirements
          Music Theory: Five hours:
          		 MUS 1151          Aural Skills I
          		 MUS 1152          Aural Skills II
          		 MUS 1173          Theory: Introductory Harmony
          Music History: Four hours:
          		 MUS 3381          History of Music I OR
          		 MUS 3382          History of Music II
          Applied–Lessons: Six hours chosen from:
          		 MUS 1131–4432     Strings (violin, viola, cello, string bass)
          		 MUS 1133–4434     Piano
          		 MUS 1135–4436     Woodwinds (flute, clarinet, oboe, bassoon, saxophone)
          		 MUS 1137–4438     Brass (trumpet, French horn, trombone, tuba)
          		 MUS 1139–4440     Percussion
          		 MUS 1143–4444     Voice
          		 MUS 1147–4448     Classical Guitar
          Ensemble: Five hours chosen from:
          		 MUS 1101–4402     Chamber Singers
          		 MUS 1103–4404     Women’s Chorale
          		 MUS 1105–4406     Men’s Chorale
          		 MUS 1109–4410     Concert Choir
          		 MUS 1111–4412     Symphony Band
          		 MUS 1121–4422     Orchestra
        Total hours in the minor ........................................................................................................... 20

        Bachelor of Arts in Music
            The Bachelor of Arts in Music provides a student with a liberal arts education with an em-
        phasis in applied music, enabling the student to teach applied music privately and/or to enter
        graduate school for more specialized studies. Through study in an applied music area, students
        develop and apply skills in their primary instrument or voice. Studies in theory, music history,
        and piano proficiency enable students to explore and express the structure of music and the
        historical context of musical genres. In chamber and large-scale ensemble experiences, students
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     learn to collaborate with one another, musical coaches, and/or conductors in the analysis, prepa-
     ration and performance of significant works of music. Students in this degree program must
     satisfy the B.A. requirements of the General Education curriculum.

     Music (B.A.) Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements............................................................................................48–60 hours
       Music Theory: 16 hours:
       		 MUS 1151              Aural Skills I
       		 MUS 1152              Aural Skills II
       		 MUS 1173              Theory: Introductory Harmony
       		 MUS 2251              Aural Skills III
       		 MUS 2252              Aural Skills IV
       		 MUS 2271              Theory: Advanced Harmony I
       		 MUS 2272              Theory: Advanced Harmony II
       		 MUS 3371              Theory: Form and Analysis
       Music History: Eight hours:
       		 MUS 3381              History of Music I
       		 MUS 3382              History of Music II
       Conducting: Two hours:
       		 MUS 3386              Fundamentals of Conducting I
       Applied–Piano Proficiency (non-piano majors): 0-4 hours:
       		 MUS 133C–234C Keyboard Musicianship I–IV or by performance examination
       Applied Lessons and Recitals: 14 hours from the principal instrument (one hour required
          from MUS 4490)
       		 MUS 1131–4432         Strings (violin, viola, cello, string bass)
       		 MUS 1133–4434         Piano
       		 MUS 1135–4436         Woodwinds (flute, clarinet, oboe, bassoon, saxophone)
       		 MUS 1137–4438         Brass (trumpet, French horn, trombone, tuba)
       		 MUS 1139–4440         Percussion
       		 MUS 1143–4444         Voice
       		 MUS 1147–4448         Classical Guitar
       		 MUS 4490              Senior Recital
       Ensemble: 8–16 hours:
        At least five ensemble hours must be chosen from the following major ensembles:
       		 MUS 1101–4402         Chamber Singers
       		 MUS 1103–4404         Women’s Chorale
       		 MUS 1105–4406         Men’s Chorale
       		 MUS 1109–4410         Concert Choir
       		 MUS 1111–4412         Symphony Band
       		 MUS 1117–4418         Wind Ensemble
       		 MUS 1121–4422         Orchestra
        Three additional hours must be chosen either from the major ensembles listed above or the
          chamber ensembles listed below:
       		 MUS 1107–4408         Opera Theatre
       		 MUS 1113–4414         Jazz Ensemble
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           		 MUS 1119–4420                  Piano Ensemble (two hours required for piano majors)
           		 MUS 1123–4424                  Chamber Ensemble (variable selections)
        C. Bachelor of Arts Degree Requirements.................................................................20 hours
        D. Electives....................................................................................................................4–16 hours
        E. Total.............................................................................................................................124 hours

        Bachelor of Music in Performance
            The Bachelor of Music in Performance enables a student to enter a graduate school for fur-
        ther study, teach applied music privately, and/or enter a professional career in music performance.
        Through comprehensive studies in their applied music areas, students develop and apply ad-
        vanced skills on their primary instrument or voice. With studies in theory, music history, and
        piano proficiency, students explore the structure of music and the historical context of musical
        genres. In chamber and large-scale ensemble experiences, students learn to collaborate with one
        another, with musical coaches, and/or with conductors in the analysis, preparation and perfor-
        mance of significant works of music.

        Bachelor of Music in Performance Major Requirements
        A. General Education Requirements..........................................................................40 hours
        B. Major Requirements............................................................................................70–82 hours
          Music Theory: 16 hours:
          		 MUS 1151            Aural Skills I
          		 MUS 1152            Aural Skills II
          		 MUS 1173            Theory: Introductory Harmony
          		 MUS 2251            Aural Skills III
          		 MUS 2252            Aural Skills IV
          		 MUS 2271            Theory: Advanced Harmony I
          		 MUS 2272            Theory: Advanced Harmony II
          		 MUS 3371            Theory: Form and Analysis
          Music History: Eight hours:
          		 MUS 3381            History of Music I
          		 MUS 3382            History of Music II
          Conducting: Two hours:
          		 MUS 3386            Fundamentals of Conducting I
          Six hours chosen from one of the tracks below:
          		 Vocal Track				                                     Instrumental Track
          		 MUS 1185            German Diction                  MUS 3372                        Theory: Counterpoint OR
          		 MUS 1186            Italian Diction                 MUS 4471                        Orchestration
          		 MUS 1187            French Diction                  Four additional hours of music electives
          		 Three additional hours of music electives		
          Applied–Piano Proficiency (non-piano majors): 0-4 hours:
          		 MUS 133C–234C Keyboard Musicianship I–IV or by performance examination
          Applied Lessons and Recitals: 22 hours from the principal instrument (one hour required
             from MUS 3390 and one hour required from MUS 4490)
          		 MUS 1131–4432       Strings (violin, viola, cello, string bass)
          		 MUS 1133–4434       Piano
          		 MUS 1135–4436       Woodwinds (flute, clarinet, oboe, bassoon, saxophone)
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       		 MUS 1137–4438                   Brass (trumpet, French horn, trombone, tuba)
       		 MUS 1139–4440                   Percussion
       		 MUS 1143–4444                   Voice
       		 MUS 1147–4448                   Classical Guitar
       		 MUS 3390                        Junior Recital
       		 MUS 4490                        Senior Recital
       Ensemble: 8–16 hours:
        At least five ensemble hours must be chosen from the following major ensembles:
       		 MUS 1101–4402                   Chamber Singers
       		 MUS 1103–4404                   Women’s Chorale
       		 MUS 1105–4406                   Men’s Chorale
       		 MUS 1109–4410                   Concert Choir
       		 MUS 1111–4412                   Symphony Band
       		 MUS 1117–4418                   Wind Ensemble
       		 MUS 1121–4422                   Orchestra
        Three additional hours must be chosen either from the major ensembles listed above or the
          chamber ensembles listed below:
       		 MUS 1107–4408                   Opera Theatre
       		 MUS 1113–4414                   Jazz Ensemble
       		 MUS 1119–4420                   Piano Ensemble (two hours required for piano majors)
       		 MUS 1123–4424                   Chamber Ensemble (variable selections)
       Language Requirements: Eight hours
        To be fulfilled through the modern language department’s offerings (German, Italian or
          French preferred.)
     C. Electives....................................................................................................................2–14 hours
     D. Total.............................................................................................................................124 hours

     Bachelor of Music Education
         Approved by the Florida Department of Education to satisfy the educational requirements
     for the baccalaureate degree and initial teacher certification in Florida, the Bachelor of Music
     Education degree prepares a student to enter a professional teaching career in the K–12 setting,
     vocal, instrumental, and general music. Through a rigorous and comprehensive music education
     curriculum that includes courses in conducting, pedagogy, and technology, extensive field studies
     as well as professional education courses, students learn to structure and apply music for mean-
     ingful and effective class and ensemble instruction. Students must earn a grade of C or better in
     all music education, professional education, and conducting courses.

     Bachelor of Music Education Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements..........................................................................................95–106 hours
                                                                                                                   *(97–108 Voice)
       Music Theory: 16 hours:
       		 MUS 1151         Aural Skills I
       		 MUS 1152         Aural Skills II
       		 MUS 1173         Theory: Introductory Harmony
       		 MUS 2251         Aural Skills III
       		 MUS 2252         Aural Skills IV
       		 MUS 2271         Theory: Advanced Harmony I
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         		 MUS 2272             Theory: Advanced Harmony II
         		 MUS 3371             Theory: Form and Analysis
         Music History: Eight hours:
         		 MUS 3381             History of Music I
         		 MUS 3382             History of Music II
         Conducting: Four hours:
         		 MUS 3386             Fundamentals of Conducting I
         		 MUS 3387             Fundamentals of Conducting II
         Music Education: 12 hours: 		
         		 MUS 2275             Strings Pedagogy
         		 MUS 2276             Woodwind Pedagogy
         		 MUS 2277             Choral Pedagogy
         		 MUS 3375             Brass Pedagogy
         		 MUS 3376             Percussion Pedagogy
         		 MUS 4476             Elementary Methods and Materials
         		 MUS 4477             Secondary Methods and Materials
         		 MUS 4889             Music Education Seminar
         Applied–Piano Proficiency (non-piano majors): 0–4 hours:
         		 MUS 133C–234C Keyboard Musicianship I-IV or by performance examination
         Applied Lessons and Recitals: 14 hours from the principal instrument (one hour required
            from MUS 4490)
         		 MUS 1131–4432        Strings (violin, viola, cello, string bass)
         		 MUS 1133–4434        Piano
         		 MUS 1135–4436        Woodwinds (flute, clarinet, oboe, bassoon, saxophone)
         		 MUS 1137–4438        Brass (trumpet, French horn, trombone, tuba)
         		 MUS 1139–4440        Percussion
         		 MUS 1143–4444        Voice
         		 MUS 1147–4448        Classical Guitar
         		 MUS 4490             Senior Recital
          Ensemble: 7–14 hours:
         At least five ensemble hours must be chosen from the following major ensembles:
         		 MUS 1101–4402        Chamber Singers
         		 MUS 1103–4404        Women’s Chorale
         		 MUS 1105–4406        Men’s Chorale
         		 MUS 1109–4410        Concert Choir
         		 MUS 1111–4412        Symphony Band
         		 MUS 1117–4418        Wind Ensemble		
         		 MUS 1121–4422        Orchestra
         Two additional hours must be chosen either from the major ensembles listed above or the
            chamber ensembles listed below:
         		 MUS 1107–4408        Opera Theatre
         		 MUS 1113–4414        Jazz Ensemble
         		 MUS 1119–4420        Piano Ensemble (two hours required for piano majors)
         		 MUS 1123–4424        Chamber Ensemble (variable selections)
         Professional Education: 34 hours:
         		 EDU 1107             Foundations of Education I
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       		 EDU 2200                        Field Study Level I
       		 EDU 2203                        Foundations of Education II
       		 EDU 2210                        Foundations in Special Education
       		 EDU 2235                        Methods of Assessment
       		 EDU 3279                        Foundations of ESOL I
       		 EDU 3323                        Field Study Level II
       		 EDU 3333                        Foundations of Education III
       		 EDU 4454                        Special Methods in Education
       		 EDU 4457                        Reading and Writing in the Content Areas in the Secondary School
       		 EDU 4889                        Student Teacher Intern Seminar
       		 EDU 4990                        Senior Internship
       *Other requirements for voice concentration majors only: Two hours:
       		 *MUS 1185                       German Diction for Applied Voice
       		 *MUS 1186                       Italian Diction for Applied Voice
     C. Electives.......................................................................................................................... 0 hours
     D. Total.....................................................................................................................135–146 hours
                                                                                                                                 *(137–148 Voice)

     Bachelor of Science in Music with a Concentration in
     Music Management
         The Bachelor of Science in Music with a Concentration in Music Management is an inter-
     departmental degree program that provides a student with a carefully selected combination
     of music, economics, and business courses that enable the student to enter a career in music
     business: music retail, music marketing, artist management, hall management, music publish-
     ing, record production (non-technical), and similar areas. Through studies in applied music,
     music theory, music history, and ensemble, students gain insight about the challenges and
     demands of music study and performance. Studies in business and economics provide students
     with a foundation in business administration that serves to prepare them for the pursuit of a
     professional music business career. The final semester of study will culminate in a music man-
     agement internship. Students in this degree program must satisfy the B.S. requirements of the
     General Education curriculum.

     Music (B.S.) with a Concentration in Music Management Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements............................................................................................ 85-92 hours
         Music Theory: Nine hours:
         		 MUS 1151          Aural Skills I
         		 MUS 1152          Aural Skills II
         		 MUS 1173          Theory: Introductory Harmony
         		 MUS 2251          Aural Skills III
         		 MUS 2271          Theory: Advanced Harmony I
         Music History: Twelve hours:
         		 MUS 1164          History of Jazz
         		 MUS 3381          History of Music I
         		 MUS 3382          History of Music II
         Keyboard Musicianship: Four hours (non-piano majors):
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           		 MUS 133C                       Keyboard Musicianship I
           		 MUS 134C                       Keyboard Musicianship II
           		 MUS 233C                       Keyboard Musicianship III
           		 MUS 234C                       Keyboard Musicianship IV
           Note: Students testing out of Keyboard Musicianship classes will take a comparable number
           of credits in Applied Piano in addition to the required seven hours of Applied Lessons.
           Applied Lessons: Seven hours from the principal instrument:
           		 MUS 1131–4432                  Strings (violin, viola, cello, string bass)
           		 MUS 1133–4434                  Piano
           		 MUS 1135–4436                  Woodwinds (flute, clarinet, oboe, bassoon, saxophone)
           		 MUS 1137–4438                  Brass (trumpet, French horn, trombone, tuba)
           		 MUS 1139–4440                  Percussion
           		 MUS 1143–4444                  Voice
           		 MUS 1147–4448                  Classical Guitar
           Ensembles: 7–14 hours:
            At least five hours must be chosen from the following ensembles:
           		 MUS 1101–4402                  Chamber Singers
           		 MUS 1103–4404                  Women’s Chorale
           		 MUS 1105–4406                  Men’s Chorale
           		 MUS 1109–4410                  Concert Choir
           		 MUS 1111–4412                  Symphony Band
           		 MUS 1117–4418                  Wind Ensemble
           		 MUS 1121–4422                  Orchestra
           Two additional hours must be chosen either from the major ensembles listed above or the
              chamber ensembles listed below:
           		 MUS 1107–4408                  Opera Theatre
           		 MUS 1113–4414                  Jazz Ensemble
           		 MUS 1119–4420                  Piano Ensemble (two hours required for piano majors)
           		 MUS 1123–4424                  Chamber Ensemble (variable selections)
           Business and Music Management: 46 hours:
           		 ACC 2111                       Foundations of Financial Accounting
           		 ACC 2112                       Foundations of Managerial Accounting
           		 BUS 1105                       Personal Finance
           		 BUS 2217                       Principles of Management
           		 BUS 3160                       Marketing Principles
           		 BUS 3311                       Legal Environment of Business
           		 ECO 2010                       Essentials of Economics		
           		 MUS 2253                       Introduction to Music Business
           		 MUS 2255                       Music Product and Retailing
           		 MUS 3359                       Music Management
           		 MUS 4461                       Internship Seminar
              MUS 4462                       Music Management Internship
        C. Bachelor of Science Degree Requirements...........................................................12 hours
        D. Electives.......................................................................................................................... 0 hours
        E. Total......................................................................................................................137-144 hours
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     NURSING
         Florida Southern College offers four separate programs in nursing. They are: (1) BSN (Pre-li-
     censure), (2) BSN (RN-to-BSN) and (3) MSN and (4) DNP. The baccalaureate degree programs in
     nursing and the master’s degree program in nursing at Florida Southern College are accredited
     by the Commission on Collegiate Nursing Education, 655 K Street, NW, Suite 750, Washington,
     DC 20001, 202-887-6791.

     BSN (Pre-licensure)–Day Program
         The BSN program prepares students for a career in nursing. Upon graduation, students are
     qualified to apply to take the National Council Licensure Exam for RNs (NCLEX-RN) to obtain
     licensure as a registered nurse (RN), which allows them to practice in many different roles across
     a wide variety of health care settings such as hospitals, clinics, home care, hospice or other ad-
     ministrative or educational settings. The BSN curriculum includes general education and prereq-
     uisite courses to support the student’s health care focus. Nursing courses begin in the freshman
     year with initial clinical practice commencing in the sophomore year. In the junior and senior
     years of the BSN program, students take a variety of clinical courses such as pediatrics, obstetrics,
     adult health, psychiatric and community health nursing. Students participate in clinical simu-
     lation laboratories during the course of study and have a wide range of transition-to-practice
     internship practicum opportunities in the senior year of the program. Students may also partic-
     ipate in the nursing focused junior journey trips to domestic and international locations, where
     they may engage in health care and nursing activities under the supervision of a nursing faculty
     member.

     Admission Requirements
         There are three entry pathways into the BSN pre-licensure program:
         Direct entry applicants: High school students may apply to the BSN program and begin
     their nursing education in the freshman year to be completed over a four year time period. In
     order to apply for direct entry a student must first be admitted to the College and, at minimum,
     should meet the academic criteria which follow. Admission to the program is competitive, and a
     comprehensive review of application materials will determine admittance.
         Criteria for direct entry:
        • Academic GPA of 3.25 AND
        • 1100 SAT (M+CR) OR
        • 22 ACT
          Students offered a direct entry seat are admitted provisionally for the first year. Provided that
     they complete all course requirements, including the required first year nursing courses (NUR
     1105 and NUR 1106), with a GPA of 3.0 or better, and complete all prerequisite courses with
     a grade of C or better, students do not need to re-apply to the BSN program. In all subsequent
     years, students must maintain an overall Florida Southern GPA of 3.0, and have a final grade of
     C or better in all BSN major and prerequisite courses. Students who are unable to maintain the
     required GPA and these stated standards may be unenrolled from the BSN program (but may
     still be eligible to remain at the College).
          Internal transfer applicants: While there are very limited spaces available for internal
     transfers, students currently enrolled at Florida Southern in different majors may apply for a
     change of major into the BSN program. Students must meet all requirements for direct entry,
     have met or will meet all prerequisite course requirements, and have an overall GPA of 3.0 and
     a C or better in all prerequisite courses. The dean of the School of Nursing and Health Sciences
     will review all internal applicants and make a final decision for a change in major based on merit
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        and available space in the program. There is no guarantee for transfer into the BSN major from
        other majors even if the student meets academic eligibility. Students who are accepted for inter-
        nal transfer must take NUR 1105 the next time the course is offered.
        Note: A student requesting an internal transfer to the nursing major is required to make an appointment
        with the BSN Director prior to the conclusion of fall semester to be considered for admission to the nurs-
        ing major for the following academic year. The student will bring an essay discussing personal reasons for
        requesting the internal transfer into the nursing program. During this meeting the following admission
        criteria will be reviewed: (1) Student essay, (2) overall GPA of 3.0 for all completed courses, (3) spring
        course enrollment into NUR 1106, (4) and completion of freshmen level prerequisite courses with a grade
        of C or higher prior to the sophomore fall semester. Students will be evaluated on the above criteria and
        admitted based on availability within the program.
             External transfer applicants: In order to apply for admission to the BSN program, a trans-
        fer student must first be admitted to the College and, at minimum, should meet the following
        academic criteria:
            • Overall college GPA of 3.0 for completed courses received as transfer credits;
           • Completion of the prerequisite courses BIO 2215, BIO 1000 or BIO 1500, and Chem 1011,
             all with a grade of C or higher;
           • Additional requirements dependent on placement within the nursing major.
           Application deadline for the BSN program is March 1 for the following fall semester. Stu-
        dents accepted for internal transfer will take NUR 1105 and 1106 concurrent with other nursing
        courses. If admitted to the BSN program, students should maintain an overall Florida Southern
        GPA of 3.0 and a final grade of C or better in all BSN major and prerequisite courses. Students
        who are unable to maintain the required GPA and these eligibility standards may be unenrolled
        from the BSN program.

        Special Requirements
           • All pre-licensure BSN students are required to participate in clinical education experiences
             at off-site locations. Each BSN student is responsible for obtaining reliable transportation
             to the clinical sites. Students may be assigned clinical rotations on weekends and evenings.
           • Each pre-licensure BSN student is required to complete a criminal background screening
             including finger printing prior to starting the first clinical course. NOTE: Any student with
             a prior arrest or conviction history may be denied entry into the BSN program due to our agency
             contract agreements or may be denied licensure as a registered nurse per Florida Statue 464 (Nurse
             Practice Act). Students who apply to the BSN program with a prior criminal record must be further
             screened by the program director and approved by the dean prior to acceptance into the BSN pre-li-
             censure program. Failure to disclose prior criminal history on application or report any subsequent
             criminal arrest after enrollment at Florida Southern College to the dean of the School of Nursing
             and Health Sciences may disqualify the student from the BSN program.
           • Each nursing student is required to complete a ten-panel drug screen prior to starting the
             first clinical. Any student may be requested to repeat the urine drug screen as required by any
             clinical site or as part of a drug testing program. The cost of the background check and drug
             screenings is the responsibility of the student. Note: Students who have a positive drug test may
             be denied acceptance into the BSN program or be unenrolled from the BSN program.
           • A blanket student nursing liability insurance policy will cover all nursing students for the
             time he or she is providing patient care as part of a supervised clinical education experience.
             The cost (estimate $23 per year) will be included in the nursing fee charged each semester.
           • All BSN students must have a current adult and pediatric BLS certification with A.E.D. and
             maintain certification though the end of the program of study.
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       • The following are required:
       a) Tuberculosis testing: A negative 2 step TB skin test (administered 1-3 weeks apart) OR Neg-
          ative TB blood test (lab report required)
       b) Measles/Mumps/Rubella (MMR) immunization or-positive titer
       c) Hepatitis B immunization or positive titer
       d) Hepatitis C (HCV) antibody test; follow-up testing if/as required
       e) Varicella immunization or positive titer
       f) Pertussis (TDAP) immunization
       g) Tetanus booster every 10 years
       h) Annual flu vaccine
       i) Health statement of physical fitness from health care provider stating student may partic-
          ipate in clinical experience assignments. Any restrictions must be outlined and include a
          reasonable plan for accommodation.
       j) Affidavit of Good Moral Character (notarized in the state of FL)

        • The student is responsible for all related costs for immunization. No student will be allowed
          to begin clinical experiences until all clinical requirements have been submitted.
        • Students who have positive antibodies for Hepatitis C or HIV or other chronic infective dis-
          eases that may compromise patient safety, must be further screened and counseled. Because
          students will have direct contact with patients during the course of their clinical assignments
          in hospitals and other care settings, specific safeguards or other restrictions to practice may
          be imposed on the student to protect patients and themselves. The clinical agencies will have
          final say whether infected students can practice or attend clinical assignments.
        • Students are required to complete the online OSHA and HIPPA training modules prior to
          entering the clinical agency.

     Technical Standards
         FSC nursing programs provide the following description of technical standards to inform
     prospective and enrolled students of the technical standard requirements for completing the
     nursing programs. These standards are not requirements for admission to the program and the
     examples provided are not all-inclusive. Students and prospective students should review these
     standards and assess their own ability to be successful in completing the program. Key areas
     for technical standards in nursing include having abilities and skills in the following areas: 1)
     observation, 2) communication, 3) motor, 4) cognitive, and 5) behavioral/social. Technological
     compensation can be made for some disabilities in certain areas, but a candidate should be able
     to perform in a reasonably independent manner and exercise independent judgment.

     Observation
         The candidate must be able to observe demonstrations and participate in didactic courses
     and simulated learning opportunities. A candidate must be able to observe a patient accurately
     at a distance and close at hand. Observation requires the use of common sense, as well as the
     functional use of the senses of vision, audition, olfaction, and palpation.

     Communication
         Candidates must communicate effectively using English in clinical and classroom settings.
     A candidate must be able to elicit information from patients, describe changes in mood, activity
     and posture, and perceive nonverbal communications. A candidate must be able to communicate
     effectively and sensitively with patients. Communication includes not only speech, but reading
     and writing. The candidate must be able to communicate effectively and efficiently with all mem-
     bers of the health care team in both immediate and recorded modes.
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        Motor
            Candidates should have sufficient motor function to elicit information from patients by pal-
        pation, auscultation, percussion and other assessment techniques. A candidate should be able to
        perform nursing skills requiring the use of gross and fine motor skills (e.g. IV insertion, venous
        blood draw, urinary catheter insertion). A candidate should be able to execute motor movements
        reasonably required to provide nursing care and emergency response to patients. Examples of
        emergency responses reasonably required of nurses are cardiopulmonary resuscitation, medi-
        cation administration, and application of pressure to stop bleeding. Candidates must perform
        actions which require the use of both gross and fine muscular movements, equilibrium, and
        functional use of the senses of touch and vision. Candidates should also be able to assist and/or
        participate in various lifting activities.

        Conceptual-Integrative
            These abilities include measurement, calculation, reasoning, analysis, synthesis, and retention
        of complex information. Critical thinking requires all of these intellectual abilities in order to
        provide optimal nursing care. In addition, the candidate should be able to comprehend three-di-
        mensional relationships and to understand the spatial relationships of structures.

        Behavioral-Social
            Candidates must possess the emotional health required for the full use of their intellectual
        abilities, the exercise of good judgment, the prompt completion of all responsibilities attendant
        to the care of patients, and the development of mature, sensitive, and effective relationships with
        patients. Candidates must be able to tolerate physically taxing workloads and to function effec-
        tively under stress in the classroom and clinical area. They must be able to adapt to changing
        environments, display flexibility, and learn to function in the face of uncertainties inherent in
        the clinical environment. Compassion, integrity, concern for others, interpersonal skills, interest,
        and motivation are all personal qualities that are assessed during the admissions and educational
        process.

            Reasonable accommodations will be considered on a case by case basis for individuals who
        meet eligibility under applicable statutes. Any person expecting to need accommodations should
        request them prior to beginning the program, as some accommodations may not be considered
        reasonable and may impact an applicant’s ability to complete all components of the program.
        Students requesting accommodations should contact Dr. Marcie Pospichal, Coordinator of Stu-
        dent Disability Services. Her office is in the Rogers Building Room 120. You may also call her
        at (863) 680-4197 or e-mail at disabilityservices@flsouthern.edu with any questions or concerns.
        For more information on disability accommodations and access, please visit our website at http://
        www.flsouthern.edu/campus-resources/student-disability-services.aspx.

        Progress Requirements
            An overall GPA of 3.0 or higher is required for progression in the major. Students must
        achieve a grade of C or higher in all required coursework for the nursing major. A student will be
        placed on probation in the semester following non-compliance of the required academic or pro-
        fessional conduct standards. Students who do not meet GPA requirements in subsequent semes-
        ters may be dismissed from the BSN program. Standardized testing is used to monitor student
        progress throughout the program, and students must pass a final exit examination to meet BSN
        major graduation requirements. See the Nursing Student Handbook for specific policies. Because
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     BSN students will participate in actual patient care in hospitals and other health care settings,
     there is an expectation of a high standard of conduct and professional behavior for all students.
     Students who do not maintain the expected level of academic and professional performance may
     be unenrolled from the nursing program.

     Estimated Additional Nursing Costs
     Clinical documentation tracker with FDLE background check
     and 10-panel urine drug screen...................................................................................................$210
     Immunizations (varicella, Tdap, PPD, HEp C titer)......... $315.00 (varies with insurance carrier)
     Uniforms (2) and shoes.............................................................................................................. $275
     Nursing equipment..................................................................................................................... $125

     Nursing fees charged to student account
     Professional liability insurance...................................................................... estimate $23 annually
     Lab Fee.......................................................................................................estimate $25 per semester
     Content mastery modules and testing program
     (sophomore, junior, and senior years)...................................................estimate $635 per semester

     Nursing (B.S.N.) Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements............................................................................................95–96 hours
       NUR 1105                 Nursing Foundations I
       NUR 1106                 Nursing Foundations II
       NUR 2202                 Nursing Fundamentals
       NUR 3104                 Applied Pathophysiology
       NUR 3106                 Basics of Health Assessment
       NUR 3204                 Applied Pharmacology
       NUR 3510                 Psychiatric Nursing Care
       NUR 3530                 Maternal and Newborn Nursing Care
       NUR 3540                 Pediatric Nursing Care
       NUR 3585                 Adult Health Nursing Care I
       NUR 4110                 Evidence Based Health Care
       NUR 4210                 Senior Seminar
       NUR 4570                 Community Health Nursing Care
       NUR 4575                 Introduction to Global and Population Health
       NUR 4585                 Adult Health Nursing Care II
       NUR 4591                 Nursing Leadership
       NUR 4595                 Adult Health Nursing Care III
       NUR 4961                 Nursing Practicum
       Prerequisites (prior to sophomore year):
         BIO 1000               Biology for Your Life OR
         BIO 1500               Biology I: Biological Essentials
         BIO 2215                Human Anatomy and Physiology I
         CHE 1011               Chemical Foundations of the Biological Sciences
       Prerequisites (prior to junior year):
         BIO 2280               Applied Microbiology
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          Concurrent (sophomore year):
            BIO 2216                         Human Anatomy and Physiology II
          Concurrent (junior year):
            MAT 2022                         Elementary Statistics OR
            MAT 2032                         Biostatistics
        C. Electives.......................................................................................................................... 0 hours
        D. Total.....................................................................................................................135–136 hours

        RN-BSN–Adult Program
            The RN-to-BSN program is available to currently licensed registered nurses who would like
        to complete their BSN degree. The RN-to-BSN program provides a contemporary curriculum
        that (1) provides the student with a value based liberal arts foundation for the first profession-
        al degree (BSN); (2) prepares the student for lifelong learning; (3) advances individual critical
        thinking skills; and (4) prepares the student for graduate school.

        Special Requirements:
        The following special requirements apply for all RN-BSN students:
          • All students in the RN-to-BSN program must have a valid and unrestricted registered nurse
             license from the state where they will perform their clinical hours. Applicants to this pro-
             gram must contact the Office of Adult and Graduate Admission to verify that the state of
             nursing licensure participates in our reciprocal learning agreement.
            • All accepted nursing students are required to participate in clinical education experiences
              at FSC and off-site locations. Each RN-to-BSN student is responsible for obtaining reliable
              transportation to the clinical sites. Students may be assigned clinical rotations on weekends
              and evenings.
            • Each RN-to-BSN student is required to complete a criminal background screening includ-
              ing finger printing prior to starting the first clinical course. Note: Any student with a prior
              arrest or conviction history may be denied entry into the RN-to-BSN program due to our agency
              contract agreements. Students who apply to the RN-to-BSN program with a prior criminal record
              must be further screened by the program director and approved by the dean prior to acceptance
              into the program. Failure to disclose prior criminal history on application or report any subsequent
              criminal arrest after enrollment at Florida Southern College to the dean of the School of Nursing
              and Health Sciences may disqualify the student from the program.
            • Each nursing student is required to complete a ten-panel drug screen prior to starting the
              first clinical. Any student may be requested to repeat the urine drug screen as required by any
              clinical site or as part of a drug testing program. The cost of the background check and drug
              screenings is the responsibility of the student. Note: Students who have a positive drug test may
              be denied acceptance into the RN to BSN program or be unenrolled from the RN to BSN program.
            • Each nursing student is required to provide proof of immunization prior to entering any
              clinical site (see pre-licensure BSN requirements above). There may be additional require-
              ments based on the specific agency agreement for any clinical placement in which the
              student may participate.
            • A blanket student nursing liability insurance policy will cover all nursing students for the
              time he or she is providing patient care as part of a clinical education experience. The stu-
              dent will be billed the insurance fee estimate, $20 annually.
            • All students must have a current adult and pediatric BLS certification with A.E.D. and
              maintain certification though the end of the program of study.
            • Each nursing student is required to purchase a clinical documentation package, upload and
              maintain documents prior to the deadlines provided by the program director. The follow-
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              ing are required:
        		    a) Mantoux tuberculin test (2-step method) or blood test for TB
        		    b) Measles/Mumps/Rubella (MMR) immunization or positive titer
        		    c) Hepatitis B immunization or positive titer
        		    d) Hepatitis C titer negative
        		    e) Varicella immunization or positive titer
        		    f) Pertussis (Tdap) immunization
        		    g) Tetanus booster every 10 years
        		    h) Annual flu vaccine
        		 i) Health statement of physical fitness from health care provider stating student may par-
           ticipate in clinical experience assignments. Any restrictions must be outlined and include a
           reasonable plan for accommodation.
        		 j) Affidavit of Good Moral Character (notarized in the state of FL)
        • The student is responsible for all related costs for immunization. No student will be al-
          lowed to begin clinical experiences until all clinical requirements have been submitted by
          the designated date.
        • Students who have positive antibodies for Hepatitis C or HIV or other chronic infective
          diseases that may compromise patient safety, must be further screened and counseled. Be-
          cause students will have direct contact with patients during the course of their clinical
          assignments in hospitals and other care settings, specific safeguards or other restrictions to
          practice may be imposed on the student to protect patients and themselves. The clinical
          agencies will have final say whether infected students can practice or attend clinical assign-
          ments.
        • Students are required to complete online OSHA and HIPPA Training Modules prior to
          entering the clinical agency.

     Adult Program Admission Requirements
             This program is not currently enrolling new students.


     Progress Requirements
        • A grade of C or higher is required in all coursework for the nursing major.
        • The entire program must be completed within seven years of admission.
         A student will be placed on probation in the semester following noncompliance of the re-
     quired academic or professional conduct standards. If still not compliant at the end of the proba-
     tion semester, the student may be suspended from the program. Once placed on probation, the
     student must be compliant for two consecutive semesters following the initiation of the proba-
     tion to return to good standing in the program. (See Nursing Student Handbook for policies.)

     Nursing (RN-BSN) Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements....................................................................................................40 hours
        CHE 2110            Physiological Chemistry
        MAT 2022            Elementary Statistics OR
        MAT 2032            Biostatistics
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           NUR 3102                           Conceptual Foundations of Nursing
           NUR 3104                           Applied Pathophysiology
           NUR 3106                           Basics of Health Assessment
           NUR 4110                           Evidence Based Health Care
           NUR 4570                           Community Health Nursing Care
           NUR 4575                           Introduction to Global and Population Health
           NUR 4590                           Leadership Practicum
           NUR 4999                           Capstone Seminar in Nursing
        C. Electives..........................................................................................................................44 hours
        D. Total .............................................................................................................................124 hours

        PHILOSOPHY
             Students who pursue the B.A. in Philosophy will deal with fundamental questions about the
        nature of reality, knowledge, and value: Is there a God? Is the soul something different from the
        body? Do human beings have free will? Are there objective standards of morality? What are the
        grounds and limits of human knowledge? Philosophy addresses these kinds of questions using
        critical reasoning methods that develop students’ problem-solving skills. Philosophical reasoning
        skills are portable: you can adapt them to various kinds of practical and theoretical problems.
        Philosophy is especially useful as a major or minor for students considering graduate study or
        career fields requiring abstract reasoning and creative problem solving abilities.

        Honors in the Major
            Academically exceptional students majoring in philosophy may pursue Honors in the Major.
        Students must maintain a minimum GPA of 3.66 in the major and a cumulative GPA of 3.5. At
        least half of their total coursework must have been completed at FSC. Candidates must apply for
        acceptance into Honors in the Major no later than the third semester prior to graduation, and if
        accepted, begin the honors course sequence, PHI 4953 and 4954: Honors in Philosophy. Working
        under a project director in these courses, students will prepare a major paper to be presented to
        their thesis committee during the final semester. Please see the religion and philosophy depart-
        ment chair by the first semester of the junior year for further information.

        Philosophy Minor Requirements
        20 hours selected from PHI courses applicable to the major.

        Philosophy Major Requirements
        A. General Education Requirements..........................................................................40 hours
        B. Major Requirements..................................................................................................42 hours
          PHI 2204                Ethics
          PHI 2208                Logic
          PHI/REL 2219            World Religions and Philosophies
          PHI 3109                Great Philosophers I
          PHI 3309                Great Philosophers II
          PHI 4999                Philosophy Capstone Seminar
          Eight hours selected from the following:
          		 PHI 4459             Knowledge, Truth, and Reality
          		 PHI 4479             Special Topics in Philosophy (may be taken more than once with
             		 different topics)
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        Twelve additional hours selected from the following if not selected above:
        		 PHI 1109                       What Is Philosophy?
        		 PHI 2224                       Business Ethics
        		 PHI 3359                       Aesthetics
        		 PHI/REL 3365                   Theological and Philosophical Themes in Contemporary Literature
        		 PHI/REL 3388                   Fundamental Questions in Theology and Philosophy
        		 PHI 3500                       Social and Political Philosophy
        		 PHI 4459                       Knowledge, Truth, and Reality
        		 PHI 4479                       Special Topics in Philosophy
        		 PHI 4953/4954                  Honors in Philosophy
        		 PHI 4960                       Internship in Philosophy
     C. Bachelor of Arts Degree Requirements.................................................................20 hours
     D. Electives........................................................................................................................22 hours
     E. Total.............................................................................................................................124 hours

     PHYSICS
          A minor in physics is available through the Department of Chemistry, Biochemistry, and Phys-
     ics. The physics minor introduces students to the basics of contemporary physics. Students can
     have the opportunity to deepen their understanding of the foundations of physics and its applica-
     tions in other fields. At Florida Southern, the physics minor is intended to provide students with a
     strong background in the principles of physics and the application of those principles to new and
     emerging technologies. It provides an understanding of both a classical and quantum description
     of matter. The physics minor is particularly effective in preparing students for graduate study and
     careers in chemistry, physics, engineering, applied mathematics, research, and/or teaching.

     Physics Minor Requirements
       MAT 2311               Calculus I with Plane Analytic Geometry
       MAT 2312               Calculus II with Plane Analytic Geometry
       PHY 2110               General Physics I (Calculus Based)
       PHY 2120               General Physics II (Calculus Based)
       PHY 3070               Modern Physics I
       Four hours selected from the following:
       		 PHY 3050            Special Topics in Physics
       		 PHY 3080            Modern Physics II
     Total hours in the Minor ........................................................................................................... 24

     POLITICAL COMMUNICATION
         Political communication is the study of information flow through political processes and
     institutions. Majors gain the practical and theoretical knowledge necessary to compete in a mul-
     titude of industries connected to the political arena. With exposure to social science research
     methods, journalism practices, speech writing, and debate experience, majors develop a strong set
     of marketable skills. Students will graduate prepared for careers in industries including business
     and political consulting, public affairs, political journalism, and public diplomacy.

     Political Communication Major Requirements
           Only courses in which grades of C or higher are earned may count toward the major.
     A. General Education Requirements..........................................................................40 hours
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        B. Major Requirements..................................................................................................48 hours
          COM 1500                Fundamentals of Speech
          COM/POS 3905            Politics and the Media
          COM 4500                Communication Law and Ethics
          COM 4550                Communication Research
          MAT 2022                Elementary Statistics
          COM 3955                Professional Development for Communication Careers AND
          COM 4960/4961           Communication Internship
          OR
          POS 4960/4961           Internship (4 hours)
          Select two courses from one political science concentration and one course from the other
            political science concentration:
                American Politics Concentration
           		     POS 1115                 Methods for Political Science I
           		     POS 2500                 Law and the Courts
           		     POS 3320                 Legislative Processes
           		     POS 3325                 U.S. Campaigns and Elections
           		     POS 3400                 Political Parties and Interest Groups
           		     POS 4429                 Political Theory
           		 International Relations Concentration
           		   POS 2900        Introduction to International Relations
           		   POS 3175        United States Foreign Policy
           		   POS 3323        International Organizations
           		   POS 3345        Conflict and War
           		   POS 3500        The International Relations of the Developing World
           		   POS 3550        National and International Political Economy
           		   POS 3600        Topics in International Relations
           Select one communication concentration below:
           Media Concentration
           		 COM 3300                     News Reporting and Feature Writing
           		 COM 3320                     Introduction to Broadcast Journalism
           		 COM 3360                     Online Media
           Public Affairs Concentration
           		   COM 2400                   Principles of Advertising and Public Relations
           		   COM 3450                   Public Relations Writing
           		   COM 3900                   Special Topics in Communication OR
           		   COM 4350                   Public Relations Strategies
           Organizational Communication Concentration
          		 COM 2260          Small Group Communication OR
          		 COM 3200          Persuasion
          		 COM/SOC 2270      Intercultural Communication
          		 COM 3210          Organizational Communication
        C. Bachelor of Arts Degree Requirements.................................................................20 hours
           OR
        D. Bachelor of Science Degree Requirements...........................................................12 hours
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     E. Electives..................................................................................................................16–24 hours
     F. Total.............................................................................................................................124 hours

     POLITICAL SCIENCE
         The Department of Political Science offers the B.A./B.S. in Political Science. Courses focus
     on American politics and international relations. Students are encouraged to take a variety of
     courses in both areas and not become too specialized at the undergraduate level. The department
     offers Honors in the Major and Internship opportunities for those who qualify.

     Progress Requirements
        Students must have at least a 2.5 GPA in the major and either instructor’s permission or 18
     hours of political science courses to register for POS 4960 or 4961 (Internship).

     Political Science Minor Requirements
          To earn a minor in political science, students must complete a minimum of 20 hours of po-
     litical science coursework, subject to the following restrictions:

            1. Eight of the twenty hours of coursework must be earned at the 1000- and 2000-level.
            2. Twelve of the twenty hours of coursework must be earned at the 3000- and 4000-level.
            3. Students must complete two courses of any level in American politics and two of any level
               in international relations (see below).
            4. An internship is NOT required for the minor.
            5. Only one hour of internship credit (POS 4960 or 4961) may be applied toward the minor.

     American Politics Courses
         POS 1005                           Summer Odyssey 20XX: FSC in D.C.
         POS 1115                           Methods for Political Science I
         POS 2500                           Law and the Courts
         POS 3100                           Southern Politics
         POS 3320                           The Legislative Process
         POS 3325                           U.S. Campaigns and Elections
         POS 3400                           Political Parties and Interest Groups

     International Relations Courses
       POS 1005             Summer Odyssey 20XX: FSC in D.C.
       POS 2900             Introduction to International Relations
       POS 3175             Foreign and Security Policy of the United States
       POS 3323             International Organizations
       POS 3345             Conflict and War
       POS 3550             National and International Political Economy
       POS 3600             Topics in International Relations
     Total hours in the minor ...........................................................................................................20

     Political Science Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements............................................................................................37–41 hours
       POS 1115            Methods for Political Science I
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           POS 2900                          Introduction to International Relations
           POS 2295                          Methods for Political Science II
           POS 4960/4961                     Internship (1–5 hours)
           POS 4999                          Senior Seminar in Political Science
           Majors must complete an additional 20 hours of course work in political science, subject to
              the distribution requirements below:
           At least one course chosen from the following:
           		 POS 3100                       Southern Politics
           		 POS 3320                       The Legislative Process
           		 POS 3325                       U.S. Campaigns and Elections
           		 POS 3400                       Political Parties and Interest Groups
           At least one course from the following:
           		 POS 3175                       Foreign and Security Policy of the United States
           		 POS 3323                       International Organizations
           		 POS 3345                       Conflict and War
           		 POS 3500                       The International Relations of the Developing World
           		 POS 3600                       Topics in International Relations
           At least one course from the following:
           		 HIS 3165                       History of Modern Europe
           		 HIS 3275                       History of East Asia
           		 HIS/LAS 3365                   History of Modern Latin America
           		 HIS 3415                       History of the Middle East
           		 HIS 3445                       History of Modern Africa
           		 POS 3327                       Topics in Comparative Politics
        C. Bachelor of Arts Degree Requirements.................................................................20 hours
             OR
        D. Bachelor of Science Degree Requirements...........................................................12 hours
        E. Electives..................................................................................................................23–35 hours
        F. Total.............................................................................................................................124 hours

        PSYCHOLOGY
            Psychology offers two degrees: the Bachelor of Science in Psychology and the Bachelor of
        Arts in Psychology. A minor in psychology is also available (20 hours of PSY courses). Psychol-
        ogy majors have the opportunity to work in collaboration with energetic faculty in building a
        thorough understanding of the major areas and issues in psychology. The psychology program
        provides opportunities for student engagement and active learning through classroom activities,
        internships and student-faculty collaborative research projects. Where possible, students are sup-
        ported in presenting projects at scholarly meetings and venues. The program encourages student
        involvement in discipline-related campus and community service projects, as well as actively par-
        ticipating in psychology student organizations. The psychology program is based in the empirical
        research tradition and offers preparation for both graduate school and entry into the job market.

        Honors in the Major
             The psychology program offers an Honors in the Major option. The purpose of the program
        is to provide an opportunity for highly achieving students who are motivated and talented to do
        an in-depth investigation of an area of interest in consultation with a professor having expertise in
        that area. Please see the program coordinator during the first semester of the junior year for further
        information. Students should register for PSY 4953 and PSY 4954 in their senior year.
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     Psychology Minor Requirements
           Twenty hours selected from PSY courses applicable to the major.

     Psychology Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements..................................................................................................52 hours
        MAT 2022                          Elementary Statistics
        PSY 1500                          Psychological Investigations of the Social World
        PSY 1510                          Psychological Investigations of the Natural World
        PSY 3310                          Research Design and Statistics
        PSY 4450                          Research Practicum OR
        PSY 4960/4961                     Internship in Psychology
        PSY 4999                          Capstone Seminar
        Eight hours of PSY electives.
        One course selected from social-cognitive group:
        		 PSY/SOC 2206                   Social Psychology
        		 PSY 2209                       Developmental Psychology
        		 PSY 3314                       Psychology of Personality
        		 PSY 3315                       Cognitive Psychology
        One course selected from natural sciences group:
        		 PSY 2220                       Sensation and Perception
        		 PSY 3305                       Learning/Behavioral Psychology
        		 PSY 3309                       Behavioral Neuroscience
        		 PSY 3330                       Human Sexuality
        Three courses selected from the applied and professional development group:
        		 PSY 2210                       Tests and Measurements
        		 PSY 2214                       Abnormal Psychology
        		 PSY 3300                       Clinical/Counseling Psychology
        		 PSY 3301                       Special Topics in Psychology
        		 PSY 3325                       Positive Psychology
        		 PSY 3336                       Industrial/Organizational Psychology
        		 PSY 3350                       Professional Issues in Psychology
        		 PSY 4410                       Psychology and Law
        		 PSY 4460                       Advanced Research Design Analysis
        Note: All courses are four credit hours.
     C. Bachelor of Arts Degree Requirements.................................................................20 hours
        OR
     D. Bachelor of Science Degree Requirements...........................................................12 hours
     E. Electives.................................................................................................................12 - 20 hours
     F. Total.............................................................................................................................124 hours

     RELIGION
          The religion program offers the Bachelor of Arts in Religion and the Bachelor of Arts in
     Religion with a Concentration in Youth Ministry. Students who pursue the B.A. in Religion will
     encounter a balanced and challenging curriculum offering courses in the traditional areas of Bib-
     lical and Christian theological studies, as well as exposure to non-Christian religious traditions.
     Through critical engagement with Biblical, theological, and religious concepts, students will
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        develop an understanding and appreciation for religious faith and how this faith engages and
        transforms culture, history, and the human experience, while at the same time comprehending its
        implications for both ethical conduct and self-understanding as responsible citizens of the global
        community. The curriculum is driven by student-focused learning, instructional technology, and
        student guided discussions, seminars and research.
             Students who pursue the degree in religion with a Concentration in Youth Ministry will
        build on the solid foundation provided by the above curriculum by critically applying it in the
        youth ministry setting while also developing an understanding of teaching and learning theories
        for youth ministry and its leadership and administration. This religion major with youth min-
        istry concentration allows students to advance their understandings of youth ministry through
        practical applications culminating in an internship.

        Honors in the Major
            Academically exceptional students majoring in religion have the option of pursuing Honors
        in the Major. Students must maintain a minimum GPA of 3.66 in religion and a cumulative GPA
        of 3.5. At least half of their total coursework must have been completed at FSC, as well. Candi-
        dates must apply for acceptance into Honors in the Major no later than the third semester prior
        to graduation, and if accepted, begin the honors course sequence, REL 4953 and 4954: Honors in
        Religion. Working under a project director in these courses, students will prepare a major paper
        to be presented to their honors thesis committee during their final semester at FSC. Please see the
        department chair by the first semester of the junior year for further information.

        Religion Minor Requirements
            20 hours selected from REL courses applicable to the major. One four-hour course must be
        at the 3000–4000 level.

        Religion Major Requirements
        A. General Education Requirements..........................................................................40 hours
        B. Major Requirements..................................................................................................46 hours
          REL 2214               Christian Ethics
          REL 2215               The Old Testament: The Literature, the History, the Religious Ideas
          REL 2216               The New Testament: Its History, Literature, and Theology
          REL 2218               Basic Christian Beliefs
          REL/PHI 2219           World Religions and Philosophies
          REL 4999               Capstone Seminar in Religion
          One course selected from each of the following three groups:
          		 Group 1
          		   REL 3345          The Wisdom Tradition in Ancient Israel
          		   REL 4435          Prophetic Thought in Ancient Israel
          		 Group 2
          		   REL 3366          Johannine Literature: Gospel, Letters and Apocalypse
          		   REL 4416          Life and Letters of Paul
          		   REL 4446          Life and Teachings of Jesus
          		 Group 3
          		   REL 4428          Current Theological Thought
          		   REL 4448          The Doctrine of God
          12 additional hours in REL courses selected from the following if not chosen above:
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        		 REL 1108                       What is Religion?
        		 REL 2225                       The Apocrypha
        		 REL 2228                       Jesus in Film
        		 REL/WST 2256                   Gender, Interpretation and the Biblical Tradition
        		 REL 3328                       History of Christian Thought
        		 REL 3345                       The Wisdom Tradition in Ancient Israel
        		 REL 3358                       Christianity and the Arts
        		 REL/PHI 3365                   Theological and Philosophical Themes in Contemporary Literature
        		 REL 3366                       Johannine Literature: Gospel, Letters and Apocalypse
        		 REL/BIO 3378                   Dialogues in Science and Religion
        		 REL/PHI 3388                   Fundamental Questions in Theology and Philosophy
        		 REL 4416                       Life and Letters of Paul
        		 REL 4428                       Current Theological Thought
        		 REL 4435                       Prophetic Thought in Ancient Israel
        		 REL 4446                       Life and Teachings of Jesus
        		 REL 4448                       The Doctrine of God
        		 REL 4474                       Special Topics in Christian Ethics		
        		 REL 4953/4954                  Honors in Religion
        		 REL 4960                       Internship in Religion
     C. Bachelor of Arts Degree Requirements.................................................................20 hours
     D. Electives........................................................................................................................18 hours
     E. Total.............................................................................................................................124 hours

     Religion with Concentration in Youth Ministry Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements..................................................................................................50 hours
       REL 2214               Christian Ethics
       REL 2215               The Old Testament: The Literature, the History, the Religious Ideas
       REL 2216               The New Testament: Its History, Literature, and Theology
       REL 2218               Basic Christian Beliefs
       REL/PHI 2219           World Religions and Philosophies
       REL 4999               Capstone Seminar in Religion
       RYM 2210               Teaching and Learning Theories for Youth Ministry
       RYM 3310               Leadership and Administration for Youth Ministry
       RYM 4410               Bible and Theology in the Youth Ministry Setting
       RYM 4960/4961          Internship in Religion: Youth Ministry
       One course selected from each of the following three groups:
       		 Group 1
       		   REL 3345          The Wisdom Tradition in Ancient Israel
       		   REL 4435          Prophetic Thought in Ancient Israel
       		 Group 2
       		   REL 3366          Johannine Literature: Gospel, Letters and Apocalypse
       		   REL 4416          Life and Letters of Paul
       		   REL 4446          Life and Teachings of Jesus
       		 Group 3
       		   REL 4428          Current Theological Thought
       		   REL 4448          The Doctrine of God
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                                         UNDERGRADUATE PROGRAM REQUIREMENTS                                                                       175



        C. Bachelor of Arts Degree Requirements.................................................................20 hours
        D. Electives........................................................................................................................14 hours
        E. Total.............................................................................................................................124 hours

        SELF-DESIGNED MAJOR
            To serve the expectations and needs of academically qualified students, Florida Southern Col-
        lege has implemented Venture into the Adventure—a major designed by the student to meet his
        or her particular needs. This major is for academically qualified students; therefore, the student
        must hold sophomore standing, have taken some courses in the areas of interest, and have main-
        tained a minimum cumulative GPA of at least 3.0. Students who have accumulated more than 72
        credit hours are not eligible for the self-designed major. Additional policies are included in the
        “Self-Design Major Checklist” available from the interdisciplinary programs coordinator.
            Students interested in the self-designed major should contact Dr. Ronald Pepino, interdisci-
        plinary programs coordinator. The student will generate the idea for the major after discussion
        with the interdisciplinary programs coordinator and faculty members in the relevant areas of
        interest. The student will invite faculty members to serve as an advisory committee to assist in
        framing the degree proposal and advising the student toward degree completion.
            The proposed self-designed major will build upon the existing strengths of the Florida South-
        ern College faculty and programs. Each self-designed major must be built upon the requisite
        number of lower- and upper-division courses.
            A successful proposal will contain the following items:
           • Goals for the degree
            • Required course list to meet the General Education requirements
            • Required courses for the major (30 semester hours minimum)
            • Student learning outcomes and assessments
            • A significant focus on interdisciplinary inquiry and critical thinking
            • A senior research (or comparable creative) component to serve as a capstone experience
            Once the proposal has been approved by the student’s committee, it will be sent to the inter-
        disciplinary programs coordinator, who will post it for review and comment by the appropriate
        deans, division chairs, and interested faculty. The appropriate dean (or deans) will make the final
        decision on the quality of the self-designed major and the elements of the plan in consultation
        with the interdisciplinary programs coordinator and will either approve or not approve the pro-
        posal. If approved, the appropriate dean (or deans) will notify all parties and file the degree plan
        with the registrar. Degree audits will be based on the plan, and transcripts of students who have
        completed the self-designed major will duly show the program of study.

        SOCIAL SCIENCES MAJOR
             The social sciences major provides students with a broad-based education in the social sci-
        ences. The major, when taken in conjunction with the secondary education requirements as
        listed under Education in this catalog, prepares students for secondary education certification as
        regulated by the Florida Department of Education. The major is designed to provide students
        a broad range of required social sciences courses, from psychology to history, which, combined
        with required education courses, provide students with the foundational knowledge to become
        effective educators at the secondary level. Students interested in this major should contact the
        Department of History and Political Science.
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     Education: Secondary Social Science/History see page 128

     Social Sciences Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements..................................................................................................44 hours
        ECO 2207                          Principles of Macroeconomics
        GEO 3320                          Human Geography OR
        GEO 3340                          World/Regional Geography
        HIS 1100                          The Ancient World
        HIS 1200                          The Making of the Modern World
        HIS 1300                          The Modern World
        HIS 2215                          The American Experience through the Civil War
        HIS 2225                          The American Experience since the Civil War
        HIS/LAS 3355                      History of Florida
        POS 1115                          Methods for Political Science I
        POS 3323                          International Organizations OR
        POS 3327                          Topics in Comparative Politics
        PSY 1106                          Psychology and the Social World OR
        SOC 1100                          Introduction to Sociology
     C. Bachelor of Arts Degree Requirements.................................................................20 hours
        OR
     D. Bachelor of Science Degree Requirements...........................................................12 hours
     E. Electives..................................................................................................................20–28 hours
     F. Total.............................................................................................................................124 hours


     SPANISH
           See Modern Languages

     SPORT BUSINESS MANAGEMENT
          The sport business management program at Florida Southern College provides students with
     an interdisciplinary education that combines business foundation courses with a specific sport
     business management curriculum in an effort to prepare graduates for a career in the sports
     business industry. Through engaged learning, students will work with faculty and sports industry
     experts combining textbook theory with industry application. Students who major in sports
     business management will likely be interested in careers relating to professional sport adminis-
     tration, sports marketing and branding, major and minor league leadership, athletic goods and
     apparel, amateur and collegiate sports, sales, and management.

     Special Requirements
         Due to similarities in the programs, students majoring in sport business management are not
     allowed to double major in business administration.

     Sport Business Management Minor Requirements
           Twenty hours of SPM courses including SPM 2174.
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                                         UNDERGRADUATE PROGRAM REQUIREMENTS                                                                       177



        Sport Business Management Major Requirements
        A. General Education Requirements..........................................................................40 hours
        B. Major Requirements..................................................................................................72 hours
           Business Core
           		 ACC 2111                       Foundations of Financial Accounting
           		 ACC 2112                       Foundations of Managerial Accounting
           		 BUS 1115                       The Dynamics of Business and Free Enterprise
           		 BUS 2217                       Principles of Management
           		 BUS 2220                       Microsoft Excel for Business
           		 BUS 3160                       Marketing Principles
           		 BUS 3311                       Legal Environment of Business
           		 BUS/ECO 3320                   Applied Statistics of Business and Economics
           		 BUS 3453                       Managerial Finance
           		 BUS 3705                       Business Information Systems		
           		 BUS 3960                       Professional Development
           		 BUS 4420                       Business Analytics
           		 ECO 2010                       Essentials of Economics
           Sport Business Core
           		 SPM 2174                       Management of Sport
           		 SPM 2960                       Internship in Sport Business Management
           		 SPM 3160                       Sport Marketing
           		 SPM 3370                       Administration of Sport
           		 SPM 4999                       Senior Seminar in Sport Business Management
           Sport Business Electives
           		 Eight hours selected from the following:
           		 SPM/COM 2150                   Media in Sport
           		 SPM 2520                        Ethics in Sport
           		 SPM 2961                       Internship in Sport Business Management
           		 SPM 3180                       Planning and Maintaining Facilities
           		 SPM/SOC 3307                   Sport Leisure and Society
           		 SPM 3500                       Economics of Sport
           		 SPM 3520                       Recreation and Fitness Management
           		 SPM 4510                       Fitness and Prescription
           		 SPM 4520                       International Sport
        C. Bachelor of Science Degree Requirements...........................................................12 hours
        D. Electives.......................................................................................................................... 0 hours
        E. Total.............................................................................................................................126 hours

        SPORTS COMMUNICATION AND MARKETING
            The major in sports communication and marketing blends coursework in communication,
        business, and sports marketing to prepare students for the dynamic industry of sports. Because the
        business of sports is a $200 billion industry in the U.S., the demand for students with knowledge of
        business and communication is growing. Students will gain hands-on experience in digital media
        production and design and implement this experience in sports-related projects. Graduates of the
        major can pursue jobs in sports broadcasting, sports management, or sports information.
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     Program Requirements
           Only courses in which grades of C or higher are earned may count toward the major.

     Sports Communication and Marketing Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements..................................................................................................58 hours
        COM 1500                          Fundamentals of Speech
        COM 2110                          Media Writing
        COM/SPM 2150                      Media in Sport
        COM 3955                          Professional Development for Communication Careers
        COM 4960/4961                     Communication Internship
        MAT 2022                          Elementary Statistics
        Business Core
        		 BUS 3160                       Marketing Principles
        		 BUS/ECO 3320                   Applied Statistics of Business and Economics
        		 BUS 4466                       Marketing Research
        		 ECO 2205                       Principles of Microeconomics
        		 SPM 2174                       Management of Sport
        		 SPM 3160                       Sport Marketing
        		 SPM 4520                       International Sport
        Select one communication core below:
        		 Core One
        		   COM 2400                     Principles of Advertising and Public Relations
        		   COM 3450                     Public Relations Writing
        		   COM 4350                     Public Relations Strategies
        		 Core Two
        		   COM 3300                     News Reporting and Feature Writing
        		   COM 3320                     Introduction to Broadcast Journalism
        		   COM 3360                     Online Media
     C. Bachelor of Science Degree Requirements...........................................................12 hours
     D. Electives........................................................................................................................14 hours
     E. Total.............................................................................................................................124 hours

     STUDIO ART
           See Art

     THEATRE ARTS
         The Department of Theatre Arts offers a B.F.A. in Theatre Performance, a B.F.A. in Technical
     Theatre/Design, a B.F.A. in Musical Theatre, and a B.A. in Theatre Arts. The department provides
     a nurturing yet challenging environment in which students may strive to achieve their highest
     intellectual, artistic, and professional potential. Through a rigorous and comprehensive theatre
     curriculum, the department focuses on discipline-specific student needs and goals while con-
     tributing in meaningful ways to the cultural life of the College and local community through
     productions and community service. Highly qualified faculty artists collaborate with students in
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                                   UNDERGRADUATE PROGRAM REQUIREMENTS                                                   179



        the classroom, rehearsal hall, and on stage, fostering excellence in performance, directing, design,
        and technical production.
            The goal of Florida Southern’s theatre arts department is to train and prepare students for
        professional careers in the theatre. A B.F.A. candidate has opportunities to perform major roles
        on the main stage beginning in his or her first year at the College, and B.F.A. in Technical The-
        atre/Design candidates have the opportunity to see their work realized on our main stage.
            We emphasize one-on-one instruction, hands-on experience, individual mentoring and a
        high degree of professionalism. Our programs are aimed at providing students with the knowl-
        edge and skills needed to succeed at any level of theatre, whether it is further graduate study or
        a career as a performer, professional designer, stage manager, or technician. Our aim is to see you
        succeed, and we will give you the tools you will need to do so.

        Performance Opportunities
            The department presents four main stage productions each year, including two musicals and
        a second stage lab production. There are also opportunities for additional student productions.
        The main stage productions are presented in the beautiful Loca Lee Buckner Theatre, an intimate
        336-seat thrust stage outfitted with three full-stage hydraulic lifts and high-end lighting and sound
        equipment and software. Student productions are mounted in the Frank Lloyd Wright Theatre-
        in-the-Round, which serves as our lab theatre and is entirely student run. Additionally, Florida
        Southern’s Festival of Fine Arts program brings in world-class productions and concerts in the third
        theatre facility on campus, the 1,800-seat proscenium theatre, Branscomb Auditorium.

        Admission Requirements
            Upon acceptance, a student may be accepted into the theatre B.F.A. program only through an
        audition/interview in his/her area of expertise. Auditions are offered on special dates throughout
        the school year or by appointment. The prospective student for the B.F.A. performance degree
        will need to prepare two monologues of a contrasting style; the prospective student for the mu-
        sical theatre B.F.A. will need to prepare two songs of contrasting style, and candidates for the
        B.F.A. in Technical/Design will need to present a portfolio and have an interview. For additional
        information, please visit flsouthern.edu/theatre.
            No audition/interview is necessary for admission to the B.A. program. However, it should
        also be noted that scholarship assistance is available for any student majoring in theatre arts.
        Scholarships are awarded based on an audition and interview by the theatre faculty. B.F.A. audi-
        tions will automatically be considered for scholarship eligibility. Theatre studies B.A. candidates
        may present either audition or portfolio.
            All programs of study in theatre are structured in four-year formats; therefore, students in-
        tending to pursue the B.F.A. should consult the department concerning appropriate courses for
        the first college semester.

        Theatre Arts Minor Requirements
        12 hours from the following:
            THE 1050, 1213, 1214, 1220, 1240, 1413, 2153, 2210, 2220, 2313, 2413, 2420, 2430
        12 hours from the following:
            THE 3110, 3120, 3153, 3214, 3323, 3330, 3410, 4210, 4410, 4513, 4523

        Theatre Arts (B.A.) Major Requirements
        A. General Education Requirements..........................................................................40 hours
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     B. Major Requirements..................................................................................................47 hours
        THE 1101–1106                     Production Practicum I - VI
        THE 1213                          Acting I OR
        THE 1214                          Acting for the Non-Actor
        THE 1220                          Stage Movement OR
        THE 2220                          Voice and Dialect for the Actor
        THE 1413                          Stagecraft and Production Practice
        THE 2210                          Acting II
        THE 2413                          Scene Design
        THE 2420                          Lighting Design OR
        THE 2430                          Costume Design
        THE 3323                          Directing OR
        THE 3330                          Theatre Management
        THE 4513                          Theatre History and Literature I
        THE 4523                          Theatre History and Literature II
        One of the following courses:
        		 THE 3110                       Musical Theatre Audition
        		 THE 3120                       Musical Theatre Scene Study
        		 THE 3214                       Acting III: Acting for the Camera
        One of the following courses:
        		 THE 4210                       Acting IV: Advanced Acting Topics
        		 THE 4199                       Senior Project–Musical Theatre
        		 THE 4299                       Senior Project–Performance
        		 THE 4499                       Senior Project–Design/Technical
     C. Bachelor of Arts Degree Requirements.................................................................20 hours
     D. Electives........................................................................................................................17 hours
     E. Total.............................................................................................................................124 hours

     Theatre Arts: B.F.A. in Musical Theatre
     Musical Theatre Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements..................................................................................................75 hours
       THE 1101-1106       Production Practicum I - VI
       THE 1130            Vocal Technique Master Class
       THE 1213            Acting I
       THE 1220            Stage Movement OR
       THE 2220            Voice and Dialect for the Actor
       THE 1231-1238       Applied Voice for the Theatre
       THE 1240            Improvisation and Creative Expression
       THE 1413            Stagecraft and Production Practice
       THE 2210            Acting II
       THE 3110            Musical Theatre Audition
       THE 3120            Musical Theatre Scene Study
       THE 4110            Musical Theatre History and Literature
       THE 4199            Senior Project: Musical Theatre
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                                         UNDERGRADUATE PROGRAM REQUIREMENTS                                                                       181



          THE 4210                           Acting IV: Advanced Acting Topics
          THE 4513                           Theatre History and Literature I OR
          THE 4523                           Theatre History and Literature II
          THE 4650                           Musical Theatre Dance OR
          THE 4660                           Musical Theatre Choreography
          MUS 1070                           Introduction to Music Theory
          MUS 1151                           Aural Skills I
          MUS 1152                           Aural Skills II
          Two hours from (according to the student’s skill set):
          		 THE 2610                        Beginning Ballet I
          		 THE 2611                        Beginning Ballet II
          		 THE 3610                        Intermediate Ballet
          		 THE 3611                        Advanced Ballet
          Two hours from (according to the student’s skill set):
          		 THE 2620                        Beginning Jazz I
          		 THE 2621                        Beginning Jazz II
          		 THE 3620                        Intermediate Jazz
          		 THE 3621                        Advanced Jazz
          Two hours from (according to the student’s skill set):
          		 THE 2630                        Beginning Tap I
          		 THE 2631                        Beginning Tap II
          		 THE 3630                        Intermediate Tap
          		 THE 3631                        Advanced Tap
          Two hours from (according to the student’s skill set):
          		 THE 2640                        Beginning Modern Dance I
          		 THE 2641                        Beginning Modern Dance II
          		 THE 3640                        Intermediate Modern Dance
          		 THE 3641                        Advanced Modern Dance
          Two hours from (according to the student’s skill set):
          		 MUS 133C/134C/233C/234C Keyboard Musicianship OR
          		 MUS 1133/1134, 2233/2234, 3333/3334, 4433/4434 Piano
          Two hours selected from:
          		 MUS 1107/1108                   Opera Theatre
          		 MUS 1109/1110                   Concert Choir (or other vocal ensemble)
          		 MUS 1143/1144                   Voice
        C. Electives.......................................................................................................................... 9 hours
        D. Total.............................................................................................................................124 hours

        Theatre Arts: B.F.A. in Theatre Performance
        Theatre Performance Major Requirements
        A. General Education Requirements..........................................................................40 hours
        B. Major Requirements..................................................................................................72 hours
          THE 1101-1106       Production Practicum I–VI
          THE 1213            Acting I
          THE 1220            Stage Movement
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       THE 1240                           Improvisation and Creative Expression
       THE 1413                           Stagecraft and Production Practice
       THE 2210                           Acting II
       THE 2220                           Voice and Dialect for the Actor
       THE 2313                           Script Analysis
       THE 2413                           Scene Design
       THE 2420                           Lighting Design OR
       THE 2430                           Costume Design
       THE 3323                           Directing
       THE 4210                           Acting IV: Advanced Acting Topics
       THE 4299                           Senior Project - Performance
       THE 4513                           Theatre History and Literature I
       THE 4523                           Theatre History and Literature II
       One of the following courses:
       		 THE 3110                        Musical Theatre Audition
       		 THE 3120                        Musical Theatre Scene Study
       		 THE 3214                        Acting III: Acting for the Camera
       Five hours selected from:
       		 THE 2153                        Applied Production Experience
       				 (repeatable up to 6 hours and may be used as elective hours)
       		 THE 3153                        Applied Production Experience
          		 (repeatable up to 12 hours and may be used as elective hours)
       Four hours selected from:
       		 THE 1231–1238 Applied Voice for the Theatre
     C. Electives........................................................................................................................12 hours
     D. Total.............................................................................................................................124 hours

     Theatre Arts: B.F.A. in Technical Theatre/Design
     Technical Theatre/Design Major Requirements
     A. General Education Requirements..........................................................................40 hours
     B. Major Requirements..................................................................................................72 hours
       THE 1101–1106       Production Practicum I–VI
       THE 1213            Acting I OR
       THE 1214            Acting for the Non-Actor
       THE 1240            Improvisation and Creative Expression
       THE 1413            Stagecraft and Production Practice
       THE 2313            Script Analysis
       THE 2413            Scene Design
       THE 2420            Lighting Design
       THE 2430            Costume Design
       THE 3323            Directing
       THE 3330            Theatre Management
       THE 3410            Drafting for the Stage
       THE 4410            Advanced Technical Topics
       THE 4499            Senior Project - Technical/Design
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                                         UNDERGRADUATE PROGRAM REQUIREMENTS                                                                       183



            THE 4513                Theatre History and Literature I
            THE 4523                Theatre History and Literature II
            Five hours selected from:
            		 THE 2153             Applied Production Experience
               		 (repeatable up to 6 hours and may be used as elective hours)
            		 THE 3153             Applied Production Experience
               		 (repeatable up to 12 hours and may be used as elective hours)
            Two courses (totaling eight hours) from one of the following areas:
                   Scene Design
            		       ART 1131          Drawing I AND
            		       One of the following three courses:
            		        ARH 1100         Survey of Western Art and Architecture
            		        ART 2100         Painting I
            		        ART 3150         Watercolor
                  Lighting Design
            		       ART 1120          Design Fundamentals AND
            		       One of the following three courses:
            		        ART 1140         Introduction to Digital Photography
            		        ART 2410         Typography and Layout
            		        ART 2570         Video Art
                  Stage Management
            		       COM 2250          Interpersonal Communication AND
            		       One of the following two courses:
            		        BUS 2217         Principles of Management
            		        COM 2260         Small Group Communication
                  Sound Design
            		       MUS 1165          Great Works of Music AND
            		       One of the following two courses:
            		        ART 2570         Video Art
            		        MUS 1164         History of Jazz
                  Costume Design
          		  ART 1131                       Drawing I AND
          		  One of the following three courses:
          		      ART 2100                   Painting I
          		      ART 2170                   Figure Drawing I
          		      ART 3150                   Watercolor
        C. Electives........................................................................................................................12 hours
        D. Total.............................................................................................................................124 hours

        WOMEN AND GENDER STUDIES MINOR
                 See Interdisciplinary Minors
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                                UNDERGRADUATE COURSE DESCRIPTIONS                                   185




                UNDERGRADUATE COURSE DESCRIPTIONS
        Course descriptions for undergraduate courses are provided below. Courses that may be taken
        to fulfill General Education student learning outcomes (SLOs) are indicated with the following
        abbreviations:
         Meaning and Value: MV
         Social World: SW
         Natural World: NW
         Fine Arts Appreciation: FA
         Systematic and Creative Thinking – Qualitative: Ql
         Systematic and Creative Thinking – Quantitative: Qn
         Effective Communication (EC)
            Written (A)
            Oral (B)
            Written/Oral (C)
         Personal Wellness: Well

        ACCOUNTING – ACC
        ACC 2111 FOUNDATIONS OF FINANCIAL ACCOUNTING
        Four hours. Build an understanding of accounting for corporations. Gen Ed: Qn

        ACC 2112 FOUNDATIONS OF MANAGERIAL ACCOUNTING
        Four hours. Prerequisite: ACC 2111. Examine managerial accounting and analysis.

        ACC 3111 FINANCIAL ACCOUNTING I
        Four hours. Prerequisite: ACC 2112. Delve into the conceptual framework of accounting, gen-
        erally accepted accounting principles, the preparation of financial statements, the determina-
        tion of income, and the procedures related to accounting for assets and liabilities.

        ACC 3112 FINANCIAL ACCOUNTING II
        Four hours. Prerequisite: ACC 3111. Required in the Accounting major. A detailed study
        of the procedures and disclosures related to accounting for stockholders’ equity, earnings per
        share, investments, pensions, leases, income recognition, the statement of cash flows, account-
        ing changes and accounting for income taxes.

        ACC 3211 COST ACCOUNTING
        Four hours. Prerequisite: ACC 2112, computer competency. Investigate cost accounting for man-
        ufacturing and non-manufacturing entities, including cost terminology and concepts, and cost
        accounting systems such as activity-based costing and differential costs for decision making.

        ACC 3705 ACCOUNTING INFORMATION SYSTEMS
        Four hours. Prerequisite: ACC 2112. An introduction to accounting information systems, in both
        manual and computerized environments, and their role in a business organization.

        ACC 4411 FEDERAL TAXATION
        Four hours. Prerequisite: ACC 2112 or permission of the faculty. Explore the concepts of federal
        income taxation for individuals, including an introduction to the procedures for tax research.
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     ACC 4511 AUDITING
     Four hours. Prerequisite: ACC 3111 or permission of the instructor. Required in the account-
     ing major. Examine all aspects of auditing, including auditing standards, accepting and plan-
     ning the audit, evaluating internal controls, verifying account balances and financial statement
     assertions, reporting on audited financial statements, and the legal liabilities and ethical re-
     sponsibilities of auditors.

     ACC 4715 INTERNATIONAL ACCOUNTING
     Four hours. Prerequisite: ACC 2112. Examine the standards and procedures related to accounting
     for international organizations, including the differences and similarities in reporting amongst
     countries, particular issues of analyzing foreign financial statements, and the current issues in the
     development of international auditing standards and reporting standards.

     ACC 4960/4961 ACCOUNTING INTERNSHIP
     Two to four hours. Prerequisites: junior standing; minimum 3.0 GPA; permission of the instruc-
     tor. Correlate theory and practice in an operational setting supervised by cooperating practitioners
     and faculty in approved areas of application.

     ARABIC - ARA
     Each course is an enhanced self-study program in the NASILP (National Association of Self-In-
     structional Language Programs) format, which relies heavily upon the student’s motivation and
     discipline. Major emphasis is on the development of oral-aural skills. Class time is spent in oral
     drills and conversation practice with a native-speaking (or equivalent) tutor. Classes are conducted
     almost entirely in Arabic. Students study the grammar independently, using the NASILP format
     with the help of the assigned text and workbook, as well as in the lab. Students are expected to
     work outside of class and in the lab each week and come to class prepared.

     ARA 1101 FIRST SEMESTER ARABIC
     Four hours. Prerequisite: Cumulative GPA of at least 2.5 or approval from the Critical Languages
     program director.

     ARA 1102 SECOND SEMESTER ARABIC
     Four hours. Prerequisite: ARA 1101 proficiency.

     ARA 2203 SECOND YEAR ARABIC
     Four hours. Prerequisite: ARA 1102 proficiency.

     ART - ART
     ART 1110 INTRODUCTION TO FILM
     Four hours. This course provides students an introduction to formal, historical, and theoretical
     approaches to cinema and how moving images create meaning. The course will examine cine-
     ma’s formal elements (cinematography, editing, mise-en-scène, sound) in order to establish the
     necessary terminology required for the analysis of film. Then the course will look at conventions
     and critiques of Hollywood narrative filmmaking, considering issues of genre, authorship, and
     ideology, before considering some cinematic alternatives (avant-garde, art cinema, other national
     cinemas, documentary).

     ART 1120 DESIGN FUNDAMENTALS
     Four hours. An introduction to the elements and principles of design, including line, shape, color,
     value, texture, balance, emphasis, rhythm, and unity. Gen Ed: FA
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                                 UNDERGRADUATE COURSE DESCRIPTIONS                                      187



        ART 1131 DRAWING I
        Four hours. An introduction to various drawing media and methods of representation in line
        and tone.

        ART 1132 DRAWING II
        Four hours. Prerequisite: ART 1131 or permission of the instructor. Explore color and mixed media
        drawing techniques, focusing on forms of personal expression and representational development.

        ART 1140 INTRODUCTION TO DIGITAL PHOTOGRAPHY
        Four hours. Explore aspects of digital photography such as image capture and digital pro-
        cessing, design, lighting, digital technology, applications, and printing. Assignments explore
        creativity, problem solving, and understanding the camera, with focus on capturing one’ s
        surroundings using specific techniques for landscape, architectural, and cultural (i.e., people)
        photography. A critique occurs at the end of each assignment to discuss solutions, problems,
        and successes. Gen Ed: FA

        ART 1160 NEW MEDIA
        Four hours. An introduction, both through examining existing new media artworks and through
        the construction of projects, to new and unconventional and/or unfamiliar forms of visual art.
        Cultivate an appreciation for contemporary art forms and explore new media and new creative
        avenues through which to engage your own expressive abilities.

        ART 2100 PAINTING I
        Four hours. Prerequisite: ART 1131. An introduction to acrylic painting, exploring various paint-
        ing techniques, painting surfaces, and elements of color.

        ART 2110 PAINTING II
        Four hours. Prerequisite: ART 2100 or permission of the instructor. An introduction to oil paint-
        ing, investigating various techniques using the oil medium and color relationships.

        ART 2115 INTRODUCTION TO DIGITAL FILMMAKING
        Four hours. This hands-on course is designed to familiarize students with cinematic language and
        filmmaking technique in preparation for more advanced production courses. Through a series of
        intense collaborative assignments and exercises, students will employ a wide range of cinematic
        techniques designed to provide practical experience with digital cinema cameras, sound record-
        ing, lighting, and editing software. Discussion regarding film content will be held, allowing stu-
        dents to critically discuss the social and political implications of creating media content.

        ART 2170 FIGURE DRAWING I
        Four hours. Prerequisites: ART 1131 or permission of the instructor. A studio class emphasizing
        drawing from the human figure and including the study of human anatomy.

        ART 2210 SCULPTURE I
        Four hours. Prerequisite: ART 1120. An introduction to the use of traditional and contemporary
        sculptural media, modeling and plaster casting, clay and paper casts.

        ART 2215 STORYTELLING FOR THE SCREEN
        Four hours. This course explores various approaches to screen-based storytelling in film, television
        and new media environments with a focus on short form development. Topics include story ide-
        ation, character development, theme, and scene structure.

        ART 2220 CERAMICS I
        Four hours. Creative pottery making, using various methods of hand building. Students learn to
        load and fire the kiln.
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     ART 2225 USABILITY
     Two hours. Prerequisites: ART 1120 or COM 1101 or permission of instructor. This course in-
     vestigates areas of web and new media in relation to human centered/human driven design and
     development. The emphasis will be on understanding users’ needs and practices and translating
     them into design decisions.

     ART 2230 MEDIA ANALYTICS
     Two hours. Prerequisites: ART 2225 or permission of instructor. This course examines and em-
     ploys various media analytic practices with the intent to monetize and increase usability of inter-
     active content. The emphasis is on measuring user experiences, evaluating interactive optimization
     efforts, and skills to collect, analyze and drive actionable insights towards targeted interactive au-
     diences.

     ART 2240 FILM HISTORY
     Four hours. This course introduces a broad collective history of cinema along with an examination
     of film form principals providing needed terminology for film production and analysis. Gen Ed:
     SW

     ART 2310 PRINTMAKING I
     Four hours. Prerequisite: ART 1120 or 1131 or permission of the instructor. Introduction to inta-
     glio and relief printmaking techniques. Monotypes are explored.

     ART 2410 TYPOGRAPHY AND LAYOUT
     Four hours. Prerequisites: ART 1120 and either ART 1140 or COM 2500. Traverse a breadth of top-
     ics in two-dimensional design from language used in critiques to basic seeing and technical skills
     behind the formal elements of design—more specifically, composition, shape, line, value, texture,
     and color. Work in a variety of media to explore concepts introduced in the class. Students are
     expected to produce a weekly visual journal updated with class assignments. Weekly readings are a
     mandatory part of the class, as are discussions and critiques.

     ART 2570 VIDEO ART
     Four hours. Prerequisite: ART 1120 or permission of the instructor. An introduction to the use of
     video as a medium for artistic expression, visual communication, and social inquiry. Emphasis is
     on the creation, modification and activation of space and time. Includes investigations into narra-
     tive structure, visual abstraction, advertising formats, and video art installation.

     ART 3110 PAINTING III
     Four hours. Prerequisite: ART 2110. An exploration of various directions in painting with a con-
     centration in one area. Assignments relative to traditional space and the picture plane.

     ART 3120 CERAMICS II
     Four hours. Prerequisite: ART 2220. Advanced pottery making, including throwing on the potter’s
     wheel, glaze formulation, and testing of clay bodies.

     ART 3150 WATERCOLOR
     Four hours. Prerequisites: ART 1131 or permission of the instructor. An exploration of approaches
     and techniques in painting with transparent watercolor.

     ART 3170 FIGURE DRAWING II
     Four hours. Prerequisite: ART 2170. Advanced projects in drawing from the human figure and in
     the study of human anatomy.
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        ART 3210 SCULPTURE II
        Four hours. Prerequisite: ART 2210. Concentration in selected areas of work: modeling and cast-
        ing, ceramic sculpture, construction, or carving.

        ART 3310 PRINTMAKING II
        Four hours. Prerequisite: ART 2310. Continuation of more advanced intaglio and relief processes
        including multi-plate color printing techniques. Learn to combines monotypes and monoprints
        in various mixed media prints.

        ART 3365 DOCUMENTARY FILMMAKING
        Four hours. Prerequisites: ART 2115 or permission of instructor. This course investigates various
        approaches to documentary genre in film and television and guides students in their own appli-
        cation of selected approaches, i.e. in their own thinking, writing, production, and speaking about
        documentary.

        ART 3367 MOTION PICTURES PRODUCTION
        Four hours. Prerequisites: Art 2215 or permission of instructor. This course explores visual time-
        based aesthetic concepts of short form storytelling. Elements include screenplay breakdown, pro-
        duction management, casting, concept-to-visual, editing rhythm and pacing, and post color design.

        ART 3410 ADVANCED PRINT DESIGN
        Four hours. Prerequisite: ART 2410. Explore the design process and print production. Learn to
        troubleshoot the one-, two-, three-, and four-color print production areas. Critiques at the end
        of each assignment address design solutions, problems, and successes. Delve into topics such as
        creativity, solving communication problems, understanding the applications on a deeper level,
        working directly with a client, understanding briefs, and bringing a job to press.

        ART 3440 ADVANCED DIGITAL PHOTOGRAPHY
        Four hours. Prerequisite: ART 1140. This course covers aspects of digital photography such as im-
        age capture and digital processing, design, lighting and digital technology. Assignments are given
        to explore creativity, problem solving, and understanding the camera, with a focus on capturing
        our surroundings using specific techniques for landscape, architectural, and cultural (i.e. people)
        photography. A critique occurs at the end of each assignment to discuss solutions, problems and
        successes. Applications and printing are also covered in this class.

        ART 3510 WEB DESIGN
        Four hours. Prerequisite: ART 2410. Basic elements of web design, including html language, dig-
        ital sound, 2-D animation, and non-linear editing. Aesthetic and practical aspects of creating web
        pages. As his or her major project, each student builds a personal, multi-layered web page on the
        art department’s server using the latest software.

        ART 3664 DANCE FOR THE CAMERA
        Four Hours. Same as DAN 3664. Prerequisite: DAN 2662 for Dance majors or minors, Film ma-
        jors, or permission of the instructor. Introduction to how dance and video work best together
        and why, including composing for the camera, recording dancers in action and editing footage
        to create original work. There are several approaches to putting dance on video, but we focus on
        what has only recently become identified as “video dance:” the contemporary term for the genre
        of dance made for the camera. This course consists of lecture, discussion, video response and film
        studies. Class content includes reading, writing, viewing and speaking about dance for camera,
        creating and showing work.
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     ART 3999 TOPICS IN FILM THEORY
     Four hours. Prerequisite: ART 1110 or permission of instructor. This course reinforces and applies
     advanced film theories on a rotating topic basis. Special attention is given to film and video philos-
     ophy, psychology, history, ideology, and sociology. Course may be repeated for credit with different
     topics. (see current listing for topic)

     ART 4100 FILM AESTHETICS
     Four hours. Prerequisite: ART 3367 or permission of instructor. This course reinforces and applies
     advanced film production on a rotating topic basis. Rigorous attention is given to film and video
     production techniques such as writing, directing, cinematography, and editing. Course may be
     repeated for credit with different topics. (see current listing for topic)

     ART 4110 PAINTING IV
     Four hours. Prerequisite: ART 3110 or permission of the instructor. This course emphasizes orga-
     nization and variations of format in painting and explores color as an expressive basis for painting.

     ART 4170 FIGURE DRAWING III
     Four hours. Prerequisite: ART 3170. Further emphasizes advanced projects in drawing the human
     figure and in the study of anatomy.

     ART 4320 SIMULATION AND CINEMATIC VR
     Four hours. Prerequisites: ART 3510. This course explores history, aesthetics, practices, and cul-
     tural implications involved in the transition from linear cinematic film to immersive cinematic
     VR experience. Topics include conceptualization, design, and formation within 360 simulated
     experiences.

     ART 4411 ADVANCED GRAPHIC DESIGN STUDIO I
     Four hours. Prerequisite: junior standing in the Department of Art and Art History and per-
     mission of the instructor. Advanced projects with emphasis on the development of a personal
     direction of expression.

     ART 4412 ADVANCED GRAPHIC DESIGN STUDIO II
     Four hours. Prerequisite: ART 4411 and the permission of the instructor. Advanced projects in a
     selected medium and stylistic approach.

     ART 4499 GRAPHIC DESIGN SENIOR THESIS
     Four hours. Prerequisites: ART 3410 and 3510, graphic design major, senior standing, and success-
     ful completion of coursework that satisfies Effective Communication SLOs A and B. Building on
     all their previous experiences, students finish complex individual and collaborative projects for
     their professional portfolios. Emphasis placed on independence, professional habits and attitudes,
     and personal design development. Gen Ed: Ql, EC-C

     ART 4899 ART FOR TEACHERS K–12
     Four hours. Prerequisite: senior standing in the art program. A senior seminar for the develop-
     ment of (1) a senior exhibition and (2) a portfolio suitable for presentation to graduate schools,
     prospective clients, and/or employers.

     ART 4900-4901 SENIOR MEDIA PROJECTS
     Four hours distributed over 2 semesters: Prerequisites: Permission of Instructor. In this course,
     students will develop, execute, create, and present an original creative media. Students will write
     a 10 to 20-page proposal and present a 20 to 30-minute thesis “defense” of their work to faculty
     and peers. students are required to exhibit their work on a department approved public platform.
     Gen Ed: EC-C.
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        ART 4911 ADVANCED STUDIO I
        Four hours. Prerequisite: junior standing in the Department of Art and Art History and per-
        mission of the instructor. Advanced projects with emphasis on the development of a personal
        direction of expression.

        ART 4912 ADVANCED STUDIO II
        Four hours. Prerequisite: ART 4911. Advanced projects in a selected medium and stylistic approach.

        ART 4913 ADVANCED STUDIO III
        Four hours. Prerequisite: ART 4912. Continued study in advanced projects in a selected medium
        and stylistic approach.

        ART 4960-4961 ART INTERNSHIP
        Four hours each. Prerequisite: Permission of supervising faculty. Internship is intended to provide
        on-the-job training during the last three semesters of study. Following departmental internship
        guidelines and in coordination with the faculty, students secure an appropriate internship assign-
        ment in the field of their concentration. Summer internships are encouraged.

        ART 4999 SENIOR SEMINAR
        Four hours. Prerequisites: senior standing in the art program and successful completion of
        coursework that satisfies Effective Communication SLOs A and B. A senior seminar for the
        development of (1) a senior exhibition and (2) a portfolio suitable for presentation to graduate
        schools, prospective clients, and/or employers. This is the capstone course for the B.A. and
        B.F.A. in studio art, and is designed to prepare one to create professional artwork and make
        a scholarly thesis presentation, whether in preparation for graduate school or for other life
        activities. In this course, the student writes a ten-page research paper associated with his or her
        senior thesis exhibition and presents a 10- to 15-minute oral presentation and defense of his or
        her thesis exhibition at the senior thesis exhibition critique. The student undertakes and completes
        the research and writing of the thesis in consultation with the thesis advisor. The thesis
        advisor assigns the final grade. Gen Ed: Ql, EC-C

        ART HISTORY – ARH
        ARH 1100 SURVEY OF WESTERN ART AND ARCHITECTURE
        Four hours. An introduction to painting, sculpture, and architecture from prehistory to the pres-
        ent in the context of social, cultural, religious, and political history. Gen Ed: SW, FA

        ARH 2700 ART THEORY AND PRACTICE
        Four hours. Prerequisites: ARH 1100, ART 1120, ART 1131, and sophomore standing. This sopho-
        more seminar course provides a survey of contemporary theory and practice from the artist’s per-
        spective and to prepare the student for portfolio development. Students explore specific directions
        and methods of contemporary art practice, engage in art making as an aspect of their exploration
        of contemporary media, discuss health hazards associated with making art, and prepare a curricu-
        lum vita and portfolio representing themselves as contemporary artists.

        ARH 3700 HISTORY OF PHOTOGRAPHY
        Four hours. A period-survey of the origins, technological developments, key figures, pivotal artists,
        and scholarly criticism in the history of photography from 1837 through today. Gen Ed: SW, FA

        ARH 3710 ANCIENT ART AND ARCHITECTURE
        Four hours. Prerequisite: ARH 1100. An introduction to painting, sculpture, and architecture of
        the Ancient Mediterranean in the context of social, cultural, religious, and political history.
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     ARH 3720 MEDIEVAL ART AND ARCHITECTURE
     Four hours. Prerequisite: ARH 1100. An introduction to painting, sculpture, and architecture of
     the Medieval period in the context of social, cultural, religious, and political history.

     ARH 3740 RENAISSANCE ART AND ARCHITECTURE
     Four hours. Prerequisite: ARH 1100. An introduction to painting, sculpture, and architecture of
     the Renaissance period in the context of social, cultural, religious, and political history.

     ARH 3750 BAROQUE ART AND ARCHITECTURE
     Four hours. Prerequisite: ARH 1100. An introduction to painting, sculpture, and architecture of
     the Baroque period in the context of social, cultural, religious, and political history.

     ARH 3770 EIGHTEENTH-AND NINETEENTH-CENTURY ART AND ARCHITECTURE
     Four hours. Prerequisite: ARH 1100. A period-survey of European and American painting, sculp-
     ture, and architecture of the eighteenth and nineteenth centuries in the context of social, cultural,
     religious, and political history.

     ARH 3780 MODERN ART AND ARCHITECTURE
     Four hours. Prerequisite: ARH 1100. A period survey of European and American painting,
     sculpture, and architecture of the 20th century in a social, cultural, religious, and political con-
     text. Gen Ed: FA

     ARH 3790 CONTEMPORARY ART AND ARCHITECTURE
     Four hours. Prerequisites: ARH 1100 and junior or senior standing; additionally, ARH 3780 is
     highly recommended, but is not required. An introduction to painting, sculpture, architecture,
     and new media from mid-twentieth-century minimalism to the present in the context of contem-
     porary social, cultural, religious, and political history. This course has extensive writing and oral
     presentation components.

     ARH 4960–4961 ART HISTORY INTERNSHIP
     Four hours. Prerequisites: ARH 1100 and permission of supervising faculty. This course is in-
     tended to provide supervised, on-the-job training during one or more the last three semesters
     of a student’s studies. Following departmental internship guidelines and in coordination with
     the supervising faculty member, the student secures an internship assignment that provides an
     appropriate learning experience in his or her field of concentration. Summer field experiences are
     encouraged. Most art history internships are in museum or gallery settings.

     ARH 4999 ART HISTORY SENIOR THESIS
     Four hours. Prerequisites: Senior standing in the Department of Art and Art History, ARH
     1100, an ARH course at the 3000-level or higher, and permission of thesis advisor. This is the
     capstone course for the B.A. in Art History. Working closely with the thesis advisor, students
     will produce independent scholarship in the form of a written thesis and thesis presentation
     on an original art historical subject of their choosing. In this course, students will develop,
     execute, create, and present on their original research projects. Gen Ed: Ql, EC-C


     ASTRONOMY – AST
     AST 1010 DESCRIPTIVE ASTRONOMY
     Four hours. Prerequisite: High school geometry, physics, or physical science. A survey of the astro-
     nomical universe including planets, stars, galaxies, old cosmology, and new cosmology. Activities
     include use of binoculars and portable telescopes, planetarium demonstrations, problem solving,
     and investigations. Gen Ed: NW
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        ATHLETIC TRAINING PROGRAM – ATP
        Most athletic training courses are listed under the ATP designator. Courses with the health science
        designator (HSC) are designed to offer an introduction to the knowledge and skills required of
        various medical professions. These courses provide an opportunity to become familiar with the
        concepts and thought processes required to be successful in the health sciences.
        ATP 1234 MEDICAL TERMINOLOGY
        Two hours. Introduction to the language, rules and concepts needed to interpret and understand
        the terminology of medicine.
        ATP 1277 PERSPECTIVES IN ATHLETIC TRAINING I
        Two hours. Prerequisite: majors only. An introduction to the athletic training profession with em-
        phasis on pre-season and emergency preparation, heat illness, and the evaluation, treatment, and
        rehabilitation of the lower body. OSHA and HIPPA regulations are also included.

        ATP 1278 PERSPECTIVES IN ATHLETIC TRAINING II
        Two hours. Prerequisite: majors only. An overview of the athletic training profession with empha-
        sis on general medical conditions, heat illness, and the evaluation, treatment, and rehabilitation
        of the upper body.

        ATP 1305-–1306 CLINICAL EXPERIENCE PRACTICUM
        One Hour. Prerequisite: majors only. This practicum course requires students to gain clinical expe-
        rience under a certified athletic trainer or approved health care provider at FSC or an FSC affiliated
        site. Students have an opportunity to learn, observe and practice basic skills, procedures, and tech-
        niques used by athletic trainers in prevention, evaluation, treatment, and rehabilitation of injuries
        and illness. A minimum of 40 and a maximum of 80 clinical experience hours under the supervi-
        sion of a certified athletic trainer or approved health care provider are required.

        ATP 2115 EMERGENCY MEDICAL RESPONDER
        Four hours. An entry-level emergency medical provider course that prepares individuals for a
        variety of pre-hospital, industrial, and first-responder situations. The successful completion of a
        first responder course is a prerequisite to training as a firefighter, emergency medical technician/
        paramedic and many law enforcement programs. Gen Ed: Ql, Well

        ATP 2305–2306 CLINICAL EXPERIENCE PRACTICUM
        Two hours. Prerequisite: majors only. This practicum course requires students to gain clinical
        experience under a certified athletic trainer or approved health care provider at FSC or an
        FSC affiliated site. Students have an opportunity to learn, observe and practice intermediate
        skills, procedures, and techniques used by athletic trainers in prevention, evaluation, treatment,
        and rehabilitation of injuries and illness. A minimum of 80 and a maximum of 160 clinical
        experience hours under the supervision of a certified athletic trainer or approved health care
        provider are required.

        ATP 2308 THERAPEUTIC TECHNIQUES I
        Four hours. Prerequisites: ATP 1277 and ATP 1278. Introduces students to the concepts, theories,
        rationale, and practical application of treatment and rehabilitative techniques, including thera-
        peutic exercise procedures as well as the application of physical agents and electro-therapeutic
        modalities. Emphasis on the lower body.

        ATP 2309 THERAPEUTIC TECHNIQUES II
        Four Hours. Prerequisites: ATP 1277 and ATP 1278 or permission of the instructor. This course
        introduces students to the concepts, theories, rationale, and practical application of treatment and
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     rehabilitative techniques, including therapeutic exercise procedures as well as the application of
     physical agents and electro-therapeutic modalities. Emphasis on the upper body.

     ATP 2323 CLINICAL EXAMINATION AND DIAGNOSIS OF THE LOWER BODY
     Four hours. Prerequisites: ATP 1277 and 1278 or permission of the instructor. Evaluation and
     diagnosis of common lower body injuries with attention to prevention. Laboratory sessions intro-
     duce muscle testing of the lower extremity, and various wrapping and taping techniques with an
     emphasis on immediate care given to traumatic injuries. Gen Ed: Ql

     ATP 2324 CLINICAL EXAMINATION AND DIAGNOSIS OF THE UPPER BODY
     Four hours. Prerequisites: ATP 1277 and 1278 permission of the instructor. Evaluation and diag-
     nosis of common upper body injuries with attention to prevention. Laboratory sessions introduce
     muscle testing of the upper extremity, and various wrapping and taping techniques with an em-
     phasis on immediate care given to traumatic injuries. Gen Ed: Ql

     ATP 3305–3306 CLINICAL EXPERIENCE PRACTICUM
     Three hours. Prerequisite: majors only. This practicum course requires students to gain clinical ex-
     perience under a certified athletic trainer or approved health care provider at FSC or an FSC affiliat-
     ed site. The students have an opportunity to learn, observe and practice advanced skills, procedures,
     and techniques used by athletic trainers in prevention, evaluation, treatment, and rehabilitation of
     injuries and illness. A minimum of 120 and a maximum of 240 clinical education hours under the
     supervision of a certified athletic trainer or approved health care provider are required.

     ATP 3333 CONCEPTS OF NUTRITION AND PHARMACOLOGY
     Three hours. Prerequisite: majors only or permission of the instructor. Emphasis is on the
     application of nutrition to enhance sports and physical activity, and the effects of therapeutic
     medications, performance enhancing drugs. Attention is directed toward optimal performance
     including dietary modifications, issues dealing with alcohol, tobacco, illicit drugs, and pharma-
     cology. Gen Ed: Ql, Well

     ATP 3355 ADMINISTRATION OF ATHLETIC TRAINING
     Three hours. Prerequisite: majors only. Learn the principles of organization and administration
     as they apply to the many different employment settings in athletic training, including human
     resource issues, resume design and interviewing, budgeting and financial management, facility
     design, planning, and evaluation, information management including injury reporting systems,
     emergency care plans, research methods, pre-participation examinations, insurance issues and le-
     gal considerations, professional development, and public relations. Gen Ed: SW

     ATP 4305–4306 PROFESSIONAL DEVELOPMENT PRACTICUM
     Three hours. Prerequisite: majors only. This practicum course requires students to gain experience
     under a certified athletic trainer or approved health care provider at FSC or an FSC affiliated site.
     The students have an opportunity to learn, observe and practice advanced skills, procedures, tech-
     niques, and/or administrative duties used by athletic trainers in prevention, evaluation, treatment,
     and rehabilitation of injuries and illness. Requires a minimum of 120 and a maximum of 240
     contact hours under the supervision of a certified athletic trainer or approved health care provider.

     ATP 4960/4961 PROFESSIONAL DEVELOPMENT INTERNSHIP
     Twelve to sixteen hours. Prerequisite: majors only. Must have current certification in Emergency
     Cardiac Care (ECC) at the Basic Life Support/Professional Rescuer level. Must be in good aca-
     demic standing. A full semester internship (minimum of 40 hours week) at an FSC approved site,
     under the supervision of a certified athletic trainer or medical professional. 480 to 640 clinical
     experience hours required.
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        ATP 4999 PRIMARY CARE OF THE ATHLETE
        Four hours. Prerequisite: ATP majors only and successful completion of coursework that satisfies
        Effective Communication SLOs A and B. Senior capstone course. Topics include medical patholo-
        gy, pharmacology, sports epidemiology, and evidence-based practice. Gen Ed: EC-C

        BIOLOGY – BIO
        BIO 1000 BIOLOGY FOR YOUR LIFE
        Four hours. Does not count toward major or minor. This course focuses on how biological con-
        cepts impact our daily lives. Topics include the cell, ecology, evolution, and heredity. Gen Ed: NW

        BIO 1500 BIOLOGY I: BIOLOGICAL ESSENTIALS
        Four hours. A rigorous introduction to the principles that lay the foundation for the biological
        sciences. The course examines the relationships between metabolism, genetics, cell biology,
        and evolution. Students learn scientific methodology in laboratory exercises focused on cellu-
        lar and molecular biology. Gen Ed: NW

        BIO 1501 CURRENT PERSPECTIVES IN BIOLOGY
        One hour. Prerequisite: permission of instructor. Co-requisite: BIO 1500. This seminar-style
        course accompanies BIO 1500. Students will develop an understanding of the role of Biology as
        an academic discipline, reflect on the importance of Biology in society, and explore opportunities
        for a variety of careers in the Biological Sciences. Students will practice important academic skills
        that will help them succeed in BIO 1500 and across the curriculum.

        BIO 1520 INTRODUCTION TO MARINE BIOLOGY
        Four hours. Pre- or co-requisite: BIO 1500. This foundational course provides an introduction to
        the interrelated physical, chemical, geological, and biological processes of the oceans, atmosphere,
        and coasts, with a focus on Florida waters.

        BIO 1600 BIOLOGY II: BIOLOGICAL DIVERSITY
        Four hours. Prerequisite: BIO 1500 or permission of the instructor. A modern survey of the major
        groups of living organisms on Earth with emphasis on their evolutionary relationships and bio-
        logical adaptations.

        BIO 1820 OCEANOGRAPHY
        Four hours. Prerequisite: BIO 1520. An overview of the sub disciplines of ocean sciences including
        the sea floor, waves, tides, currents, the physical and chemical properties of seawater and their dis-
        tribution in the sea, and planktonic life and its relation to nutrient cycling. This course focuses on
        how we study and use the ocean as well as the impact of human activities on the oceans.

        BIO 1900 HUMAN GENETICS
        Four hours. No credit awarded if student has completed BIO 3700. Explores the basic principles of
        inheritance and their applications to medicine, behavior, forensics and populations. Gen Ed: NW

        BIO 2120 BIOLOGY AND CONSERVATION OF MARINE MAMMALS
        Five hours. Prerequisite: BIO1820. An introduction to the biology of marine mammals, including
        cetaceans, pinnipeds, sirenians and sea otters on topics including physiology, behavior, evolution,
        and ecology, with particular attention paid to the conservation of marine mammals.

        BIO 2200 ENVIRONMENTAL ISSUES
        Four hours. A study of public policy; environmental conservation and preservation; and current
        environmental issues, their origins, their consequences and possible solutions.
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     BIO 2214 DISASTERS, CIVILIZATION AND THE ENVIRONMENT
     Four hours: An analysis of the inter-relationships between human societies and their environ-
     ment. The course focuses on case studies of historical civilizations that have degraded their envi-
     ronment. Case material is then applied to current environmental problems.

     BIO 2215 HUMAN ANATOMY AND PHYSIOLOGY I
     Four hours. No credit awarded if student has completed BIO 2209, BIO 2210, or BIO 4408. Struc-
     ture and function of the following major organ systems of the human body: integumentary, skel-
     etal (including joints), muscular, and nervous. Gen Ed: NW

     BIO 2216 HUMAN ANATOMY AND PHYSIOLOGY II
     Four hours. Prerequisite: BIO 2215. No credit awarded if student has completed BIO 2209, BIO
     2210, or BIO 4408. Structure and function of the following major organ systems of the human
     body: endocrine, cardiovascular, respiratory, urinary, digestive, and reproductive.

     BIO 2220 BIOLOGY OF THE FISHES
     Five hours. Prerequisites: BIO1820. A comparative analysis of fish anatomy, taxonomy, physiology,
     behavior, ecology, evolution, and conservation and management, with a focus on the fishes found
     in Florida waters.

     BIO 2280 APPLIED MICROBIOLOGY
     Four hours. Prerequisites: BIO 1000 or BIO 1500 and CHE 1011 or CHE 1111. Pre- or co-requisite:
     CHE 1013 or CHE 1112. Does not count toward the biology major. Morphology and physiology
     of microorganisms, particularly bacteria, with emphasis on clinical disease.

     BIO 2320 MARINE MICROBIOLOGY
     Four hours. Prerequisite: BIO 1600. An overview of marine microbial diversity, mophology,
     pathogenesis, and physiology, particularly viruses, prokaryotes, and fungi.

     BIO 2500 BIOLOGY III: ECOLOGY AND EVOLUTION
     Four hours. Prerequisite: BIO 1600 or permission of the instructor. Theory, patterns, and processes
     in the biological evolution of organisms and their adaptation to the abiotic and biotic environ-
     ment.

     BIO 2520 BIOLOGICAL GEOGRAPHY AND GIS
     Four hours. Prerequisites: BIO 2500. A course for science related majors that introduces them to
     geological processes on local and regional scales, sedimentology, geography and geomorphology.
     Students will also be introduced to geographic information system (GIS) and shown how to uti-
     lize this approach to answer a multitude of geological and biological questions.

     BIO 2600 INTRODUCTION TO NEUROSCIENCE
     Four hours. Prerequisite: BIO 1500. Introduction to cellular, molecular, and developmental neu-
     roscience. Exploration of neuroanatomy, cellular communication, sensory systems, learning and
     memory, development, injury and regeneration, and disorders of the nervous system.

     BIO 2770 EXERCISE PHYSIOLOGY
     Four hours. Same as EXS 2770. Prerequisites: BIO 2215 and BIO 2216. The effects of exercise on
     human physiological systems. Students use didactic and psychomotor skills in a laboratory setting
     to reinforce physiological principles.

     BIO 2900 CONSERVATION BIOLOGY
     Four hours. Prerequisite: BIO 2500 or permission of the instructor. Exploration of the phenomena
     that affect the maintenance, loss, and restoration of biological diversity, including the impacts of
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        climate change, species invasions, and habitat destruction on biodiversity and strategies to combat
        these threats.

        BIO 3100 PLANT TAXONOMY
        Four hours. Prerequisite: BIO 2500. Nomenclature, classification, and identification of flowering
        plants, especially those of Central Florida.

        BIO 3120 BIOLOGY OF AMPHIBIANS AND REPTILES
        Five hours. Prerequisite: BIO 2500 and permission of instructor. A modern survey of amphibians
        and reptiles, including life history, physiology, behavior, ecology, evolution, and conservation, with
        a focus on the amphibians and reptiles (especially sea turtles) of Florida.

        BIO 3301 FIELD ECOLOGY
        Four hours. Prerequisite: BIO 2500. An introduction to the methods, technology, and equipment
        used to collect, analyze, and interpret ecological and environmental data. Students will apply the
        techniques they learn to investigation of environmental problems and ecological issues.

        BIO 3302 PLANT NUTRITION
        Four hours. Same as HRT 3302. Prerequisites: HRT 3301 and either BIO 1600 or HRT 2100. This
        course deals with the relationship of plants to soil in their acquisition of the mineral nutrients
        needed for life. Students examine the chemical and physical properties of plant mineral nutrients,
        their reactions in the soil, and how the plant absorbs, transports, modifies, stores, and utilizes
        them. There is an emphasis on Florida soils and crops.

        BIO 3316 TROPICAL ECOLOGY
        Four hours. Prerequisites: BIO 2500. A field course studying the geology, history, vegetation, and
        ecology of a tropical region. Students may take the course twice, with different topic emphasis.

        BIO 3360 MEDICAL BOTANY
        Four hours. Prerequisite: BIO 1500. The history and uses of plants in medicine in the U.S. and oth-
        er cultures around the world. Special emphasis is placed on plant medicine in European history
        and modern uses in other areas of the world.

        BIO 3362 BIOCHEMISTRY: MOLECULAR BIOLOGY
        Four hours. Same as CHE 3362. Prerequisites: BIO 1500, CHE 2232, and CHE 2252. Students
        consider important topics in molecular genetics, including structure, function and manipulation
        of DNA, and selected topics in metabolism and signaling.

        BIO 3371 BIOCHEMISTRY: STRUCTURE AND FUNCTION
        Three hours. Same as CHE 3371. Prerequisite: CHE 2232 and CHE 2252. Suggested prerequisite
        BIO 1500. Biochemistry is the study of the molecules and chemical reactions of living systems.
        Topics covered include water, structure and function of amino acids, proteins, carbohydrates, lip-
        ids, and nucleic acids, enzyme kinetics and regulation, and the supramolecular architecture of
        cellular components.

        BIO 3372 BIOCHEMISTRY: METABOLISM
        Three hours. Same as CHE 3372. Prerequisite: CHE/BIO 3371. Metabolism is the study of bio-
        chemical energetics and biochemical pathways of living systems. Topics include the metabolism of
        carbohydrates, lipids, proteins, and nucleic acids along with the integrated nature of metabolism.

        BIO 3373 BIOCHEMISTRY: STRUCTURE AND FUNCTION LABORATORY
        One hour. Same as CHE 3373. Prerequisite or Co-requisite: CHE 3371. Study the molecules and
        chemical reactions of living systems. The laboratory provides a hands-on opportunity to study
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     macromolecules and to learn the fundamental experimental techniques of biochemistry includ-
     ing electrophoresis, chromatography, spectroscopy and principles of enzymatic assays.

     BIO 3378 DIALOGUES IN SCIENCE AND RELIGION
     Four hours. Same as REL 3378. Prerequisites: any 1000 level or above course in the natural sciences
     and any 2000 level or above course in religion. Offered in the spring semester every other year.
     Considers the cultural, philosophical and intellectual factors that have contributed to the develop-
     ment of the relationship between science and religion in Western thought. Gen Ed: MV

     BIO 3500 MARINE ECOSYSTEM ECOLOGY
     Four hours. Prerequisites: BIO 2500. Examination of processes that drive biological and ecological
     patterns in the marine and estuarine environment with a focus on major marine habitats.

     BIO 3600 SPECIAL TOPICS IN BIOLOGY
     Two to four hours. Prerequisites: BIO 2500 and CHE 1011 or CHE 1111. The course explores dif-
     ferent topics in biology, which may include recent developments in different fields. Students may
     repeat the course for credit with a different topic emphasis.

     BIO 3700 GENETICS
     Four hours. No credit will be awarded if student has completed BIO 1900. Prerequisite: BIO 1500 or
     permission of the instructor. This course explores the principles of heredity as applied to all living
     organisms, the use of genetics to investigate evolution, and the application of genetics to the topics
     of immunology, cancer, and development.

     BIO 3710 MICROBIOLOGY
     Four hours. Prerequisites: BIO 1500 AND CHE 2231 and CHE 2251 or BIO 3700. Morphology
     and physiology of microorganisms, with particular emphasis on bacteria.

     BIO 3727 TECHNIQUES IN NUCLEIC ACID AND CLONING RESEARCH
     Four hours. Prerequisite: BIO 2280 or BIO 2320 or BIO 3710. Techniques in DNA isolation and
     analysis, including purification, quantitation, PCR, agarose gel electrophoresis, and cloning DNA
     in prokaryotes, including use of plasmids, restriction digests, ligation, and transformation. Appro-
     priate database analysis of DNA sequences.

     BIO 3770 BIOINFORMATICS
     Four hours. Prerequisite: BIO 3700 or BIO 3710; MAT 2032 or MAT 2022 and MAT 2027. Ad-
     vanced methods involved in acquiring, manipulating, and analyzing biological datasets. The
     course will introduce students to basic programming skills and advanced bioinformatic tech-
     niques that they can apply to address real research questions.

     BIO 3800 CELL BIOLOGY
     Four hours. Prerequisites: BIO 1500 and CHE 2231 and CHE 2251. Structure and functions of the
     cell as the basic unit of life, with emphasis on those features common to all living cells.

     BIO 3850 PARASITOLOGY
     Four hours. Prerequisites: BIO 2500 or permission of instructor. This course focuses on the iden-
     tification and understanding of parasitic organisms and their hosts, including most of the major
     groups of animals with parasitic members. The course focuses on human parasites, tropical medi-
     cine, and epidemiology, but includes veterinary diagnostics and the parasites of wildlife.

     BIO 3900 ANIMAL BEHAVIOR
     Four hours. Prerequisite: BIO 2500 or permission of the instructor. Analysis of behavior patterns
     and their importance in the natural environment.
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        BIO 3920 MARINE INVERTEBRATE ZOOLOGY
        Five hours. Prerequisites: BIO 2120 or BIO 2220. This course provides a modern survey of the
        major branches of marine invertebrates, focused on bauplans (body plans), ecology, and evolution
        (phylogenetics) of each fascinating phylum, with primary attention provided to organisms collect-
        ed along Florida coastlines and the Caribbean.

        BIO 3988, 3989 PROFESSIONAL SHADOWING
        Zero to one hour. Same as PHP 3988, 3989. Prerequisite: permission of the instructor. Students
        shadow a professional (for example a physician, dentist or veterinarian) for at least forty hours
        to observe the profession, experience how professionals conduct themselves, and learn policies
        governing privacy issues in the profession. Students selecting the zero credit hour option enroll
        on a pass/fail basis.

        BIO 4150 PLANT ANATOMY AND PHYSIOLOGY
        Four hours. Prerequisites: BIO 1600 and either CHE 1011 or 1111, or permission of the instructor.
        Photosynthesis, respiration, and other metabolic processes, anatomy, growth, and water relation-
        ships in vascular plants. Engaged learning activities include group demonstrations of concepts
        discussed in class as well as group work on multi-week experiments on which graded reports are
        written.

        BIO 4160 DEVELOPMENTAL BIOLOGY
        Four hours. Prerequisite: BIO 3362 or BIO 3700, or BIO 3800, or permission of the instructor. A
        study of the developmental processes of invertebrate and vertebrate animals.

        BIO 4200 HISTOLOGY
        Four hours. Prerequisite: BIO 3800, or permission of the instructor. A study of the structure and
        function of human tissues.

        BIO 4240 SEMINAR IN BIOTECHNOLOGY
        Two hours. Prerequisites: Permission of instructor. Overview of the biotechnology industry fo-
        cusing on a variety of topics related to basic research, industry practices, and applications of
        biotechnology.

        BIO 4300 IMMUNOLOGY
        Four hours: Prerequisites: BIO 3362 or BIO 3710 or BIO 3800, or permission of instructor. Build
        basic knowledge of the immune response and its involvement in health and disease, including the
        role of the immune system in fighting infections, preventing cancer, immunizations, autoimmune
        conditions, allergic reactions, and transplant rejection.

        BIO 4330 TECHNIQUES IN PROTEIN PURIFICATION
        Four hours. Prerequisite: Permission of instructor. Protein purification, focusing on native pro-
        teins, includes methods such as column chromatography, gel electrophoresis, and western blot-
        ting. Protein expression and purification in recombinant systems are also explored.

        BIO 4360 TECHNIQUES IN TISSUE CULTURE AND CELL SIGNALING
        Four hours. Prerequisites: Permission of the instructor. This course covers the theory and prac-
        tice of animal tissue culture. Students develop laboratory skills in continuous and primary cell
        culture, as well as microscopic observation and biochemical and cytological analysis of cultured
        cells. Students investigate signal transduction pathways and molecules, and how they relate to
        normal cellular function and disease. (Special course fee is required: $100)

        BIO 4460 INTRODUCTION TO ECOLOGY RESEARCH
        Two hours. Prerequisites: Permission of instructor. Introduction to and preparation for research
        in ecology, resulting in the generation of a research proposal at the conclusion of the semester.
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     BIO 4461, 4462 RESEARCH: ECOLOGY
     Four hours. Prerequisite: BIO 4460 or permission of the instructor, and successful completion of
     coursework that satisfies Effective Communication SLOs A and B. Students learn basic techniques
     in ecological research, and design and carry out research in ecology. Gen Ed: EC-C

     BIO 4560 INTRODUCTION TO MOLECULAR BIOLOGY RESEARCH
     Two hours. Prerequisites: Permission of instructor. Introduction to and preparation for research
     in molecular biology, concluding with the generation of a research proposal.

     BIO 4561, 4562 RESEARCH: MOLECULAR BIOLOGY
     Four hours. Prerequisite: BIO 4560 or permission of instructor and successful completion of
     coursework that satisfies Effective Communication SLOs A and B. Learn basic techniques in mo-
     lecular biology research and design and carry out research in molecular biology. Gen Ed: EC-C

     BIO 4661, 4662 SITE-SPECIFIC RESEARCH IN BIOLOGY:
     Six hours. Prerequisite: permission of instructor, and successful completion of coursework that
     satisfies Effective Communication SLOs A and B. Students design and carry out an original re-
     search project. The background, design and analysis are done on campus, with the data and speci-
     men collection being done during an extensive travel experience. Students are required to pay for
     travel-related expenses, and may use Junior Journey funds as applicable. Gen Ed: EC-C

     BIO 4960, 4961 BIOLOGY INTERNSHIP
     Zero to eight hours (eight hours maximum). Prerequisites: Junior or Senior standing; permission
     of and consultation with a full time faculty member the semester prior to the internship; mini-
     mum 3.0 grade point average. Correlating theory and practice in at least one operational setting;
     supervision by cooperating professionals and faculty. Students selecting the zero credit hour op-
     tion enroll on a pass/fail basis.

     BUSINESS ADMINISTRATION – BUS
     BUS 1105 PERSONAL FINANCE
     Four hours. An overview of personal and family financial planning with an emphasis on financial
     record-keeping, spending, budgeting, tax planning, consumer credit, buying decisions, purchasing
     insurance, selecting investments, and retirement and estate planning.

     BUS 1115 THE DYNAMICS OF BUSINESS AND FREE ENTERPRISE
     Four hours. An interdisciplinary survey course designed for taking a first look at the dynamics
     of business and free enterprise. Ethical values, collaboration and leadership are emphasized, and
     issues of work, careers, and the essentials for success in life are explored. Through an integrated
     and competitive entrepreneurial project, students discover how business makes a positive and
     consequential impact on society. This course is designed for first year students.

     BUS 2100 INTRODUCTION TO THE PHILOSOPHY OF BUSINESS
     Four hours. Many people have preconceived notions of what free enterprise means and what
     role, if any, business plays in our social order. This class challenges many preconceived notions
     of free enterprise by asking what is the philosophical relationship between individuals and the
     state and the philosophical relationship between individuals and society. The course uses eco-
     nomic methodology as the mental model to discuss the role information and knowledge play
     in coordinating individuals in society to improve the lives of others. In the process, the course
     questions the dangers of hubris and anti-intellectualism in business and ask whether business is
     inherently social.
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        BUS 2217 PRINCIPLES OF MANAGEMENT
        Four hours. Concepts, principles, and functions of management applicable to all types of organi-
        zations; different managerial styles.

        BUS 2220 MICROSOFT EXCEL FOR BUSINESS
        Two credit hours. An introduction to basic, intermediate, and advanced features of Microsoft Excel
        for use in business applications. Students will learn how to create and format a workbook, work
        with common formulas and functions and produce and modify charts for data presentation. In
        addition, students will explore advanced features, including complex formulas and functions, mac-
        ros, what-if analyses and pivot tables used in data analysis, financial modeling and management
        decision-making.

        BUS 3100 BUSINESS, SOCIAL ORDER, & MARKET-BASED MANAGEMENT
        An in-depth examination of the institutional structure necessary for a flourishing social order.
        An exploration of the need to use economics as a mental model to understand market behavior
        and apply it to understanding the economy as an informational feedback mechanism allowing
        social cooperation and entrepreneurial activity. The course also discusses how societies provide
        quality assurance in the absence of government regulation. This requires the student to invoke
        basic economic theory, particularly supply and demand and opportunity cost analysis, and to
        apply the understanding of social science to business management.

        BUS 3115 SALES MANAGEMENT AND PERSONAL SELLING
        Four hours. Prerequisite: BUS 3160. The course addresses sales management methods and con-
        cepts applicable to the efficient recruitment, deployment, and retention of an effective sales force
        in the twenty-first century business environment. Class demonstrations in different facets of sell-
        ing and exercises in the art of persuasion illustrate theories of buyer motivation, and help students
        develop a command of the language of sales. The course follows a process model of selling that
        applies across product concepts. There is an emphasis on participative exercises including class-
        room discussion of written assignments, presentations and role playing exercises.

        BUS 3125 INTERNATIONAL BUSINESS ENVIRONMENT
        Two hours. An initial examination of the differences between business in a domestic context and
        business in an international context. Content includes exposure to culture, political, and social
        environment considerations, as well as trade theory, government influence on trade, and global
        management strategy. Gen Ed: SW

        BUS 3160 MARKETING PRINCIPLES
        Four hours. Prerequisites: ECO 2010 or ECO 2205 (Interdisciplinary majors/minors are eligible
        for prerequisite substitutions or waivers). Marketing principles, functions, organizations, methods,
        and problems involved in the exchange process known as marketing; a managerial perspective
        that revolves around the marketing concept and the marketing mix. Gen Ed: Ql

        BUS 3175 INTERNATIONAL MARKETING STRATEGIES
        Four hours. Prerequisites: BUS 3125 and BUS 3160. An analysis of global, international, and mul-
        ticultural issues as they relate to companies and countries with an integrated course project that
        is applied to an actual organization. The integrated project requires students to learn, analyze, and
        creatively solve a marketing problem followed by determining the best method(s) to use to com-
        municate the solution to the client organization.

        BUS 3311 LEGAL ENVIRONMENT OF BUSINESS
        Four hours. Introduction to commercial, property, administrative, constitutional and liability law,
        and the American court system, with special emphasis on how it affects people in business. Stu-
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     dents engage in evaluation, analysis, and application of legal doctrines to business and personal
     situations. Gen Ed: Ql

     BUS 3312 COMMERCIAL LAW
     Two hours. Prerequisite: BUS 3311. In-depth study of the legal issues and principles inherent
     in business transactions, including sales, commercial paper, contracts, secured transactions, real
     property, business organizations, and trusts and estates; with heavy emphasis on applications of
     principles to problems.

     BUS 3320 APPLIED STATISTICS OF BUSINESS AND ECONOMICS
     Four hours. Same as ECO 3320. Prerequisite: BUS 2220 or its equivalent or permission of the
     instructor. Mathematical statistical tools for managerial analysis, research, and decision making,
     data collection and presentation, multi-variable hypothesis testing, regression analysis, time series
     analysis, forecasting, decision analysis, inventory management, modeling and simulation, and
     project management. Gen Ed: Qn

     BUS 3453 MANAGERIAL FINANCE
     Four hours. Prerequisites: ACC 2112 and ECO 2010 or ECO 2205 and ECO 2207. Planning and
     controlling sources and uses of a firm’s funds. Includes capital budgeting, dividend policies, deter-
     mination of optimal capital structure, and internal vs. external financing of expansion.

     BUS 3455 FINANCIAL PLANNING AND POLICY
     Four hours. Prerequisites: BUS 3453. Study and analysis of the financial planning process includ-
     ing client interactions, assessment of investor risk profiles, construction of comprehensive per-
     sonal financial statements and financial plans, ethics and responsibilities of professional financial
     planners, and the regulation of the financial services industry.

     BUS 3575 NEW VENTURE CREATION
     Four hours. A study of the entrepreneurial aspects of business management including financial
     understanding as well as all of the activities in managing a business. Analyzes how entrepreneurs
     help shape and energize the free-enterprise system with innovation and job creation. Global con-
     siderations and entrepreneurship are included. The student discovers the advantages and pitfalls
     of entrepreneurship through the comprehensive development of a business plan assignment.

     BUS 3666 LEADERSHIP COMPETENCIES
     Four hours. Prerequisite: BUS 2217. Study and application of cases, concepts, and theories relat-
     ed to leadership. Experiential exercises are used to simulate leadership situations and facilitate
     growth in leadership skills and abilities.

     BUS 3670 FINANCIAL RISK MANAGEMENT
     Four hours. Prerequisites: ACC 2112 and ECO 2010 or ECO 2205 and ECO 2207. The course
     presents the fundamentals of financial risk management. It provides a realistic and conceptually
     motivated overview of risk management for global corporations. Techniques to identify, measure
     and manage financial risk including use of futures, options, swaps, real options, financial engineer-
     ing, value-at-risk and other risk measures are studied and applied.

     BUS 3705 BUSINESS INFORMATION SYSTEMS
     Four hours. Provides an overview of business data processing and management information sys-
     tems. Covers introductory concepts of systems analysis techniques, nature of computer applica-
     tions in business, problem solving, and discusses the future of information technology.

     BUS 3888 PRINCIPLES OF REAL ESTATE ANALYSIS AND VALUATION
     Four hours. Prerequisites: ACC 2112 and ECO 2010 or ECO 2205 and ECO 2207. This course
     provides a survey of real estate assets, markets, and decisions. The emphasis is on the development
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        of analytical techniques and information required for implementation; the course also covers
        institutional features of real estate markets and transactions.

        BUS 3960 PROFESSIONAL DEVELOPMENT
        Two Credit Hours. Prepare for professional internship and employment opportunities by develop-
        ing essential career planning/management skills. The course will address the critical topics of pro-
        fessionalism and business etiquette, personal branding, resume/cover letter writing, networking,
        interviewing, digital portfolios, social media and technology. The course will examine transitional
        issues faced by students as they navigate the professional world of work.

        BUS 4110 LAW IN FILM I: LEGAL ISSUES AND PROCEDURES
        Two hours. Prerequisites: junior standing and BUS 3311 and other approved criminology or po-
        litical science course, or permission of the instructor. An in-depth examination of legal issues and
        procedures, and the perception versus the reality of the American legal system and the practice of
        law through the use of mainstream films and television shows.

        BUS 4115 INTERNATIONAL MANAGEMENT
        Four hours. Prerequisites: BUS 2217 and BUS 3125. This is a seminar course covering global la-
        bor markets, staffing, training and development, performance appraisal, and compensation. The
        course also examines the key competencies of global leaders and the challenges of managing
        global assignments.

        BUS 4120 LAW IN FILM II: ETHICS AND PERCEPTIONS
        Two hours. Prerequisites: junior standing and BUS 3311 and other approved criminology or po-
        litical science course, or permission of the instructor. Ann in-depth examination of legal and busi-
        ness ethics and the perception of lawyers, businessmen, and the legal system created by cinematic
        depictions.

        BUS 4188 INVESTMENTS
        Four hours. Prerequisite: BUS 3453. Emphasis from standpoint of individual investor in corporate
        and government securities; investment objectives; appraisal of investment risks; valuation of secu-
        rities; portfolio management.

        BUS 4205 SPREADSHEET MODELING AND QUANTITATIVE BUSINESS DECISIONS
        Four hours. Prerequisites: BUS/ECO 3320 and BUS 3453. The course provides a complete and
        modern treatment of management science methodology and the use of spreadsheet applications.
        Topics include decision theory, linear programming, network analysis, transpiration & assign-
        ment, PERT/CPM, forecasting, inventory control and queuing theory.

        BUS 4255 INTERNATIONAL FINANCIAL MANAGEMENT
        Four hours. Prerequisites: ACC 2112 and BUS 3125. Examination of the international financial en-
        vironment of business. Emphasis is on the financial decision making process relating to foreign ex-
        change risk management, hedging, arbitrage, currency futures and option markets, management
        of foreign investments, country risk analysis, international sources of financing and international
        money and capital markets.

        BUS 4420 BUSINESS ANALYTICS
        Four hours. Prerequisites: BUS 2220 and BUS 3320. This course introduces students to the tools
        used for business decision-making in today’s rapidly advancing data-driven business environment.

        BUS 4425 CFA LEVEL I PREP
        Four hours. Prerequisites: Instructor approval and registration for the upcoming CFA Level I
        Exam (requires senior standing). Prepare to take and pass Level I of the Chartered Financial Ana-
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     lyst (CFA) curriculum. Learn the basic tools underlying the 10 topic areas in the CFA curriculum
     (Ethical and Professional Standards, Quantitative Methods, Economics, Financial Reporting and
     Analysis, Corporate Finance, Equity Investments, Fixed Income, Derivatives, Alternative Invest-
     ments, and Portfolio Management and Wealth Planning).

     BUS 4430 BUSINESS ETHICS, COMMUNICATION, AND RISK MANAGEMENT
     Four hours. Prerequisites: junior standing, and BUS 2217 and 3311 or permission of the instruc-
     tor,. This course integrates legal research, writing, and document creation with business ethics.
     It is designed to prepare business students to effectively address and avert the legal and ethical
     challenges they will face in day-to-day business operations. Gen Ed: MV

     BUS 4466 MARKETING RESEARCH
     Four hours. Prerequisites: BUS 3160 and BUS/ECO 3320 (Interdisciplinary majors/minors are eli-
     gible for prerequisite substitutions or waivers). Marketing research is a vehicle for students to use
     what they have learned with what they will do when they graduate. The course focuses on the use
     of research methods in formulating marketing policies and strategies; analysis and evaluation of
     research results; student surveys and research studies with cooperating organizations.

     BUS 4488 MARKETING MANAGEMENT
     Four hours. Prerequisites: BUS 2217 and BUS 4466. Management of marketing functions and
     analysis of problems of representative companies, including product development, pricing, pro-
     motion, and distribution; uses of computer in market management.

     BUS 4960/4961 BUSINESS ADMINISTRATION INTERNSHIP
     Two to four hours. Prerequisites: BUS 3960; junior standing; minimum 3.0 GPA; permission of
     the instructor. Correlating theory and practice in an operational setting; supervision by cooperat-
     ing practitioners and faculty in approved areas of application.

     BUS 4999 SEMINAR IN STRATEGIC MANAGEMENT OF THE BUSINESS ENTERPRISE
     Four hours. Prerequisites: senior standing, all other courses in the major, and successful comple-
     tion of coursework that satisfies Effective Communication SLOs A and B. The capstone course
     of the business administration major. The course integrates knowledge of all business disciplines
     from other courses. Uses case studies, individual projects and team-based projects to identify prob-
     lems, formulate strategic policies, and create original strategic plans to shape the future of business
     organizations. The course emphasizes analysis, decision-making, and implementation of business
     strategies. Gen Ed: EC-C

     CHEMISTRY – CHE
     CHE 1000 PREPARATION FOR PRINCIPLES OF CHEMISTRY
     Two hours. A review and practice in those basic principles and mathematical skills needed by stu-
     dents planning to take CHE 1111 and CHE 1112. Coursework includes active learning exercises
     and collaborative problem solving.

     CHE 1005 CHEMISTRY OF FOOD AND COOKING
     Four hours. Exploration of the science of food from a basic chemical perspective. Through the
     course, students will examine the components of food, including spices and other additives, and
     the preparation of food. The course specifically addresses the physical and chemical changes asso-
     ciated with food preparation at a basic level, in addition to food storage or preservation and trends
     in food industry as it pertains to chemistry. This course uses some hands-on activities which will
     require in-lab activities and demonstrations. Gen Ed: NW
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        CHE 1110 CHEMISTRY, BIOCHEMISTRY, AND SOCIETY
        Two hours. Co-requisite: CHE 1111. Pre-requisite: Chemistry or Biochemistry and Molecular Biol-
        ogy major, or permission of instructor. This seminar course accompanies CHE 1111 for BMB and
        chemistry majors and includes learning to navigate higher education, time management skills,
        tools to develop communication skills, and career education. Students will be engaged in service
        learning projects in which they will apply tools and content they learn to a problem or develop
        methods of communicating chemistry and biochemistry.

        CHE 1011 CHEMICAL FOUNDATIONS FOR THE BIOLOGICAL SCIENCES
        Four hours. A review and study of chemical concepts that includes atomic structure, chemical
        reactions, chemical bonding, acidity and basicity and oxidation-reduction reactions. The labo-
        ratory portion contains experiments to reinforce the principles introduced in the classroom.
        Gen Ed: NW

        CHE 1013 ENVIRONMENTAL CHEMISTRY FUNDAMENTALS
        Four hours. Prerequisite: CHE 1011. Principles of the distribution and interaction of matter in
        the atmosphere and in aqueous systems. Human influences on each will be explored, along with
        major classes of environmental pollutants.

        CHE 1111 PRINCIPLES OF CHEMISTRY I
        Four hours. Prerequisite: High school chemistry, CHE 1000 or CHE 1011. Quantitative treatment
        of the principles of chemistry including stoichiometry, states of matter, energy, atomic structure,
        periodicity, ionic compounds, and molecular structure. Gen Ed: NW

        CHE 1112 PRINCIPLES OF CHEMISTRY II
        Four hours. Prerequisite: CHE 1111. The topics covered in this course include: intermolecular
        forces, kinetics, equilibrium, acid, bases, buffers, thermodynamics, electrochemistry, nuclear chem-
        istry, and introduction to basic organic chemistry.

        CHE 2105 ENVIRONMENTAL CHEMISTRY
        Four hours. Prerequisite: CHE 1112. Study of the chemical composition and processes within
        atmospheric, aquatic, and soil systems. Energy sources, climate change, human influences on
        environmental systems, and the transport and degradation of environmental pollutants will be
        examined.

        CHE 2110 PHYSIOLOGICAL CHEMISTRY
        Four hours. A survey and study of chemical concepts that includes atomic structure, chemical
        reactivity, chemical bonding, and acid/base chemistry. Special emphasis is placed upon the study
        of organic compounds that includes structure, properties, and reactions of functional groups fol-
        lowed by an examination of the role these molecules play in biological structures and processes.
        For RN-to-BSN students only.

        CHE 2231 ORGANIC CHEMISTRY I
        Three hours. Prerequisite: CHE1112, and Co-requisite or Pre-requisite: CHE 2251. Detailed study
        of carbon compounds approached through the study of nomenclature, structure, stereochemis-
        try, functional groups, reactions, and mechanisms. This course includes drawing, visualizing and
        describing molecular features, interactions of organic compounds, rationale of mechanistic path-
        ways, and applications of kinetics and thermodynamics. The basic theory and interpretation of in-
        strumentation, including polarimetry, NMR, IR and Mass spectroscopy, will be used to determine
        molecular structure.
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     CHE 2232 ORGANIC CHEMISTRY II
     Three hours. Prerequisite: CHE 2231 and CHE 2251, and Co-requisite or Pre-requisite: CHE
     2252 or CHE 2254. CHE 2231. Continuation of the study of carbon compounds approached
     through the study of structure, functional groups, reactions, multi-step synthesis, computational
     simulations, and mechanisms. An emphasis is placed upon synthesis illustrating chemical reac-
     tivity, regiochemistry, and stereochemistry. To further evaluate structure and chemical properties,
     the course will incorporate analysis of NMR, IR, UV-Vis and Mass spectroscopy relevant to the
     reactions and theory of the course. Biochemical molecules are introduced.

     CHE 2251 ORGANIC CHEMISTRY I LABORATORY
     One hour. Co-requisite or Pre-requisite: CHE 2231. Study of basic techniques and procedures
     in isolation, purification, identification, and synthesis. Techniques will include extraction, recrys-
     tallization, distillation, and organic reactions. Students will be introduced to molecular charac-
     terization of organic compounds utilizing IR, NMR, polarimetry, MS, melting point range, and
     refractometry. Students will learn to keep a formal and detailed lab notebook.

     CHE 2252 ORGANIC CHEMISTRY II LABORATORY
     One hour. Co-requisite or Pre-requisite: CHE 2232 and Pre-requisite: CHE 2251. Continuation of
     the study of basic techniques and procedures in isolation, purification, and molecular characteri-
     zation of organic compounds. Instrumentation will include the use of IR, refractometer, and mass
     spectroscopy. Students will keep a formal and detailed lab notebook.

     CHE 2275 FORENSIC CHEMISTRY
     Four hours. Prerequisite: CHE 1112. This course focuses on the applications of chemistry to foren-
     sic science. Through the use of case studies such as the Kennedy assassination, Napoleon’s death,
     the Shroud of Turin, etc., the topics of trace evidence (soils, glass, and heavy metals poisons);
     toxicology and pharmacology (analysis of alcohol, poisons and drugs) will be explored. Stu-
     dents will gain experience with analytical and instrumental methods used in investigating
     crimes, with emphasis on the measurement accuracy and traceability required in criminalistics.
     Students will be involved in engaged learning activities including guided inquiry experiments,
     collaborative problem solving, team-based laboratory projects, and searching the literature us-
     ing discipline specific databases.

     CHE 2335 ANALYTICAL CHEMISTRY
     Four hours. Prerequisite: CHE 1112. Study the principles of analytical chemistry with emphasis on
     quantitative measurements and statistical data analysis. Topics may include gravimetric analysis,
     volumetric, and potentiometric methods of analysis with a focus on acid-base, reduction-oxida-
     tion, and complexometric chemistry.

     CHE 2254 ORGANIC CHEMISTRY II LABORATORY FOR MAJORS
     One hour. Pre-requisite or Co-requisite: CHE 2232 and Pre-requisite: CHE 2251. Continuation of
     the study of carbon compounds approached through the study of structure, functional groups, re-
     actions, multi-step synthesis and mechanisms. In the laboratory, emphasis is placed upon synthe-
     sis illustrating chemical reactivity and molecular characterization utilizing NMR, IR, polarimetry,
     and mass spectroscopy. Students will keep a formal and detailed lab notebook and write formal
     reports as a record of their work.

     CHE 2355 DESCRIPTIVE INORGANIC CHEMISTRY
     Four hours. Prerequisite: CHE 1112. Fundamental topics in inorganic chemistry are explored,
     among them: atomic theory and periodicity, the structure of simple solids, main group elements,
     and structure and bonding of coordination compounds. The laboratory component of the course
     gives students experience with various laboratory techniques used in the synthesis and character-
     ization of inorganic compounds.
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        CHE 2890 CAREER SHADOWING
        One hour. Pass/fail. Prerequisite: Permission of instructor. Course may be repeated for credit twice.
        This course is restricted to Chemistry and BMB students at the sophomore and junior level in the
        major only. Students must shadow at least two chemical and/or biochemical related career paths,
        such as food or flavor chemistry, forensic chemistry, chemicals engineering, medicine, chemical
        education, patent law, environmental consulting, and other industrial chemical opportunities
        with at least 20 hours to observe each profession. Students will gain insight into chemical related
        fields of interest to them with the aim of developing a better awareness of career opportunities.
        Students will examine current trends in the fields and be exposure to literature in these fields. This
        course will also provide students with an opportunity to develop their personal statement and
        resumes. Students must shadow professionals in two different disciplines outside of those already
        shadowed if this course was previously taken. This course is an elective and does not count toward
        the majors or minors.
        CHE 2960 INTERNSHIP EXPLORATION IN CHEMISTRY
        Two to four hours. Prerequisite: CHE 1112 and permission of instructor. A full- or part-time
        work-study appointment in a clinical, commercial, governmental, or industrial laboratory super-
        vised jointly by an on-site supervisor and Department of Chemistry faculty member. A minimum
        of 40 contact hours per credit hour is required at the internship site. A maximum of two credit
        hours can count towards the chemistry major
        CHE 3320 APPLIED SYNTHESIS AND CHARACTERIZATION
        Three hours. Prerequisite: CHE 2232 and CHE 2252. This course will explore advanced synthetic
        methods inorganic and inorganic chemistry, multistep syntheses requiring separations and puri-
        fication, and characterization of products using advanced spectroscopic techniques. Students also
        develop skills in utilizing the scientific literature by developing a literature review for a current
        research topic. Students also explore ethical issues in the practice of science.
        CHE 3330 FOUNDATIONS OF MEDICINAL CHEMISTRY
        Three hours. Prerequisite: CHE 2232 and CHE 2252. Examination of the principles behind drug
        distribution, specificity, and metabolism from the perspective of foundational medicinal chemical
        concepts. Medicinal and synthetic organic chemistry aspects of the design, synthesis, and drug
        delivery, as well as the role of natural product discovery will be discussed. This course will also
        explore the factors that influence the action of therapeutic drugs, including drug structures and
        structure activity relationships.
        CHE 3335 INSTRUMENTAL ANALYSIS
        Three hours. Prerequisite: CHE 2335. The objective of this course is to apply the principles of
        quantitative chemical analysis to instrumental techniques. Electrochemical, chromatographic, and
        spectroscopic techniques are covered in theory and in practice through a combination of lecture
        and hands-on experimentation.
        CHE 3340 PHYSICAL CHEMISTRY FOR THE BIOLOGICAL SCIENCES
        Four hours. Prerequisites: CHE 2231, CHE 2251, and MAT 2311. Foundational concepts of phys-
        ical chemistry, including equilibrium thermodynamics, kinetics, molecular structure, and spec-
        troscopy, as they apply to biochemical systems and macromolecules.

        CHE 3341 PHYSICAL CHEMISTRY I
        Four hours. Prerequisites: CHE 2232, CHE 2252, MAT 2312, and PHY 2120. Foundations of quan-
        tum mechanics, atomic and molecular structure and the chemical bond, atomic and molecular
        spectroscopy. In both the classroom and in the laboratory, students will participate in engaged
        learning activities that may include, but are not limited to, guided inquiry experiments, active
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     learning exercises, computational exercises, collaborative learning and problem solving, team-
     based laboratory projects, experimental design, literature searches using library resources, web-
     based content, and discipline specific databases (such as SciFinder), and individual/small group
     peer teaching.
     CHE 3342 PHYSICAL CHEMISTRY II
     Three hours. Prerequisite: CHE 3341. The topics covered in this class include properties of gases,
     statistical mechanics and thermodynamics, phase and chemical equilibria, solutions, kinetics and
     reaction dynamics.
     CHE 3362 BIOCHEMISTRY: MOLECULAR BIOLOGY
     Four hours. Same as BIO 3362. Prerequisites: BIO 1500, CHE 2232, and CHE 2252. Students con-
     sider important topics in molecular genetics, including structure, function and manipulation of
     DNA, and selected topics in metabolism and signaling.

     CHE 3371 BIOCHEMISTRY: STRUCTURE AND FUNCTION
     Three hours. Same as BIO 3371. Prerequisite: CHE 2232 and CHE 2252. Suggested prerequisite
     BIO 1500. Biochemistry is the study of the molecules and chemical reactions of living systems.
     Topics covered include water, structure and function of amino acids, proteins, carbohydrates, lipids,
     and nucleic acids, enzyme kinetics and regulation, and the supramolecular architecture of cellular
     components.

     CHE 3372 BIOCHEMISTRY: METABOLISM
     Three hours. Same as BIO 3372. Prerequisite: CHE/BIO 3371. Metabolism is the study of bio-
     chemical energetics and biochemical pathways of living systems. Topics covered include the me-
     tabolism of carbohydrates, lipids, proteins, and nucleic acids along with the integrated nature of
     metabolism.

     CHE 3373 BIOCHEMISTRY: STRUCTURE AND FUNCTION LABORATORY
     One hour. Same as BIO 3373. Prerequisite or Co-requisite: CHE 3371. Biochemistry is the study
     of the molecules and chemical reactions of living systems. The laboratory provides a hands-on
     opportunity to study macromolecules and to learn the fundamental experimental techniques of
     biochemistry including electrophoresis, chromatography, spectroscopy and principles of enzy-
     matic assays.

     CHE 4405 HUMAN HEALTH RISK ASSESSMENT
     Three hours. Prerequisite: CHE 2105. This course will introduce students to the process of hu-
     man health risk assessment, with a primary focus on toxic substances that humans are exposed
     to through their environments. Basic methods in exposure assessment, estimation of exposure
     point concentrations, toxicity assessment, and risk characterization will be covered.

     CHE 4410 INTRODUCTION TO RESEARCH METHODS
     Two hours. Prerequisite: senior standing, credit for Effective Communication A and Effective
     Communication B General Education SLOs, or permission of instructor. Restricted to students
     majoring in Chemistry or Biochemistry and Molecular Biology. This course will encompass the
     exploration of a scientific research topic under the supervision of a professor having expertise in
     that area. It will consist of library and laboratory investigations that will culminate in the dissem-
     ination of the research methods and findings via a written research report and oral presentation.
     Gen Ed: EC-C

     CHE 4425 SPECIAL TOPICS IN CHEMISTRY
     Two to four hours. Prerequisite: Permission of instructor. Upper-level examination of current or
     advanced topics in chemistry. Course may be repeated for credit with different topics.
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        CHE 4450 BIOINORGANIC CHEMISTRY
        Three hours. Prerequisite CHE 2355. This course will investigate the role of metals in biological
        processes. It will apply fundamental principles of inorganic chemistry such as coordination chem-
        istry, hard/soft acid base chemistry, electrochemistry, and spectroscopy to understand the interac-
        tion of metals in biomolecules. The course will also explore metals in medicine, with respect to
        bioavailability, toxicity, and environmental issues.

        CHE 4455 ADVANCED INORGANIC CHEMISTRY
        Three hours. Prerequisites: CHE 2355 and CHE 3341. This course covers coordination chemis-
        try and reaction mechanisms, group theory and symmetry as applied to the understanding of
        bonding and spectroscopy of inorganic compounds, fundamentals of organometallic reactions,
        catalysis, and special topics in bioinorganic and material science. Students participate in engaged
        learning activities including guided inquiry projects, collaborative problem solving, team-based
        research projects, and searching the literature using discipline specific databases.

        CHE 4475 ADVANCED FORENSIC CHEMISTRY
        Four hours. Prerequisites: CHE 2275, CHE 3371. This course enhances student understanding
        of the field of forensic science through exposure to serology, DNA analysis, and metabolomics
        in toxicology. The course will concentrate on the analysis of biological evidence such as human
        blood, semen, saliva, urine, fecal matter, and hair; including the employment of techniques to
        classify evidence. Students will also be introduced to techniques that are currently, or have been
        previously, used in operational crime laboratories in the U.S.

        CHE 4960 INTERNSHIP IN CHEMISTRY
        Two to four hours. Prerequisite: senior standing and permission of the instructor A full- or part-
        time work-study appointment in a clinical, commercial, governmental, or industrial laboratory su-
        pervised jointly by an on-site supervisor and chemistry department faculty member. A minimum
        of 40 contact hours per credit hour is required at the internship site. A maximum of two hours of
        internship can count toward the chemistry major.

        CHE 4999 SENIOR RESEARCH
        Two hours. Prerequisite: senior standing and CHE 4410 and successful completion of coursework
        that satisfies Effective Communication SLOs A and B. A capstone course that engages the student
        in the exploration of a scientific research topic under the supervision of a professor having exper-
        tise in the areas of interest. It consists of library and laboratory investigations that culminate in a
        written research report and the dissemination of the research methods and findings at a scientific
        or scholarly meeting. Gen Ed: EC-C

        CHINESE - CHN
        Each course is an enhanced self-study program in the NASILP (National Association of Self-In-
        structional Language Programs) format, which relies heavily upon the student’s motivation and
        discipline. Major emphasis is on the development of oral-aural skills. Class time is spent in oral
        drills and conversation practice with a native-speaking (or equivalent) tutor. Classes are conducted
        almost entirely in Chinese. Students study the grammar independently, using the NASILP format
        with the help of the assigned text and workbook, as well as in the lab. Students are expected to
        work outside of class and in the lab each week and come to class prepared.
        CHN 1101 FIRST SEMESTER CHINESE
        Four hours. Prerequisite: Cumulative GPA of at least 2.5 or approval from the Critical Languages
        program director.
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     CHN 1102 SECOND SEMESTER CHINESE
     Four hours. Prerequisite: CHN 1101 proficiency.
     CHN 2203 SECOND YEAR CHINESE
     Four hours. Prerequisite: CHN 1102 proficiency.

     CITRUS – CIT
     CIT 3301 INTRODUCTION TO CITRUS
     Four hours. Pre- or corequisite: HRT 2100 or permission of the instructor. This is the introductory
     course in citrus production. It discusses the botany of citrus, its varieties, and rootstocks, soils
     suitable for citrus and development of a young citrus grove, as well as Florida hydrology and me-
     teorology and their effects on water availability for citrus production.

     CIT 3302 CITRUS GROVE MANAGEMENT
     Four hours. Prerequisite: HRT 2100 or permission of the instructor. Examine commercial citrus
     production methods, such as frost protection, nutrient requirements, citrus pests, irrigation, cul-
     tivation and weed management, and rehabilitation of bearing citrus groves of all major varieties.

     CIT 3313 CITRUS POSTHARVEST PRACTICES
     Four hours. Prerequisite: CIT 3301 or permission of the instructor. This course is an examination
     of the operations and technology involved in citrus processing (juice) plants and citrus by-prod-
     ucts. It also includes the physiology of citrus fruits, packinghouse operations for fresh fruit variet-
     ies, postharvest diseases and disorders, and legal maturity tests and standards.

     CIT 4303 CITRUS PEST AND DISEASE MANAGEMENT
     Four hours. Prerequisite: CIT 3301 or permission of the instructor. This course examines the in-
     sects, mites, and nematodes affecting citrus, as well as the fungal, bacterial, and viral diseases of the
     crop. It considers biological, cultural, and chemical controls, planning spray programs, as well as
     pesticide safety and best management practices.

     CIT 4999 CITRUS PRODUCTION AND BUSINESS PRACTICES
     Four hours. Prerequisites: CIT 3302 and 4303 and HRT 3302, or permission of the instructor, and
     successful completion of coursework that satisfies Effective Communication SLOs A and B. This
     is the capstone course for the citrus major. The objective is to develop an original full production
     plan for a commercial citrus operation in Florida, using knowledge from all of the other courses
     offered in the departmental curriculum. Gen Ed: EC-C

     COMMUNICATION – COM
     COM 1100 INTRODUCTION TO COMMUNICATION
     Two hours. This course is designed to give students a general overview of the discipline of commu-
     nication studies, which includes interpersonal, organizational, strategic communication, online
     media and other media platforms. Students will learn about current issues surrounding commu-
     nication studies, and upon completion, will be able to understand disparate forms and purposes
     of communication across many contexts.

     COM 1101 MEDIA FOUNDATIONS
     Four hours. This course is an examination of the principles and processes of media creation.
     Media Foundations provide students with an appreciation of the history, theory and principles
     of visual communication in mass media with an emphasis on graphic, web and multimedia de-
     sign. Students gain a broad overview of the full media development methods through various
     original creative works.
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        COM 1500 FUNDAMENTALS OF SPEECH
        Four hours. Theory and practice of public address; preparation and delivery of short speeches;
        development of critical thinking and listening. Gen Ed: EC-B

        COM 1600 FORENSICS PRACTICUM I
        Two hours. Prerequisite: COM 1500 or permission of the instructor. Directed participation in
        forensic activities including dramatic interpretation, public address, extemporaneous speaking,
        and debate. Participation in forensic tournaments off-campus constitutes a major element of the
        course. Two contact hours per week with instructor or coaching staff for research/rehearsal. Gen
        Ed: EC-B

        COM 1601 FORENSICS PRACTICUM II
        Two hours. Prerequisite: COM 1600. Directed participation in forensic activities including dra-
        matic interpretation, public address, extemporaneous speaking, and debate. Participation in fo-
        rensic tournaments off-campus constitutes a major element of the course. Two contact hours per
        week with instructor or coaching staff for research/rehearsal. Gen Ed: EC-B
        COM 2100 MASS MEDIA AND SOCIETY
        Four hours. An in-depth look at the influences of the mass media on American culture. Emphasis
        is on the historic, social and political impact of the media, both print and electronic. Gen Ed: SW

        COM 2101 NEWS MEDIA PRACTICUM I
        One hour. Prerequisite: sophomore standing or permission of the instructor. A team-taught course
        across multiple media platforms that provides students practical experience in newspaper writing
        and production, broadcast studio production and broadcast performance, depending on student
        preference.

        COM 2102 NEWS MEDIA PRACTICUM II
        One hour. Prerequisite: COM 2101 or permission of the instructor. A team-taught course across
        multiple media platforms that provides students practical experience in newspaper writing
        and production, broadcast studio production and broadcast performance, depending on stu-
        dent preference.

        COM 2110 MEDIA WRITING
        Two hours. Effective writing for the various media. Includes style and format and differences
        amongst the media. Mastery of spelling, punctuation, and grammar through in-class writing as-
        signments. Students will also produce material for student media.

        COM 2150 MEDIA IN SPORT
        Four hours. Same as SPM 2150. This course primarily looks at the different media in which sport
        is covered, researched and presented to the public. Print, electronic and new media are analyzed.
        Students learn to define the careers available in sport media as well as the roles associated with
        the sport media industry. Focus is on the domestic market; however, international sport media is
        also examined.

        COM 2200 ADVANCED PUBLIC SPEAKING
        Four hours. Prerequisite: COM 1500. An in-depth study of public address through examination
        of popular speeches, preparing and presenting manuscript, memorized, impromptu, and extem-
        poraneous speeches.

        COM 2250 INTERPERSONAL COMMUNICATION
        Four hours. A study of the dynamics of human communication in various settings. Course focus
        is on verbal and nonverbal messages, listening, conflict, and relationships. Group and partner dis-
        cussions, oral presentations, and performances are important elements of class. Gen Ed: SW, EC-B
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     COM 2260 SMALL GROUP COMMUNICATION
     Four hours. The study of small group communication theory and practice in various situations.
     Course focus is on how small groups are used to solve problems, reach decision, and make rec-
     ommendations. Groups will work with campus and community groups to identify solutions and
     make recommendations to solve presented issues. Gen Ed: SW

     COM 2270 INTERCULTURAL COMMUNICATION
     Four hours. Same as SOC 2270. This course explores the unique relationship between communi-
     cation and culture. Students examine their own beliefs, values, behaviors, and norms as they are
     exposed to a variety of cultural dynamics and mores in this increasingly global society. This course
     balances concepts and theories of intercultural communication with practical application. The
     goal of this course is to enhance the student’s effectiveness as a communicator and as citizen of the
     global community. Gen Ed: MV, SW

     COM 2400 PRINCIPLES OF ADVERTISING AND PUBLIC RELATIONS
     Four hours. Prerequisites: Completion of Effective Communication SLOs A & B or permission of
     the instructor. Survey of advertising and public relations methods. Focus on professional commu-
     nication strategies and tactics, use of relevant research methodologies, and understanding com-
     munication campaigns.

     COM 2500 VISUAL COMMUNICATION
     Four Hours. This course introduces students to the principles of visual design communication
     using computer software and technology. Special attention is given to visual design principles,
     typography, layout and digital production techniques. Students will learn to think about audience
     and medium and how they impact content. Through peer and faculty critiques, students will
     learn how to improve and manage how they communicate in a digital world.
     COM 3101 NEWS MEDIA PRACTICUM III
     One hour. Prerequisite: COM 2102 or permission of the instructor. A team-taught course across
     multiple media platforms that provides students practical experience in newspaper writing
     and production, broadcast studio production and broadcast performance, depending on stu-
     dent preference.
     COM 3102 NEWS MEDIA PRACTICUM IV
     One hour. Prerequisite: COM 3101 or permission of the instructor. Team-taught across multiple
     media platforms, this course provides practical experience in newspaper writing and production,
     broadcast studio production, and broadcast performance, depending on student preference.
     COM 3200 PERSUASION
     Four hours. Prerequisites: Successful completion of Effective Communication SLO A. An exam-
     ination of the major theoretical perspectives and concepts related to persuasion. The course will
     familiarize students with major theories, areas of research, and ethical issues in the social scientific
     study and application of persuasion. Gen Ed: SW, EC-B
     COM 3210 ORGANIZATIONAL COMMUNICATION
     Four hours. Prerequisite: Successful completion of Effective Communication SLOs A & B. This
     course focuses on the principles of communication within a variety of organizational structures.
     Students explore and discuss research on communication networks, how information is processed
     within systems, and the relationship between communication and organizational culture and cli-
     mate. Gen Ed: SW
     COM 3300 NEWS REPORTING AND FEATURE WRITING
     Four hours. Prerequisites: COM 2110. Writing and researching news and features for delivery
     through print, broadcast and online outlets.
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        COM 3310 BROADCAST WRITING
        Four hours. Prerequisite: COM 3300 or permission of instructor. Introduces and develops writing
        for broadcast readers, voice-overs and news packages. Emphasizes writing for video and wrapping
        around audio in a real-world deadline environment. Includes broadcast producing.
        COM 3320 INTRODUCTION TO BROADCAST JOURNALISM
        Four hours. Prerequisite: COM 3300. An introduction to the process of electronic newsgathering,
        video editing, and production of news packages. Live-to-tape studio production is also introduced.
        COM 3340 ADVANCED VIDEO PRODUCTION
        Four hours. Prerequisite: COM 3320. Continues the process of electronic storytelling. In-depth,
        hands-on instruction of digital editing and multimedia graphics software.

        COM 3353 EDITING FOR MEDIA
        Two hours. Prerequisite: COM 3300 or permission of instructor. Study of the principles and prac-
        tices of copyediting, with a focus on selection of material, editing for grammar and appropriate
        style and accuracy.

        COM 3355 PUBLICATION DESIGN AND PRODUCTION
        Two hours. Prerequisite: COM 2500. The study and principles and practices of effectively design-
        ing and producing publications, including newspapers, magazines and newsletters.

        COM 3360 ONLINE MEDIA
        Four hours. Prerequisite: COM 3300 and junior standing. The study of how to prepare and dis-
        play news information online. How to critically evaluate content for an on the web. Produce
        multimedia stories.

        COM 3370 PHOTOJOURNALISM
        Four hours. Prerequisite: COM 2500 or permission of the instructor. Acquaint students with the
        techniques of digital photography and the skills needed for all areas of news photography. Class
        discussions center on the skills, knowledge and attitudes necessary to be successful in life and in a
        career in journalism. They include critiquing, coaching, training and mentoring others; best prac-
        tices in photographing specific genres of news items; how to avoid legal entanglements; ethical
        issues of publishing; personal safety; and relevant topical issues of the day. A goal of this class is to
        have a photograph published during the semester.

        COM 3410 ADVERTISING CREATIVE
        Four hours. Prerequisites: COM 2500 or ART 1120. A non-art course emphasizing the deadline-driv-
        en elements of advertising design in the professional world with an emphasis on agency needs.

        COM 3420 ADVERTISING WRITING
        Four hours. Prerequisite: COM 2400 and COM 2500. Provides an emphasis on developing the
        writing skills that are necessary for effective advertising copy, including writing for traditional and
        non-traditional media.

        COM 3450 PUBLIC RELATIONS WRITING
        Four hours. Prerequisites: COM 1500 and COM 2500. Students develop industry-appropriate writ-
        ing skills and techniques including creation of press releases, backgrounders, pitch letters, and
        other relevant media products. This course focuses on using audience analysis, demographics, and
        psychographics to tailor messages to specific audiences. Creation of a portfolio is required.

        COM 3500 ADVANCED DESKTOP PUBLISHING
        Four hours. Prerequisite: COM 2500. Prepares aspiring communication professionals for re-
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     al-world desktop publishing environments requiring professional software applications. Empha-
     sis is placed on project asset management and integration of applications as they are used in a
     professional environment. Students practice basic management skills via peer-centered critiques,
     coaching and mentoring. Creation of a portfolio is required.

     COM 3900 SPECIAL TOPICS IN COMMUNICATION
     Four hours. Prerequisites: Successful completion of coursework that satisfies Effective Communi-
     cation SLOs A and B. Concentrated study of a special topic in communication, including health
     communication, rhetoric of the 1960s, rhetoric of the women’s movement, narrative inquiry, com-
     munication as performance, communicating addiction, or ethnography. Course may be repeated
     for credit with a different topic.

     COM 3905 POLITICS AND THE MEDIA
     Four Hours. Same as POS 3905. A systematic description and analysis of the roles and impacts of
     the media within the American political arena. Attention will be paid to the impact of the chang-
     ing processes and modes of the media (e.g., cable news, the internet, blogging and tweeting) on
     citizen involvement, political campaigns, and governing. Some previous work in either political
     science or journalism is advised but not required. This course is cross-listed with the Political Sci-
     ence Department as POS 3905. Gen Ed: SW, QL

     COM 3955 PROFESSIONAL DEVELOPMENT FOR COMMUNICATION CAREERS
     One hour. Prerequisites: Majors only. Must have completed or be concurrently enrolled in all
     3000-level courses required for major. This course is a precursor to a student’s required commu-
     nication internship and must be completed in the semester preceding the internship. It focuses
     on career development and job search skills, culminating in students securing internships for the
     following semester.

     COM 3960-3961 COMMUNICATION FIELD EXPERIENCE
     One hour. Prerequisite: Permission of instructor. Pre-internship experience working in a pro-
     fessional communication setting. Supervision by cooperating practitioners and department
     faculty. 40 hours of on-the-job experience is required.

     COM 4300 NEWS MEDIA PROJECTS
     Four hours. Prerequisite: COM 3360. Special project topics that refine and apply skills learned
     in previous journalism classes. The production of broadcast feature segments for television and
     online. Real-world media convergence is emphasized in group projects.

     COM 4350 PUBLIC RELATIONS STRATEGIES
     Four hours. Prerequisites: COM 3450. May be taken up to two times with permission of the instruc-
     tor as topics change. The Public Relations Strategy course is a special topics course focusing on dis-
     cussion of strategies and tactics within a variety of public relations fields such as crisis management,
     political communication, international communication, grass-roots/advocacy public relations, and/
     or non-profit public relations. Students will conduct original campaign research, analyze the results,
     and devise a research-driven public relations campaign appropriate to the class focus.

     COM 4400 ADVERTISING AND PUBLIC RELATIONS CAMPAIGNS
     Four hours. Prerequisites: Either COM 3410 or COM 4350 for majors. Either ART 3410, 3510,
     or BUS 4488 for interdisciplinary minors. The orchestration of research, planning and commu-
     nication skills for a client or employer seeking to achieve measurable outcomes that influence
     target publics.
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        COM 4401 ADVERTISING AND PUBLIC RELATIONS CAMPAIGNS I
        Two hours. Prerequisites: Either COM 3410 or COM 4350 for majors. Either ART 3410, 3510,
        or BUS 4488 for interdisciplinary minors. The orchestration of research, planning and commu-
        nication skills for a client or employer seeking to achieve measurable outcomes that influence
        target publics.

        COM 4402 ADVERTISING AND PUBLIC RELATIONS CAMPAIGNS II
        Two hours. Prerequisites: COM 4401 or permission of instructor. The orchestration of research,
        planning and communication skills for a client or employer seeking to achieve measurable out-
        comes that influence target publics.

        COM 4500 COMMUNICATION LAW AND ETHICS
        Four hours. Prerequisites: ART 3365, COM 2400 or COM 3210 or COM 3300 or or or permis-
        sion of the instructor, and successful completion of coursework that satisfies Effective Commu-
        nication SLOs A and B. An examination of major legal issues facing participants in the mass
        media, including First Amendment rights, libel and defamation, privacy and open access to
        government information. In addition, the course explores ethical principles as they relate to
        media ethics. Gen Ed: EC-C

        COM 4550 COMMUNICATION RESEARCH
        Four hours. Prerequisites: Either COM 4500 OR COM 4999 or permission of instructor. Students
        are introduced to quantitative and qualitative research methodologies used by communication
        professionals and researchers. The course focuses on proper application of methodologies and
        interpretation of data.

        COM 4900 SENIOR PROJECT
        Four hours: Prerequisite: COM 4550 or permission of the instructor, senior standing, and a min-
        imum GPA of 3.0 overall cumulative and a GPA of 3.5 within communication major. Develop,
        execute, create, and present an original research project.

        COM 4960/4961 COMMUNICATION INTERNSHIP
        Three hours. Prerequisite: COM 3955. On-the-job experience in specific concentration. Super-
        vision by cooperating practitioners and department faculty. Oral report and written reports on
        field experience required. 40 hours of on-the-job experience for each one-semester hour of credit.

        COM 4999 SPEECH AND MASS COMMUNICATION THEORY
        Four hours. Prerequisites: ART 3365, COM 2400 or COM 3210 or COM 3300 or permission of the
        instructor, and successful completion of coursework that satisfies Effective Communication SLOs
        A and B. Seminar in speech and mass communication theory and its role in the study of medi-
        ated and human communication. This course explores foundations of communication research,
        memes in the literature, and current trends. Students are responsible for writing a research paper
        focused on a topic of significance within the field of communication. Gen Ed: EC-C

        COMPUTER SCIENCE – CSC
        CSC 1010 VISUAL BASIC PROGRAMMING (FOR NON-MAJORS)
        Two hours. Introduction to design and development of computer programs using Visual BASIC.
        Topics include design of visual human-computer interfaces, calculations, decision making, and
        loops. Does not count toward the computer science major or minor or the computer science/
        mathematics major.
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     CSC 1020 BITS, BOTS AND GAMES (FOR NON-MAJORS)
     Two hours. Introduction to current computer science topics such as human-computer interaction,
     robotics, computer games, and societal issues. Does not count toward the computer science major
     or minor or the computer science/mathematics major.

     CSC 1980 COMPUTER SCIENCE FRESHMAN SEMINAR
     Two hours. Explore topics in computer science, including ethical and societal implications of ad-
     vances in technology. Discuss careers in computing with emphasis on the diversity of career paths.

     CSC 2100 DISCRETE STRUCTURES
     Four hours. Same as MAT 2100. An introduction to discrete mathematics. Topics include logic, set
     theory, basic proofs, mathematical induction and recursion, counting principles and probability.
     Gen Ed: Qn

     CSC 2280 INTRODUCTION TO COMPUTER SCIENCE
     Four hours. Concepts of algorithmic thinking, computer programming, machine organization
     and selected current topics in computer science. Programming in Python.

     CSC 2290 OBJECT-ORIENTED PROGRAMMING
     Four hours. Prerequisite: CSC 2280. An introduction to the concepts and methodology of the
     object-oriented programming paradigm. Topics include definition and creation of classes and ob-
     ject, inheritance and polymorphism, interfaces and abstract classes, and exception handling. Com-
     pletion of projects using object-oriented programming in a high-level programming language.

     CSC 3280 DATA STRUCTURES
     Four hours. Prerequisite: CSC 2290. Covers the design, analysis, and implementation of the funda-
     mental data structures of Computer Science. Topics include elementary data structures (including
     arrays, stacks, queues, and lists), advanced data structures (including trees and graphs), recursion,
     an introduction to runtime analysis, and searching and sorting techniques.

     CSC 3310 COMPUTER ORGANIZATION AND ARCHITECTURE
     Four hours. Prerequisite: CSC 2290 or sophomore standing. Introduces students to digital systems,
     logic circuits, and the organization and architecture of computer systems, beginning with the von
     Neumann model and then moving forward to more recent architectural concepts.

     CSC 3340 DATABASE MANAGEMENT SYSTEMS
     Four hours. Prerequisite: CSC 2290. Explore the principles and practice of relational database
     design and analysis, including topics of entity-relationship modeling, functional dependencies,
     normalization, and Structured Query Language (SQL). Other related issues are discussed such
     as other database models, object-oriented database schemes, concurrent data access, recovery and
     security, and NoSQL databases.

     CSC 3350 COMPUTER GAME DESIGN
     Four hours. Prerequisite: CSC 2290. Storyboarding, technology, science, and graphics involved in
     the creation of computer games. Emphasis on hands-on design and development of games.

     CSC 3380 ANALYSIS OF ALGORITHMS
     Four hours. Prerequisite: CSC 3280. Design and analysis of algorithms and data structures, includ-
     ing asymptotic analysis, sorting, selection, graph algorithms, recurrence relations, divide-and-con-
     quer algorithms, greedy algorithms, search trees, NP-completeness. Programming in C++.

     CSC 3400 SOFTWARE ENGINEERING
     Four hours. Prerequisite: CSC 3280. Presents fundamental principles of software engineering.
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        Emphasizes software design, implementation, and maintenance. Techniques used in the major
        phases of the software life cycle such as agile process, rapid prototyping, object-oriented design,
        and module testing, are discussed. Software teams complete a term project that includes system
        documentation, design, and implementation.

        CSC 3510 INTRODUCTION TO ARTIFCIAL INTELLIGENCE
        Four hours. Prerequisite: CSC 2290. Investigate concepts and techniques central to artificial intelli-
        gence, including representation, heuristic search, machine learning, genetic algorithms, planning,
        and games.

        CSC 3520 MACHINE LEARNING
        Four hours. Prerequisite: CSC 3510. Examine the fundamental models and methods used in ma-
        chine learning, such as regression, neural networks, learning theory, support vector machines, rec-
        ommender systems. Programming in Python or other appropriate language.

        CSC 3610 INTRODUCTION TO WEB DEVELOPMENT
        Four hours. Prerequisite: CSC 2290. Study the basic principles of web development beginning
        with an introduction to modern markup and styling languages. Learn how to create static pages
        and how to implement designs consistent with web standards and best practices. Explore the tools
        used to provide feedback on the quality of a page’s HTML and CSS to ensure accessibility and
        accuracy. Finally, learn introductory server-side scripting for developing dynamic web content.

        CSC 3620 WEB APPLICATION ARCHITECTURES
        Four hours. Prerequisite: CSC 3610. Building on technologies introduced in CSC 3610, this course
        goes into greater detail and focuses on building large-scale web applications. Learn to leverage
        frameworks to build sites that work across browsers and platforms as well as fundamental JavaS-
        cript concepts and how to use PHP test-driven development, regular expressions, and security
        techniques as best practices for engineering high performance web solutions.

        CSC 3810 PRINCIPLES OF COMPUTER NETWORKING
        Four hours. Prerequisite: CSC 2290. An overview of computer networking theory and network
        architecture with introductions to cyber security and historical threats. Students will be exposed
        to core internetworking protocols. Discussion will include weaknesses in protocols, consequen-
        tial vulnerabilities, and resultant mitigations. Practical exercises will equip students with hands
        on experience by building required components of a security lab environment.

        CSC 3820 PENETRATION TESTING
        Four hours. Prerequisite: CSC 3810. An examination of attack methodologies with focus on
        their phases, tactics, and techniques. Students will gain hands-on experience with all phases of
        testing: planning and preparation, intelligence gathering, enumerating and analyzing vulnerabil-
        ities, exploitation of the target, post-exploitation reporting and clean-up.

        CSC 3951 COMPUTER SCIENCE RESEARCH I
        Two or three hours. Prerequisites: CSC 3380, permission of the instructor, and minimum 3.0 grade
        point average. Conduct directed research in a computer science topic to be selected in consulta-
        tion with the faculty and produce a semester-long project culminating in a formal presentation
        with detailed technical documentation of the research process and results.

        CSC 4400 SOFTWARE ENGINEERING
        Four hours. Prerequisites: CSC 2232 and successful completion of coursework that satisfies Ef-
        fective Communication SLOs A and B. Study concepts and methods of large-scale software de-
        velopment., including requirements analysis, specification, design, implementation, testing, and
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     documentation. Explore professional and ethical responsibilities and risks and liabilities of com-
     puter-based systems. Individual responsibility, teamwork, professionalism, and effective written
     and oral technical communication are emphasized in a semester-long project. Gen Ed: EC-C

     CSC 4410 OPERATING SYSTEMS AND CONCURRENCY
     Four hours. Prerequisite: CSC 3310 and 3380. Examine the components of an operating system,
     processes, scheduling, memory management, and file systems, including concurrent program-
     ming and synchronization.

     CSC 4510 ADVANCED TOPICS IN ARTIFICIAL INTELLIGENCE
     Four hours. Prerequisite: CSC 3520. In-depth examination of a current topic in artificial intelli-
     gence, such as evolutionary computation, artificial neural networks, planning, and gaming.

     CSC 4610 ADVANCED TOPICS IN WEB DEVELOPMENT
     Four hours. Prerequisite: CSC 3620. In-depth examination of a current topic in web develop-
     ment and cloud computing, such as web security, user experience, mobile app development,
     and web engineering.

     CSC 4640 SELECTED TOPICS IN COMPUTER SCIENCE
     Two to four hours. Prerequisite: CSC 3380 or permission of the instructor. Study contemporary
     topics in computer science such as big data and robotics. May be repeated for credit with a
     different topic.

     CSC 4645 SELECTED TOPICS IN COMPUTER SCIENCE AND MATHEMATICS
     Two or four hours. Prerequisite: permission of instructor. Covers contemporary topics at an ad-
     vanced level in applied mathematics and computer science, such as numerical methods, graph
     theory. May be repeated for credit with a different topic.

     CSC 4810 THREAT DETECTION ENGINEERING
     Four hours. Prerequisite: CSC 3820. An exploration of the fundamentals of a Security Operations
     Center, including alerting of and response to threats. Students will engineer a security incident
     and event monitoring (SIEM) solution and develop playbooks for incident response. Discussion
     will include digital forensics techniques. Practical exercises will provide hands-on experience in
     identifying threats, developing SIEM rules and alerts to detect them, and response to a cyber
     compromise.

     CSC 4899 SENIOR PROJECT
     Four hours. Prerequisite: CSC 3400 and senior standing. In this capstone design experience, stu-
     dents work independently to identify a significant computing problem, analyze it, design a solu-
     tion, and implement it. Coursework culminates in a formal, public presentation/demonstration
     of the student’s original work. The class will meet weekly to discuss topics related to investigation,
     research and development, effective presentations, and job search and interview skills. Students
     will give regular progress reports to the class. Gen Ed: EC-C

     CSC 4952 COMPUTER SCIENCE RESEARCH II
     Two or three hours. Prerequisites: senior standing and CSC 3951 and permission of the instructor,
     and minimum 3.0 grade point average. Directed research in a computer science topic to be select-
     ed in consultation with the instructor. Semester-long project culminating in a formal presentation
     and detailed technical documentation of the research process and results.

     CSC 4960 INTERNSHIP IN COMPUTER SCIENCE
     Zero to four hours. Prerequisites: permission of the instructor and minimum 2.5 grade point
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        average. Correlating theory and practice in an operating setting; supervision by cooperating prac-
        titioners and faculty in several areas of application. Students selecting the zero-credit option enroll
        on a pass/fail basis.

        CSC 4999 COMPUTER SCIENCE SENIOR SEMINAR
        Two hours. Prerequisite: senior standing. Presentation and delivery of papers from the current
        computer science literature. In-depth study of a computer science topic culminating in a formal
        presentation and paper. Gen Ed: EC-C.

        CRIMINOLOGY – CRM
        CRM 2280 INTRODUCTION TO CRIMINAL JUSTICE
        Four hours. A survey of the American criminal justice decision network with emphasis on its
        foundational principles and values. Gen Ed: SW

        CRM 3303 SOCIOLOGY OF DEVIANT BEHAVIOR
        Four hours. Same as SOC 3303. Sociology/social psychology study of deviant behavior, empha-
        sizing theoretical perspectives, research and application. Examines social processes in defining
        deviance, becoming deviant and changing deviance, including culture, social class, vested and
        power interests, organizational structures, social institutions, stigma, and labeling. Gen Ed: SW, Ql

        CRM 3305 RACE, CULTURE, AND HUMAN RELATIONS
        Four hours. Same as SOC 3305. The sociological meaning of race and minority group stand-
        ing in American society; specific minority groups are analyzed with major emphasis on the Afri-
        can-American experience. Gen Ed: SW, Ql

        CRM 3310 CRIME SCENE INVESTIGATION
        Four hours. This course provides students with a general overview and understanding of forensic
        science and the mechanics of examining the various crime scenes to which a CSI typically re-
        sponds. The course explores different types of physical evidence and how to properly collect and
        preserve this evidence for laboratory testing. The processing of living victims, suspects, and the
        postmortem examination are covered. Report writing and courtroom testimony for the CSI is also
        addressed. This course emphasizes student participation in practical exercises based on the proper
        techniques utilized by real-life practitioners.

        CRM 3340 CRIMINOLOGY
        Four hours. Prerequisite: MAT 2022 or equivalent or permission of the instructor. The nature and
        extent of crime, criminal typologies, and criminological theory. Gen Ed: SW

        CRM 3350 POLICING IN AMERICAN SOCIETY
        Four hours. Prerequisite: CRM 2280. The functions and responsibilities of police with emphasis
        on issues and problems of American police. This course is designed to introduce undergraduate
        students to the principles and processes of the police as a part of the criminal justice decision
        network, the values and value conflicts which are inherent in police decisions, and issues related
        to crime control in a democratic society. Students study the approaches and methods of various
        disciplines as they apply to the study of police structure and decision-making.

        CRM 3360 JUVENILE DELINQUENCY
        Four hours. The nature and extent of juvenile delinquency, theories of causation, prevention,
        and treatment.

        CRM 3855 SPECIAL TOPICS IN CRIMINOLOGY AND SOCIOLOGY
        Four hours. Same as SOC 3855. Suggested prerequisites: CRM 2280 and one-year of college level
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     coursework or permission of the professor. Consideration of special topics in criminology and
     sociology, including current issues and trends. Examples of topics include but are not limited to
     white collar crime, victimology, comparative criminal justice systems, law and social change, and
     terrorism and the American criminal justice system. Topics will change. Course may be repeated
     for credit with a different topic.

     CRM 4420 METHODS OF SOCIAL RESEARCH
     Four hours. Same as SOC 4420. Prerequisites: 12 hours in criminology or sociology and MAT
     2022. The application of the scientific method in researching social phenomena, focusing on the
     foundations of quantitative, empirical methodologies. Students participate in the entire research
     process, including conceptualization, research design, sampling, measurement, data collection,
     computer software, statistical analysis, report writing, oral presentation. Gen Ed: SW, Qn
     CRM 4430 CRIMINALIZATION OF MENTAL ILLNESS
     Four hours. Same as PSY 4430. Prerequisites: CRM 3340 or PSY 1106 or PSY 1110. This course
     explores how the criminal justice system has become the de facto mental health system and exam-
     ines reasoned, collaborative solutions to this dilemma.
     CRM 4440 JUDICIAL PROCESSES
     Four hours. The jurisdictions, policies and procedures of American courts. Rules of evidence and
     the impact of appellate court decisions on criminal justice processes.
     CRM 4450 CORRECTIONS AND REHABILITATION
     Four hours. The history and philosophy of correctional programs, theory and research are exam-
     ined. Exploration of sentencing guidelines, probation, parole and intermediate punishments are
     undertaken. Current issues and future projections are discussed.
     CRM 4960 CRIMINOLOGY PRACTICUM
     Four hours. Prerequisites: PHI 2204, senior criminology major standing, and permission of the
     instructor. Practical experience in one or more criminal justice agencies or in research. Class focus-
     es on integrating theory and practice. Criminology Practicum is required for criminology majors
     and is to be taken during the last year of a student’s coursework. It consists of 120 hours in an agen-
     cy as a professional intern. Normally, the practicum would be taken during the summer before
     the student’s senior year, the last semester, or next-to-last semester of a student’s academic career.
     CRM 4999 SEMINAR IN CRIMINOLOGY
     Four hours. Prerequisites: PHI 2204 and senior standing, permission of the instructor, and success-
     ful completion of coursework that satisfies Effective Communication SLOs A and B. Readings,
     research, and class discussion on crime-related topics of contemporary importance such as corpo-
     rate, environmental or political crime, violence, drugs, prison over-crowding, etc. Gen Ed: EC-C

     CRITICAL LANGUAGES
     An enhanced self-study program in the NASILP (National Association of Self-Instructional Lan-
     guage Programs) format in languages that are not offered in the regular classroom setting. Major
     emphasis is on the development of oral and aural skills. Class time is spent on oral drills and con-
     versation practice with a native speaker. Class is conducted almost entirely in the target foreign
     language. Tests are given by a qualified external examiner. Languages currently offered include
     Mandarin Chinese, Arabic, German, and Portuguese. Check with the modern languages program
     for offerings.
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        DANCE
        DAN 1600 DANCE APPRECIATION
        Four hours. This course surveys the broad, complex and diverse field of dance, offering a blend of
        dance performance (recorded and live), discussion, and movement labs for those with an interest
        in the performing arts. While the focus is on dance, topics also include dance in relation to theater,
        music, visual arts, anthropology, sociology and aesthetics. Dance as a global, cultural, religious,
        political, social, creative and performance phenomenon are also explored. Gen Ed: FA

        DAN 1613 BALLET TECHNIQUE I
        Three hours. Prerequisites: Dance major or minor and audition placement. This course introduces
        students to their own movement potential through technical training and movement exploration.
        Knowledge of classical ballet technique and class structure is developed through barre and center
        exercises, studying terminology and concepts, and attending live performances. This is a low inter-
        mediate course in ballet for dance majors and minors and may be repeated once for credit.

        DAN 1643 MODERN DANCE TECHNIQUE I
        Three hours. Prerequisites: Dance major or minor and audition placement. This is a beginning/
        intermediate course in modern dance for dance majors and minors that introduces individual
        students to their own movement potential through technical training and movement exploration.
        Theoretical knowledge of dance as an expressive art form is gained through lecture/discussion
        based on class work, required readings, written assignments, and/or attendance at dance concerts.
        This class may be repeated once for credit. Gen Ed: Well

        DAN 1651 DANCE IMPROVISATION
        One hour. Prerequisites: Dance major or minor and audition placement. This is a beginning/
        intermediate course focusing on the fundamentals of dance improvisation. Topics, such as, La-
        ban movement qualities, breath work, instinctual movement, and movement inspirations are dis-
        cussed and developed into group explorations each class.

        DAN 2613 BALLET TECHNIQUE II
        Three hours. Prerequisites: DAN 1613 Ballet Technique I and permission of the instructor or au-
        dition placement. This is an high/intermediate course in ballet for dance majors and minors that
        continues to develop individual movement potential through technical training (in slippers and
        en pointe) and movement exploration. Knowledge of classical ballet technique and class structure
        is expanded upon through barre and center exercises, studying correct notation through terminol-
        ogy, and attending live performances. This course may be repeated twice for credit.

        DAN 2623 JAZZ I
        Two hours. Prerequisites: Dance major or minor. This is an intermediate course in jazz dance
        for dance majors and minors that introduces individual students to their own movement poten-
        tial through technical training and movement exploration. Theoretical knowledge of dance as an
        expressive art form is gained through lecture/discussion based on class work, required readings,
        written assignments, and/or attendance at live jazz music performances.

        DAN 2643 MODERN DANCE TECHNIQUE II
        Three hours. Prerequisites: Dance major or minor and successful completion of DAN 1643 Mod-
        ern I or audition placement. This is an intermediate level course in modern dance that continues
        to develop theoretical and practical understanding of modern dance techniques and emphasizes
        complex movement phrasing. Theoretical knowledge of dance as an expressive art form is gained
        through lecture/discussion based on class work, required readings, written assignments, and/or
        attendance at dance concerts. This class may be repeated twice for credit.
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     DAN 2651 WORLD DANCE
     Two hours. Prerequisites: Dance major or minor. Students become acquainted with basic ele-
     ments of a specific world dance form appropriate to the specialization of the instructor. Basic
     movements, general historical content and anthropological perspectives are examined and used to
     better understand the culture being studied.

     DAN 2661 CHOREOGRAPHY I
     Two hours. Prerequisites: Dance major or minor. This is an introductory course to dance cho-
     reography/compositional methods. The fundamentals of movement creation are examined and
     universal methods choreographic structure explored. Focus is on discovering inventive move-
     ment, creating a personal style of expression, and development of aesthetic judgment.

     DAN 2662 CHOREOGRAPHY II
     Three hours. Prerequisites: Dance major or minor and successful completion of DAN 2661 Cho-
     reography I. This course is a study of choreography for a group of dancers focusing on the use of
     design in space to create dances. It includes collaborative choreography methods and teaching
     choreography to fellow course participants.

     DAN 2681 TEACHING STUDIO DANCE
     One hour. Prerequisites: Dance major or minor. This course focuses on the theories, content, and
     methods for teaching dance to students in preschool through adult levels. Philosophical and prac-
     tical approaches to teaching creative movement, improvisation and ballet, modern, and jazz dance
     technique are addressed.

     DAN 3613 BALLET TECHNIQUE III
     Three hours. Prerequisites: DAN 2613 Ballet Technique II and permission of the instructor. This
     is an advanced course in ballet for dance majors and minors that expands individual movement
     potential through technical training and movement exploration with the focus on pointe work.
     Knowledge of classical ballet technique and class structure is expanded upon through barre and
     center exercises, artistry and performance qualities, and attending live performances. This class
     may be repeated twice for credit.

     DAN 3615 BALLET VARIATIONS
     One hour. Prerequisites: Successful completion of DAN 2613 Ballet II or permission of the in-
     structor. This course provides instruction in various forms of ballet. Students learn various classi-
     cal, neoclassical, and contemporary ballet variations that may include pointe technique, character
     dance, Spanish dance, men’s class, and partnering.

     DAN 3623 JAZZ II
     Two hours. Prerequisite: Dance major or minor and successful completion of DAN 2623 Jazz
     I. This is a high intermediate/advanced course in jazz dance for dance majors and minors that
     continues technical training and movement exploration and examines individual stylistic choices.
     Theoretical knowledge of dance as an expressive art form is gained through lecture/discussion
     based on class work, required readings, written assignments, and/or attendance at live jazz music
     performances.

     DAN 3643 MODERN DANCE TECHNIQUE III
     Three hours. Prerequisites: Dance major or minor and successful completion of DAN 2643 Mod-
     ern II and/or instructor permission. This is an advanced level course in modern dance continues
     to develop theoretical and practical understanding of modern dance techniques, movement styles,
     and performance, as well as build knowledge of modern dance reparatory. This class may be re-
     peated twice for credit.
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        DAN 3653 DANCE PRACTICUM
        Half hour. Prerequisite: Dance major or minor and special approval. This course includes prac-
        tical experience in curriculum dance activities under faculty supervision. Students participate in
        rehearsals in preparation for performance. This course may be repeated for up to two credit hours.

        DAN 3663 CHOREOGRAPHY III
        Three hours. Prerequisite: DAN 2661 Choreography I and DAN 2662 Choreography II. This course
        is a collaborative workshop environment in which class participants work with student choreog-
        raphers in the creation of dances of significant form and content. The course concludes with an
        informal, student produced concert showcasing the works created throughout the semester.

        DAN 3664 DANCE FOR THE CAMERA
        Four Hours. Same as ART 3664. Prerequisite: DAN 2662 for Dance majors or minors, Film majors,
        or permission of the instructor. Introduction to how dance and video work best together and why,
        including composing for the camera, recording dancers in action and editing footage to create
        original work. There are several approaches to putting dance on video, but we focus on what has
        only recently become identified as “video dance:” the contemporary term for the genre of dance
        made for the camera. This course consists of lecture, discussion, video response and film studies.
        Class content includes reading, writing, viewing and speaking about dance for camera, creating
        and showing work.

        DAN 3671 DANCE HISTORY I
        Three hours. Prerequisites: dance major or minor, and successful completion of coursework that
        satisfies Effective Communication SLOs A and B. This course is a general historical study of dance
        from antiquity to 1900. Students learn about the ritual and religious origins of dance from world
        cultures and explore the aesthetic changes that occurred from an anthropological perspective. The
        impact of social and political attitudes toward dance up until the creation of formalized ballet are
        discussed and explored.

        DAN 3672 DANCE HISTORY II
        Three hours. Prerequisites: DAN 3671 Dance History I or permission of the instructor, and success-
        ful completion of coursework that satisfies Effective Communication SLOs A and B. This course
        is a general historical study of dance and its development from 1900 to the present. The course
        emphasizes the development of Western theatrical dance forms, but includes some non-Western
        dance forms that contributed to the evolution of American concert and theatrical dance. Gen Ed:
        SW, EC-C

        DAN 3691 DANCE ENSEMBLE
        One hour. Prerequisite: dance major or minor and special approval. Participation in rehearsal,
        preparation and performance of public dance concerts in an established dance ensemble. This
        course may be repeated once for credit.

        DAN 4613 BALLET TECHNIQUE IV
        Three hours. Prerequisites: DAN 3613 Ballet Technique III and permission of the instructor. This
        is an advanced/professional-level course in ballet for dance majors and minors that refines individ-
        ual movement potential through technical training and movement exploration with the focus on
        pointe work. Knowledge of classical ballet technique and class structure is challenged and expand-
        ed upon through barre and center exercises, artistry and performance qualities, and attending live
        performances. This class may be repeated twice for credit.

        DAN 4643 MODERN DANCE TECHNIQUE IV
        Three hours. Prerequisites: dance major or minor and successful completion of DAN 3643 Mod-
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     ern III and/or instructor permission. This is an advanced/professional level course in modern
     dance that focuses on challenging phrasing, concepts, and use of movement quality, as well as
     continuing to develop a broad knowledge of modern dance repertory. This class may be repeated
     twice for credit.

     DAN4990 SENIOR SEMINAR
     One hour. Prerequisites: dance major with senior standing. This course is designed to prepare stu-
     dents for a career in dance post-graduation and covers various topics such as auditioning, electron-
     ic portfolios, arts management, concert production, and digital video archival, and preparation for
     capstone projects. This is the prerequisite to the senior project capstone course for the B.F.A. in
     Dance Performance and Choreography degree and B.A. in Dance Studies candidate.

     DAN 4999 SENIOR PROJECT
     Three hours. Prerequisites: dance major with senior standing and permission of the dance faculty
     based on the submission of a project proposal. This course is designed to provide the student with
     the opportunity to apply his/her training in a choreographic work or research setting, specific to
     the student’s needs, interests and career path. Each student works with a faculty mentor to guide
     him/her as he/she works independently to realize a self-designed project or performance. This is
     the capstone course for the B.F.A. in Dance Performance and Choreography degree and B.A. in
     Dance Studies candidate.

     ECONOMICS – ECO
     ECO 2010 ESSENTIALS OF ECONOMICS
     Four hours. This course offers an overview of both microeconomics and macroeconomics.
     Microeconomic topics include supply/demand markets, welfare analysis including consumer
     and producer surplus, deadweight loss, externalities and public goods, and theories of indus-
     trial competition. Macroeconomic topics begin with aggregate measurement of key indicators,
     international economics and trade, key macro markets such as labor and money markets, the
     Federal Reserve, aggregate supply and demand, and government tools including fiscal and
     monetary policy.

     ECO 2205 PRINCIPLES OF MICROECONOMICS
     Four hours. Consumer behavior and aggregation to markets, Producer behavior, theory of the
     firm, and aggregation to markets analysis: production and pricing of goods, factors of production
     and their attendant input markets and distribution of output, elasticities and incidence of a tax.

     ECO 2207 PRINCIPLES OF MACROECONOMICS
     Four hours. National income and product accounts; theory of aggregate supply and demand, em-
     ployment, consumption, investment, price level, economic growth, money, currency exchange, the
     Federal Reserve, interest rates, and comparative economic systems.

     ECO 3305 MICROECONOMIC THEORY
     Four hours. Prerequisite: ECO 2205. Decision making in a market-oriented economy. Consumer
     theory, production theory, and pricing and output under differing market structures.

     ECO 3307 MACROECONOMIC THEORY
     Four hours. Prerequisite: ECO 2207. National income and product accounts; IS-LM models; the-
     ory of aggregate supply and demand, employment, consumption, investment, price level, and eco-
     nomic growth.
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        ECO 3308 MONETARY ECONOMICS
        Four hours. Prerequisites: ECO 2205 and ECO 2207. An analysis of the monetary and banking
        systems and the impact of the financial sector upon real economic variables. Topics include the
        Federal Reserve System, monetary policy and implementation, and the relation of domestic and
        international financial markets and monetary problems.

        ECO 3319 LABOR ECONOMICS
        Four hours. Prerequisites: ECO 2205 and ECO 2207 or equivalents. Economic theory and analysis
        dealing with the allocation of labor as an input to the production process. Wage rate determina-
        tion, micro and macro unemployment, and income differentials are integrated topics throughout
        the course. The theory of human capital and valuation is covered in depth.

        ECO 3320 APPLIED STATISTICS OF BUSINESS AND ECONOMICS
        Four hours. Same as BUS 3320. Prerequisite: BUS 2220 or its equivalent or permission of the
        instructor. Mathematical statistical tools for managerial analysis, research, and decision making.
        Data collection and presentation, hypothesis testing, regression analysis, time series analysis and
        forecasting. Gen Ed: Qn

        ECO 3345 ECONOMICS AND THE ENVIRONMENT
        Four hours. Prerequisite: ECO 2205. Topics include valuing environments, property rights, exter-
        nalities, population problems, renewable and non-renewable resource, and pollution.

        ECO 4100 LAW AND ECONOMICS
        Four hours. Prerequisites: ECO 2205. This course provides a general survey of law and economics.
        Law and Economics has evolved from a small research field in economics and law and has become
        a robust school of thought that has permeated the study of law and legal theory during the last
        several decades. This course explores the effect of legal rules and legal institutions using the general
        tools of economics. This course applies economic concepts to the law of property, contracts, torts,
        criminal law, and constitutional law. It discusses the economic efficiency of the common law and
        examine the evolution and development of the law, legal institutions, and social norms. The course
        discusses the economic impact of the law and legal institutions on society.
        ECO 4200 HUMANOMICS: EXCHANGE AND THE HUMAN CONDITION
        Four hours. ECO 2205 or Permission of Instructor. What makes a rich nation rich? What makes a
        good person good? And what do these questions have to do with one another? While exploring
        these and other questions about markets and ethics, students challenge the perception of econom-
        ics as distinct from the humanities. This course combines the laboratory method of inquiry into
        the human propensity to exchange with the cultural interpretation of the human condition in
        novels, poems, and film.
        ECO 4406 PUBLIC ECONOMICS
        Four hours. Prerequisites: ECO 2205 and ECO 2207. An examination of the public sector and its
        contribution to and interference with economic welfare. The course includes an analysis of ex-
        penditures and revenues with regard to their allocation and distribution effects; the concept and
        significance of private goods and social goods; the role of regulatory agencies; and an examination
        of fiscal policy as a means of promoting economic stabilization and growth.
        ECO 4407 INTERNATIONAL TRADE AND FINANCE
        Four hours. Prerequisites: ECO 2205 and ECO 2207. An analysis of the causes and consequences of
        international trade and investment. Topics include theories of trade; U.S. trade policy; the balance
        of payments; exchange rates; and the international monetary system.
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     ECO 4415 INDUSTRIAL ORGANIZATION
     Four hours. Prerequisite: ECO 2205. A study of policy approaches to the problems of monopoly;
     industrial market structures and how they influence firm conduct and economic performance;
     welfare implications of oligopoly pricing and non-price competition; government regulation and
     antitrust policies in theory and practice.
     ECO 4550 COMPARATIVE ECONOMIC SYSTEMS
     Four Hours. Prerequisites: ECO 2205 and ECO 2207 or by permission of the instructor. This
     course focuses primarily on comparative political economics. The course focuses on the problems
     of economic development and the globalization debate; it is divided into four sections. Section
     one covers the basic economic concepts and factual information required for a political economic
     analysis of policy issues associated with economic development and globalization. Section two
     discusses the New Institutional approach to political economy and economic growth. This section
     also discusses the problems transitional economies have faced within the last ten years. Section
     three discusses the difficulties that have been confronted in over fifty years of attempts to solve the
     problem of underdevelopment. The final section of the course discusses the globalization debate;
     as well as the impact on economics and the environment and the cultural consequences of a glob-
     al marketplace for ideas and products. Gen Ed: EC-C
     ECO 4999 CONTEMPORARY ISSUES IN ECONOMICS
     Four hours. Prerequisite: final semester senior standing or permission of the instructor. Select-
     ed topics. Opportunity for original research in economics. Major research paper with formal
     public presentation.

     EDUCATION – EDU
     EDU 1102 INTRODUCTION TO STEM
     Two hours. The teacher candidate will demonstrate knowledge and understanding of STEM
     education as it applies to K-12 learners. Emphasis will be on foundational concepts of STEM
     education including the integration of science, technology, engineering, and mathematics into
     everyday curriculum.

     EDU 1107 FOUNDATION OF EDUCATION I
     Four hours. An introduction to the study of public and non-public education systems, past, and
     present, in the United States and in other countries. Emphasis on problems, issues, and trends
     in contemporary American education as viewed from historical, sociological, psychological, and
     economic perspectives are examined. This course also serves as a prologue to comprehensive
     classroom management.

     EDU 2200 FIELD STUDY LEVEL I
     One hour. Prerequisite: EDU 1107. Supervised field studies taken simultaneously with major el-
     ementary and secondary education courses. Block scheduling with specific courses and schools
     ware arranged each semester. Students participate in instructional activities, classroom planning,
     classroom management exercise, ESOL activities, and follow all the guidelines and requirements
     of the classroom teacher.

     EDU 2202 STEM IN THE CLASSROOM
     Two hours. Prerequisite: EDU 1102. The teacher candidate will apply knowledge and understand-
     ing of STEM education as it pertains to K-12 learners. Emphasis will be on instructional practices
     of STEM education including the integration of science, technology, engineering, and mathemat-
     ics into everyday curriculum.
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        EDU 2203 FOUNDATIONS OF EDUCATION II
        Two hours. Prerequisite: EDU 1107. An introduction to the study of public and non public ed-
        ucation systems emphasizing legal, professional and ethical issues in education, curriculum, and
        instruction, education psychology and classroom management.

        EDU 2210 FOUNDATIONS IN SPECIAL EDUCATION
        Two hours. This is a major requirement that included Florida Exceptional Student Education
        Competencies K-12 as required by the Florida Department of Education. A study of the various
        exceptionalities found among children in public and private school, including the history, char-
        acteristics, etiology, terminology, incidence, eligibility guidelines and issues related to assessment,
        behavior management, and academic programming.

        EDU 2235 METHODS OF ASSESSMENT
        Four hours. Explore technology infused teaching, learning, and assessment in the broad context of
        educational foundations and learning theories.

        EDU 2240 TEACHING LANGUAGE ARTS LEVEL I
        Four hours. Pre-professional teachers master the theoretical and practical foundations for teach-
        ing the six language arts within the context of a culturally diverse and technologically complex
        environment. They engage in cooperative analysis of classroom presentations, develop teaching
        strategies and master the teaching vocabulary of the language arts a well as integrating technology
        in the development of their lesson plans.

        EDU 2241 CLINICAL EXPERIENCE IN LITERACY INSTRUCTION
        Two hours. Co-requisite EDU 2240. The pre-service teacher candidate will apply the major compo-
        nents of reading in an actual classroom setting, studying the theories and research about learning
        to read in EDU 2240 and participating in a clinical experience where he/she will observe class-
        room teachers and co-teach reading lessons through EDU 2241.

        EDU 3279 FOUNDATIONS OF ESOL I
        Four hours. Learn to plan, implement, and evaluate developmentally appropriate methods and
        experiences to meet the needs of children who speak a language other than English. Examine
        the characteristics of second-language learners and explore second language acquisition processes
        and oral language development. Discuss major trends in ESOL teaching, appropriate resources in
        ESOL methodologies, and various social contexts that maximize language and literacy develop-
        ment for second language learners such a collaborative groups and teacher-student conferencing.
        Focus on instructional strategies used to promote literacy development in all students.

        EDU 3302 ORTON GILLINGHAM FOR THE CLASSROOM TEACHER I
        Two hours. An introduction to the Orton-Gillingham approach to teaching reading, spelling, and
        handwriting. Current and future teachers will acquire knowledge and strategies to address the lit-
        eracy needs of their struggling readers. Participants will learn the structure of our written language
        to include letter-sound associations, syllable types, syllable division patterns, and spelling rules.
        They will acquire systematic, multi-sensory techniques and strategies effective for all students, but
        essential for struggling readers. Dyslexia and other related language difficulties will be discussed.
        Presentations will include lectures, multi-sensory activities, and teaching demonstrations.

        EDU 3303 ORTON GILLINGHAM FOR THE CLASSROOM II
        Two hours. Prerequisite: EDU 3302. This course is the second in an introduction to the Or-
        ton-Gillingham approach to teaching reading, spelling, and handwriting. Current and future
        teachers will acquire knowledge and strategies to address the literacy needs of their struggling
        readers. Participants will learn the structure of our written language to include letter-sound asso-
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     ciations, syllable types, syllable division patterns, and spelling rules. They will acquire systematic,
     multi-sensory techniques, and strategies effective for all students, but essential for struggling read-
     ers. Dyslexia and other related language difficulties will be discussed. Presentations will include
     lectures, multi-sensory activities, and teaching demonstrations.

     EDU 3323 FIELD STUDY LEVEL II
     One hour. Prerequisite: EDU 2200 and passing scores on all parts of the General Knowledge Test
     (GKT). Supervised field studies taken simultaneously with major elementary and secondary edu-
     cation course. Block scheduling with specific courses and schools are arranged each semester. Stu-
     dent participate in instructional activities, classroom planning, classroom management exercise,
     ESOL activities and follow all the guidelines and requirements of the classroom teacher.

     EDU 3333 FOUNDATIONS OF EDUCATION III
     Two hours. Prerequisite: EDU 2203. An introduction to the study of public and non-public edu-
     cation systems emphasizing the philosophical foundations of education trends in contemporary
     American education, educational psychology and classroom management.

     EDU 3339 INSTRUCTIONAL METHODS I
     Four hours. In this course the student uses 21st -century technology tools to promote the engaged
     teaching and learning of concepts in elementary mathematics. The emphasis is on the real num-
     ber system and its subsystems, relating these systems to basic concepts of algebra and geometry.

     EDU 3343 CHILDREN’S LITERATURE
     Four hours. Prerequisites: EDU 2240 and EDU 2241 and EDU 3279. Master the theoretical and
     practical foundations for teaching children’s literature and developmental literacy within the con-
     text of a culturally diverse and technologically complex environment. Apply these concepts in a
     laboratory school setting.

     EDU 3347 TEACHING LANGUAGE ARTS II
     Four hours. Prerequisites: EDU 2235 and EDU 2240. Pre-professional teachers master theoretical
     and practical foundations for teaching the language arts within the context of a culturally diverse
     and technologically complex environment. Engaging in the systematic problem-solving process,
     they demonstrate understanding on how to select and administer appropriate assessments and
     analyze data to inform reading instruction to meet the needs of all students.

     EDU 3370 DIFFERENTIATED INSTRUCTION OF READING FOR ELEMENTARY STUDENTS
     Four hours. Prerequisite: EDU 2240. Pre-service teachers gain a broad knowledge of students from
     differing profiles in order to understand and apply research-based instructional practices by differ-
     entiating process, product, and context. Teachers engage in the systematic problem solving process
     and implement learned practices in a field based setting.

     EDU 4400 FIELD STUDY LEVEL III
     One hour. Prerequisites: EDU 3323. Supervised field studies taken simultaneously with major
     elementary and secondary education courses. Block scheduling with specific courses and schools
     are arranged each semester. Student participate in instruction activities, classroom planning, class-
     room management exercises, ESOL activities and follow all the guidelines and requirements of
     the classroom teacher.

     EDU 4407 INSTRUCTIONAL METHODS II
     Four hours. Prerequisite: Admission into the Teacher Education Program. The content, materials,
     skills, and evaluation procedures in teaching social studies are examined and emphasized.
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        EDU 4409 INSTRUCTIONAL METHODS III
        Four hours. Prerequisite: Admission into the Teacher Education Program. The content, materials,
        methods and practices in the teaching of science are examined and emphasized. The understanding
        of the scientific processes and how to teach these to children is presented in each of the sciences.

        EDU 4454 SPECIAL METHODS IN EDUCATION
        One Hour. This course is designed to prepare for teaching in the secondary subject areas of Art
        K-12; Biology 6-12; English 6-12; Mathematics 6-12; Music K-12; and Social Science 6-12 using a
        variety of research-based techniques, materials (including instructional technology), and teaching
        strategies. Special emphasis is given to the research based on effective teaching behaviors.

        EDU 4457 READING AND WRITING IN THE CONTENT AREA
        One hour. This course focuses on ways in which reading, writing, speaking, and listening are devel-
        oped and used in the content areas in conjunction with the strategies and skills appropriate to the
        developmental levels and attitude typical of secondary school students. The course involves lesson
        planning and design as well as group presentation, discussion, and critique.

        EDU 4478 APPLIED LINGUISTICS – ESOL II
        Four hours. Prerequisite: EDU 3279. The structure of the English language is surveyed, identify-
        ing areas that cause problems for non-native speakers. The various sources of these problems are
        identified, including interferences, acquisition strategies, and inherent complexity. Because the
        class is designed for K–12 ESOL teachers, it focuses on the sound system, vocabulary system, and
        the grammatical system as they apply to students. In addition to practical information concerning
        the structure of English, participants learn various principles of second language acquisition and
        apply those principles to the teaching of English a second language. ESOL Endorsement only.

        EDU 4483 ESOL CURRICULUM AND MATERIALS
        Two hours. The course focuses on applications of the theories , principles, and current research
        related to second language acquisition, as well as instructional techniques and materials relevant
        to development of ESOL curriculum.

        EDU 4484 CROSS CULTURAL COMMUNICATION AND UNDERSTANDING
        Two hours. Designed to develop awareness and understanding of the major cultures represented
        by the different language minorities within the State. It provides insights that enable participants
        to plan and implement curriculum, instruction and assessment activities that meet the special
        needs of LEP students who are speakers of other languages.

        EDU 4486 TESTING AND EVALUATION IN ESOL
        Two hours. Designed to improve and enhance the participant’s knowledge to select and devel-
        op instruments of evaluation suitable for use with students who demonstrate limited English
        proficiency.

        EDU 4889 STUDENT TEACHER INTERN SEMINAR
        Two hours. Prerequisite: Completion of all major courses and permission of the instructor. Weekly
        seminar for interns. Discussion and analysis of general methods of teaching in schools, with an
        emphasis on classroom management, experience, and presentation.

        EDU 4960 ROBERTS ACADEMY DISTINGUISHED INTERNSHIP
        One Credit Hour. Prerequisites: Admission into the School of Education, completion of EDU
        2200, EDU 3323, and the General Knowledge Test. Placement is determined by an application
        process and the Director of Internships at Florida Southern College. The Robert’s Academy in-
        ternship is designed to be an engaged learning experience for education majors. The internship is
        14 weeks long and involves teaching, modeling, observing and evaluating.
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     EDU 4990 SENIOR INTERNSHIP
     Ten hours. Prerequisites: Completion of all major courses. The senior internship is designed to be
     the culminating engaged learning experience for education majors regardless of age/grade level
     specialty, subject matter, and/or major. The internship is 14 weeks long and involves teaching,
     modeling, observing, and evaluating. The director of interns at Florida Southern College and a
     representative of the Human Resource Development Office of Polk County School assigns stu-
     dents to a Polk County Public School. The student takes over all responsibilities of a certified
     Florida classroom, teaching in his/her specialty area after receiving adequate preparation by the
     assigned teacher and supervisors. Gen Ed: EC-C

     ENGLISH – ENG
     ENG 1000 INTRODUCTION TO COLLEGE ENGLISH
     Four hours. This course provides a concentrated study of the grammar and rhetoric of the English
     sentence. It is also designed to teach effective paragraph and short essay composition and to pre-
     pare students to deal more effectively with the larger elements of composition which are the focus
     of higher level writing courses.

     ENG 1005 WRITING ABOUT TOPICS
     Four hours. Instruction and practice in writing short personal, informative, and persuasive essays
     about a selected topic that is the focus for the semester. The selected topic engages students in-
     tellectually and imaginatively while developing their skills as they consider various aspects of the
     course topic. Formal research is part of the course. Specific topic at the discretion of the instructor.
     Course number can be taken more than once under different topics. Gen Ed: EC-A

     ENG 1130 INTRODUCTION TO ENGLISH STUDIES
     Four hours. Concentrated study of and application of theory, practice, and issues in English stud-
     ies. Emphasis on deliberate critical reading, scholarly approaches to texts, and oral presentations.
     Gen Ed: EC-A

     ENG 2004 LITERARY LIFE: [VARIABLE SUBTITLE]
     Four hours. The course introduces students to the study and informed enjoyment of literature
     from a theme-based perspective. Each section emphasizes a specific theme or focus of the instruc-
     tor’s choosing, such as chick lit, multi-ethnic literature, literature of sport, fantasy and sci fi, war
     literature, vampires and zombies, graphic novels, protest literature, memoir and autobiography,
     Civil Rights literature, Florida literature, etc. Course may be repeated for credit with a different
     topic. Gen Ed: FA, Ql, EC-B

     ENG 2023 CREATIVE LITERATURE, CREATIVE WRITING
     Four hours. Practice in the reading, interpretation, discussion of, and writing of contemporary
     prose and poetry, including techniques and elements. Gen Ed: FA

     ENG 2305 MASTERPIECES OF WORLD LITERATURE
     Four hours. Study of distinctive works, in English translation, by eminent writers from the ancient
     world to the present, primarily in the Western tradition. Gen Ed: SW, FA

     ENG 2309 AMERICAN LITERATURE I: PRE-1600 TO 1865
     Four hours. Prerequisite: ENG 1130 or permission of instructor; successful completion of course-
     work that satisfies Effective Communication SLOs A and B. This course covers authors, works, and
     genres of American literature from pre-Colonialism to 1865. Gen Ed: SW, FA

     ENG 2310 AMERICAN LITERATURE II: 1865 TO THE PRESENT
     Four hours. Prerequisite: ENG 1130 or permission of instructor; successful completion of course-
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        work that satisfies Effective Communication SLOs A and B. This course covers authors, works, and
        genres of American literature from approximately 1865 to the present. Gen Ed: FA

        ENG 2313 BRITISH LITERATURE FROM THE MEDIEVAL TO THE NEO-CLASSICAL
        Four hours. Prerequisite: ENG 1130 or permission of instructor; successful completion of course-
        work that satisfies Effective Communication SLOs A and B. Survey of major British authors and
        significant works from the beginning of literate culture (including, in some cases, oral texts stabi-
        lized after literacy) to the neo-classical Eighteenth Century. Gen Ed: SW, FA

        ENG 2314 BRITISH LITERATURE FROM THE ROMANTIC TO THE POST MODERN
        Four hours. Prerequisite: ENG 1130 or permission of instructor; successful completion of course-
        work that satisfies Effective Communication SLOs A and B. Survey of major British authors and
        significant works from approximately the end of the Eighteenth Century to the present day. Gen
        Ed: SW, FA

        ENG 3100 STUDIES IN LITERARY THEORY
        Four hours. Prerequisite: Successful completion of coursework that satisfies Effective Communica-
        tion SLOs A and B. Suggested prerequisite: junior standing. Advanced examination of literary texts
        through the lens of literary theories and critical approaches (principally from the 20th century)
        designed to prepare students to undertake advanced literary interpretation and critical analysis.
        Course may be repeated for credit with a different topic. Gen Ed: Ql

        ENG 3200 WRITING FOR BUSINESS
        Four hours. Study of all major forms of business communication, including letters, memoranda,
        formal reports, and oral presentations. Gen Ed: EC- B

        ENG 3217 CREATIVE NONFICTION WRITING
        Four hours. Prerequisite: Successful completion of coursework that satisfies Effective Communi-
        cation SLOs A and B. Application of methods of effective writing as related to purpose within the
        broad genre of creative nonfiction writing. Focus on usage, structure, style, and rhetorical princi-
        ples. Gen Ed: FA, EC-C

        ENG 3219 PERSUASIVE WRITING
        Four hours. Prerequisite: successful completion of coursework that satisfies Effective Communica-
        tion SLOs A and B. Study and practice of persuasive rhetorical techniques and the development of
        argumentative strategies. Gen Ed: Ql, EC-C

        ENG 3235 CREATIVE WRITING: POETRY
        Four hours. Practice in the writing of poetry, including techniques and elements characteristic of
        poetry. Gen Ed: FA, Ql

        ENG 3236 CREATIVE WRITING: FICTION
        Four hours. Practice in the writing of fiction, including techniques and elements characteristic of
        fiction. Gen Ed: FA, Ql

        ENG 3263 RHETORIC AND WRITING
        Four hours. Prerequisite: successful completion of coursework that satisfies Effective Communica-
        tion SLOs A and B. The study of rhetorical theories and their application to specific genres of writ-
        ing. Enhances the students’ awareness of the connection between rhetorical theories and actual
        spoken or written discourse. In so doing, it hones their skill in using the most effective approaches
        to communicating orally and in writing. Gen Ed: Ql, EC-C
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     ENG 3304 MAJOR AUTHORS
     Four hours. Prerequisite: successful completion of coursework that satisfies Effective Communi-
     cation SLOs A and B. The in-depth study of major authors—fiction or non-fiction—who have
     made a significant impact on the history of literature. Authors may include, but are not limited
     to, Shakespeare, Chaucer, Milton, Woolf, Faulkner, and Hemingway. The major author focus in a
     given semester may include two or three authors, such as Hawthorne and Melville or Anne, Char-
     lotte, and Emily Bronte. This course may be taken more than once to allow for study of more than
     one author or grouping of authors. Gen Ed: FA

     ENG 3320 SPECIAL TOPICS IN MEDIA STUDIES
     Four hours. Prerequisite: successful completion of coursework that satisfies Effective Commu-
     nication SLOs A and B. This course allows students to study selected topics in media, including
     print or digital texts, graphic narratives, vocal compositions, drama, or film, as well as interpretive
     and constitutive inquiries, such as how media’s properties transform or mediate content and ex-
     perience. Special attention is paid to aesthetic, social, historical, and technological approaches.
     Course topics may explore intermedia influence, transmediation, transmedia narratives, or similar
     media-related subjects. Gen Ed: FA, EC-C

     ENG 3370 GENDER IN LITERATURE
     Four Hours. Same as WST 3370. Prerequisite: successful completion of coursework that satisfies
     Effective Commuication SLOs A and B. In this course, students will study representations of gen-
     der or sexuality in literature, popular culture, or critical theory. Topics may include women’s roles
     in society as reflected in literature; interrogation of the historical constructions of gender and
     sexuality; intersections of race and class with gender and sexuality. Gen Ed: FA

     ENG 4209 SPECIAL TOPICS IN NONFICTION
     Four hours. Prerequisite: Successful completion of coursework that satisfies Effective Commu-
     nication SLOs A and B. This course allows students to study a wide array of nonfiction styles
     and genres, as well as extend their knowledge of new media writing on the advanced level.
     Course topics may include, but are not limited to, biography writing, journal writing, technical
     writing, grant writing. Gen Ed: EC-C

     ENG 4303 STUDIES IN LITERARY PERIODS: [VARIABLE SUBTITLE]
     Four hours. Prerequisite: successful completion of coursework that satisfies Effective Communi-
     cation SLOs A and B. In-depth study of one of the following focused literary periods: Medieval
     Literature, The Renaissance, The Eighteenth Century, The Romantic Period, The Victorian Period,
     or The Twentieth Century and Contemporary British Literature. Course may be repeated for cred-
     it with a different topic. Gen Ed: FA

     ENG 4305 SPECIAL TOPICS IN LITERATURE
     Four hours. Prerequisite: successful completion of coursework that satisfies Effective Communi-
     cation SLOs A and B. This course focuses on a specialized study of one or more related aspects of
     British and/or American literature: authors, themes, genres, or the literature of specific cultural
     groups. May be repeated for credit with a different topic. Gen Ed: FA

     ENG 4960/4961 INTERNSHIP
     Four hours. Prerequisites: junior or senior standing and permission of the instructor. Application
     of communication – both written and oral – research, and analytical skills within a newspaper or
     magazine, law firm, government agency, publishing company, or other relevant organization. In
     addition to on-the-job tasks, written assignments and individual conferences shall be arranged
     with the faculty member who is overseeing the internship. Summer internships are encouraged.
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        ENG 4999 SENIOR SEMINAR
        Four hours. Prerequisites: senior standing in English and permission of the faculty. Required for
        majors, elective for Humanities majors and other interested students. English 4999 is an in-depth
        exploration of one or more literary topics with emphasis on the production of original scholarly
        work and the effective presentation of it both orally and in writing. Gen Ed: EC-C

        EXERCISE SCIENCE – EXS
        EXS 1101 EXERCISE SCIENCE SEMINAR
        One hour. Prerequisite: Exercise Science majors only; Co-requisite: EXS 1105. This course will in-
        troduce students to the exercise science discipline and explore careers that can be achieved with an
        exercise science degree. Students will also examine academic success strategies vital to becoming
        self-directed learners. (EXS 1101 is required for first year freshman EXS majors only; it is taken in
        conjunction with EXS 1105 as part of the major’s learning community).

        EXS 1105 INTRODUCTION TO EXERCISE SCIENCE AND HEALTH PROMOTION
        Two hours. Introductory course exploring exercise, fitness and health promotion concepts. Stu-
        dents will develop skills in accessing professional resources within the exercise science field. Addi-
        tional emphasis will be placed on the design and implementation of health promotion outreaches
        with the community.

        EXS 1234 MEDICAL TERMINOLOGY
        Two hours. Introduction to the language, rules and concepts needed to interpret and understand
        the terminology of medicine.

        EXS 2115 EMERGENCY MEDICAL RESPONDER
        Four hours. An entry-level emergency medical provider course that will prepare individuals for
        a variety of pre-hospital, industrial, and first-responder situations. The successful completion of a
        first responder course is a prerequisite to training as a firefighter, emergency medical technician/
        paramedic and many law enforcement programs.

        EXS 2205 FIRST AID & SAFETY
        Two hours. Emergency first aid and safety; CPR/AED and first aid certification. (Requires lab fee).

        EXS 2585 CARE AND PREVENTION OF INJURIES
        Two hours. This is an elective course within the Exercise Science major which provides an intro-
        duction to the recognition and evaluation skills needed to assess common injuries. Emphasis is
        on immediate care given to traumatic sports related injuries using practical skills to reinforce key
        concepts. Injury reduction and prevention strategies are also examined.

        EXS 2760 SPORTS NUTRITION AND SUPPLEMENTATION
        Two hours. Examination of the role of macronutrients, micronutrients, ergogenic aids and nutri-
        tional supplements in sport and exercise performance. Gen Ed: Well

        EXS 2770 EXERCISE PHYSIOLOGY
        Four hours. Same as BIO 2770. Prerequisites: BIO 2215 and BIO 2216. The physiological basis and
        application of exercise physiology adaptations to exercise training, fitness and health. Laboratory
        experiences expose students to common exercise physiology techniques and evaluations used to
        assess physical conditioning.

        EXS 2775 KINESIOLOGY
        Four hours. Prerequisite: BIO 2215. This course approaches the study of human movement from a
        multiple-disciplinary perspective combining the broad tenets of kinesiology with biomechanical
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     principles. The outcome is a scientific and practical understanding of skeletal muscle action and
     the internal and external forces involved in human motion.

     EXS 3333 CONCEPTS OF NUTRITION AND PHARMACOLOGY
     Three hours. Emphasis is on the effects of therapeutic medications, performance-enhancing
     drugs, and the application of nutrition to enhance sports and physical activity. Attention is direct-
     ed toward dietary modifications for optimal performance, including issues dealing with alcohol,
     tobacco, illicit drugs, and pharmacology.

     EXS 3500 MOTOR BEHAVIOR
     Four hours. This course examines the principles of human movement and behavior across the
     lifespan. Emphasis is on the development of mental and motor abilities which affect human move-
     ment, using practical examples and experiences to better assist students in developing an under-
     standing of how to apply these principles in various settings.

     EXS 3735 EXERCISE AND SPORT PSYCHOLOGY
     Four hours. This course examines the interaction between psychological variables and perfor-
     mance in sport and exercise from theoretical and practical perspectives. This course is designed
     to introduce students to behavior modification strategies vital to effectively working in careers
     within exercise science, athletic training, physical education and coaching.

     EXS 3740 EXERCISE TESTING AND PRESCRIPTION
     Four hours. Prerequisite: EXS 2770. National competencies from ACSM’s Guidelines for Exercise
     Testing and Prescription are explored, with emphasis on the following variables: patient assess-
     ment, risk stratification and health evaluation; execution of proper exercise testing procedures;
     and the use of exercise and metabolic equations. Students evaluate and assess the impact of these
     variables on exercise prescription for a variety of patient populations.

     EXS 3745 EXERCISE MANAGEMENT OF CHRONIC DISEASE
     Four hours. Prerequisite: EXS 2770. Research and design of exercise programming strategies ap-
     propriate for select populations. Course topics include, but are not limited to: exercise consider-
     ations for cardiovascular, pulmonary, metabolic, immunological, neuromuscular, and orthopedic
     patients as well as adolescents, pregnant women, and geriatric patients.

     EXS 3750 ESSENTIALS OF STRENGTH AND CONDITIONING
     Four hours. Prerequisites: EXS 2770 and EXS 2775. Specific principles, concepts, and theories
     of strength training and conditioning and their applications to performance. Course prepares
     students to take the CSCS certification exam from the National Strength and Conditioning
     Association.

     EXS 4500 ADVANCED EXERCISE TESTING AND TRAINING TECHNIQUES
     Two hours. Prerequisite: EXS 2770 and EXS 2775. This is an elective course within the Exer-
     cise Science major which examines exercise training techniques vital to developing exercise
     instruction competencies for a variety of exercise settings and populations. Students develop
     analytical, programmatic, and teaching skills culminating in the design of a comprehensive
     course project.

     EXS 4600 CERTIFICATION SEMINAR
     Two hours. Prerequisite: senior standing. This is an elective course within the Exercise Science
     major that reviews professional competencies assessed in certification exams from the National
     Strength and Conditioning Association (NSCA) or from the American College of Sports Medi-
     cine (ACSM).
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        EXS 4720 ADMINISTRATION OF EXERCISE AND HEALTH PROMOTION PROGRAMS
        Four hours. Prerequisite: junior or senior standing. A study of the implementation, organization,
        administration and evaluation of health promotion programs. Students explore strategies required
        in successful administrative oversight, such as but not limited to: program development, facility
        development, equipment purchasing, marketing, sales, finance and liability.

        EXS 4725 RESEARCH METHODS IN EXERCISE AND HUMAN PERFORMANCE
        Four hours. Prerequisite: junior or senior standing. The development, design and critical analysis
        of scientific research. Topics include how to conduct academic research, including proper citation
        skills; the types of research methodologies available; how to develop a research proposal; and sta-
        tistical analysis techniques appropriate to various research designs. Gen Ed: EC-C

        EXS 4960/4961 APPLIED EXPERIENCES IN EXERCISE SCIENCE
        Four hours. Prerequisites: EXS 3740, EXS 3750. This course immerses students in allied health
        settings so as to garner professional hours related to a career focus. Example settings may include:
        fitness and/or strength and conditioning facilities, hospitals, physical therapy clinics, occupational
        therapy clinics, geriatric programs, etc. Students must complete a culminating presentation and
        paper regarding the experience. Prior to taking this course, students must be in good academic
        standing within the major and obtain site approval one semester in advance from program faculty.
        In some clinical situations, students may have to complete additional requirements such as, but
        not limited to: background check, fingerprinting, drug screening, proof of vaccinations, and HI-
        PAA training. Course may be repeated for additional professional experience.

        FRENCH – FRE
        FRE 1101 ELEMENTARY FRENCH I
        Four hours. This is an elementary course designed for students who wish to develop the basics
        of speaking, listening, reading and writing French. Students learn beginning grammar concepts,
        gain a strong vocabulary base, practice nuances of pronunciation and explore the French culture
        as reflected in different French-speaking countries. Gen Ed: SW, Ql

        FRE 1102 ELEMENTARY FRENCH II
        Four hours. Prerequisite: FRE 1101 proficiency or permission of the instructor. This is an elemen-
        tary course designed for students who wish to continue the development of basic grammar skills
        through reading, listening, comprehension, writing and speaking French. Students learn begin-
        ning grammatical concepts, gain a strong vocabulary base, practice nuances of pronunciation and
        explore the French culture as reflected in different French-speaking countries.

        FRE 2203 INTERMEDIATE FRENCH
        Four hours. Prerequisite: FRE 1102 proficiency or permission of the instructor. The objective of
        this course is to continue to develop students’ knowledge of the French language and Franco-
        phone cultures. Students work on the development of the four basic language skills; speaking,
        listening, reading and writing. Classes focus on the practical application of language in day to day
        situations, and on cultural awareness. Level of skills demonstrated should be more in depth than
        in French 1102.

        FSC GENERAL COLLEGE COURSES – FSC
        FSC 1050 CAREER DECISION MAKING
        Two hours. This course introduces the student to career development issues and the career deci-
        sion making process. Lectures, discussions and active classroom activities focus on self-assessment,
        exploration of career options, goal setting, and self-marketing for future career opportunities. The
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     course provides a framework for students as they navigate the career decision making process and
     supports them as they identify, evaluate and refine academic and career paths.

     FSC 1070 EXPLORING SOCIETY THROUGH SERVICE
     Two hours. This course introduces students to academic service learning. Students explore
     local opportunities for service through agency speakers, interview, readings, and individual
     community service. As a group, the classes engage with local community agencies for a mini-
     mum of 20 service. Through differing service projects, focused around 2–3 agencies, students
     learn how academic disciplines contribute to social capital. This course links to a BUS, PSY,
     HIS or SOC class.

     GEOGRAPHY – GEO
     GEO 3320 HUMAN GEOGRAPHY
     Four hours. A survey of the relationship between geography and culture, including critical analy-
     ses of human social issues and approaches to their solutions.

     GEO 3340 WORLD/REGIONAL GEOGRAPHY
     Four hours. A world and regional approach to physical, cultural, economic, and political geogra-
     phy, including emphases on how regional characteristics interact with each other.

     GERMAN - GER
     Each course is an enhanced self-study program in the NASILP (National Association of Self-In-
     structional Language Programs) format, which relies heavily upon the student’s motivation and
     discipline. Major emphasis is on the development of oral-aural skills. Class time is spent in oral
     drills and conversation practice with a native-speaking (or equivalent) tutor. Classes are conducted
     almost entirely in German. Students study the grammar independently, using the NASILP format
     with the help of the assigned text and workbook, as well as in the lab. Students are expected to
     work outside of class and in the lab each week and come to class prepared.

     GER 1101 FIRST SEMESTER GERMAN
     Four hours. Prerequisite: Cumulative GPA of at least 2.5 or approval from the Critical Languages
     program director.

     GER 1102 SECOND SEMESTER GERMAN
     Four hours. Prerequisite: GER 1101 proficiency.

     GER 2203 SECOND YEAR GERMAN
     Four hours. Prerequisite: GER 1102 proficiency.

     GREEK – GRE
     GRE 1101 HELLENISTIC GREEK I
     Four hours. An introduction to the basic grammar, syntax, and vocabulary of Hellenistic Greek .
     GRE 1102 HELLENISTIC GREEK II
     Four hours. Prerequisite: GRE 1101. An advanced study of intermediate grammar, syntax, and
     vocabulary of Hellenistic Greek and the translation of New Testament texts.
     GRE 2203 READINGS IN GREEK
     Four hours. Prerequisite: GRE 1102. Translation of the Greek New Testament with an emphasis on
     the interpretation of the Greek text, and the analysis and application of textual criticism.
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        HEALTHCARE ADMINISTRATION – HCA
        HCA 2125 HEALTHCARE ORGANIZATION AND MANAGEMENT
        Four hours. This course provides a descriptive study of the organization of the U.S. healthcare
        system including its historical development, structure, and delivery systems. Emphasis is placed on
        the basic concepts and issues that are associated with the management and regulation of health-
        care providers and the delivery of services across different types of healthcare organizations. Stu-
        dents study the role of the contemporary healthcare manager and focus on basic managerial skills
        and knowledge.

        HCA 3125 COMMUNITY HEALTH
        Four hours. Prerequisite: HCA 2125. Study descriptive epidemiology and its application to the
        analysis of community health status, with emphasis on the computation and interpretation of
        basic health status indicators as well as on the application of disease prevention strategies and
        population management models for health promotion. Learn to apply epidemiological methods
        to a variety of aspects of health services administration.

        HCA 3225 HEALTHCARE LAW AND ETHICS
        Four hours. Prerequisite: ACC 2111 and HCA 2125. Examines the legal, regulatory, and ethical
        concepts related to healthcare management and the delivery of healthcare services. Topics include
        liability, risk management, patient-provider relations, fraud and abuse, antitrust, as well as other
        current legal and ethical issues.

        HCA 3325 HEALTHCARE FINANCE
        Four hours. Prerequisite: ACC 2111 and HCA 2125. Provides a hands-on approach to financial, bud-
        getary, and accounting concepts, processes, and techniques relevant for healthcare managers. Study
        a variety of mechanisms for financing healthcare in the U.S. and explore key financial management
        and control processes necessary for making successful financial decisions. Specific topics include
        service payment mechanisms, capital acquisition, organizational structures, and firm governance.

        HCA 4125 HEALTHCARE POLICY AND PLANNING
        Four hours. Prerequisite: HCA 2125. Examines current U.S. health policies and their implications
        on health services administration and provides an in-depth study of the policymaking process and
        the relationship between health policymaking, health reform, and changes within the healthcare
        industry. Special emphasis on the nature and role of healthcare policy studies on management
        decision-making in health services administration.

        HCA 4225 HEALTHCARE INFORMATION SYSTEMS
        Four hours. Prerequisite: HCA 2125. Provides an overview of healthcare information manage-
        ment systems. Students are introduced to different types of clinical and administrative informa-
        tion systems specific to the healthcare industry (e.g. computerized provider order entry, electronic
        health records). Students gain insight into the process of selecting, implementing, and evaluating
        healthcare information management systems and explore the importance of aligning information
        systems with the strategic plan of the organization.

        HCA 4325 HEALTHCARE QUALITY AND QUALITY IMPROVEMENT
        Four hours. Prerequisite: BUS 3320 or its equivalent or permission of the instructor and HCA
        2125. Provides students with an understanding of healthcare quality management and perfor-
        mance improvement. Quality improvement philosophies, methodologies, tools, and techniques
        are introduced. Special attention is given to quality assessment, risk management, utilization man-
        agement, outcomes assessment, and benchmarking, which are mechanisms used by health admin-
        istrators to evaluate and improve healthcare services and patient safety.
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     HCA 4960/4961 HEALTHCARE ADMINISTRATION INTERNSHIP
     Two to four hours. Prerequisite: BUS 3960, senior standing; permission from the instructor; min-
     imum 2.5 GPA. This course requires students to integrate and apply what they have learned in
     their coursework to real-world issues and to gain practical experience working within a healthcare
     organization (e.g. hospital, medical group, long-term care facility, insurance company, health de-
     partment, etc.).

     HCA 4999 SEMINAR IN STRATEGIC MANAGEMENT OF THE HEALTHCARE ENTERPRISE
     Four hours. Prerequisite: senior standing; all other coursework in the major and successful com-
     pletion of coursework that satisfied Effective Communication SLOs A and B. The capstone course
     of the healthcare administration major, this course integrates knowledge of all healthcare admin-
     istration and business disciplines from other courses. Uses case studies, individual projects and
     team-based projects to identify problems, formulate strategic policies, and create original strate-
     gic plans to shape the future of healthcare organizations. The course emphasizes analysis, deci-
     sion-making, and implementation of business strategies in a healthcare setting. Gen Ed: EC-C




     HISTORY – HIS
     HIS 1100 THE ANCIENT WORLD
     Four hours. This course will examine the history of the ancient world from the Neolithic Revo-
     lution to the Mongol invasions of the 13th century. Students will explore themes common to all
     relevant civilizations, including the development of agriculture and trade, the growth of empires,
     and the values expressed in religion and philosophy. The course will also investigate how history is
     made and how historians use surviving evidence to capture the “voices” of both the powerful and
     powerless in the past. Gen Ed: SW, EC-B

     HIS 1200 THE MAKING OF THE MODERN WORLD
     Four hours. This class examines the critical juncture in world history between 1350 and 1850 that
     established the foundations of the modern world. What changed during this period? Why did it
     happen? This course investigates the political, economic, cultural, and social roots of this great
     transformation and pays particular attention to the ethical dimensions of historical change for
     different historical actors. Gen Ed: SW, EC-B

     HIS 1300 THE MODERN WORLD
     Four hours. This course examines some of the momentous developments and changes that took
     place in the world from 1850 to the present and their enduring influence on contemporary events.
     Topics include industrialization, imperialism, nationalism, both world wars, the spread of com-
     munism, the Cold War, globalization, and ethnic cleansing. The assignments in this course are
     designed to teach students how historians “make” history through the selection and interpretation
     of sources. Gen Ed: SW, EC-B

     HIS 2215 THE AMERICAN EXPERIENCE THROUGH THE CIVIL WAR
     Four hours. The social, political, economic, and intellectual development of the United States
     from the Age of Discovery through the Civil War. Traditional topics are surveyed, with a special
     emphasis on the nation’s ethnic and cultural diversity. Gen Ed: SW, EC-B

     HIS 2225 THE AMERICAN EXPERIENCE SINCE THE CIVIL WAR
     Four hours. The social, political, economic, and intellectual development of the United States
     from the end of the Civil War to the present. Traditional topics are surveyed, with special emphasis
     on the nation’s ethnic and cultural diversity. Gen Ed: SW, EC-B
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        HIS 3115 EARLY MODERN EUROPE
        Four hours. Prerequisite: One year of college-level coursework and successful completion of
        coursework that satisfies Effective Communication SLOs A and B. This course examines the “early
        modern” period of European history, which runs from roughly 1500 to roughly 1800. Examining
        key social, political, economic, and cultural developments, this class examines this “transitional”
        period between medieval and modern Europe. Key topics may include, but are not limited to: the
        Renaissance and Reformation, the first Europe an overseas empires, the rise of absolutism and con-
        stitutional monarchies, the Scientific Revolution and Enlightenment, and the French Revolution.
        Gen Ed: SW, Ql, EC-C

        HIS 3165 HISTORY OF MODERN EUROPE
        Four hours. Prerequisite: One year of college-level coursework and successful completion of
        coursework that satisfies Effective Communication SLOs A and B. The course surveys the histor-
        ical development of Europe from 1815 to 2000, covering the main historical events on the conti-
        nent in a comparative context. Topics covered include the Revolutions of 1830 and 1848, Italian
        and German unification, the impact of imperialism and nationalism on European politics and
        identity, the rise of liberalism, socialism, communism, and fascism as political and socioeconomic
        systems, World War I, the Russian Revolutions, World War II and the Holocaust, the Cold War,
        the collapse of the Eastern Bloc and the Soviet Union, European reunification, and the wars in the
        former Yugoslavia. Gen Ed: SW, Ql, EC-C

        HIS 3215 HISTORY OF RUSSIA AND THE SOVIET UNION
        Four hours. Prerequisites: One year of college coursework and successful completion of course-
        work that satisfies Effective Communication SLOs A and B. This course surveys the political, so-
        cial, economic, and cultural history of the Russia Empire and the Soviet Union from the origins of
        the first Russian state to the fall of the Soviet Union, with an emphasis on the late nineteenth and
        early twentieth century. Gen Ed: SW, Ql, EC-C

        HIS 3225 MODERN AMERICA, 1945-PRESENT
        Four hours. Prerequisites: One year of college coursework and successful completion of course-
        work that satisfies Effective Communication SLOs A and B. This course provides students with
        an in-- depth examination of Modern America after the Second World War. America’s political,
        economic, and social history are examined. Among the major subjects included in the course are:
        the Cold War, Civil Rights, Vietnam War and anti--war movement, feminism, environmentalism,
        the crises of the 1970s, the neo--conservative revolution and global confrontations up to the first
        decade of the 21st century. Gen Ed: SW, Ql, EC-C

        HIS 3231 HISTORY OF THE OLD SOUTH
        Four hours. Prerequisites: One year of college coursework and successful completion of course-
        work that satisfies Effective Communication SLOs A and B. This course provides students
        with an in-depth examination of the South from its Colonial roots through the Civil War.
        Gen Ed: SW, Ql, EC-C

        HIS 3232 HISTORY OF THE NEW SOUTH
        Four hours. Prerequisites: One year of college coursework and successful completion of course-
        work that satisfies Effective Communication SLOs A and B. The course provides students with an
        in-depth examination of the South from the Civil War. Gen Ed: SW, Ql, EC-C

        HIS 3240 INTRODUCTION TO PUBLIC HISTORY
        Four Hours. Prerequisite: One year of college level coursework that satisfies Effective Commu-
        nication SLOs A and B. This is an American History based course that introduces students to
        the discipline of public history and practices in museums, archives, historical societies, and other
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     public and private institutions that collect, display, and interpret historical artifacts, in a public
     setting. Topics covered include: General overview of the concepts that define the discipline of
     public history including memory and interpretation. Introduction to methodology and use of
     physical and digital collections at museums, libraries and other repositories. Insight into historic
     preservation of buildings, cemeteries, historic sites through case study. Specific guidelines to in-
     corporate and develop oral history into projects. Overview of outcomes of public history through
     public presentations in museums and exhibits. Case study approach incorporates local sites and
     professionals. Gen Ed: SW, Ql, EC-C

     HIS 3275 HISTORY OF EAST ASIA
     Four hours. Prerequisites: One year of college coursework and successful completion of course-
     work that satisfies Effective Communication SLOs A and B. This course surveys the historical
     development of modern China and Japan with some attention to the surrounding regions. In
     addition to looking at the contributions of prominent individuals, the course addresses the role
     structural factors played in shaping the East Asian experience, including culture, modernization,
     industrialization, imperialism, war, depression, racism, and gender, with a focus on the differing
     responses of each civilization to westernization. Gen Ed: SW, Ql, EC-C

     HIS 3355 HISTORY OF FLORIDA
     Four hours. Same as LAS 3355. Prerequisites: One year of college-level coursework and success-
     ful completion of coursework that satisfies Effective Communication SLOs A and B. This course
     surveys the history of Florida from the Spanish Period to the present. The course examines the
     major events and personalities in Florida history from chronological and political perspectives.
     Attention is given to economic, social, and environmental issues that have shaped Florida’s histo-
     ry. Florida’s unique landscape, geography and natural features are also a subject of inquiry in the
     course. Gen Ed: SW, Ql, EC-C

     HIS 3365 HISTORY OF MODERN LATIN AMERICA
     Four hours. Same as LAS 3365. Prerequisites: One year of college coursework and successful com-
     pletion of coursework that satisfies Effective Communication SLOs A and B. This course surveys
     the major events and personalities in Latin American History from the colonial era to the present.
     Attention is given to economic, social, geographical, and environmental issues that have shaped
     the region’s history. The region’s unique landscape, geography and natural features are also a sub-
     ject of inquiry in the course. Gen Ed: SW, Ql, EC-C

     HIS 3415 HISTORY OF THE MIDDLE EAST
     Four hours. Prerequisites: One year of college coursework and successful completion of course-
     work that satisfies Effective Communication SLOs A and B. This course surveys the historical de-
     velopment of the Middle East, beginning with the emergence and spread of Islam before turning
     to the Muslim world’s Golden Age, the invasions by Crusaders and Mongols, the rise and fall of
     the Ottoman Empire, and concluding with the region’s transformation during the late-nineteenth
     and twentieth century’s. In addition to looking at the contributions of prominent individuals,
     the course addresses the role structural factors played in shaping the Middle Eastern experience,
     including culture, modernization, industrialization, imperialism, war, depression, racism, and gen-
     der. Gen Ed: SW, Ql, EC-C

     HIS 3445 HISTORY OF MODERN AFRICA
     Four hours. Prerequisite: One year of college-level coursework and successful completion of
     coursework that satisfies Effective Communication SLOs A and B. This course surveys the his-
     torical development of modern sub-Saharan Africa since the early nineteenth century. Key de-
     velopments examined in this course include: slavery and the slave trade, European colonial rule,
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        cultural, economic, and familial life under colonial rule, resistance and rebellion to colonial rule,
        the rise and fall of apartheid, the Cold War’s effect on Africa, and the problems and possibilities of
        Africa today. Gen Ed: SW, Ql, EC-C

        HIS 3455 SELECTED TOPICS IN THE HISTORY OF THE WESTERN WORLD
        Four hours. Prerequisites: One year of college-level coursework or permission of the instructor,
        and successful completion of coursework that satisfies Effective Communication SLOs A and B.
        This course provides students with an in-depth examination of topics in this history of the western
        world. Examples of topics include Renaissance and Reformation, French Revolution and Napo-
        leon, Nineteenth-Century Intellectual History, or Europe Between the World Wars. Topics will
        change. Course may be repeated for credit with a different topic. Gen Ed: SW, Ql, EC-C

        HIS 3550 SELECTED TOPICS IN US OR LATIN AMERICAN HISTORY
        Four hours. Prerequisites: One year of college coursework or permission of the instructor. This
        course provides students with an in-depth examination of a particular topic, period, or region in
        US or Latin American history. Examples of such topics include US or Latin American women’s
        history, Old South, New South, Civil War and Reconstruction, Jacksonian Era, African-Ameri-
        can History, and History of Crime and Criminal Justice in the United States. Topics will change.
        Course may be repeated for credit with a different topic. Gen Ed: SW, Ql, EC-C

        HIS 3555 SELECTED TOPICS IN THE WORLD OR THEMATIC HISTORY
        Four hours. Prerequisites: One year of college coursework or permission of the instructor. This
        course provides students with an in-depth examination of a particular topic, period, or region in
        world or thematic history. Examples of topics include women’s history, twentieth century geno-
        cides, an introduction to cultural history, oil and politics in world history, or the atomic bomb
        and the nuclear age. Topics will change. Course may be repeated for credit with a different topic.

        HIS 3705 HISTORY OF WAR AND SOCIETY IN THE MODERN ERA
        Four hours. Prerequisites: One year of college coursework and successful completion of course-
        work that satisfies Effective Communication SLOs A and B. This course explores the historical
        development of warfare in the modern era. It focuses the evolution of military forces and their
        technology, organization, strategy, and tactics, and the relationship between armed forces and so-
        ciety, especially the link between military service and citizenship. The specific focus of the course
        will vary, but generally will consider the experiences of Western militaries and those regions of the
        world which they affected. Gen Ed: SW, Ql, EC-C

        HIS 3755 SCREENING HISTORY
        Four hours. Prerequisites: One year of college coursework and successful completion of coursework
        that satisfies Effective Communication SLOs A and B. This course studies the use, misuse, and value
        of historical subjects depicted in films. Students use films from a variety of genres, times, and places
        as test cases for analysis of historical events, periods, and personalities. In doing so they learn to view
        critically while exploring the use of film to teach and learn history. The specific topic of the course
        will change. The course may be taken for credit toward the major only once. Gen Ed: SW, Ql, EC-C

        HIS 4455 SEMINAR ON SELECTED TOPICS IN HISTORY OF THE WESTERN WORLD
        Four hours. Prerequisites: History majors, students with two years of college coursework, or per-
        mission of the instructor, and successful completion of coursework that satisfies Effective Com-
        munication SLOs A and B. This intensive reading and writing course provides students with an in-
        depth examination of selected topics and themes in the history of the western world. The course
        emphasizes the review of relevant literature and analysis of the methodologies, interpretations,
        values, evidence, and conclusions contained therein. Topics and themes may be drawn from the
        entire western historical experience, from the ancient world of the Greeks and Romans to Europe
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     today. Active engagement with and discussion of an extensive set of readings is expected of all
     students. Course may be repeated once for credit with a different topic. Gen Ed: SW, Ql, EC-C

     HIS 4550 SEMINAR ON SELECTED TOPICS IN US HISTORY OR LATIN AMERICA
     Four hours. Prerequisites: History majors, students with two years of college coursework, or per-
     mission of the instructor, and successful completion of coursework that satisfies Effective Com-
     munication SLOs A and B. This intensive reading and writing course provides students with an
     in-depth examination of selected topics and themes in US or Latin America history. The course
     emphasizes the review of relevant literature and analysis of the methodologies, interpretations,
     values, evidence, and conclusions contained therein. Topics and themes may be drawn from the
     US or Latin American experience form colonial times to the present. Active engagement with and
     discussion of an extensive set of readings is expected of all students. Course may be repeated once
     for credit with a different topic. Gen Ed: SW, Ql, EC-C

     HIS 4555 SEMINAR ON SELECTED TOPICS IN WORLD OR THEMATIC HISTORY
     Four hours. Prerequisites: History majors, students with two years of college coursework, or per-
     mission of the instructor, and successful completion of coursework that satisfies Effective Com-
     munication SLOs A and B. This intensive reading and writing course provides students with an
     in-depth examination of selected topics and themes in world and thematic history. The course
     emphasizes the review of relevant literature and analysis of the methodologies, interpretations,
     values, evidence, and conclusions contained therein. Active engagement with and discussion of an
     extensive set of readings is expected of all students. Course may be repeated once for credit with a
     different topic. Gen Ed: SW, Ql, EC-C

     HIS 4960/4961: INTERNSHIP IN HISTORY
     One to four hours. One hour of credit will be awarded for every forty clock hours worked. Prereq-
     uisites: Junior or Senior standing, Major or Minor in History, 3.0 or higher GPA, and permission of
     the faculty supervisor. The internship is an off-campus participatory undertaking in a History-re-
     lated area that is designed to integrate academic learning with actual application in the field and
     to provide students with professional experience in preparation for graduate study or future em-
     ployment. The internship involves a “learning contract” which must be completed by the student,
     faculty supervisor, and participating agency supervisor prior to the beginning of the internship.
     Summer internships are especially encouraged.

     HIS 4999 THE PHILOSOPHY AND METHODOLOGY OF HISTORY
     Four hours. Prerequisites: History majors or students with two years of college coursework or
     permission of the instructor, and successful completion of coursework that satisfies Effective Com-
     munication SLOs A and B. Focus is on readings and discussion of the major schools of historical
     thought and the methodologies, both qualitative and quantitative, that have been adopted for
     the study of the past. Readings are chosen to reflect a variety of perspectives, interpretations, and
     methodologies. Students also research, prepare, and present a major research assignment utilizing
     both primary and secondary source materials. History majors should have completed one of the
     4000-level topics seminars before enrolling in this course. Gen Ed: SW, Ql, EC-C

     HONORS PROGRAM – HON
     HON 1700 WRITING ON CONTEMPORARY SOCIAL ISSUES
     Four hours. Prerequisites: Entry into Honors Program. Students critically analyze how culture
     shapes and is shaped by the written language. The class examines multiple overarching social
     concepts that may include relationships, community, globalism, and technology in fields of study
     such as politics, economics, science, arts, and the environment to further understand our impact
     on society and potential to enact change. A particular focus of the course is exploring the impor-
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        tance of analytical writing in everyday life. Gen Ed: EC-A, Ql

        HON 1701 SPEAKING ON CONTEMPORARY SOCIAL ISSUES
        Four hours. Prerequisites: Entry into Honors Program. Students critically analyze how culture
        shapes and is shaped by communication. Specifically, students investigate the context in which
        people challenge the dominant way of thinking in multiple fields of study, which may include
        politics, business, technology, science, and economics, and propose new ideas, some of which have
        far reaching consequences. The class examines concepts such as identity, self, other, relationships,
        community, and technology to further understand our impact on society and to help improve
        student communication skills. A particular focus of the course is exploring the importance of in-
        formative and persuasive oral communication in everyday life. Topics vary - selected by instructor
        and Honors Program director. Gen Ed: EC-B, SW

        HON 1990 HONORS FIRST-YEAR SEMINAR
        Two hours. Prerequisites: HON 1700 or HON 1701. An interdisciplinary seminar designed to
        develop critical and integrative thinking among first-year honors students. Individual faculty will
        set the topic of the seminar, drawing on their own specialties to illuminate questions of broad con-
        temporary concern. In addition, the course exposes students to knowledge needed to successfully
        navigate the Honors Program and prepare them for success upon graduation.

        HON 2990 HONORS SECOND-YEAR RESEARCH SEMINAR
        Two hours. Prerequisites: HON 1990. An introductory course that prepares students to conduct
        research or engage in creative works, which enables them to develop a challenging Honors thesis
        project. The course guides students in selecting a faculty mentor for their Honors thesis and focus-
        es on the principles, procedures and methods for designing research and creative works.

        HON 3955/3956 HONORS DIRECTED STUDY
        Up to 4 hours distributed over one or two semesters. Prerequisites: HON 2990 and permission
        of instructor. Students work one-on-one with an individual faculty member to develop a thesis
        project and collect preliminary data when possible, resulting in the generation of a Honors thesis
        proposal no later than the conclusion of the Junior year. Students may also be required to audit a
        departmental or discipline specific methods course. The thesis proposal is submitted to the Hon-
        ors Committee for approval at the conclusion of the course.

        HON 3XXX HONORS OPTION COURSE
        A student may add an Honors option to a non-Honors course for Honors credit. The Honors
        Program at Florida Southern College has instituted this policy in order to provide opportunities
        for highly motivated students to participate in unique educational experiences not otherwise
        available through regular course offerings. Reflecting the vision of the Honors Program, adding
        an Honors Option to a course results in a collaborative project between student and faculty
        member. The design of such an option is tailored by both the student’s and a sponsoring faculty
        member’s interest. The Honors Option requires a written contract between student and sponsor-
        ing faculty member. The contract and sponsoring faculty member must receive approval from
        the Honors Program Committee. Honors Option is not available for freshman or for courses that
        have Honors equivalents. Students should not take more than one Honors Options per semester
        and are limited to three during their career.

        HON 4955/4956 HONORS SENIOR THESIS
        Six hours distributed over 2 semesters. Prerequisite: HON 3955 or HON 3956. Restricted to se-
        niors in the Honors Program who have a cumulative 3.5 GPA and have completed at least half of
        coursework at FSC. A two-semester sequence required of all Honors Program students. Students
        in the sequence work with the professor teaching the course on research projects centered on a
        particular theme. Gen Ed: EC-C
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     HORTICULTURE – HRT
     HRT 1000 PLANTS AND SOCIETY
     Four hours. Does not count toward the major or minor. This course examines plant biology and
     function as they apply to human use. It considers the role of modern agriculture in nutrition and
     health. Specific crops are discussed as they relate historically and for the future to hunger, poverty,
     and economics. Gen Ed: SW, NW

     HRT 2100 INTRODUCTION TO HORTICULTURAL SCIENCE
     Four hours. This is the introductory course to all of the horticulture-related majors. It considers
     the fundamental principles and practices underlying the propagation and growing of horticultur-
     al crops. This course fulfills the Natural World student learning outcome and empowers students
     to develop an understanding of the scientific investigation of the natural world. Gen Ed: NW

     HRT 3301 SOIL SCIENCE
     Four hours. Prerequisite: CHE 1011 or 1111. This course considers the soil as a natural body in-
     cluding its chemical and physical properties, tillage, water management, organic matter, ecology,
     and principles of soil conservation. Florida soils and horticultural crops are emphasized.

     HRT 3302 PLANT NUTRITION
     Four hours. Same as BIO 3302. Prerequisites: HRT 3301 and either BIO 1600 or HRT 2100. Ex-
     plore the relationship of plants to soil in their acquisition of the mineral nutrients needed for life.
     Examine the chemical and physical properties of plant mineral nutrients, their reactions in the
     soil, and how the plant absorbs, transports, modifies, stores, and utilizes them, with emphasis on
     Florida soils and crops.

     HRT 3326 TROPICAL AND TEMPERATE FRUITS
     Four hours. Prerequisite: HRT 2100 or permission of the instructor. This course discusses fruit
     crops, other than citrus, that can be grown in Florida, from the standpoint of commercial produc-
     tion, as well as use in the home garden. The flowering and fruiting physiology, water and weed
     management, pest management and other aspects of their culture are studied.

     HRT 4320 SPECIAL TOPICS IN HORTICULTURE
     Four hours. Prerequisite: HRT 2100 or permission of the instructor. This course discusses special-
     ized topics of one or more related aspects of horticulture. The course may be taken more than once.

     HRT 4955 CAREER DEVELOPMENT SKILLS FOR INTERNSHIP
     One hour. Prerequisite: junior or senior standing or departmental permission. This course pre-
     pares the student for HRT 4960, Internship, including developing learning objectives for the con-
     tractual agreement, resumes, application letters, interviewing skills, job searches, and developing
     the contract with the employer.

     HRT 4960 INTERNSHIP
     Two hours. Prerequisites: junior or senior standing and departmental permission. This course ap-
     plies horticultural theory and business in an operational setting, with supervision by cooperating
     practitioner and faculty.

     HRT 4961 INTERNSHIP
     Two hours. Prerequisites: HRT 4960. This course applies horticultural theory and business in an
     operational setting, with supervision by cooperating practitioner and instructor.
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        HUMANITIES – HUM
        HUM 4999 HUMANITIES CAPSTONE
        Four hours. Prerequisite: senior standing. Interdisciplinary capstone course required of all Hu-
        manities majors.

        JAPANESE – JPN
        Each course is an enhanced self-study program, in the NASILP (National Association of Self-in-
        structional Language Programs) format, which relies heavily upon student’s motivation and dis-
        cipline. Major emphasis is on the development of oral-aural skills. This course is an enhanced
        self-study program in the NASILP format which relies heavily upon the student’s motivation and
        discipline. Class time will be spent on oral drills and conversation practice with a native speak-
        er. Class will be conducted almost entirely in Japanese. Students will study the grammar inde-
        pendently with the help of the textbook and the online workbook. Students are expected to come
        to class prepared.
        JPN 1101 FIRST SEMESTER JAPANESE
        Four hours: Prerequisite: Cumulative GPA of at least 2.5 or approval from Critical Languages
        program director.
        JPN 1102 SECOND SEMESTER JAPANESE
        Four hours: Prerequisite: JPN 1101 proficiency
        JPN 2203 SECOND YEAR JAPANESE
        Four hours: Prerequisite: JPN 1102 proficiency

        LATIN AMERICAN STUDIES – LAS
        LAS 2005 LATIN AMERICAN CULTURE
        Four hours. An introduction to various aspects of life in Latin American countries from early times
        to the present. Focusing on the social and political development of Latin America, the course re-
        veals the unity and diversity that characterize contemporary Latin American culture. Typical top-
        ics for study include: the pre-Columbian civilizations and their cultural legacy; the conquistadors
        and the Colonial period; the independence movements; the search for and the definition of an
        American identity; the twentieth-century dictatorships; and the move toward democracy.
        LAS 2006 LATIN AMERICA ON FILM I
        Four hours. This course introduces the student to some facets of the Latin American world
        through a detailed study of films and readings from diverse countries of the region such as Argen-
        tina, Chile, Brazil, Cuba and Guatemala. In tandem, it addresses topics such as religion in Argenti-
        na, dictatorship in Chile and Cuba and immigration from Guatemala.
        LAS 2007 LATIN AMERICA ON FILM II
        Four hours. This course introduces the student to some facets of Latin America through a detailed
        study of films and readings from diverse countries such as Mexico, Colombia, The Dominican
        Republic, Venezuela and El Salvador. In tandem, it addresses topics such as violence and the family
        in Mexican society, drugs and violence in Colombia, violence in Venezuela and the civil war in El
        Salvador. Latin America on Film I is not a prerequisite for this course.
        LAS 3308 TOPICS IN HISPANIC CULTURE AND CIVILIZATION
        Four hours. Same as SPA 3308. Prerequisite: SPA 2203 proficiency or permission of the instructor.
        This course introduces and expands the student’s understanding of Hispanic countries through a
        detailed study of an interdisciplinary topic that incorporates history, culture, art, literature, current
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     events, and various geographic regions. Students of SPA 3308 read and write in Spanish, students
     of LAS 3308 read and write in English. All class discussions are held in English. May be taken more
     than once with a different topic. Gen Ed: SW
     LAS 3335 LATIN AMERICAN FILM AND FICTION
     Four hours. Same as SPA 3335. Prerequisite: SPA 2203 proficiency or permission of the instructor
     for students taking this as SPA 3335. This course examines major works of fiction in writing and
     film by Hispanic writers such as Azuela, Borges, Allende, Sábato, Cortázar, and García Márquez
     among others. It focuses on the historical, social and political context of their works. Students
     of LAS 3335 read and write in English, students of SPA 3335 read and write in Spanish. All class
     discussions are held in English.

     LAS 3355 HISTORY OF FLORIDA
     Four hours. Same as HIS 3355. Prerequisites: One year of college-level coursework and successful
     completion of coursework that satisfies Effective Communication SLOs A and B. This course sur-
     veys the history of Florida from the Spanish Period to the present. The course examines the major
     events and personalities in Florida history from chronological and political perspectives. Atten-
     tion is given to economic, social, and environmental issues that have shaped Florida’s history. Flor-
     ida’s unique landscape, geography and natural features are also a subject of inquiry in the course.
     Gen Ed: SW, Ql, EC-C

     LAS 3365 HISTORY OF MODERN LATIN AMERICA
     Four hours. Same as HIS 3365. Prerequisites: One year of college coursework and successful com-
     pletion of coursework that satisfies Effective Communication SLOs A and B. This course surveys
     the major events and personalities in Latin American History from the colonial era to the present.
     Attention is given to economic, social, geographical, and environmental issues that have shaped
     the region’s history. The region’s unique landscape, geography and natural features are also a sub-
     ject of inquiry in the course. Gen Ed: SW, Ql, EC-C

     LIBRARY – LIB
     LIB 1005 INVESTIGATIONS
     Two hours. This course provides standards-based instruction and practice in the discovery, use, and
     creation of information. Students will learn the skills to locate scholarly information, analyze and
     extract meaning from articles, and use information responsibly, while developing a deeper under-
     standing of their place within the scholarly conversation. Concepts and skills learned in this class
     are transferable across the student’s academic program.

     MATHEMATICS – MAT
     MAT 1000 PREPARATION FOR COLLEGE MATHEMATICS
     Two hours. A review and practice in basic mathematical principles and skills for use in a subse-
     quent course. Coursework includes active learning exercises and individualized, self-paced prob-
     lem sets. This course may be taken no more than two times, in preparation for different courses.
     This course does NOT meet any general education learning outcomes. This course is P/F/A.

     MAT 1007 ADVENTURES IN COMTEMPORARY MATH
     Four hours. A study of modern mathematics with applications. Students will gain an understand-
     ing of how mathematical reasoning can be applied in the real world. Topics are selected from the
     following: voting systems; applications of graphs in touring and travel; the art and science behind
     fractals and population growth; personal finance and basic statistical concepts. Additional topics
     may be included at the discretion of the instructor. Gen Ed: Qn
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        MAT 1047 PRECALCULUS
        Four hours. A study of polynomial, rational, exponential, logarithmic, and trigonometric func-
        tions and coordinate geometric techniques. Gen Ed: Qn

        MAT 2022 ELEMENTARY STATISTICS
        Four hours. Students use statistical methods to analyze data from real world situations and make
        inferences. These methods involve descriptive analysis, probability distributions, correlation, lin-
        ear regression, the Central Limit Theorem, confidence intervals, and hypothesis testing. Credit
        cannot be earned for both MAT 2022 and MAT 2032. Gen Ed: Qn

        MAT 2027 TRANSITION TO BIOSTATISTICS
        Two hours. Prerequisite: MAT 2022 or permission of instructor. Applied statistical tools for analy-
        sis and decision making with applications for biology and environmental and agricultural scienc-
        es. Class demonstrations of analysis using statistical software.

        MAT 2032 BIOSTATISTICS
        Four hours. Applied statistical tools for analysis and decision making with applications for biol-
        ogy, environmental and agricultural sciences. Statistical terminology, collection and presentation
        of data, probability distributions, sampling, experimental design, parametric and nonparametric
        procedures, regression, correlation and analysis of variance. Class demonstrations of analysis using
        statistical software. Credit cannot be earned for both MAT 2022 and MAT 2032. Gen Ed: Qn

        MAT 2050 APPLIED CALCULUS
        Four hours. Prerequisite: Competency in algebra or permission of the instructor. Basic analytic
        geometry; differentiation and integration of single variable functions; optimization and other
        applications of single variable calculus, differentiation and integration of multi-variable and trig-
        onometric functions; differential equations, with emphasis on applications to real world prob-
        lems. Gen Ed: Qn

        MAT 2100 DISCRETE STRUCTURES
        Four hours. Same as CSC 2100. An introduction to discrete mathematics. Topics include logic,
        set theory, basic proofs, mathematical induction and recursion, counting principles and prob-
        ability. Gen Ed: Qn

        MAT 2311 CALCULUS I WITH PLANE ANALYTIC GEOMETRY
        Four hours. The study of differentiation and integration of algebraic and transcendental functions.
        Theory and applications of differentiation, and The Fundamental Theorem of Calculus. Topics in
        plane analytic geometry. Use of computer algebra system (CAS) required. Gen Ed: Qn

        MAT 2312 CALCULUS II WITH PLANE ANALYTIC GEOMETRY
        Four hours. Prerequisite: MAT 2311. Continuation of MAT 2311. Techniques and applications of
        integration, improper integrals, infinite sequences and series, and power series. Use of a computer
        algebra system (CAS) required. Gen Ed: Qn

        MAT 2505 LINEAR ALGEBRA
        Four hours. Prerequisites: MAT 2312. The study of matrices, solution of homogeneous and
        non-homogeneous systems of equations, vector spaces, linear mappings, determinants, eigen-
        values, and eigenvectors.

        MAT 3132 ADVANCED STATISTICAL TOPICS
        Four hours. Prerequisite: MAT 2022 or MAT 2032. In depth application of univariate and mul-
        tivariate statistical tools for data analysis. Statistical software will be used.
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     MAT 3205 PROOF TECHNIQUES
     Four hours. Prerequisite: MAT 2312. An introduction to the logic and methods of higher mathe-
     matics, emphasizing critical thinking and basic proof techniques.

     MAT 3305 ABSTRACT ALGEBRA
     Four hours. Prerequisite or corequisite: MAT 3205 or permission of instructor. The course will
     investigate the definition of a group and its properties using specific types of groups (including
     group presentations, modular arithmetic, permutations, symmetries, and matrices) and the study
     of relationships between groups via subgroups and homomorphisms. Throughout the course,
     proof writing techniques will be developed and applied to the context of groups.

     MAT 3313 CALCULUS III WITH SOLID ANALYTIC GEOMETRY
     Four hours. Prerequisite: MAT 2312. Solid analytic geometry, vector calculus, partial differenti-
     ation, multiple integrals, and other coordinate systems. Use of computer algebra system (CAS)
     required. Gen Ed: Qn

     MAT 3330 HISTORY OF MATHEMATICS
     Four hours. Prerequisite: MAT 2312. A study of the trends and developments in mathematics
     throughout the centuries and how these trends and developments influence art, culture, technol-
     ogy, and thought.

     MAT 3350 DIFFERENTIAL EQUATIONS
     Four hours. Prerequisite: MAT 2312. Students use qualitative, numerical, and analytical tech-
     niques to study solutions of ordinary differential equations and systems of ordinary differential
     equations. Topics include analytic methods for solving separable and linear differential equa-
     tions, numeric methods, existence and uniqueness theorems, systems of linear differential equa-
     tions, stability of autonomous systems, discrete dynamical systems, and chaos. Use of a computer
     algebra system is required.

     MAT 3355 CODING THEORY
     Four hours. Prerequisite: MAT 2312. The study of binary codes over fields of characteristic
     stressing the construction, encoding and decoding of several important families of codes.

     MAT 3960 FIELD EXPERIENCE
     One to four hours. Prerequisite: Junior or senior standing; permission of instructor; minimum
     2.8 overall GPA and a 3.0 math GPA. Correlating theory and practice in two operational settings;
     supervision by cooperating practitioners and faculty in several areas of application. One hour of
     credit will be awarded for every forty hours of internship experience. This course may be repeat-
     ed for up to 6 hours credit.

     MAT 4205 ALGEBRAIC STRUCTURES
     Four hours. Prerequisite: MAT 3205. This course explores the basic properties of the fundamental
     structures found so very useful to algebraists, notably, rings, fields, and groups. It also entails a
     significant collaborative research and problem-solving capstone experience.
     MAT 4315 ELEMENTARY ANALYSIS
     Four hours. Prerequisites: MAT 3205 and MAT 3313. The beginning study of analysis including
     countability, sequences, convergence, limits, continuity, and differentiation.

     MAT 4442 PROBABILITY AND STATISTICS
     Four hours. Prerequisites: MAT 2022 or MAT 2032 and MAT 2312. Study of probability models,
     random variables, discrete and continuous distributions, sampling estimation, multivariate ran-
     dom variables, hypothesis testing and confidence intervals.
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        MAT 4452 PREPARATION FOR ACTUARIAL EXAM P
        Two hours. Prerequisites: MAT 2312 and Prerequisite or Corequisite: MAT 4442; or permission of
        instructor. Integrates calculus and probability topics into fundamental tools for assessing risk in
        an actuarial environment. Calculus and probability topics include derivatives, integrals, partials,
        random variables, distributions, and conditional probability. This course is a preparatory course
        for the Society of Actuaries/Casualty Actuarial Society Course/Exam P.
        MAT 4630 SELECTED TOPICS IN MATHEMATICS
        Two or four hours. Prerequisite: Permission of instructor. Covers contemporary topics at an ad-
        vanced level in mathematics (such as graph theory, group theory, knot theory, linear algebra, logic,
        modern algebra, real analysis, topology). Course may be repeated for credit with a different topic.
        MAT 4645 SELECTED TOPICS IN COMPUTER SCIENCE AND MATHEMATICS
        Two or four hours. Same as CSC 4645. Prerequisite: Permission of instructor. Covers contem-
        porary topics at an advanced level in applied mathematics and computer science. (For example:
        numerical methods, graph theory.) Course may be repeated for credit with a different topic.
        MAT 4960/4961 SENIOR INTERNSHIP IN MATHEMATICS
        Four hours. Prerequisite: Senior standing; completion of department approval procedure; min-
        imum cumulative GPA of 2.8 and minimum GPA of 3.0 in the major; successful completion of
        coursework that satisfies Effective Communication SLO’s A and B. The combination of research
        and practical experience, provides students with a combination of theoretical understanding, crit-
        ical-thinking skills, and hands-on experience that employers seek. Internships correlate theory
        and practice in two operational settings; supervision by cooperating practitioners and faculty in
        several areas of application. A minimum of 160 hours of internship experience is required. Gen
        Ed: EC-C
        MAT 4999 MATHEMATICS SENIOR SEMINAR
        Four hours. Prerequisites: senior standing, successful completion of coursework that satisfies Effec-
        tive Communication SLOs A and B. This course entails a student led development of knowledge
        in a subject outside the scope of the existing mathematics curriculum. Students work through the
        material and display their knowledge of the subject in oral presentations and written documen-
        tation. Gen Ed: EC-C

        MEDICAL LABORATORY SCIENCES - MLS
        MLS 3100 INTRODUCTION TO CLINICAL LABORATORY SCIENCES
        Three hours: Prerequisite: Medical Laboratory Sciences majors. Co-requisite or prerequisite: BIO
        3710. Basic aspects of clinical laboratory sciences are covered, including general clinical labora-
        tory safety, proper use and care of laboratory equipment, an overview of clinical laboratory tests,
        administrative aspects of clinical laboratory work, and educational and career requirements for
        the MLS professional.
        MLS 3200 CLINICAL CHEMISTRY AND IMMUNOLOGY
        Three hours: Prerequisite: medical laboratory sciences major and BIO 4300. Prerequisite or
        co-requisite: MLS 3100. Explore critical chemical and immunological concepts for the medical
        laboratory sciences professional.
        MLS 3300 PHLEBOTOMY
        Three hours: Prerequisite: medical laboratory sciences major. Prerequisite or co-requisite: MLS
        3100. Study various aspects of phlebotomy, including the conceptual, procedural, legal and ethical
        aspects of working with specimens, samples and patients.
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     MLS 4100 CLINICAL HEMATOLOGY
     Three hours: Prerequisite: MLS 3100. A detailed exploration of structure, function and disorders
     of hematopoietic cells and tissues.

     MLS 4200 CLINICAL IMMUNOHEMATOLOGY
     Three hours: Prerequisite: MLS 3100 and BIO 4300. A detailed exploration of the processes of
     blood donation and transfusion, with emphasis on detection and analysis of blood components
     and disease states.

     MLS 4300 CLINICAL HEMOSTASIS, URINALYSIS AND BODY FLUIDS
     Two hours: Prerequisite: MLS 3100. A detailed exploration of structure, function and disorders
     of thrombopoietic cells and kidney and urinary structure and function, with emphasis on testing
     procedures for coagulation, urine and other body fluids.

     MLS 4400 CLINICAL MICROBIOLOGY
     Three hours: Prerequisite: MLS 3100 and BIO 3400. Explore the basic morphology and biochem-
     ical characteristics of clinically significant microorganisms, along with appropriate testing proce-
     dures for detection in patient samples.

     MLS 4500 MOLECULAR PATHOLOGY METHODS
     One hour: Prerequisite: MLS 3100 and BIO 3362. Examine the concepts and methods behind
     modern molecular clinical testing are explored.

     MLS 4800 MEDICAL LABORATORY SCIENCES PRACTICUM
     Eight hours: Prerequisite: MLS 3100 and MLS 4400. Application of medical testing concepts
     to laboratory settings. Students will rotate through multiple laboratory facilities in a clinical
     setting to gain experience in the methods and procedures needed for the medical laboratory
     science professional.

     MLS 4900 MEDICAL LABORATORY SCIENCES CAPSTONE
     Four hours: Prerequisite: MLS 3100 and MLS 4400 and successful completion of coursework that
     satisfies Effective Communication SLOs A and B. Students will consider special topics in Medical
     Laboratory Sciences, which may include case study analysis, interpretation of information and
     consideration of new technologies. Students will perform literature and/or laboratory research,
     and will present their findings in oral and written formats. Gen Ed: EC-C.

     MILITARY SCIENCE AND LEADERSHIP - MSL
     MSL 1001 INTRODUCTION TO THE ARMY AND CRITICAL THINKING
     Two hours. Lab required. Learn how the personal development of life skills such as cultural under-
     standing, goal setting, time management, stress management, and comprehensive fitness relate to
     leadership, officership, and the Army profession. The focus is on developing basic knowledge and
     comprehension of Army leadership dimensions, attributes and core leader competencies while
     gaining an understanding of the ROTC program, its purpose in the Army, and its advantages for
     the student.
     MSL 1002 INTRODUCTION TO THE PROFESSION ARMS
     Two hours. Lab required. Discover the professional challenges and competencies that are needed
     for effective execution of the Profession of Arms and Army communication. Learn how Army eth-
     ics and values shape the Army and the specific ways these ethics are inculcated into Army culture.
     MSL 2001 LEADERSHIP AND DECISION MAKING
     Two hours. Lab required. Student’s outcomes will be demonstrated through critical and creative
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        thinking and the ability to apply Troop Leading Procedures (TLP). Comprehension of the officer‘s
        role in leading change by applying innovative solutions to problems in concert with the princi-
        ples of mission command. The Army profession is also stressed through leadership forums and a
        leadership self-assessment.

        MSL 2002 ARMY DOCTRINE AND TEAM DEVELOPMENT
        Two hours. Lab required. Begin the journey to understand and demonstrate cross-cultural com-
        petencies as they relate to Army doctrine and how they apply in a combatant commander’s en-
        gagement strategies. Army values, teamwork, and warrior ethos and their relationship to the law
        of land warfare and philosophy of military service are also stressed. The ability to lead and follow
        is also covered through team-building exercises in small units up to squad level.
        MSL 2006 AMERICAN MILITARY HISTORY (FALL AND SPRING)
        Four hours. Development and operations of the American military system from the Colonial pe-
        riod to the present. Focuses on the evolution of professionalism in the American military and the
        place of the American military in society. Open to all FSC students.
        MSL 3001 TRAINING MANAGEMENT AND THE WARFIGHTING FUNCTIONS
        Four hours. Lab required. This course challenges students to study, practice, and apply the fun-
        damentals of Army leadership, officership, Army values and ethics, personal development, and
        small unit tactics at the platoon level. Students receive systematic and specific feedback on their
        leadership attributes values, and core leader competencies from instructor, other ROTC cadre, and
        MSL IV Cadets using the Cadet Officer Evaluation System (OES).
        MSL 3002 APPLIED LEADERSHIP IN SMALL UNIT OPERATIONS
        Four hours. Lab required. This is an academically challenging course where students will study,
        practice, and apply the fundamentals of Army leadership, officership, Army values and ethics,
        personal development, and small unit tactics at the platoon level. At the conclusion of this course,
        students will be capable of planning, coordinating, navigating, motivating and leading a squad
        and platoon in the execution of a mission during a classroom PE, a Leadership Lab, or during a
        Leader Training Exercise (LTX). The objective of this course is to integrate the principles and prac-
        tices of effective leadership, military operations and personal development in order to adequately
        prepare students for the summer Cadet Leader Course (CLC).
        MSL 4001 THE ARMY OFFICER
        Four hours. Lab required. The Army Officer explores the dynamics of leading in the complex situ-
        ations of current military operations. Examine differences in customs and courtesies, military law,
        principles of war, and rules of engagement in the face of international terrorism. Explore aspects of
        interacting with non-government organizations, civilians on the battlefield, the decision-making
        processes and host nation support.
        MSL 4002 COMPANY-GRADE LEADERSHIP
        Four hours. Lab required. Company-Grade Leadership is an academically challenging course
        where students study, practice, develop, and apply critical thinking skills pertaining to Army
        leadership, officer skills, Army values and ethics, personal development, and small unit tactics
        at platoon level. This course includes reading assignments, homework assignments, small group
        assignments, briefings, case studies, practical exercises, mid-term exam, and a capstone exercise in
        place of the final exam. For the capstone exercise, students will be required to complete an oral
        practicum that will evaluate student’s knowledge of the 20 Army Warfighting Challenges (AWFC)
        covered throughout MSL 4001 and 4002 coursework.
        MSL 4960 CADET SUMMER TRAINING BASIC CAMP (BC) (SUMMER)
        Three hours. Pass/Fail. Elective credit only. Beginning military science students who did not com-
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     plete the first two years of Military Science and Leadership instruction may attend Basic Camp
     (BC) at Fort Knox, Kentucky. Basic Camp is approximately 30 days and attendees receive pay for
     time spent in the course. The course introduces students to military life, provides challenging lead-
     ership scenarios, and requires participants to use their personal courage to overcome obstacles and
     difficult situations. Students must be physically and academically qualified to attend the course.

     MSL 4961 CADET SUMMER TRAINING ADVANCED COURSE (AC) (SUMMER)
     Three hours. Pass/Fail. Elective credit only. The Cadet Summer Training Advanced Course (AC) is
     mandatory for students who have completed their junior year in the Military Science and Lead-
     ership program and are progressing to their senior year in the program. The course is 31 days at
     Fort Knox, Kentucky, and attendees receive pay for the time spent in the course. The course tests
     student proficiency in military leadership skills in realistic scenarios. Students participate in the
     scenarios with students from other universities across the country. Students must be physically
     qualified to attend the course.

     MUSIC – MUS
     ENSEMBLE PARTICIPATION
     One hour. This course focuses on group instruction in music with a major emphasis on skill devel-
     opment, conceptual understanding, and aesthetic appreciation of appropriate ensemble literature,
     culminating in live concert performance experiences. Ensembles carry one semester hour of credit
     for each semester of participation.
     CHAMBER SINGERS: MUS 1101–1102, 2201–2202, 3301–3302, 4401–4402 GEN ED: FA
     WOMEN’S CHORALE: MUS 1103–1104, 2203–2204, 3303–3304, 4403–4404 GEN ED: FA
     MEN’S CHORALE: MUS 1105–1106, 2205–2206, 3305–3306, 4405–4406 GEN ED: FA
     OPERA THEATRE: MUS 1107–1108, 2207–2208, 3307–3308, 4407–4408 GEN ED: FA
     CONCERT CHOIR: MUS 1109–1110, 2209–2210, 3309–3310, 4409–4410 GEN ED: FA
     SYMPHONY BAND: MUS 1111–1112, 2211–2212, 3311–3312, 4411–4412 GEN ED: FA
     JAZZ ENSEMBLE: MUS 1113–1114, 2213–2214, 3313–3314, 4413–4414 GEN ED: FA
     WIND ENSEMBLE: MUS 1117–1118, 2217–2218, 3317–3318, 4417–4418 GEN ED: FA
     PIANO ENSEMBLE: MUS 1119–1120, 2219–2220, 3319–3320, 4419–4420 GEN ED: FA
     ORCHESTRA: MUS 1121–1122, 2221-2222, 3321-3322, 4421-4422 GEN ED: FA
     CHAMBER ENSEMBLES: MUS 1123–1124, 2223–2224, 3323–3324, 4423–4424 GEN ED: FA

     MUSIC PERFORMANCE
     One to four hours. Prerequisite: permission of the instructor. Individual instruction in voice or
     instrument. All applied lessons include a required performance class lab that is required of all ma-
     jors studying on their principal instruments, which meets an additional one-hour per week and
     does not carry additional credit. The performance classes provide opportunities for performance
     instruction, group recitals, group critiques, single-instrument or vocal ensembles, instruction in
     pedagogy, and other appropriate learning activities.
     An accompanying fee of $35 per semester for applied music courses in strings, voice,
     brass and woodwinds will be assessed.
     STRINGS (VIOLIN, VIOLA, CELLO, BASS): MUS 1131–1132, 2231–2232, 3331–3332, 4431–4432
     PIANO: MUS 1133–1134, 2233–2234, 3333–3334, 4433–4434
     KEYBOARD MUSICIANSHIP I, II, III, IV: 133C–134C, 233C–234C
     WOODWINDS (FLUTE, CLARINET, OBOE, BASSOON, SAXOPHONE): MUS 1135–1136, 2235–2236,
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        3335–3336, 4435–4436
        BRASS (TRUMPET, TROMBONE, FRENCH HORN, EUPHONIUM, TUBA): MUS 1137–1138, 2237–2238,
        3337–3338, 4437–4438
        PERCUSSION: MUS 1139-1140, 2239-2240, 3339-3340, 4439–4440
        VOICE: MUS 1143-1144, 2243–2244, 3343–3344, 4443–4444
        CLASSICAL GUITAR: MUS 1147–1148, 2247–2248, 3347–3348, 4447–4448
        STUDENT RECITAL: MUS 1197–1198, 2297–2298, 3397–3398, 4497–4498
        Ungraded lab required of all music majors. There is no credit for this lab.
        MUS 3390 JUNIOR RECITAL
        One hour. Prerequisite: Permission of instructor. This course combines individual instruction in
        voice or instrument with the preparation for and performance of the Junior Recital. Requirements
        for the recital are determined by candidate’s major area. An accompanying fee of $100 for strings,
        voice, and winds will be assessed during the semester(s) of enrollment in junior recital.
        MUS 4490 SENIOR RECITAL
        One hour. Prerequisites: Permission of instructor; and, for candidates for the Bachelor of Music
        degree, successful completion of the Junior Recital. This course combines individual instruction
        in voice or instrument with the preparation for, and performance of, the Senior Recital. Require-
        ments for the recital are determined by candidate’s major area. An accompanying fee of $100 for
        strings, voice, and winds will be assessed during the semester(s) of enrollment in senior recital.

        MUSIC APPRECIATION
        MUS 1163 EXPLORATIONS IN MUSIC AND DANCE
        Four hours. Explore the broad, complex, and diverse relationship between music and dance. Topics
        also include the impact of music and dance in history, culture, and today’s society. Gen Ed: FA
        MUS 1164 HISTORY OF JAZZ
        Four hours. Development of jazz as a medium of musical expression. Gen Ed: FA
        MUS 1165 GREAT WORKS OF MUSIC
        Four hours. A comprehensive survey of western music. Gen Ed: FA
        MUS 1166 CARIBBEAN MUSIC
        Four hours. This course studies and explores the history and social impact of music in Cuba,
        Puerto Rico, Dominican Republic, Haiti, and Jamaica from the late 18th century to the present.
        Characteristics and development of musical genres are discussed along with their relationships to
        those of neighboring nations. No prior musical knowledge is required. Gen Ed: FA

        MUSIC THEORY
        MUS 1070 INTRODUCTION TO MUSIC THEORY
        Three hours. A comprehensive review of the fundamentals of music theory. This course does not
        count for credit toward the music major.
        MUS 1151 AURAL SKILLS I
        One hour. This course teaches about and gives practice in recognizing musical events and ele-
        ments by ear and in singing musical elements or materials at sight.
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     MUS 1152 AURAL SKILLS II
     One hour. Prerequisite: MUS 1151. This course builds on skills developed in previous aural skills
     courses. It teaches about and gives practice in recognizing musical events and elements by ear and
     in singing musical elements or materials at sight.

     MUS 1173 THEORY: INTRODUCTORY HARMONY
     Three hours. Prerequisite: A passing score on the Music Department’s Basic Music Theory Exam.
     This course covers written diatonic harmony and basic chromatic harmony through part-writing,
     functional analysis, and original composition.

     MUS 1179–1180, 2279–2280, 3379–3380, 4479–4480 COMPOSITION
     One to three credit hours. Prerequisite: approval of instructor. This course consists of supervised
     composition for various media through both seminar sessions and individual instruction.

     MUS 2251 AURAL SKILLS III
     One hour. Prerequisite: MUS 1152 or permission of the instructor. This course builds on skills
     developed in previous aural skills courses. It teaches about and gives practice in recognizing
     musical events and elements by ear and in singing musical elements or materials at sight.

     MUS 2252 AURAL SKILLS IV
     One hour. Prerequisite: satisfactory completion of MUS 2251 or permission of the instructor.
     This course builds on skills developed in previous aural skills courses. It teaches about and gives
     practice in recognizing musical events and elements by ear and in singing musical elements or
     materials at sight.

     MUS 2271 THEORY: ADVANCED HARMONY I
     Three hours. Prerequisite: MUS 1173 or permission of the instructor. Study of modulation, chro-
     matic and extended traditional harmonic practices, and advanced counterpoint.

     MUS 2272 THEORY: ADVANCED HARMONY II
     Three hours. Prerequisite: MUS 2271. Study of modulation, chromatic and extended traditional
     harmonic practices, and advanced counterpoint.

     MUS 3371 THEORY: FORM AND ANALYSIS
     Three hours. Prerequisite: MUS 2272. This course emphasizes detailed stylistic analysis of musical
     forms from the Baroque, Classical, Romantic and Modern periods.

     MUS 3372 THEORY: COUNTERPOINT
     Two hours. Prerequisite: MUS 3371. The course consists of an in-depth study of contrapuntal
     processes from 18th-century practices to current procedures. Original compositions: Two-Part in-
     vention, Three-voice fugue, Chorale Prelude, and Twelve-Tone composition.

     MUS 4471 ORCHESTRATION
     Two hours. Prerequisite: MUS 3371. Techniques of effective scoring for orchestra.

     MUSIC EDUCATION
     MUS 2275 STRINGS PEDAGOGY
     One hour. Preparation for teaching and demonstrating all stringed instruments.

     MUS 2276 WOODWINDS PEDAGOGY
     One hour. Preparation for teaching and demonstrating all woodwind instruments.
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        MUS 2277 CHORAL PEDAGOGY
        One hour. Techniques and materials for leading a choral music program in a secondary school
        classroom setting.

        MUS 3375 BRASS PEDAGOGY
        One hour. Preparation for teaching and demonstrating all brass instruments.

        MUS 3376 PERCUSSION PEDAGOGY
        One hour. Preparation for teaching and demonstrating all percussion instruments.

        MUS 3377 VOCAL PEDAGOGY
        One hour. Techniques and materials for teaching voice in the individual and the group lesson.

        MUS 3378 PIANO PEDAGOGY
        Two hours. Prerequisite: permission of the instructor. This course is designed to present concepts
        and materials for private piano teaching with emphasis on practical guidelines for studio work.

        MUS 3385 MARCHING BAND TECHNIQUES
        Three hours. Prerequisite: MUS 2271 or permission of the instructor. This course familiarizes stu-
        dents with procedures used to establish and maintain a marching band program in a secondary
        school setting. Students gain knowledge and skill in marching fundamentals, field techniques,
        show design, and administrative procedures. A field study experience with a public school march-
        ing band in Polk County is required.

        MUS 4476 ELEMENTARY METHODS
        Three hours. Prerequisite: permission of the instructor. Emphasizes the development of essential
        competencies for teaching music at the elementary level. Course includes survey of appropriate
        materials, research-based techniques and teaching strategies.

        MUS 4477 SECONDARY METHOD AND MATERIALS
        Three hours. Prerequisite: permission of the instructor. This course emphasizes the development
        of essential competencies for teaching music at the secondary level. Areas addressed in this course
        are: 1) Teaching Competencies, 2) Administrative Competencies, and 3) Literature.

        MUS 4889 MUSIC EDUCATION SEMINAR
        One hour. Prerequisite: Enrollment in EDU 4990. This course emphasizes the further develop-
        ment of essential competencies for teaching music in the public schools. Areas addressed in this
        course are - 1) Music Teaching Competencies, 2) Administrative Competencies, and 3) Repertoire.

        MUSIC HISTORY AND LITERATURE
        MUS 2281 HISTORY AND LITERATURE OF THE PIANO
        Two hours. Prerequisite: permission of the instructor. Development of the piano and its liter-
        ature with stylistic approach to traditions and interpretation. Recommended for majors with
        piano concentration.

        MUS 3381 HISTORY OF MUSIC I
        Four hours. Prerequisite: six hours of music theory and successful completion of coursework
        that satisfies Effective Communication SLOs A and B. The development of musical thought
        from antiquity through the Baroque era, illustrated through study of representative composi-
        tions. Gen Ed: SW, EC-C

        MUS 3382 HISTORY OF MUSIC II
        Four hours. Prerequisite: six hours of music theory. The development of musical thought from the
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     end of the Baroque era through the present, illustrated through study of representative composi-
     tions. Gen Ed: SW

     MUS 3383 VOCAL LITERATURE I
     One hour. Examination of traditional Italian, German, and French repertory for voice.

     MUS 3384 VOCAL LITERATURE II
     One hour. Examination of repertory for voice by English and American composers.

     MUSIC MANAGEMENT
     MUS 2253 INTRODUCTION TO MUSIC BUSINESS
     Two hours. Examines the various aspects of the music industry including product oriented
     business, hall management and promotions, recording industry, and unions.

     MUS 2255 MUSIC PRODUCT AND RETAILING
     Two Hours. Prerequisite: MUS 2253. Thorough acquaintance with piano, wind instruments,
     home and church organ, and string, percussion, and electronic instruments. Methods of retail-
     ing music products, including instruments, publications, and artist management.

     MUS 3359 MUSIC MANAGEMENT
     Two Hours. Prerequisite: MUS 2255. Examination of music publishing, copyright regulations,
     finance contracts, governmental regulations, and concert management.

     MUS 4461 INTERNSHIP SEMINAR
     Three Hours. Prerequisites: Completion of all courses required in the Music (B.S.) with a Concen-
     tration in Music Management curriculum and permission of the instructor. A course that takes
     place the first three or four weeks and last two weeks of the final semester to prepare students for
     the Music Management Internship (4462) and with all the necessary materials necessary after
     graduation.

     MUS 4462 MUSIC MANAGEMENT INTERNSHIP
     Nine hours. Prerequisites: completion of all courses required in this curriculum and permission
     of the instructor. A nine week internship in the music industry is required of all students electing
     the Bachelor of Science in Music Management.

     MUSIC: GENERAL OFFERINGS
     MUS 1162 MUSIC AND WELLNESS
     Two Hours. This course will focus on issues of health and wellness, geared specifically toward
     those preparing to enter the field of music. Physical and psychological aspects will be explored,
     with a focus on stress management, performance anxiety, vocal and hearing health and safety,
     repetitive motion injuries, and exercise and nutrition programs. Gen Ed: Well

     MUS 1184 ENGLISH DICTION
     One hour. One semester of study of English diction for voice concentration majors.

     MUS 1185 GERMAN DICTION
     One hour. One semester of study of German diction for voice concentration majors.

     MUS 1186 ITALIAN DICTION
     One hour. One semester of study of Italian diction for voice concentration majors.

     MUS 1187 FRENCH DICTION
     One hour. One semester of study of French diction for voice concentration majors.
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        MUS 3386 FUNDAMENTALS OF CONDUCTING I
        Two hours. Prerequisite: MUS 2272. This is a course in organizing and conducting choral and
        instrumental ensembles in which basic conducting technique (patterns, posture, subdivision of
        beats, starting, stopping, cues, and baton technique) is acquired.

        MUS 3387 FUNDAMENTALS OF CONDUCTING II
        Two hours. Prerequisite: MUS 3386. This course continues the conducting curriculum with:
        (A) further study of the techniques of choral and instrumental conducting, (B) score study and
        preparation, (C) rehearsal planning, pacing and execution; (D) interpretative factors: group tone
        development; (E) ensemble literature.

        MUS 3388 JAZZ IMPROVISATION
        One hour. Improvisational techniques in actual jazz performance.

        MUS 3389 ACCOMPANYING AND COACHING
        One hour. Prerequisite: permission of the instructor. Instrumental and vocal accompanying for
        the pianist with emphasis on stylistic traditions and with special attention to the art song.

        NURSING – NUR
        NUR 1103 HEALTH AND WELLNESS FOR SELF AND COMMUNITY
        Two hours. This course examines health and wellness for individuals as well as communities. An
        emphasis is placed on the factors that influence healthy lifestyles and how these behaviors can be
        applied in the lives of healthcare providers. Students participate in self-assessments that provide
        information about their health and wellness behaviors and their overall health status. In addition,
        students will learn strategies that improve lifetime health and wellness for self and community.
        Gen Ed: Well

        NUR 1105 NURSING FOUNDATIONS I
        Two hours: This introductory course provides an overview of nursing as a profession including the
        history, the present day health care system, and the principles which provide a foundation for the
        beginning study of the practice of nursing. Students consider the role of a professional nurse as
        care provider and the legal, ethical, social, and cultural influences to the delivery of health care in
        the United States. Students learn study and testing techniques unique to nursing and utilize cam-
        pus resources and online learning skills necessary for successful learning of nursing. This course
        may be taught as a learning community course or a living learning community course.

        NUR 1106 NURSING FOUNDATIONS II
        Two hours. This introductory course is a continuation of study regarding nursing as a profes-
        sion. Learning includes communication with individuals regarding health and illness concerns
        according to the nursing process and the roles of the nurse and other health care professionals.
        Evidence based practice is introduced including selected nurse theorists/ theories. The political
        activist role of the nurse and its implications to the health care system are presented. Students
        complete a scholarly paper using APA format. This course may be taught as a learning commu-
        nity course or a living learning community course.

        NUR 2202 NURSING FUNDAMENTALS
        Six hours. Prerequisite: Nursing majors only. This course introduces students to the scientific basis
        for nursing practice and the safe care of patients with diverse needs. Nursing skills are simulated
        and practiced in the clinical skills assessment laboratory prior to performing in the actual clinical
        setting. This is a clinical course and students participate in patient care experiences in area health
        care facilities under direct guidance of faculty and clinical preceptors.
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     NUR 3102 CONCEPTUAL FOUNDATIONS OF NURSING
     Four hours. This course introduces the student to the rationale and values inherent in a baccalau-
     reate education in nursing. It enables the student to explore professional nursing practice, phil-
     osophical perspectives of nursing, legal and ethical issues relevant to practice and the changing
     practice environment. This is generally the first nursing major course. RN-to-BSN program only.

     NUR 3104 APPLIED PATHOPHYSIOLOGY
     Four hours. Prerequisite: Nursing major only. Pathophysiology is the study of altered human phys-
     iology and disease processes. The course content provides a basis for nursing practice through
     learning body organ systems, homeostatic mechanisms, and the body’s response to illness and
     injury.

     NUR 3106 BASICS OF HEALTH ASSESSMENT
     Four hours. Prerequisite: Nursing major. This course prepares the student to collect and document
     data accurately as required for a basic health assessment of patients across the life span. It includes a
     skills laboratory component.

     NUR 3204 APPLIED PHARMACOLOGY
     Four hours. Prerequisite: Nursing major only. In this course the student analyzes the principles
     of pharmacokinetics, pharmacodynamics, and pharmacotherapeutics of drugs commonly used in
     the management of acute and chronic illnesses. Emphasis is on developing critical thinking skill
     in drug administration and monitoring therapeutic response for a culturally diverse population.

     NUR 3510 PSYCHIATRIC NURSING CARE
     Four hours: Prerequisites: NUR 2202 and NUR 3106. This course explores mind, body, and spirit
     alterations in functional health patterns experienced by patients with acute and chronic mental
     illness and examines psychopathology, psychopharmacologic therapies, community resources and
     the role of the nurse in psychiatry.

     NUR 3530 MATERNAL AND NEWBORN NURSING CARE
     Four hours. Prerequisites: Nursing majors and NUR 2202 and NUR 3106. This course introduces
     students to the care of women during child bearing years, pregnancy, labor and delivery, perinatal
     and newborn care. This is a clinical course and students provide direct patient care in a variety of
     health care settings.

     NUR 3540 PEDIATRIC NURSING CARE
     Four hours. Prerequisites: Nursing majors and NUR 2202 and NUR 3106. Nursing concepts are
     presented related to the delivery of nursing care for the childrearing family and children from
     infancy through adolescence. Principles of growth and development are applied as the student
     learns to provide nursing care and health teaching for promoting, maintaining, and restoring
     health in infants, children, and adolescents.

     NUR 3585 ADULT HEALTH NURSING CARE I
     Six hours. Prerequisites: NUR 2202, NUR 3106, and BIO 2215, BIO 2216. In this course, concepts
     from behavioral, biological and natural sciences are integrated applied to the treatment of adult
     patients in acute care settings. Students participate in clinical placement primarily in area hospi-
     tals under the guidance of faculty to develop competent and safe therapeutic nursing interven-
     tions directed toward promoting, maintaining and restoring heath or providing end of life care
     for a culturally diverse patient population.

     NUR 4110 EVIDENCE BASED HEALTH CARE
     Four hours. Prerequisites: MAT 2022 or MAT 2032 and nursing major or permission of the in-
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        structor and successful completion of coursework that satisfies Effective Communication SLOs
        A and B. This course integrates theory and concepts from health care and nursing that apply to
        the generation, appraisal, use, and dissemination of research that contributes to safe, effective, and
        high-quality healthcare practice and delivery. Gen Ed: EC-C

        NUR 4210 SENIOR SEMINAR
        Two hours. Prerequisite: Senior standing in nursing major. The senior seminar is a capstone class
        to prepare students for graduation, NCLEX licensing exam review, and entry into practice. Stan-
        dardized testing is used to monitor progress and a final exit exam must be passed to qualify for
        completing the BSN major.

        NUR 4550 TOPICS IN GLOBAL HEALTH CARE
        One to eight hours. Prerequisites: Nursing or health science major and permission of the instruc-
        tor. Students in other majors may be eligible to take this course with permission of the Dean of the
        School of Nursing and Health Sciences. This is an elective course that allows a student to experi-
        ence health care in a global setting. Each course is developed separately depending on availability
        of resources and suitability of the experience for students. Variable credit will reflect the amount
        of time expended by each student as 1 credit hour for each 40 clock hours. Course work during
        the fall or spring semester may be tied to a trip abroad to various countries. Typical trips may be
        supporting a rural health clinic in Latin America, patient care in a small hospital in Africa, or
        community health projects in Asia or other parts of the world.

        NUR 4570 COMMUNITY HEALTH NURSING CARE
        Four hours. Prerequisites: Nursing majors and NUR 2202 and NUR 3106. Students will apply
        concepts, theories, and practice from nursing and public health sciences to assess the health
        and health care delivery for culturally diverse and vulnerable populations. Students will assess
        physical, social, and cultural environments, identify populations at risk, and implement and
        evaluate appropriate nursing interventions in partnership with community and other health
        agencies.

        NUR 4575 INTRODUCTION TO GLOBAL AND POPULATION HEALTH
        Four hours. Prerequisites: Senior level nursing majors, NUR 4570, MAT 2022 or MAT 2032,
        and permission of instructor. This course provides an introduction to the field of global and
        population health, focusing on developed and developing countries. Students will be intro-
        duced to the determinants of health and disease. Current and emerging global health pri-
        orities, including emerging infectious diseases, poverty, conflicts and emergencies, health in-
        equality, health systems reforms, and major global initiatives will be analyzed. Students will
        review current case studies that highlight controversies in global health and identify strategies
        to improve the health of populations.

        NUR 4585 ADULT HEALTH NURSING CARE II
        Six hours. Prerequisites: Nursing major and NUR 3585. This course will build on previously
        learned material and will concentrate on the emergent needs of adult patients with complex
        health care needs and critical illness. Coursework is supplemented with onsite clinical experi-
        ences in acute care units and/or emergency departments in area hospitals.

        NUR 4590 LEADERSHIP PRACTICUM
        Four hours. Prerequisites: senior standing as a nursing or health science major and permission of
        instructor. In this course the student examines his or her personal development as a health care
        professional and identifies goals for transitioning to practice. Leadership skills and life manage-
        ment skills are refined. Political, legal, and advocacy issues in nursing and health care are exam-
        ined. Students conduct an independent practicum at area health care facilities.
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     NUR 4591 NURSING LEADERSHIP
     Three hours. Prerequisite: Senior standing as a nursing major. Examine personal development as
     a health care professional and identify goals for transitioning to practice. Refine leadership and
     life management skills. Examine political, legal, and advocacy issues in nursing and health care.

     NUR 4595 ADULT HEALTH NURSING CARE III
     Six hours. Prerequisites: Senior nursing major and NUR 4585. This capstone course serves as a syn-
     thesis of prior learning regarding adult health and nursing, including an emphasis on older adults
     and their social, ethical, legal, cultural, environmental, and financial issues. Clinical experiences
     continue in critical care units as well as settings providing palliative care and care for adults with
     organ and system failure, end-stage disease processes, and life-threatening illnesses.

     NUR 4960/4961 NURSING PRACTICUM
     Three to four hours. Prerequisites: nursing or health science majors and permission of instructor.
     The internship provides an intensive experiential experience through supervised practice in a wide
     variety of heath care settings. The course helps students to build self-confidence, to increase com-
     petency with the delivery of evidence-based care, and to perform in a professional role. To the
     degree possible, students request an internship site consistent with their area of interest and are
     guided by a preceptor in collaboration with a FSC faculty member.

     NUR 4999 CAPSTONE SEMINAR IN NURSING
     Four hours. Prerequisites: nursing major and permission of the instructor. This course allows the
     student to develop and initiate a plan of quality improvement initiated as a nursing leader at a
     healthcare facility or organization. The plan includes concepts of continuous quality manage-
     ment and QSEN discussed throughout the curriculum. The student practices roles of provider
     of care, designer/manager/coordinator of improvement and member of a professional nursing
     leader. There is a clinical experience associated with this course. RN-to-BSN program only.

     PHILOSOPHY – PHI
     PHI 1109 WHAT IS PHILOSOPHY?
     Four hours. Before we can approach the task of thinking philosophically, whether about ethics, re-
     ligion, politics, art, knowledge, truth, or reality, we must first endeavor to understand how it is that
     one thinks philosophically. It is the aim of this course to answer this question by introducing the
     student to the basic divisions within philosophy in order to equip them with the skills necessary
     for further study. More generally, it is the goal of this course to invite the student into the practice
     of philosophical and critical thinking which could be applied to whatever course of study the
     student pursues. Gen Ed: MV, Ql

     PHI 2204 ETHICS
     Four hours. Ethics involves the exploration of fundamental questions of meaning and value: What
     is the nature of the good life? How ought we to treat one another? Are there basic rights all people
     enjoy, and, if so, what are they? Are there universal standards of morality, or are right and wrong
     relative to culture, historical period, or individual opinion? The course explores these questions
     through various philosophical theories and their practical applications. Gen Ed: MV, Ql

     PHI 2208 LOGIC
     Four hours. Logic is the study of methods of correct reasoning. As such it can be approached
     both from “formal” and “informal” perspectives, both of which feature in the course. Informal
     logic involves critical thinking techniques that are practically useful in everyday argument and
     debate. Formal logic, also known as symbolic logic, involves mathematical models that reveal the
     underlying structure of reasoning and are applicable for various purposes, including most notably
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        computer programming. The course emphasizes how both approaches are useful for solving re-
        al-world problems from various fields. Gen Ed: Qn

        PHI 2219 WORLD RELIGIONS AND PHILOSOPHIES
        Four hours. Same as REL 2219. Introduces students to the origins; founders; historical develop-
        ment; scriptures; fundamental concepts, such as views of ultimate reality, the meaning of life,
        and human hope; religious practices; personal and social ethics; culture context and impact;
        and contemporary relevance of the world’s living religions and their associated philosophies.
        Gen Ed: MV, SW, Ql

        PHI 2224 BUSINESS ETHICS
        Four hours. The application of ethical standards to business decisions. After an initial survey of
        ethical theories and models for decision-making, students engage actual business dilemmas in
        which they will be required to make and justify decisions. Gen Ed: MV, Ql

        PHI 3109 GREAT PHILOSOPHERS I
        Four hours. Prerequisite: One other course in philosophy or permission of the instructor. This
        course explores the thought of key figures in the development of Western thought from the dawn
        of philosophy in the 6th century B.C.E. to the rise of modernity. The emphasis of the course is
        on understanding the relevance of the philosophical thought of the past to the challenges of the
        contemporary world. The course includes but is not necessarily limited to the following think-
        ers, traditions, and schools of thought: Pre-Socratics, Socrates, Plato, Aristotle, Hellenistic philos-
        ophers, medieval philosophy (especially Augustine and Aquinas), and Renaissance humanism.
        Gen Ed: MV, Ql

        PHI 3309 GREAT PHILOSOPHERS II
        Four hours. Prerequisite: One other course in philosophy or permission of the instructor. This
        course explores the thought of key figures in the development of Western thought from the be-
        ginning of the modern period to the present. The emphasis of the course is on understanding the
        relevance of early modern and contemporary philosophical thought to enduring questions about
        the human condition. Students in the course develop a creative project applying one or more
        philosophers’ ideas to a contemporary problem. The course includes but is not necessarily limited
        to the following thinkers, traditions, and schools of thought: Descartes, Continental rationalism,
        British empiricism, Kant, idealism, existentialism, and analytic philosophy. Gen Ed: MV, Ql

        PHI 3359 AESTHETICS
        Four hours. Prerequisite: One other course in philosophy or permission of the instructor. A sur-
        vey of the major theories in aesthetics from the history of philosophy as well as contemporary
        issues in the field. This course also relates aesthetic theory to specific art forms (e.g., painting,
        literature, theatre, music, film.) Among the topics addressed are the relationships among art, beau-
        ty, and reality, the roles of feeling, emotion, and cognition in artistic experience and creation,
        the connections between art and interpretation, and the mutual relevance of art and philosophy.
        Gen Ed: MV, SW, FA, Ql

        PHI 3365 THEOLOGICAL & PHILOSOPHICAL THEMES IN CONTEMPORARY LITERATURE
        Four hours. Same as REL 3365. Prerequisite: Successful completion of coursework that satisfies
        Effective Communication SLOs A and B. This course is an examination of the religious and philo-
        sophical themes in major literary works of the 19th and 20th Centuries. Gen Ed: MV, EC-C

        PHI 3388 FUNDAMENTAL QUESTIONS IN THEOLOGY & PHILOSOPHY
        Four hours. Same as REL 3388. Prerequisite: Successful completion of coursework that satisfies
        Effective Communication SLOs A and B. This team-taught course examines philosophical and
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     theological perspectives on such matters as classical arguments for God’s existence, atheistic cri-
     tiques, the relationship between reason and revelation, life after death, the ground of morality, the
     problem of evil, religious experience, and religious language. Gen Ed: MV, Ql, EC-C

     PHI 3500 SOCIAL AND POLITICAL PHILOSOPHY
     Four hours. Prerequisite: One other course in philosophy or permission of the instructor. One of
     the major ways in which philosophy has influenced the world beyond the academy is in the devel-
     opment and dissemination of different political theories. The aim of this course is to familiarize
     students with the key thinkers, texts, and schools of political philosophy in order to empower
     them to: 1) evaluate the ways in which those thinkers and theories have influenced and shaped
     the contemporary geo-political climate; and 2) critically assess their own political assumptions in
     light of the history of political philosophy.

     PHI 4459 KNOWLEDGE, TRUTH AND REALITY
     Four hours. Prerequisite: One other course in philosophy or permission of the instructor and
     successful completion of coursework that satisfies Effective Communication SLOs A and B. This
     course explores fundamental philosophical questions about knowledge, reality, and their rela-
     tionship at an advanced theoretical level. Examples of questions addressed include: What is the
     nature and structure of reality? What are the nature, ground, and limits of human knowledge?
     Are reality and our knowledge of it fully objective or do they involve relativistic and/or subjec-
     tive elements? What is the relationship between our linguistic descriptions of reality and reality
     itself? What are the relationships among the natural/social sciences, philosophical theory, cultural
     constructions, and subjective experience? Gen Ed: MV, Ql, EC-C

     PHI 4479 SPECIAL TOPICS IN PHILOSOPHY
     Four hours. Prerequisites: One other course in philosophy or permission of the instructor, and
     successful completion of coursework that satisfies Effective Communication SLOs A and B. Phi-
     losophy has a rich and diverse history dating back to the beginning of recorded time, manifest
     in nearly every culture worldwide. With such a broad tradition to draw from, it is the aim of this
     special topics course to offer students an opportunity to explore subjects in more depth or engage
     broader, emerging topics within philosophy. Gen Ed: MV, Ql, EC-C

     PHI 4953-4954 HONORS IN PHILOSOPHY
     Six hours distributed over 2 semesters. Prerequisites: Restricted to seniors in the Philosophy pro-
     gram. Seniors must have a cumulative 3.5 GPA, a GPA of 3.66 in Philosophy, and have completed
     at least half of coursework at FSC. Students in the course sequence work with the professor teach-
     ing the course on research projects centered on a particular theme.

     PHI 4960 INTERNSHIP IN PHILOSOPHY
     Three to six hours. Prerequisite: senior standing and permission of the faculty. A supervised, semes-
     ter-long application of critical and philosophical thinking, research, and writing in an approved
     setting.

     PHI 4999 CAPSTONE SEMINAR IN PHILOSOPHY
     Two hours. Prerequisite: senior standing or consent of the professor. A senior seminar in which
     students assess, articulate and evaluate ideas in philosophy using critical reasoning, and produce
     original work to be presented to faculty and peers.
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        PHYSICAL EDUCATION – PED
        ACTIVITIES
        PED 1005 WELLNESS MANAGEMENT
        Two hours. Wellness concepts and activities designed to provide students with lifetime skills for
        optimal health. Requires participation in organized Wellness Center activities. Gen Ed: Well

        PED 1015 SPECIAL TOPICS IN ACTIVITY COURSES
        One hour each. Topics including, but not limited to, martial arts, pilates, and any sport or activity
        not currently offered under its own title. Students may not repeat the topic, unless it is being
        offered at a substantially different level.

        PED 2003 SCUBA
        One hour. $50.00 fee. An introduction to Scuba by instruction, pool work, and dives. SEI IANTD
        certification. Rental SCUBA equipment is available for an additional fee. Gen Ed: Well

        PED 2004 BEGINNING WATERSKIING
        One hour. Fundamentals of water skiing techniques, safety, boating, and care of equipment. Amer-
        ican Water Ski Association certification will be an option.

        PED 2005 BEGINNING GOLF
        One hour. This is a course designed to give the student the basic skill rudiments of the game of
        golf; the laboratory participation class is one in which the beginning phases of golf, including
        rules and game plays are introduced and practical. Gen Ed: Well

        PED 2006 INTERMEDIATE GOLF
        One hour. Prerequisite: PED 2005 or permission of the instructor.

        PED 2010 AEROBICS
        One hour. Basic aerobic dance skills, safety procedures and wellness concepts for improving health
        and fitness. Gen Ed: Well

        PED 2013 VOLLEYBALL
        One hour. To develop the fundamentals and knowledge of the exciting game of volleyball.
        Gen Ed: Well

        PED 2014 SOCCER
        One hour. This course is designed to develop the fundamental skills and knowledge of the game
        of soccer. Gen Ed: Well

        PED 2015 BEGINNING WEIGHT TRAINING AND CONDITIONING
        One hour. This course is designed to develop the skills and knowledge necessary to begin and
        participate in a program of weight lifting as a lifelong activity. Gen Ed: Well

        PED 2018 BASKETBALL
        One hour. This course is designed to develop the fundamental skills and knowledge of the game
        of basketball. Gen Ed: Well

        PED 2019 BEGINNING JOGGING
        One hour. An introduction to the sequence of skills necessary to achieve fitness for jogging.
        Gen Ed: Well
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     PED 2020 BEGINNING YOGA
     One hour. This course is designed to give students an introduction to the basics of yoga postures,
     terminology, philosophy and various systems of yoga. Gen Ed: Well

     PED 2026 BEGINNING TENNIS
     One hour. This course teaches the basics for tennis. Included are terms, rules and regulations, eti-
     quette, equipment selection and stroke productivity. In-class practice of drills and individual play
     is provided. Some video analysis will be done on inclement weather days. Gen Ed: Well

     PED 2027 INTERMEDIATE TENNIS
     One hour. Prerequisite: PED 2026 or permission of the instructor. Volley, smash, and lob; doubles
     play, strategy.

     PED 2028 BADMINTON AND PADDLE GAMES
     One hour. Basic skills in badminton, pickleball, and racquetball.

     PED 2029 LIFEGUARD TRAINING
     One hour. Prerequisite: Ability to swim 500 yards; tread water for two minutes, legs only; surface
     dive for a 10-pound brick; or permission of the instructor. Course follows requirements for the
     Lifeguard Training Certificate prescribed by the American Red Cross.

     PED 2030 MARTIAL ARTS I
     One hour. This course is designed to provide introductory knowledge of martial arts. It will in-
     clude concepts and activities to build an understanding and practice of martial arts and wellness
     for the mind, body, and spirit. Concepts of strength building, self-defense, flexibility, and other
     health and wellness benefits will be included.

     PED 3007 WATER SAFETY INSTRUCTION
     One hour. Prerequisite: PED 2029 or American Red Cross Certification in the Emergency Wa-
     ter Safety Course. Identification of appropriate methods and techniques for instructing others to
     swim. ARC certification.

     COACHING COURSES – PED
     PED 3015 COACHING BASKETBALL
     Two hours. Prerequisite: Permission of instructor.
     PED 3016 COACHING BASEBALL
     Two hours. Prerequisite: Permission of instructor.
     PED 3017 COACHING FOOTBALL
     Two hours Prerequisite: Permission of instructor.
     PED 3018 COACHING SOCCER
     Two hours Prerequisite: Permission of instructor.
     PED 3019 COACHING SOFTBALL
     Two hours Prerequisite: Permission of instructor.
     PED 3020 COACHING VOLLEYBALL
     Two hours Prerequisite: Permission of instructor.
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        PHYSICS – PHY
        PHY 2010 GENERAL PHYSICS I (ALGEBRA BASED)
        Four Hours. Prerequisite: High school mathematics through pre-calculus or permission of the
        instructor, and co-requisite PHY 2051. Algebra-based physics. Topics include mechanics, fluids,
        vibrations, waves, and sound. Activities include problem solving and collaborative laboratory ex-
        perimentation. Gen Ed: NW

        PHY 2020 GENERAL PHYSICS II (ALGEBRA BASED)
        Four Hours. Prerequisite: PHY2010 and co-requisite PHY 2052. Algebra-based physics. Topics in-
        clude heat, kinetic theory of gases, electric fields, AC-DC circuits, magnetism and light. Activities
        include problem solving and collaborative laboratory experimentation.

        PHY 2051 GENERAL PHYSICS LAB I
        Zero Hours. Co-requisite: PHY 2010 or PHY 2110. Experimental Topics include kinematics, forc-
        es, collisions, rotational motion and wave motion. Activities include problem solving and collab-
        orative laboratory experimentation.

        PHY 2052 GENERAL PHYSICS LAB II
        Zero Hours. Prerequisite: PHY 2010 or PHY 2110. Co-requisite: PHY 2020 or PHY 2120. Exper-
        imental Topics include thermal physics, electrostatics, magneto statics, circuits and optics. Activi-
        ties include problem solving and collaborative laboratory experimentation.

        PHY 2110 GENERAL PHYSICS I (CALCULUS BASED)
        Four Hours. Prerequisite: MAT 2311, and co-requisite PHY 2051. Calculus-based physics. Topics
        include introduction to Newtonian mechanics, fluids, harmonic oscillators, vibrations and sound.
        Activities include problem solving and collaborative laboratory experimentation. Gen Ed: NW

        PHY 2120 GENERAL PHYSICS II (CALCULUS BASED)
        Four Hours: Prerequisite: PHY2110, co-requisite PHY 2052. Calculus-based physics. Topics include
        temperature and heat, kinetic theory of gases, electromagnetism, AC-DC circuits, Maxwell’s equa-
        tions and optics. Activities include problem solving and collaborative laboratory experimentation.

        PHY 3050 SPECIAL TOPICS IN PHYSICS
        Four hours. Prerequisite: MAT 2312 and PHY 2120 or Permission of instructor. This course explores
        a rigorous examination of current or advanced topics in Physics. Coursework may include active
        learning exercises, collaborative problem solving, integration of technology, peer instruction and
        possible classroom demonstrations.

        PHY 3070 MODERN PHYSICS I
        Four hours. Prerequisite: MAT 2312 and PHY 2120. Topics may include (but are not limited to)
        the special theory of relativity, blackbody radiation, photoelectric effect, X-rays, Compton scatter-
        ing, matter waves, Heisenberg’s uncertainty relation, the Schrödinger equation and wave function,
        the hydrogen atom in wave mechanics.

        PHY 3080 MODERN PHYSICS II
        Four hours. Prerequisite: PHY 3070. Topics may include (and are not limited to) statistical physics,
        molecules and solids, semiconductor theory and devices, atomic nucleus, nuclear decay and reac-
        tions, elementary particles.
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     POLITICAL SCIENCE – POS
     POS 1005 SUMMER ODYSSEY 20XX: FSC IN D.C.
     One hour. Pass/fail. Designated Junior Journey. Explore the connections between the people, busi-
     nesses and political networks of Florida with those of Washington, D.C., and examine Florida’s
     political aspects in the national context. Gain firsthand knowledge of the national contours of
     state politics through site visits, selected speakers, and formal and informal meetings with politi-
     cal, business and alumni figures associated with both.

     POS 1010 LANDMARK SUPREME COURT CASES
     Two hours. Pass/Fail. In this course, students will read and discuss major decisions of the United
     States Supreme Court to develop a better understanding of the role of the Court and the methods
     it has used to address some of our most intractable legal and societal disputes. Additionally, stu-
     dents will learn how legal arguments are made, review a fair sampling of constitutional law, and
     see how the Court applies the constitutional text and precedent to resolve specific disputes. This
     course does not count for credit towards the Political Science major.

     POS 1115 METHODS FOR POLITICAL SCIENCE I
     Four hours. This course is a survey of the methods, questions, and analytic protocols of political
     science, as practiced in the analysis of politics in the U.S. It is a survey of how political scientists
     select and ask questions, a discussion of what questions may be important and why, in political
     science, and begins the process of training students in approaches to answering them. Gen Ed: SW

     POS 2100 INTRODUCTORY COLLOQUIUM IN POLITICAL SCIENCE
     Four hours. Introductory colloquia are an alternate way of introducing students to the study of a
     particular topic in political science not covered specifically in the general education curriculum.
     Using a diverse approach to content presentation, including invited speakers, film, literature, and
     integrative cross-disciplinary connections, students study a particular, closely defined topic inten-
     sively and with greater depth than is generally offered in the political science survey or institutions
     series. Topics vary with each year and are driven by student interest. Gen Ed: SW, Ql

     POS 2290 CURRENT ISSUES IN AMERICAN POLITICS
     Four hours. After briefly examining models of policy making, explore major contemporary polit-
     ical issues. such as economy, the environment, energy, poverty and health care. Students have an
     opportunity to select additional issues. Gen Ed: SW, Ql

     POS 2295 METHODS FOR POLITICAL SCIENCE II
     Four hours. This course introduces students to the methods and tools used in the quantitative
     study of politics and policy. Students will gather and manipulate data, visualize relationships, and
     test hypotheses. Emphasis will be placed on applying appropriate techniques to answer political
     questions, understanding the challenges faced by researchers working with social science data,
     and correctly interpreting results and drawing conclusions. Students will utilize data specific to
     political science and public policy to better understand how quantitative methods can be used to
     understand fundamental questions in the field. Gen Ed: Qn

     POS 2500 LAW AND THE COURTS
     Four hours. This course is a systematic description and analysis of the role, structure, and behavior
     of the American legal system, with an eye to the interests and concerns of pre-law students. The
     course reviews and integrates the topics of the law and legal system into the US, discusses proce-
     dures and patterns of behavior within that system, and examines the impact of our legal system
     within the larger arena of American policy and politics. Some previous coursework in political
     science is desirable, but not required.
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        POS 2900 INTRODUCTION TO INTERNATIONAL RELATIONS
        Four hours. A systematic examination of the international political landscape. Topics may include
        the connections between and among sovereign states, the influences of non-state actors on na-
        tional states’ behaviors with each other, the roles that such things as economics (e.g. globalization)
        plays in international relations, war-making and nation-building objectives; religious and other
        cultural factors influences on international relations, and the effects of scarce resources (e.g. oil,
        water, and food) on state behaviors Gen Ed: SW

        POS 3100 SOUTHERN POLITICS
        Four hours. Prerequisite: One year of college coursework or instructor’s permission. The emphasis
        of this course is on the history and changing nature of the politics of the American South. Tracing
        the political culture of the South from 1949 through the current day, students are guided in our
        research by the seminal evaluations of V.O. Key as our starting point—measuring change as devia-
        tions from these observations. This is a “project” course. Much of the value of the course is placed
        in the production of a conference--ready paper on a subject in Southern politics. These papers
        may take the form of data--driven quantitative papers in the area of women’s politics, the politics
        of race, voting and elections, ideological development, and so on. As preparation for these papers,
        students examine the current literature in Southern politics, including scholarly work that raises
        the critical question as to whether there is, in fact, anything distinctly “southern” about the politics
        of the American South in the current era. Gen Ed: SW

        POS 3175 FOREIGN AND SECURITY POLICY OF THE UNITED STATES
        Four hours. Prerequisite: One year of college-level coursework. This course examines the develop-
        ment of United States foreign policies, with an emphasis on the twentieth century. The course’s
        focus is on the principles, aims, applications, and decision-making processes that shaped America’s
        policies with other states.

        POS 3315 AMERICAN POLITICAL BEHAVIOR: PARTIES, VOTING AND ELECTIONS
        Four hours. This course examines and analyzes the history, organization and role of political par-
        ties in the American electoral system. It also examines and analyzes political behavior of individu-
        als and the role of elections in the American political process. Gen Ed: SW

        POS 3320 THE LEGISLATIVE PROCESS
        Four hours. The focus of the course is the executive and legislative branches of government. This
        course examines the legislative process in the United States and select international arenas, with
        special emphasis on the interactions between the executive and legislative branches or elements
        of government in the policymaking process. The course also examines and analyzes the structure,
        organization, leadership positions and processes of U.S. Congress. Gen Ed: SW, Ql

        POS 3323 INTERNATIONAL ORGANIZATIONS
        Four hours. Prerequisites: One year of college-level coursework or permission of the instructor. The
        course addresses the role of international organizations in global politics, examining the history
        and functioning of major organizations such as the United Nations and the European Union; we
        also examine the role of these IOs in addressing contemporary global issues. A significant portion
        of the class involves UN and EU simulations, with each student researching and representing the
        position of a member country. Possible topics covered in the simulations include humanitarian in-
        terventions, post-conflict resolution, global financial stability, and immigration policy. Gen Ed: SW

        POS 3325 U.S. CAMPAIGNS AND ELECTIONS
        Four hours. Prerequisite: One year of college-level course work or permission of the instruc-
        tor. This course is the central course in elections taught by the department, and contains two
        standard divisions: the institutional arrangements of elections (“elections”), and the behaviors
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     which take place as a result of these arrangements (“campaigns”). The course is simply divided
     into these two sections. “Elections” are examined in light of both stable factors (constitutional
     requirements) and interactions with the world of campaigning as it has developed historically
     (such as refinements of financing elections). “Campaigns” is a more practical than theoretical
     discussion of the dimensions of American political campaigns. This is an expressly “experien-
     tial learning” course. Students work with the materials in two ways: through the existing litera-
     ture on the subjects of campaigns and elections, and through examining campaigning through
     practice in actual campaign settings - where possible - or modeling this behavior, where access
     to campaigns is limited. Gen Ed: SW

     POS 3327 TOPICS IN COMPARATIVE POLITICS
     Four hours. A comparison of the political structure and process of selected states, including both
     developed and developing political systems in various parts of the world. Gen Ed: SW

     POS 3330 TOPICS IN PUBLIC POLICY
     Four hours. This course provides an in-depth examination of a particular topic in the field of pub-
     lic policy that is not covered in the core curriculum. The topic will be selected based on student
     and instructor interest, but may include environmental policy, education policy, morality policy,
     or science & technology policy. The course will be organized around three objectives: ensuring a
     broad understanding of the policy’s history and implementation, exploring controversies and key
     debates, and providing an opportunity for students to conduct their own original research. This
     course is intended for upper-college and political science majors and may be repeated for credit
     when the topic varies. Gen Ed: SW

     POS 3339 CONSTITUTIONAL LAW
     Four hours. Using major Supreme Court decisions and a case study approach, this course examines
     and analyzes American constitutional structures and a selection of civil liberties guaranteed in the
     Bill of Rights. Gen Ed: SW, Ql

     POS 3345 CONFLICT AND WAR
     Four hours. Prerequisite: One year of college-level course work or permission of the instructor.
     This course introduces students to the study of various forms of violent conflict in international
     politics, with a focus on analyzing the outcomes of historical conflicts. The course addresses the
     use of violence by both states and non-state actors, such as separatist movements and terrorist
     groups. Possible topics covered in the course include, but are not limited to: the development of
     military doctrine, terrorism, insurgency and counterinsurgency, alliance formation, civil-military
     relations, and nuclear proliferation. Gen Ed: SW

     POS 3380 SPECIAL TOPICS IN AMERICAN POLITICS
     Four hours. This advanced course explores significant issues/topics within the discipline of Amer-
     ican government. Examples include but are not limited to: post WWII American politics, South-
     ern politics, women in the American political process, or the American political system in films.
     Gen Ed: SW, Ql

     POS 3400 POLITICAL PARTIES AND INTEREST GROUPS
     Four hours. Prerequisite: One year of college course work or permission of the instructor. This
     course explains the organization, maintenance, functions, behavior and influence of both political
     parties and interest groups — the aggregators of policy opinion and preference in the US. The
     focus, if not the entire bulk, of readings are on these institutions, as they exist within the United
     States (at the state and federal levels). Students focus on three aspects of the party: party as organi-
     zation, party in the electorate and party in the government. The interest group material is centered
     on the changing interest group environment, as well as basic theories of interest aggregation and
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        representation. This is an expressly “experiential learning” course. Students work with the materi-
        als in two ways: through the existing literature on the subjects of interest aggregation, and through
        examining the organizations themselves through their own interviewing, personal investigation
        and research. Gen Ed: SW

        POS 3500 THE INTERNATIONAL RELATIONS OF THE DEVELOPING WORLD
        Four hours. Prerequisite: One year of college-level course work or permission of the instructor,
        and successful completion of coursework that satisfies Effective Communication SLOs A and
        B. This course introduces students to major debates in international relations, with a focus on
        the politics of the developing world. Possible issues addressed in the course include, but are not
        limited to: ethnic conflict, civil wars, democratization, failed states, economic development in a
        globalized world, the policy of non-alignment, and foreign imposed-regime change. A significant
        portion of class time is devoted to UN simulations, where students research and represent individ-
        ual countries in the in-class simulations. Gen Ed: EC-C

        POS 3550 NATIONAL AND INTERNATIONAL POLITICAL ECONOMY
        Four hours. This course introduces students to major political debates in domestic and global
        economics. The first part of the course offers students an overview of basic economic principles,
        and the second part of the course takes a comparative approach to domestic political economy. In
        the final section, we consider the dynamics of the global economy; this includes addressing issues
        such as labor conditions in the developing world, protectionist trade polices, and the spread of
        consumer culture. Gen Ed: SW, Ql

        POS 3600 TOPICS IN INTERNATIONAL RELATIONS
        Four hours. Prerequisite: One year of college-level course work or permission of the instructor.
        This course takes an in-depth examination of an issue in global politics that is not covered in
        the core curriculum; each semester that the course is offered, the course topic is determined by
        student interest. In the first section of the course, students review theoretical literature on the cho-
        sen issue. In the second part, students examine historical case studies, with a focus on testing and
        applying these theories. In the final section, students complete a major research project. Students
        may repeat the course when topics vary. This course is intended for upper-college students and
        political science majors. Gen Ed: SW

        POS 3905 POLITICS AND THE MEDIA
        Four Hours. Same as COM 3905. A systematic description and analysis of the roles and impacts of
        the media within the American political arena. Attention will be paid to the impact of the chang-
        ing processes and modes of the media (e.g., cable news, the internet, blogging and tweeting) on
        citizen involvement, political campaigns, and governing. Some previous work in either political
        science or journalism is advised but not required. This course is cross-listed with the Communica-
        tion Department as COM 3905. Gen Ed: SW, Ql

        POS 4429 POLITICAL THEORY
        Four hours. From Plato to the present, the course explores the writings of the world’s greatest
        political theorists on such topics as the state, the ideal state, the individual in the state, natural law,
        institutional religion and the state, revolution, the state of nature, sovereignty, the social contract,
        moral law, separation of power, the universal state, the dialectic, capitalism, class conflict, anar-
        chism, liberty, libertarianism, and justice. Emphasis is placed on the question of how relevant are
        these concepts for our times. Gen Ed: MV

        POS 4960/4961 INTERNSHIP IN POLITICAL SCIENCE
        One to eighteen hours. Pass/fail. Students may earn up to a maximum of 18 credit hours in POS
        4960 and 4961 combined, but of the total number of credit hours earned, only five may be applied
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     to the 41 hours required to complete the political science major, the remainder counts as elective
     credit hours. Internships are out of classroom experiences designed to enable learning that cannot
     be gained in a traditional classroom setting, to set in practical environments skills or other content
     gained in a traditional classroom setting, or to gain work experience that is specifically tied to a
     student’s pre--professional training and connected to discipline/field-specific content. An intern-
     ship requires and assumes an active learning component on the part of the student: “shadowing”,
     per se, is not an internship under this definition.

     POS 4999 SENIOR SEMINAR IN POLITICAL SCIENCE
     Four hours. Prerequisites: Senior standing and twelve hours in Political Science or permission of
     the instructor, and successful completion of coursework that satisfies Effective Communication
     SLOs A and B. Empirical theoretical approaches and the qualitative and quantitative methodolo-
     gies used by political scientists in the study of political attitudes and behavior. Using the elements
     above, the course participants must produce a piece of original research, which must be present-
     ed at a local, national, or regional conference, or at an on-campus academic meeting. Capstone
     course. Gen Ed: SW, Qn, EC-C

     PORTUGUESE – POR
     Each course is an enhanced self-study program in the NASILP (National Association of Self-In-
     structional Language Programs) format, which relies heavily upon the student’s motivation and
     discipline. Major emphasis is on the development of oral-aural skills. Class time is spent in oral
     drills and conversation practice with a native-speaking (or equivalent) tutor. Classes are conduct-
     ed almost entirely in Portuguese. Students study the grammar independently, using the NASILP
     format with the help of the assigned text and workbook, as well as in the lab. Students are expect-
     ed to work outside of class and in the lab each week and come to class prepared.

     POR 1101 FIRST SEMESTER PORTUGUESE
     Four hours. Prerequisite: Cumulative GPA of at least 2.5 or approval from the Critical Languages
     Program director. Gen Ed: SW, Ql

     POR 1102 SECOND SEMESTER PORTUGUESE
     Four hours. Prerequisite: POR 1101 proficiency.

     POR 2203 SECOND YEAR PORTUGUESE
     Four hours. Prerequisite: POR 1102 proficiency.

     PRE-HEALTH PROFESSIONS – PHP
     PHP 1100 INTRODUCTION TO HEALTH PROFESSIONS
     Two hours. Prerequisite: permission of the instructor. A seminar course for students planning
     a career in medicine, dentistry, veterinary medicine, pharmacy and other healthcare specialties.
     Students will learn about the roles of healthcare providers and consider critical concepts such as
     professionalism, health care ethics, interdisciplinary health care teams, world health issues, and
     health care policies. Students will learn about resources for career planning and how to build
     competitive applications.

     PHP 3988-3989 PROFESSIONAL SHADOWING
     Zero to one hour. Same as BIO 3988, 3989. Prerequisite: permission of the instructor. Students
     shadow a professional (for example a physician, dentist or veterinarian) for at least forty hours
     to observe the profession, experience how professionals conduct themselves, and learn policies
     governing privacy issues in the profession. Students selecting the zero credit hour option enroll
     on a pass/fail basis.
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        PSYCHOLOGY – PSY
        PSY 1106 PSYCHOLOGY AND THE SOCIAL WORLD
        Four hours. Survey of major areas in psychology with emphasis on current foundational areas of
        the field, including but not limited to the following: theoretical/methodological, developmental,
        cognitive, social and cultural, and clinical foundations of behavior. Gen Ed: SW

        PSY 1110 PSYCHOLOGY AND THE NATURAL WORLD
        Four hours. An empirical (i.e., laboratory-based) approach to psychology that explores the physi-
        ological and behavioral influences on the field, which include the following: history and systems
        of psychology, neuroscience, sensory and perceptual systems, learning and memory, motivation,
        consciousness, and emotion. Gen Ed: NW

        PSY 1500 PSYCHOLOGICAL INVESTIGATIONS OF THE SOCIAL WORLD
        Four hours. Psychology majors only. Survey of major areas in psychology with emphases on cur-
        rent foundational areas of the field, including but not limited to the following: theoretical/meth-
        odological, developmental, cognitive, social and cultural, and clinical foundations of behavior.

        PSY 1510 PSYCHOLOGICAL INVESTIGATIONS OF THE NATURAL WORLD
        Four hours. Psychology majors only. An empirical (i.e., laboratory-based) approach to psychology
        that explores the physiological and behavioral influences on the field, which include the follow-
        ing: history and systems of psychology, neuroscience, sensory and perceptual systems, learning and
        memory, motivation, consciousness, and emotion.

        PSY 2100 CRITICAL THINKING IN PSYCHOLOGY I
        Two or four hours. Prerequisite: PSY 1106 or PSY 1110 or permission of instructor. Participate
        in a faculty-mentored research experience to prepare for/provide additional research experience
        beyond the required research design and statistics course. Students can take a maximum of eight
        hours in this course.

        PSY 2206 SOCIAL PSYCHOLOGY
        Four hours. Same as SOC 2206. Suggested prerequisite: PSY 1106 or PSY 1110. The study of be-
        havior in the social environment as related to the three primary areas of social psychology: social
        cognition, social influence, and social relations.

        PSY 2209 DEVELOPMENTAL PSYCHOLOGY
        Four hours. Suggested prerequisite: PSY 1106 or PSY 1110. Human development from conception
        to death with emphasis major emphasis on childhood, adolescence, and adulthood. Biological,
        cognitive, perceptual, language, personality, and social development are emphasized.

        PSY 2210 TESTS AND MEASUREMENTS
        Four hours. Construction and interpretation of measuring instruments for analysis of behavior;
        psychometric principles of testing and a survey of representative psychological tests.

        PSY 2214 ABNORMAL PSYCHOLOGY
        Four hours. Suggested prerequisite: PSY 1106 or PSY 1110. Survey of the major areas of ab-
        normal psychology with emphasis on current foundational areas of the field, including but
        not limited to the following: historical/theoretical foundations of approaches to psychological
        abnormality, clinical assessment/research, categories of abnormality, treatment strategies and
        cultural issues.

        PSY 2220 SENSATION AND PERCEPTION
        Four hours. Prerequisite: PSY 1110. An in-depth evaluation of how humans (and non-humans)
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     use their senses to informatively make sense in the world (with an emphasis on how these senses
     are studied scientifically, which is commonly called “psychophysics” in the field).

     PSY 3100 CRITICAL THINKING IN PSYCHOLOGY II
     Two or four hours. Prerequisites: PSY 1106, PSY 1110, PSY 2100, and MAT 2022, or permission of
     instructor. This course provides students with an advanced faculty-mentored research experience
     beyond PSY 2100. In addition to preparing students for PSY 3310 Research Design and Statistics,
     this course will enhance research skills needed to obtain entry into graduate school or to obtain
     a job in the research field (e.g., data entry, analyses, and interpretation, etc.). Students can take a
     maximum of 8 hours in this course.

     PSY 3300 CLINICAL AND COUNSELING PSYCHOLOGY
     Four hours. Prerequisite: PSY 2214. An in-depth evaluation of current treatments for mental
     illness that explores modern psychological perspectives and their methods of effective thera-
     peutic intervention.

     PSY 3301 SPECIAL TOPICS IN PSYCHOLOGY
     Four hours. Prerequisite: PSY 1106 or PSY 1110. Consideration of special topics in psychology,
     including current issue and trends.

     PSY 3305 LEARNING AND BEHAVIORAL PSYCHOLOGY
     Four hours. Prerequisite: PSY 1110. An in-depth evaluation of behavioral theory and its applica-
     tion in the real world (with emphasis on analysis and further development of research in the field).
     PSY 3309 BEHAVIORAL NEUROSCIENCE
     Four hours. Prerequisite: PSY 1110. An in-depth evaluation of behavioral theory and its applica-
     tion in the real world (with emphasis on analysis and further development of research in the field).
     PSY 3310 RESEARCH DESIGN AND STATISTICS
     Four hours. Prerequisites: MAT 2022 and at least one PSY 1000-level course (PSY 1106 or PSY
     1110). Principles, procedures and methods for designing research in psychology, including per-
     forming relevant statistical analyses of data, hypothesis testing and inference; analysis of variance;
     non-parametric techniques. Gen Ed: Qn
     PSY 3314 PSYCHOLOGY OF PERSONALITY
     Four hours. Prerequisite: PSY 1106. An in-depth evaluation of personality theory and its applica-
     tion toward human behavior (with emphasis on assessment and how it is used to measure person-
     ality in the real world).
     PSY 3315 COGNITIVE PSYCHOLOGY
     Four hours. Prerequisite: PSY 1106. Survey of human cognitive psychology, focusing on how
     human perception, learning, memory and thinking; designed to engage students in the major
     topics of the field.
     PSY 3321 THE PSYCHOLOGIST’S SEARCH FOR MEANING AND VALUE: PERSONAL, COMMUNAL, AND
     GLOBAL EXPLORATION
     Two hours. Prerequisite: junior standing or permission of the instructor. Preference to residen-
     tial students. Students explore psychological theories of why and how people seek and construct
     meaningful lives that are aligned with personal, communal, and universal values. Major areas
     in psychology includes but are not limited to: clinical, cognitive, developmental, existential,
     Gestalt, positive psychology, psychobiological, and social and cultural perspectives. Planning a
     service-learning project, to be implemented during the subsequent spring break, is one of the
     course-related experiences. Gen Ed: MV
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        PSY 3322 THE PSYCHOLOGIST’S SEARCH FOR MEANING AND VALUE: PERSONAL, COMMUNAL, AND
        GLOBAL IMPLEMENTATION
        Two hours. Prerequisites: PSY 3321, or junior standing and permission of the instructor. Prefer-
        ence to residential students. In a continuation of PSY 3321, students explore psychological theo-
        ries of why and how people seek and construct meaningful lives that are aligned with personal,
        communal, and universal values. Major areas in psychology include but not be limited to: clinical,
        cognitive, developmental, existential, Gestalt, humanist, positive psychology, psychobiological, and
        social and cultural perspectives. Implementing a service-learning project during spring break is a
        required course-related experience. Thus, students must also meet institutional requirements for
        Study Abroad/Junior Journeys. Gen Ed: MV
        PSY 3325 POSITIVE PSYCHOLOGY
        Four hours. Prerequisite(s): PSY 1106 or PSY 1500. Positive psychology takes an empirical ap-
        proach to understanding human flourishing and addresses important questions about how we
        find happiness and deal with life’s challenges. This course will provide an in depth review of
        the major empirical findings and theories within positive psychology with frequent connections
        and applications to everyday life. Topics include how subjective well-being varies as a function of
        marriage, religion, money, climate, personality, life circumstances, gratitude, pessimism, strengths
        and virtues, and resilience. Students will learn how to apply empirically supported techniques to
        improve life satisfaction and increase flourishing.
        PSY 3330 HUMAN SEXUALITY
        Four Hours. Prerequisite: PSY 1110 or PSY 1510. This course investigates the biological, social,
        and psychological aspects of human sexuality. You will learn about gender socialization and gen-
        der identity, sexual orientation and attraction, sexual anatomy and the sexual response cycle, and
        health issues involved with human sexuality (e.g., reproduction and sexually transmitted infec-
        tions).
        PSY 3336 INDUSTRIAL AND ORGANIZATIONAL PSYCHOLOGY
        Four hours. Prerequisite: PSY 1106 or 1110. The systematic observation and study of human be-
        havior in an organizational setting; major topics include personnel psychology, consumer behav-
        ior, human relations, and organizational behavior.
        PSY 3350 PROFESSIONAL ISSUES IN PSYCHOLOGY
        Four hours. Prerequisite: PSY 1106 and 1110 and junior standing or permission of the instruc-
        tor. The course addresses the professional skills and knowledge needed by majors to successfully
        obtain a position in a psychology or related field and/or to earn entry to graduate school. Course
        content includes such topics as the scientific inquiry processes and critical thinking processes in
        psychology, preparing a resume and cover letter, conducting a search for career/graduate school
        options, interviewing skills, GRE preparation, and application process to graduate school.

        PSY 4410 PSYCHOLOGY AND LAW
        Four hours. Prerequisite: PSY 1106 or 1110. Survey of major areas in psychology and law with
        emphases on current foundational areas of the field, including but not limited to theoretical/
        methodological, developmental, cognitive, and social foundations of behavior.

        PSY 4430 CRIMINALIZATION OF MENTAL ILLNESS
        Four hours. Same as CRM 4430. Prerequisite: CRM 3340 or PSY 1106 or PSY 1110. This course
        explores how the criminal justice system has become the de facto mental health system and exam-
        ines reasoned, collaborative solutions to this dilemma.
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     PSY 4450 RESEARCH PRACTICUM
     Four hours. Prerequisite: PSY 3310 and permission from a full-time faculty member in psychol-
     ogy. A collaborative effort in which students independently produce (and a faculty mentors) an
     extensive literature review, sound methodology, statistically-driven data collection/analysis, and
     valid conclusions that culminates into a body work that is worthy of professional review.

     PSY 4460 ADVANCED RESEARCH DESIGN AND ANALYSIS
     Four hours. Prerequisites: MAT 2022 and PSY 3310. An advanced course designed to enhance
     research design and analysis skills, including how to design feasible and quality experiments, to ex-
     plain the limitations of certain designs, to choose the appropriate statistical tests, to correctly code
     and analyze the data using statistical software, and to correctly interpret and report the results.

     PSY 4960/4961 INTERNSHIP IN PSYCHOLOGY
     Four hours. Prerequisite: Junior or senior standing as a psychology major or minor and permis-
     sion from the internship coordinator of psychology. An off-site exploration in a psychology-related
     field that is designed to provide students with professional experience in preparation for either
     post-baccalaureate studies or future employment in the field.

     PSY 4999 CAPSTONE SEMINAR IN PSYCHOLOGY
     Four hours. Prerequisite: senior standing as a psychology major and PSY 1500 and PSY 1510
     (or permission of instructor) and an additional 16 hours of psychology credit (the last of these
     requirements may be waived with permission of entire psychology faculty). An overview of
     current issues in the discipline, including, e.g., neuroscience, clinical applications, cognitive
     psychology, and psychology applied to social problems leading to production of original work
     in a major paper/presentation. Gen Ed: EC-C

     RELIGION - REL
     REL 1108 WHAT IS RELIGION?
     Four hours. An introduction to religion through an inquiry of ultimate questions, the sacred and
     the divine, and religious belief and practice. Students critically examine sacred texts, religious ex-
     perience, theology, ritual, and ethics within religious traditions. Gen Ed: MV, Ql

     REL 2214 CHRISTIAN ETHICS
     Four hours. The study of Christian Ethics framed within Christian moral thought and an exam-
     ination of various approaches to Christian Ethics, its goals, and applications to contemporary
     topics such as violence, poverty, gender, sexuality, race, and justice. Gen Ed: MV, Ql

     REL 2215 THE OLD TESTAMENT: THE LITERATURE, THE HISTORY, THE RELIGIOUS IDEAS
     Four hours. This course examines the writings of the Hebrew Scriptures in their socio/historical,
     literary and religious context. Gen Ed: MV, SW, Ql

     REL 2216 THE NEW TESTAMENT: ITS HISTORY, LITERATURE AND THEOLOGY
     Four hours. This course examines the writings of the New Testament in their social, literary and
     theological contexts. Gen Ed: MV, Ql

     REL 2218 BASIC CHRISTIAN BELIEFS
     Four hours. An introduction to Christian theology, the course examines the fundamental doc-
     trines of the Christian faith, such as Trinity, predestination, incarnation, creation, evil, resurrec-
     tion, justification, Holy Spirit, and how these beliefs are coherently related, the form of life and
     ethics ingredient in them, and how for Christians they represent the truth about ultimate reality
     and the highest value for human life. The course also addresses the various methods through
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        which theologians do their work and how theological thinking is similar to and distinct from
        other systems of thought. Student response and discussion are major components of the course,
        as is student application of the material through analyses of “real world” sermons, lectures, video
        discussions and debates found on the web, service learning opportunities, interviews with church
        leaders. Gen Ed: MV, Ql

        REL 2219 WORLD RELIGIONS AND PHILOSOPHIES
        Four hours. Same as PHI 2219. Introduces students to the origins; founders; historical develop-
        ment; scriptures; fundamental concepts, such as views of ultimate reality, the meaning of life,
        and human hope; religious practices; personal and social ethics; culture context and impact;
        and contemporary relevance of the world’s living religions and their associated philosophies.
        Gen Ed: MV, SW, Ql

        REL 2225 THE APOCRYPHA
        Four hours. This class is an introduction to the history, the literary style, and the religious ideas
        found in the Apocrypha. Gen Ed: MV, SW

        REL 2228 JESUS IN FILM
        Four hours. Students who take this course, after developing criteria for making judgments about
        the presentations of Jesus in film and elsewhere, examine and analyze various depictions of Jesus
        in motion pictures. The course is not primarily interested in the artistic evaluation of these films;
        it is concerned with Biblical and theological analysis. How does the film align with the Biblical
        images of Jesus? Which source in the New Testament does the picture of Jesus in the film most
        closely reflect? What understanding of Jesus and his relationship to God does the film portray? The
        course, therefore, provides an opportunity to think critically and theologically about the various
        meanings of Jesus and to analyze the diverse portraits of him in the Christian tradition and in film.
        Gen Ed: MV, Ql

        REL 2256 GENDER, INTERPRETATION AND THE BIBLICAL TRADITION
        Four hours. Same as WST 2256. An examination of selected texts from the Old and New Tes-
        taments and the patriarchal contexts of the Ancient Near East and the Greco-Roman Empire.
        Using historical critical methodologies to interpret the Biblical text, students determine the ways
        in which women are depicted, identify gender roles from the historical context, and explain the
        function of feminine imagery in the text. Gen Ed: MV

        REL 3328 HISTORY OF CHRISTIAN THOUGHT
        Four hours. Prerequisite: Successful completion of coursework that satisfies Effective Communi-
        cation SLOs A and B. Examining distinctive movements, thinkers, and themes in the history of the
        Christian tradition, the course traces the development of Christian theology from the early church
        to Protestant orthodoxy and American Christianity. The course aims at developing an apprecia-
        tion for the unity and diversity, and the continuity and discontinuity in the history of Christian
        thought, a deeper understanding of a participant’s own theological heritage, and a perspective by
        which to judge contemporary theological issues. Gen Ed: MV, Ql

        REL 3345 THE WISDOM TRADITION IN ANCIENT ISRAEL
        Four hours. Prerequisite: REL 2215. This course is a critical examination of the historical setting,
        literary aspects, and theological themes of the five books that constitute the Wisdom Literature:
        Proverbs, Job, Ecclesiastes, Wisdom of Solomon, and Sirach.

        REL 3358 CHRISTIANITY AND THE ARTS
        Four hours. The place of literature, music, architecture, and graphic and dramatic arts in the Chris-
        tian tradition, past and present. Gen Ed: MV, Ql
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     REL 3365 THEOLOGICAL & PHILOSOPHICAL THEMES IN CONTEMPORARY LITERATURE
     Four hours. Same as PHI 3365. Prerequisite: Successful completion of coursework that satisfies
     Effective Communication SLOs A and B. This course examines the religious and philosophical
     themes in major literary works of the nineteenth and twentieth centuries. Gen Ed: MV, EC-C

     REL 3366 JOHANNINE LITERATURE: GOSPEL, LETTERS AND APOCALYPSE
     Four hours. Prerequisite: REL 2216. A Study of the Gospel of John, the Johannine Epistles, and
     the Book of Revelation.

     REL 3378 DIALOGUES IN SCIENCE AND RELIGION
     Four hours. Same as BIO 3378. Prerequisites: any 1000 level or above course in the natural sciences
     and any 2000 level or above course in religion. Considers the cultural, philosophical and intel-
     lectual factors that have contributed to the development of the relationship between science and
     religion in Western thought. Gen Ed: MV

     REL 3388 FUNDAMENTAL QUESTIONS IN THEOLOGY AND PHILOSOPHY
     Four hours. Same as PHI 3388. Prerequisite: Successful completion of coursework that satisfies
     Effective Communication SLOs A and B. This team-taught course examines philosophical and
     theological perspectives on such matters as classical arguments for God’s existence, atheistic cri-
     tiques, the relationship between reason and revelation, life after death, the ground of morality, the
     problem of evil, religious experience, and religious language. Gen Ed: MV, Ql, EC-C

     REL 4416 LIFE AND LETTERS OF PAUL
     Four hours. Prerequisites: REL 2216 and successful completion of coursework that satisfies Effec-
     tive Communication SLOs A and B. A study of the life and writings of Paul the Apostle as present-
     ed in the Pauline epistles, Acts and Early Christianity.

     REL 4428 CURRENT THEOLOGICAL THOUGHT
     Four hours. Prerequisites: REL 2218 and successful completion of coursework that satisfies Effec-
     tive Communication SLOs A and B. An examination of significant theologians and movements
     in the development of twentieth and twenty-first century theological thought, the course offers
     an introduction to the major Christian thinkers and themes of the modern and the post-modern
     eras. The class examines how, in dialogue and debate with philosophers, the prevailing culture, and
     other theologians, Christian thinkers and writers have attempted to address the questions of the
     basis from which someone can talk about God or a God at all, the meaning of Jesus for persons,
     society, the world, and cosmos, and the form of life that people ought to follow. Gen Ed: EC-C

     REL 4435 PROPHETIC THOUGHT IN ANCIENT ISRAEL
     Four hours. Prerequisite: REL 2215. A study of the prophetic literature of the Hebrew Scriptures
     in relation to the history of Israel, redaction criticism and theological themes.

     REL 4446 LIFE AND TEACHINGS OF JESUS
     Four hours. Prerequisites: REL 2216 and successful completion of coursework that satisfies Effec-
     tive Communication SLOs A and B. A study of the life and teachings of Jesus as presented in the
     synoptic gospel tradition.

     REL 4448 THE DOCTRINE OF GOD
     Four hours. Prerequisites: REL 2218 and successful completion of coursework that satisfies Effec-
     tive Communication SLOs A and B. An inquiry into the doctrine of God focusing upon tradition-
     al and modern critiques and the development of contemporary theological methods in response
     to those critiques, this course examines critical questions in the Christian doctrine of God that
     have led to a crisis of faith in God and atheistic protests in modern times. The course seeks to de-
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        velop an understanding of God, employing the doctrine of the Trinity, which can provide a basis
        for responding to atheism. The course aims to teach students to think through issues theologically
        in a consistent manner. Gen Ed: EC-C

        REL 4474 SPECIAL TOPICS IN CHRISTIAN ETHICS
        Four hours. Prerequisite: One other course in religion, or permission of the instructor. This course
        explores an issue or thinker in Christian ethics not otherwise covered in the core curriculum. The
        goal is to give religion majors and upper-level students from across the college an opportunity to
        engage an important topic in contemporary ethics in a more sustained way. A course focused on a
        particular issue will usually begin by surveying the history of the conversation, then turn towards a
        detailed examination of key contemporary problems, and conclude with case studies. A course fo-
        cused on a particular thinker will usually undertake a systematic study of primary sources, engag-
        ing with major critiques along the way. Course may be repeated for credit with a different topic.

        REL 4953-4954 HONORS IN RELIGION
        Six hours distributed over 2 semesters. Prerequisite: Restricted to seniors in the Religion program.
        Seniors must have a cumulative 3.5 GPA, a GPA of 3.66 in Religion, and have completed at least
        half of coursework at FSC. Students in the course sequence work with the professor teaching the
        course on research projects centered on a particular theme.

        REL 4960 INTERNSHIP IN RELIGION
        Three to six hours. Prerequisite: senior Standing and permission of the faculty. A supervised, se-
        mester long application of critical thinking, theological reflection, research and/or exegetical writ-
        ing in an approved setting.

        REL 4999 CAPSTONE SEMINAR IN RELIGION
        Two hours. Prerequisites: One REL course from each of the following groups: (REL 3345, 4435),
        (REL 3366, 4416, 4446), (REL 4428, 4448) or permission of the instructor. A senior seminar in
        which students assess ideas in religion using critical reasoning, produce original work and present
        it to faculty and peers.

        RELIGION: YOUTH MINISTRY – RYM
        RYM 2210 TEACHING AND LEARNING THEORIES FOR YOUTH MINISTRY
        Four hours. An exploration of teaching and learning theories for youth ministry, including but not
        limited to information processing, group interaction, indirect communication, personal develop-
        ment, action/reflection, transformative education and other theories of education.

        RYM 3310 LEADERSHIP & ADMINISTRATION FOR YOUTH MINISTRY
        Four hours. An examination of youth leadership processes in the life of the church, including
        but not limited to group dynamics, planning procedures and practices, recruitment and training
        of volunteers, the use of curriculum resources, and structuring and planning for youth ministry.

        RYM 4410 BIBLE AND THEOLOGY IN THE YOUTH MINISTRY SETTING
        Four hours. Prerequisites: One other RYM course, REL 2215, REL 2216, and REL 2218. An exam-
        ination of the Bible and theology in the youth ministry setting. The course includes methods for
        teaching the Bible and theology, the significance of the Bible and theology in the life of the church.

        RYM 4960/4961 INTERNSHIP IN RELIGION: YOUTH MINISTRY
        Four hours. Prerequisite: senior standing and permission of the instructor. A supervised, semester
        long work experience in youth ministry in a local church or other approved setting.
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     RUSSIAN – RUS
     Each course is an enhanced self-study program, in the NASILP (National Association of Self-in-
     structional Language Programs) format, which relies heavily upon student’s motivation and dis-
     cipline. Major emphasis is on the development of oral-aural skills. This course is an enhanced
     self-study program in the NASILP format which relies heavily upon the student’s motivation and
     discipline. Class time will be spent on oral drills and conversation practice with a native speaker.
     Class will be conducted almost entirely in Russian. Students will study the grammar independent-
     ly with the help of the textbook and the online workbook. Students are expected to come to class
     prepared.

     RSN 1101 FIRST SEMESTER RUSSIAN
     Four hours: Prerequisite: Cumulative GPA of at least 2.5 or approval from Critical Languages
     program director.

     RSN 1102 SECOND SEMESTER RUSSIAN
     Four hours: Prerequisite: RSN 1101 proficiency

     RSN 2203 SECOND YEAR RUSSIAN
     Four hours: Prerequisite: RSN 1102 proficiency

     SOCIOLOGY – SOC
     SOC 1100 INTRODUCTION TO SOCIOLOGY
     Four hours. Globally focused survey of the foundations of society and social behavior, including
     but not limited to diverse theoretical perspectives at micro and macro levels; research method-
     ological approaches; major contributors to the discipline; basic sociological concepts, processes
     and applications; the study of major social institutions; and the analysis of social issues and social
     problems. This course may also be taken, when offered, as Introduction to Sociology Online. It is
     the same course but delivered in online format. Gen Ed: MV, SW
     SOC 2206 SOCIAL PSYCHOLOGY
     Four hours. Same as PSY 2206. Suggested prerequisite: PSY 1106 or PSY 1110. The study of be-
     havior in the social environment as related to the three primary areas of social psychology: social
     cognition, social influence, and social relations.
     SOC 2216 SOCIAL PROBLEMS
     Four hours. Sociology/social psychology study of social problems, emphasizing theoretical per-
     spectives, research, and application. Selected contemporary social problems such as education,
     crime, poverty, race, and population are analyzed with respect to their origins, present dimensions,
     and possible solutions. Gen Ed: SW
     SOC 2220 MARRIAGE AND FAMILY
     Four hours. Same as WST 2220. Sociology/social psychology introduction to the study of marriage
     and family, emphasizing theoretical perspectives, research and application, based on the American
     family with comparisons to selected cultures. Topics include history, structure, and functions of
     the family, as well as mate selection and courtship, transitions, marital interaction, sexual relation-
     ships, parenting, role differentiation, violence, dissolution, and restructuring. Objectives are to an-
     alyze topics based on the academic principles of sociology and social psychology and to make ap-
     plications to social and personal levels. A service learning component is required. Gen Ed: SW, Ql
     SOC 2240 CLINICAL SOCIOLOGY
     Four hours. An examination of clinical social practice and treatment modalities in areas such as:
     marriage and family, social group work, child protection, addictions, and other referral services.
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        This is a “practice” course, designed to expose students to the application of sociology in commu-
        nity and social work. As such, students learn about typical content of careers related to sociology.
        Gen Ed: SW
        SOC 2270 INTERCULTURAL COMMUNICATION
        Four hours. Same as SPC 2270. This course explores the unique relationship between communi-
        cation and culture. Students examine their own cultural view as they are exposed to a variety of
        cultural dynamics and mores in this increasingly global society. This course balances concepts and
        theories of intercultural communication with practical application. The goal of this course is to
        enhance the student’s effectiveness as a communicator. Gen Ed: MV, SW
        SOC 3300 SELECTED TOPICS IN SOCIOLOGY
        Four hours. Focuses on a specific issue in the study of society and social behavior, including but
        not limited to micro and macro analyses; methodological approaches; major contributors and
        contributions in the selected topic; basic concepts, processes and applications; and the analysis
        and application of relevant social issues and related social problems. Gen Ed: SW

        SOC 3303 SOCIOLOGY OF DEVIANT BEHAVIOR
        Four hours. Same as CRM 3303. Sociology/social psychology study of deviant behavior, empha-
        sizing theoretical perspectives, research and application. Examines social processes in defining
        deviance, becoming deviant and changing deviance, including culture, social class, vested and
        power interests, organizational structures, social institutions, stigma, and labeling. Gen Ed: SW, Ql

        SOC 3305 RACE, CULTURE, AND HUMAN RELATIONS
        Four hours. Same as CRM 3305. The sociological meaning of race and minority group status
        in American society; specific minority groups are analyzed with major emphasis on the Afri-
        can-American experience. Gen Ed: SW, Ql

        SOC 3307 SPORT, LEISURE, AND SOCIETY
        Four hours. Same as SPM 3307. Analysis of the social functions of sport and leisure in relationship
        to other social institutions. Examination of major social problems affecting both sport and leisure.
        Application of sociological concepts and theories in understanding the social roles of sport and
        leisure in society. Gen Ed: SW

        SOC 3309 URBAN SOCIOLOGY
        Four hours. Unique features of urban communities; historical background of modern urbanism;
        changes and adjustments in values and organization; concerns of urban planning in American
        and world cities. Gen Ed: SW

        SOC 3315 BASEBALL AND AMERICAN SOCIETY
        Four hours. An examination of the social functions and characteristics of baseball in American
        society. Social historical analysis is made of the ways in which baseball has both reflected and in-
        fluenced changes in American society. Gen Ed: SW

        SOC 3336 GERONTOLOGY
        Four hours. The psychological, physiological, social and cultural theories and issues of the aging
        process and the effects upon the individual, family and society. Gen Ed: SW

        SOC 3337 DEATH AND DYING
        Four hours. Integrates information and theories of death and dying from the social, psychological,
        anthropological, medical and legal disciplines. Various perspectives integrate attitudes toward ter-
        minal illnesses, natural death, funeral rites and euthanasia. Gen Ed: SW, Ql
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     SOC 3855 SPECIAL TOPICS IN CRIMINOLOGY AND SOCIOLOGY
     Four hours. Same as CRM 3855. Suggested prerequisites: CRM 2280 and one-year of college level
     coursework or permission of the professor. Consideration of special topics in criminology and
     sociology, including current issues and trends. Examples of topics include but are not limited to
     white collar crime, victimology, comparative criminal justice systems, law and social change, and
     terrorism and the American criminal justice system. Topics will change. Course may be repeated
     for credit with a different topic.

     SOC 4400 SELECTED TOPICS IN SOCIOLOGY
     Four hours. Prerequisites: SOC 1100 and either SOC 4406 or SOC 4420 or both (depending on
     the qualitative or quantitative project approach). Focuses on qualitative or quantitative research
     project in the study of society and social behavior, including but not limited to micro and macro
     analyses; methodological approaches; major contributors and contributions in a selected topic;
     basic concepts, processes and applications; and the analysis and application of relevant social is-
     sues and related social problems. Gen Ed: SW, Ql, Qn

     SOC 4406 SOCIOLOGICAL THEORY
     Four hours. Prerequisites: SOC 1100 and SOC 2216 and successful completion of coursework that
     satisfies Effective Communication SLOs A and B. A comparative study of the development of 19th
     and 20th-century social thought and sociological theories. The focus is on understanding, analyz-
     ing and critiquing diverse theoretical perspectives at micro and macro levels as they relate to the
     organization of society and bases of social behavior. Gen Ed: MV, SW, EC-C
     SOC 4420 METHODS OF SOCIAL RESEARCH
     Four hours. Same as CRM 4420. Prerequisites: Twelve hours in criminology or sociology and MAT
     2022. The application of the scientific method in researching social phenomena, focusing on the
     foundations of quantitative, empirical methodologies. Students participate in the entire research
     process, including conceptualization, research design, sampling, measurement, data collection,
     computer software, statistical analysis, report writing, oral presentation. Gen Ed: SW, Qn
     SOC 4960/4961 SOCIOLOGY INTERNSHIP
     Four hours. Prerequisites: junior or senior standing, major or minor in sociology and permis-
     sion of the instructor. An off-site exploration in a sociology-related field that is designed to
     integrate academic learning with actual application in the field and to provide students with
     professional experience in preparation for post-baccalaureate studies and/or future employ-
     ment in the field.

     SPANISH – SPA
     SPA 1101 FIRST SEMESTER SPANISH
     Four hours. The objective of this course is to introduce students to the Spanish language and
     Hispanic cultures. Students work on the development of the four basic language skills: speaking,
     listening, reading and writing. Classes focus on the practical application of language in day to day
     situations while promoting cultural awareness. Gen Ed: SW, Ql

     SPA 1102 SECOND SEMESTER SPANISH
     Four hours. Prerequisite: SPA 1101 proficiency. The objective of this course is to introduce stu-
     dents to the Spanish language and Hispanic cultures. Students work on the development of the
     four basic language skills: speaking, listening, reading and writing. Classes focus on the practical
     application of language in day to day situations, and on cultural awareness.
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        SPA 2203 SECOND YEAR SPANISH
        Four hours. Prerequisite: SPA 1102 proficiency. The objective of this course is to introduce stu-
        dents to the Spanish language and Hispanic cultures. Students continue to develop the four basic
        language skills; speaking, listening, reading and writing. Classes focus on the practical application
        of language in day to day situations, and on cultural awareness.

        SPA 2205 COMPOSITION AND CONVERSATION I
        Four hours. Prerequisite: SPA 2203 proficiency. The objective of this course is to expand students’
        knowledge of Spanish grammar and conversation and cultural topics. Students work on the de-
        velopment of the four basic language skills: speaking, listening, reading and writing. Classes focus
        on the practical application of language in day to day situations, and on awareness of Hispanic
        cultures, diversity, current events and literature. Gen Ed: SW, Ql

        SPA 2207 COMPOSITION AND CONVERSATION II
        Four hours. Prerequisite: SPA 2203 proficiency or permission of the instructor. This course
        acts as a bridge between intermediate and upper-level Spanish courses. With a greater focus on
        grammar and expression, it helps students be better prepared to take other culture or literature
        classes in which more reading and writing is required. Students gain more hands-on practice
        with grammatical structures and get more feedback from their professors to help them further
        develop writing skills. Gen Ed: SW, Ql

        SPA 3308 TOPICS IN HISPANIC CULTURE AND CIVILIZATION
        Four hours. Same as LAS 3308. Prerequisite: SPA 2203 proficiency or permission of the instructor.
        This course serves to introduce and expand the student’s understanding of Hispanic countries
        through a detailed study of an interdisciplinary topic that incorporate history, culture, art, lit-
        erature, current events, and various geographic regions. Students of SPA 3308 read and write in
        Spanish, students of LAS 3308 read and write in English. All class discussions are held in English.
        May be taken more than once with a different topic. Gen Ed: SW

        SPA 3320 INTRODUCTION TO LITERATURE IN SPANISH
        Four hours. Prerequisite: SPA 2203 proficiency or permission of the instructor. This course helps
        students transition from language focused courses to the appreciation and analysis of literature by
        reading a variety of works of different time periods from Spain and Latin America. Students gain
        an appreciation for the profound impact of literature in society. This course provides the tools and
        vocabulary to better understand and analyze literature of every genre. Gen Ed: FA, Ql

        SPA 3323 SURVEY OF SPANISH LITERATURE
        Four hours. Prerequisite: SPA 2203 proficiency or permission of the instructor. Panoramic view of
        Spanish literature, authors, and different genres from epic poetry to present; emphasis on Golden
        Age and Romanticism to “tremendismo” and Neo-Realism. This course introduces the student
        to the richness of Spanish literature through a close examination of some of its most important
        writers and their literary production. The assigned readings and the class discussions help the
        students gain an understanding of the literary and cultural movements that have shaped Spanish
        peninsular literature. Gen Ed: FA

        SPA 3334 SURVEY OF SPANISH-AMERICAN LITERATURE
        Four hours. Prerequisite: SPA 2203 proficiency or permission of the instructor. This course is de-
        signed to expand the students understanding of Spanish American literature from 1880 to the
        present. Hispanic-American literature serves as a window to the many and varied cultures and
        peoples that have lived in this fascinating region of the world. Through close readings and class
        discussion, students develop a historical perspective and appreciation for the literary trends and
        for some of Latin America’s most respected writers and traditions. The course examines a wide
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     range of genres and representative authors of Spanish America. Special consideration is given to
     the political, historical, and social dimensions of the literature and its role in the development of
     a Latin American consciousness. Gen Ed: FA

     SPA 3335 LATIN AMERICAN FILM AND FICTION
     Four hours. Same as LAS 3335. Prerequisite: SPA 2203 proficiency or permission of the instruc-
     tor. This course examines major works of fiction in writing and film by Hispanic writers such as
     Azuela, Borges, Allende, Sábato, Cortázar, and García Márquez among others. It focuses on the
     historical, social and political context of their works. Students of LAS 3335 read and write in
     English, students of SPA 3335 read and write in Spanish. All class discussions are held in English.

     SPA 3340 CINEMA FOR SPANISH CONVERSATION
     Four hours. Prerequisite: SPA 2203 proficiency or permission of the instructor. This course intro-
     duces students to some Latin American current events and social problems through a detailed
     study of a number of films and readings from diverse regions of the continent. It is also aimed at
     improving students’ written and oral abilities in the Spanish language.

     SPA 3345 SPANISH FOR BUSINESS
     Four hours. Prerequisite: SPA 2203 proficiency or permission of the instructor. This is a Spanish
     course with a focus on the development of vocabulary, writing and reading skills, and cultural
     understanding of the Hispanic business world.

     SPA 4408 SPECIAL TOPICS IN HISPANIC LITERATURE
     Four hours. Prerequisite: SPA 2203 proficiency or permission of the instructor. Specialized study
     of one or more related aspects of the literature: authors, themes, or genres. This upper-level Span-
     ish course gives Spanish majors the opportunity to explore in-depth a specific literary topic. They
     use the skills they have acquired in previous courses to read critically and write analytical essays
     about their readings. Course may be repeated for credit with a different topic.

     SPA 4960/4961 INTERNSHIP
     Four hours. These internships are only available to Spanish majors and minors that have complet-
     ed at least 16 credit hours and have maintained a GPA of 2.0, permission of internship coordinator.
     The internship exposes students to a “real world” professional field where Spanish is the primary
     language of use. Internships can be performed locally or internationally in a variety of fields.

     SPA 4999 SENIOR CAPSTONE PROJECT
     Two hours. Prerequisite: Must be a senior-level Spanish major and have permission of the in-
     structor. An in-depth independent exploration of one or more literary or cultural topics with an
     emphasis on the production of original scholarly work and effective presentation of it, in Spanish,
     both orally and in writing.

     SPORT BUSINESS MANAGEMENT – SPM
     SPM 2150 MEDIA IN SPORT
     Four hours. Same as COM 2150. This course primarily looks at the different media in which sport
     is covered, researched, and presented to the public. Print, electronic, and new media are covered
     and analyzed. Students learn to define the careers available in sport media, as well as the roles
     associated with the sport media industry. Focus is on the domestic market; however, international
     sport media is also examined.

     SPM 2174 MANAGEMENT OF SPORT
     Four hours. An introduction to the basic concepts, career preparation skills, and professional op-
     portunities available in sport management.
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        SPM 2520 ETHICS IN SPORT
        Two hours. This course looks into the background, theory, and practice of ethics and morals in the
        sport industry. Professional, collegiate, and recreational sports are examined and analyzed.

        SPM 2960/2961 INTERNSHIP IN SPORT BUSINESS MANAGEMENT
        Two to four hours. Prerequisites: SPM 2174, permission from the instructor, minimum 2.5 GPA.
        This course requires students to integrate and apply what they have learned in their coursework
        to real-world issues and to gain practical experience working within a sports-related organization.

        SPM 3160 SPORT MARKETING
        Four hours. Prerequisite: BUS 3160 and SPM 2174. The background, theory, application and
        practice of the marketing of sport.

        SPM 3180 PLANNING AND MAINTAINING FACILITIES
        Four hours. Prerequisite: SPM 2174. Planning and budgeting for site selection, designing, and
        maintaining leisure service areas and facilities.

        SPM 3307 SPORT, LEISURE AND SOCIETY
        Four hours. Same as SOC 3307. Analysis of the social functions of sport and leisure in relationship
        to other social institutions. Examination of major social problems affecting both sport and leisure.
        Application of sociological concepts and theories in understanding the social roles of sport and
        leisure in society. Gen Ed: SW

        SPM 3370 ADMINISTRATION OF SPORT
        Four hours. Prerequisite: SPM 2174. Foundations and applications in sport economics, sport law,
        sport ethics, and sport personnel issues.

        SPM 3500 ECONOMICS OF SPORT
        Four Hours. Prerequisites: ECO 2010 and SPM 2174. This course introduces and applies concepts
        from microeconomics and sports management. Students analyze the economic impact of pro-
        fessional sports leagues and organizations, as well as the impact of major sporting events like the
        World Cup and the Olympic Games. The course also examines topics such as salaries, budgeting,
        sport finance, and their impact on the industry.

        SPM 3520 RECREATION AND FITNESS MANAGEMENT
        Two hours. Prerequisite: SPM 2174. Examines amateur sports, recreation, and the fitness industry.

        SPM 4510 FITNESS AND PRESCRIPTION
        Four hours. Prerequisite: SPM 2174 or permission of the instructor.
        Specific principles, concepts and theories of strength training and conditioning and their
        applications to performance. Course prepares students to take the CSCS certification exam.

        SPM 4520 INTERNATIONAL SPORT
        Four hours. Prerequisite: SPM 3160. Addresses the impact of sport on world culture and business.
        Professional and recreational sports are examined on a global basis, including large-scale events
        like the World Cup and Olympic Games.

        SPM 4999 SENIOR SEMINAR IN SPORT BUSINESS MANAGEMENT
        Four hours. As the capstone course for the Sport Business Management major, this senior seminar
        class focuses on the application of theories, concepts, and practices associated with leadership
        roles in the sport industry. Students use the case study method to analyze and formulate original
        problem-solving strategies to address issues in the sport industry. Gen Ed: EC-C
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     THEATRE ARTS – THE
     THE 1050 INTRODUCTION TO THE THEATRE
     Four hours. Introduction to Theatre is designed to provide an active and engaged setting in which
     students can think creatively and express themselves artistically in the context of learning about
     the theatre, leading them to be better consumers and patrons of the arts. Through a survey of plays
     from major historical periods, an examination of the component parts that comprise theatre, and
     performances of student-created scenes, students develop a critical framework to evaluate a theat-
     rical production and its elements. Gen Ed: FA, Ql

     THE 1101–1106 PRODUCTION PRACTICUM I, II, III, IV, V, VI
     One half hour. This is a production/performance class. Practical production experiences, both
     technical and performance, in a structured setting aimed at increasing ability and knowledge and
     enhancing independence in the theatrical production process. The shows produced by the theatre
     department during the semester are the focus of practical activities. A minimum of 50 hours of
     practical production work will be required.

     THE 1130 VOCAL TECHNIQUE MASTER CLASS
     One hour, repeatable up to eight hours. Prerequisite: Theatre Arts major or permission of the in-
     structor. This course is designed to assist the student in healthy vocal production and singing skills
     in a group setting and to lay the foundation for lifelong good vocal practices.

     THE 1213 ACTING I
     Four hours. Prerequisite: Theatre major/minor or permission of the instructor. Students explore
     basic acting techniques and disciplines involved in the art of acting through experiential exercises,
     improvisations, character analyses, script analyses, monologues, and scene study. Students also at-
     tend live theatre events and critique artistic performances. Gen Ed: FA, Ql

     THE 1214 ACTING FOR NON-MAJORS
     Four hours. Not open to Theatre B.F.A. candidates. This course focuses on introducing the non-per-
     former to the concepts, techniques, and theories mastered by performers. Students explore basic
     acting techniques and disciplines involved in the art of acting through experiential exercises, im-
     provisations, character analyses, script analyses, monologues and scene study. Students also attend
     live theatre events and critique artistic performances. Gen Ed: FA, Ql

     THE 1220 STAGE MOVEMENT
     Four hours. Prerequisite: THE 1213 or permission of the instructor. Students explore movement
     theories and techniques designed to increase relaxation, physical awareness, expressiveness, pow-
     er, and control of the actors’ physical instrument through experiential exercises, improvisations,
     group projects, monologues, scene study, and analysis of movement choices in theatrical perfor-
     mances. Students also examine, in theory and practice, various movement systems and techniques
     such as the Alexander Technique, Viewpoints, and the Laban Movement System.

     THE 1231–1238 APPLIED VOICE FOR THE THEATRE
     One hour. Prerequisite: Theatre Arts major or permission of the instructor. This course is designed
     to assist the student in vocal production and singing communication skills as applied to theatrical
     performance and to lay the foundation for solo vocal auditions and musical theatre performances.
     The course also addresses selection of material, rehearsal and performance techniques, both con-
     temporary and traditional musical theatre style, and merging vocal style with stage movement.

     THE 1240 IMPROVISATION AND CREATIVE EXPRESSION
     Four hours. Prerequisite: Theatre Arts major or permission of instructor. Improvisational drama
     can be defined as the exploration of unscripted performance that stresses, above all, truthful “play-
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        ing” under imaginary circumstances. In this course, we work together to create a class ensemble/
        community with an emphasis on creating work that addresses spontaneity, creativity, acceptance,
        the group mind, risk taking and heightened awareness.

        THE 1413 STAGECRAFT AND PRODUCTION PRACTICE
        Four hours. Instruction in the basics of technical theatre in a variety of areas including scenery, set
        construction, basic Scene Painting Techniques, lighting and basic hand drafting, as well manage-
        ment structure. Through primarily hands-on practical experiences, students learn both terms and
        major methodologies utilized in today’s technical theatre.

        THE 2114 MAKEUP FOR THE STAGE
        One hour. An introduction into the basic skills of theatrical makeup. Course is designed to teach
        the basic skills of two-dimensional painting; however, students are instructed in three-dimension-
        al techniques.

        THE 2153 APPLIED PRODUCTION EXPERIENCE I
        One hour, repeatable. Prerequisites: sophomore standing and permission of the instructor. Pro-
        duction experience consists of practical experiences on stage and behind the scenes. Students ap-
        ply terms and methodologies used in today’s technical theatre. Gen Ed: FA

        THE 2210 ACTING II
        Four hours. Prerequisite: THE 1213 and/or permission of the instructor. Students explore major
        acting theories and techniques of the twentieth century. This course integrates the work of Con-
        stantine Stanislavski, Sanford Meisner, and Michael Chekhov through exercises, script analysis,
        and scene study. Students also attend live theatre events and critique artistic performances.

        THE 2220 VOICE AND DIALECT FOR THE ACTOR
        Four hours. Prerequisite: Theatre major/minor or permission of the instructor. This course covers
        the fundamentals of voice production and the study of the voice as a performance instrument, in-
        cluding basic techniques for proper breathing, sound production, articulation, projection, and col-
        orization. Emphasis is on American standard pronunciation with further explorations of classical
        speech, the international phonetic alphabet, and dialects. Taught in a workshop format, this class
        features in-class vocal exercise, dialect transcription, and monologue and dialogue performances.

        THE 2313 SCRIPT ANALYSIS
        Four hours. Prerequisite: THE 1213 or THE 1214 or permission of the instructor. In this course
        the student learns to evaluate the dramatic text in terms of the literary, cultural, technical and pro-
        duction elements essential for mounting a play for performance. Various critical approaches are
        introduced and additional research methods emphasized.

        THE 2413 SCENE DESIGN
        Four hours. Prerequisite: THE 1413 or permission of the instructor. Introduction to the study
        of designing scenery for the stage in theory and practice. Execution of a series of groundplans,
        sketches, renderings and possibly models and practical work in preparing scenery for the stage.

        THE 2420 LIGHTING DESIGN
        Four hours. Prerequisite: THE 1413. Basic instruction in stage lighting techniques and in the use
        of light as an artistic medium. Students gain practical experience working with theatrical lighting
        fixtures of several different types, programming the lighting computer, working with automated
        lighting equipment and basic circuitry wiring.

        THE 2430 COSTUME DESIGN
        Four hours. This course leads students through the costume design process from the theoretical and
        conceptual collaboration of director and designer, through script analysis for production/design
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     application, to completed design projects for theoretical productions. This course also includes a
     survey of costume history and practical instruction in the rudiments of sewing and tailoring. Stu-
     dents gain practical experience in the area of costume construction and craft fabrication through
     applying classroom instruction to the current main stage productions in a lab setting.

     THE 2610 BEGINNING BALLET
     One hour. Introduction to traditional ballet techniques. Students study ballet principles and aes-
     thetics and learn basic ballet movement, vocabulary, and skills. Gen Ed: Well

     THE 2611 BEGINNING BALLET II
     One hour. Prerequisite: THE 2610, equivalent experience, or permission of the instructor. A con-
     tinued exploration of traditional ballet techniques; a study of ballet principles and aesthetics and
     improve execution of basic ballet movement, vocabulary, and skills. Gen Ed: Well

     THE 2620 BEGINNING JAZZ
     One hour. Introduction to traditional jazz techniques. Students study jazz principles and aesthet-
     ics and learn basic jazz movement, vocabulary, and skills. Gen Ed: Well

     THE 2621 BEGINNING JAZZ II
     One hour. Prerequisite: THE 2620, equivalent experience, or permission of the instructor. The ba-
     sic techniques and theoretical concepts of jazz dance are further explored. Fundamental concepts
     of alignment, balance, and coordination are expanded. Gen Ed: Well

     THE 2630 BEGINNING TAP
     One hour. Introduction to traditional tap techniques. Students study tap principles and aesthet-
     ics and learn basic tap movement, vocabulary, and skills. Skills include basic one and two sound
     movements performed at the barre and simple rhythmic combinations. Gen Ed: Well

     THE 2631 BEGINNING TAP II
     One hour. Prerequisite: THE 2630, equivalent experience, or permission of the instructor. Further
     practical application of traditional tap techniques. Students study tap principles and aesthetics and
     hone basic tap movement, vocabulary, and skills. Skills include basic one and two sound move-
     ments performed at the barre, and center, and simple rhythmic combinations. Gen Ed: Well

     THE 2640 BEGINNING MODERN DANCE
     One hour. Introduction to traditional modern dance techniques. The initial techniques and the-
     oretical concepts of modern dance are explored through presentation of fundamental techniques
     and creative movement experiences. Gen Ed: Well

     THE 2641 BEGINNING MODERN DANCE II
     One hour. Prerequisite: THE 2640, equivalent experience, or permission of the instructor. Intro-
     duction to traditional modern dance techniques. The initial techniques and theoretical concepts
     of modern dance are expanded. Gen Ed: Well

     THE 3110 MUSICAL THEATRE AUDITION
     Four hours. Prerequisites: THE 1213 and four hours of private voice lessons and junior standing
     or permission of the instructor. This course emphasizes musical theatre literature for auditioning.
     Students experience musical theatre styles, literature, composers, and lyricists. Emphasis is on song
     interpretation and audition preparation. Students are required to perform regularly and to com-
     pile audition materials appropriate for both their voice and their character type.

     THE 3120 MUSICAL THEATRE SCENE STUDY
     Four hours. Prerequisite: THE 1213 and four hours of private voice lessons and junior standing or
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        permission of the instructor. This course emphasizes musical theatre literature for performance.
        Students are exposed to musical theatre styles, literature, composers, and lyricists. Emphasis is on
        performance and vocal style. Students are required to perform materials appropriate for both their
        voice and their character type.

        THE 3153 APPLIED PRODUCTION EXPERIENCE II
        Two hours, repeatable. Prerequisites: sophomore standing and permission of the instructor. Pro-
        duction experience consists of practical experiences on stage and/or behind the scenes in a major
        role or technical position. Students apply terms and methodologies utilized in today’s technical
        theatre in a live production setting. Gen Ed: FA

        THE 3214 ACTING III: ACTING FOR THE CAMERA
        Four hours. Prerequisites: THE 1213 and THE 2210 or permission of the instructor. This course
        studies the theories and techniques of acting for the camera and the digital film editing process.
        Auditioning, performing, and filming procedures for commercial, industrial, television, and film
        are discussed and explored on camera. Students demonstrate proficiency in creating a role for the
        camera through script analysis, and proficiency in on camera acting techniques and the film pro-
        duction process through story boarding, rehearsing, filming, and editing performance projects.

        THE 3323 DIRECTING
        Four hours. Prerequisite: THE 1213 or permission of the instructor. Study and practice of direct-
        ing techniques, including script analysis, composition, picturization, pantomimic dramatization,
        rhythm, blocking, organizational procedures, communication with designers, casting, and the re-
        hearsal and production process. Students learn how to form a directorial vision from the careful
        examination of play scripts utilizing an Aristotelian based mode of analysis, and demonstrate their
        understanding of the director’s tools and process in the direction of a one act play for the general
        public. Students also attend live theatre events and respond to the productions.

        THE 3330 THEATRE MANAGEMENT
        Four hours. Designed to familiarize the student with the management areas involved in theatrical
        production. Such topics as stage management, production management and the producer are
        examined. Students analyze scripts from the perspective of the stage manager, the production
        manager and the producer. Theatrical contracts, box office operation, arts fund-raising, communi-
        ty and press relations, as well as theatrical unions may be examined.

        THE 3410 DRAFTING FOR THE STAGE
        Four hours. Prerequisites: THE 1413 and permission of the instructor. This course is aimed at
        providing an understanding of the skills and materials of drawing for the theatre, beginning with
        materials and equipment used for drafting mechanically, including drawing board geometry, scale
        and dimensions, and perspective, through CAD drawing techniques and procedures.

        THE 3610 INTERMEDIATE BALLET
        One hour. Prerequisite: THE 2611, equivalent experience, or permission of the instructor. This
        course is designed to broaden and deepen student’s understanding of classical ballet vocabu-
        lary, movement concepts, processes, principles, and to improve and develop technical skills and
        artistry. Gen Ed: Well

        THE 3611 ADVANCED BALLET
        One hour. Prerequisite: THE 3610, equivalent experience, or permission of the instructor. This
        course focuses on improving and maintaining alignment, strength, and musicality within ballet
        technique, with emphasis on clarity, mobility, musicality, timing, placement, stability, and speed.
        Expanded center work includes use of all nine-body positions in adagio, and all four Russian ara-
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     besques. Center combinations progressively become longer and more complex, with the inclusion
     of intermediate turns and jumps. Students gain strength and improve coordination through study
     of petit allegro--the most difficult and vital of all aspects of classical dancing. Gen Ed: Well

     THE 3620 INTERMEDIATE JAZZ
     One hour. Prerequisite: THE 2621, equivalent experience, or permission of the instructor. This course
     further develops the concepts explored in Beginning Jazz. Lessons consist of more complex across-
     the-floor exercises and combinations, as well as dance terminology and dance history. Gen Ed: Well

     THE 3621 ADVANCED JAZZ
     One hour. Prerequisite: THE 3620, equivalent experience, or permission of the instructor. This course
     further develops the concepts developed in Intermediate Jazz. More complex exercises and combina-
     tions are emphasized. Performance participation is expected of students at this level. Gen Ed: Well

     THE 3630 INTERMEDIATE TAP
     One hour. Prerequisite: THE 2631, equivalent experience, or permission of the instructor. Practical
     application of traditional tap techniques, and exploration of combinations. Students apply tap
     principles and aesthetics and learn advanced tap movement, and skills. Skills include basic three
     sound movements performed center, and intricate rhythmic combinations. Gen Ed: Well

     THE 3631 ADVANCED TAP
     One hour. Prerequisite: THE 3630, equivalent experience, or permission of the instructor. Practical
     application of traditional and advanced tap techniques, and combinations. Students apply tap
     principles and aesthetics and create advanced tap movement. Skills include three sound move-
     ments performed center, and intricate rhythmic combinations, combined to perform skilled tap
     routines. Gen Ed: Well

     THE 3640 INTERMEDIATE MODERN DANCE
     One hour. Prerequisite: THE 2641, equivalent experience, or permission of the instructor. Intro-
     duction to intermediate level elements of modern dance techniques, vocabulary, and concepts.
     Students review dance anatomy, terminology, alignment, strength and flexibility as well as an
     awareness of the dancer’s body through improvisation and rigorous structured choreography.
     Gen Ed: Well

     THE 3641 ADVANCED MODERN DANCE
     One hour. Prerequisite: THE 3640, equivalent experience, or permission of the instructor. Ad-
     vanced elements of modern dance techniques, vocabulary, and concepts. Students create perfor-
     mances based on an understanding of dance anatomy, alignment, strength and flexibility, in both
     improvisational dance and rigorous structured choreography. Gen Ed: Well

     THE 4110 MUSICAL THEATRE HISTORY AND LITERATURE
     Four hours. Prerequisite: THE 1234 or permission of the instructor. A survey of musical theatre
     history and literature from its beginnings to the middle of the 20th century. Students learn the
     history and basic forms/styles of musical theatre, explore the aesthetic and philosophical attitudes
     of those who created it, including its composers, lyricists, playwrights, styles, practices, as well as
     a study of the significant plays within each era, and examine the prevailing political and social
     attitudes of the eras in which musical theatre was created.

     THE 4199 SENIOR PROJECT - MUSICAL THEATRE
     Four hours. Prerequisites: senior standing and permission of the instructor. This is the capstone
     course for the B.F.A. Musical Theatre degree and is also available, with faculty approval, as an op-
     tion for the B.A. candidate. This course is designed to provide the student with the opportunity to
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        apply his/her training in a production or research setting, specific to the student’s needs, interests
        and career path. Each student works with a faculty mentor to guide him/her as he/she works inde-
        pendently to realize a self-designed project or performance.

        THE 4210 ACTING IV: ADVANCED ACTING TOPICS
        Four hours. Prerequisites: THE 2210 and either THE 3214 or THE 3310 or permission of the
        instructor. A comprehensive study of the audition process and practical realities of a “profes-
        sional” career in theatre. Students develop audition monologues, a “head shot,” a resume, and
        present a plan of action for the pursuit of a career in theatre. Different specialty topics such as
        period styles, or performing scenes of simulated violence might be examined depending on
        student need.

        THE 4299 SENIOR PROJECT - PERFORMANCE
        Four hours. Prerequisites: senior standing and permission of the instructor. This is the capstone
        course for the B.F.A. Performance degree and is also available as an option for the B.A. candidate.
        This course is designed to provide the student with the opportunity to apply his/her training in
        a production or research setting, depending upon the student’s needs, interests and career path.
        Each student works with a faculty mentor to guide him/her as he/she works independently to
        realize a self-designed project or performance.

        THE 4410 ADVANCED TECHNICAL TOPICS
        Four hours. Prerequisites: THE 2413 and 3410 or permission of the instructor. Students complete
        assignments in the conceptual analysis of play scripts and fulfillment of technical projects appro-
        priate to their technical concentration, covering a wide variety of genres. As a corollary, a profes-
        sional-caliber portfolio is developed, presented by the student, and critiqued.

        THE 4499 SENIOR PROJECT - DESIGN/TECH
        Four hours. Prerequisites: senior standing and permission of the instructor. This is the capstone
        course for the B.F.A. Design/Tech degree and is also available as an option for the B.A. candidate.
        This course is designed to provide the student with the opportunity to apply his/her training in
        a production or research setting, depending upon the student’s needs, interests and career path.
        Each student works with a faculty mentor to guide him/her as he/she works independently to
        realize a self-designed project.

        THE 4513 THEATRE HISTORY AND LITERATURE I
        Four hours. Prerequisites: THE 2313 or permission of the instructor and successful completion of
        coursework that satisfies Effective Communication SLOs A and B. A survey of theatre history and
        literature from ancient Greece to the end of the 17th century, including its playwrights, actors,
        theatres, movements, practices and their social context, as well as a study of the significant plays
        within each era. Gen Ed: SW, EC-C

        THE 4523 THEATRE HISTORY AND LITERATURE II
        Four hours. Prerequisites: THE 2313 or permission of the instructor and successful completion
        of coursework that satisfies Effective Communication SLOs A and B. A survey of theatre history
        and literature from the end of the 17th century to the late 20th century, including its playwrights,
        actors, theatres, movements, practices and their context, as well as a study of the significant plays
        within each era. Gen Ed: SW, EC-C

        THE 4650 MUSICAL THEATRE DANCE
        Two hours. Prerequisites: Beginning II level competency in at least two of the major dance areas:
        ballet, jazz, tap, and modern, or permission of the instructor. This course focuses on the styles of
        dance commonly seen in the musical theatre. Emphasis is on examining and reproducing the
        styles of the major musical theatre choreographers.
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     THE 4660 MUSICAL THEATRE CHOREOGRAPHY
     Two hours. Prerequisites: Beginning II-level competency in at least two of the major dance
     areas: ballet, jazz, tap, and modern, or permission of the instructor. This course focuses on the
     choreographer’s creative process for solo, duet, trio and group dances. Emphasis is placed on
     learning and competently reproducing choreographic routines, as presented in a movement
     audition setting.

     WOMEN AND GENDER STUDIES – WST
     WST 2200 INTRODUCTION TO WOMEN AND GENDER STUDIES
     Four hours. Taught by a team of professors from different disciplines, this class presents a variety of
     perspectives about the roles of women in such diverse fields as art, biology, business, criminology,
     economics, history, law, literature, music, philosophy, political science, psychology, religion, and
     sociology. In the liberal arts tradition, students develop awareness about issues in women and
     gender studies and engage in analysis of these issues from various scholarly perspectives. Collec-
     tions of readings in each discipline, which represent past and present contexts, form the basis for
     discussion and critical thinking. Gen Ed: SW, Ql

     WST 2220 MARRIAGE AND FAMILY
     Four hours. Same as SOC 2220. Sociology/social psychology introduction to the study of marriage
     and family, emphasizing theoretical perspectives, research, and application based on the American
     family with comparisons to selected cultures. Topics include history, structure, and functions of
     the family, as well as mate selection and courtship, transitions, marital interaction, sexual relation-
     ships, parenting, role differentiation, violence, dissolution, and restructuring. Objectives are to an-
     alyze topics based on the academic principles of sociology and social psychology and to make ap-
     plications to social and personal levels. A service learning component is required. Gen Ed: SW, Ql

     WST 2256 GENDER, INTERPRETATION AND THE BIBLICAL TRADITION
     Four hours. Same as REL 2256. An examination of selected texts from the Old and New Tes-
     taments and the patriarchal contexts of the Ancient Near East and the Greco-Roman Empire.
     Using historical critical methodologies to interpret the Biblical text, students determine the ways
     in which women are depicted, identify gender roles from the historical context, and explain the
     function of feminine imagery in the text. Gen Ed: MV

     WST 3370 GENDER IN LITERATURE
     Four Hours. Same as ENG 3370. Prerequisite: successful completion of coursework that satisfies
     Effective Commuication SLOs A and B. In this course, students will study representations of gen-
     der or sexuality in literature, popular culture, or critical theory. Topics may include women’s roles
     in society as reflected in literature; interrogation of the historical constructions of gender and
     sexuality; intersections of race and class with gender and sexuality. Gen Ed: FA

     WST 3550 SPECIAL TOPICS IN GENDER STUDIES
     Four hours. Concentrated study of a special topic in gender studies, such as masculinity, roman-
     tic media, women and substance abuse, or incarcerated women. Focus on relevant theory and
     research. Specific topic at the discretion of the instructor. Course can be taken more than once
     under different topics.

     WST 4400 WOMEN AND GENDER IN CONTEMPORARY CULTURE
     Four hours. This team-taught course brings together academic areas, such as sociology, music,
     and communications, in an interdisciplinary effort to explore the roles, images, and contri-
     butions of women in contemporary culture. The common threads are the roles of women in
     producing and experiencing culture and the cultural production of women’s roles and images.
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        While contemporary culture is the focus, each segment of the course is built upon relevant
        historical foundations. Full-participation classes are designed to bring the individual topics
        together in synthesizing analyses. Gen Ed: SW, Ql
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                  GRADUATE & DOCTORATE PROGRAMS
     Florida Southern College offers the following graduate degrees:
        • EdD: Doctor of Education
        • EdD: Doctor of Education in Educational Leadership
        • MAcc: Master of Accountancy
        • MBA: Master of Business Administration
        • MEd: Master of Education in Transformational Curriculum and Instruction
        • MEd: Master of Education in Educational Leadership
        • MAT: Master of Arts in Transformational Curriculum and Instruction
        • MSN: Master of Science in Nursing
        • DNP: Doctor of Nursing Practice
        • DPT: Doctor of Physical Therapy


     GRADUATE & DOCTORATE ADMISSION
          Florida Southern College attracts students who demonstrate the academic ability and strong
     motivation to succeed in challenging graduate and doctorate degree programs. Admission de-
     cisions are based on academic achievement, aptitude, personal character, and performance in
     general citizenship or leadership activities throughout the applicant’s life and/or professional ca-
     reer. The College welcomes applications from students who manifest the desire and willingness
     to study and the proper academic preparation to successfully complete the rigorous educational
     program offered at Florida Southern College. In considering applications, the admissions com-
     mittee of each graduate and doctorate degree program gives careful consideration to all creden-
     tials required and submitted. No single criterion determines acceptance or denial, but each is
     evaluated in relation to the applicant’s complete admission profile.
          For admission to graduate and doctorate programs, applicants must meet the following
     requirements:
         • a completed graduate or doctorate application form;
        • a résumé or CV of educational, professional, and work experience;
        • a personal statement of your expectations of a graduate or doctorate program (your personal
           and professional goals);
        • an earned baccalaureate degree from a regionally accredited institution of higher education
           as verified by an official transcript of all undergraduate work completed;
        • an earned graduate degree from a regionally accredited institution of higher education as
          verified by an official transcript of all graduate work completed *doctorate applicants only;

         Please refer to the specific degree program requirements in this catalog for grade point aver-
     age (GPA) requirements, entrance examination scores, recommendation letter requirements, and
     other admissions expectations. Interviews for Florida Southern College graduate programs may
     be required for final admission decisions.
         Students applying to a graduate or doctorate program must not have any outstanding ac-
     counts payable to FSC or they will not be considered in the pool of applicants.
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        International Student Admission
            Florida Southern College welcomes international students who wish to study in the Unit-
        ed States. International students applying for admission to Florida Southern College graduate
        programs are required to submit all documents required for domestic applicants and are held
        to the same standards. All transcripts from secondary and post-secondary institutions abroad
        must be translated into English. Students seeking credit for secondary exams (e.g. GCSE) or
        post-secondary coursework should have all transcripts from colleges or universities outside
        the United States evaluated by World Education Service, Josef Silny and Associates, Academic
        Evaluation Services, Inc. or another similar approved transcript evaluation agency prior to
        submission to Florida Southern.
            If the student is from a nation where English is not the standard for daily communication, a
        score of at least 79 on the Test of English as a Foreign Language (TOEFL) or a score of at least 6.5
        on the International English Language Testing System (IELTS) is required. The TOEFL or IELTS
        requirement may be waived for students who have completed at least one year of formal aca-
        demic study at an institution where English is the language of instruction. In any case, judgment
        about the proficiency of the candidate is made by the graduate admissions committee of each de-
        gree program. International students will need to comply with all federal guidelines concerning
        student status and immigration.

        Transfer Credit
             Students who have successfully completed graduate work at a regionally accredited college or
        university may apply for admission to Florida Southern College graduate programs. To be consid-
        ered for transfer admission, a student must be eligible, academically and socially, to return to the
        last graduate program attended. A graduate student on academic or social dismissal from any in-
        stitution is not eligible to enroll at Florida Southern College until reinstatement in good standing
        has been authorized, unless approved by the provost. The provost will consider a waiver of the good
        standing admissions requirement only in extenuating circumstances and only upon recommenda-
        tion by the graduate admissions committee and dean of the program to which a student has ap-
        plied. A maximum of two courses from a regionally accredited graduate school or program earned
        within the last 10 years may be accepted toward the graduate degree programs at Florida Southern
        College. Only a grade of B or better will be considered for transfer. Transfer graduate credit must
        be approved by the graduate admissions committee of each degree program and is in no manner
        automatic. All transcripts become part of the student’s permanent academic file at Florida South-
        ern College. Transfer students are not permitted into the DPT program.

        Re-Admission
            Successful applicants who do not enroll in the semester for which they were admitted will
        be considered for entry for one year from the date of admission if space is available. Any other
        documentation and fees listed in the admission requirements that were not previously submitted
        must be completed. If the applicant has undertaken additional formal study in the intervening
        period, official transcripts must be submitted showing all work completed.
            Any participating student who has not registered for courses during one full academic year
        and who wishes to return to that Florida Southern College graduate program must submit an
        application for readmission. Updated application materials, such as resume and statement, may
        be required. If the student has undertaken any academic work during this absence, official tran-
        scripts must be submitted for review. Applicants for readmission must abide by published appli-
        cation deadlines and requirements and are not granted preferential status.
            To be eligible for readmission, students must have demonstrated successful academic prog-
        ress and good character while at Florida Southern College and must not have any outstanding
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     accounts payable in the business office. The degree requirements listed in the current catalog
     issued when readmission is approved shall be applicable to those admitted that semester. Any
     student may elect, however, to be graduated under all the degree requirements of a later catalog.
         Because Florida Southern College requires graduate degree completion within a seven-year
     period dating from the time of matriculation, students who request readmission after that period
     will be required to submit an application for readmission as well as an appeal to the Graduate
     Council of Florida Southern College. The student must explain any extenuating circumstances
     leading to the failure to complete the degree program in the required time. Furthermore, all
     previous coursework will be evaluated for currency and applicability to the current degree pro-
     gram. In following this appeal process, Florida Southern College makes no guarantee regarding
     readmission to the graduate program or acceptance of former Florida Southern College credit.
     Furthermore, should the student be readmitted, the College reserves the right to establish a new
     timetable for degree completion. Students in the DPT program are not eligible for re-admission.

     Transient Student Admission
         Students currently enrolled in masters programs at other institutions may be allowed to
     take courses in the Florida Southern College graduate programs, as applicable, with the approv-
     al of the respective dean of the school in which classes are taken. Transient student documen-
     tation will be required prior to the student being permitted to enroll in any course at Florida
     Southern College. Transient students are not permitted in the DPT program.

     Graduate Application Deadlines
         Applicants are considered for admission throughout the year, specific to each degree pro-
     gram. Please consult the section on the specific degree program to determine application dead-
     lines. Written notification of admissions decisions may be expected within four weeks of the
     published application deadline. Florida Southern College reserves the right to hold an applica-
     tion until further information is available, such as end of semester grades, examination scores,
     confirmation of the baccalaureate degree, or samples of previous work, before making a decision
     about admission.

     FINANCIAL INFORMATION
     Enrollment Deposit
         Upon acceptance for admission, some graduate programs require a non-refundable deposit
     to reserve a place in the cohort. The deposit is applied to the student’s first semester tuition.

     Tuition
         Tuition and fees are established by the Board of Trustees. Annual increases in tuition should
     be anticipated consistent with current economic indicators. Tuition and fees may be found in the
     sections describing each degree program.

     Refund Policy
          A student withdrawing from the college will be granted a partial refund on tuition as
     provided below.
          A student who withdraws from the college during the first three calendar days of a regu-
     lar semester will receive a 100 percent refund on tuition. During the fourth through the tenth
     calendar days, a 90 percent refund will be made. A 50 percent refund will be made during the
     eleventh through the twenty-fifth calendar days, and a 25 percent refund will be made during
     the twenty-sixth through the fiftieth calendar days. After the fiftieth calendar day, refunds will be
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        made only in cases of documented serious accident or illness. In serious accident or illness cases,
        extending beyond a two-week period, students who withdraw will receive 75 percent refunds of
        any unused tuition.
            During the two summer terms or when a course is offered on the seven-week term format, a
        student who withdraws during the first three calendar days will be given a 100 percent refund on
        tuition. During the fourth through seventh calendar days, a 50 percent refund will be made. A 25
        percent refund will be made during the eighth through the fifteenth calendar days. No refunds
        will be made after the fifteenth day.
            Tuition refunds are not granted when a student is enrolled in a course or course(s) offered in
        a condensed or nontraditional format.
            No adjustments or refunds will be considered until a student files a formal notice of withdraw-
        al and is officially withdrawn. The student must withdraw formally through the registrar’s office.

        Graduation Application and Fee
            A $60 graduation fee shall be assessed of all persons who anticipate award of the graduate
        degree at the next succeeding College commencement. The fee will be assessed during the se-
        mester in which graduation is anticipated. Students are responsible for applying for graduation
        and obtaining degree clearance through a degree audit by the registrar’s office. Commencement
        ceremonies are held annually in December and April or May, and degrees are officially conferred
        at those times. Degrees are also conferred in August, although no formal commencement cere-
        mony is held.

        ACADEMIC POLICIES
        Degree Candidacy
            When students are admitted and matriculate, they shall be required to complete the degree
        program, including transient credit, within seven (7) calendar years. Please also see the earlier
        section on Readmission of Former Students.

        Course Load Per Semester
          A full-time course load is six hours of graduate coursework, or two courses, for the MAcc,
        MBA, MAT, MEd, MSN, DNP, and EdD programs.

        After completion of 20 hours of coursework, students in the EdD programs are given the option
        to request a dissertation chair and committee to engage in dissertation research in the form of
        one hour of dissertation credit in addition to other coursework.

        The DPT program is a full-time cohort-based program of study with a course load of 10-18 hours
        of graduate coursework per semester.

        Academic Advising
            The graduate program director for each graduate degree program, Florida Southern College
        graduate faculty, and the registrar are available to discuss curricular matters, class schedules, and
        graduate requirements. At the time of admission to graduate studies, an advisor will be assigned
        to each student. The student reserves the right, however, to request a specific academic advisor
        from among the graduate faculty listed in this catalog. It is the student’s responsibility to meet
        with the advisor to track academic degree progress.
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     Academic Schedule
         Please see the section on the specific degree program for information on the academic sched-
     ule (days of the week, length of term) for that graduate degree program. Courses supporting the
     particular degree are offered based upon available resources. Florida Southern College cannot
     guarantee that any course will be given during a particular semester or specified day or time.

     Grading Scale
          Professors determine the point value required for final grades in their courses. Some professors
     may require 90 points for an A, for example, while others may require 94 points for an A and assign
     an A- to students with 90–93 points. Professors are not required to round grades, and many choose
     not to do so; therefore, a student who has earned 89.99 points could reasonably be assigned a B+ in
     a class in which that professor requires 90 points for an A-. Additionally, professors are not required
     to use the +/- system in assigning grades. Finally, while professors may choose to assign grades of C+
     or C- or D on individual assignments, tests, or papers during a course, they may not assign these as
     final course grades. Thus, a student with a C+ average in a class could be assigned a C as the final
     course grade, and a student with a C- average in a class could be assigned an F as the final course
     grade. When plus /minus grades are awarded for final grades, they will be recorded as follows:
           A = 4.00                          B = 3.00                            C = 2.00
           A- = 3.67                         B- = 2.67                           C- = 1.67
           B+ = 3.33                         C+ = 2.33                           F=0
          Only thesis hours and the foundation courses in the MBA program may be taken pass/fail
     for credit in the graduate program. An Incomplete (I) grade may be granted if the majority of the
     coursework has been completed, extenuating circumstances have caused the student’s inability to
     complete the course, and the faculty member originates the request for an Incomplete grade prior
     to the end of the semester in which the course was taken. Requests for Incomplete grades must
     be approved by the academic dean of the course professor. A grade of G (deferred grade) shall be
     granted when a student is continuing a project over several terms or semesters. For additional in-
     formation on DPT program grading, see Student Physical Therapy Handbook. DPT Practicum
     courses are pass/fail 7480, 7680, 7780.

     Withdrawal
         Withdrawal from specific graduate courses may be accomplished no later than the pub-
     lished date for each term. If withdrawal from the course is accomplished in such a manner, a
     grade of W will be recorded for that course. After that date, the student will receive the earned
     grade in the course.
         If a student withdraws from the graduate program, that student must make application for
     readmission. See the section on Readmission of Former Students earlier in this catalog.
         If a student withdraws from a DPT course, he/she will no longer be eligible to continue in
     the program since all the subsequent courses require the previous courses as prerequisites. Upon
     approval from the Program Director, the student will be able to take the course the following
     year.

     Academic Standing, Probation, and Dismissal from Graduate or Doctorate Study
         Graduate and Doctorate students must maintain a 3.000 (solid B) grade point average (GPA)
     in order to continue in good academic standing and to complete graduate degree requirements.
         Graduate and Doctorate students whose grade point averages fall below 3.000 at any time are
     placed on academic probation. Elevation of the grade point average to 3.000 or better must be
     accomplished within the next 12 hours of coursework. If after the completion of those 12 hours
     the condition of academic probation is not removed, the student will be suspended from further
     participation in the program.
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            A student is also suspended from the program upon making two C (C+, C, or C-) grades in
        graduate coursework. On appeal to the Graduate Council, a student so suspended may be grant-
        ed the privilege of repeating one or both of the C (C+, C, or C-) grades in an attempt to elevate
        the grades and grade point average to an acceptable level (3.000). In any case, no more than one
        course with a grade of C (C+, C, or C-) may be counted toward meeting the semester-hour grad-
        uation requirement.
            Appeals to the Graduate Council must be submitted in writing through the dean, no later
        than 15 calendar days after the close of the academic term in which the second C (C+, C, or C-)
        was received. The student will have the option of appearing before the Graduate Council in de-
        fense of her or his appeal. The Graduate Council may also ask for input from faculty members
        and the appropriate program director. The Graduate Council will make a recommendation to
        the dean whose decision will be final.
            Dismissal from the graduate or doctorate program (permanent suspension without appeal)
        occurs when the student receives a third C (C+, C, or C-) grade, even if one or both of the pre-
        ceding C (C+, C, or C-) grades have been successfully repeated. Making one F in a graduate or
        doctorate course will also require that the student be permanently dismissed from the program.

        Academic Standing, Probation, and Dismissal from Physical Therapy Program
            Academic Standing:
            In the DPT program students are considered in good standing if they maintain a cumulative
        GPA of 3.0. A grade of D or F constitutes an unsatisfactory grade in the physical therapy courses
        and the student receiving a D or F is not allowed to progress in the program.
            Doctor of Physical Therapy (DPT) Academic Program Probation
            A student can be placed on DPT program probation for academic or professional behavior
        reasons. Once on probation, a student will have one semester to rectify the problem, for example,
        raise their GPA or meet their professional behavior action plan. If the student does not meet the
        guidelines established, the student is subject to dismissal from the DPT program. A student will
        be unable to attend a clinical education practicum (DPT 7480, DPT 7680, DPT 7780) while on
        probation.
            Doctor of Physical Therapy Professional Behavior Program Probation
            A student is placed on DPT program probation when the student does not meet the Profes-
        sional Behavior Action Plan guidelines. A student will have one semester to meet the Professional
        Behavior Action Plan guidelines. If after that semester the guidelines are not met, the student is
        subject to dismissal from the DPT program. A student will be unable to attend a clinical educa-
        tion practicum (DPT 7480, DPT 7680, DPT 7780) while on DPT program probation.
            Readmission after Physical Therapy Course Failure
            After receiving one failing grade (D or F) in a physical therapy course, a student will not be
        allowed to continue in the Program but will have to repeat and pass the failed course the next
        time it is offered. A student who fails a physical therapy course is strongly advised to work with
        their advisor to formulate a plan outlining actions to facilitate successful course completion.
            After receiving a D or an F in a subsequent physical therapy course a student will be ineligible
        for continued progression through the Program and is subject to dismissal. See Course Failure
        Policy and Procedure, Section 12.27 of School of Physical Therapy Student Handbook.

        Grade Appeals and Academic Integrity
            According to Florida Southern College policy, students may file appeals in two additional
        types of cases: (1) grade appeal and (2) appeal of suspension from the program for an Honor
        Code violation.
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          In the case of a grade appeal, a student should appeal first to the faculty member assigning
     the grade, then to the department chair and/or program director, and then to the faculty mem-
     ber’s academic dean. Cases in which resolution has not been achieved by informal negotiations
     at the program level may be sent to the Office of the Provost. The provost may handle them infor-
     mally or remand them to the Academic Appeals Board for formal review and recommendation.
          When a case is remanded to the Academic Appeals Board, it will consider the case and make
     final recommendations. In the process, it will make every effort to preserve both the substance
     and appearance of impartiality and fairness. In the event that a member of the board is directly
     involved in the case, that member will not participate. If that member is the chair of the Board,
     the board will elect a chair, pro tem.
          The board may make a determination without a hearing. In the event of a hearing by the
     board, a vote will be taken by secret ballot. In either case the results will be communicated in
     writing by the chair to the provost. The provost will communicate the final decision to the stu-
     dent, the dean, and the faculty member.
          Any student considering a grade appeal should understand that each faculty member has the
     academic freedom and responsibility to determine and assign grades according to any profession-
     ally acceptable method chosen by the faculty member, communicated to everyone in the class,
     and applied to all students equally.
          An appeal must be made in writing to the faculty member who taught the course (copies to
     the department chair or graduate program director and to the academic dean) no later than the
     fifteenth calendar day of the next succeeding semester or term. A detailed grade appeals proce-
     dure is available in the Office of the Provost (Buckner Building).
          (2) In the case of a charge of academic dishonesty, the provisions of the Florida Southern
     College Honor Code apply. See the section on the Honor Code earlier in this catalog.
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                                              GRADUATE PROGRAM REQUIREMENTS                                                                  299




                          GRADUATE PROGRAM REQUIREMENTS

        MASTER OF ACCOUNTANCY
        Program Objectives and Mission
            Florida Southern College offers the Master of Accountancy (MAcc) degree to the student
        who desires to complete licensure requirements for the Uniform CPA Examination and to the
        student who desires an additional level of accounting knowledge imparted by graduate study.

        Academic Information and Deadlines
            See the section on Graduate Admission earlier in this catalog for general require-
        ments. Along with required admissions materials, applicants for the MAcc must submit satis-
        factory scores on either the Graduate Management Admissions Test (GMAT) or the verbal and
        quantitative portions of the Graduate Record Examination (GRE) and satisfactory undergradu-
        ate academic records.

        The Academic Schedule
            Core courses in the MAcc program (four hours or two hours each) meet two Saturdays per
        month with the remaining assignments to be completed online (i.e, a hybrid format). Elective
        courses in the MAcc program are two hours each. Some are online classes, others are hybrid
        classes, and one class (BUS 6350 Business Law for Accountants) is offered in the spring day term.
        ACC 6999 Accounting Capstone is a directed study course.

        Prerequisites
        The following are required for admission into the MAcc program
          I. Completion of a bachelor’s degree at a regionally accredited institution.
            II. Completion of the following undergraduate business core courses (or approved equivalents):
            		   ACC 2111                     Foundations of Financial Accounting
            		   ACC 2112                     Foundations of Managerial Accounting
            		   BUS 2217                     Principles of Management
            		   BUS 3160                     Marketing Principles
            		   BUS 3311                     Legal Environment of Business
            		   BUS 3320                     Applied Statistics for Business and Economics
            		   BUS 3453                     Managerial Finance
            		   BUS 4999                     Seminar in Strategic Management of the Business Enterprise
            		   ECO 2210                     Essentials of Economics
             III. Completion of the following undergraduate courses (or approved equivalents)
            		 ACC 3111              Financial Accounting I
            		 ACC 3112              Financial Accounting II
            		 ACC 3211              Cost Accounting
            		 ACC 4411              Federal Taxation
            		 ACC 4511              Auditing
            Tuition and Fees
        Tuition.......................................................................................................... $775.00 per credit hour
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     Technology Fee
         Up to 4 credit hours............................................................................................ $25.00 per term
         5–8 credit hours.................................................................................................. $50.00 per term
         9–12 credit hours.............................................................................................. $100.00 per term
         Please see the sections earlier in this catalog for the FSC refund policy for graduate students
     as well as the policies on admission, matriculation, technology, and graduation fees. The College
     does not permit auditing graduate courses.

     Early Admission
         FSC students who are currently enrolled in the B.S. in Accounting may begin their MAcc pro-
     gram in the fall of their senior year. Requirements for early admission include
        • Meet General Admission Requirements
         • GPA of 3.0 overall (cumulative) at FSC
         • GPA of 3.0 in accounting (ACC) courses
         • Application priority deadline for early admission is February 1 of the junior year. Admis-
           sion is contingent upon cumulative GPA as of the end of the semester prior to entry.
         The published day, full-time tuition will be assessed for enrollment in the two fall terms and
     the one spring term for students enrolled in the early MAcc program. Summer enrollments will
     be charged at the prevailing rates; MAcc program graduate per credit rate, the day undergraduate
     per credit hour rate, or the adult undergraduate per credit hour rate.

     Degree Requirements
     Accounting Core ..............................................................................................................20 hours
        ACC 6120                       Corporate Taxation
        ACC 6140                       Taxation of Partnerships and Estates
        ACC 6200                       Auditing with Accounting Information Systems
        ACC 6300                       Advanced Financial Accounting & Reporting
        ACC 6400                       Advanced Managerial Accounting
        ACC 6989                       Accounting Research
        ACC 6999                       Accounting Capstone Project
     Accounting Electives .......................................................................................................10 hours
        ACC 6220                       Governmental Accounting
        ACC 6420                       Data Analytics
        ACC 6500                       CPA Review Course
        ACC 6501                       Advanced CPA Review
        ACC 6620                       Ethics in Accounting
        ACC 6640                       Fraud Examination
        ACC 6960                       Accounting Internship
        BUS 6350                       Business Law for Accountants
        MBA Course*
     Total hours.....................................................................................................................................30
     *A student may take a maximum of two MBA courses (8 credit hours).
     Please note that the Florida State Board of Accountancy requires a total of 150 hours for CPA
     licensure, not to include ACC 6500 CPA Review Course.
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                                              GRADUATE PROGRAM REQUIREMENTS                                                                  301




        MASTER OF BUSINESS ADMINISTRATION
        Program Objectives and Mission
            Florida Southern College offers the Master of Business Administration (MBA) degree pro-
        gram in response to significant expressions of interest from area and regional business and edu-
        cational enterprises. The MBA is designed to provide courses in the special fields of business ad-
        ministration and international business. The express purpose for making advanced degree work
        available to a regional constituency is to enable advanced learning and training to be applied
        directly to business endeavors and to enable upward mobility for persons seeking entry into the
        job market at the executive or advanced levels.

        Admission Information and Deadlines
            See the section on Graduate Admission earlier in this catalog for general require-
        ments. Along with required admissions materials, applicants for the MBA must submit a letter of
        recommendation, satisfactory scores on either the Graduate Management Admissions Test (GMAT)
        or the verbal and quantitative portions of the Graduate Record Examination (GRE) and satisfactory
        undergraduate academic records. GRE/GMAT waivers may be considered for applicants that meet
        one of the following criteria: 1) at least 3 years of significant managerial experience, 2) members of
        Beta Gamma Sigma, 3) candidates having already earned a terminal degree, 4) hold an active CPA
        license, or 5) graduates from an AACSB-accredited institution with a minimum 3.30 cumulative
        GPA.
            Non-degree seeking candidates may take up to eight hours of courses without being enrolled
        as a full-time student if they meet admission requirements.

        The Academic Schedule
             Graduate courses in the MBA program are offered in an online or Saturday-hybrid format,
        where classes are taught in a combination of online and face-to-face sessions on eight scheduled
        Saturdays per semester. The 14-week semesters are concurrent with the regularly planned college
        academic year, August through April. The summer term can run in 7- or 14-week semesters be-
        tween May and August.
             Students may enter the program in August, January, or May and will typically select a path
        to graduation that will be accomplished in 16, 24, or 20 months, respectively. The 16-month
        option is composed of three 14-week semesters and one summer term. The 20-month alternative
        is scheduled over three 14-week semesters and two summer terms. The 24-month option is com-
        posed of four 14-week semesters and two summer terms.

        Prerequisites and Preparatory Courses
            All students admitted to the MBA program are required to take two Foundation courses. Stu-
        dents must complete two preselected modules from the qualitative Foundations II course prior to
        enrolling in the fall semester core courses. The quantitative Foundation I course must be completed
        by the end of the semester prior to the spring core course offerings. Satisfactory levels of compe-
        tence will be demonstrated by meeting the specific course requirements and by achieving a score
        of no less than 75 percent on each of the final exams for the required foundation courses. Students
        who fail to demonstrate competency as defined above will be suspended from the program, and no
        academic credit will be granted for the related foundation course(s).

        Tuition and Fees
        Tuition.......................................................................................................... $775.00 per credit hour
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     Technology Fee
         Up to 4 credit hours............................................................................................ $25.00 per term
         5–8 credit hours.................................................................................................. $50.00 per term
         9–12 credit hours.............................................................................................. $100.00 per term
         Please see the sections earlier in this catalog for the FSC refund policy for graduate students
     as well as the policies on admission, matriculation, technology, and graduation fees. The College
     does not permit auditing graduate courses.

     Early Admission 4+1 MBA Program
         During the junior year, all Florida Southern undergraduate students are eligible to be consid-
     ered for early admission to the MBA program. Admitted undergraduate students will be allowed
     to complete a maximum of 12 credit hours of graduate work prior to undergraduate graduation.
     Course options are limited to MBA electives and the two 2 hour Foundation courses. These credits
     will count toward their undergraduate and MBA degree requirements. Requirements for admis-
     sion include:

           •   General MBA Admission Requirements
           •   MBA Director Approval
           •   93+ credit hours completed at the start of the program
           •   GPA of 3.20+ overall (cumulative)

     Admission is contingent upon cumulative GPA as of the end of the semester prior to entry.

         Any MBA courses attempted in the fall or spring semesters before receiving the undergrad-
     uate degree will be charged at the traditional undergraduate full-time tuition rate. Any taken in
     a summer semester before receiving the undergraduate degree will be charged at the traditional
     undergraduate summer tuition rate. Graduate courses taken after the student receives their under-
     graduate degree will be billed at the current MBA per credit hour rate.

     Degree Requirements
     Foundation Courses........................................................................................................... 4 hours
        BUS 6310                   Foundations I: Quantitative Skills
        BUS 6320                   Foundations II: Qualitative Skills
     Required Courses..............................................................................................................24 hours
        BUS 6400                   Leadership of Self and Organizations
        BUS 6455                   Managing Across Boundaries and Borders
        BUS 6500                   Managing the Economic, Regulatory and Social Env. of Business
        BUS 6550                   Complex Decision Making
        BUS 6600                   Synthesis of Trends, Image and Output
        BUS 6990                   Strategy Formulation and Organizational Design for the 21st Century
     Elective Courses................................................................................................................16 hours
     The following elective choices are four hour courses unless otherwise noted. ACC 6120, ACC
     6140, ACC 6200 and ACC 6300 require candidates meet the accounting prerequisite courses.
         BUS 6300                         Healthcare Informatics & Decision Making
         BUS 6350                         Business Law for Accountants (2 hours)
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                                                GRADUATE PROGRAM REQUIREMENTS                                                                         303



          BUS 6650                              Health Policy
          BUS 6710                              Management: Negotiations
          BUS 6720                              Marketing Strategy
          BUS 6730                              Supply Chain Management
          BUS 6740                              Six Sigma Certification
          BUS 6750                              Operations Management
          BUS 6820                              International Field Experience
          BUS 6850                              Graduate Internship in Business
          ACC 6120                              Corporate Taxation (2 hours)
          ACC 6140                              Taxation of Partnerships and Estates (2 hours)
          ACC 6200                              Auditing with Accounting Information Systems
          ACC 6300                              Advanced Financial Accounting & Reporting
          ACC 6400                              Advanced Managerial Accounting
          ACC/BUS 6420                          Accounting Data Analytics (2 hours)
          ACC 6620                              Ethics in Accounting (2 hours)
          ACC 6640                              Fraud Examination (2 hours)
          ACC 6960                              Accounting Internship (2 hours)
          NUR 5350                              Health Care Policy (3 hours)
        Total.....................................................................................................................................44 hours
        Note: Course descriptions are found later in this catalog. Please consult the table of contents or index.

        MASTER OF ARTS (MAT) IN TRANSFORMATIONAL
        CURRICULUM AND INSTRUCTION
        Program Objectives
            The Master of Arts in Transformational Curriculum and Instruction (MAT) is intended for
        individuals who have obtained baccalaureate degrees in areas other than education and without
        a professional teaching certificate.

        Admission Information
           See the section on Graduate Admission earlier in this catalog for general requirements for
        admission to the graduate programs of Florida Southern College.

        Additional MAT Admission Requirements

               1. Applicant must have an earned baccalaureate degree in a field outside of education from
                  a regionally accredited institution of higher education as verified by an official transcript;
                  with a cumulative GPA of 3.0 or better, or a composite score of 297 on the GRE or 393
                  on the MAT.
               2. Prior to admission or within the first 12 semester hours of MAT coursework, the candidate
                  must submit a passing score on all sections of the Florida (FTCE) Teacher Certification
                  Examinations in the applicant’s approved teaching field. An MAT candidate who does not
                  pass the FTCE subject area examination (SAE) by the end of the first 12 semester hours of
                  the graduate program may be suspended until the exam has been passed.
               3. A personal interview will be required.
               4. A photocopy of ID, passport, or driver’s license will be required.
               6. Applicants must complete a background check and receive background check clearance
                  from the Polk County School Board (PCSB).
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     *A personal academic interest inventory may be required.
     Please note: It is the responsibility of the MAT student to ensure he or she meets and adheres to all certifi-
     cation requirements of the Florida Department of Education to teach in the state of Florida.

     The Academic Schedule
         Graduate courses in the MAT are offered in an online format with the exception of EDU
     6610 and EDU 6640. The first and second semesters are concurrent with the regularly planned
     College calendar, August through April. One semester of student teaching is required during the
     student’s final semester.

     Degree Requirements
          The credit-hour requirement for the MAT degree program is 42 semester hours of course-
     work including a final internship and seminar course that lasts an entire semester. Please note: the
     MAT is not a Florida state-approved program, and the FSC School of Education does not accept respon-
     sibility for advising students in course selection for purposes of initial Florida teacher certification.

     Tuition and Fees
     Tuition.......................................................................................................... $430.00 per credit hour
     Technology Fee
           Up to 4 credit hours.......................................................................................... $25.00 per term
           5–8 credit hour................................................................................................... $50.00 per term
           9–12 credit hours.............................................................................................. $100.00 per term
         Please see the sections earlier in this catalog for the FSC refund policy for graduate students
     as well as the policies on admission, matriculation, technology, and graduation fees. The College
     does not permit auditing graduate courses.

     MAT in Transformational Curriculum and Instruction Degree Requirements
     Required Courses..............................................................................................................42 hours
       EDU 6910                              Transformational Teaching and Learning
       EDU 6920                              Transformational Learning Environments
       EDU 6930                              Transformational Teaching and Learning through Research
       EDU 6940                              Transformational Approaches to Curriculum and Instruction
       EDU 6950                              Transformational Teaching and Learning with Diverse Populations
       EDU 6960                              Assessing Transformational Teaching and Learning
       EDU 6970                              Transformational Instructional Leadership
       EDU 6980                              Advanced Research in Transformational Teaching and Learning
       Internship Semester (Students’ final semester following completion of all course work):
       		 EDU 6610                           Internship (10 hours)
       		 EDU 6640                           Student Teaching Seminar (2 hours)
     Total.....................................................................................................................................42 hours

     MASTER OF EDUCATION (MED) IN
     TRANSFORMATIONAL CURRICULUM AND INSTRUCTION
     Program Objectives
          The Master of Education (MEd) in Transformational Curriculum and Instruction is designed
     to further the knowledge and skills of classroom teachers who hold the Professional Teaching Cer-
     tificate.
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                                              GRADUATE PROGRAM REQUIREMENTS                                                                  305



        Admission Information
           See the section on Graduate Admission earlier in this catalog for general requirements for
        admission to the graduate programs of Florida Southern College.

        Additional MEd TCI Admission Requirements
              1. Applicant must have an earned baccalaureate degree from a regionally accredited institu-
                 tion of higher education as verified by an official transcript; with a cumulative GPA of 3.0
                 or a composite score of 297 on the GRE or 393 on the MAT.
              2. The applicant must hold a Florida Professional Teacher Certificate. Applicants must pro-
                 vide certificate number to meet admission requirements or a copy of the Florida Profes-
                 sional Teaching Certificate.

        The Academic Schedule
            Graduate courses in the MEd TCI are offered in an online format. The first and second semes-
        ters are concurrent with the regularly planned College calendar, August through April.

        Degree Requirements
             The credit-hour requirement for the MEd degree program is 30 semester hours of coursework.

        Early Admission 4+1 MEd Program
            During the junior year, all Florida Southern education undergraduate students are eligible
        to be considered for early admission to the MEd in Transformational Curriculum and Instruc-
        tion program. Admitted undergraduate students will be allowed to complete a maximum of six
        credit hours of graduate work prior to undergraduate graduation. Course options are limited to
        EDU 6910 and EDU 6920. These credits will count toward their undergraduate and MEd degree
        requirements. Requirements for admission include:

             •     General MEd Admission Requirements
             •     MEd in Transformational Curriculum and Instruction Director Approval
             •     93+ credit hours completed at the start of the program
             •     GPA of 3.00+ overall (cumulative)

        Admission is contingent upon cumulative GPA as of the end of the semester prior to entry.

            Any MEd courses attempted in the fall or spring semesters before receiving the undergrad-
        uate degree will be charged at the traditional undergraduate full-time tuition rate. Graduate
        courses taken after the student receives their undergraduate degree will be billed at the current
        MEd per credit hour rate.

        Tuition and Fees
        Tuition.......................................................................................................... $430.00 per credit hour
        Technology Fee
             Up to 4 credit hours.......................................................................................... $25.00 per term
             5–8 credit hour................................................................................................... $50.00 per term
             9–12 credit hours.............................................................................................. $100.00 per term
             Please see the sections earlier in this catalog for the FSC refund policy for graduate students
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     as well as the policies on admission, matriculation, technology, and graduation fees. The College
     does not permit auditing graduate courses.

     MEd in Transformational Curriculum and Instruction Degree Requirements
     Required Courses..............................................................................................................30 hours
       EDU 6910                  Transformational Teaching and Learning
       EDU 6920                  Transformational Learning Environments
       EDU 6930                  Transformational Teaching and Learning through Research
       EDU 6940                  Transformational Approaches to Curriculum and Instruction
       EDU 6950                  Transformational Teaching and Learning with Diverse Populations
       EDU 6960                  Assessing Transformational Teaching and Learning
       EDU 6970                  Transformational Instructional Leadership
       EDU 6980                  Advanced Research in Transformational Teaching and Learning
     Total.....................................................................................................................................30 hours

     MASTER OF EDUCATION (MEd) IN EDUCATIONAL
     LEADERSHIP
     Program Objectives
         The Master of Education (MEd) in Educational Leadership is designed for teachers who cur-
     rently hold a Florida Professional Teaching Certificate and who desire to advance their career in
     education administration.

     Admission Information
        See the section on Graduate Admission earlier in this catalog for general requirements for
     admission to the graduate programs of Florida Southern College.

     Additional MEd Educational Leadership Admission Requirements
     1. Applicant must have an earned baccalaureate degree from a regionally accredited institution
     of higher education as verified by an official transcript of all undergraduate work completed;
     with a cumulative GPA of 3.0 overall or a composite score of 297 on the GRE or 393 on the MAT.

     2. The applicant must hold a Florida Professional Teacher Certificate. Applicants must provide
     certificate number to meet admission requirements or a copy of the Florida professional
     teaching certificate.

     3. FLDOE Teaching Requirement Form completed by supervisor verifying 2+ years of effective
     teaching experience.

     The Academic Schedule
          Graduate courses in the MEd Educational Leadership are offered in a hybrid format which
     is a combination of online and in-class instruction.

     Degree Requirements
         All MEd in Educational Leadership students are required to pass the Florida Educational
     Leadership Exam (FELE) prior to completion of the program in order to meet graduation re-
     quirements. This program follows the Florida Department of Education (FLDOE) guidelines.
     Students must satisfactorily complete all coursework including clinical requirements in the 36-
     hour semester course requirement.
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                                              GRADUATE PROGRAM REQUIREMENTS                                                                  307



        Tuition and Fees
        Tuition.......................................................................................................... $430.00 per credit hour
        Technology Fee
             Up to 4 credit hours.......................................................................................... $25.00 per term
             5–8 credit hour................................................................................................... $50.00 per term
             9–12 credit hours.............................................................................................. $100.00 per term
            Please see the sections earlier in this catalog for the FSC refund policy for graduate students
        as well as the policies on admission, matriculation, technology, and graduation fees. The College
        does not permit auditing graduate courses.

        MEd in Educational Leadership Degree Requirements
        Required Courses.............................................................................................. 36 hours
            EDU 6100                          Educational Leadership for Change
            EDU 6150                          Resource Allocation for Student Achievement
            EDU 6200                          Ethics and School Law
            EDU 6300                          Leading in a Diverse Society
            EDU 6400                          Program Development: Teaching, Learning, and Assessment
            EDU 6450                          Strategic Faculty Development for P-12 Administrators
            EDU 6550                          Student Achievement, Accountability & Standards-Based Instruction
            EDU 6600                          School Finance
            EDU 6700                          Instructional Leadership
        Total..................................................................................................................... 36 hours

        DOCTOR OF EDUCATION (EdD)
        Program Objectives
             The Doctor of Education program is designed to prepare individuals for positions in admin-
        istration, policy development, college or university teaching, and/or research. The curriculum
        includes broad topics addressing leadership and organizational theories; curriculum, assessment
        and accountability practices; professional development; policy, politics, and planning issues; and
        research-driven decision-making and policy analysis. The Doctor of Education prepares gradu-
        ates with the requisite curriculum, pedagogical, and leadership knowledge, skills, and resources
        so that they may have a consequential impact on and lead in private firms, nonprofits, higher
        education, and government organizations in their roles as directors and administrators, staff de-
        velopers, instructional and curriculum specialists, and college faculty.

        Admission Information
            See the section on Graduate and Doctorate Admission earlier in this catalog for general re-
        quirements for admission to the doctorate program of Florida Southern College.

        Additional EdD Admission Requirements

              1. An earned grade point average of 3.0 in an accredited master’s degree program. If you
                 have at least a 3.0 cumulative GPA from your graduate degree, then you meet the require-
                 ments for a Graduate Record Exam (GRE) exemption. If not, please submit an official
                 Graduate Record Exam (GRE) score greater than 300 for tests taken within the last five
                 years.
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            2. Letter of recommendation.
            3. Personal interview with a representative of the School of Education.

     Tuition and Fees
     Tuition:......................................................................................................... $490.00 per credit hour
     Technology Fee
         Up to 4 credit hours............................................................................................ $25.00 per term
         5–8 credit hours.................................................................................................. $50.00 per term
         9–12 credit hours.............................................................................................. $100.00 per term
         Please see the sections earlier in this catalog for the FSC refund policy for graduate students
     as well as the policies on admission, matriculation, technology, and graduation fees. The College
     does not permit auditing graduate courses.

     Degree Requirements
         The credit-hour requirement for the EdD degree program is 60 semester hours: 48 hours
     of coursework and a minimum of 12 hours of dissertation preparation. Students must receive
     approval of their final dissertation in order to meet graduation requirements.
         After completing 20 doctoral credit hours, the student may be eligible to enroll in Disserta-
     tion (EDU 7140). At that time, a dissertation committee consisting of a major professor and three
     faculty members will support the doctoral student through the dissertation process.

     Doctor of Education Degree Requirements
     Required Courses..............................................................................................................60 hours
       EDU 7010                              Educational Leadership and Theory
       EDU 7020                              Curriculum, Learning, and Instruction
       EDU 7030                              Ethics in Educational Leadership
       EDU 7040                              Organizational Theory and Behavior
       EDU 7050                              Educational Politics, Policy, and Current Issues
       EDU 7065                              Legal Issues in Education
       EDU 7070                              Curriculum Analysis
       EDU 7085                              Finance and Budgeting
       EDU 7090                              Quantitative Analysis I
       EDU 7115                              Community Collaboration
       EDU 7120                              Qualitative Analysis I
       EDU 7135                              Planning and Evaluation in Education
       EDU 7140                              Dissertation (12 hours)
     Total.....................................................................................................................................60 hours

     DOCTOR OF EDUCATION (EdD) IN EDUCATIONAL
     LEADERSHIP
     Program Objectives
         The Doctor of Education in Educational Leadership is designed to prepare individuals for
     positions in school administration, policy development, college or university teaching, and/or
     research. The degree includes broad leadership topics covering curriculum, assessment and ac-
     countability, professional development, research-driven decision-making, and policy analysis.
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        This is not a program leading to initial certification or licensure in the state of Florida. Stu-
        dents seeking educational leadership certification need to refer to Florida Southern College’s
        state-approved MEd in Educational Leadership.

        Admission Information
           See the section on Graduate / Doctorate Admission earlier in this catalog for general require-
        ments for admission to the doctorate program of Florida Southern College.

        Additional EdD Educational Leadership Admission Requirements
              1. An earned grade point average of 3.0 in an accredited master’s degree program. If you
                 have at least a 3.0 cumulative GPA from your graduate degree, then you meet the require-
                 ments for a Graduate Record Exam (GRE) exemption. If not, please submit an official
                 Graduate Record Exam (GRE) score taken within the last five years with a combined score
                 of 300 or greater.
              2. A valid professional educator certificate or a master’s degree in education from a regionally
                 accredited institution.
              3. Letter of recommendation.
              4. Personal interview with a representative of the School of Education.

        Tuition and Fees
        Tuition:......................................................................................................... $490.00 per credit hour
        Technology Fee
            Up to 4 credit hours............................................................................................ $25.00 per term
            5–8 credit hours.................................................................................................. $50.00 per term
            9–12 credit hours.............................................................................................. $100.00 per term
            Please see the sections earlier in this catalog for the FSC refund policy for graduate students
        as well as the policies on admission, matriculation, technology, and graduation fees. The College
        does not permit auditing graduate courses.

        Degree Requirements
            The credit-hour requirement for the EdD degree program is 60 semester hours: 48 hours
        of coursework and a minimum of 12 hours of dissertation preparation. Students must receive
        approval of their final dissertation in order to meet graduation requirements.
            After completing 20 doctoral credit hours, the student may be eligible to enroll in Disserta-
        tion (EDU 7140). At that time, a dissertation committee consisting of a major professor and three
        faculty members will support the doctoral student through the dissertation process.

        Doctor of Education Educational Leadership Degree Requirements
        Required Courses..............................................................................................................60 hours
          EDU 7010                  Educational Leadership and Theory
          EDU 7020                  Curriculum, Learning, and Instruction
          EDU 7030                  Ethics in Educational Leadership
          EDU 7040                  Organizational Theory and Behavior
          EDU 7050                  Educational Politics, Policy, and Current Issues
          EDU 7060                  K-12 Law and Governance
          EDU 7070                  Curriculum Analysis
          EDU 7080                  Finance and Resource Allocation
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       EDU 7090                              Quantitative Analysis I
       EDU 7110                              Educational Accountability and Student Assessment
       EDU 7120                              Qualitative Analysis I
       EDU 7130                              Policy Analysis, Implementation, and Evaluation
       EDU 7140                              Dissertation (12 hours)
     Total.....................................................................................................................................60 hours

     MASTER OF SCIENCE IN NURSING (MSN)
     Accreditation
        The master’s degree in nursing at Florida Southern College is accredited by the Commission on
     Collegiate Nursing Education, 655 K Street NW, Suite 750, Washington, DC 20001, 202-887-6791.

     Program Mission and Objectives
          Florida Southern College nursing faculty members are committed to promoting educational
     excellence and providing unique opportunities for personal and professional growth for nursing
     students. In the roles of mentor, role model, expert resource and facilitator, faculty are dedicated
     to enabling the student to master new skills, to critically evaluate situations, and to integrate
     new knowledge and skills into nursing practice through innovative approaches to the delivery of
     health care in diverse settings.
          The Master of Science in Nursing program offers a contemporary and innovative curricu-
     lum that prepares the licensed Registered Nurse for advanced practice nursing roles. Students
     may choose one of five tracks: 1) Adult-Gerontology Primary Care Nurse Practitioner, 2) Fami-
     ly Nurse Practitioner, 3) Adult-Gerontology Clinical Nurse Specialist, 4) Nurse Educator, or 5)
     Nursing Administration. Cultural competence, ethical decision making, an ability to use and
     generate new evidence in practice, and global awareness of issues related to health care deliv-
     ery and health policy are fostered throughout the program. Upon completion, the graduate is
     prepared for doctoral studies.
          The Adult-Gerontology Primary Care Nurse Practitioner student is prepared to provide
     direct care for patients within the entire adult age spectrum from young adults (including late
     adolescents), to adults and older adults (including frail older adults). Students must complete a
     minimum of 41 credit hours including a scholarly project or comprehensive examination and
     at least 540 clinical-practice hours. The Adult-Gerontology Clinical Nurse Specialist student is
     prepared in the three spheres of influence: patient/client, nurses and nursing practice and orga-
     nization/system. Students must complete a minimum of 40 credit hours, including a scholarly
     project, and at least 504 clinical-practice hours. The Family Nurse Practitioner student is pre-
     pared to provide and direct care to families including adults and children. This track requires
     the graduate student to complete a minimum of 47 credit hours, including a scholarly project
     or comprehensive examination and at least 660 clinical practice hours. Graduates are prepared
     for the national certification examination as an Adult-Gerontology Primary Care Nurse Practi-
     tioner, a Family Nurse Practitoner, or a Clinical Nurse Specialist through the American Nurses
     Credentialing Center, 600 Maryland Avenue, SW, Suite 100 West, Washington, DC 20024-2571,
     1.800.284.2378 or the American Academy of Nurse Practitioners Certification Board, National
     Administrative Office, P. O. Box 12846, Austin, TX 78711, 1.512.637.0500.
          The Nurse Educator student is prepared for teaching in an academic or health care setting.
     The curriculum provides a foundation for teaching, course and curriculum design, and program
     evaluation. The program requires each graduate student to complete 41 credit hours, a scholarly
     project, and 350 practice hours.
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                                    GRADUATE PROGRAM REQUIREMENTS                                           311



            The Nursing Administration concentration is designed for nurses who want to advance their
        careers in leadership, administration, and management. Some courses are shared with the School
        of Business MBA program. Students can complete the degree program in approximately 6 se-
        mesters of part time study and complete two graduate internship courses with approximately
        500 hours of advance practice under the guidance of a preceptor and faculty member. A final
        capstone project is part of the degree requirement.

        Admission Information
            See the section on Graduate Admission earlier in this catalog for general requirements for
        admission to the graduate programs of Florida Southern College. Applicants are considered for
        admission for the fall and spring semester. The application deadline for fall admission is June 1.
        The application deadline for spring admission is October 1. Written notification of admission
        decisions may be expected within four (4) weeks of the published application deadline. The grad-
        uate admission committee reserves the right to hold an application until further information is
        available, such as end of semester grades or samples of previous work, before making a decision
        about an application for admission.

        Additional MSN Admission Requirements
             1. BSN from a regionally accredited institution and a CCNE, CNEA, or ACEN accredited
                nursing program
             2. Proof of current active licensure as a Registered Nurse in the state of Florida.
             3. The following prerequisite courses or equivalent courses from an accredited college or
                university at the undergraduate level are required:
             • Health Assessment
             • Evidence Based Health Care or Research Methods
             • Introduction to Statistics or Biostatistics
             A “C” or better grade in these prerequisite courses is required.
             4. Professional Statement. No more than 2 pages single spaced in length. Statement should
                highlight relevant work history and immediate and long term professional goals as an
                advanced-practice nurse. Should demonstrate an understanding of the scope of the ad-
                vanced practice nurse and be specific to the MSN track selected.
             5. Three Recommendation Forms or Letters of Reference.
             6. Minimum grade point average (GPA) of 3.0 on 4.0 scale on the last 60 hours of under-
                graduate coursework

           *In considering applications for the MSN program, the graduate committee gives careful
        consideration to all credentials required and submitted.

        Degree Requirements
            Completion of the Master of Science in Nursing for the Adult-Gerontology Clinical Nurse
        Specialist track requires 40 credit hours including at least 504 clinical-practice hours and a scholarly
        project. The Adult-Gerontology Primary Care Nurse Practitioner track requires 41 credit hours, in-
        cluding at least 540 clinical practice hours, and a scholarly project or comprehensive exam. Comple-
        tion of the Family Nurse Practitioner track requires 47 credit hours, including at least 660 clinical
        practice hours, and a scholarly project or comprehensive exam. Completion of the Nurse Educator
        track requires 41 credit hours, including at least 350 practice hours, and a scholarly project. Comple-
        tion of the Nursing Administration track requires 37 credit hours and completion of a two-course
        graduate internship.
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          Each MSN student must fulfill the requirements for a scholarly project that is suitable for
     publication or a comprehensive exam designed to measure student competency in the major
     area of study. MSN faculty within the School of Nursing and Health Sciences will specify the
     requirements for students in individual MSN Program tracks.
          For students required to complete a scholarly project, the project will be guided by two
     Florida Southern College graduate nursing professors. An external expert with requisite clin-
     ical and academic credentials can substitute for one of the readers with permission from the
     nursing graduate program director. It is the student’s responsibility to extend a request to a
     professor to serve as the primary scholarly project advisor. The advisor may suggest a second
     reader for the student to contact. The role of the primary scholarly project advisor is to mentor
     the graduate student in the conduct of professional scholarship, and must be selected prior to
     the completion of NUR 5250 Evidence Translation and Quality Improvement for Advanced
     Nursing Practice. The scholarly project advisor and second reader must attest to successful
     completion of the scholarly project in order for the student to be eligible for graduation with
     the degree of Master of Science in Nursing (MSN). The student is responsible for ensuring that
     all required documentation is submitted in a timely manner to the registrar’s office.
          For students required to complete comprehensive exam requirements, MSN faculty within
     the School of Nursing and Health Sciences will set and disseminate procedures for fulfillment
     of comprehensive exam requirements at the beginning of each academic year. A proprietary
     standardized predictor exam, designed to predict the student’s readiness to challenge a nation-
     al certification exam, will be used to fulfill comprehensive exam requirements. Students are
     responsible for all fees associated with standardized predictor exams.

        • Each MSN student is required to complete a criminal background screening including finger
          printing prior to starting the program. NOTE: Any student with a prior arrest or conviction his-
          tory may be denied entry into the MSN program due to our agency contract agreements or may be
          denied licensure as an advanced practice registered nurse per Florida Statue 464 (Nurse Practice Act).
          Students who apply to the MSN program with a prior criminal record must be further screened by the
          program director and approved by the dean prior to acceptance into the program. Failure to disclose
          prior criminal history on application or report any subsequent criminal arrest after enrollment at
          Florida Southern College to the dean of the School of Nursing and Health Sciences may disqualify the
          student from the MSN program.
        • Each nursing student is required to complete a ten-panel drug screen prior to starting the
          program. Any student may be requested to repeat the urine drug screen as required by any
          clinical site or as part of a drug testing program. The cost of the background check and drug
          screenings is the responsibility of the student. Note: Students who have a positive drug test may
          be denied acceptance into the program or be unenrolled from the program.
        • A blanket student nursing liability insurance policy will cover all nursing students for the
          time he or she is providing patient care as part of a supervised clinical education experience.
          The cost (estimate $23 per year) will be included in the nursing fee charged each semester.
          • All students must have a current adult and pediatric BLS certification with A.E.D. and
          maintain certification though the end of the program of study.
       • Each nursing student is required to purchase a clinical documentation package, upload
         and maintain documents prior to the deadlines provided by the program director (prior to
         entering the program).
       • The following are required:
       a) Tuberculosis testing: A negative 2 step TB skin test (administered 1-3 weeks apart) OR Neg-
          ative TB blood test (lab report required)
       b) Measles/Mumps/Rubella (MMR) immunization or-positive titer
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                                              GRADUATE PROGRAM REQUIREMENTS                                                                  313



            c) Hepatitis B immunization or positive titer
            d) Hepatitis C (HCV) antibody test; follow-up testing if/as required
            e) Varicella immunization or positive titer f) Pertussis (Tdap) immunization
            f) Tetanus booster every 10 years
            g) Annual flu vaccine
            h) Health statement of physical fitness from health care provider stating student may par- tic-
               ipate in clinical experience assignments. Any restrictions must be outlined and include a
               reasonable plan for accommodation.
            i) Affidavit of Good Moral Character (notarized in the state of FL)
            • The student is responsible for all related costs for immunization. No student will be allowed
              to begin clinical experiences until all clinical requirements have been submitted by the designated
              date prior to entering the program.
            • Students who have positive antibodies for Hepatitis C or HIV or other chronic infective
              diseases that may compromise patient safety, must be further screened and counseled. Be-
              cause students will have direct contact with patients during the course of their clinical
              assignments in hospitals and other care settings, specific safeguards or other restrictions to
              practice may be imposed on the student to protect patients and themselves. The clinical
              agencies will have final say whether infected students can practice or attend clinical assign-
              ments.
            • Students are required to complete online OSHA and HIPPA Training Modules prior to
              entering the program
            • Individual health care organizations may have separate and/or additional screening require-
              ments. Students seeking placement in these organizations must fulfill these requirements
              in order to complete clinical hours at these sites.

        Tuition and Fees
        Tuition:......................................................................................................... $600.00 per credit hour
        Technology Fee
            Up to 4 credit hours............................................................................................ $25.00 per term
            5–8 credit hours.................................................................................................. $50.00 per term
            9–12 credit hours.............................................................................................. $100.00 per term
        Nursing Fee
           Students will be charged a fee for required malpractice insurance and lab supplies, approxi-
        mately $35 per semester.
           Please see the sections earlier in this catalog for the FSC refund policy and for information
        on admission, matriculation, technology, and graduation fees. The College does not permit
        auditing graduate courses.

        Master of Science in Nursing: Adult-Gerontology Clinical Nurse
        Specialist
        A. Core Curriculum..........................................................................................................22 hours
           NUR 5120               Advanced Practice Nurse Role
           NUR 5150               Advanced Pharmacology
           NUR 5200               Advanced Pathophysiology
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        NUR 5220                             Advanced Practice Health Assessment
        NUR 5250                             Nursing Theory and Research
        NUR 5350                             Health Care Policy & Politics
        NUR 6250                             Research Hours
        NUR 6430                             Care of the Older Adult
     B. Clinical Nurse Specialist Track.................................................................................18 hours
        NUR 6110                             Advanced Practice Nurse I
        NUR 6160                             Advanced Practice Nurse II
        NUR 6210                             Advanced Practice Nurse III
     Total ....................................................................................................................................40 hours

     Master of Science in Nursing: Adult-Gerontology Primary Care
     Nurse Practitioner
     A. Core Curriculum..........................................................................................................22 hours
        NUR 5120                             Leadership, Role Development, and Advocacy for Advanced Nursing 		
                                             Practice
        NUR 5150                             Advanced Pharmacology
        NUR 5200                             Advanced Pathophysiology
        NUR 5220                             Advanced Health Assessment
        NUR 5250                             Evidence Translation and Quality Improvement for Advanced Nurs		
                                             ing Practice
        NUR 5400                             Health Promotion and Clinical Prevention for Advanced Nursing 		
                                             Practice
        NUR 5450                             Informatics and Health Care Technologies
        NUR 6430                             Care of the Older Adult
     B. Nurse Practitioner Track............................................................................................19 hours
        NUR 6110                             Advanced Practice Nurse I
        NUR 6160                             Advanced Practice Nurse II
        NUR 6210                             Advanced Practice Nurse III: AGPC Role
        NUR 6500                             Transition to Advanced Nursing Practice
     Total.................................................................................................................................... 41 hours

     Master of Science In Nursing: Family Nurse Practitioner
     A. Core Curriculum..........................................................................................................22 hours
        NUR 5120               Leadership, Role Development, and Advocacy for Advanced Nursing 		
                               Practice
        NUR 5150               Advanced Pharmacology
        NUR 5200               Advanced Pathophysiology
        NUR 5220               Advanced Health Assessment
        NUR 5250               Evidence Translation and Quality Improvement for Advanced Nurs		
                               ing Practice
        NUR 5400               Health Promotion and Clinical Prevention for Advanced Nursing 		
                               Practice
        NUR 5450               Informatics and Health Care Technologies
        NUR 6430               Care of the Older Adult
     B. Nurse Practitioner Track............................................................................................25 hours
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          NUR 6110                              Advanced Practice Nurse I
          NUR 6160                              Advanced Practice Nurse II
          NUR 6500                              Transition to Advanced Nursing Practice
          NUR 6640                              Primary Health Care of Women
          NUR 6645                              Pediatric: Family Health
          NUR 6655                              Advanced Practice Nurse III: FNP Role
        Total.................................................................................................................................... 47 hours

        Master of Science In Nursing: Nurse Educator
        A. Core Curriculum..........................................................................................................22 hours
           NUR 5120                             Advanced Practice Nurse Role
           NUR 5150                             Advanced Pharmacology
           NUR 5200                             Advanced Pathophysiology
           NUR 5220                             Advanced Practice Health Assessment
           NUR 5250                             Nursing Theory and Research
           NUR 5350                             Health Care Policy & Politics
           NUR 6250                             Research Hours
           NUR 6430                             Care of the Older Adult
        B. Nurse Educator Track..................................................................................................16 hours
           NUR 6120                             Nurse Educator in the Clinical Setting
           NUR 6260                             Curriculum Design & Program Development
           NUR 6310                             Nurse Educator in the Academic Setting
        Total.....................................................................................................................................38 hours

        Master of Science In Nursing: Nursing Administration
        A. Core Curriculum............................................................................................................ 6 hours
           NUR 5250                             Nursing Theory and Research
           NUR 5350                             Health Care Policy & Politics
        B. Nurse Administration Track......................................................................................28 hours
           BUS 6400                             Leadership of Self and Organizations
           BUS 6710                             Management: Negotiations
           NUR 6300                             Healthcare Informatics and Decision Making
           NUR 6450                             Healthcare Finance and Entrepreneurship
           NUR 6960                             Graduate Internship in Nursing
           NUR 6961                             Graduate Internship in Nursing
           NUR 7400                             Improving Quality, Safety and Value in Healthcare
        Total.....................................................................................................................................34 hours

        Post-Master’s Certificate
            A post-master’s certificate is offered to serve individuals desiring additional credentials in
        a designated field of practice. Applicants are required to complete the standard application re-
        quired for consideration for graduate nursing programs. A BSN and master of science degree
        (MSN or MS) from a regionally accredited institution and a CCNE, CNEA, or ACEN accred-
        ited nursing program is required to pursue the post-masters certificate. Post-master’s certificate
        applicants must meet all MSN applicant prerequisite courses and academic standards. Federal
        financial aid is not available for this program. The final program plan and course requirements
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     for each student admitted to a graduate certificate program will be based on a gap analysis con-
     sistent with National Organization of Nurse Practitioner Faculties’ Criteria for Evaluation of NP
     Programs standards (https://www.nonpf.org/page/15) in order to ensure the student’s eligibility
     to sit for national certification in the selected population focus upon program completion. The
     gap analysis will include, at a minimum, a review of previous transcripts and course syllabi for
     which transfer or equivalent credits are requested. Additional documentation may be required in
     order to complete the gap analysis.

     Tuition and Fees
     Tuition:......................................................................................................... $600.00 per credit hour
     Technology Fee
         Up to 4 credit hours............................................................................................ $25.00 per term
         5–8 credit hours.................................................................................................. $50.00 per term
         9–12 credit hours.............................................................................................. $100.00 per term

     Clinical Nurse Specialist
          The post-master’s certificate for adult-gerontology clinical nurse specialist serves those mas-
     ter’s prepared nurses who desire to become a specialist in the growth of organized and coordi-
     nated health care services. Students will complete at least 500 clinical practice hours in the ad-
     vanced practice nurse role and be prepared to practice in three spheres of influence: patients and
     families, nurses and nursing practice, and organizations. Graduates are prepared for the national
     certification examination as an adult-gerontology clinical nurses specialist through the American
     Nurses Credentialing Center.
          Students are required to complete three courses, totaling 18 credit hours.
         • NUR 6110 Advanced Practice Nurse I (6)
         • NUR 6160 Advanced Practice Nurse II (6)
         • NUR 6210 Advanced Practice Nurse III (6)
         Prior to entering any of these clinical courses, students must complete prerequisite courses at
     the graduate level: pathophysiology, pharmacology, health assessment, research. If needed, these
     courses may also be completed at Florida Southern College.

     Adult-Gerontology Primary Care Nurse Practitioner
         The post-master’s certificate for adult-gerontology primary care nurse practitioner is designed
     for those individuals who require additional coursework to meet eligibility requirements to take
     the national certification examination for adult-gerontology primary care nurse practitioner.
     Students will complete at least 540 clinical practice hours in the advanced practice role. Gradu-
     ates are prepared for the national certification examination as an adult-gerontology primary care
     nurse practitioner through the American Nurses Credentialing Center or the American Associa-
     tion of Nurse Practitioners Certification Board.
         For this concentration, students are required to complete three courses, totaling 18 credit
     hours.
     • NUR 6110 Advanced Practice Nurse I (6
     • NUR 6160 Advanced Practice Nurse II (6)
     • NUR 6210 Advanced Practice Nurse III: AGPC Role (6)
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        Prior to entering any of these clinical courses, students must complete prerequisite courses at
        the graduate level: pathophysiology, pharmacology, health assessment, research. If needed, these
        courses may also be completed at Florida Southern College.

        Family Nurse Practitioner
            The post-master’s certificate for family nurse practitioner is designed for those master’s pre-
        pared nurses who desire to provide and direct care to families including adults and children. Stu-
        dents will complete at least 660 clinical practice hours in the advanced practice role. Graduates
        are prepared for the national certification examination as a family nurse practitioner through
        the American Nurses Credentialing Center or the American Association of Nurse Practitioners
        Certification Board.

        For this concentration, students are required to complete five courses totaling 24 credit hours.
        • NUR 6110 Advanced Practice Nurse I (6)
        • NUR 6160 Advanced Practice Nurse II (6)
        • NUR 6640 Primary Health Care of Women (1)
        • NUR 6645 Pediatric: Family Health (5)
        • NUR 6655 Advanced Practice Nurse III: FNP Role (6)

        Prior to entering any of these clinical courses, students must complete prerequisite courses at
        the graduate level: pathophysiology, pharmacology, health assessment, research. If needed, these
        courses may also be completed at Florida Southern College.

        Nurse Educator
            The post-master’s certificate for the nurse educator serves those individuals who plan to teach
        in nursing and desire additional expertise in teaching-learning principles and practice. Students
        will be prepared to teach in an academic or health care setting. The curriculum introduces the stu-
        dent to contemporary teaching strategies, and curriculum design and program evaluation practices.
        Graduates are prepared for the national Certified Nurse Educator examination through the Nation-
        al League for Nursing once they have met the NLN-required teaching hours post- graduation.
            For the nurse educator concentration, students must complete three courses, totaling 16 cred-
        it hours.
           • NUR 6120 Nurse Educator in the Clinical Setting (6)
           • NUR 6260 Curriculum Design & Program Development (4)
           • NUR 6310 Nurse Educator in the Academic Setting (6)
            Students must have successfully completed the following courses at the graduate level: patho-
        physiology, pharmacology, health assessment, research. If needed, these courses may also be com-
        pleted at Florida Southern College.

        DOCTOR OF NURSING PRACTICE
        The DNP program at FSC is a leadership focused post-master’s program of study designed to
        prepare graduates in health care policy and advocacy, finance, information systems, project man-
        agement and organizational leadership. Emphasis is on the application of evidence for the im-
        provement and enhancement of patient care and health care delivery systems.
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     Accreditation
     The FSC School of Nursing and Health Sciences will submit an application for DNP Program
     accreditation by the Commission on Collegiate Nursing Education, 655 K Street N.W., Suite 750,
     Washington, D.C. 20001 (202-887-6791) in 2020. An accreditation site visit is scheduled for Fall
     2020. Applying for accreditation does not guarantee that accreditation will be granted.

     Program Mission and Objectives
     The DNP program at FSC will be a leadership focused post-master’s degree doctoral program of
     study rooted in the application of evidence-based methods for the improvement and enhance-
     ment of patient care and healthcare delivery. The primary focus of the DNP is to provide didactic
     and clinical experiences for students to build on prior MSN level competencies. The program of
     study prepares graduates for a leadership trajectory at various levels in clinical and administrative
     healthcare environments.
     The curriculum combines both classroom and online (hybrid) delivery methods. The DNP plan
     of study is designed to be taken sequentially, with degree completion expected in two years (six
     semesters including two summer semesters). The curriculum includes practice immersion expe-
     riences that will provide opportunities for the DNP student to synthesize their doctoral course
     work in a variety of settings.

     Admission Information
     See the section on Graduate and Doctorate Admission earlier in this catalog for general require-
     ments for admission to the graduate and doctoral programs of Florida Southern College.

     Additional DNP Admission Criteria and Requirements
     1. Completed online application
     2. Official transcripts of all academic work
     3. BSN and Master’s degree (MS or MSN) in nursing from an accredited CNEA, ACEN or 		
        CCNE program with certification as a Certified Nurse Midwife, Certified Registered Nurse 		
        Anesthetist, Clinical Nurse Specialist, or Nurse Practitioner at a regionally accredited 		
        college or university
       OR
           BSN and Master’s degree in nursing (MS or MSN) in nursing leadership, health policy, or 		
           informatics from a nationally accredited CNEA, ACEN or CCNE program at a regionally 		
           accredited college or university
     4. Cumulative graduate GPA of 3.0 on a 4.0 scale in graduate level course work
     5. Résumé or CV of educational and work experience
     6. Professional statement describing rationale for pursuing the DNP degree, professional goals,
     and how completion of the DNP degree will support attainment of professional goals
     7. Minimum of three letters of recommendation including one from a current or recent super-
     visor, one from a former faculty member, and one from a doctoral prepared health professional
     8. Proof of current active licensure as a registered nurse in the state of Florida
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        9. Completion of a criminal background check, proof of immunization, and a ten-panel drug
        screen prior to beginning the program (if admitted)
        10. Live or virtual interview (by invitation only)

        Tuition and Fees
        DNP Tuition................................................................................................ $725.00 per credit hour
        Technology Fee
            Up to 4 credit hours............................................................................................ $25.00 per term
            5–8 credit hours.................................................................................................. $50.00 per term
            9–12 credit hours.............................................................................................. $100.00 per term

        Please see the sections earlier in this catalog for the FSC refund policy and for information on
        admission, matriculation, technology, and graduation fees. The College does not permit auditing
        graduate courses.

        Good Academic Standing
        A student enrolled in the DNP must achieve the following to remain in Good Academic Stand-
        ing:
        • DNP students must achieve a B or better in all doctoral coursework and an overall GPA of
        3.0 or higher in all doctoral and related courses.
        • DNP students will be placed on academic probation or dismissed from doctorate study in
        accordance with FSC policies for graduate and doctoral programs as delineated in the FSC Aca-
        demic Catalog. Any appeals surrounding probation or dismissal from the program will also be
        addressed in accordance with these policies.

        Progression Policy
        All students must maintain their plan of study as outlined in the Academic Catalog and per
        the student’s faculty advisor. The DNP project and practicum courses must be taken in order.
        The course of study is intended to be twenty four months long taking two courses per semester
        continually through the program. If a student is unable to sustain this commitment in the DNP
        program they must meet with their advisor to devise an alternative plan of study for the program.
        Students must successfully complete all course work no later than four (4) years after the comple-
        tion of the first DNP level course. Student with extenuating circumstances can petition the Dean
        of the School of Nursing & Health Sciences for a Leave of Absence and if approved will be noted
        by the Registrar. Student must follow all Florida Southern College policies and procedures for
        seeking any leave. Failure to do so may result in dismissal from the program.
        Additionally, students must:
        • Maintain licensure in Florida as a Registered Nurse (RN) or Advanced Registered Nurse
        Practitioner (ARNP) without restrictions.
        • Meet all professional standards as published in the Nursing Student Handbook and adhere
        to all policies regarding vaccinations, drug testing, background checks, and any and all require-
        ments from agency agreements or other regulations relevant to any clinical or preceptor experi-
        ence in the program.
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     • Be of good moral character and have no criminal offenses that would violate Florida South-
     ern College policies as outlined in the Academic Catalog or Nursing Student Handbook. Stu-
     dents must report all criminal arrests promptly to the Dean of the School of Nursing and Health
     Sciences. Failure to do so could result in dismissal from the program. Certain offenses, in partic-
     ular felony arrests, may result in suspension from the school or college.

     Degree Requirements
     Program requirements include completion of all DNP courses (at least 38 credit hours) with a
     grade of B or better; completion of all practice hours (student must have a minimum of 1000
     total practice hours post BSN to meet graduation requirements); submission of a DNP portfolio;
     presentation of the DNP project within the School of Nursing and Health Sciences (SNHS) and
     at the practice site where the project is conducted; submission of a DNP Project abstract to a
     peer-reviewed conference; and submission of a DNP Project manuscript or final scholarly report.
     AACN broadly defines practice hours to include practice immersion experiences which advance
     clinical, leadership, health policy, and/or informatics specialization within the profession of
     nursing. Practice hours completed in planning, implementing, and evaluating the DNP Project
     within health care organization and community settings can be used to fulfill practice hours
     requirements.
     • Each DNP student is required to complete a criminal background screening including finger
     printing prior to starting the program. NOTE: Any student with a prior arrest or conviction
     history may be denied entry into the DNP program due to our agency contract agreements or
     may be denied licensure as an advanced practice registered nurse per Florida Statue 464 (Nurse
     Practice Act). Students who apply to the DNP program with a prior criminal record must be
     further screened by the program director and approved by the dean prior to acceptance into the
     program. Failure to disclose prior criminal history on application or report any subsequent crim-
     inal arrest after enrollment at Florida Southern College to the dean of the School of Nursing and
     Health Sciences may disqualify the student from the DNP program.
     • Each student is required to complete a ten-panel drug screen prior to starting the program. Any
     student may be requested to repeat the urine drug screen as required by any clinical site or as part
     of a drug testing program. The cost of the background check and drug screenings is the responsi-
     bility of the student. Note: Students who have a positive drug test may be denied acceptance into
     the program or be unenrolled from the program.
     • A blanket student nursing liability insurance policy will cover all nursing students while com-
     pleting DNP Project work and/or providing patient care as part of a supervised clinical or prac-
     tice immersion education experience. The cost (estimate $20 per year) will be included in the
     nursing fee charged each semester.
     • All students must have a current adult and pediatric BLS certification with A.E.D. and maintain
     certification though the end of the program of study.
     • Each student is required to purchase a clinical documentation package, upload and maintain
     documents prior to the deadlines provided by the program director (prior to entering the pro-
     gram).
     • The following are required:
     a) Mantoux tuberculin test (2-step method) or blood test for TB
     b) Measles/Mumps/Rubella (MMR) immunization or-positive titer
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        c) Hepatitis B immunization or positive titer
        d) Hepatitis C titer negative
        e) Varicella immunization or positive titer
        f) Pertussis (Tdap) immunization
        g) Tetanus booster every 10 years
        h) Annual flu vaccine
        i) Health statement of physical fitness from health care provider stating student may participate
        in clinical experience assignments when/if applicable. Any restrictions must be outlined and
        include a reasonable plan for accommodation.
        j) Affidavit of Good Moral Character (notarized in the state of Florida)
        • Each student is responsible for all related costs for immunization. No student will be allowed
        to begin clinical or practice immersion experiences until all requirements have been submitted
        by the designated date prior to entering the program.
        • Students who have positive antibodies for Hepatitis C or HIV or other chronic infective diseas-
        es that may compromise patient safety, must be further screened and counseled. Because students
        may have direct contact with patients during the course of their practice immersion assignments
        in hospitals and other care settings, specific safeguards or other restrictions to practice may be
        imposed on the student to protect patients and themselves. The clinical agencies will have final
        say whether infected students can practice or attend clinical/practice immersion assignments.
        • All students are required to complete online OSHA and HIPPA Training Modules prior to
        entering the program
        • Individual health care organizations may have separate and/or additional screening require-
        ments. Students seeking placement in these organizations must fulfill these requirements in or-
        der to complete clinical or practice immersion hours at these sites.

        Doctor of Nursing Practice Curriculum
        Required Courses……………………………………………………………………..38 hours
          NUR 7100     Philosophical, Theoretical, Professional and Conceptual Foundations
          NUR 7110     Leadership and Interprofessional Practice
          NUR 7120     Introduction to DNP Project
          NUR 7200     Professional, Business and Scholarly Writing
          NUR 7210     Health Care Business and Financial Management
          NUR 7300     Practice Scholarship: Evidence-based Practice and Quality Improvement
          NUR 7310     Data Management and Analytics for Evidence-based Practice
          NUR 7400     Clinical Prevention and Population Health
          NUR 7410     Health Policy and Advocacy in Health Care
          NUR 7420     Information Management and Technology
          NUR 7500     DNP Project and Practicum I
          NUR 7510     DNP Project and Practicum II
          NUR 7520     DNP Project and Practicum III
          NUR 7530     DNP Project and Practicum IV
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     DOCTOR OF PHYSICAL THERAPY
     Program Mission and Student Goals
     The mission of the of the School of Physical Therapy at Florida Southern College is to prepare
     entry-level physical therapy practitioners through dynamic engaged learning experiences and
     equip them with skills to provide patient-centered, evidence-based care, and have a positive im-
     pact on the community.
     • Students will demonstrate the knowledge and skills necessary to provide patient-centered
     and evidence-based care physical therapist practice.
     •     Students will engage in dynamic learning experiences integrated throughout the curriculum.
     •     Students will provide service to the community to have a positive impact on the community.

     Admission Information
     The application for the Doctor of Physical Therapy program will be on the Physical Therapy
     Centralized Application Service (PTCAS).

     Application Requirements:
     • A bachelor’s degree in any discipline from a regionally accredited institution may be in prog-
     ress at time of application. However, the degree must be awarded prior to matriculation into
     Florida Southern College School of Physical Therapy Program.
     •     Minimum GPA of 3.00 (on 4.00 scale) in the last 60 credit hours of college course work.
     • Minimum GPA of 3.00 (on 4.00 scale) for all prerequisite courses. Only one C will be accept-
     ed for prerequisite courses.
     • Minimum GRE scores of 146 for verbal reasoning; 144 for quantitative reasoning; and 3 on
     the analytical writing portion.
     • A minimum of 25 hours of demonstrable exposure to PT as evidenced by volunteer and/or
     paid work experience in a PT setting.
     • Three letters of recommendation: 1 from a licensed physical therapist (from applicant’s vol-
     unteer or work experience in a PT setting); 1 from a college level faculty member who has had
     you in class or was a program advisor; and 1 from either of the following: a licensed physical
     therapist or a supervisor/employer.
     •     An on-campus interview by invitation only.
     •     A resume may be requested for students who are offered an interview by the school.
     •     See DPT website at http://www.flsouthern.edu/dpt for more specific information.
     Coursework Petitions - An applicant can petition any of their previous coursework for accep-
     tance to the School of Physical Therapy Admissions Committee utilizing the following proce-
     dure:
     1. An applicant writes a formal letter to Dr. Alex Siyufy or Dr. Jehad Alzyoud. The formal letter
     and any supporting documentation should be submitted as an attachment to an email (asiyufy@
     flsouthern.edu or jalzyoud@flsouthern.edu).
           Note: Only the formal letter and accompanying attachments will be reviewed. Any requests
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        made in the body of an email will not be considered for review.
        2. The letter and any attachments will be presented to the Admission Committee at the next
        meeting (meetings typically convene every 2 weeks, however this depends on the time of year).
        3. Each letter is reviewed by the Admissions Committee on a case-by-case basis and a decision
        will be communicated to the applicant via email.
        Applicants not meeting these minimum requirements will not be considered for admission to
        the School of Physical Therapy. Meeting minimum requirements does not guarantee an appli-
        cant interview or admission to the program. All applicants and admitted students to the School
        of Physical Therapy must certify in writing that they are able to perform certain Essential Func-
        tions in order to participate and complete program requirements. Specific requirements to meet
        clinical education practicums are outlined in the Student Clinical Education Handbook.
        Thirty-six (36) students will be admitted to the School of Physical Therapy each year.

        Tuition and Fees
        Cost for tuition and required program fees for the 28-month program is $105,295. (Actual tuition
        paid at the beginning of each semester is based on $970 per credit hour, plus estimated fees of
        $145 per year and a one-time fee of $100 in year one. Fees are non-refundable.)

        Doctor of Physical Therapy Curriculum
        Required Courses……………………………………………………………………..108 hours
          DPT 7110		        Human Anatomy for Physical Therapy
          DPT 7120 		       Kinesiology and Biomechanics for Physical Therapy
          DPT 7130		        Physical Therapy Clinical Assessment I
          DPT 7140 		       Pathophysiology for Physical Therapy
          DPT 7150		        Evidence-Based Physical Therapist Practice I
          DPT 7160		        Integrated Professional and Community Education I
          DPT 7210		        Musculoskeletal Physical Therapy I
          DPT 7220 		       Physical Therapy Clinical Assessment II
          DPT 7230		        Acute Care Physical Therapy
          DPT 7240		        Pharmacology for Physical Therapy
          DPT 7250 		       Cardiopulmonary Physical Therapy
          DPT 7260		        Integrated Professional and Community Education II
          DPT 7310		        Physical Therapy Rehabilitation I
          DPT 7320 		       Neuroscience for Physical Therapy
          DPT 7330 		       Administration for Physical Therapy
          DPT 7350		        Evidence-Based Physical Therapist Practice II
          DPT 7360		        Integrated Professional and Community Education III
          DPT 7480		        Physical Therapy Clinical Education Practicum I
          DPT 7410		        Physical Therapy Rehabilitation II
          DPT 7460		        Integrated Professional and Community Education IV
          DPT 7510		        Musculoskeletal Physical Therapy II
          DPT 7520		        Geriatric Physical Therapy
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       DPT 7530		   Pediatric Physical Therapy
       DPT 7540		   Advanced Clinical Lifespan Problem Solving
       DPT 7550		   Evidence-Based Physical Therapist Practice III
       DPT 7560		   Integrated Professional and Community Education V
       DPT 7570		   NPTE Review
       DPT 7680		   Physical Therapy Clinical Education Practicum II
       DPT 7780		   Physical Therapy Clinical Education Practicum III
       DPT 7790		   Physical Therapy Seminar
     Total……………………………………………………………………………………..108 hours


     Effective 5/15/19, Florida Southern College School of Physical Therapy has been granted Candi-
     date for Accreditation status by the Commission on Accreditation in Physical Therapy Education
     (1111 North Fairfax Street, Alexandria, VA, 22314; phone: 703-706-3245; email: accreditation@
     apta.org). If needing to contact the program/institution directly, please call 863-680-5126 or email
     nnuzzo@flsouthern.edu.
     Candidate for Accreditation is a pre-accreditation status of affiliation with the Commission on
     Accreditation in Physical Therapy Education that indicates the program is progressing toward
     accreditation and may matriculate students in technical/professional courses. Candidate for Ac-
     creditation is not an accreditation status nor does it assure eventual accreditation.
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                     School of Physical Therapy Program Curriculum Map
                                         Class of 2021

        Year 1 (2019-2020)
        FALL                                      SPRING                                  SUMMER (15 weeks)
        8/19/19-12/6/19                           1/6/2020-5/1/2020                       5/11/20 – 8/21/20
        DPT 7110 Human Anatomy for                DPT 7210 Musculoskeletal Physical       DPT 7310 Physical Therapy
        Physical Therapy (6)                      Therapy I (4)                           Rehabilitation I (4)
        DPT 7120 Kinesiology/Biomechanics         DPT 7220 Physical Therapy Clinical      DPT 7320 Neuroscience for Physical
        for Physical Therapy (3)                  Assessment II (3)                       Therapy (4)
        DPT 7130 Physical Therapy Clinical        DPT 7230 Acute Care Physical            DPT 7330 Administration for Physical
        Assessment I (3)                          Therapy (2)                             Therapy (2)
        DPT 7140 Pathophysiology for              DPT 7240 Pharmacology for Physical      DPT 7350 Evidence Based Physical
        Physical Therapy (3)                      Therapy (2)                             Therapist Practice II (2)
        DPT 7150 Evidence Based Physical          DPT 7250 Cardiopulmonary Physical       DPT 7360 Integrated Professional
        Therapist Practice I (1)                  Therapy (3)                             and Community Education (IPCE)
                                                                                          III (2)
        DPT 7160 Integrated Professional and      DPT 7260 Integrated Professional
        Community Education (IPCE) I (2)          and Community Education (IPCE) II (2)
        Total (18)                                Total (16)                              Total (14)
        Year 2 (2020-2021)
        FALL 1 (10 weeks)                         SPRING                                  SUMMER 1 (10 weeks)
        8/31/20-11/6/20                           1/11/21-5/7/21                          5/17/21 – 7/23/21
        DPT 7480 Physical Therapy Clinical        DPT 7510 Musculoskeletal Physical       DPT 7680 Physical Therapy Clinical
        Education Practicum I (10 weeks) (10)     Therapy II (4)                          Education Practicum II (10 weeks) (10)
                                                  7520 Geriatric Physical Therapy (4)
        FALL 2 (4 weeks)                          DPT 7530 Pediatric Physical Therapy
        11/16/20 – 12/11/20                       (4)
        DPT 7410 Physical Therapy                 DPT 7540 Advanced Clinical Lifespan
        Rehabilitation II (4)                     Problem Solving (2)
        DPT 7460 Integrated Professional          DPT 7550 Evidence Based Physical
        and Community Education (IPCE) IV (1)     Therapist Practice III (2)
                                                  DPT 7560 Integrated Professional
                                                  and Community Education (IPCE) V (1)
                                                  DPT 7570 NPTE Review (1)
        Total (15)                                Total (18)                              Total (10)
        Year 3 (2021)
        FALL
        8/16/21 – 12/3/21
        DPT 7780 Physical Therapy Clinical
        Education Practicum III (16 weeks) (16)
        12/13/21 – 12/17/21
        (Graduation 12/18/21)
        DPT 7790 Physical Therapy Seminar
        (1)
        Total (17)
        TOTAL = 108 SEMESTER CREDIT HOURS
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                    GRADUATE COURSE DESCRIPTIONS

     ACCOUNTING – ACC
     ACC 6120 CORPORATE TAXATION
     Two hours. Prerequisite: ACC 4411 and admission to the MAcc or MBA program. Learn technical
     tax information pertaining to corporations and prepare for the CPA examination.

     ACC 6140 TAXATION OF PARTNERSHIPS AND ESTATES
     Two hours. Prerequisite: ACC 4411 and admission to the MAcc or MBA program. Learn technical
     tax information pertaining to partnerships and estates and prepare for the CPA examination.

     ACC 6200 AUDITING WITH ACCOUNTING INFORMATION SYSTEMS
     Four hours. Prerequisite: ACC 4511. An examination of auditing standards and practical auditing
     tasks, including an examination of the role of accountants as designers, users, and evaluators of
     accounting systems.

     ACC 6220 GOVERNMENTAL ACCOUNTING
     Two hours. Accounting for municipal, county, state governments and agencies including budget-
     ing, journal entries and financial statements.

     ACC 6300 ADVANCED FINANCIAL ACCOUNTING AND REPORTING
     Four hours. Prerequisite: ACC 3112. A detailed study of the procedures related to accounting
     for consolidations, interim reporting, segment reporting, foreign currency, worldwide account-
     ing, reorganizations, liquidations, partnerships, governmental organizations, not-for-profit orga-
     nizations, estates, and trusts. Also included is the history and importance of the SEC and the
     Sarbanes-Oxley Act.

     ACC 6400 ADVANCED MANAGERIAL ACCOUNTING
     Four hours. Prerequisite: ACC 3211. Advanced topics in cost/managerial accounting encompass-
     ing a study of decision models, cost information systems, budgeting, and performance analysis.

     ACC 6420 ACCOUNTING DATA ANALYTICS
     Two hours. Same as BUS 6420. Prerequisites: Admission to the MAcc or MBA program. Under-
     stand the fundamentals of big data, prediction models, auditing data analytics software and learn
     how accounting professionals use the tools of data analytics in industry and auditing.

     ACC 6500 CPA REVIEW COURSE
     Two hours. Pass/Fail. Prerequisites: ACC 6120, ACC 6140, 6200, and 6300. Prepare for the Uniform
     CPA Examination. This course does not count toward the Florida State Board of Accountancy
     education requirements as either accounting hours, business core hours, nor total hours.

     ACC 6501 ADVANCED CPA REVIEW
     Two hours. Pass/Fail. Prerequisites: ACC 6500. Prepare for the Uniform CPA Examination by com-
     pleting a review program for the two parts of the examination not completed in ACC 6500. This
     course does not count toward the Florida State Board of Accountancy education requirements as
     either accounting hours, business core hours, nor total hours.

     ACC 6620 ETHICS IN ACCOUNTING
     Two hours. Prerequisite: ACC 2012 and admission to the MBA or MAcc program. Understand the
     ethical issues in the environment of accounting.
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        ACC 6640 FRAUD EXAMINATION
        Two hours. Prerequisite: ACC 2012 and admission to the MBA or MAcc program. Understand the
        field and practice of forensic accounting and procedures used to uncover economic crime.

        ACC 6960 ACCOUNTING INTERNSHIP
        Two hours. Pass/Fail. Prerequisites: Admission to the MAcc or MBA program. This course aug-
        ments the classroom experience with practical professional knowledge in the accounting field.

        ACC 6989 ACCOUNTING RESEARCH
        Two hours. Prerequisites: ACC 6120, ACC 6140, ACC 6200, ACC 6300, and ACC 6400.
        Understand the sources of accounting research and learn to conduct accounting research.

        ACC 6999 ACCOUNTING CAPSTONE PROJECT
        Two hours. Prerequisite: ACC 6100, ACC 6200, ACC 6300, ACC 6400, BUS 6350. Complete a case
        study, thesis, or other accounting project.

        BUSINESS ADMINISTRATION - BUS
        BUS 6300 HEALTHCARE INFORMATICS & DECISION MAKING
        Four hours. Same as NUR 6300. Prerequisite: Admission to the graduate program. Both informa-
        tion technology and use and sharing of clinical and administrative data are an important com-
        ponent of health care delivery. In this course, students are introduced to advanced concepts of
        information management and use of data in complex decision making as well as core informatics
        competencies such as project management and systems analysis.

        BUS 6310 FOUNDATIONS I
        Two hours. Intensive focus on accounting, finance, economics, and statistics to equip students with
        overview of fundamental background knowledge and skill-sets essential for success in FSC MBA
        program and career. Students acquire and apply concepts quickly with high level of competency.

        BUS 6320 FOUNDATIONS II
        Two hours. Intensive sessions on communication skills, organizational development, ethical de-
        cision making, and knowledge essential for success in the in the FSC MBA program and the
        student’s career.

        BUS 6350 BUSINESS LAW FOR ACCOUNTANTS
        Two hours. Prerequisite: BUS 3311. Extend business law concepts to those specific to the account-
        ing profession.

        BUS 6400 LEADERSHIP OF SELF AND ORGANIZATIONS
        Four hours. An examination of leaders and leadership at the individual, group, organizational, and
        international levels. Also provides conceptual frameworks for group dynamics, diagnosing per-
        formance problems, designing appropriate organizational interventions and securing stakeholder
        commitment.

        BUS 6420 ACCOUNTING DATA ANALYTICS
        Two hours. Same as ACC 6420. Prerequisites: Admission to the MACC or MBA program. Under-
        stand the fundamentals of big data, prediction models, auditing data analytics software, and to
        learn how accounting professionals use the tools of data analytics in industry and auditing.

        BUS 6450 HEALTHCARE FINANCE & ENTREPRENEURSHIP
        Four hours. Same as NUR 6450. Prerequisite: Graduate standing. Healthcare economics and fi-
        nance are key factors in healthcare delivery and future reforms. Students investigate finance mod-
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     els from small entrepreneurial settings to large multi-facility healthcare systems and complete a
     project to design and fund a practice or project related to their field of interest.

     BUS 6455 MANAGING ACROSS BOUNDARIES AND BORDERS
     Four hours. Theories of global trade institutions, political economies, and the complex dynamic
     of global economic relations.

     BUS 6500 MANAGING THE ECONOMIC, REGULATORY, AND SOCIAL ENVIRONMENT OF BUSINESS
     Four hours. Gain practical knowledge of regulatory issues that arise in the business environment
     and learn to spot potential regulatory problems and minimize risk. Students will have an inte-
     grative opportunity to tie together laws, regulations, and managerial concepts that are useful in
     strategic decision making with issues of ethics and responsibility in 21st-century organizations and
     analyze cases while role-playing various stakeholders in the business enterprise.

     BUS 6550 COMPLEX DECISION MAKING
     Four hours. Integrates information technology and financial information to facilitate managerial
     decision making. Current information technology tools are harnessed to make sense of account-
     ing and financial measures and to enable effective decisions. Analysis of case studies allows inte-
     gration of skills necessary to make wise decisions.

     BUS 6600 SYNTHESIS OF TRENDS, IMAGE, AND OUTPUT
     Four hours. Advanced treatment of research methodology combined with applications of oper-
     ations management. Focus on the use of survey research and data analysis along with modeling
     techniques such as linear programming and queuing theory. Projects management approach with
     teams working on realistic business challenges.

     BUS 6650 HEALTH POLICY
     Four Hours. Students are introduced to an overview of current U.S. health policies and their impli-
     cations on health services administration. The course offers an in-depth study of the policymaking
     process and explores the relationship between policymaking, regulation, and reform within the
     healthcare industry. A special emphasis is given to the nature and role of health policy studies on
     management decision-making and explores how managers can influence the policymaking pro-
     cess for effective health services administration.

     BUS 6710 MANAGEMENT: NEGOTIATIONS
     Four hours. Negotiation is the art and science of settling conflicts and resolving problems through
     mutual agreement. This is a concept and applications course designed to increase students’ com-
     petence, confidence, and satisfaction in dealing with a broad range of negotiating circumstances
     and roles. Classes consist of an examination of negotiation strategies and tactics, and participation
     in practical exercises. The goal of the course is for students to develop a working concept of nego-
     tiation theory and acquire and practice useful skills.

     BUS 6720 MARKETING STRATEGY
     Four hours. A comprehensive review of the theories and concepts pertaining to the marketing of
     industrial and consumer goods. Review the role of the chief executive officer in the development
     and implementation of marketing strategies. Case studies emphasized while reviewing goals and
     policies. In depth review of pricing, product strategy, promotional tools, marketing research tech-
     niques, product life cycles, and marketing’s relationship to strategic planning.

     BUS 6730 SUPPLY CHAIN MANAGEMENT
     Four hours. Views the supply chain from the point of view of a general manager. Logistics and sup-
     ply chain management is all about managing the hand-offs of either information or product. The
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        design of a logistics system is critically linked to the objectives of the supply chain. The focus of
        this course is understanding how logistical decisions impact the performance of the firm as well as
        the entire supply chain. This includes understanding the link between supply chain structures and
        logistical capabilities in a firm or the entire supply chain. The function of supply chain manage-
        ment is to design and manage the processes, assets, and flows of material and information required
        to satisfy customers’ demands. On the revenue side the supply chain decisions have a direct impact
        on the market penetration and customer service. The course examines how the combination of
        enterprise information infrastructure and the Internet has paved the way for a variety of supply
        chain optimization technologies.

        BUS 6740 LEAN/SIX SIGMA PROCESSES
        Four Hours. Quality and continuous improvement are the foundations on which businesses sur-
        vive and grow. It is no longer a luxury but a necessity for all businesses and economies to contin-
        uously improve the quality of goods and services they produce. Quality improvement over time
        tends to increase customer satisfaction, lower the total cost of goods and services, and enhance the
        reputation of the firm. Towards this end, the course aims to introduce the essential concepts, tools,
        and methodologies of Lean and Six Sigma.
        BUS 6750 OPERATIONS MANAGEMENT
        Four hours. Students will learn to explain management systems, project management, quantita-
        tive principles, and techniques for the effective planning and utilization of resources within an
        organization. Emphasis is placed on applying critical thinking skills to solve problems and man-
        agerial decision making for the improvement of operational processes and productivity. Apply
        management theories and resource management practices to successfully lead a dynamic organi-
        zation. Demonstrate the ability to collect and analyze information and data in order to formulate
        analytically sound decisions for the planning and utilization of resources. Analyze and apply the
        strategic decision-making and operational planning process for effectual policy making within
        an organization. Conduct an analysis of appropriate financial and economic data necessary to
        support organizational decision making.
        BUS 6820 INTERNATIONAL FIELD EXPERIENCE
        Four hours. One to two-week intensive immersion in an alternative international economic set-
        ting. This course provides an opportunity to apply coursework concepts in a realistic environment.
        Course format includes a series of meetings and seminars in selected centers of foreign commerce
        combined with shadowing government and industry leaders. Focus is on the interlocking nature
        of national interests and the opportunities they provide for business organizations
        BUS 6850 GRADUATE INTERNSHIP IN BUSINESS
        Four hours. Prerequisite: 12 graduate hours in the MBA program with a minimum GPA of 3.0. The
        internship is a hands-on working experience in the field of concentration requiring a minimum
        160 hours of placement under the supervision of both an employer and a faculty member. Begin-
        ning in the semester preceding the internship placement, the student should identify what type
        of organization they desire for their internship. The college supports student initiatives to obtain
        the internship by providing counsel and resources. The internship supervisor monitors student
        performance and visits internship sites as needed. On completion of the internship, the student
        submits a reflection paper to the faculty supervisor on their experience. Students may not perform
        internships at their current place of employment without prior consent of the coordinator of the
        graduate program. Each student shall make a public and professional presentation of their grad-
        uate internship experience. This course is typically taken during the student’s summer semester.
        BUS 6990 STRATEGY FORMULATION AND ORGANIZATIONAL DESIGN FOR THE 21ST CENTURY
        Four hours: Strategic dilemmas in business design require a business model that sustains and pro-
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     tects the livelihoods of the company’s stakeholders, its community, and its own long-term success.
     The objective of the course is to address how all of the disciplines play a role in the formation and
     operation of a successful business enterprise while addressing the external environmental and
     competitive forces that prevail. Principally, this course applies the students’ knowledge of manage-
     ment, marketing, finance, and accounting in determining how to strategically operate a business
     enterprise. Analysis and preparation of case studies emphasize strategy formulation, including the
     formation of and/or the acquisition of business units, successful management and options for the
     growth, maturation, continuation, or termination of the business enterprise.

     EDUCATION EDU
     EDU 6100 EDUCATIONAL LEADERSHIP FOR CHANGE
     Four hours. The objective of this course is to apply knowledge of research based change theories,
     use critical thinking and problem solving techniques to improve student learning and teacher
     performance, analyze and evaluate decision making skills, and use strategies designed to promote
     leadership. Appropriate technologies will be utilized for communication and collaboration pur-
     poses. This course incorporates appropriate elements of the William Cecil Golden Program for
     School Leaders (WCG).

     EDU 6150 RESOURCE ALLOCATION FOR STUDENT ACHIEVEMENT
     Four hours. The objective of this course is to use effective strategies to establish and manage sched-
     ules, delegate responsivities, and allocate resources to promote school improvement, faculty devel-
     opment, and the health, safety and welfare of all on campus. This course incorporates appropriate
     elements of the William Cecil Golden Program for School Leaders (WCG).

     EDU 6200 ETHICS AND SCHOOL LAW
     Four hours. The objective of this course is to use the Code of Ethics and the Principles of Profes-
     sional Conduct for the Education Profession in Florida, pursuant to Rules 6A-1.001 and 6B-1.006
     F.A.C. to demonstrate implementation and compliance with federal and state law as related to the
     constitutional and statutory rights of students, staff, and parents. This course incorporates appro-
     priate elements of the William Cecil Golden Program for School Leaders (WCG).

     EDU 6300 LEADING IN A DIVERSE SOCIETY
     Four hours. Learn to promote practices that establish and maintain a safe, respectful, and inclusive
     student-centered learning environment that provides equitable opportunities for all students and
     builds a foundation for a life in a diverse, democratic, and global economy. This course incorpo-
     rates appropriate elements of the William Cecil Golden Program for School Leaders (WCG).

     EDU 6400 PROGRAM DEVELOPMENT: TEACHING, LEARNING, AND ASSESSMENT
     Four hours. The objective of this course is use monitoring and evaluation strategies to ensure
     effective classroom instructions, engage in data analysis of teaching practices designed to improve
     a teacher’s instructional planning and performance, maximize the relationships of academic stan-
     dards, effective instruction, and student performance, evaluate rigorous and culturally relevant
     methods for implementing state adopted standards and district curricula, as well as support fac-
     ulty in the use of high quality formative and interim assessments aligned with adopted standards
     and curricula. This course incorporates appropriate elements of the William Cecil Golden Pro-
     gram for School Leaders (WCG).

     EDU 6450 STRATEGIC FACULTY DEVELOPMENT FOR P-12 ADMINISTRATORS
     Four hours. The objective of this course is to use effective recruiting, employment, and induction
     strategies appropriate for a diverse faculty that meet the needs of students, provide feedback to fac-
     ulty on the effectiveness of their instruction, evaluate and plan for on-going professional learning
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        link to system wide strategic objectives and the school improvement plan and supports faculty
        deliver of culturally relevant and differentiated instructions. It will include the evaluation of fac-
        ulty using observations and student assessment outcomes which may include remediation, disci-
        plinary or personnel actions, planning for succession management, promotion of teacher-leader-
        ship functions, and developing sustainable relations among school leaders, parents, community,
        higher education, and business leaders. This course incorporates appropriate elements of the Wil-
        liam Cecil Golden Program for School Leaders (WCG).

        EDU 6550 STUDENT ACHIEVEMENT, ACCOUNTABILITY, AND STANDARDS-BASED INSTRUCTION
        Four hours. The objective of this course is to analyze and develop school learning goals based on
        State adopted standards and district adopted curriculum, evaluate student learning results, analyze
        areas of improvement based on accountability measures, develop strategies that increase motiva-
        tion and communicate meaningful feedback faculty to improve planning, improve moral and
        promote collegial efforts. It will also evaluate methods of analyzing data and communicating in
        writing appropriate strategies for informing and engaging stakeholders. This course incorporates
        appropriate elements of the William Cecil Golden Program for School Leaders (WCG).

        EDU 6600 SCHOOL FINANCE
        Four hours. The objective of this course is to practice exercising fiscal responsibility for maximiz-
        ing the use of federal, state, and local resources for instruction priorities. Students will use the
        formula factors in computing the Florida Education Finance Program allocations and establish
        strategies for effectively identifying and disbursing funding sources available to the school beyond
        Florida Education Program allocations. This course incorporates appropriate elements of the Wil-
        liam Cecil Golden Program for School Leaders (WCG).

        EDU 6610 INTERNSHIP
        Ten hours. The senior internship is designed to be the culminating education experience for edu-
        cation majors regardless of age/grade level specialty, subject matter, and/or major. The internship
        is 14 weeks/70 days long and involves teaching, modeling, observing and evaluating. The coordi-
        nator of field studies at Florida Southern College and a representative of the Human Resources
        Development Office of Polk County Schools assigns student to a Polk County Public School. The
        student takes over all responsibilities of a certified Florida classroom, teaching in her/his specialty
        area after receiving adequate preparation by the assigned teacher and supervisor.

        EDU 6640 STUDENT TEACHING SEMINAR
        Two hours. Prerequisites: Completion of major and permission of faculty. Weekly seminar for se-
        nior intern. Discussion and analysis of general methods of teaching in schools, with an emphasis
        on classroom management, experience, and presentation.

        EDU 6700 INSTRUCTIONAL LEADERSHIP
        Four hours. Learn to implement strategies that enable faculty and staff to work as a learning orga-
        nization focused on continuous improvement of student learning, maintaining a school climate
        that supports student engagement and learning, generate and communicate high expectations for
        learning growth and disseminate performance information to students, parents, and community,
        as well as engage students, faculty and parents and community stakeholders in constructive con-
        versations designed to improve academic performance and close achievement gaps among student
        subgroups. The course will also analyze strategies to maintain high visibility at school and in the
        community, actively listen to and learn from students, staff, parents, and community stakeholders,
        and engage stakeholders in the work of the school. This course incorporates appropriate elements
        of the William Cecil Golden Program for School Leaders (WCG).
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     EDU 6910 TRANSFORMATIONAL TEACHING AND LEARNING
     Four hours. This course will focus on the study of the societal structure and problems affecting
     education; the effects on education from philosophical, psychological, cultural and societal differ-
     ences and changes; and the effects of political and economical changes on education. Emphasis is
     on transformational teaching and learning theory, principles, methods, and child and adolescent
     development including theories and principles of learning.

     EDU 6920 TRANSFORMATIONAL LEARNING ENVIRONMENTS
     Two hours. The goal of this course is to engage educators in the development of advanced instruc-
     tional strategies to create transformational learning environments for teaching all students includ-
     ing those with limited English proficiency. The course will also address instruction in the English
     language and the development of the student’s mastery of the four language skills of listening,
     speaking, reading, and writing. Advanced classroom management skills will focus on creating safe
     learning environments in which effective transformational teaching and learning can take place
     by promoting a physically, emotionally, socially and academically secure climate for all students.

     EDU 6930 TRANSFORMATIONAL TEACHING AND LEARNING THROUGH RESEARCH
     Four hours. This course is an introduction to action research and the literature on transformation-
     al teaching, learning theory, principles, and methods with an emphasis on interpreting and evalu-
     ating the review of the literature. Action research design and methodology will be studied. Trans-
     formational teaching and learning research interests and goals will be identified and developed.

     EDU 6940 TRANSFORMATIONAL APPROACHES TO CURRICULUM AND INSTRUCTION
     Four hours. This course will include educational assessment practices that include analysis, appli-
     cation of data from statewide standardized assessments and other multiple sources to improve in-
     struction and learning. Students will plan for, integrate, and assess transformational teaching and
     learning principles in the curriculum including multisensory approaches. Students will design an
     action research plan based on transformational teaching and learning theory, methods, and core
     principles.

     EDU 6950 TRANSFORMATIONAL TEACHING AND LEARNING WITH DIVERSE POPULATIONS AND SPE-
     CIAL EDUCATION
     Four hours. This course will focus on students’ acquisition and mastery of key course concepts,
     enhancing students’ strategies and skills for learning and discovery, and promoting positive learn-
     ing-related attitudes, values, and beliefs in all students leading to the social, emotional, and cog-
     nitive well-being of a healthy child. Effective transformational teaching and instructional tech-
     niques, strategies, and materials to meet the needs of diverse learners, including students with
     disabilities will be evaluated.

     EDU 6960 ASSESSING TRANSFORMATIONAL TEACHING AND LEARNING
     Four hours. This course will focus on assessing student learning outcomes as a result of student
     participation in a transformational teaching and learning curriculum, including the examination
     of current and new approaches to the evaluation of curriculum. Lines of inquiry may include
     researching the extent to which instructors accomplish transformational objectives or implement
     transformational teaching methods, and the extent to which students achieve transformational
     teaching goals.

     EDU 6970 TRANSFORMATIONAL INSTRUCTIONAL LEADERSHIP
     Four hours. This course will explore the intersection of the principles of transformational leader-
     ship and transformational teaching and learning and the impact for maximizing students’ poten-
     tial for academic success and enhancement of students’ attitudes, values, beliefs, and skills.
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        EDU 6980 ADVANCED RESEARCH IN TRANSFORMATIONAL TEACHING AND LEARNING
        Four hours. Prerequisite: EDU 6930. This course engages students in inquiry processes related to
        their own transformational teaching and learning practices, culminating in a transformational
        teaching and learning action research study.

        EDU 7010 EDUCATIONAL LEADERSHIP AND THEORY
        Four hours. Through the investigation of different aspects of leadership, this course provides in-
        depth study of educational leadership, to include traits, characteristics, models, and dimensions of
        leadership. The course examines the role of today’s leader. It also explores theoretical frameworks
        related to leadership, organizational behavior, change, and sustainability. The course critically ana-
        lyzes theory and research as it relates to educational issues and environments. It also applies theory
        and research to enhance learning for diverse student populations. The student engages in reflec-
        tion about leadership practices and ethics in relation to the impact on school effectiveness. The
        student also reviews literature related to an educational leadership research interest.

        EDU 7020 CURRICULUM, LEARNING AND INSTRUCTION
        Four hours. This course examines curriculum, learning and instruction within the context of the
        theoretical structures that underlie curriculum considerations relative to the work of responsible
        curriculum decision-makers at all levels. This includes a critical study of the history of curriculum
        and curriculum theory in the U.S. with emphasis placed on the historical, philosophical, and
        scientific foundations of curriculum theory. The course provides a framework for thinking about
        how curriculum relates to students’ understanding of the world around them. It symbiotically
        melds curriculum theory, critical educational studies, and feminist standpoint theory with practi-
        cal examples of teaching for social justice to argue for a transformative curriculum that challenges
        existing inequity in social, educational, and economic relations.

        EDU 7030 ETHICS IN EDUCATIONAL LEADERSHIP
        Four hours. This course is a critical and pragmatic examination of ethics as it applies to education-
        al leadership in PreK-12 and higher education. There are emphases on the philosophical works and
        theoretical perspectives, as well as the social and moral standards, codes, and values that apply to
        educational leaders. Students analyze real-life ethical dilemmas and scenarios faced in education
        from the ethical paradigms of justice, care, critique, and the profession. Using a variety of theoret-
        ical frameworks, the course addresses practical, pedagogical, and curricular issues related to ethics
        for educational leaders. The student is engaged in reflection about one’s personal and professional
        values in relation to ethics. The course also provides the impetus for students to redefine the lead-
        ership role to focus on ethical practice and decision-making.

        EDU 7040 ORGANIZATIONAL THEORY AND BEHAVIOR
        Four hours. This course engages students in reading, discussion, research and writing about the-
        ories of organizational behavior and practices of leading people in schools. Students explore en-
        tity-based and collectivist theories of leadership in organizations. The course examines various
        theories of change and appropriate approaches to facilitate the change process. Students learn
        how to bring together human resources and create a cohesive effective group. Other topics include
        systems thinking, decision-making, communications, motivation, power, influence, group dynam-
        ics, organizational culture, and organizational climate. The course also provides opportunities to
        practice disciplined research inquiry that aligns theory of organizational behavior to practical
        applications in educational settings. Through reflection on leadership practices and ethics, the
        course also provides impetus for re-conceptualizing leadership roles and organizational structures
        to focus on people.
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     EDU 7050 EDUCATIONAL POLITICS, POLICY AND CURRENT ISSUES
     Four hours. While educational leaders are not required to become politicians, it is very important
     to understand the political system and environment in which school and district administrators
     work. Federal and state law, and local school board policy, often begins as ideas and action that
     may result in new educational rules and/or statutory requirements students, teachers and school
     leaders must follow. Political influence, policy guidelines, and instructional decisions that emerge
     within the context of new rules have a profound impact on the role of an educational leader. They
     are complex and often controversial. Unintended consequences of well-intentioned law, policy or
     rule require the school leader to carefully and thoughtfully navigate, often uncharted, waters in or-
     der to establish and maintain a productive and safe learning environment. In this course, students
     develop an awareness of significant political decisions related to law, legislation, policy, or rule that
     defines an ever-changing environment. Students review, analyze and evaluate political background
     and characteristics of major legislation that has a major impact upon public schools and school
     leaders. In addition, students examine pathway from political thoughts, action, and ideas to policy
     decisions and instructional practice resulting from implementation of new requirements. Course
     content and objectives relate primarily to research practices (reflection, analysis, and inquiry) that
     integrated into the student’s professional practice.

     EDU 7060 K–12 LAW AND GOVERNANCE
     Four hours. Legal decisions have a profound impact on a student’s role as an educational leader.
     They are complex and often controversial. The courts attempt to balance the rights of individ-
     uals with the right of school districts to establish a productive and safe learning environment
     for student, teachers and educational leaders. In this course, students develop an awareness of
     important law/legislation that defines an ever-changing legal environment. Case law relating
     to significant legal decisions are reviewed and analyzed. Course content and objectives relate
     primarily to research practices (reflection, analysis, and inquiry) that become integrated into the
     student’s professional practice.

     EDU 7065 LEGAL ISSUES IN EDUCATION
     Four hours. Throughout our history, the courts have attempted to balance the rights of individu-
     als with the responsibility of colleges, universities and other educational institutions to establish
     an environment conducive for learning. This course examines the key legal issues that govern
     educators’ daily and long-range decisions, including the ongoing impact of landmark Supreme
     Court rulings, case law, federal codes and policies, and precedent. Opportunities are provided
     for students to assess various legal dilemmas, evaluate and reflect on these analyses, and develop
     new, broader understandings of the principles of law related to higher education and other edu-
     cational institutions.

     EDU 7070 CURRICULUM ANALYSIS
     Four hours. This course focuses on the application of instructional design principles to the de-
     velopment of instruction. Topics include contemporary issues and trends in instructional design,
     foundations in learning research, requirements for instruction, task and needs analysis, learning
     situations and instructional models, learner characteristics, hardware and software innovations,
     assessing instructional outcomes, and factors affecting utilization.

     EDU 7080 FINANCE AND RESOURCE ALLOCATION
     Four hours. Examine the complexities of higher education finance and public education K–12
     finance and how political, economic, and social forces impact budgetary decisions. Review finan-
     cial administration in public and private colleges and universities, public K–12 schools and private
     K–12 schools with an emphasis on funding theories and strategies, governmental and private-sec-
     tor programs and initiatives, resource allocation concerns, and institutional fund-raising activities.
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        The course offers a basic understanding of the nature and role of budgeting and finance in the
        K–16 education sectors in Florida. Learn how K–16 schools are financed and how educational
        finance relates to student outcomes.

        EDU 7085 FINANCE AND BUDGETING
        Four hours. Examine the complexities of higher education finance and how political, economic,
        and social forces impact budgetary decisions and learn how educational finance relates to student
        outcomes. Review financial administration in public and private colleges and universities with
        an emphasis on funding theories and strategies, governmental and private-sector programs and
        initiatives, resource allocation concerns, and institutional fundraising activities.

        EDU 7090 QUANTITATIVE ANALYSIS I
        Four hours. Analyze quantitative research methods using a combination of readings, problems,
        web sites, and other resources. Topics include the nature and purposes of quantitative research;
        planning and conducting quantitative research; critiquing and evaluating research; sampling;
        survey and experimental design; evaluation research; observation and inquiry; measurement and
        methods of data collection; ethics; and the use of computers in data analysis. Collaborative discus-
        sion, case-study analysis, and computer exercises are a few methods practiced in conducting and
        analyzing quantitative data.

        EDU 7110 EDUCATIONAL ACCOUNTABILITY AND STUDENT ASSESSMENT
        Four hours. Real-world experiences provide a foundation for understanding current state and fed-
        eral accountability systems. School leaders learn accountability through data–based decisions by
        applying the functions of curriculum, assessing instructional activities, influence of maintaining
        a positive climate, and assessing student performance in a planned school improvement model.

        EDU 7115 COMMUNITY COLLABORATION
        Four hours. This course explores the potential for positive impact that community collaboration
        at every level of education can effect. Community engagement is only the initial aspect of commu-
        nity collaboration. Community collaboration empowers community members to join education
        leaders in sharing of values, asking questions, problem-solving, and soliciting direction. Joining
        community organizations are forming partnerships with childcare providers, public and private
        school systems, and post-secondary institutions to invest in education and improve learning out-
        comes. This course reviews present initiatives, analyzes collective impact, and provides opportuni-
        ties to design initiatives to strengthen connections with families and the community.

        EDU 7120 QUALITATIVE ANALYSIS I
        Four hours. Analyze qualitative research methods using a combination of readings, problems,
        web sites, and other resources. Topics include the nature and purposes of qualitative research;
        planning and conducting qualitative research; critiquing and evaluating research; sampling; sur-
        vey and experimental design; evaluation research; observation and inquiry; measurement and
        methods of data collection; ethics; and the use of computers in data analysis. Collaborative dis-
        cussion, case study analysis, and computer exercises are a few methods practiced in conducting
        and analyzing qualitative data.

        EDU 7130 POLICY ANALYSIS, IMPLEMENTATION AND EVALUATION
        Four hours. Creating and implementing effective education policies requires a close examination
        of the social and historical foundations of education in the United States and beyond. This course
        helps student recognize and understand how educational policies permeate educational systems
        and how policies are received and articulated in the cultural practices of schools. The course also
        deepens and expands understandings of educational policy, practice and theory, past and present,
        at local, national, and international levels. Students examine educational policies, movements,
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     outcomes, dilemmas, and controversies--as well as the theories shaping them-- using modes of
     inquiry associated with an array of scholarly fields and disciplines. In order to improve practice for
     the purposes of promoting excellence, equity, and efficiency in educational systems and organiza-
     tions in a world of accelerating educational change, students need a better understanding of the
     practices by educational organizations and the policies that govern them.

     EDU 7135 PLANNING AND EVALUATION IN EDUCATION
     Four hours. Schools and other organizations have increased their demand for and intensified their
     interest in information on program effectiveness and outcomes. Accountability has become the
     theme of the 21st century thus far, and the focus on performance measurement, outcomes, impacts,
     and standards has elevated the field of evaluation. Evaluation differs from research in its real-world
     approach—its goal to be used by non-researchers to determine the worth or merit of whatever is
     to be evaluated—that includes objectives to improve and impact decision-making, funding, and
     sustainability. It has become important to know which programs work, why they succeed or fail, if
     they are cost-effective, and how they can be improved, replaced, or replicated. Review the history
     and influence of evaluation in society and learn practical guidelines for planning and conducting
     evaluations that include identifying questions to be addressed, determining how to collect and
     analyze evaluative information, and deciding how to provide the results and recommendations to
     stakeholders and others.

     EDU 7140 DISSERTATION
     Twelve hours. Develop, implement, analyze, and evaluate research based on a research or set of
     research questions. Students work directly with a doctoral research committee. The dissertation
     is an approved research study to investigate a research question/s using proven research methods.
     Research topics must be pre-approved by the doctoral dissertation committee. The dissertation
     consists of five chapters, and, upon completion, the student defends research findings.

     MATHEMATICS - MAT
     MAT 5010 APPLIED STATISTICAL ANALYSIS
     Three hours. Prerequisite: undergraduate statistical analysis and admission to nursing graduate
     program. The emphasis in this course is on application and interpretation of statistical procedures
     used in health care research. Data management (using SPSS) and the relationship between re-
     search design and statistical techniques are also studied.

     NURSING - NUR
     NUR 5120 LEADERSHIP, ROLE DEVELOPMENT AND ADVOCACY FOR ADVANCED NURSING PRACTICE
     Three hours. This course provides knowledge and skills needed for leadership and advanced
     nursing role development. Interprofessional collaboration and advocacy for advancement of
     population health and advanced nursing practice are emphasized.

     NUR 5150 ADVANCED PHARMACOLOGY
     Three hours. In this course the student analyzes the principles of pharmacokinetics, pharma-
     codynamics, and pharmacotherapeutics of drugs commonly used in the management of acute
     and chronic illnesses in adults. Emphasis is on therapeutic decision-making in drug selection
     and monitoring therapeutic response for culturally diverse patients. Patient education, legal,
     ethical, and socio-economic issues are addressed. Practice and regulatory elements of APRN
     prescribing is included.

     NUR 5200 ADVANCED PATHOPHYSIOLOGY
     Three hours. This course prepares the student to understand the underlying mechanisms of
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        changes in physiology by a systematic examination of disease. The advance practice nursing stu-
        dent compares and contrasts differential diagnosis within physiological systems of sub-cellular
        and cellular origin, biochemical, and anatomical changes across the life span.

        NUR 5220 ADVANCED HEALTH ASSESSMENT
        Four hours. Pre-or corequisite: NUR 5200. The learner is provided a strong foundation in the
        health assessment skills requisite for APRN practice. The focus of the course is on the diagnostic
        reasoning process as it relates to building a clinical database regarding individual patients. His-
        tory taking, physical examination skills, laboratory, and diagnostic modalities are included in the
        course content.

        NUR 5250 EVIDENCE TRANSLATION AND QUALITY IMPROVEMENT FOR ADVANCED NURSING PRACTICE
        Three hours. This course provides knowledge and skills needed for translating evidence into ad-
        vanced nursing practice. Emphasis is on the utilization of theories, evidence-based practice mod-
        els, and quality improvement methods.

        NUR 5400 HEALTH PROMOTION AND CLINICAL PREVENTION FOR ADVANCED NURSING PRACTICE
        Two hours. This course provides knowledge and skills for evidence-based health promotion and
        clinical prevention in community and practice settings. Emphasis is on the provision of culturally
        and linguistically appropriate services for diverse populations.

        NUR 5450 INFORMATICS AND HEALTH CARE TECHNOLOGIES
        Two hours. This course provides knowledge and skills needed for integration and utilization of
        technologies for delivering, coordinating, and improving care across settings. Standards and ethi-
        cal principles for utilization of technologies in practice are highlighted.

        NUR 5500 TOPICS IN GLOBAL HEALTHCARE
        One to eight hours (variable). Prerequisite: graduate nursing major and permission of the instruc-
        tor. This is an elective course that allows a student to experience health care in a global setting.
        Each course is developed separately depending on availability of resources and suitability of the
        experience for students. Variable credit will reflect the amount of time expended by each student
        as one credit hour for each 40 clock hours. Typical trips may be supporting a rural health clinic in
        Latin America, patient care in a small hospital in Africa, or community health projects in Asia or
        other parts of the world. Students in other graduate programs may be eligible to take this course
        with permission of the dean of the School of Nursing and Health Sciences.

        NUR 6110 ADVANCED PRACTICE NURSE I
        Six hours. Prerequisite: NUR 5120, NUR 5150, NUR 5200, NUR 5220. In this practical experience,
        the student functions in the role of advanced practice nurse in settings focused on care of the
        acutely ill client. Content focus is on attaining competencies in the domains of advanced nursing
        practice addressing clients, nurses, and organizations. This course includes 180 hours of clinical
        experience and weekly seminars.

        NUR 6120 NURSE EDUCATOR IN CLINICAL SETTING
        Six hours. Prerequisite: NUR 5120, NUR 5150, NUR 5200, NUR 5220, NUR 6260. In this practi-
        cal experience, the student functions in the role of advanced practice nurse educator in a clinical
        setting. Content focus is on attaining competencies as a nurse educator. This course includes 175
        hours of clinical experience and a seminar.

        NUR 6160 ADVANCED PRACTICE NURSE II
        Six hours. Prerequisite: NUR 5120, NUR 5150, NUR 5200, NUR 5220. In this practical experience,
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     the student functions in the role of advanced practice nurse in settings focused on care of the
     acutely ill client. Management of the healthcare needs of selected populations is addressed, incor-
     porating the principles of prioritization, community collaboration and outcomes measurement.
     Principles of cost-effective patient outcomes and evidence-based practice are stressed. This course
     includes 180 hours of clinical experience and weekly seminars.

     NUR 6210 ADVANCED PRACTICE NURSE III: AGPC ROLE
     Six hours. Prerequisite: NUR 6110, NUR 6160. The advanced practice nurse student will develop
     expertise in a specialty role defined by a client population or practice setting. The focus of this
     capstone clinical experience is adult health nursing practice. This course includes 180 hours of
     clinical experience and a weekly seminar.

     NUR 6260 CURRICULUM DESIGN AND PROGRAM DEVELOPMENT
     Four hours: Pre- or corequisite: NUR 5120. The focus in this course is on preparing the advanced
     practice nurse for a role in higher education or peer education. Required elements of course and
     curricula design and program outcome assessment are presented, along with roles of faculty and
     administrators in these processes. Classroom teaching technologies are introduced.

     NUR 6300 HEALTHCARE INFORMATICS & DECISION MAKING
     Four hours. Same as BUS 6300. Prerequisite: Admission to the graduate program. Both informa-
     tion technology and use and sharing of clinical and administrative data are an important com-
     ponent of health care delivery. In this course, students are introduced to advance concepts of
     information management and use of data in complex decision making as well as core informatics
     competencies such as project management and systems analysis.

     NUR 6310 NURSE EDUCATOR IN ACADEMIC SETTING
     Six hours. Prerequisite: NUR 5120, NUR 5150, NUR 5200, NUR 5220, NUR 6260. In this practical
     experience, the student engages in classroom and clinical teaching in an academic setting. This
     course includes 175 hours of clinical experience and a seminar.

     NUR 6430 CARE OF THE OLDER ADULT
     Two hours. Prerequisites: NUR 5150, NUR 5200, NUR 5220. This course examines selected clin-
     ical issues, health problems and health promotion strategies in older adults, contrasts normal
     and abnormal aging, and explores older adult healthcare delivery systems. The course focuses on
     comprehensive geriatric assessment, diagnoses of common geriatric syndromes and application of
     evidence-based practice to promote wellness, maximize function, and enhance self-care. Mental
     health concerns, culturally appropriate approaches and ethical issues are examined.

     NUR 6450 HEALTHCARE FINANCE & ENTREPRENEURSHIP
     Four hours. Same as BUS 6450. Prerequisite: Graduate standing. Healthcare economics and fi-
     nance are key factors in healthcare delivery and future reforms. Students investigate finance mod-
     els from small entrepreneurial settings to large multi-facility healthcare systems and complete a
     project to design and fund a practice or project related to their field of interest.

     NUR 6500 TRANSITION TO ADVANCED NURSING PRACTICE
     One hour. This course prepares students in the Master of Science in Nursing (MSN) nurse prac-
     titioner tracks for successful transition to advanced nursing practice. The focus is on knowledge
     and skills needed to fulfill Florida Southern College (FSC) comprehensive exam and national
     certification exam requirements.

     NUR 6640 PRIMARY HEALTH CARE OF WOMEN
     One Hour. Prerequisites: NUR 5150, NUR 5200, NUR 5220. This course is designed to focus
     on women’s health issues and strategies for the promotion of health across the continuum. This
     course includes a critical analysis and management of common episodic and chronic health prob-
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        lems in women and forms the foundation for advanced practice nursing. Incorporated in the
        students approach to this population are the developmental stages, psychosocial strength interven-
        tions health promotion, lifestyle variation, environmental stresses, cultural diversity and availabil-
        ity of resources to the patient. Clinical hours in women’s health are incorporated in NUR 6110,
        NUR 6160 and NUR 6215

        NUR 6645 PEDIATRIC: FAMILY HEALTH
        Five hours. Prerequisites: NUR 5150, NUR 5200, NUR 5220. The focus of this course is the ap-
        plication of theory and evidence-based practice involved in comprehensive family-centered nurse
        practitioner services for infants, children, and adolescents. The course content provides the stu-
        dent with a thorough understanding of infants, children, and adolescents with acute, chronic,
        and behavioral problems. Included in the focus are developmental, physiological, pathological,
        and psychological changes regarding health maintenance and other relevant developmental shifts
        within the family context. An emphasis on health promotion, illness prevention, and primary
        health care management of common health conditions will reinforce the student’s learning ex-
        perience. This course will utilize assessment, diagnosis, and management theories related to the
        acute and chronic health care concerns of children and their families in a variety of health care
        settings. This course includes 120 clock hours of clinical experience and a seminar.

        NUR 6655 ADVANCED PRACTICE NURSE III: FNP ROLE
        Six hours. Prerequisites: NUR 6110, NUR 6160, NUR 6640, NUR 6645. The advanced practice
        nurse student will develop expertise in the specialty role of the family nurse practitioner. Transi-
        tion of the role of the advanced practice nurse is examined and actualized through an intensive,
        precepted, clinical experience. This course includes 180 hours of clinical experience and weekly
        seminars.

        NUR 6960/6961 GRADUATE INTERNSHIP IN NURSING
        Four hours. Prerequisite: Admission to the graduate program. This is a two course sequence of
        dedicated off campus clinical experiences primarily for students in the Nursing Administration
        track and is usually taken as the final courses prior to graduation. Nurses in the MBA program may
        enroll in these courses with permission of the nursing graduate director. Students apply all learned
        content in the MSN program in a variety of healthcare setting and conduct 200 to 250 clinical
        hours with a preceptor each semester for a total of 400–500 total hours post bachelor’s degree.
        There is also an integrated classroom component given as a seminar format.

        NUR 7400 IMPROVING QUALITY, SAFETY & VALUE IN HEALTHCARE
        Four hours. Prerequisite: Admission to the graduate program. This course builds on prior course-
        work to expand the student’s knowledge and competencies in improving healthcare clinical and
        system quality and safety. Key concepts include developing high performance teams, developing
        lean clinical and business processes, and evaluating value in healthcare delivery systems


        DOCTOR OF NURSING PRACTICE - NUR
        NUR 7100 PHILOSOPHICAL, THEORETICAL, PROFESSIONAL, AND CONCEPTUAL FOUNDATIONS
        Three hours. This course provides students with an introduction to the philosophical, theo-
        retical, professional, and conceptual frameworks that underpin practice for the DNP-prepared
        nurse leader. Principles and concepts for advanced nursing leadership roles and health care
        outcomes at the organizational and systems levels are emphasized.
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     NUR 7110 LEADERSHIP AND INTERPROFESSIONAL PRACTICE
     Three hours. This course provides students with the knowledge and skills required for transfor-
     mational leadership within a health care system or organization. Principles and strategies to ad-
     vance interprofessional collaboration at the organization and systems level will be emphasized.

     NUR 7120 INTRODUCTION TO DNP PROJECT
     One hour. Students will assess and identify practice issue(s) focused on a population of interest
     and the program requirements necessary for the development of the culminating scholarly
     project. Models of DNP Projects will be explored.

     NUR 7200 PROFESSIONAL, BUSINESS, AND SCHOLARLY WRITING
     Two hours. Students will develop skills for effective professional, business, and scholarly writ-
     ing required for advanced nursing roles. The focus of the course will include three main audi-
     ences: other professionals, patients/clients, and the public.

     NUR 7210 HEALTH CARE BUSINESS AND FINANCIAL MANAGEMENT
     Three hours. This course provides students with knowledge and skills required for business
     and financial leadership at the organization or systems level. Strategic, operational, and finan-
     cial planning are emphasized.

     NUR 7300 PRACTICE SCHOLARSHIP: EVIDENCE-BASED PRACTICE AND QUALITY IMPROVEMENT
     Three hours. In this course, the principles of translational and improvement science are intro-
     duced and analyzed to promote high reliability healthcare organizations. Students will identify
     gaps in quality and apply scientific evidence models to improve healthcare outcomes.

     NUR 7310 DATA MANAGEMENT AND ANALYTICS FOR EVIDENCE-BASED PRACTICE
     Three hours. This course provides students with knowledge and skills required for manage-
     ment, analysis, and evaluation of data to improve outcomes in health care.

     NUR 7400 CLINICAL PREVENTION AND POPULATION HEALTH
     Three hours. This course is designed to assist students with identifying, analyzing, and eval-
     uating the key public health issues confronting the DNP prepared professional nurse in the
     provision of population-focused health care. The role of federal, state, and local governments
     in relation to the core functions of public health will be explored. Health disparities and the
     needs of priority populations will be analyzed.

     NUR 7410 HEALTH POLICY AND ADVOCACY IN HEALTH CARE
     Three hours. This course provides knowledge and skills needed to lead health policy develop-
     ment, analysis, application and implementation. The advocacy role of the DNP-prepared nurse
     is emphasized. Students will analyze the relationship between health policy and the financing
     of health care.

     NUR 7420 INFORMATION MANAGEMENT AND TECHNOLOGY
     Three hours. Students will analyze the role of technology in the health care system and how
     it can be utilized by the DNP prepared leader to optimize clinical, financial, and operational
     outcomes. Students will develop knowledge and skills for collaboration in the selection and
     implementation of technology for effective decision-making.

     NUR 7500 DNP PROJECT AND PRACTICUM I
     Two hours. This course is the first in a series of four courses that provide a context for
     fulfillment of DNP Project and Practicum requirements. Through a mentored immersion
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        experience, students will demonstrate advanced leadership competencies through the
        development, implementation, and evaluation of a practice improvement initiative

        NUR 7510 DNP PROJECT AND PRACTICUM II
        Three hours. This course is the second in a series of four courses that provide a context for
        fulfillment of DNP Project and Practicum requirements. Through a mentored immersion
        experience, students will demonstrate advanced leadership competencies through the
        development, implementation, and evaluation of a practice improvement initiative.

        NUR 7520 DNP PROJECT AND PRACTICUM III
        Three hours. This course is the third in a series of four courses that provide a context
        for fulfillment of DNP Project and degree requirements. Through a mentored practice
        immersion experience, students will demonstrate advanced leadership competencies through
        the development, implementation, evaluation, and dissemination of a practice improvement
        initiative.

        NUR 7530 DNP PROJECT AND PRACTICUM IV
        Three hours. This course is the fourth in a series of four courses that provide a context
        for fulfillment of DNP Program and degree requirements. Through a mentored practice
        immersion experience, students will demonstrate advanced leadership competencies through
        the development, implementation, evaluation, and dissemination of a practice improvement
        initiative.

        DOCTOR OF PHYSICAL THERAPY - DPT
        DPT 7110 HUMAN ANATOMY FOR PHYSICAL THERAPY
        Six hours. This combined lecture/laboratory course presents in-depth instruction in the gross,
        surface, and microscopic anatomy of the human body.

        DPT 7120 KINESIOLOGY AND BIOMECHANICS FOR PHYSICAL THERAPY
        Three hours. This combined lecture/laboratory course will examine the interaction of bones,
        joints, muscles, and external forces that are responsible for movement. The origins, insertions,
        actions of the muscles, and in some joint complexes, patterns of physical dysfunction will also be
        discussed as it relates to normal movement.

        DPT 7130 PHYSICAL THERAPY CLINICAL ASSESSMENT I
        Three hours. This first clinical assessment combined lecture/laboratory course provides a founda-
        tion for examination skills relevant to patients with orthopedic, neurological, cardiopulmonary,
        and general pathologies. Primary areas of emphasis include examination procedures including
        history taking, systems review, and basic tests and measures such as assessment of vital signs, reflex-
        es, joint range of motion, strength, and orthopedic special tests.

        DPT 7140 PATHOPHYSIOLOGY FOR PHYSICAL THERAPY
        Three hours. This lecture course presents the physiology and pathology of the body systems across
        the lifespan. Students will also learn how to interpret basic medical record information relating
        to diagnostic tests and measures.

        DPT 7150 EVIDENCE BASED PHYSICAL THERAPIST PRACTICE I
        One hour. This is the first of three lecture courses that introduce students to the principles of
        evidence-based physical therapy (EBPT) practice and prepares students to apply these principles
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     in clinical decision-making and research. Definition of basic concepts and terminology used in
     EBPT; and types and the levels of evidence will be examined.

     DPT 7160 INTEGRATED PROFESSIONAL & COMMUNITY EDUCATION (IPCE) I
     Two hours. This is the first of five in the Integrated Professional & Community Education course
     series. This course introduces students to the professional role of the physical therapist in clinical
     practice and community health. Content covered includes physical therapist core values, ethical
     principles, basic patient/client interaction and community health education.

     DPT 7210 MUSCULOSKELETAL PHYSICAL THERAPY I
     Four hours. Prerequisites: DPT 7110, DPT 7120, DPT 7130, DPT 7140, DPT 7150, DPT 7160.
     This first musculoskeletal course focuses on physical therapy interventions for individuals with
     movement and/or musculoskeletal disorders. The interventions include, but are not limited to,
     therapeutic exercise, biophysical agents, peripheral joint mobilization, and manual therapy.

     DPT 7220 PHYSICAL THERAPY CLINICAL ASSESSMENT II
     Three hours. Prerequisites: DPT 7110, DPT 7120, DPT 7130, DPT 7140, DPT 7150, DPT 7160.
     This second clinical assessment combined lecture/laboratory course continues building on the
     foundation of examination skills relevant to patients with common diagnoses seen by physical
     therapists across the lifespan. An emphasis will be placed on observing and understanding normal
     gait patterns. Students will participate in hands-on methods and techniques related to therapeutic
     activities, gait training, transfers, assistive devices, and basic patient handling techniques.

     DPT 7230 ACUTE CARE PHYSICAL THERAPY
     Two hours. Prerequisites: DPT 7110, DPT 7120, DPT 7130, DPT 7140, DPT 7150, DPT 7160. This
     combined lecture/laboratory course presents physical therapy management of individuals with
     acute medical and surgical conditions. This course will address the role of the acute care physical
     therapist as a multi-disciplinary team member with patients/clients across the lifespan with vary-
     ing acuity levels.

     DPT 7240 PHARMACOLOGY FOR PHYSICAL THERAPY
     Two hours. Prerequisites: DPT 7110, DPT 7120, DPT 7130, DPT 7140, DPT 7150, DPT 7160. This
     lecture course is the study of drugs with an emphasis on how drugs affect physical therapy man-
     agement of individuals with medical and surgical conditions.

     DPT 7250 CARDIOPULMONARY PHYSICAL THERAPY
     Three hours. Prerequisites: DPT 7110, DPT 7120, DPT 7130, DPT 7140, DPT 7150, DPT 7160.
     This combined lecture/laboratory course presents in-depth instruction in the medical and physi-
     cal therapy management of patients/clients with cardiopulmonary disorders.

     DPT 7260 INTEGRATED PROFESSIONAL & COMMUNITY EDUCATION (IPCE) II
     Two hours. Prerequisites: DPT 7110, DPT 7120, DPT 7130, DPT 7140, DPT 7150, DPT 7160. This
     is the second of five in the Integrated Professional & Community Education course series. This
     course introduces students to the professional role of the physical therapist in clinical practice and
     community health. Content covered include role of the PT in the interdisciplinary team, patient/
     client interaction skills, clinical decision-making and legal issues pertaining to PT services.

     DPT 7310 PHYSICAL THERAPY REHABILITATION I
     Four hours. Prerequisites: DPT 7110, DPT 7120, DPT 7130, DPT 7140, DPT 7150, DPT 7160, DPT
     7210, DPT 7220, DPT 7230, DPT 7240, DPT 7250, DPT 7260. This is the first physical rehabilita-
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        tion combined lecture/laboratory course that will present approaches to treatment of individuals
        with neurological conditions such as theories of motor control, motor learning, and neurobehav-
        ioral plasticity. This course will include assessment and treatment of individuals with neurological
        disorders.

        DPT 7320 NEUROSCIENCE FOR PHYSICAL THERAPY
        Four hours. Prerequisites: DPT 7110, DPT 7120, DPT 7130, DPT 7140, DPT 7150, DPT 7160, DPT
        7210, DPT 7220, DPT 7230, DPT 7240, DPT 7250, DPT 7260. This lecture course provides basic
        clinical neuroanatomical facts. This course will address the functional organization of the nervous
        system and show how injury and disease can cause neurological damage.

        DPT 7330 ADMINISTRATION FOR PHYSICAL THERAPY
        Two hours. Prerequisites: DPT 7110, DPT 7120, DPT 7130, DPT 7140, DPT 7150, DPT 7160, DPT
        7210, DPT 7220, DPT 7230, DPT 7240, DPT 7250, DPT 7260. This course introduces students to
        management and leadership principles, and their application to physical therapist practice. Topics
        covered include ethical and legal responsibilities in physical therapist practice, reimbursement,
        personnel issues, risk management, and resource management.

        DPT 7350 EVIDENCE BASED PHYSICAL THERAPIST PRACTICE II
        Two hours. Prerequisites: DPT 7110, DPT 7120, DPT 7130, DPT 7140, DPT 7150, DPT 7160, DPT
        7210, DPT 7220, DPT 7230, DPT 7240, DPT 7250, DPT 7260. This second of three evidence based
        practice course provides an overview of methods of scientific inquiry in the context of clinical
        physical therapist practice. Topics include research designs, data collection methods, basic statis-
        tics, and research ethics.

        DPT 7360 INTEGRATED PROFESSIONAL & COMMUNITY EDUCATION (IPCE) III
        Two hours. Prerequisites: DPT 7110, DPT 7120, DPT 7130, DPT 7140, DPT 7150, DPT 7160,
        DPT 7210, DPT 7220, DPT 7230, DPT 7240, DPT 7250, DPT 7260. This is the third of five in the
        Integrated Professional & Community Education course series. This course prepares students for
        the professional role of the physical therapist in clinical practice and community health. Content
        covered includes patient/client management skills across the lifespan in the context of a multicul-
        tural society.

        DPT 7410 PHYSICAL THERAPY REHABILITATION II
        Four hours. Prerequisites DPT 7110, DPT 7120, DPT 7130, DPT 7140, DPT 7150, DPT 7160, DPT
        7210, DPT 7220, DPT 7230, DPT 7240, DPT 7250, DPT 7260, DPT 7310, DPT 7320, DPT 7330,
        DPT 7350, DPT 7360, DPT 7480. This is the second physical rehabilitation combined lecture/
        laboratory course that will present assessment and treatment of individuals with neurological
        and vestibular disorders. Information on prescription, fabrication, and fitting of prosthetics and
        orthotics will also be presented.

        DPT 7460 INTEGRATED PROFESSIONAL & COMMUNITY EDUCATION (IPCE) IV
        One hour. Prerequisites DPT 7110, DPT 7120, DPT 7130, DPT 7140, DPT 7150, DPT 7160, DPT
        7210, DPT 7220, DPT 7230, DPT 7240, DPT 7250, DPT 7260, DPT 7310, DPT 7320, DPT 7330,
        DPT 7350, DPT 7360, DPT 7480. This is the fourth of five in the Integrated Professional & Com-
        munity Education course series. This course prepares students for their first clinical internship.
        Content covered includes professional behaviors expected during clinical placements and skills
        needed to provide and bill for physical therapy services in various clinical settings.
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     DPT 7480 PHYSICAL THERAPY CLINICAL EDUCATION PRACTICUM I
     Ten hours. Prerequisites: DPT 7110, DPT 7120, DPT 7130, DPT 7140, DPT 7150, DPT 7160, DPT
     7210, DPT 7220, DPT 7230, DPT 7240, DPT 7250, DPT 7260, DPT 7310, DPT 7320, DPT 7330,
     DPT 7350, DPT 7360. This is the first of three full time clinical experiences. Each experience will
     be in a different practice setting in locations available throughout the US. This clinical experi-
     ence will be supervised by a licensed physical therapist and will be structured to give the student
     a variety of learning opportunities providing exposure to comprehensive care of patients/clients
     across the life span and exposure to a wide variety of diagnoses. Foundational elements include
     safety and risk management, professional behaviors, adherence to legal and professional practice
     standards, communication, and clinical reasoning skills. Students will be evaluated utilizing the
     American Physical Therapy Association (APTA) Physical Therapy Clinical Performance Instru-
     ment (CPI).

     DPT 7510 MUSCULOSKELETAL PHYSICAL THERAPY II
     Four hours. Prerequisites: DPT 7110, DPT 7120, DPT 7130, DPT 7140, DPT 7150, DPT 7160,
     DPT 7210, DPT 7220, DPT 7230, DPT 7240, DPT 7250, DPT 7260, DPT 7310, DPT 7320, DPT
     7330, DPT 7350, DPT 7360, DPT 7480, DPT 7410, DPT 7460. This second musculoskeletal course
     focuses on physical therapy evaluation and treatment for individuals with cervicothoracic and
     lumbopelvic pain and/or pathology. The interventions include, but are not limited to, therapeu-
     tic exercise, spinal mobilization/manipulation, and various other forms of manual therapy. The
     course will prepare students to develop an appropriate classification and plan of care for patient
     case studies with spinal pathologies seen in the physical therapy outpatient settings.

     DPT 7520 GERIATRIC PHYSICAL THERAPY
     Four hours. Prerequisites: DPT 7110, DPT 7120, DPT 7130, DPT 7140, DPT 7150, DPT 7160, DPT
     7210, DPT 7220, DPT 7230, DPT 7240, DPT 7250, DPT 7260, DPT 7310, DPT 7320, DPT 7330,
     DPT 7350, DPT 7360, DPT 7480, DPT 7410, DPT 7460. This combined lecture/laboratory course
     will address the role of the physical therapist as a multi-disciplinary team member with manage-
     ment of geriatric patients/clients with varying acuity levels.

     DPT 7530 PEDIATRIC PHYSICAL THERAPY
     Four hours. Prerequisites: DPT 7110, DPT 7120, DPT 7130, DPT 7140, DPT 7150, DPT 7160, DPT
     7210, DPT 7220, DPT 7230, DPT 7240, DPT 7250, DPT 7260, DPT 7310, DPT 7320, DPT 7330,
     DPT 7350, DPT 7360, DPT 7480, DPT 7410, DPT 7460. This combined lecture/laboratory course
     will address the role of the physical therapist as a multi-disciplinary team member with manage-
     ment pediatric patients/clients.

     DPT 7540 ADVANCE CLINICAL LIFESPAN PROBLEM SOLVING
     Two hours. Prerequisites DPT 7110, DPT 7120, DPT 7130, DPT 7140, DPT 7150, DPT 7160, DPT
     7210, DPT 7220, DPT 7230, DPT 7240, DPT 7250, DPT 7260, DPT 7310, DPT 7320, DPT 7330,
     DPT 7350, DPT 7360, DPT 7480, DPT 7410, DPT 7460. This course will address the role of the
     physical therapist as a multi-disciplinary team member with management of patients/clients
     across the lifespan.

     DPT 7550 EVIDENCE BASED PHYSICAL THERAPIST PRACTICE III
     Two hours. Prerequisites DPT 7110, DPT 7120, DPT 7130, DPT 7140, DPT 7150, DPT 7160, DPT
     7210, DPT 7220, DPT 7230, DPT 7240, DPT 7250, DPT 7260, DPT 7310, DPT 7320, DPT 7330,
     DPT 7350, DPT 7360, DPT 7480, DPT 7410, DPT 7460. This is the third of three courses culminat-
     ing into a capstone project. The student will apply the evidence-based practice principles learned
     in DPT 7150 & 7350 to generate a publishable quality scientific manuscript.
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        DPT 7560 INTEGRATED PROFESSIONAL & COMMUNITY EDUCATION (IPCE) V
        One hour. Prerequisites DPT 7110, DPT 7120, DPT 7130, DPT 7140, DPT 7150, DPT 7160, DPT
        7210, DPT 7220, DPT 7230, DPT 7240, DPT 7250, DPT 7260, DPT 7310, DPT 7320, DPT 7330,
        DPT 7350, DPT 7360, DPT 7480, DPT 7410, DPT 7460. This is the last of five in the Integrated
        Professional & Community Education course series. Provides opportunity for students to analyze
        their professional development trajectory and their ability to navigate financial and personnel
        management issues in clinical physical therapy practice.

        DPT 7570 NATIONAL PHYSICAL THERAPY EXAM REVIEW
        One hour. Prerequisites DPT 7110, DPT 7120, DPT 7130, DPT 7140, DPT 7150, DPT 7160, DPT
        7210, DPT 7220, DPT 7230, DPT 7240, DPT 7250, DPT 7260, DPT 7310, DPT 7320, DPT 7330,
        DPT 7350, DPT 7360, DPT 7480, DPT 7410, DPT 7460. This course will review physical therapy
        content and provide students with strategies to study and take the National Physical Therapy
        Exam (NPTE). Passage of this exam is necessary for a graduate to obtain a physical therapy license.


        DPT 7680 PHYSICAL THERAPY CLINICAL EDUCATION PRACTICUM II
        Ten hours. Prerequisites DPT 7110, DPT 7120, DPT 7130, DPT 7140, DPT 7150, DPT 7160, DPT
        7210, DPT 7220, DPT 7230, DPT 7240, DPT 7250, DPT 7260, DPT 7310, DPT 7320, DPT 7330,
        DPT 7350, DPT 7360, DPT 7480, DPT 7410, DPT 7460, DPT 7510, DPT 7520, DPT 7530, DPT
        7540, DPT 7550, DPT 7560. This is the second of three full time clinical experiences. Each experi-
        ence will be in a different practice setting in locations available throughout the US. This clinical
        experience will be supervised by a licensed physical therapist and will be structured to give the
        student a variety of learning opportunities providing exposure to comprehensive care of patients/
        clients across the life span and exposure to a wide variety of diagnoses. Foundational elements
        include safety and risk management, professional behaviors, adherence to legal and professional
        practice standards, communication, and clinical reasoning skills. Students will be evaluated uti-
        lizing the American Physical Therapy Association (APTA) Physical Therapy Clinical Performance
        Instrument (CPI).

        DPT 7780 PHYSICAL THERAPY CLINICAL EDUCATION PRACTICUM III
        Sixteen hours. Prerequisites DPT 7480, DPT 7410, DPT 7460, DPT 7510, DPT 7520, DPT 7530,
        DPT 7540, DPT 7550, DPT 7560, DPT 7680. This is the third of three full time clinical experiences.
        Each experience will be in a different practice setting in locations available throughout the US.
        This clinical experience will be supervised by a licensed physical therapist and will be structured
        to give the student a variety of learning opportunities providing exposure to comprehensive care
        of patients/clients across the life span and exposure to a wide variety of diagnoses. Foundation-
        al elements include safety and risk management, professional behaviors, adherence to legal and
        professional practice standards, communication, and clinical reasoning skills. Students will be
        evaluated utilizing the American Physical Therapy Association (APTA) Physical Therapy Clinical
        Performance Instrument (CPI).

        DPT 7790 PHYSICAL THERAPY SEMINAR
        One hour. Prerequisites DPT 7480, DPT 7410, DPT 7460, DPT 7510, DPT 7520, DPT 7530, DPT
        7540, DPT 7550, DPT 7560, DPT 7680, DPT 7570. This course will take place the last week in the
        final semester of the Physical Therapy Program. Students will have an opportunity to evaluate the
        Physical Therapy Program and present their capstone project to peers, faculty, and community
        healthcare professionals.
